      Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                   Page 1 of 200 PageID 31154
                                                                                                Index: stop..years
stop 20:19 76:19,25      50:5 87:20              typically 13:10 20:5    36:5 45:25 60:5
                                                  77:24                  68:18 88:12 93:21
straight 35:4           test 61:18 62:20
                                                                        Waterhouse 13:4,11
stream 89:17            testified 5:4 57:4
                                                           U             19:9,15,17,20 21:3,
                         84:19
strike 36:8                                                              11 23:5 24:10,18
                        testify 80:16            unable 59:23            25:22 27:20 28:23
strongly 18:18                                                           70:21 72:6,8,14,19,
                        testifying 84:13         unaffiliated 90:8       24 83:7,16
structure 89:19
                        testimony 79:15          uncorrected 25:15      Wilson 83:4,15
stuff 69:10 77:2
                        testing 61:5,25 62:8      50:2
subheading 35:7                                                         withdrawn 27:8 32:7
                         65:16                   understand 8:4,11,      35:12 37:3 39:4,14,
subject 51:8,9 84:22                              12 10:13 19:7,12       16 46:9 53:6 55:2
                        things 28:24 49:25
subparts 21:4            77:14 82:8 86:7          20:22 25:20 32:24      56:11 61:2,8 68:3
                                                  41:20 77:3
subsequent 39:24        third-party 87:6                                word 8:5 13:6
 40:23 48:24 54:14,23                            understanding 24:9
                        thought 15:20             25:10 34:22 36:12     words 26:18 38:20
 55:5 67:23 68:12                                                        46:14 50:4,7 86:15
 72:2 73:3 74:7 76:9    ties 45:16                38:4 45:23 64:11
 77:25 80:20                                      65:24 66:10 70:20     work 11:15 42:14
                        time 6:7 7:6,20 8:7       80:11                  44:7 60:14 77:2
summary 25:15            11:7,17 12:15 13:24                             78:22 81:24 82:24
 43:25                   14:23 30:8 37:3,5       understood 78:23
                                                                         85:14 87:19 88:21
                         39:17 55:13 56:25       undertaken 62:9
supposed 10:10                                                          worked 82:14 84:4
                         70:7 76:19 77:5,9
 11:13 38:7 40:5                                 undertaking 46:8
                         79:9 93:17
                                                                        working 6:24
sworn 5:4                                        undertook 9:25 58:7
                        time-to-time 23:11                              workpaper 41:11
                        title 5:16 32:13 42:6    undue 50:8              43:6
          T
                        today 77:6,8 79:15       unit 6:19 11:3         workpapers 10:15
tab 43:9,13,20 44:9      80:16                   unqualified 50:13,      41:2,6 42:25 55:8,21
 45:7,14 57:3,11                                  20                     56:14 58:25 59:19
                        told 66:4 77:5                                   68:17,22
 62:14,23 64:6 68:16,
                        top 19:12 21:7 25:9      upload 14:2,6
 21 70:10,16                                                            written 69:2,20,24
                         31:12 45:11             upstream 89:19          70:6
tabs 45:17 46:13,15,
 18                     topics 89:6              users 88:11            wrong 25:23 53:17
taking 8:5              total 61:9
                        totaling 63:4                      V                      Y
talked 89:7 90:24
talking 41:17 69:10     track 47:5               vague 69:9             year 10:23 11:20,24
 77:22 78:16 82:2       transaction 11:15                                16:24 20:15 21:9,19
                                                 valuation 79:23
tax 64:7,8,9,10,14,20    88:15 89:12 90:12        91:23                  41:19 43:16 51:10
 66:6                                                                    52:21 82:10
                        transactions 24:12       verbatim 89:14
taxes 66:12              26:20 27:5,6,21 28:8,                          year-end 22:4
                         25 34:19,23 35:2        versus 90:12
team 13:11 56:8                                                         years 6:20 13:23
                         51:19,24 89:7
                                                 view 26:8 87:25         51:8 82:9 85:19
technology 18:25        trial 43:21,24 44:5      visits 14:13,16
template 20:8 45:8       61:14
 60:23                  two-page 14:25                     W
term 38:19 90:5         type 43:2 75:6
terms 8:19 9:16,18      typical 14:17            WANDER 9:12 16:2,
 17:11 25:19 36:11                                7 24:14 30:12 32:24



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                 Appx. 01585
Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24   Page 2 of 200 PageID 31155




                           EXHIBIT 95




                                                                   Appx. 01586
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24   Page 3 of 200 PageID 31156
                                                                                 Page 1
∑1

∑2∑∑∑∑∑IN THE UNITED STATES BANKRUPTCY COURT
∑∑∑∑∑∑∑FOR THE NORTHERN DISTRICT OF TEXAS
∑3∑∑∑∑∑∑∑∑∑∑DALLAS DIVISION
∑∑∑IN RE:∑∑∑∑∑∑∑∑∑∑∑)
∑4∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑) CHAPTER 11
∑∑∑HIGHLAND CAPITAL∑∑∑∑∑∑)
∑5∑∑MANAGEMENT, L.P.,∑∑∑∑∑∑) CASE NO.
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑) 19-34054-sgj11
∑6∑∑∑∑∑∑∑Debtor.∑∑∑∑∑∑)
∑∑∑___________________________ )
∑7
∑∑∑HIGHLAND CAPITAL∑∑∑∑∑∑)
∑8∑∑MANAGEMENT, L.P.,∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑) Adversary Proceeding
∑9∑∑∑∑∑∑∑Plaintiff,∑∑∑∑) No. 20-3190-sgj11
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
10∑∑v.∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
11∑∑JAMES D. DONDERO,∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
12∑∑∑∑∑∑∑Defendant.∑∑∑∑)
∑∑∑___________________________ )
13

14∑∑∑∑∑REMOTE VIDEO-RECORDED DEPOSITION OF

15∑∑∑∑∑∑∑∑∑∑JAMES D. DONDERO

16∑∑∑∑∑∑∑∑TUESDAY, JANUARY 5, 2021

17

18

19

20

21

22

23∑∑REPORTED BY:

24∑∑MICHAEL E. MILLER, FAPR, RDR, CRR

25∑∑JOB NO. 188154


                        TSG Reporting - Worldwide· · 877-702-9580
                                                                        Appx. 01587
      Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                     Page 4 of 200 PageID 31157
                                                            Page 2                                                           Page 3
∑1                                                                   ∑1
∑2                                                                   ∑2∑∑REMOTE APPEARANCES:
∑3                                                                   ∑3∑∑∑PACHULSKI STANG ZIEHL & JONES
∑4                                                                   ∑4∑∑∑Attorneys for Debtor
∑5∑∑∑∑∑∑∑∑∑∑∑Tuesday, January 5, 2021                                ∑5∑∑∑780 Third Avenue
∑6∑∑∑∑∑∑∑∑∑∑∑9:50 a.m. CST                                           ∑6∑∑∑New York, NY 10017
∑7                                                                   ∑7∑∑∑BY:∑∑JOHN MORRIS, ESQ.
∑8                                                                   ∑8∑∑∑∑∑∑∑HAYLEY WINOGRAD, ESQ.
∑9∑∑∑∑∑∑∑REMOTE ORAL VIDEO-RECORDED DEPOSITION                       ∑9∑∑∑∑∑∑∑JEFFREY POMERANTZ, ESQ.
10∑∑OF JAMES D. DONDERO, held via Zoom conference                    10∑∑∑∑∑∑∑GREGORY DEMO, ESQ.
11∑∑pursuant to the Federal Rules of Civil Procedure                 11∑∑∑∑∑∑∑IRA KHARASCH, ESQ.
12∑∑before Michael E. Miller, Fellow of the Academy                  12
13∑∑of Professional Reporters, Registered Diplomate                  13∑∑∑LATHAM & WATKINS
14∑∑Reporter, Certified Realtime Reporter and Notary                 14∑∑∑Attorney For UBS
15∑∑Public in and for the State of Texas.                            15∑∑∑885 Third Avenue
16                                                                   16∑∑∑New York, NY 10022
17                                                                   17∑∑∑BY:∑∑SHANNON MCLAUGHLIN, ESQ.
18                                                                   18∑∑∑∑∑∑∑ZACHARY PROULX, ESQ.
19                                                                   19
20                                                                   20∑∑∑JENNER & BLOCK
21                                                                   21∑∑∑Attorney for Redeemer Committee
22                                                                   22∑∑∑353 North Clark Street
23                                                                   23∑∑∑Chicago, IL 60654
24                                                                   24∑∑∑BY:∑∑TERRI MASCHERIN, ESQ.
25                                                                   25


                                                            Page 4                                                           Page 5
∑1                                                                   ∑1
∑2∑∑REMOTE APPEARANCES:                                              ∑2∑∑REMOTE APPEARANCES:
∑3∑∑∑SIDLEY AUSTIN                                                   ∑3∑∑∑DEBEVOISE & PLIMPTON
∑4∑∑∑Attorneys For the Creditors Committee                           ∑4∑∑∑Attorneys for HarbourVest Partners
∑5∑∑∑2021 McKinney Avenue                                            ∑5∑∑∑919 Third Avenue
∑6∑∑∑Dallas, TX 75201                                                ∑6∑∑∑New York, NY 10022
∑7∑∑∑BY:∑∑PENNY REID, ESQ.                                           ∑7∑∑∑BY:∑∑ERICA WEISGERBER, ESQ.
∑8∑∑∑∑∑∑∑PAIGE MONTGOMERY, ESQ.                                      ∑8
∑9∑∑∑∑∑∑∑MATTHEW CLEMENTE, ESQ.                                      ∑9∑∑∑CARLYON CICA CHARTERED
10∑∑∑∑∑∑∑ALYSSA RUSSELL, ESQ.                                        10∑∑∑Attorneys for Integrated Financial
11                                                                   11∑∑∑Associates Inc.
12∑∑∑KING & SPALDING                                                 12∑∑∑265 East Warm Springs Road
13∑∑∑Attorney for Highland CLO Funding, Ltd.                         13∑∑∑Las Vegas, NV 89119
14∑∑∑500 West 2nd Street                                             14∑∑∑BY:∑∑CANDACE CARLYON, ESQ.
15∑∑∑Austin, TX 78701                                                15
16∑∑∑BY:∑∑REBECCA MATSUMURA, ESQ.                                    16∑∑ALSO PRESENT:
17                                                                   17∑∑∑La Asia Canty, Paralegal
18∑∑∑BONDS ELLIS EPPICH SCHAFER JONES                                18∑∑∑Pachulski Stang Ziehl & Jones LLP
19∑∑∑Attorneys for James Dondero                                     19
20∑∑∑420 Throckmorton Street                                         20∑∑VIDEOGRAPHER:
21∑∑∑Fort Worth, TX 76102                                            21∑∑∑Rick Richey, TSG Reporting Inc.
22∑∑∑BY:∑∑JOHN BONDS, ESQ.                                           22
23∑∑∑∑∑∑∑BRYAN ASSINK, ESQ.                                          23
24                                                                   24
25                                                                   25



                                             TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01588
                                                                                                                                      YVer1f
      Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 5 of 200 PageID 31158
                                                        Page 6                                                                   Page 7
∑1                                                               ∑1
∑2∑∑∑∑∑∑∑∑∑∑∑------------                                        ∑2∑∑∑∑∑∑∑MR. BONDS:∑Yes.
∑3∑∑∑∑∑∑∑∑∑P R O C E E D I N G S                                 ∑3∑∑∑∑∑∑∑MR. MORRIS:∑Does anyone not agree?
∑4∑∑∑∑∑∑∑January 5, 2021, 9:50 a.m. CST                          ∑4∑∑∑∑∑∑∑(Pause.)
∑5∑∑∑∑∑∑∑∑∑∑∑------------                                        ∑5∑∑∑∑∑∑∑MR. MORRIS:∑Having heard nothing,
∑6∑∑∑∑∑∑∑THE VIDEOGRAPHER:∑Good morning,                         ∑6∑∑let's proceed.∑Thank you.
∑7∑∑ladies and gentlemen.∑My name is Rick Richey.                ∑7∑∑∑∑∑∑∑THE VIDEOGRAPHER:∑This will be the
∑8∑∑I'm a legal videographer in association with                 ∑8∑∑start of Media No. 1 in the video-recorded
∑9∑∑TSG Reporting Inc.                                           ∑9∑∑deposition of James Dondero.∑Today's date is
10∑∑∑∑∑∑∑Due to the severity of the COVID-19                     10∑∑January 5th, 2021.∑It's 9:52 a.m. Central
11∑∑and following the practice of social distancing,             11∑∑Standard Time.
12∑∑I will not be in the same room with the witness.             12∑∑∑∑∑∑∑The case is In re Highland Capital
13∑∑Instead, I will record this videotaped deposition            13∑∑Management LP, Debtor, Chapter 11, Case
14∑∑remotely.                                                    14∑∑No. 19-34054-sgj11 in the United States
15∑∑∑∑∑∑∑The court reporter, Mike Miller, also                   15∑∑Bankruptcy Court for the Northern District of
16∑∑will not be in the same room and will swear the              16∑∑Texas, Dallas Division.
17∑∑witness remotely.                                            17∑∑∑∑∑∑∑The attorneys' appearances have
18∑∑∑∑∑∑∑Do all parties stipulate to the                         18∑∑already been noted on the steno record, so would
19∑∑validity of this video recording and remote                  19∑∑the court reporter please swear the witness.
20∑∑swearing and that it will be admissible in the               20∑∑∑∑∑∑∑MR. BONDS:∑Wait just one second.
21∑∑courtroom as if it had been taken following Rule             21∑∑There's an adversary proceeding that this case is
22∑∑30 of the Federal Rules of Civil Procedure and               22∑∑actually -- or this deposition is actually being
23∑∑the state rules where the case is pending?                   23∑∑taken in.∑It's 20-03190-sgj.∑Thank you.
24∑∑∑∑∑∑∑Do all agree?                                           24∑∑∑∑∑∑∑///
25∑∑∑∑∑∑∑MR. MORRIS:∑Yes.                                        25∑∑∑∑∑∑∑///
                                                        Page 8                                                                   Page 9
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                          ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑∑∑∑∑∑∑------------                                        ∑2∑∑∑∑∑A.∑Yes.
∑3∑∑∑∑∑∑∑∑∑∑JAMES D. DONDERO,                                    ∑3∑∑∑∑∑Q.∑Are you aware that the debtor sent a
∑4∑∑∑∑∑∑∑∑having been duly sworn,                                ∑4∑∑letter to your lawyers instructing you not to be
∑5∑∑∑∑∑∑∑∑testified as follows:                                  ∑5∑∑on the premises after December 31st, 2020?
∑6∑∑∑∑∑∑∑∑∑∑∑------------                                        ∑6∑∑∑∑∑A.∑Yes.
∑7∑∑∑∑∑∑∑∑∑∑∑EXAMINATION                                         ∑7∑∑∑∑∑Q.∑Did you get the debtor's permission
∑8∑∑∑∑∑∑∑∑∑∑∑------------                                        ∑8∑∑to enter the premises this morning?
∑9∑∑BY MR. MORRIS:                                               ∑9∑∑∑∑∑A.∑Implicitly for this depo, I believe.
10∑∑∑∑∑Q.∑Good morning, Mr. Dondero.∑Can you                     10∑∑∑∑∑Q.∑Okay.∑Did you get any explicit
11∑∑hear me okay?                                                11∑∑consent or approval for you to be in the offices
12∑∑∑∑∑A.∑Yes.                                                   12∑∑this morning?
13∑∑∑∑∑Q.∑Okay.∑My name is John Morris from                      13∑∑∑∑∑A.∑Not that I'm aware of.
14∑∑Pachulski Stang Ziehl & Jones, counsel for the               14∑∑∑∑∑Q.∑Did you ask or did anybody on your
15∑∑debtor.                                                      15∑∑behalf ask the debtors if you could participate
16∑∑∑∑∑∑∑Where are you located this morning,                     16∑∑in today's deposition at the Highland offices?
17∑∑sir?                                                         17∑∑∑∑∑A.∑I don't know.
18∑∑∑∑∑A.∑Highland Capital Management's                          18∑∑∑∑∑Q.∑You're not aware of that, right?
19∑∑conference room, same as last time.                          19∑∑∑∑∑A.∑Correct.
20∑∑∑∑∑Q.∑Is there anybody in the room with you                  20∑∑∑∑∑Q.∑Okay.∑John Bonds is defending you
21∑∑right now?                                                   21∑∑today; is that right?
22∑∑∑∑∑A.∑No.                                                    22∑∑∑∑∑A.∑Yes.
23∑∑∑∑∑Q.∑Do you have a telephone with you?                      23∑∑∑∑∑Q.∑And he's at the Bonds Ellis firm,
24∑∑∑∑∑A.∑Yes.                                                   24∑∑right?
25∑∑∑∑∑Q.∑Is the phone off?                                      25∑∑∑∑∑A.∑Yes.

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                   Appx. 01589
                                                                                                                                          YVer1f
      Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 6 of 200 PageID 31159
                                                        Page 10                                                              Page 11
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑Q.∑And the Bonds Ellis firms represents                    ∑2∑∑debtor's motion for -- (audio malfunction) --
∑3∑∑you in your individual capacity, correct?                     ∑3∑∑∑∑∑∑∑(Clarification requested by the
∑4∑∑∑∑∑A.∑Yes.                                                    ∑4∑∑stenographer.)
∑5∑∑∑∑∑Q.∑Is there any other law firm that                        ∑5∑∑∑∑∑∑∑MR. MORRIS:∑I'll ask it again.
∑6∑∑represents you in your individual capacity in the             ∑6∑∑BY MR. MORRIS:
∑7∑∑Highland bankruptcy or in the adversary                       ∑7∑∑∑∑∑Q.∑Mr. Dondero, do you understand that
∑8∑∑proceeding?                                                   ∑8∑∑today's deposition is being taken in connection
∑9∑∑∑∑∑A.∑I don't believe so.                                     ∑9∑∑with the debtor's motion for preliminary
10∑∑∑∑∑Q.∑Okay.∑Does the Bonds Ellis firm                         10∑∑injunction against you?
11∑∑represent any entity in which you have an                     11∑∑∑∑∑A.∑Yes.
12∑∑ownership or control interest, or do they just                12∑∑∑∑∑Q.∑Do you intend to participate in the
13∑∑represent you in your individual capacity?                    13∑∑hearing on the debtor's motion for preliminary
14∑∑∑∑∑A.∑I don't know for sure.                                  14∑∑injunction?
15∑∑∑∑∑Q.∑Okay.∑But as you sit here right now,                    15∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
16∑∑do you have any reason to believe that the Bonds              16∑∑∑∑∑∑∑MR. MORRIS:∑You can answer.
17∑∑Ellis firm represents anybody other than you in               17∑∑∑∑∑A.∑I don't know.
18∑∑your individual capacity in connection with the               18∑∑BY MR. MORRIS:
19∑∑bankruptcy case?                                              19∑∑∑∑∑Q.∑Do you intend to make -- do you
20∑∑∑∑∑A.∑I don't know.                                           20∑∑intend to testify at the debtor's hearing for
21∑∑∑∑∑Q.∑Okay.∑You understand that we're here                    21∑∑preliminary injunction?
22∑∑today for your deposition, right?                             22∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
23∑∑∑∑∑A.∑Yes.                                                    23∑∑∑∑∑A.∑I don't know.
24∑∑∑∑∑Q.∑And do you understand that today's                      24∑∑BY MR. MORRIS:
25∑∑deposition is being taken in connection with the              25∑∑∑∑∑Q.∑You may or you may not; is that
                                                        Page 12                                                              Page 13
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑right?                                                        ∑2∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
∑3∑∑∑∑∑A.∑Yes.                                                    ∑3∑∑∑∑∑A.∑Correct.
∑4∑∑∑∑∑Q.∑Okay.∑Are you on any drugs or any                       ∑4∑∑BY MR. MORRIS:
∑5∑∑medication right now?                                         ∑5∑∑∑∑∑Q.∑Do you have an understanding of what
∑6∑∑∑∑∑A.∑No.                                                     ∑6∑∑the order restrains you from doing?
∑7∑∑∑∑∑Q.∑Is there anything that you're aware                     ∑7∑∑∑∑∑A.∑Just in the most general sense.
∑8∑∑of that might affect your memory today?                       ∑8∑∑∑∑∑Q.∑Tell me your understanding of what
∑9∑∑∑∑∑A.∑No.                                                     ∑9∑∑the temporary order restrains you from doing.
10∑∑∑∑∑Q.∑Are you aware of anything that would                    10∑∑∑∑∑A.∑Talking to the independent board
11∑∑prevent you from testifying competently today to              11∑∑directly or talking directly to Highland
12∑∑the best of your ability?                                     12∑∑employees.
13∑∑∑∑∑A.∑No.                                                     13∑∑∑∑∑Q.∑Is there any other aspect of the
14∑∑∑∑∑Q.∑You understand that you're under oath                   14∑∑temporary restraining order that you're aware of
15∑∑right now?                                                    15∑∑that would otherwise constrain or restrain your
16∑∑∑∑∑A.∑Yes.                                                    16∑∑conduct?
17∑∑∑∑∑Q.∑Are you aware that on December 10th                     17∑∑∑∑∑A.∑Those are the points I remember.
18∑∑the debtor obtained a temporary restraining order             18∑∑∑∑∑Q.∑Do you recall that before the Court
19∑∑against you?                                                  19∑∑entered the temporary restraining order, it held
20∑∑∑∑∑A.∑Roughly.                                                20∑∑a hearing to consider the debtor's request?
21∑∑∑∑∑Q.∑Okay.∑Did you ever personally read a                    21∑∑∑∑∑A.∑I -- I don't know.
22∑∑copy of the temporary restraining order?                      22∑∑∑∑∑Q.∑Did you listen to the hearing?
23∑∑∑∑∑A.∑No.                                                     23∑∑∑∑∑A.∑No.
24∑∑∑∑∑Q.∑So you've never seen the order                          24∑∑∑∑∑Q.∑Did you read a transcript of the
25∑∑itself; is that right?                                        25∑∑hearing?

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                   Appx. 01590
                                                                                                                                       YVer1f
      Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 7 of 200 PageID 31160
                                                        Page 14                                                              Page 15
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑A.∑No.                                                     ∑2∑∑∑∑∑Q.∑Did you ever review the declaration
∑3∑∑∑∑∑Q.∑Do you respect the Court's authority                    ∑3∑∑that Mr. Seery submitted in connection with the
∑4∑∑in this case?                                                 ∑4∑∑debtor's motion for a temporary restraining order
∑5∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              ∑5∑∑against you?
∑6∑∑∑∑∑A.∑Yes.                                                    ∑6∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
∑7∑∑BY MR. MORRIS:                                                ∑7∑∑∑∑∑A.∑No.
∑8∑∑∑∑∑Q.∑Is there any particular reason why                      ∑8∑∑BY MR. MORRIS:
∑9∑∑you didn't take the time to read the Court's                  ∑9∑∑∑∑∑Q.∑Do you know what Mr. Seery alleged in
10∑∑temporary restraining order that was entered                  10∑∑his declaration -- withdrawn.
11∑∑against you?                                                  11∑∑∑∑∑∑∑Do you know the substance of what
12∑∑∑∑∑A.∑No.                                                     12∑∑Mr. Seery alleged in his declaration in support
13∑∑∑∑∑Q.∑James Seery is a member of the board                    13∑∑of the debtor's motion for the TRO?
14∑∑of Strand Advisors, the debtor's general partner,             14∑∑∑∑∑A.∑No.
15∑∑right?                                                        15∑∑∑∑∑Q.∑Did you care that the debtor was
16∑∑∑∑∑A.∑Yes.                                                    16∑∑seeking a TRO against you?
17∑∑∑∑∑Q.∑And you've been aware of that since                     17∑∑∑∑∑A.∑I didn't think about it.
18∑∑at least last January, correct?                               18∑∑∑∑∑Q.∑Have you thought about it since the
19∑∑∑∑∑A.∑Yes.                                                    19∑∑order was entered?
20∑∑∑∑∑Q.∑And you're also aware that Mr. Seery                    20∑∑∑∑∑A.∑Not really.
21∑∑is the debtor's CEO and CRO, right?                           21∑∑∑∑∑Q.∑Okay.∑You didn't submit a
22∑∑∑∑∑A.∑Yes.                                                    22∑∑declaration of your own in opposition of the
23∑∑∑∑∑Q.∑And you've been aware of that since                     23∑∑motion for TRO, right?
24∑∑last July, correct?                                           24∑∑∑∑∑A.∑I don't know.
25∑∑∑∑∑A.∑Yes.                                                    25∑∑∑∑∑Q.∑You don't recall signing anything, do
                                                        Page 16                                                              Page 17
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑you?                                                          ∑2∑∑BY MR. MORRIS:
∑3∑∑∑∑∑A.∑I've signed a lot of things, but                        ∑3∑∑∑∑∑Q.∑Can we agree that CLO stands for
∑4∑∑I'm -- I don't recall an opposition.                          ∑4∑∑collateralized loaning obligations?
∑5∑∑∑∑∑Q.∑Let's talk about some of the events                     ∑5∑∑∑∑∑A.∑Yes.
∑6∑∑that led to the entry of the TRO.                             ∑6∑∑∑∑∑Q.∑Okay.∑And does the debtor -- is the
∑7∑∑∑∑∑∑∑The debtor serves -- (audio                              ∑7∑∑debtor party to certain contracts that gives it
∑8∑∑malfunction) --                                               ∑8∑∑the right and responsibility to manage certain
∑9∑∑∑∑∑∑∑(Clarification requested by the                          ∑9∑∑CLO vehicles?
10∑∑stenographer.)                                                10∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
11∑∑∑∑∑∑∑THE WITNESS:∑I didn't touch the                          11∑∑∑∑∑∑∑MR. MORRIS:∑You can answer.
12∑∑microphone at this end and it's six inches or                 12∑∑∑∑∑A.∑Yes.
13∑∑eight inches from my mouth.                                   13∑∑BY MR. MORRIS:
14∑∑∑∑∑∑∑MR. MORRIS:∑Yeah, let's try again,                       14∑∑∑∑∑Q.∑And you're aware of that because you
15∑∑Mr. Dondero.∑Thank you.                                       15∑∑personally signed some of those contracts and
16∑∑BY MR. MORRIS:                                                16∑∑agreements, right?
17∑∑∑∑∑Q.∑The debtor serves as the portfolio                      17∑∑∑∑∑A.∑I don't know.
18∑∑manager for certain collateralized loan                       18∑∑∑∑∑Q.∑Okay.∑NexPoint Advisors LP, are you
19∑∑obligation vehicles; isn't that right?                        19∑∑familiar with that firm?
20∑∑∑∑∑A.∑I don't want to testify to that.                        20∑∑∑∑∑A.∑Yes.
21∑∑∑∑∑Q.∑Does the -- does the debtor manage                      21∑∑∑∑∑Q.∑That's an advisory firm; is that
22∑∑CLOs?                                                         22∑∑right?
23∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              23∑∑∑∑∑A.∑Yes.
24∑∑∑∑∑∑∑MR. MORRIS:∑Withdrawn.                                   24∑∑∑∑∑Q.∑And we'll just refer to that as
25∑∑∑∑∑∑∑///                                                      25∑∑NexPoint; is that okay?

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                   Appx. 01591
                                                                                                                                       YVer1f
      Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 8 of 200 PageID 31161
                                                        Page 18                                                             Page 19
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑A.∑Yes.                                                    ∑2∑∑correct?
∑3∑∑∑∑∑Q.∑You have a direct or indirect                           ∑3∑∑∑∑∑A.∑Yes.
∑4∑∑economic or ownership interest in NexPoint,                   ∑4∑∑∑∑∑Q.∑And we'll refer to that firm as Fund
∑5∑∑correct?                                                      ∑5∑∑Advisors; is that fair?
∑6∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              ∑6∑∑∑∑∑A.∑Sure.
∑7∑∑∑∑∑∑∑MR. MORRIS:∑You can answer.                              ∑7∑∑∑∑∑Q.∑And we'll refer to Fund Advisors and
∑8∑∑∑∑∑A.∑Yes.                                                    ∑8∑∑NexPoint together just as "the advisors"; is that
∑9∑∑BY MR. MORRIS:                                                ∑9∑∑fair?
10∑∑∑∑∑Q.∑You're the president of NexPoint,                       10∑∑∑∑∑A.∑I think you should be more specific
11∑∑correct?                                                      11∑∑than that, but --
12∑∑∑∑∑A.∑I believe so.                                           12∑∑∑∑∑Q.∑Okay.∑I apologize.∑Are you
13∑∑∑∑∑Q.∑And you own NexPoint's general                          13∑∑finished?
14∑∑partner; is that right?                                       14∑∑∑∑∑∑∑If at any time I ask a question and
15∑∑∑∑∑A.∑I don't know.                                           15∑∑you don't understand, will you let me know that?
16∑∑∑∑∑Q.∑Do you know who owns NexPoint's                         16∑∑∑∑∑A.∑Yes.
17∑∑general partner?                                              17∑∑∑∑∑Q.∑Okay.∑You have a direct or indirect
18∑∑∑∑∑A.∑No.                                                     18∑∑economic or ownership interest in Fund Advisors,
19∑∑∑∑∑Q.∑As the president of NexPoint, is it                     19∑∑correct?
20∑∑fair to say that you control that entity?                     20∑∑∑∑∑A.∑Yes.
21∑∑∑∑∑A.∑Generally.                                              21∑∑∑∑∑Q.∑You're the president of Fund
22∑∑∑∑∑Q.∑Highland Capital Management Fund                        22∑∑Advisors; is that true?
23∑∑Advisors LP, are you familiar with that firm?                 23∑∑∑∑∑A.∑I believe so.
24∑∑∑∑∑A.∑Yes.                                                    24∑∑∑∑∑Q.∑And you own Fund Advisors' general
25∑∑∑∑∑Q.∑And that's also an advisory firm,                       25∑∑partner; is that right?
                                                        Page 20                                                             Page 21
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑A.∑I don't believe I own as much of it                     ∑2∑∑Highland Income Fund?
∑3∑∑as I own of NexPoint, but I don't know the                    ∑3∑∑∑∑∑A.∑I believe so.
∑4∑∑numbers.                                                      ∑4∑∑∑∑∑Q.∑Do you hold any titles at the
∑5∑∑∑∑∑Q.∑Okay.∑As one of the two beneficial                      ∑5∑∑Highland Income Fund other than portfolio
∑6∑∑owners of Fund Advisors and as the president of               ∑6∑∑manager?
∑7∑∑Fund Advisors, is it fair to say that you control             ∑7∑∑∑∑∑∑∑MR. BONDS:∑To the extent you know.
∑8∑∑that entity?                                                  ∑8∑∑Don't speculate.
∑9∑∑∑∑∑A.∑Yes.                                                    ∑9∑∑∑∑∑A.∑I don't -- I don't know.∑I know I'm
10∑∑∑∑∑Q.∑Okay.∑And Fund Advisors and NexPoint                    10∑∑portfolio manager on virtually all of the funds.
11∑∑manage certain investment funds; is that right?               11∑∑BY MR. MORRIS:
12∑∑∑∑∑A.∑I'm sorry, I missed the point of that                   12∑∑∑∑∑Q.∑Is there any fund that you're not the
13∑∑question.                                                     13∑∑portfolio manager for that you're aware of?
14∑∑∑∑∑Q.∑Didn't hear?∑Okay.                                      14∑∑∑∑∑A.∑I don't know.
15∑∑∑∑∑∑∑Fund Advisors, which we've talked                        15∑∑∑∑∑Q.∑Are you the portfolio manager of
16∑∑about, and NexPoint, which we've talked about,                16∑∑NexPoint Capital Inc.?
17∑∑those two entities manage certain investment                  17∑∑∑∑∑A.∑If that name refers to a fund, I
18∑∑funds; is that right?                                         18∑∑believe so.
19∑∑∑∑∑A.∑Yes.                                                    19∑∑∑∑∑Q.∑Okay.∑You're not sure if that refers
20∑∑∑∑∑Q.∑And one of the investment funds that                    20∑∑to a fund?
21∑∑the advisors manage is Highland Income Fund.∑Do               21∑∑∑∑∑A.∑There's a fund with the symbol NHF.
22∑∑I have that right?                                            22∑∑If that's the name -- which I don't think you
23∑∑∑∑∑A.∑Yes.∑I'm not sure which fund that                       23∑∑have the exact name.∑If that's the name of it,
24∑∑is, but yes, that's -- that's one of them.                    24∑∑then I believe -- I believe I'm the portfolio
25∑∑∑∑∑Q.∑Are you the portfolio manager of the                    25∑∑manager.∑The name that you just gave sounded

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01592
                                                                                                                                      YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 9 of 200 PageID 31162
                                                        Page 22                                                             Page 23
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑more like a holding company name or a subsidiary              ∑2∑∑∑∑∑∑∑MR. MORRIS:∑John, if there's an
∑3∑∑name for NexPoint.∑If it's not a fund, I'm not                ∑3∑∑objection, I welcome it.∑If there's a direction
∑4∑∑the portfolio manager.∑If it is a fund, I                     ∑4∑∑not to answer, I welcome it.∑But what I don't
∑5∑∑believe I am.                                                 ∑5∑∑welcome is guiding the witness.∑If he doesn't
∑6∑∑∑∑∑Q.∑Okay.∑Do you hold -- are you                            ∑6∑∑remember, he's done this so many times, he knows
∑7∑∑familiar with an entity called NexPoint                       ∑7∑∑what he's doing.
∑8∑∑Capital Inc.?                                                 ∑8∑∑∑∑∑∑∑You want me to ask the question
∑9∑∑∑∑∑A.∑No.                                                     ∑9∑∑again, Mr. Dondero?
10∑∑∑∑∑Q.∑Okay.∑How about NexPoint Strategic                      10∑∑∑∑∑∑∑THE WITNESS:∑Please.
11∑∑Opportunities Fund, is that a fund that is                    11∑∑BY MR. MORRIS:
12∑∑managed by one of the advisors?                               12∑∑∑∑∑Q.∑The two advisors that we talked
13∑∑∑∑∑A.∑I believe that's the name for NHF.                      13∑∑about, they manage funds, right?
14∑∑That's what I thought you were referring to.                  14∑∑∑∑∑A.∑Yes.
15∑∑That's the one that's a fund, and that's the one              15∑∑∑∑∑Q.∑And those funds have invested in
16∑∑that I'm portfolio manager on.                                16∑∑certain CLOs that are managed by the debtor,
17∑∑∑∑∑Q.∑Okay.∑Do you hold any titles at                         17∑∑correct?
18∑∑NexPoint Strategic Opportunity Fund other than                18∑∑∑∑∑A.∑The problem I have with that question
19∑∑portfolio manager?                                            19∑∑and the part that I don't want to testify as
20∑∑∑∑∑A.∑I don't know.                                           20∑∑agreeing to or acknowledging is that the debtor
21∑∑∑∑∑Q.∑The advisors caused each of the funds                   21∑∑manages those CLOs, because I won't testify to
22∑∑to invest in certain CLOs that are managed by the             22∑∑the debtor being in good standing, and I won't
23∑∑debtor, right?                                                23∑∑testify to the debtor not being in default, and I
24∑∑∑∑∑∑∑MR. BONDS:∑To the extent you know.                       24∑∑won't testify to the debtor having the capability
25∑∑Don't speculate.                                              25∑∑to manage those CLOs --
                                                        Page 24                                                             Page 25
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑Q.∑Will you -- I'm sorry to interrupt.                     ∑2∑∑BY MR. MORRIS:
∑3∑∑Go ahead.                                                     ∑3∑∑∑∑∑Q.∑Okay.∑I think I understand.
∑4∑∑∑∑∑A.∑No, I mean, that's -- so I won't -- I                   ∑4∑∑∑∑∑∑∑When you used the word "advisor" in
∑5∑∑won't testify affirmatively to the second half of             ∑5∑∑your last answer, you were referring to the
∑6∑∑that question.                                                ∑6∑∑debtor; is that right?
∑7∑∑∑∑∑Q.∑Okay.∑But you will admit, won't you,                    ∑7∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
∑8∑∑that the debtor has -- is party to contracts that             ∑8∑∑BY MR. MORRIS:
∑9∑∑give it the right to manage CLOs in which the                 ∑9∑∑∑∑∑Q.∑It's the debtor that has -- let me
10∑∑advisors caused the funds to invest, right?                   10∑∑try again.
11∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              11∑∑∑∑∑∑∑It's the debtor that has the
12∑∑∑∑∑∑∑MR. MORRIS:∑You can answer.                              12∑∑contracts with the CLO, right?
13∑∑∑∑∑A.∑The beginning and end of what I want                    13∑∑∑∑∑A.∑Yes.
14∑∑to testify to is that the advisor is parties --               14∑∑∑∑∑Q.∑But it's your contention that the
15∑∑party to contracts.∑The contracts have --                     15∑∑debtor is in default and that Mr. Seery and the
16∑∑provide the ability to manage assets in the CLO               16∑∑debtor otherwise don't have the capability to
17∑∑subject to a bunch of different things, subject               17∑∑manage the CLOs.∑That's what you're saying,
18∑∑to not being in default, subject to the ability,              18∑∑right?
19∑∑subject to the capability and being registered                19∑∑∑∑∑A.∑I don't want to argue, and it's for
20∑∑advisor, et cetera, et cetera.                                20∑∑the lawyers and the Court to decide, but I don't
21∑∑∑∑∑∑∑I don't want to have any testimony                       21∑∑want to be affirmatively acknowledging that
22∑∑that implies that the advisor is in good standing             22∑∑Seery's an investment professional.∑I don't want
23∑∑or able or capable of managing those CLOs or that             23∑∑to be affirmatively acknowledging that he has any
24∑∑Jim Seery is even an investment professional.                 24∑∑employees and staff when he's told them all
25∑∑∑∑∑∑∑///                                                      25∑∑they're being terminated in the next few weeks.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01593
                                                                                                                                      YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 10 of 200 PageID 31163
                                                        Page 26                                                            Page 27
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑∑∑I don't want to acknowledge that he                      ∑2∑∑∑∑∑A.∑I don't know where -- I don't know.
∑3∑∑is in compliance and can operate those contracts              ∑3∑∑∑∑∑Q.∑Has any of the CLOs ever contended
∑4∑∑if I believe those contracts are in default                   ∑4∑∑that the debtor was in breach in their agreement?
∑5∑∑because, A, the advisor's in bankruptcy, and B,               ∑5∑∑∑∑∑A.∑I believe the beneficial holders
∑6∑∑none of the key man provisions are being adhered              ∑6∑∑have.
∑7∑∑to by the advisor.                                            ∑7∑∑∑∑∑Q.∑I understand that --
∑8∑∑∑∑∑∑∑I don't want to in any form or                           ∑8∑∑∑∑∑A.∑But I don't know -- I don't know if
∑9∑∑fashion acknowledge or represent or somehow be                ∑9∑∑the CLOs have.
10∑∑twisted into testifying that he is in good                    10∑∑∑∑∑Q.∑Okay.∑I'm asking you a different
11∑∑standing or has the ability to manage those CLOs.             11∑∑question, and just answer my question.
12∑∑It may be found by somebody that he is, but I                 12∑∑∑∑∑∑∑To the best of your knowledge, has
13∑∑don't want to be in any way inferred to be                    13∑∑any CLO contended that the debtor is in breach of
14∑∑sanctioning it.                                               14∑∑any of the agreements that they have between
15∑∑∑∑∑Q.∑Okay.∑Are you aware -- have any of                      15∑∑them?
16∑∑the contracts pursuant to which the CLOs and the              16∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
17∑∑debtor are the parties, have any of those                     17∑∑∑∑∑A.∑I don't know.
18∑∑contracts been terminated, to the best of your                18∑∑BY MR. MORRIS:
19∑∑knowledge, since the petition date?                           19∑∑∑∑∑Q.∑You're not aware of any such
20∑∑∑∑∑A.∑I believe they're subject to stays,                     20∑∑contention, right?
21∑∑among other things, but I'm not -- I'm not a                  21∑∑∑∑∑A.∑I don't know.
22∑∑lawyer.                                                       22∑∑∑∑∑Q.∑You're not aware of any contention by
23∑∑∑∑∑Q.∑Has anybody sought to lift the stay                     23∑∑the CLOs that the debtor is in default under any
24∑∑in order to terminate the contracts, to the best              24∑∑CLO contract, correct?
25∑∑of your knowledge?                                            25∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
                                                        Page 28                                                            Page 29
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑A.∑I don't know regarding the CLOs.                        ∑2∑∑or not they can be circumvented or ignored by an
∑3∑∑BY MR. MORRIS:                                                ∑3∑∑intermediate nonfinancial -- nonfinancially
∑4∑∑∑∑∑Q.∑Did you ever ask them?∑Withdrawn.                       ∑4∑∑interested party.∑I don't want to -- I don't
∑5∑∑∑∑∑∑∑Did you ever ask anybody on behalf of                    ∑5∑∑want to speculate on that.
∑6∑∑the CLOs whether they were going to declare a                 ∑6∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑I move to strike.
∑7∑∑default under the CLO management agreements?                  ∑7∑∑∑∑∑∑∑And I'm not asking for a legal
∑8∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              ∑8∑∑conclusion; I'm asking for your understanding.
∑9∑∑∑∑∑A.∑I don't know.                                           ∑9∑∑BY MR. MORRIS:
10∑∑BY MR. MORRIS:                                                10∑∑∑∑∑Q.∑Is it your understanding that
11∑∑∑∑∑Q.∑You don't know if you asked?∑I'm                        11∑∑beneficial owners are parties to the CLO
12∑∑just asking you if you ever asked the question.               12∑∑management agreements between the debtor and the
13∑∑∑∑∑A.∑Not of the CLOs.∑Those questions                        13∑∑CLOs?
14∑∑were asked regarding the beneficial owners, and I             14∑∑∑∑∑∑∑MR. BONDS:∑Objection to form.
15∑∑think the beneficial owners did that, but I                   15∑∑∑∑∑∑∑MR. MORRIS:∑You can answer.
16∑∑didn't have direct knowledge or contact with the              16∑∑∑∑∑A.∑I think that asks for a legal
17∑∑CLOs.                                                         17∑∑conclusion.
18∑∑∑∑∑Q.∑Okay.∑And the beneficial owners are                     18∑∑BY MR. MORRIS:
19∑∑not parties to the CLO management agreements                  19∑∑∑∑∑Q.∑It does not.∑I'm asking you as a
20∑∑between the CLOs and the debtor, correct?                     20∑∑factual matter based on your understanding as the
21∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              21∑∑portfolio manager of the funds and the president
22∑∑∑∑∑A.∑I don't want to draw a legal                            22∑∑of the advisors who made these investments.∑I'm
23∑∑conclusion of the rights of the beneficial owners             23∑∑asking you --
24∑∑and the people who have the risk and the people               24∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
25∑∑who have the ultimate decision authority whether              25∑∑∑∑∑∑∑///

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01594
                                                                                                                                     YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                 Page 11 of 200 PageID 31164
                                                        Page 30                                                               Page 31
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑BY MR. MORRIS:                                                ∑2∑∑up Exhibit 1.
∑3∑∑∑∑∑Q.∑-- in that capacity.                                    ∑3∑∑∑∑∑∑∑(Dondero Deposition Exhibit 1
∑4∑∑∑∑∑∑∑In that capacity, do you have any                        ∑4∑∑marked.)
∑5∑∑understanding that the beneficial owners are                  ∑5∑∑BY MR. MORRIS:
∑6∑∑parties to the CLO management agreements between              ∑6∑∑∑∑∑Q.∑Mr. Dondero, I appreciate that it's
∑7∑∑the debtor and the CLOs?                                      ∑7∑∑difficult to do this remotely, and as we
∑8∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              ∑8∑∑discussed last time, the one thing that I'm
∑9∑∑∑∑∑A.∑My understanding is that the                            ∑9∑∑certainly not doing today is playing gotcha with
10∑∑beneficial owner should always be considered.                 10∑∑documents.
11∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑I move to strike.                      11∑∑∑∑∑∑∑So I'm going to put documents up on
12∑∑I'm not asking you whether they should be                     12∑∑the screen from time to time, and to the extent
13∑∑considered.                                                   13∑∑that you think you need to read more of the
14∑∑BY MR. MORRIS:                                                14∑∑document in order to have full context, will you
15∑∑∑∑∑Q.∑I'm asking you very specifically                        15∑∑let me know that?
16∑∑whether you believe that they are parties to the              16∑∑∑∑∑A.∑Sure.
17∑∑contract.                                                     17∑∑∑∑∑Q.∑Okay.∑This is a letter dated
18∑∑∑∑∑∑∑MR. BONDS:∑Objection, form, asked                        18∑∑October 16th from NexPoint to Mr. Seery.
19∑∑and answered.                                                 19∑∑∑∑∑∑∑Do you see that?
20∑∑∑∑∑A.∑Yeah, I believe you're asking me for                    20∑∑∑∑∑A.∑Yep.
21∑∑a legal conclusion, and I won't give one.                     21∑∑∑∑∑Q.∑Okay.∑Are you familiar with this
22∑∑BY MR. MORRIS:                                                22∑∑document?∑Have you ever seen it before?
23∑∑∑∑∑Q.∑Okay.                                                   23∑∑∑∑∑A.∑Generally.∑I'm generally familiar
24∑∑∑∑∑∑∑MR. MORRIS:∑La Asia, can we please                       24∑∑with it, but I haven't seen it before.
25∑∑put up Exhibit 1.∑Let's share the screen and put              25∑∑∑∑∑Q.∑Okay.∑Do you recall when you first
                                                        Page 32                                                               Page 33
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑learned that this document was sent?∑Was it at                ∑2∑∑BY MR. MORRIS:
∑3∑∑or around the time the document was sent?                     ∑3∑∑∑∑∑Q.∑And did you authorize the sending of
∑4∑∑∑∑∑A.∑It was at or around the time, yes.                      ∑4∑∑this particular letter?
∑5∑∑∑∑∑Q.∑Did you discuss with NexPoint any of                    ∑5∑∑∑∑∑A.∑Not specifically.
∑6∑∑the substance that is in this letter?∑And again,              ∑6∑∑∑∑∑Q.∑Did you generally support the sending
∑7∑∑I'm happy to scroll through it if that would be               ∑7∑∑of the letter?
∑8∑∑helpful.                                                      ∑8∑∑∑∑∑A.∑Yes.
∑9∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              ∑9∑∑∑∑∑Q.∑And you knew the letter was being
10∑∑∑∑∑A.∑Just generally.                                         10∑∑sent; is that fair?
11∑∑BY MR. MORRIS:                                                11∑∑∑∑∑A.∑Yes.
12∑∑∑∑∑Q.∑Did you -- I don't want to know about                   12∑∑∑∑∑Q.∑And you didn't object to the sending
13∑∑any conversations, but did you speak with anybody             13∑∑of this letter, right?
14∑∑at K&L Gates about this particular letter, just               14∑∑∑∑∑A.∑I did not object.
15∑∑yes or no?                                                    15∑∑∑∑∑Q.∑Okay.∑And since learning that the
16∑∑∑∑∑A.∑My primary conversation was with                        16∑∑letter was sent, have you ever directed NexPoint
17∑∑internal counsel.∑K&L Gates might have been on                17∑∑to withdraw the letter?
18∑∑some phone call or two.                                       18∑∑∑∑∑A.∑No.
19∑∑∑∑∑Q.∑Okay.∑Whose idea was it to send this                    19∑∑∑∑∑Q.∑You have the power to do that, don't
20∑∑out?                                                          20∑∑you, sir?
21∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              21∑∑∑∑∑A.∑I -- I don't believe so.∑When the
22∑∑∑∑∑A.∑Whose idea?∑I -- I don't think                          22∑∑chief compliance officer believes it's a breach
23∑∑anybody viewed it as an idea as much as a                     23∑∑of regulatory compliance, the chief compliance
24∑∑regulatory necessity.                                         24∑∑officer in financial institutions has personal
25∑∑∑∑∑∑∑///                                                      25∑∑liability, and I don't believe that other C-suite

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                    Appx. 01595
                                                                                                                                        YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 12 of 200 PageID 31165
                                                        Page 34                                                               Page 35
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑executives can overrule the chief compliance                  ∑2∑∑marked.)
∑3∑∑officer.                                                      ∑3∑∑∑∑∑∑∑MS. CANTY:∑Do you see it, John?
∑4∑∑∑∑∑Q.∑Who is the chief compliance officer?                    ∑4∑∑∑∑∑∑∑MR. MORRIS:∑I think we still have
∑5∑∑∑∑∑A.∑Jason Post.                                             ∑5∑∑Exhibit 1.
∑6∑∑∑∑∑Q.∑Did Mr. Post ever say that he would                     ∑6∑∑∑∑∑∑∑MS. CANTY:∑Okay.∑Give me a second.
∑7∑∑not withdraw the letter because of regulatory                 ∑7∑∑BY MR. MORRIS:
∑8∑∑compliance?                                                   ∑8∑∑∑∑∑Q.∑Okay.∑This is another letter that
∑9∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              ∑9∑∑was sent by NexPoint to Mr. Seery, this one dated
10∑∑∑∑∑A.∑I -- not that I know of.                                10∑∑November 24, 2020.
11∑∑BY MR. MORRIS:                                                11∑∑∑∑∑∑∑Do you see that, sir?
12∑∑∑∑∑Q.∑Did you ever discuss with Mr. Post                      12∑∑∑∑∑A.∑Yes.
13∑∑whether or not this letter should be withdrawn?               13∑∑∑∑∑Q.∑And you saw this letter at or around
14∑∑∑∑∑A.∑Again, I didn't believe I had the                       14∑∑the time it was sent, right?
15∑∑authority to.                                                 15∑∑∑∑∑A.∑I didn't see the letter specifically,
16∑∑∑∑∑Q.∑Okay.∑And he never told you that he                     16∑∑but I'm aware of it.
17∑∑couldn't; that's just the implicit conclusion                 17∑∑∑∑∑Q.∑And you knew it was going to be sent;
18∑∑that you drew because he was the chief compliance             18∑∑is that fair?
19∑∑officer; is that fair?                                        19∑∑∑∑∑A.∑Yes.
20∑∑∑∑∑A.∑Implicit conclusion?∑It's more the                      20∑∑∑∑∑Q.∑And did you authorize this letter to
21∑∑understanding I have of compliance from having                21∑∑be sent on behalf of the advisors and the funds
22∑∑lived it the last 20 years.                                   22∑∑that are listed there?
23∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Let's put up                           23∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
24∑∑Exhibit 2, please.                                            24∑∑∑∑∑A.∑Let me give the consistent testimony
25∑∑∑∑∑∑∑(Dondero Deposition Exhibit 2                            25∑∑I gave last time.∑It wasn't an authorization. I
                                                        Page 36                                                               Page 37
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑was aware of it.∑It was, I believe, a continued               ∑2∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
∑3∑∑regulatory breach from the standpoint of the --               ∑3∑∑∑∑∑A.∑I don't know, nor would I necessarily
∑4∑∑of compliance that drove the letter.                          ∑4∑∑be informed if compliance self-reports this to
∑5∑∑BY MR. MORRIS:                                                ∑5∑∑the SEC or other regulatory bodies.∑But I do not
∑6∑∑∑∑∑Q.∑When there's a regulatory breach, is                    ∑6∑∑know.
∑7∑∑there an obligation to alert anybody other than               ∑7∑∑BY MR. MORRIS:
∑8∑∑the portfolio manager?                                        ∑8∑∑∑∑∑Q.∑And nobody told you that, right?
∑9∑∑∑∑∑A.∑I know that's being investigated. I                     ∑9∑∑∑∑∑A.∑I don't know.
10∑∑don't know the answer regarding a breach like                 10∑∑∑∑∑Q.∑Is there -- did you see any written
11∑∑this.                                                         11∑∑analysis or memorandum that was prepared by
12∑∑∑∑∑Q.∑Are you aware of any notification                       12∑∑your -- by the chief compliance officer with
13∑∑that NexPoint made to anybody in the world, other             13∑∑respect to the matters set forth in Exhibit 1 and
14∑∑than Mr. Seery, with respect to the matters set               14∑∑Exhibit 2?
15∑∑forth in Exhibit 1 and Exhibit 2?                             15∑∑∑∑∑A.∑I know there was a multipage analysis
16∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              16∑∑that was done, but I've never seen it.
17∑∑∑∑∑A.∑I don't know, and I'm not in a                          17∑∑∑∑∑Q.∑And was it written by the chief
18∑∑position to comment at this point.                            18∑∑compliance officer or was it written by legal
19∑∑BY MR. MORRIS:                                                19∑∑staff?
20∑∑∑∑∑Q.∑I'm just asking you if you know                         20∑∑∑∑∑A.∑I was told he did it in conjunction
21∑∑whether -- I'm asking for your knowledge.                     21∑∑with external counsel.
22∑∑∑∑∑∑∑Do you know whether NexPoint ever                        22∑∑∑∑∑Q.∑But you've never seen it?
23∑∑advised anybody, other than Mr. Seery, of the                 23∑∑∑∑∑A.∑I've never seen it.
24∑∑allegations that are set forth in Exhibit 1 and               24∑∑∑∑∑Q.∑Did you support the sending of this
25∑∑Exhibit 2?                                                    25∑∑letter?

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                    Appx. 01596
                                                                                                                                        YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 13 of 200 PageID 31166
                                                        Page 38                                                            Page 39
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑A.∑Yes.                                                    ∑2∑∑∑∑∑∑∑(Dondero Deposition Exhibit 3
∑3∑∑∑∑∑Q.∑Since learning that this letter was                     ∑3∑∑marked.)
∑4∑∑sent, have you directed NexPoint to withdraw this             ∑4∑∑BY MR. MORRIS:
∑5∑∑letter?                                                       ∑5∑∑∑∑∑Q.∑This is an e-mail string.∑We're
∑6∑∑∑∑∑A.∑No, I have not.                                         ∑6∑∑going to start at the bottom and work up, just so
∑7∑∑∑∑∑Q.∑Okay.∑Around Thanksgiving you                           ∑7∑∑we can get it in order.∑And you'll see the
∑8∑∑learned that Mr. Seery was seeking to sell                    ∑8∑∑bottom begins with an e-mail from Hunter Covitz.
∑9∑∑certain securities that were owned by certain                 ∑9∑∑∑∑∑∑∑Do you see that?
10∑∑CLOs managed by the debtor, right?                            10∑∑∑∑∑A.∑Yes.
11∑∑∑∑∑A.∑I believe I was informed after the                      11∑∑∑∑∑Q.∑Who is Mr. Covitz?
12∑∑fact.                                                         12∑∑∑∑∑A.∑Covitz, Hunter Covitz manages our CLO
13∑∑∑∑∑Q.∑You were informed that certain sales                    13∑∑asset -- or our CLO assets, primarily.
14∑∑of securities owned by the CLOs were being sold               14∑∑∑∑∑Q.∑Is he a High- -- is he a debtor
15∑∑at Mr. Seery's direction, right?                              15∑∑employee or is he employed by any other entity?
16∑∑∑∑∑A.∑Yes.                                                    16∑∑∑∑∑A.∑I believe he's a debtor employee.
17∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              17∑∑∑∑∑Q.∑Okay.∑Do you see there's a reference
18∑∑BY MR. MORRIS:                                                18∑∑there to gatekeeper@hcmlp.com?
19∑∑∑∑∑Q.∑Okay.∑And at around that time, once                     19∑∑∑∑∑A.∑Yes.
20∑∑you learned that, you personally intervened to                20∑∑∑∑∑Q.∑Are you -- withdrawn.
21∑∑stop those trades, right?                                     21∑∑∑∑∑∑∑Is that -- withdrawn.
22∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              22∑∑∑∑∑∑∑Is it your understanding that that's
23∑∑∑∑∑A.∑Yes.                                                    23∑∑kind of a basket of different e-mail addresses
24∑∑∑∑∑∑∑MR. MORRIS:∑Can we put up Exhibit 3,                     24∑∑that are held together by the Gatekeeper address?
25∑∑please.                                                       25∑∑∑∑∑A.∑I wouldn't describe it that way, but
                                                        Page 40                                                            Page 41
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑it is a bucket of e-mails.                                    ∑2∑∑∑∑∑Q.∑Can we scroll to the e-mail above
∑3∑∑∑∑∑Q.∑Okay.∑And is your e-mail address or                     ∑3∑∑that, please.∑And then Mr. Pearson acknowledged
∑4∑∑was your e-mail address included within                       ∑4∑∑that e-mail a little bit later in the day, right?
∑5∑∑Gatekeeper?                                                   ∑5∑∑∑∑∑A.∑Yes.
∑6∑∑∑∑∑A.∑Historically, it was.                                   ∑6∑∑∑∑∑Q.∑Okay.∑And if we can --
∑7∑∑∑∑∑Q.∑And do you know when that stopped                       ∑7∑∑∑∑∑∑∑(Interruption by the videographer.)
∑8∑∑being the case?                                               ∑8∑∑∑∑∑∑∑MR. MORRIS:∑It's okay.∑Let's
∑9∑∑∑∑∑A.∑I do not know.                                          ∑9∑∑proceed and we'll do the best we can.
10∑∑∑∑∑Q.∑Was it after the time that you                          10∑∑BY MR. MORRIS:
11∑∑resigned from your position at the debtor?                    11∑∑∑∑∑Q.∑Mr. Covitz's e-mail was the -- do you
12∑∑∑∑∑A.∑I do not know.                                          12∑∑see the subject matter is Sky Equity?
13∑∑∑∑∑Q.∑Okay.∑Matt Pearson is below                             13∑∑∑∑∑A.∑Yes.
14∑∑Gatekeeper.∑Do you know who Mr. Pearson is?                   14∑∑∑∑∑Q.∑And do you have an understanding of
15∑∑∑∑∑A.∑He is a -- generally an equity trader                   15∑∑what Sky Equity refers to?
16∑∑that works for Joe Sowin.                                     16∑∑∑∑∑A.∑It's a -- it's a post-restructured
17∑∑∑∑∑Q.∑And are Mr. Pearson and Mr. Sowin                       17∑∑equity that the funds have held for years.
18∑∑employees of the debtor?                                      18∑∑∑∑∑Q.∑Okay.∑So if we could scroll up to
19∑∑∑∑∑A.∑I don't believe so.∑I don't believe                     19∑∑your e-mail that's right there, did you receive a
20∑∑Joe is.∑I don't know if Matt is.∑I don't know.                20∑∑copy of Mr. Covitz's original e-mail?
21∑∑∑∑∑Q.∑Okay.∑But is it fair to say that                        21∑∑∑∑∑A.∑It appears so.
22∑∑pursuant to this e-mail, Mr. Covitz is giving                 22∑∑∑∑∑Q.∑Okay.∑And did you give the
23∑∑direction to sell certain securities held by the              23∑∑instruction to the recipients of Mr. Hunter
24∑∑CLOs?                                                         24∑∑Covitz's e-mail not to sell the Sky Equity as had
25∑∑∑∑∑A.∑Yes.                                                    25∑∑been instructed by Mr. Seery?

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01597
                                                                                                                                     YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 14 of 200 PageID 31167
                                                        Page 42                                                               Page 43
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑A.∑Yes.                                                    ∑2∑∑The -- I missed the first part of the sentence.
∑3∑∑∑∑∑Q.∑And you understood at the time that                     ∑3∑∑∑∑∑Q.∑No problem.
∑4∑∑you gave the instruction to the people on this                ∑4∑∑∑∑∑∑∑Did you take any steps to seek the
∑5∑∑e-mail that they were trying to execute trades                ∑5∑∑debtor's consent before instructing the
∑6∑∑that Mr. Seery had authorized, right?                         ∑6∑∑recipients of your e-mail --
∑7∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              ∑7∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
∑8∑∑∑∑∑∑∑THE WITNESS:∑Can you repeat the                          ∑8∑∑BY MR. MORRIS:
∑9∑∑question, please.                                             ∑9∑∑∑∑∑Q.∑-- to stop the SKY transactions, to
10∑∑∑∑∑∑∑MR. MORRIS:∑Sure.                                        10∑∑stop executing the SKY transactions?
11∑∑BY MR. MORRIS:                                                11∑∑∑∑∑A.∑No.
12∑∑∑∑∑Q.∑At the time that you gave the                           12∑∑∑∑∑Q.∑Thank you.
13∑∑instruction, no, do not, you knew that you were               13∑∑∑∑∑∑∑Can we scroll up to the response.
14∑∑stopping trades that had been authorized and                  14∑∑Okay.∑Stop there.
15∑∑directed by Mr. Seery, correct?                               15∑∑∑∑∑∑∑Mr. Pearson responded later that
16∑∑∑∑∑A.∑Yes.                                                    16∑∑afternoon.∑Do you see that?
17∑∑∑∑∑Q.∑Did you speak with Mr. Seery before                     17∑∑∑∑∑A.∑Yes.
18∑∑instructing the recipients of your e-mail not to              18∑∑∑∑∑Q.∑And in response, he canceled all of
19∑∑execute the SKY transactions?                                 19∑∑the SKY and AVYA sales that the debtor had
20∑∑∑∑∑A.∑No, I did not.                                          20∑∑directed but which had not yet been executed,
21∑∑∑∑∑Q.∑Did you take any steps to seek the                      21∑∑right?
22∑∑debtor's consent before instructing the                       22∑∑∑∑∑A.∑Yes.
23∑∑recipients of this e-mail not to execute the SKY              23∑∑∑∑∑Q.∑And if we can scroll up to the e-mail
24∑∑transactions?                                                 24∑∑above that, you responded to that as well, didn't
25∑∑∑∑∑A.∑I'm sorry, please repeat that again.                    25∑∑you?
                                                        Page 44                                                               Page 45
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑A.∑Yep.                                                    ∑2∑∑is what I'm referring to.
∑3∑∑∑∑∑Q.∑Can you please read your response out                   ∑3∑∑∑∑∑Q.∑I appreciate that, Mr. Dondero.
∑4∑∑loud.                                                         ∑4∑∑∑∑∑∑∑Do you recall any other writings that
∑5∑∑∑∑∑A.∑HFAM and DAF -- or HFAM and DAF has                     ∑5∑∑you were referring to at the time you sent this
∑6∑∑instructed Highland in writing not to sell any                ∑6∑∑e-mail?
∑7∑∑CLO underlying assets.∑There is potential                     ∑7∑∑∑∑∑A.∑I'm just saying I don't know if there
∑8∑∑liability.∑Don't do it again, please.                         ∑8∑∑were others or if there were other e-mails. I
∑9∑∑∑∑∑Q.∑All right.∑The written instructions,                    ∑9∑∑don't know.∑But there were -- they would have
10∑∑is that a reference to the first two exhibits                 10∑∑been similar in terms of substance as those two.
11∑∑that we looked at?∑And if you want to go back                 11∑∑∑∑∑Q.∑Okay.∑Do you see the reference there
12∑∑and check them out, we can, but I'm trying to --              12∑∑in the latter portion of your e-mail, quote,
13∑∑I want to know what writings you're referring to.             13∑∑there is potential liability, don't do it again?
14∑∑Withdrawn.                                                    14∑∑∑∑∑A.∑Yes.
15∑∑∑∑∑∑∑Are the writings that you're                             15∑∑∑∑∑Q.∑Who was the intended recipient of
16∑∑referring to the two exhibits that we just looked             16∑∑that message?
17∑∑at, Exhibit 1 and Exhibit 2?                                  17∑∑∑∑∑A.∑At this juncture, it's to Matt
18∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              18∑∑Pearson, I believe.
19∑∑∑∑∑A.∑Generally, yes.                                         19∑∑∑∑∑Q.∑And why would Matt Pearson have
20∑∑BY MR. MORRIS:                                                20∑∑personal liability -- withdrawn.
21∑∑∑∑∑Q.∑Are you --                                              21∑∑∑∑∑∑∑Why did you decide to tell
22∑∑∑∑∑A.∑I don't know if -- I don't know if                      22∑∑Mr. Pearson that he had potential liability for
23∑∑there were more than those two, but generally,                23∑∑executing the transactions that Mr. Seery had
24∑∑letters of those substances -- well, generally,               24∑∑directed?
25∑∑letters of those substance -- of that substance               25∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.

                                          TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                    Appx. 01598
                                                                                                                                        YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 15 of 200 PageID 31168
                                                        Page 46                                                                Page 47
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑A.∑Yeah, to be clear, it doesn't say                       ∑2∑∑fine, Mr. Dondero.∑Can you just state on the
∑3∑∑personal liability.∑I said potential liability.               ∑3∑∑record that you will not talk to any Highland
∑4∑∑I believe this is -- I believe what was done here             ∑4∑∑employee, including Mr. Ellington or
∑5∑∑is bona fide typical class action activity that               ∑5∑∑Mr. Leventon, you will not communicate with them
∑6∑∑we've suffered from historically, when the                    ∑6∑∑or their counsel in any way with respect to this
∑7∑∑interests of beneficial holders are ignored when              ∑7∑∑deposition?
∑8∑∑assets are sold for no business purpose.∑No                   ∑8∑∑∑∑∑∑∑THE WITNESS:∑Yeah, I promise. I
∑9∑∑business purpose.∑No definable, discernible,                  ∑9∑∑haven't -- yeah.∑I will not talk to them.∑The
10∑∑articulated business purpose.                                 10∑∑only Highland employee I might talk to is Jerome,
11∑∑∑∑∑∑∑There's -- I think there's potential                     11∑∑who's handling the systems for this call, and
12∑∑liability for the manager, the fund complex, you              12∑∑that's it.
13∑∑know, and sometimes for the individuals involved.             13∑∑∑∑∑∑∑MR. MORRIS:∑I'm fine with that, but
14∑∑But my potential liability was a general                      14∑∑really, I'm requesting not only Highland
15∑∑statement.                                                    15∑∑employees but not to talk to anybody about the
16∑∑∑∑∑∑∑THE WITNESS:∑You know what, guys,                        16∑∑testimony today.∑I'm going to accommodate you
17∑∑listen.∑I've got a couple of calls I've got to                17∑∑and --
18∑∑make that I'm ten minutes late for, so we're                  18∑∑∑∑∑∑∑THE WITNESS:∑I won't.∑Nobody cares
19∑∑going to need to take a break for a few minutes               19∑∑about this deposition.∑I won't talk to anybody.
20∑∑here, ideally now, or after the next question,                20∑∑∑∑∑∑∑MR. MORRIS:∑Okay.
21∑∑please.                                                       21∑∑∑∑∑∑∑THE WITNESS:∑I'll be back in ten or
22∑∑∑∑∑∑∑MR. MORRIS:∑I'm happy to take a                          22∑∑15 minutes, okay?
23∑∑break now.∑How long are you thinking, though?                 23∑∑∑∑∑∑∑MR. MORRIS:∑Okay.
24∑∑∑∑∑∑∑THE WITNESS:∑Ten or 15 minutes.                          24∑∑∑∑∑∑∑THE VIDEOGRAPHER:∑10:41 a.m. Central
25∑∑∑∑∑∑∑MR. MORRIS:∑Yeah, that's perfectly                       25∑∑Standard Time, we're off the record.
                                                        Page 48                                                                Page 49
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑∑∑(Recess taken, 10:41 a.m. to                             ∑2∑∑Can we see the response above that, please?
∑3∑∑11:16 a.m. CST)                                               ∑3∑∑Okay.∑And that's Mr. Sowin responding.
∑4∑∑∑∑∑∑∑THE VIDEOGRAPHER:∑11:16 a.m., we're                      ∑4∑∑∑∑∑∑∑Do you see that?
∑5∑∑back on the record.                                           ∑5∑∑∑∑∑A.∑Yes.
∑6∑∑BY MR. MORRIS:                                                ∑6∑∑∑∑∑Q.∑And Mr. Sowin was following your
∑7∑∑∑∑∑Q.∑Mr. Dondero, can you hear me?                           ∑7∑∑instructions; is that right?
∑8∑∑∑∑∑A.∑Yes.                                                    ∑8∑∑∑∑∑A.∑His response is what it is.∑I'm
∑9∑∑∑∑∑Q.∑Okay.∑Are you aware that the                            ∑9∑∑not -- what do you mean by following my
10∑∑deposition taking place today is pursuant to                  10∑∑instructions?
11∑∑Court order?                                                  11∑∑∑∑∑Q.∑Well, he issued an order -- it says,
12∑∑∑∑∑A.∑Yes.                                                    12∑∑quote:∑Please block all orders from hitting the
13∑∑∑∑∑Q.∑Did you schedule meetings and                           13∑∑trading desk for the -- I assume he meant
14∑∑telephone calls during the day today,                         14∑∑funds -- Jim mentioned.
15∑∑notwithstanding the Court's order?                            15∑∑∑∑∑∑∑Do you see that?
16∑∑∑∑∑A.∑I didn't formally schedule anything.                    16∑∑∑∑∑A.∑Yes.
17∑∑∑∑∑Q.∑Okay.∑So you have nothing scheduled                     17∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
18∑∑for the rest of the day; is that right?∑You're                18∑∑BY MR. MORRIS:
19∑∑here to answer questions?                                     19∑∑∑∑∑Q.∑And that's exactly what you wanted to
20∑∑∑∑∑A.∑Correct.                                                20∑∑happen, right?
21∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can we get the                         21∑∑∑∑∑A.∑I'm sorry, could you unhighlight
22∑∑last exhibit back up on the screen, please.                   22∑∑that?∑It's hard for me to read with the
23∑∑Okay.∑Can we scroll --                                        23∑∑highlight.∑Okay.∑Thank you.
24∑∑BY MR. MORRIS:                                                24∑∑∑∑∑∑∑Yeah, they -- I think he tried to
25∑∑∑∑∑Q.∑We were last looking at your e-mail.                    25∑∑figure out a way to prevent it from inadvertently

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                     Appx. 01599
                                                                                                                                         YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 16 of 200 PageID 31169
                                                        Page 50                                                             Page 51
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑happening.                                                    ∑2∑∑∑∑∑∑∑MR. MORRIS:∑Let's go forward.
∑3∑∑∑∑∑Q.∑Okay.∑And Mr. Sowin's -- the                            ∑3∑∑∑∑∑∑∑THE WITNESS:∑So we're okay with
∑4∑∑substance of Mr. Sowin's e-mail is consistent                 ∑4∑∑Jerome?∑That's it for now?
∑5∑∑with your intent to prevent any further trades                ∑5∑∑∑∑∑∑∑MR. MORRIS:∑Yeah.
∑6∑∑from the CLOs, right?                                         ∑6∑∑∑∑∑∑∑THE WITNESS:∑All right.∑Thank you.
∑7∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              ∑7∑∑BY MR. MORRIS:
∑8∑∑∑∑∑A.∑My intent was to prevent trades that                    ∑8∑∑∑∑∑Q.∑You didn't correct anything that
∑9∑∑weren't in the best interests of investors, that              ∑9∑∑Mr. Sowin did -- said in this e-mail, did you?
10∑∑investors -- the beneficial holders had                       10∑∑∑∑∑A.∑No.
11∑∑articulated they didn't want sold while these                 11∑∑∑∑∑Q.∑You didn't tell --
12∑∑funds were in transition, and that the -- there               12∑∑∑∑∑∑∑MR. BONDS:∑Can you repeat the
13∑∑was no business purpose or benefit to the debtor              13∑∑question?∑I didn't understand it.
14∑∑to sell these assets.                                         14∑∑∑∑∑∑∑MR. MORRIS:∑That's okay.
15∑∑BY MR. MORRIS:                                                15∑∑BY MR. MORRIS:
16∑∑∑∑∑Q.∑That --                                                 16∑∑∑∑∑Q.∑Mr. Dondero, you didn't correct
17∑∑∑∑∑A.∑So that's -- that was the rationale I                   17∑∑anything that Mr. Sowin wrote in this e-mail, did
18∑∑was trying to capture.                                        18∑∑you?
19∑∑∑∑∑∑∑THE WITNESS:∑Hold on for me one                          19∑∑∑∑∑A.∑No.
20∑∑second.∑Jerome just stepped in.∑What does the                 20∑∑∑∑∑Q.∑You didn't tell Mr. Sowin that he
21∑∑systems guy want Jerome to do?                                21∑∑misunderstood your intent, did you?
22∑∑∑∑∑∑∑MR. MORRIS:∑Figure out a way to turn                     22∑∑∑∑∑A.∑I don't believe so.
23∑∑the lights on.                                                23∑∑∑∑∑Q.∑And you didn't give any explanation
24∑∑∑∑∑∑∑(Technical comments off the                              24∑∑to him as to why you did not want to sell any CLO
25∑∑stenographic record.)                                         25∑∑underlying assets except for what you wrote in
                                                        Page 52                                                             Page 53
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑that e-mail below, right?                                     ∑2∑∑that Mr. Seery was trying a work-around to
∑3∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              ∑3∑∑effectuate the trades anyway, right?
∑4∑∑∑∑∑A.∑I -- I believe I -- well, the e-mails                   ∑4∑∑∑∑∑A.∑Yes.
∑5∑∑stand on their own.∑I think the reasons below                 ∑5∑∑∑∑∑Q.∑And you wrote to Thomas Surgent to
∑6∑∑are sufficient.∑I think I had a conversation                  ∑6∑∑let him know that you were aware that Seery was
∑7∑∑with Joe besides that, and there was an                       ∑7∑∑trying a work-around to effectuate the trades,
∑8∑∑unawareness on the trading desk and with Hunter               ∑8∑∑right?
∑9∑∑that the interest of investors had been expressed             ∑9∑∑∑∑∑A.∑I believe there was such an e-mail.
10∑∑and ignored by Seery, you know, so -- they                    10∑∑∑∑∑Q.∑Okay.∑Can you just scroll up and see
11∑∑weren't aware of that.∑They thought that was                  11∑∑that e-mail, please.∑All right.∑Stop right
12∑∑unusual and inappropriate.                                    12∑∑there.
13∑∑BY MR. MORRIS:                                                13∑∑∑∑∑∑∑Who is Mr. Surgent?
14∑∑∑∑∑Q.∑In your role as portfolio manager, is                   14∑∑∑∑∑A.∑He's the chief compliance officer of
15∑∑it -- do you believe it's your responsibility to              15∑∑Highland Capital.
16∑∑always defer to the desires of your investors?                16∑∑∑∑∑Q.∑The debtor?
17∑∑Do you cede -- do you cede -- withdrawn.                      17∑∑∑∑∑A.∑Yes.
18∑∑∑∑∑∑∑Do you cede responsibility and your                      18∑∑∑∑∑Q.∑Okay.∑And how long has he held that
19∑∑business judgment for making transactions to your             19∑∑position to the best of your recollection?
20∑∑investors?                                                    20∑∑∑∑∑A.∑A long time.∑More than five years.
21∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              21∑∑∑∑∑Q.∑What does it mean to -- when you
22∑∑∑∑∑A.∑In this case, it would be                               22∑∑wrote that Mr. Seery was, quote, working on a
23∑∑appropriate.∑In general, it would depend.                     23∑∑work-around to trade these securities?∑What does
24∑∑BY MR. MORRIS:                                                24∑∑that mean?
25∑∑∑∑∑Q.∑Okay.∑A few days later, you learned                     25∑∑∑∑∑A.∑As a noninvestment professional and

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01600
                                                                                                                                      YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 17 of 200 PageID 31170
                                                        Page 54                                                              Page 55
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑as a nontrader and as a nonportfolio manager, he              ∑2∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
∑3∑∑set up an account for himself, I believe,                     ∑3∑∑∑∑∑A.∑I'm not going to agree with that
∑4∑∑directly with Jefferies to trade the securities               ∑4∑∑speculation.∑If you want me to speculate, I
∑5∑∑in the CLOs.                                                  ∑5∑∑think Seery had no business purpose and he was
∑6∑∑∑∑∑Q.∑How did you learn that?                                 ∑6∑∑doing it to tweak myself and everybody else.
∑7∑∑∑∑∑A.∑I think we still get trade reports                      ∑7∑∑BY MR. MORRIS:
∑8∑∑from Jefferies, or Jefferies -- the Jefferies                 ∑8∑∑∑∑∑Q.∑Did he tell you that?
∑9∑∑trades get reported back into the system and have             ∑9∑∑∑∑∑A.∑No.∑I'm speculating.
10∑∑to be input by Joe, and so Joe sees the trades                10∑∑∑∑∑Q.∑Okay.∑Do you have any idea why he
11∑∑come back from Jefferies at the end of the day.               11∑∑made the trades?
12∑∑∑∑∑Q.∑And Joe is Joe Sowin?                                   12∑∑∑∑∑A.∑He -- he had no --
13∑∑∑∑∑A.∑Yes.                                                    13∑∑∑∑∑Q.∑Withdrawn.∑I'm sorry.
14∑∑∑∑∑Q.∑And he works for you; is that right?                    14∑∑∑∑∑∑∑Do you have any idea why he wanted to
15∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              15∑∑make the trades?
16∑∑∑∑∑∑∑MR. MORRIS:∑Withdrawn.                                   16∑∑∑∑∑A.∑I didn't speak to him directly.
17∑∑BY MR. MORRIS:                                                17∑∑∑∑∑Q.∑Okay.
18∑∑∑∑∑Q.∑He works for one of the advisors; is                    18∑∑∑∑∑A.∑Indirectly -- I didn't speak to him.
19∑∑that right?                                                   19∑∑I didn't speak to him directly.∑It was --
20∑∑∑∑∑A.∑I believe he works for HFAM, but I'm                    20∑∑∑∑∑Q.∑Do you have any personal knowledge as
21∑∑not a hundred percent certain.                                21∑∑you sit here right now as to why Mr. Seery wanted
22∑∑∑∑∑Q.∑And the work-around was -- is that                      22∑∑to effectuate the trades that you were blocking?
23∑∑another way of saying that Mr. Seery tried to do              23∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
24∑∑the trades that he thought were appropriate                   24∑∑∑∑∑A.∑I've thought about it at length. I
25∑∑without your interference?                                    25∑∑can't come up with a business purpose that would
                                                        Page 56                                                              Page 57
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑supersede an account that's in transition and the             ∑2∑∑wanted to make these trades, right?
∑3∑∑beneficial owners have made it clear that the                 ∑3∑∑∑∑∑A.∑That's not correct.
∑4∑∑manager's not in compliance, they're moving the               ∑4∑∑∑∑∑Q.∑Nobody ever told you that they'd had
∑5∑∑accounts, and knowing the individual assets that              ∑5∑∑a conversation with Mr. Seery in which
∑6∑∑were sold, I can't -- I couldn't think of a                   ∑6∑∑Mr. Seery -- (audio malfunction) --
∑7∑∑business purpose that Seery would be operating                ∑7∑∑∑∑∑∑∑(Clarification requested by the
∑8∑∑under.                                                        ∑8∑∑stenographer.)
∑9∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑I move to strike.                      ∑9∑∑BY MR. MORRIS:
10∑∑I'm not asking you for what you think.∑I'm                    10∑∑∑∑∑Q.∑Did anybody ever tell you that they
11∑∑asking you for facts.                                         11∑∑had spoken with Mr. Seery and Mr. Seery had
12∑∑BY MR. MORRIS:                                                12∑∑provided an explanation, a business rationale for
13∑∑∑∑∑Q.∑Do you have any knowledge of any                        13∑∑the transactions that he wanted to effectuate?
14∑∑facts as to the business justification or                     14∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
15∑∑rationale for why Mr. Seery wanted to make these              15∑∑∑∑∑A.∑Yes.∑Yes.
16∑∑trades?                                                       16∑∑BY MR. MORRIS:
17∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              17∑∑∑∑∑Q.∑Who was that?
18∑∑∑∑∑A.∑No, I don't believe there are any.                      18∑∑∑∑∑A.∑Joe Sowin.
19∑∑BY MR. MORRIS:                                                19∑∑∑∑∑Q.∑When did he tell you about this
20∑∑∑∑∑Q.∑And you never asked him; is that                        20∑∑conversation?
21∑∑right?                                                        21∑∑∑∑∑A.∑It was at or about this time in...
22∑∑∑∑∑A.∑Correct.                                                22∑∑∑∑∑Q.∑And what did Mr. Sowin tell you?
23∑∑∑∑∑Q.∑And you never instructed anybody on                     23∑∑∑∑∑A.∑Seery told him it was for risk
24∑∑your behalf or on behalf of the advisors or on                24∑∑minimization or risk reduction.
25∑∑behalf of the funds to ask Mr. Seery why he                   25∑∑∑∑∑Q.∑Did he tell him anything else?

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                   Appx. 01601
                                                                                                                                       YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 18 of 200 PageID 31171
                                                       Page 58                                                               Page 59
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                          ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑A.∑No.∑He said risk reduction was why                     ∑2∑∑∑∑∑Q.∑Do you know Dustin Norris?
∑3∑∑he was selling the securities.                               ∑3∑∑∑∑∑A.∑Yes.
∑4∑∑∑∑∑Q.∑That's the only rationale that                         ∑4∑∑∑∑∑Q.∑Do you know that he testified in
∑5∑∑Mr. Seery gave to Mr. Sowin; is that your                    ∑5∑∑December in connection with this bankruptcy
∑6∑∑testimony?                                                   ∑6∑∑matter?
∑7∑∑∑∑∑A.∑Yes.                                                   ∑7∑∑∑∑∑A.∑Yes.
∑8∑∑∑∑∑Q.∑Okay.∑Did Mr. Sowin tell you that he                   ∑8∑∑∑∑∑Q.∑Did you ever tell Dustin Norris about
∑9∑∑asked any questions of Mr. Seery?                            ∑9∑∑the conversation Mr. Sowin had with Mr. Seery
10∑∑∑∑∑A.∑He asked him why he was selling them.                  10∑∑that you've described here?
11∑∑∑∑∑Q.∑And you've given me the entirety of                    11∑∑∑∑∑A.∑I believe he was aware of it.
12∑∑the answer as conveyed by Mr. Sowin to you; is               12∑∑∑∑∑Q.∑Do you know -- did you talk to him in
13∑∑that right?                                                  13∑∑advance of his testimony?
14∑∑∑∑∑A.∑Yes.                                                   14∑∑∑∑∑A.∑I talk to Dustin most every day.
15∑∑∑∑∑Q.∑Is Mr. Sowin's conversation with                       15∑∑∑∑∑Q.∑And did you tell Dustin that he
16∑∑Mr. Seery about the justification for these                  16∑∑should make sure to alert the Court about this
17∑∑trades reflected in any document or any e-mail               17∑∑conversation with Mr. Sowin and Mr. Seery?
18∑∑anywhere that you can recall?                                18∑∑∑∑∑A.∑No.
19∑∑∑∑∑A.∑Not that I recall.                                     19∑∑∑∑∑Q.∑Did you think it was important that
20∑∑∑∑∑Q.∑Did K&L Gates explain their                            20∑∑the Court know Mr. Seery's business rationale?
21∑∑understanding of the business rationale of these             21∑∑∑∑∑A.∑I thought it was a nonsensical answer
22∑∑trades in any of the letters that they sent on               22∑∑on Seery's part.∑I didn't have an opinion on
23∑∑behalf of the funds or any of the advisors?                  23∑∑whether or not the Court should know.
24∑∑∑∑∑A.∑Not that I'm aware of.∑I'm not                         24∑∑∑∑∑Q.∑Now, you -- at the time, you were
25∑∑aware.                                                       25∑∑speaking to Mr. Seery directly; isn't that right?
                                                       Page 60                                                               Page 61
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                          ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑A.∑Rarely.∑I didn't -- since the                          ∑2∑∑work-around, and I know Thomas has an acute
∑3∑∑injunction or since -- rarely.∑I can't remember              ∑3∑∑awareness of his personal liability for
∑4∑∑the last time I've spoken to him.∑Scott                      ∑4∑∑regulatory breaches or doing things that aren't
∑5∑∑Ellington has been the appropriate go-between as             ∑5∑∑in the best interests of investors, and I don't
∑6∑∑far as I understand it.                                      ∑6∑∑believe he has the extra insurance and
∑7∑∑∑∑∑Q.∑Okay.∑Was there anything that                          ∑7∑∑indemnities that Seery has.
∑8∑∑prevented you in November 2020 from picking up               ∑8∑∑∑∑∑Q.∑If he was acutely aware of it, why
∑9∑∑the phone to talk to Mr. Seery about his desire              ∑9∑∑did you feel the need to remind him of that in
10∑∑to effectuate these transactions?                            10∑∑your e-mail to him?
11∑∑∑∑∑A.∑No.∑The last time I -- yeah, I'm                       11∑∑∑∑∑A.∑Because I don't think he was aware
12∑∑remembering, the last time I talked to Seery was             12∑∑that Seery was doing a work-around on behalf of
13∑∑the day after Thanksgiving.                                  13∑∑the debtor that he was compliance officer of. I
14∑∑∑∑∑Q.∑Okay.∑Is there anything that you're                    14∑∑wasn't convinced he was aware, so I included him
15∑∑aware of that prevented you from picking up the              15∑∑on the e-mail.
16∑∑phone and asking Mr. Seery for his business                  16∑∑∑∑∑Q.∑Did you intend to suggest that by
17∑∑justification for these trades prior to                      17∑∑following Mr. Seery's orders to execute the
18∑∑December 10, 2020?                                           18∑∑trades, that Mr. Surgent faced personal
19∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                             19∑∑liability?
20∑∑∑∑∑A.∑No.∑I expressed my disapproval via                     20∑∑∑∑∑A.∑That's the way it works.
21∑∑e-mail.                                                      21∑∑∑∑∑Q.∑Okay.∑And you wanted him to know
22∑∑BY MR. MORRIS:                                               22∑∑that, right?
23∑∑∑∑∑Q.∑Okay.∑Why did you decide to write to                   23∑∑∑∑∑A.∑I wanted him to know that Seery was
24∑∑Mr. Surgent on November 27th?                                24∑∑doing inappropriate trades and doing
25∑∑∑∑∑A.∑I wasn't sure he was aware of Seery's                  25∑∑inappropriate work-around, in my opinion. I

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                   Appx. 01602
                                                                                                                                       YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 19 of 200 PageID 31172
                                                       Page 62                                                             Page 63
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                          ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑didn't think Thomas was aware.∑I thought Seery               ∑2∑∑∑∑∑Q.∑Why did you write that?
∑3∑∑was operating independently.                                 ∑3∑∑∑∑∑A.∑Because all the reasons we just went
∑4∑∑∑∑∑∑∑Thomas might have been aware, but I                     ∑4∑∑over.∑And I think he's violating the Advisers
∑5∑∑didn't think so.∑I don't talk to -- I haven't                ∑5∑∑Act.∑He's putting the funds and the debtor at
∑6∑∑talked to Thomas in I don't know when, so I                  ∑6∑∑risk, in jeopardy of class action lawsuits, and
∑7∑∑thought it was important for him to know.                    ∑7∑∑he's going against the interests of investors
∑8∑∑∑∑∑Q.∑Okay.∑You have communicated with                       ∑8∑∑that are in transition, and expressed a desire to
∑9∑∑Mr. Seery from time to time via text message,                ∑9∑∑not have their assets sold, especially when
10∑∑right?                                                       10∑∑there's no business reason.
11∑∑∑∑∑A.∑Yes.                                                   11∑∑∑∑∑∑∑And for all the reasons articulated
12∑∑∑∑∑∑∑MR. MORRIS:∑Can we put up Exhibit 4,                    12∑∑below -- I mean, for all the reasons we just went
13∑∑please.                                                      13∑∑over, and there are a few others I probably
14∑∑∑∑∑∑∑(Dondero Deposition Exhibit 4                           14∑∑haven't remembered off the top of my head, but
15∑∑marked.)                                                     15∑∑it's -- I think it's -- I think his activities
16∑∑∑∑∑∑∑MR. MORRIS:∑And if we can scroll                        16∑∑regarding the CLOs is incredibly inappropriate,
17∑∑down a little bit.∑Okay.                                     17∑∑unfounded and malicious, and he hadn't sold that
18∑∑BY MR. MORRIS:                                               18∑∑many securities at that point in time, somewhat
19∑∑∑∑∑Q.∑This is a text that you sent at the                    19∑∑de minimis amounts, but it was a warning to tell
20∑∑bottom there at 5:26 p.m. to Mr. Seery; is that              20∑∑him to stop; otherwise, rightfully, the
21∑∑right?                                                       21∑∑beneficial owners would take more significant
22∑∑∑∑∑A.∑Yes.                                                   22∑∑actions, which I think they should and they will.
23∑∑∑∑∑Q.∑Can you just read that text, that                      23∑∑∑∑∑Q.∑What significant action are the
24∑∑5:26 out loud?                                               24∑∑beneficial owners going to take?
25∑∑∑∑∑A.∑Be careful what you do, last warning.                  25∑∑∑∑∑A.∑I don't know.∑But there's a lot more
                                                       Page 64                                                             Page 65
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                          ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑things that they can push on, like you were                  ∑2∑∑reference to internal counsel.
∑3∑∑suggesting earlier, asking earlier in terms of               ∑3∑∑∑∑∑∑∑Do you recall that?
∑4∑∑self-reporting to the SEC.                                   ∑4∑∑∑∑∑A.∑Yes.
∑5∑∑∑∑∑Q.∑But you haven't done that yet, to the                  ∑5∑∑∑∑∑Q.∑Okay.∑Who were you referring to?
∑6∑∑best of your knowledge; is that right?                       ∑6∑∑∑∑∑A.∑D.C. Sauter.
∑7∑∑∑∑∑A.∑I'm not aware.                                         ∑7∑∑∑∑∑Q.∑And D.C. Sauter is internal counsel
∑8∑∑∑∑∑Q.∑You wrote there that it's the last                     ∑8∑∑for who?
∑9∑∑warning.                                                     ∑9∑∑∑∑∑A.∑I'm sorry, was there a question
10∑∑∑∑∑∑∑Do you see that?                                        10∑∑there?
11∑∑∑∑∑A.∑Yes.                                                   11∑∑∑∑∑Q.∑Yes.∑I apologize.
12∑∑∑∑∑Q.∑How many other warnings have you                       12∑∑∑∑∑∑∑D.C. Sauter is internal counsel for
13∑∑given Mr. Seery?                                             13∑∑who, for which entity?
14∑∑∑∑∑A.∑All the e-mails we just went over.                     14∑∑∑∑∑A.∑NexPoint.
15∑∑∑∑∑Q.∑Anything else?                                         15∑∑∑∑∑Q.∑Okay.∑Were you referring to anybody
16∑∑∑∑∑A.∑No.                                                    16∑∑else?
17∑∑∑∑∑Q.∑Okay.∑You got document requests in                     17∑∑∑∑∑A.∑No.
18∑∑this -- in connection with this matter; isn't                18∑∑∑∑∑Q.∑Okay.∑You mentioned Scott Ellington
19∑∑that right?                                                  19∑∑earlier, right?
20∑∑∑∑∑A.∑Yes.                                                   20∑∑∑∑∑A.∑Yes.
21∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can we put up                         21∑∑∑∑∑Q.∑And who is Mr. Ellington?
22∑∑Exhibit 5, please.                                           22∑∑∑∑∑A.∑He's general counsel at Highland
23∑∑BY MR. MORRIS:                                               23∑∑historically.∑I think his role has been
24∑∑∑∑∑Q.∑You know, before we look at that,                      24∑∑redefined as settlement counsel, that's how it
25∑∑earlier this morning you mentioned -- you made a             25∑∑was described to me, I guess, six, nine months

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01603
                                                                                                                                     YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                            Page 20 of 200 PageID 31173
                                                    Page 66                                                             Page 67
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                       ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑ago, six months ago.                                      ∑2∑∑know.
∑3∑∑∑∑∑Q.∑Mr. Ellington is employed by the                    ∑3∑∑BY MR. MORRIS:
∑4∑∑debtor, right?                                            ∑4∑∑∑∑∑Q.∑You have no reason to believe that;
∑5∑∑∑∑∑A.∑Yes.                                                ∑5∑∑is that fair?
∑6∑∑∑∑∑Q.∑And do you know when he first became                ∑6∑∑∑∑∑A.∑Correct, I don't know.
∑7∑∑employed by the debtor?                                   ∑7∑∑∑∑∑Q.∑Okay.∑He's not -- Mr. Ellington is
∑8∑∑∑∑∑A.∑Over a decade ago.                                  ∑8∑∑not your personal lawyer, right?
∑9∑∑∑∑∑Q.∑Do you know whether Mr. Ellington has               ∑9∑∑∑∑∑A.∑No.
10∑∑any employer other than the debtor?                       10∑∑∑∑∑Q.∑He's never represented Jim Dondero
11∑∑∑∑∑A.∑I don't know.                                       11∑∑personally; is that right?
12∑∑∑∑∑Q.∑He never told you that he had an                    12∑∑∑∑∑A.∑No.
13∑∑employer other than the debtor, did he?                   13∑∑∑∑∑∑∑MR. MORRIS:∑Let's look at the
14∑∑∑∑∑A.∑I don't know.                                       14∑∑document request, please, Exhibit 5.
15∑∑∑∑∑Q.∑You know if he told you or not,                     15∑∑∑∑∑∑∑(Dondero Deposition Exhibit 5
16∑∑right?∑Did he ever tell you that?                         16∑∑marked.)
17∑∑∑∑∑A.∑He never told me he did, no.                        17∑∑BY MR. MORRIS:
18∑∑∑∑∑Q.∑And you have no facts or reason to                  18∑∑∑∑∑Q.∑If we could go -- let me just ask you
19∑∑believe, as you sit here right now, that the              19∑∑generally, Mr. Dondero.
20∑∑debtor is -- withdrawn.                                   20∑∑∑∑∑∑∑Have you ever seen this document
21∑∑∑∑∑∑∑You have no facts or reason to                       21∑∑before?
22∑∑believe right now that Mr. Ellington has any              22∑∑∑∑∑A.∑No.
23∑∑employer other than the debtor, correct?                  23∑∑∑∑∑Q.∑Are you aware that the debtor served
24∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                          24∑∑document requests on the Bonds Ellis firm for
25∑∑∑∑∑A.∑I'd like to stick with:∑I don't                     25∑∑documents in connection with its motion for a
                                                    Page 68                                                             Page 69
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                       ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑preliminary injunction?                                   ∑2∑∑stenographer.)
∑3∑∑∑∑∑A.∑Yes.                                                ∑3∑∑BY MR. MORRIS:
∑4∑∑∑∑∑Q.∑How did you learn that?                             ∑4∑∑∑∑∑Q.∑What instructions did you give her in
∑5∑∑∑∑∑A.∑I heard about it from my lawyers.                   ∑5∑∑order to search for documents?
∑6∑∑∑∑∑Q.∑Okay.∑Did you oversee the search for                ∑6∑∑∑∑∑A.∑I didn't -- I didn't give her any.
∑7∑∑responsive documents?                                     ∑7∑∑She worked with that and she had -- she has full
∑8∑∑∑∑∑A.∑Response -- I know we were responsive               ∑8∑∑access to my e-mail, and I gave her my phone for
∑9∑∑and compliant, but I delegated it to my                   ∑9∑∑the better part of a couple days in the office.
10∑∑assistants and the employees at Bonds Ellis.              10∑∑∑∑∑Q.∑You -- until the end of 2020, you had
11∑∑∑∑∑Q.∑Which assistants did you delegate                   11∑∑an e-mail address with an HCMLP or a Highland
12∑∑this to?                                                  12∑∑e-mail address, right?
13∑∑∑∑∑A.∑Tara Loiben.∑I think primarily Tara                 13∑∑∑∑∑A.∑Yes.
14∑∑Loiben.                                                   14∑∑∑∑∑Q.∑Have you stopped -- has that e-mail
15∑∑∑∑∑Q.∑And who is Ms. Loiben?                              15∑∑address ceased to be in use?
16∑∑∑∑∑A.∑She's my assistant.                                 16∑∑∑∑∑A.∑I've switched to an e-mail at the
17∑∑∑∑∑Q.∑And who is she --                                   17∑∑bank as of -- whatever it was, last week or...
18∑∑∑∑∑A.∑I'm sorry?                                          18∑∑∑∑∑Q.∑In the year 2020, did you use any
19∑∑∑∑∑Q.∑Who is she employed by?                             19∑∑e-mail address other than the Highland e-mail
20∑∑∑∑∑A.∑I -- I don't know for sure.∑I think                 20∑∑address?
21∑∑Highland, but I don't know.∑I don't want to               21∑∑∑∑∑A.∑No.
22∑∑speculate.                                                22∑∑∑∑∑Q.∑You don't have a Gmail address or any
23∑∑∑∑∑Q.∑What instructions -- (audio                         23∑∑other personal e-mail address?
24∑∑malfunction) --                                           24∑∑∑∑∑A.∑I have an old Gmail address, but it's
25∑∑∑∑∑∑∑(Clarification requested by the                      25∑∑dormant.∑I haven't logged on to it in years.

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                              Appx. 01604
                                                                                                                                  YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 21 of 200 PageID 31174
                                                        Page 70                                                            Page 71
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑Q.∑Okay.∑And you understood that the                       ∑2∑∑to my firm?
∑3∑∑debtor's document request called for the                      ∑3∑∑∑∑∑A.∑Only in the most general -- when
∑4∑∑production of all text messages that were                     ∑4∑∑she'd print out a stack of them, I'd just thumb
∑5∑∑responsive to the requests, right?                            ∑5∑∑through the stack of them, and that was it.∑But
∑6∑∑∑∑∑A.∑Yes.                                                    ∑6∑∑other than that, no.
∑7∑∑∑∑∑Q.∑Can we just scroll down to the                          ∑7∑∑∑∑∑Q.∑Did you do anything to satisfy
∑8∑∑requests themselves?∑Right there.                             ∑8∑∑yourself that you had produced all responsive
∑9∑∑∑∑∑∑∑Do you see Request No. 3 is for all                      ∑9∑∑documents?
10∑∑communications between you and any person                     10∑∑∑∑∑A.∑I trust Tara's work ethic and
11∑∑employed by the debtor?                                       11∑∑capabilities, and I trust the lawyers at Bonds
12∑∑∑∑∑A.∑Yes.                                                    12∑∑Ellis, so I didn't -- I didn't intervene or
13∑∑∑∑∑Q.∑And did you understand that the                         13∑∑supersede or supervise.
14∑∑request was limited to the time period of, I                  14∑∑∑∑∑Q.∑So you didn't do anything to make
15∑∑think, December 10th, 2020 to the end of the                  15∑∑sure -- you didn't do anything personally --
16∑∑month?                                                        16∑∑withdrawn.
17∑∑∑∑∑A.∑I didn't read the details of this. I                    17∑∑∑∑∑∑∑You didn't take any steps personally
18∑∑didn't get into it.∑I didn't do the document                  18∑∑to make sure that all responsive documents had
19∑∑production that I believe was completed and                   19∑∑been produced, right?
20∑∑responsive.∑I delegated that.                                 20∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
21∑∑∑∑∑Q.∑Did you review the documents before                     21∑∑∑∑∑A.∑I wasn't involved personally, but I
22∑∑they were produced?∑Do you know what was                      22∑∑do believe it was responsive and complete.
23∑∑produced?∑Withdrawn.∑Two different questions.                 23∑∑BY MR. MORRIS:
24∑∑∑∑∑∑∑Did you review the documents for                         24∑∑∑∑∑Q.∑Until early December, you had a phone
25∑∑completeness before your lawyers delivered them               25∑∑that was bought and paid for by the debtor,
                                                        Page 72                                                            Page 73
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑right?                                                        ∑2∑∑∑∑∑Q.∑I appreciate that, but I'm just
∑3∑∑∑∑∑A.∑Yes.                                                    ∑3∑∑talking about the very specific phone that the
∑4∑∑∑∑∑Q.∑What happened to that phone?                            ∑4∑∑debtor bought and paid for for your benefit.∑Who
∑5∑∑∑∑∑A.∑It was disposed of as part of getting                   ∑5∑∑made the decision to dispose and throw that phone
∑6∑∑a replacement phone in anticipation of                        ∑6∑∑away?
∑7∑∑potentially a transition.                                     ∑7∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
∑8∑∑∑∑∑Q.∑Who decided to dispose of it?                           ∑8∑∑∑∑∑A.∑I -- like I said, I understood it to
∑9∑∑∑∑∑A.∑That's historically what we've done                     ∑9∑∑be our standard process and protocol.∑I don't
10∑∑with all of our historic phones, when we've                   10∑∑know.∑I can't label anybody with the decision.
11∑∑gotten new phones.∑I've gotten a new phone, I                 11∑∑BY MR. MORRIS:
12∑∑guess, every four or five years, and the old ones             12∑∑∑∑∑Q.∑Well, who threw it away?
13∑∑have always been destroyed.                                   13∑∑∑∑∑A.∑I don't know.
14∑∑∑∑∑Q.∑Who decided to destroy this --                          14∑∑∑∑∑Q.∑You don't know if you threw the phone
15∑∑withdrawn.                                                    15∑∑away?
16∑∑∑∑∑∑∑When you say it was disposed of, what                    16∑∑∑∑∑A.∑No, I -- I don't know.∑No, I don't
17∑∑does that mean?                                               17∑∑remember throwing it away, but I don't know who
18∑∑∑∑∑A.∑As far as I know, it was disposed of                    18∑∑did.
19∑∑in the garbage, but I don't know if it was                    19∑∑∑∑∑Q.∑Did you have conversations with
20∑∑recycled or whatever.                                         20∑∑anybody about the decision to throw away the
21∑∑∑∑∑Q.∑And who decided to throw it in the                      21∑∑phone?
22∑∑garbage?                                                      22∑∑∑∑∑A.∑Like I said, it wasn't a decision or
23∑∑∑∑∑A.∑We've always -- we've always done                       23∑∑a new decision.∑It's been the process, as far as
24∑∑that when we've gotten new phones, versus trading             24∑∑I understand it, every time we've upgraded phones
25∑∑them in, for the senior executives.                           25∑∑over the last 30 years.

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01605
                                                                                                                                     YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 22 of 200 PageID 31175
                                                        Page 74                                                             Page 75
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑Q.∑You just throw it in the garbage?                       ∑2∑∑∑∑∑Q.∑When exactly did you dispose of your
∑3∑∑You don't try to get a credit for it by returning             ∑3∑∑phone?
∑4∑∑it?                                                           ∑4∑∑∑∑∑A.∑On or about when I got my new phone.
∑5∑∑∑∑∑A.∑No.                                                     ∑5∑∑∑∑∑Q.∑Who at the debtor did you tell that
∑6∑∑∑∑∑Q.∑Okay.∑Did you ever speak with                           ∑6∑∑you disposed of your phone?
∑7∑∑Mr. Ellington about your phone that was bought                ∑7∑∑∑∑∑A.∑I don't -- I don't remember who.∑Was
∑8∑∑and paid for by the debtor?                                   ∑8∑∑it Jason Rothstein was involved in getting my new
∑9∑∑∑∑∑A.∑I think Ellington's phone and my                        ∑9∑∑phone and knew that I was disposing of my old
10∑∑phone and I think -- I think right around the                 10∑∑phone?∑I don't know who else knew.∑But again,
11∑∑same time, in anticipation, in case there was a               11∑∑it was standard procedure.
12∑∑transition or in case there was a liquidation                 12∑∑∑∑∑Q.∑Did it ever occur to you to get the
13∑∑plan, it was time to move the phone ownership                 13∑∑debtor's consent before doing this?
14∑∑away from the estate.∑The estate wasn't going to              14∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
15∑∑pay for it anymore anyway in another couple of                15∑∑∑∑∑A.∑No.
16∑∑weeks so, I --                                                16∑∑BY MR. MORRIS:
17∑∑∑∑∑Q.∑Were you aware --                                       17∑∑∑∑∑Q.∑Did you have the phone number
18∑∑∑∑∑A.∑I'm sorry, what's your question?                        18∑∑transferred to your personal account?
19∑∑∑∑∑Q.∑Are you aware that the UCC had asked                    19∑∑∑∑∑A.∑Yes.
20∑∑for your text messages before the time that you               20∑∑∑∑∑Q.∑Did you ever ask the debtor for its
21∑∑disposed of your phone?                                       21∑∑permission to do that?
22∑∑∑∑∑A.∑No.                                                     22∑∑∑∑∑A.∑No.
23∑∑∑∑∑Q.∑Nobody ever told you that the UCC                       23∑∑∑∑∑Q.∑Did you ever give the debtor notice
24∑∑wanted your phone?                                            24∑∑that you were doing that?
25∑∑∑∑∑A.∑No.                                                     25∑∑∑∑∑A.∑I didn't believe it was necessary or
                                                        Page 76                                                             Page 77
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑appropriate.                                                  ∑2∑∑phones when we get new phones.
∑3∑∑∑∑∑Q.∑So you wanted it to be a secret?                        ∑3∑∑BY MR. MORRIS:
∑4∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              ∑4∑∑∑∑∑Q.∑You were no longer an employee of the
∑5∑∑∑∑∑A.∑No.∑No, I wouldn't describe it as a                     ∑5∑∑debtor at the time, correct?
∑6∑∑secret.∑I would say I didn't think it was                     ∑6∑∑∑∑∑A.∑At the time?∑I believe I was an
∑7∑∑necessary or appropriate.                                     ∑7∑∑employee of the debtor since January.
∑8∑∑∑∑∑∑∑Every executive that's ever left                         ∑8∑∑∑∑∑Q.∑Well, you stayed on as an unpaid
∑9∑∑Highland has always kept their phone number,                  ∑9∑∑employee until mid October; isn't that right?
10∑∑period.∑Highland's never said, no, we're keeping              10∑∑∑∑∑A.∑Right, but I -- but I don't even
11∑∑the phone number, ever, out of the two or 300                 11∑∑think my phone was paid for by the debtor. I
12∑∑people that have come through Highland.∑And I                 12∑∑think my phone was paid for by shared services by
13∑∑don't believe most businesses try and retain the              13∑∑NexPoint.∑I -- I don't know what you're -- I
14∑∑phone number of employees when they leave.∑It's               14∑∑don't know what you're getting at or what
15∑∑ludicrous on its surface.                                     15∑∑you're -- you're asking me.
16∑∑BY MR. MORRIS:                                                16∑∑∑∑∑Q.∑It's not complicated.
17∑∑∑∑∑Q.∑Okay.∑So let me just make sure that                     17∑∑∑∑∑∑∑Did you tell the debtor that you
18∑∑I understand this.                                            18∑∑threw away your phone at any time until this
19∑∑∑∑∑∑∑You threw the phone -- withdrawn.                        19∑∑deposition?
20∑∑∑∑∑∑∑Somebody threw the phone that the                        20∑∑∑∑∑A.∑Did I tell the debtor?∑Like I said,
21∑∑debtor bought and paid for in the garbage without             21∑∑I didn't think it was the debtor's phone.∑No, I
22∑∑the debtor's knowledge or consent; is that right?             22∑∑did not tell the debtor or get permission.∑No, I
23∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              23∑∑did not.
24∑∑∑∑∑A.∑I'd just repeat my testimony, that                      24∑∑∑∑∑Q.∑And did you tell the debtor that you
25∑∑it's always been our process to destroy old                   25∑∑were changing the phone number?

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01606
                                                                                                                                      YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 23 of 200 PageID 31176
                                                        Page 78                                                              Page 79
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑A.∑No.                                                     ∑2∑∑thought it was a bunch of senior execs.∑But --
∑3∑∑∑∑∑Q.∑And did Mr. Ellington help you change                   ∑3∑∑∑∑∑Q.∑What's the basis --
∑4∑∑the phone number?                                             ∑4∑∑∑∑∑A.∑-- who cares?∑Who cares?∑I didn't
∑5∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              ∑5∑∑care.∑I don't know.∑I mean --
∑6∑∑∑∑∑A.∑I didn't change the phone number.                       ∑6∑∑∑∑∑Q.∑I don't care if you care or not.∑I'm
∑7∑∑BY MR. MORRIS:                                                ∑7∑∑asking you questions.
∑8∑∑∑∑∑Q.∑Withdrawn.                                              ∑8∑∑∑∑∑∑∑What is the basis for your statement
∑9∑∑∑∑∑∑∑Did Mr. Ellington help you have the                      ∑9∑∑that other people besides you and Mr. Ellington
10∑∑phone number transitioned to your personal                    10∑∑changed the phone numbers?
11∑∑account?                                                      11∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
12∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              12∑∑∑∑∑A.∑That was my understanding.∑That was
13∑∑∑∑∑A.∑No.∑No.∑It was Jason -- Jason                           13∑∑my understanding.∑But I don't -- I don't recall
14∑∑Rothstein handles the technology stuff and the                14∑∑specifics.∑I didn't pay attention.
15∑∑phone stuff.                                                  15∑∑BY MR. MORRIS:
16∑∑BY MR. MORRIS:                                                16∑∑∑∑∑Q.∑What is the basis for the
17∑∑∑∑∑Q.∑Did Mr. Ellington also change his                       17∑∑understanding?∑Did somebody tell you that?
18∑∑phone number to his own personal account?                     18∑∑∑∑∑∑∑MR. BONDS:∑Can you repeat the
19∑∑∑∑∑A.∑My understanding was there was                          19∑∑question?
20∑∑numerous senior executives that changed their                 20∑∑BY MR. MORRIS:
21∑∑phone in anticipation of being terminated by the              21∑∑∑∑∑Q.∑What is the basis for your
22∑∑debtor shortly.                                               22∑∑understanding?∑Did somebody tell you that
23∑∑∑∑∑Q.∑Who else did it?                                        23∑∑employees of Highland other than Mr. Ellington
24∑∑∑∑∑A.∑I don't know.∑I thought it was -- I                     24∑∑had changed the phone numbers?
25∑∑didn't think it was just Ellington and I. I                   25∑∑∑∑∑A.∑Yes.∑My understanding was everybody
                                                        Page 80                                                              Page 81
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑had to move their phones in the next 30 days or               ∑2∑∑∑∑∑A.∑I don't know.
∑3∑∑next 25 days, based on Seery's termination                    ∑3∑∑∑∑∑Q.∑He left it in Tara's desk, didn't he?
∑4∑∑notice.                                                       ∑4∑∑∑∑∑A.∑On December 10th.∑But I don't know
∑5∑∑∑∑∑Q.∑Did Jim Seery -- withdrawn.∑I'm                         ∑5∑∑what he did on December 11th.
∑6∑∑perfectly fine.                                               ∑6∑∑∑∑∑Q.∑Did you tell him to do anything?
∑7∑∑∑∑∑∑∑MR. MORRIS:∑Can we put up Exhibit 6,                     ∑7∑∑∑∑∑A.∑I don't -- all I know is the phone's
∑8∑∑please.                                                       ∑8∑∑been disposed of.∑That's all I know.
∑9∑∑∑∑∑∑∑(Dondero Deposition Exhibit 6                            ∑9∑∑∑∑∑Q.∑Okay.∑Did you tell Mr. Rothstein to
10∑∑marked.)                                                      10∑∑take the phone out of Tara's desk and throw it in
11∑∑BY MR. MORRIS:                                                11∑∑the garbage?
12∑∑∑∑∑Q.∑That's Jason Rothstein.                                 12∑∑∑∑∑A.∑I did not.
13∑∑∑∑∑∑∑Do you see that?                                         13∑∑∑∑∑Q.∑Did you tell Tara to take the phone
14∑∑∑∑∑A.∑Yes.                                                    14∑∑out of her desk and throw it in the garbage?
15∑∑∑∑∑Q.∑He didn't throw the phone in the                        15∑∑∑∑∑A.∑I did not.
16∑∑garbage, did he?                                              16∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can we put up
17∑∑∑∑∑A.∑I don't know.                                           17∑∑Exhibit 7, please.
18∑∑∑∑∑Q.∑Well, according to the text that he                     18∑∑∑∑∑∑∑(Dondero Deposition Exhibit 7
19∑∑sent you on December 10th, he left your own --                19∑∑marked.)
20∑∑old phone in the drawer of Tara's desk.                       20∑∑∑∑∑∑∑MR. MORRIS:∑Can we just scroll down
21∑∑∑∑∑∑∑Do you see that?                                         21∑∑a little bit.
22∑∑∑∑∑A.∑Yes.                                                    22∑∑BY MR. MORRIS:
23∑∑∑∑∑Q.∑So he didn't think that it was his                      23∑∑∑∑∑Q.∑Is this a text message from you to
24∑∑responsibility as of December 10th to throw it in             24∑∑Tara?
25∑∑the garbage, did he?                                          25∑∑∑∑∑A.∑Yep.

                                          TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                   Appx. 01607
                                                                                                                                       YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 24 of 200 PageID 31177
                                                        Page 82                                                               Page 83
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑Q.∑If we could scroll up just a little                     ∑2∑∑∑∑∑Q.∑Did you ever speak with Mr. Ellington
∑3∑∑bit so we can see the date.                                   ∑3∑∑about your document production?
∑4∑∑∑∑∑∑∑Well, it doesn't have a date, but do                     ∑4∑∑∑∑∑A.∑No.
∑5∑∑you recall when you asked Tara to come in to                  ∑5∑∑∑∑∑Q.∑Did Mr. Ellington play any role in
∑6∑∑work -- (audio malfunction) --                                ∑6∑∑searching for, reviewing or producing responsive
∑7∑∑∑∑∑∑∑(Clarification requested by the                          ∑7∑∑documents?
∑8∑∑stenographer.)                                                ∑8∑∑∑∑∑A.∑Nope.
∑9∑∑BY MR. MORRIS:                                                ∑9∑∑∑∑∑Q.∑Did you ever speak with Mr. Leventon
10∑∑∑∑∑Q.∑-- to come in to work on discovery.                     10∑∑about your document production?
11∑∑Do you recall when you sent this text message,                11∑∑∑∑∑A.∑Nope.
12∑∑Mr. Dondero?                                                  12∑∑∑∑∑Q.∑Did Mr. Leventon play any role in
13∑∑∑∑∑A.∑No.                                                     13∑∑searching for, reviewing or producing responsive
14∑∑∑∑∑Q.∑Do you know how Tara -- withdrawn.                      14∑∑documents?
15∑∑∑∑∑∑∑Did Tara come in to work on discovery                    15∑∑∑∑∑A.∑Nope.
16∑∑at any time?                                                  16∑∑∑∑∑Q.∑Did you ever speak with anybody
17∑∑∑∑∑A.∑Yes.                                                    17∑∑employed by the debtor, other than Tara, about
18∑∑∑∑∑Q.∑And did you give her any instructions                   18∑∑your document production?
19∑∑on what to do?                                                19∑∑∑∑∑A.∑Tara's got an assistant, or my other
20∑∑∑∑∑A.∑Again, just generally.                                  20∑∑assistant that works with Tara, Kelly, would have
21∑∑∑∑∑Q.∑What were the general instructions                      21∑∑been the only other person.
22∑∑that you gave her?                                            22∑∑∑∑∑∑∑She might have been -- Tara had to go
23∑∑∑∑∑A.∑Work with the Bonds Ellis guys.                         23∑∑back and see her girls during lunch, so I think
24∑∑Here's the access to my computer and my phone.                24∑∑she used Kelly to do some of the legwork.
25∑∑Be complete and be responsive.                                25∑∑∑∑∑Q.∑Let's talk about the TRO for a
                                                        Page 84                                                               Page 85
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑second.                                                       ∑2∑∑∑∑∑A.∑Not at this moment.
∑3∑∑∑∑∑∑∑MR. MORRIS:∑Can we put up Exhibit 9,                     ∑3∑∑∑∑∑∑∑MR. MORRIS:∑Can you put up
∑4∑∑please.                                                       ∑4∑∑Exhibit 10, please.
∑5∑∑∑∑∑∑∑(Dondero Deposition Exhibit 9                            ∑5∑∑∑∑∑∑∑(Dondero Deposition Exhibit 10
∑6∑∑marked.)                                                      ∑6∑∑marked.)
∑7∑∑BY MR. MORRIS:                                                ∑7∑∑BY MR. MORRIS:
∑8∑∑∑∑∑Q.∑This is the temporary restraining                       ∑8∑∑∑∑∑Q.∑All right.∑Have you seen this letter
∑9∑∑order that was signed on December 10th.                       ∑9∑∑before, sir?
10∑∑∑∑∑∑∑Do you see that?                                         10∑∑∑∑∑A.∑No.∑I mean, not specifically. I
11∑∑∑∑∑∑∑If we could scroll down just a little                    11∑∑probably received it, but I haven't read it.
12∑∑bit.∑Yeah.                                                    12∑∑∑∑∑Q.∑All right.∑I just want to go back to
13∑∑∑∑∑A.∑Okay.                                                   13∑∑the phone for a second to see if I can nail this
14∑∑∑∑∑Q.∑You've never seen this document                         14∑∑down.
15∑∑before, right?                                                15∑∑∑∑∑∑∑Did you dispose of the phone
16∑∑∑∑∑A.∑Yes, I haven't read it.                                 16∑∑somewhere around December 10th, 2020?
17∑∑∑∑∑Q.∑And I know I asked you earlier today                    17∑∑∑∑∑A.∑I -- I don't know.∑Probably.
18∑∑what your understanding was of how this order                 18∑∑∑∑∑Q.∑Well, we just looked at that e-mail,
19∑∑restrained you.                                               19∑∑right, that was from Mr. Rothstein.
20∑∑∑∑∑∑∑Do you remember those questions?                         20∑∑∑∑∑∑∑MR. MORRIS:∑Can we get that back?
21∑∑∑∑∑A.∑Yes.                                                    21∑∑∑∑∑A.∑Yes.
22∑∑∑∑∑Q.∑Okay.∑Is there anything, upon                           22∑∑∑∑∑∑∑MR. MORRIS:∑I just want to see what
23∑∑reflection, that you need to add in order to make             23∑∑the date of that was.∑Yes.∑Okay.
24∑∑the record complete as to your understanding of               24∑∑BY MR. MORRIS:
25∑∑the scope of the injunction?                                  25∑∑∑∑∑Q.∑So that's December 10th at 6:25 p.m.,

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                    Appx. 01608
                                                                                                                                        YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                 Page 25 of 200 PageID 31178
                                                        Page 86                                                             Page 87
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑right?                                                        ∑2∑∑that the phone was anywhere other than Tara's
∑3∑∑∑∑∑A.∑Yes.                                                    ∑3∑∑desk at 6:25 p.m. on December 10th?
∑4∑∑∑∑∑Q.∑Okay.∑So according to Mr. Rothstein,                    ∑4∑∑∑∑∑A.∑I don't know.
∑5∑∑as of that date at that time, your phone was in               ∑5∑∑∑∑∑Q.∑You have no reason to believe that
∑6∑∑Tara's desk, right?                                           ∑6∑∑that statement by Mr. Rothstein is untrue,
∑7∑∑∑∑∑A.∑Yes.                                                    ∑7∑∑correct?
∑8∑∑∑∑∑Q.∑You have no reason to disbelieve                        ∑8∑∑∑∑∑A.∑Correct.
∑9∑∑that, do you?                                                 ∑9∑∑∑∑∑Q.∑Do you know how it came to be that
10∑∑∑∑∑∑∑MR. BONDS:∑Can you repeat the                            10∑∑the phone was disposed of in the manner that
11∑∑question?∑I'm sorry.                                          11∑∑you've described?
12∑∑∑∑∑∑∑MR. MORRIS:∑Withdrawn.                                   12∑∑∑∑∑A.∑Nope.
13∑∑BY MR. MORRIS:                                                13∑∑∑∑∑Q.∑You can't tell me who did it; is that
14∑∑∑∑∑Q.∑So is it fair to say, then, that the                    14∑∑right?
15∑∑phone was disposed of and thrown in the garbage               15∑∑∑∑∑A.∑Correct.
16∑∑sometime after December 10th?                                 16∑∑∑∑∑Q.∑And you can't tell me when, after
17∑∑∑∑∑A.∑I don't know.                                           17∑∑December 10th, that happened, right?
18∑∑∑∑∑Q.∑Well, as of December 10th,                              18∑∑∑∑∑A.∑Correct.
19∑∑Mr. Rothstein told you that it was in Tara's                  19∑∑∑∑∑Q.∑Okay.∑Thank you.∑Let's go back to,
20∑∑desk, right?                                                  20∑∑I guess, Exhibit 10.∑If we can just scroll down
21∑∑∑∑∑A.∑Yes.                                                    21∑∑a little bit.
22∑∑∑∑∑Q.∑Okay.∑So if he -- Jason's not a                         22∑∑∑∑∑∑∑I understand that you haven't seen
23∑∑liar, is he?                                                  23∑∑this document before.∑Go to the next page,
24∑∑∑∑∑A.∑No.                                                     24∑∑please -- no.∑Yeah, next page.
25∑∑∑∑∑Q.∑Do you have any reason to believe                       25∑∑∑∑∑∑∑Do you see the first full paragraph
                                                        Page 88                                                             Page 89
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑there beginning "On December 22nd"?                           ∑2∑∑sentence of that paragraph?∑And let me just read
∑3∑∑∑∑∑A.∑I'm going to have to get up and read                    ∑3∑∑it aloud, if I may.
∑4∑∑that.∑Just hold on a sec.                                     ∑4∑∑∑∑∑A.∑That -- all right.∑What's your
∑5∑∑∑∑∑Q.∑Okay.∑Take your time.                                   ∑5∑∑question?
∑6∑∑∑∑∑A.∑Yes, I see that.                                        ∑6∑∑∑∑∑Q.∑Is there anything inaccurate about
∑7∑∑∑∑∑Q.∑Okay.∑Having read that paragraph, do                    ∑7∑∑the first sentence?
∑8∑∑you have any basis to dispute any of the                      ∑8∑∑∑∑∑A.∑I believe my instructions in the
∑9∑∑statements in that paragraph?                                 ∑9∑∑e-mails we went over were to not do the trades.
10∑∑∑∑∑∑∑MR. BONDS:∑I'm sorry.∑Can you read                       10∑∑You know, that sentence implies not settle the
11∑∑it again or can you ask your question again?                  11∑∑trade, which means to not do the trades once they
12∑∑∑∑∑∑∑MR. MORRIS:∑Sure.∑I'd like to know                       12∑∑were already bona fide.∑I -- I don't recall that
13∑∑if Mr. Dondero has any basis to dispute any                   13∑∑ever being my contention.
14∑∑assertion made in that paragraph.                             14∑∑∑∑∑∑∑I would have preferred they be
15∑∑∑∑∑A.∑I disagree with every sentence in                       15∑∑reversed, but my instructions, I believe, in
16∑∑that paragraph based on my 30 years of experience             16∑∑everything we went over were to not do the
17∑∑and understanding how to operate a registered                 17∑∑trades, stop doing trades that are adverse to the
18∑∑investment advisor and how to do it in the                    18∑∑interests of investors, but it wasn't regarding
19∑∑interest of performance, investors and a                      19∑∑settling outstanding trades.∑So I think that
20∑∑registered investment advisor.                                20∑∑sentence on its face is in error.
21∑∑BY MR. MORRIS:                                                21∑∑∑∑∑Q.∑Okay.∑So but it's true, then, that
22∑∑∑∑∑Q.∑All right.∑Let's try this                               22∑∑you instructed employees of NPA and HCMFA on or
23∑∑differently.∑I shouldn't have done that.                      23∑∑around December 22nd to stop doing the trades of
24∑∑∑∑∑∑∑The first sentence, do you have any                      24∑∑Avaya and Sky, correct?
25∑∑basis to disagree with any aspect of the first                25∑∑∑∑∑A.∑Yes.

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01609
                                                                                                                                      YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 26 of 200 PageID 31179
                                                        Page 90                                                             Page 91
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑Q.∑Near the closing bell on -- we're                       ∑2∑∑couldn't have waited until January or February.
∑3∑∑going to go back in time just a couple of days --             ∑3∑∑∑∑∑∑∑There's no business purpose in
∑4∑∑on Friday the 18th, Mr. Sowin informed you that               ∑4∑∑selling any of those securities, yet he's pushing
∑5∑∑Seery wanted to sell these securities, right?                 ∑5∑∑them through for self-serving or vindictive
∑6∑∑∑∑∑A.∑I don't recall that specifically.                       ∑6∑∑reasons.∑I -- or maybe trying to get more issues
∑7∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can we put up                          ∑7∑∑in front of the judge.∑I have no idea, but
∑8∑∑Exhibit 11, please.                                           ∑8∑∑this -- this stuff makes absolutely no sense and
∑9∑∑∑∑∑∑∑(Dondero Deposition Exhibit 11                           ∑9∑∑no business purpose.
10∑∑marked.)                                                      10∑∑∑∑∑∑∑But I'm sorry, what's your question?
11∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑And if we can                          11∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑I move to strike
12∑∑just go down to the bottom of it.∑Yeah.                       12∑∑and I'd ask you to listen to my question.
13∑∑BY MR. MORRIS:                                                13∑∑BY MR. MORRIS:
14∑∑∑∑∑Q.∑So that e-mail at the bottom, that's                    14∑∑∑∑∑Q.∑It's simply that you learned, just
15∑∑Mr. Seery's direction to sell Avaya securities                15∑∑before the closing bell on Friday, December 18th,
16∑∑from the CLOs, right?                                         16∑∑that Mr. Seery wanted to sell Avaya securities
17∑∑∑∑∑A.∑I don't know what's happening here.                     17∑∑out of the CLOs?
18∑∑I don't know if this is fuzzy or my eyes are                  18∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
19∑∑getting worse, but can we enlarge these a little              19∑∑∑∑∑∑∑THE WITNESS:∑Yeah, hold on.∑I need
20∑∑bit, or I'm going to have to get up each time.                20∑∑to interrupt for a second.∑When you strike
21∑∑∑∑∑∑∑Yeah.∑This is nutty and vindictive.                      21∑∑something, does that mean it doesn't end up in
22∑∑I think everybody realizes that there's no                    22∑∑the record?
23∑∑liquidity in the markets the three days before                23∑∑∑∑∑∑∑MR. MORRIS:∑The judge will decide
24∑∑Thanksgiving and Christmas.∑There's no urgency                24∑∑whether or not it does.∑It's my request that the
25∑∑or reason to sell any of these securities that                25∑∑judge strike it from the record.∑She'll make the
                                                        Page 92                                                             Page 93
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑ruling.                                                       ∑2∑∑execute these sales?
∑3∑∑∑∑∑∑∑THE WITNESS:∑Okay.∑But then my                           ∑3∑∑∑∑∑A.∑Yes.
∑4∑∑lawyer can ask to put it in as my understanding               ∑4∑∑∑∑∑Q.∑After the TRO was issued, did you
∑5∑∑of something at the end or something of the                   ∑5∑∑ever instruct any employees of NPA or HCMFA not
∑6∑∑deposition or...                                              ∑6∑∑to interfere or impede with the debtor's
∑7∑∑∑∑∑∑∑MR. MORRIS:∑I don't want to give you                     ∑7∑∑management of the CLOs?
∑8∑∑legal advice, Mr. Dondero, but yes, that's                    ∑8∑∑∑∑∑A.∑No.
∑9∑∑generally how it works.                                       ∑9∑∑∑∑∑Q.∑To the best of your knowledge, did
10∑∑∑∑∑∑∑THE WITNESS:∑Okay.∑Thank you.                            10∑∑anyone ever instruct the employees of NPA and
11∑∑BY MR. MORRIS:                                                11∑∑HCMFA not to interfere or impede with the
12∑∑∑∑∑Q.∑So again, the question is simply                        12∑∑debtor's management of the CLOs?
13∑∑whether you learned near the closing bell on                  13∑∑∑∑∑A.∑No.
14∑∑Friday, December 18th, that Mr. Seery wanted to               14∑∑∑∑∑Q.∑Did you ever provide a copy of the
15∑∑sell Avaya shares out of the CLOs?                            15∑∑TRO to any employees of NPA and HCMFA?
16∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                              16∑∑∑∑∑A.∑I did not.
17∑∑∑∑∑A.∑It appears so.                                          17∑∑∑∑∑Q.∑Do you know if anybody ever provided
18∑∑BY MR. MORRIS:                                                18∑∑a copy of the TRO to any of the employees of NPA
19∑∑∑∑∑Q.∑Okay.∑And can you just scroll up                        19∑∑and HCMFA?
20∑∑above that, please.∑And -- okay.                              20∑∑∑∑∑A.∑I do not know.
21∑∑∑∑∑∑∑Do you see that Mr. Sowin, in fact,                      21∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can we put up
22∑∑forwards this right to you?                                   22∑∑Exhibit 12, please.
23∑∑∑∑∑A.∑Yes.                                                    23∑∑∑∑∑∑∑(Dondero Deposition Exhibit 12
24∑∑∑∑∑Q.∑And it was on the basis of this that                    24∑∑marked.)
25∑∑you instructed the NPA and HCMFA employees not to             25∑∑∑∑∑∑∑///

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01610
                                                                                                                                      YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 27 of 200 PageID 31180
                                                        Page 94                                                           Page 95
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑BY MR. MORRIS:                                                ∑2∑∑These were --
∑3∑∑∑∑∑Q.∑Okay.∑This is a letter that was sent                    ∑3∑∑∑∑∑Q.∑Yeah, let me just do a little
∑4∑∑to K&L Gates.                                                 ∑4∑∑background.
∑5∑∑∑∑∑∑∑Do you know who K&L Gates represents                     ∑5∑∑∑∑∑∑∑A couple of -- about a week before
∑6∑∑in connection with this matter?                               ∑6∑∑this letter was sent, the entities represented by
∑7∑∑∑∑∑A.∑Some of the retail funds.                               ∑7∑∑K&L Gates, except for CLO Holdco, had made a
∑8∑∑∑∑∑Q.∑And do they also represent the two                      ∑8∑∑motion in the bankruptcy court, right?
∑9∑∑advisors?                                                     ∑9∑∑∑∑∑A.∑Yes.
10∑∑∑∑∑A.∑Yes.∑I believe they're one of --                        10∑∑∑∑∑Q.∑They had asked the Court to pause, to
11∑∑yes.                                                          11∑∑impose a pause on the debtor from selling any CLO
12∑∑∑∑∑Q.∑Attached to this letter, there's an                     12∑∑assets; is that right?
13∑∑Exhibit A, if we can go down, and we'll find a                13∑∑∑∑∑A.∑I don't -- I don't know what
14∑∑letter from K&L Gates there.∑Okay.                            14∑∑exactly -- I don't know the details of what they
15∑∑∑∑∑∑∑This is another letter from K&L Gates                    15∑∑requested.
16∑∑dated December 22nd, 2020.∑Are you able to see                16∑∑∑∑∑Q.∑Okay.∑Did you authorize the filing
17∑∑that, sir?∑Can we scroll down a little bit?                   17∑∑of that motion?
18∑∑∑∑∑A.∑Yes.∑Yes, I can see the letter.                         18∑∑∑∑∑A.∑Authorize the filing? I
19∑∑∑∑∑Q.∑Okay.∑Were you aware that this                          19∑∑championed -- I pushed and encouraged the chief
20∑∑letter was sent at the time that it was?                      20∑∑compliance officer and the general counsel to do
21∑∑∑∑∑A.∑I was aware, yes.                                       21∑∑what they believed was right as rigorously as
22∑∑∑∑∑Q.∑And these are the same entities,                        22∑∑possible, and it manifested itself in the letters
23∑∑except for CLO Holdco, that had filed the prior               23∑∑that you're speaking of.
24∑∑motion that was denied by the Court, right?                   24∑∑∑∑∑Q.∑And you -- and you approved of these
25∑∑∑∑∑A.∑I'm sorry, ask that question again.                     25∑∑letters, right?
                                                        Page 96                                                           Page 97
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑A.∑I -- not directly and not                               ∑2∑∑∑∑∑Q.∑Are you the direct or indirect
∑3∑∑specifically, but I encouraged them to do what                ∑3∑∑economic or beneficial owner of CLO Holdco, Ltd.?
∑4∑∑they thought was right.                                       ∑4∑∑∑∑∑A.∑No.
∑5∑∑∑∑∑Q.∑Okay.∑And you were aware that                           ∑5∑∑∑∑∑Q.∑Who is?
∑6∑∑letters with the substance contained in them were             ∑6∑∑∑∑∑A.∑I believe the DAF and HarbourVest.
∑7∑∑going to be sent -- (audio malfunction) --                    ∑7∑∑∑∑∑Q.∑And who controls the DAF?
∑8∑∑∑∑∑∑∑(Clarification requested by the                          ∑8∑∑∑∑∑A.∑Grant Scott.
∑9∑∑stenographer.)                                                ∑9∑∑∑∑∑Q.∑Who is the beneficial owner of the
10∑∑BY MR. MORRIS:                                                10∑∑DAF?
11∑∑∑∑∑Q.∑-- to the debtor?                                       11∑∑∑∑∑A.∑Three char- -- three or four
12∑∑∑∑∑∑∑THE STENOGRAPHER:∑And the answer                         12∑∑charitable organizations.
13∑∑again, please?                                                13∑∑∑∑∑Q.∑And who controls CLO Holdco?
14∑∑∑∑∑∑∑MR. BONDS:∑And I objected as to                          14∑∑∑∑∑A.∑I don't know exactly.
15∑∑form.                                                         15∑∑∑∑∑Q.∑Do you?
16∑∑∑∑∑∑∑THE STENOGRAPHER:∑And the answer                         16∑∑∑∑∑A.∑No.
17∑∑again, please?                                                17∑∑∑∑∑Q.∑And who are the possibilities?
18∑∑∑∑∑A.∑I was aware that letters were being                     18∑∑∑∑∑A.∑CLO Holdco, my understanding is it
19∑∑sent, and I was aware that motions -- or a motion             19∑∑was a -- it was an investment amalgamation
20∑∑was being filed.                                              20∑∑between HarbourVest and the DAF, so with the DAF
21∑∑BY MR. MORRIS:                                                21∑∑having the primary -- or the largest ownership
22∑∑∑∑∑Q.∑This letter was also sent on behalf                     22∑∑interest.
23∑∑of CLO Holdco, Ltd.                                           23∑∑∑∑∑Q.∑And with that largest ownership
24∑∑∑∑∑∑∑Do you see that?                                         24∑∑interest, is the DAF able to control CLO Holdco?
25∑∑∑∑∑A.∑Yes.                                                    25∑∑∑∑∑A.∑I don't know.∑Maybe.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01611
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                  Page 28 of 200 PageID 31181
                                                         Page 98                                                              Page 99
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑Q.∑You've never asked that question?                        ∑2∑∑∑∑∑∑∑This is the -- I think you've
∑3∑∑∑∑∑A.∑Nope.                                                    ∑3∑∑testified -- I'm trying to speed this up a little
∑4∑∑∑∑∑Q.∑Did you ever instruct any of the                         ∑4∑∑bit, believe it or not -- that you supported the
∑5∑∑advisors or funds to withdraw this letter?                     ∑5∑∑sending of this particular letter, right?∑And if
∑6∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                               ∑6∑∑you need to read more of it, let me know.
∑7∑∑∑∑∑A.∑No.                                                      ∑7∑∑∑∑∑A.∑No, I -- again, the thrust of it, the
∑8∑∑BY MR. MORRIS:                                                 ∑8∑∑theme of it, the -- when you think bad or illegal
∑9∑∑∑∑∑Q.∑To the best of your knowledge, has                       ∑9∑∑or regulatorily inappropriate stuff has happened,
10∑∑anyone on behalf of the advisors, the funds or                 10∑∑what did you do, when you knew it, et cetera.
11∑∑CLO Holdco ever instructed K&L Gates to withdraw               11∑∑And I think the responsibilities of that
12∑∑this letter?                                                   12∑∑transcend a lot of things, you know.
13∑∑∑∑∑A.∑Not that I'm aware of.                                   13∑∑∑∑∑Q.∑But you are aware that these very
14∑∑∑∑∑Q.∑Okay.∑I want to just see if I can                        14∑∑same entities, except for CLO Holdco, had
15∑∑refresh your recollection a bit.                               15∑∑advanced the very same arguments to the
16∑∑∑∑∑∑∑When you talked about the DAF and                         16∑∑bankruptcy court just six days earlier and their
17∑∑HarbourVest, is it possible that you're confusing              17∑∑motion is denied, right?
18∑∑that with HCLOF?                                               18∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
19∑∑∑∑∑A.∑You know, you're right.∑It could be.                     19∑∑∑∑∑A.∑Yes.∑And with all due respect to the
20∑∑Maybe it is CLO Holdco -- you know what, let me                20∑∑Court, it doesn't mean that it was wrong or
21∑∑just -- let me not speculate.∑But the CLO Holdco               21∑∑inappropriate to advance the argument.
22∑∑might just be the DAF, and the combined entity                 22∑∑BY MR. MORRIS:
23∑∑might be the level above that.∑I -- I don't know               23∑∑∑∑∑Q.∑Okay.∑But having advanced the
24∑∑exactly.∑Let me leave it at that.                              24∑∑argument on December 16th and having had it
25∑∑∑∑∑Q.∑Okay.∑That's fair.                                       25∑∑rejected, you support these entities pressing the
                                                        Page 100                                                             Page 101
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑same arguments again against the debtor, right?                ∑2∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
∑3∑∑∑∑∑A.∑We try and do what's right.                              ∑3∑∑∑∑∑A.∑I believe they -- I don't know if
∑4∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can we put up                           ∑4∑∑you're asking me a reservation of rights or
∑5∑∑Exhibit 13, please.                                            ∑5∑∑whatever, but I think they should do everything
∑6∑∑∑∑∑∑∑(Dondero Deposition Exhibit 13                            ∑6∑∑as rigorously as possible to try and protect the
∑7∑∑marked.)                                                       ∑7∑∑investors.
∑8∑∑∑∑∑∑∑MR. MORRIS:∑And if we can go to                           ∑8∑∑BY MR. MORRIS:
∑9∑∑Exhibit A on the back.∑Thanks.                                 ∑9∑∑∑∑∑Q.∑Are you aware of any prohibition of
10∑∑BY MR. MORRIS:                                                 10∑∑doing what you're -- withdrawn.
11∑∑∑∑∑Q.∑This is another letter sent the next                     11∑∑∑∑∑∑∑Are you aware that the debtor made an
12∑∑day, right, on December 23rd, from K&L Gates?                  12∑∑offer to assign the CLO management agreements to
13∑∑And we can scroll down further, again.                         13∑∑NexPoint back in the beginning of December?
14∑∑∑∑∑∑∑Do you recall that there was yet                          14∑∑∑∑∑A.∑I -- I do remember that, and I did
15∑∑another letter sent on the 23rd?                               15∑∑get a summary of that, and it was untenable in
16∑∑∑∑∑A.∑Yeah, I don't recall specifically,                       16∑∑terms of what it was wrapped in.
17∑∑but...                                                         17∑∑∑∑∑Q.∑What was untenable about it?
18∑∑∑∑∑Q.∑Can we scroll down a little bit                          18∑∑∑∑∑A.∑Off the top of my head, it would give
19∑∑further in this document.                                      19∑∑Seery releases for bad acts or inappropriate
20∑∑∑∑∑∑∑Do you recall that there came a time                      20∑∑trades.∑It required a reimbursement for, I
21∑∑when K&L Gates, on behalf of the advisors and the              21∑∑think, a million dollars of Pachulski fees
22∑∑funds, told the debtor and its counsel that it                 22∑∑relative to this subject, and I think it also
23∑∑was considering initiating the process for                     23∑∑wanted an up-front payment for the present value
24∑∑removing the debtor as portfolio manager of the                24∑∑of the future management fees to be paid to the
25∑∑CLOs?                                                          25∑∑estate.

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                    Appx. 01612
                                                                                                                                        YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 29 of 200 PageID 31182
                                                        Page 102                                                            Page 103
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑Q.∑And who made the decision to reject                      ∑2∑∑representing them has sought fit to make an
∑3∑∑the debtor's offer?                                            ∑3∑∑appropriate counteroffer?
∑4∑∑∑∑∑A.∑Made a decision to reject the --                         ∑4∑∑∑∑∑A.∑We can get an appropriate
∑5∑∑reject the -- it wasn't a rejection of the offer               ∑5∑∑counteroffer out tomorrow.
∑6∑∑as much as a disagreement that that is the way                 ∑6∑∑∑∑∑Q.∑Okay.∑Is there anything that's
∑7∑∑CLO contracts transfer, that the manager doesn't               ∑7∑∑prevented that over the last month instead of
∑8∑∑have the right to extort from the next manager                 ∑8∑∑writing letters and engaging in this litigation?
∑9∑∑when the investors want to transfer.                           ∑9∑∑∑∑∑A.∑The fundamental prerequisites were so
10∑∑∑∑∑∑∑So there's a facilitation that                            10∑∑inappropriate that it dissuaded us from putting a
11∑∑Highland could provide, but Highland is not in a               11∑∑normal, commercial, reasonable thing forward.
12∑∑position, based on our understanding of the                    12∑∑But we'll put something commercial, reasonable
13∑∑market, to demand consideration.                               13∑∑and appropriate through tomorrow, and we'll see
14∑∑∑∑∑Q.∑Okay.∑Who made the decision to                           14∑∑how far it goes.
15∑∑reject the offer?                                              15∑∑∑∑∑Q.∑Did you support the sending of this
16∑∑∑∑∑A.∑I was involved in that.∑It wasn't a                      16∑∑particular letter at the time it was sent?
17∑∑formal rejection, but it was a view that it was                17∑∑∑∑∑A.∑I -- generally, yes.
18∑∑an inappropriate offer.                                        18∑∑∑∑∑Q.∑Okay.∑Have you authorized any of the
19∑∑∑∑∑Q.∑Did anybody decide or suggest that                       19∑∑entities on this letter to initiate the process
20∑∑maybe we should make an appropriate offer?                     20∑∑to remove the debtor as the fund manager of any
21∑∑∑∑∑A.∑Not yet.                                                 21∑∑CLO?
22∑∑∑∑∑Q.∑Was there any reason why, for the                        22∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.
23∑∑past month, when the debtor has provided an                    23∑∑∑∑∑A.∑That's not my position, and it's not
24∑∑opportunity to transfer these CLO management                   24∑∑without legal considerations regarding what's
25∑∑contracts, that none of the advisors or anybody                25∑∑subject to a stay and what's appropriate at this
                                                        Page 104                                                            Page 105
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑juncture.                                                      ∑2∑∑take steps to initiate the process to remove the
∑3∑∑∑∑∑∑∑But -- but I believe, subject to                          ∑3∑∑debtor?
∑4∑∑whatever is legally appropriate, they should and               ∑4∑∑∑∑∑∑∑MR. BONDS:∑I'm sorry, can you repeat
∑5∑∑they will be moving to replace the manager as                  ∑5∑∑the question?
∑6∑∑quickly as possible and holding the manager                    ∑6∑∑BY MR. MORRIS:
∑7∑∑responsible for bad acts prior to transfer.                    ∑7∑∑∑∑∑Q.∑Don't you have the power to do that?
∑8∑∑BY MR. MORRIS:                                                 ∑8∑∑∑∑∑∑∑MR. BONDS:∑I'm sorry.∑I couldn't
∑9∑∑∑∑∑Q.∑Have you authorized any of the                           ∑9∑∑hear your question.
10∑∑parties that are signatory to this letter to                   10∑∑∑∑∑∑∑MR. MORRIS:∑Withdrawn.
11∑∑initiate the process to remove the debtor as the               11∑∑BY MR. MORRIS:
12∑∑fund manager for the CLOs?                                     12∑∑∑∑∑Q.∑Did you ever discuss with any -- with
13∑∑∑∑∑A.∑I am not that involved.∑I haven't                        13∑∑anybody about whether to initiate the process to
14∑∑authorized it per se.∑Again, I'm encouraging the               14∑∑remove the debtor as the portfolio manager of the
15∑∑executives in charge to do the right thing, given              15∑∑CLOs?
16∑∑the circumstances and what's best for investors,               16∑∑∑∑∑A.∑I think it's a logical remedy, and I
17∑∑especially their retail investors and their                    17∑∑believe the executives, and particularly like the
18∑∑obligations under the '40 Act.                                 18∑∑executives -- the chief compliance officer always
19∑∑∑∑∑Q.∑You're the president of the two                          19∑∑has personal liability, and I think Jason Post
20∑∑advisors, right?                                               20∑∑knows that, and I think he's pushing as hard as
21∑∑∑∑∑A.∑Yes.                                                     21∑∑he can for the benefit of investors in a
22∑∑∑∑∑Q.∑And you're the portfolio manager of                      22∑∑situation where people are moving against the
23∑∑the funds, right?                                              23∑∑best interests of investors.
24∑∑∑∑∑A.∑Yes.                                                     24∑∑∑∑∑∑∑And I encourage him to move as
25∑∑∑∑∑Q.∑Couldn't you give the direction to                       25∑∑aggressively as possible subject to whatever the

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                   Appx. 01613
                                                                                                                                       YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                  Page 30 of 200 PageID 31183
                                                        Page 106                                                             Page 107
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑limits of bankruptcy court is, but I can't be --               ∑2∑∑the funds and the advisors to cease and desist
∑3∑∑I've got too many other things to do to be                     ∑3∑∑from taking any steps to replace the debtor as
∑4∑∑directly involved in the details, so I'm not                   ∑4∑∑the portfolio manager of the CLOs?
∑5∑∑involved in the details.                                       ∑5∑∑∑∑∑A.∑That would be inappropriate.∑I'm not
∑6∑∑∑∑∑Q.∑I see.                                                   ∑6∑∑sure it would be illegal, but I think it would be
∑7∑∑∑∑∑∑∑Did you ever instruct the parties                         ∑7∑∑a regulatory breach, and I think it would not be
∑8∑∑that are signatory -- withdrawn.                               ∑8∑∑in the best interest of investors if we were to
∑9∑∑∑∑∑∑∑Did you ever instruct K&L Gates to                        ∑9∑∑agree to anything like that.∑I think that's nuts
10∑∑withdraw this letter?                                          10∑∑and it's nutty to ask that.
11∑∑∑∑∑A.∑No.                                                      11∑∑∑∑∑Q.∑People say that about me all the
12∑∑∑∑∑Q.∑To the best of your knowledge, has                       12∑∑time.
13∑∑anybody on behalf of the advisors, the funds or                13∑∑∑∑∑∑∑Did you ever exchange any e-mails or
14∑∑CLO Holdco ever instructed K&L Gates to withdraw               14∑∑texts with any employee of the parties on this
15∑∑this letter?                                                   15∑∑document, on the issue of whether or how to
16∑∑∑∑∑A.∑No.                                                      16∑∑remove the debtor as the CLO's fund manager?
17∑∑∑∑∑Q.∑Will you commit that each of the                         17∑∑∑∑∑A.∑Not that I recall.
18∑∑entities on whose behalf this letter was sent                  18∑∑∑∑∑Q.∑Did you ever discuss with any
19∑∑will cease and desist from taking any steps to                 19∑∑employee of the debtor the topic of removing the
20∑∑initiate the process to remove the debtor as the               20∑∑debtor as the portfolio manager of the CLOs?
21∑∑CLO manager?                                                   21∑∑∑∑∑A.∑Not that I recall.
22∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                               22∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑It's 1:35.∑Can
23∑∑∑∑∑A.∑Say that again.                                          23∑∑we just take a ten-minute break and resume -- is
24∑∑BY MR. MORRIS:                                                 24∑∑it 12:35 where you are, Mr. Dondero?∑We'll
25∑∑∑∑∑Q.∑Will you commit on behalf of each of                     25∑∑resume at 1:45 Eastern, 12:45 Central.
                                                        Page 108                                                             Page 109
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑∑∑THE WITNESS:∑I'm sorry, I can't hear                      ∑2∑∑∑∑∑∑∑(Recess taken, 12:36 p.m. to
∑3∑∑you.∑We return at what time?                                   ∑3∑∑12:49 p.m. CST)
∑4∑∑∑∑∑∑∑MR. MORRIS:∑In ten minutes, at                            ∑4∑∑∑∑∑∑∑THE VIDEOGRAPHER:∑12:49 p.m.,
∑5∑∑12:45.                                                         ∑5∑∑Central Standard Time.∑We're back on the record.
∑6∑∑∑∑∑∑∑MR. BONDS:∑And I want to say too,                         ∑6∑∑BY MR. MORRIS:
∑7∑∑John, that your notice showed that there was a                 ∑7∑∑∑∑∑Q.∑All right.∑Can you hear me,
∑8∑∑1:30 deposition Central Time of somebody else,                 ∑8∑∑Mr. Dondero?
∑9∑∑and we intend -- I mean, we planned on that, so                ∑9∑∑∑∑∑A.∑Yes.
10∑∑we're going to need to be through at 1:30.                     10∑∑∑∑∑Q.∑Is it fair -- do you think it's fair
11∑∑∑∑∑∑∑MR. MORRIS:∑Yeah, you can do that if                      11∑∑to say that your personal interests are adverse
12∑∑you want.∑You can do that if you want, but the                 12∑∑to the debtor's?
13∑∑record will also reflect that we started at least              13∑∑∑∑∑A.∑No.
14∑∑20 minutes late and we took at least a 35-minute               14∑∑∑∑∑Q.∑They asked for your resignation back
15∑∑break for Mr. Dondero.∑So you leave whenever you               15∑∑in October, right?
16∑∑want, but be guided by that.                                   16∑∑∑∑∑A.∑Yes.
17∑∑∑∑∑∑∑Let's take a break.                                       17∑∑∑∑∑Q.∑And you opposed the debtor's plan on
18∑∑∑∑∑∑∑MR. BONDS:∑Well, I'm telling you                          18∑∑file, right?
19∑∑that if you want to go forward, you can.                       19∑∑∑∑∑A.∑Yes.
20∑∑∑∑∑∑∑MR. MORRIS:∑I will.∑Thank you. I                          20∑∑∑∑∑Q.∑And you objected to the debtor's
21∑∑appreciate that.                                               21∑∑settlement with ACIS; is that right?
22∑∑∑∑∑∑∑THE WITNESS:∑All right.∑See you                           22∑∑∑∑∑A.∑Yes.
23∑∑guys in 10 minutes.                                            23∑∑∑∑∑Q.∑And you're going to object to the
24∑∑∑∑∑∑∑THE VIDEOGRAPHER:∑12:36 p.m.,                             24∑∑debtor's settlement with HarbourVest; is that
25∑∑Central Standard Time.∑We're off the record.                   25∑∑right?

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                    Appx. 01614
                                                                                                                                        YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                 Page 31 of 200 PageID 31184
                                                        Page 110                                                              Page 111
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                               ∑2∑∑∑∑∑Q.∑Okay.∑Since the TRO was entered,
∑3∑∑∑∑∑A.∑I don't know for sure.∑I believe so.                     ∑3∑∑have you ever discussed your litigation strategy
∑4∑∑I don't know.                                                  ∑4∑∑with Mr. Ellington?
∑5∑∑BY MR. MORRIS:                                                 ∑5∑∑∑∑∑A.∑Not -- no.∑Not that I'm aware of.
∑6∑∑∑∑∑Q.∑And the debtor commenced an adversary                    ∑6∑∑That's not the subject of our conversations.
∑7∑∑proceeding against you; is that right?                         ∑7∑∑He's more of a go-between, and he's more of an
∑8∑∑∑∑∑∑∑MR. BONDS:∑Objection, form.                               ∑8∑∑overall strategist.
∑9∑∑∑∑∑A.∑I'm not aware of that in particular.                     ∑9∑∑∑∑∑Q.∑And he's a strategist for your -- you
10∑∑BY MR. MORRIS:                                                 10∑∑know, for the defense and prosecution of your
11∑∑∑∑∑Q.∑The debtor sought and obtained a TRO                     11∑∑personal interests, right?
12∑∑against you; isn't that right?                                 12∑∑∑∑∑A.∑No.
13∑∑∑∑∑A.∑Oh.∑Okay, yes.                                           13∑∑∑∑∑Q.∑No?
14∑∑∑∑∑Q.∑And they also started a lawsuit?                         14∑∑∑∑∑∑∑Do you remember that there were
15∑∑They filed a complaint against you -- is that                  15∑∑actually two motions on the calendar on
16∑∑right -- for preliminary and permanent injunctive              16∑∑December 16th?∑There was the motion that you
17∑∑relief?                                                        17∑∑brought that was called, I guess, the active
18∑∑∑∑∑A.∑I'm aware of it, yes.                                    18∑∑ordinary course transactions motion, and then
19∑∑∑∑∑Q.∑And the debtor has removed you from                      19∑∑there was the motion brought by the K&L Gates
20∑∑its offices, right?                                            20∑∑firm on behalf of -- (audio malfunction) --
21∑∑∑∑∑A.∑Yes.                                                     21∑∑∑∑∑∑∑(Clarification requested by the
22∑∑∑∑∑Q.∑And based on all of that, would you                      22∑∑stenographer.)
23∑∑agree that your personal interests are adverse to              23∑∑BY MR. MORRIS:
24∑∑the debtor?                                                    24∑∑∑∑∑Q.∑-- the advisors and the funds, where
25∑∑∑∑∑A.∑No.                                                      25∑∑they sought the pause of the sale of CLO assets.
                                                        Page 112                                                              Page 113
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑∑∑Do you remember that those two                            ∑2∑∑so much.
∑3∑∑motions were on the calendar a couple of weeks                 ∑3∑∑∑∑∑∑∑And then Mr. Lynn wrote:∑That said,
∑4∑∑ago?                                                           ∑4∑∑we must have a witness now.
∑5∑∑∑∑∑A.∑I remember that K&L Gates one.∑The                       ∑5∑∑∑∑∑∑∑Do you see that?
∑6∑∑first one, I don't remember.                                   ∑6∑∑∑∑∑A.∑Yes.
∑7∑∑∑∑∑Q.∑Do you remember discussing with                          ∑7∑∑∑∑∑Q.∑Now, go up to the top, and
∑8∑∑Mr. Ellington the need for a witness for one of                ∑8∑∑Mr. Ellington writes to you and to others:∑It
∑9∑∑those motions?                                                 ∑9∑∑will be J.P. Sevilla.∑I will tell him that he
10∑∑∑∑∑A.∑No.∑I don't remember the motion.                         10∑∑needs to contact you first thing in the morning.
11∑∑∑∑∑Q.∑Do you remember that Mr. Ellington                       11∑∑∑∑∑∑∑Have I read that correctly?
12∑∑suggested that J.P. Sevilla serve as a witness                 12∑∑∑∑∑A.∑Yes.
13∑∑for one of those motions?                                      13∑∑∑∑∑Q.∑Now, this is after the TRO is
14∑∑∑∑∑A.∑I don't remember that.                                   14∑∑entered, right?
15∑∑∑∑∑∑∑MR. MORRIS:∑Put up Exhibit 15,                            15∑∑∑∑∑A.∑Like I said, I'm not -- I see my name
16∑∑please.                                                        16∑∑on the cc list.∑I don't have an awareness of
17∑∑∑∑∑∑∑(Dondero Deposition Exhibit 15                            17∑∑what this is about, so...
18∑∑marked.)                                                       18∑∑∑∑∑Q.∑Okay.∑Do you know what trial
19∑∑BY MR. MORRIS:                                                 19∑∑Mr. Sevilla was going to testify at?
20∑∑∑∑∑Q.∑If we can go down here, do you see                       20∑∑∑∑∑A.∑No.
21∑∑that on Saturday, December 12th, Mr. Lynn wrote                21∑∑∑∑∑Q.∑You didn't produce --
22∑∑to you and said:∑It looks like a trial?                        22∑∑∑∑∑A.∑You can refresh my memory, but I
23∑∑∑∑∑A.∑Yes.                                                     23∑∑don't have a recollection from this.
24∑∑∑∑∑Q.∑Can you scroll up above that, please.                    24∑∑∑∑∑Q.∑To be fair, Mr. Dondero, I don't
25∑∑Keep going.∑And then Mr. Lynn -- I'm sorry, not                25∑∑know.∑This is discovery, and I'm just asking a

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                     Appx. 01615
                                                                                                                                         YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 32 of 200 PageID 31185
                                                        Page 114                                                           Page 115
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑question, if you know.                                         ∑2∑∑Exhibit 16, please.
∑3∑∑∑∑∑A.∑Okay.                                                    ∑3∑∑∑∑∑∑∑(Dondero Deposition Exhibit 16
∑4∑∑∑∑∑Q.∑Do you recall if you produced this                       ∑4∑∑marked.)
∑5∑∑e-mail in discovery?                                           ∑5∑∑∑∑∑∑∑MR. MORRIS:∑Scroll down to the
∑6∑∑∑∑∑A.∑I have no idea.                                          ∑6∑∑bottom.∑Not that far.∑Right there.
∑7∑∑∑∑∑Q.∑Do you recall looking to                                 ∑7∑∑BY MR. MORRIS:
∑8∑∑Mr. Ellington for leadership in helping to                     ∑8∑∑∑∑∑Q.∑So this is an e-mail from Mr. Draper
∑9∑∑coordinate all the lawyers acting on your behalf               ∑9∑∑to you on December 16th.
10∑∑and on behalf of the entities owned and                        10∑∑∑∑∑∑∑Do you see that?
11∑∑controlled by you?                                             11∑∑∑∑∑A.∑Yes.
12∑∑∑∑∑A.∑I know I needed some coordination,                       12∑∑∑∑∑∑∑MR. BONDS:∑I'm going to object.
13∑∑but I think I went in a different direction, and               13∑∑Mr. Draper is a lawyer.
14∑∑that's why I brought on Douglas Draper, and he's               14∑∑∑∑∑∑∑MR. MORRIS:∑He is.∑I understand
15∑∑been functioning in that role of joint defense                 15∑∑that.
16∑∑and coordination.                                              16∑∑∑∑∑∑∑MR. BONDS:∑Anything that was
17∑∑∑∑∑Q.∑But you did tell Mr. Ellington, after                    17∑∑produced that relates to Douglas Draper and Mike
18∑∑the TRO was entered, that you needed him to                    18∑∑Lynn and Jim Dondero is attorney-client
19∑∑provide leadership with respect to the                         19∑∑privileged.
20∑∑coordination of your litigation interests, right?              20∑∑∑∑∑∑∑MR. MORRIS:∑You're entitled to make
21∑∑∑∑∑A.∑I -- I don't -- I don't remember.                        21∑∑that assertion, but if we just look at the top so
22∑∑Like I said, I ended up going in a different                   22∑∑we can clear this up.∑All the way to the top.
23∑∑direction, but I -- I don't -- I don't know as                 23∑∑Mr. Dondero forwards this to Mr. Ellington.
24∑∑far as your question is concerned.                             24∑∑Mr. Ellington is not Mr. Dondero's personal
25∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can we put up                           25∑∑lawyer.∑He is the lawyer for the debtor, and
                                                        Page 116                                                           Page 117
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑your firm doesn't represent any business                       ∑2∑∑∑∑∑A.∑What I do know is Douglas Draper has
∑3∑∑interest, so there's no claim that this is                     ∑3∑∑put together a mutual defense agreement, and I
∑4∑∑somehow provided pursuant to a shared services                 ∑4∑∑think the 16th is right about when he came on
∑5∑∑agreement.∑Unless you can tell me that there's a               ∑5∑∑board.∑He had to reach out and get people's
∑6∑∑common -- (audio malfunction) --                               ∑6∑∑e-mails and contact information and be able to
∑7∑∑∑∑∑∑∑(Clarification requested by the                           ∑7∑∑coordinate it.
∑8∑∑stenographer.)                                                 ∑8∑∑∑∑∑∑∑But he's now fully engaged and fully
∑9∑∑∑∑∑∑∑MR. MORRIS:∑-- a common interest                          ∑9∑∑functional in that role.∑Ellington is not
10∑∑between Mr. Ellington and Mr. Dondero,                         10∑∑involved in that role at all.∑Can you -- but I
11∑∑Mr. Dondero has waived the privilege.∑State your               11∑∑don't know exact time frames or exactly who said
12∑∑position, and I'm happy to state mine, but I need              12∑∑what to who when, but go ahead, ask me whatever
13∑∑to ask questions.                                              13∑∑you want.
14∑∑∑∑∑∑∑Can we go back down to the bottom,                        14∑∑∑∑∑Q.∑You mentioned a mutual defense
15∑∑please.∑All right.                                             15∑∑agreement.∑Do I have that right?
16∑∑BY MR. MORRIS:                                                 16∑∑∑∑∑∑∑MR. BONDS:∑Objection --
17∑∑∑∑∑Q.∑So on December 16th, Mr. Draper is                       17∑∑∑∑∑A.∑I don't know what -- I don't know
18∑∑looking to get a joint meeting together, right?                18∑∑what the legal term is.
19∑∑∑∑∑∑∑Do you remember that?                                     19∑∑BY MR. MORRIS:
20∑∑∑∑∑A.∑I'm sorry, what's the question?                          20∑∑∑∑∑Q.∑Okay.∑But there's a joint --
21∑∑∑∑∑Q.∑Do you recall that on or around                          21∑∑∑∑∑∑∑MR. BONDS:∑Don't talk about that,
22∑∑December 16th, Mr. Draper was looking to get a                 22∑∑Jim.
23∑∑joint meeting among all the lawyers representing               23∑∑∑∑∑∑∑MR. MORRIS:∑Okay.
24∑∑you and your business interests as well as the                 24∑∑BY MR. MORRIS:
25∑∑employees for Highland?                                        25∑∑∑∑∑Q.∑Let me ask you this:∑Did Scott

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01616
                                                                                                                                      YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                  Page 33 of 200 PageID 31186
                                                         Page 118                                                              Page 119
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                             ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑Ellington participate in the drafting of the                    ∑2∑∑to Mr. Ellington on December 16th?
∑3∑∑joint interest or mutual defense agreement?                     ∑3∑∑∑∑∑A.∑I don't remember.
∑4∑∑∑∑∑A.∑No.                                                       ∑4∑∑∑∑∑Q.∑What leadership were you looking for?
∑5∑∑∑∑∑Q.∑Did Isaac Leventon participate in the                     ∑5∑∑∑∑∑A.∑I can't piece it together from here.
∑6∑∑drafting of a joint defense or mutual defense                   ∑6∑∑I don't remember.∑I can't piece it together from
∑7∑∑agreement?                                                      ∑7∑∑the e-mail, and I don't remember.
∑8∑∑∑∑∑A.∑No.                                                       ∑8∑∑∑∑∑Q.∑Why did you need Mr. Ellington to
∑9∑∑∑∑∑Q.∑Did you ever discuss with either of                       ∑9∑∑provide leadership?
10∑∑them the topic of a joint defense or a mutual                   10∑∑∑∑∑A.∑I don't know.
11∑∑defense agreement?                                              11∑∑∑∑∑Q.∑Does --
12∑∑∑∑∑A.∑That was entirely with Draper.                            12∑∑∑∑∑A.∑I don't remember.
13∑∑∑∑∑Q.∑Okay.∑Let's scroll up the page a                          13∑∑∑∑∑Q.∑Okay.∑Does looking at the topic, a
14∑∑little bit.∑There's a response from Mr. Lynn.                   14∑∑list for a joint meeting, refresh your
15∑∑∑∑∑∑∑Do you see that?                                           15∑∑recollection that you wanted Mr. Ellington to
16∑∑∑∑∑A.∑Yes.                                                      16∑∑coordinate all of the lawyers working on your
17∑∑∑∑∑Q.∑And then if we scroll up a little                         17∑∑behalf and on behalf of the entities in which you
18∑∑further, you forward it to Mr. Ellington, right?                18∑∑own an interest?
19∑∑If we can go to the --                                          19∑∑∑∑∑A.∑No.∑I mean, because that was the
20∑∑∑∑∑A.∑Yes.                                                      20∑∑beginning of the string, but the middle of the
21∑∑∑∑∑Q.∑And you said:∑I'm going to need you                       21∑∑string starts going in different directions. I
22∑∑to provide leadership here.                                     22∑∑can't say -- I can't say what I wanted him to
23∑∑∑∑∑∑∑Have I read that correctly?                                23∑∑have leadership with.
24∑∑∑∑∑A.∑Yes.                                                      24∑∑∑∑∑Q.∑Can you think of any -- any issue at
25∑∑∑∑∑Q.∑Why did you send this e-mail string                       25∑∑all, looking at this e-mail string, as to what he
                                                         Page 120                                                              Page 121
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                             ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑would be providing leadership for if it's not to                ∑2∑∑not part of the working group, and I'm not sure
∑3∑∑coordinate your defense counsel?                                ∑3∑∑which, if one or both, of the employee groups
∑4∑∑∑∑∑A.∑I don't want to speculate, but                            ∑4∑∑he's in.
∑5∑∑again -- I don't want to speculate, but again,                  ∑5∑∑∑∑∑Q.∑So there's two employee groups; is
∑6∑∑the middle of the string looks like it goes in                  ∑6∑∑that right?
∑7∑∑different directions than just forming the mutual               ∑7∑∑∑∑∑A.∑I'm beyond my involvement and
∑8∑∑defense thing.                                                  ∑8∑∑expertise, but I thought there were two employee
∑9∑∑∑∑∑Q.∑Okay.∑So you have no recollection                         ∑9∑∑groups, but I don't even know that for sure.
10∑∑why you forwarded this e-mail to Mr. Ellington on               10∑∑∑∑∑Q.∑And has your counsel conferred with
11∑∑December 16th and why you told him that you need                11∑∑counsel for either or both of the employee
12∑∑him to provide leadership here; is that your                    12∑∑groups?
13∑∑testimony?                                                      13∑∑∑∑∑∑∑MR. BONDS:∑I'm sorry, can you repeat
14∑∑∑∑∑A.∑Correct.                                                  14∑∑the question?
15∑∑∑∑∑Q.∑Is Mr. Ellington a party to any joint                     15∑∑∑∑∑∑∑MR. MORRIS:∑Yes.
16∑∑defense or mutual defense agreement that you're a               16∑∑BY MR. MORRIS:
17∑∑party to?                                                       17∑∑∑∑∑Q.∑Has your counsel at Bonds Ellis
18∑∑∑∑∑A.∑I believe the employees' counsel is                       18∑∑conferred with counsel for either or both of the
19∑∑part of the working group, although I've been on                19∑∑employee groups?
20∑∑calls when the employees' counsel has been on and               20∑∑∑∑∑A.∑I don't know.
21∑∑when it hasn't.∑But I don't even -- I think the                 21∑∑∑∑∑∑∑MR. MORRIS:∑John, I would call for
22∑∑employee group is divided into a couple different               22∑∑the immediate production of any --
23∑∑groups, and I don't know if Ellington is part of                23∑∑∑∑∑∑∑MR. BONDS:∑I don't think we have it,
24∑∑both groups.                                                    24∑∑but I can check on that.
25∑∑∑∑∑∑∑But I -- Ellington individually is                         25∑∑∑∑∑∑∑MR. MORRIS:∑I would call for the

                                           TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                      Appx. 01617
                                                                                                                                          YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                 Page 34 of 200 PageID 31187
                                                        Page 122                                                             Page 123
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑immediate production of any joint defense or                   ∑2∑∑∑∑∑Q.∑Did Mr. Ellington ever participate in
∑3∑∑mutual defense agreement to which any debtor                   ∑3∑∑any conference calls with your counsel at Bonds
∑4∑∑employee is a party --                                         ∑4∑∑Ellis?
∑5∑∑∑∑∑∑∑MR. BONDS:∑I don't think that there                       ∑5∑∑∑∑∑A.∑Not that -- not that I recall.
∑6∑∑are any.                                                       ∑6∑∑Ellington's time has been spent primarily, the
∑7∑∑∑∑∑∑∑MR. MORRIS:∑And I would call for any                      ∑7∑∑vast majority, representing and working with the
∑8∑∑drafts, okay?                                                  ∑8∑∑employee group.∑I know that.∑It's been
∑9∑∑∑∑∑∑∑MR. BONDS:∑Again, I don't think                           ∑9∑∑difficult to get his attention on anything else
10∑∑there are any.                                                 10∑∑so --
11∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑You can give me                         11∑∑∑∑∑Q.∑Listen carefully to my question.∑I'm
12∑∑that representation.                                           12∑∑not asking you to tell me what Mr. Ellington
13∑∑BY MR. MORRIS:                                                 13∑∑does.∑I'm simply asking whether you know that
14∑∑∑∑∑Q.∑Let's look at the top, at                                14∑∑Mr. Ellington has participated in conference
15∑∑Mr. Ellington's response.∑And what did he tell                 15∑∑calls with your counsel at Bonds Ellis at any
16∑∑you in response to your statement that you need                16∑∑time after December 10th.
17∑∑him to provide leadership?                                     17∑∑∑∑∑A.∑I don't know.
18∑∑∑∑∑A.∑You mean the two words there?                            18∑∑∑∑∑Q.∑Did you ever participate in any calls
19∑∑∑∑∑Q.∑Yep.                                                     19∑∑with Mr. Ellington and any lawyer at Bonds Ellis?
20∑∑∑∑∑A.∑It looks like he typed back:∑On it.                      20∑∑∑∑∑A.∑Over the year, for sure.∑There have
21∑∑∑∑∑Q.∑Yeah.                                                    21∑∑been -- earlier in the year there were several
22∑∑∑∑∑∑∑Did Mr. Ellington subsequently                            22∑∑times, but I can't recall one recently.
23∑∑provide leadership, as you had asked?                          23∑∑∑∑∑Q.∑So you have no recollection of ever
24∑∑∑∑∑A.∑I don't remember.∑Nothing I can                          24∑∑participating in a phone call with Mr. Ellington
25∑∑recall.                                                        25∑∑and any lawyer at Bonds Ellis at any time since
                                                        Page 124                                                             Page 125
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑December 10th; is that your testimony?                         ∑2∑∑for the financial statements for Dugaboy and Get
∑3∑∑∑∑∑A.∑I -- I can't recall.∑I'm willing to                      ∑3∑∑Good?
∑4∑∑be refreshed.∑I can't recall.∑There were --                    ∑4∑∑∑∑∑∑∑MR. BONDS:∑Objection, you're going
∑5∑∑there were -- some of the calls that stick out in              ∑5∑∑far afield from where we're -- this TRO.
∑6∑∑my mind I believe occurred prior to that date, so              ∑6∑∑∑∑∑∑∑MR. MORRIS:∑You can take that
∑7∑∑I can't -- I can't recall any post that date.                  ∑7∑∑position if you want, but I assure you, when I'm
∑8∑∑∑∑∑Q.∑Okay.∑You didn't produce this e-mail                     ∑8∑∑done, you'll understand.
∑9∑∑in response to the Court's order, did you?                     ∑9∑∑∑∑∑∑∑MR. BONDS:∑I'm going to instruct the
10∑∑∑∑∑A.∑I don't know.                                            10∑∑witness not to answer the question.
11∑∑∑∑∑Q.∑And that's because you didn't take                       11∑∑∑∑∑∑∑MR. MORRIS:∑You're not going to let
12∑∑the time to look at the production before it was               12∑∑him answer as to whether or not the UCC wanted
13∑∑delivered to my firm, right?                                   13∑∑the Dugaboy and Get Good financial statements?
14∑∑∑∑∑A.∑I -- I believe the -- yeah, I mean,                      14∑∑∑∑∑∑∑MR. BONDS:∑I can't hear you.
15∑∑it's a process I don't -- I don't get directly                 15∑∑∑∑∑∑∑MR. MORRIS:∑Yeah, I apologize.
16∑∑involved in.∑Counsel has to decide what's                      16∑∑It's -- it's not me, John.∑Let me just ask
17∑∑responsive, what's privileged, what's complete,                17∑∑again.∑Are you -- you're going to instruct your
18∑∑what's appropriate.∑That's not my job.                         18∑∑witness not to answer the question of whether he
19∑∑∑∑∑Q.∑Are you aware that any documents for                     19∑∑knew that the UCC wanted the Dugaboy and Get Good
20∑∑which a privilege was asserted were supposed to                20∑∑financial statements?
21∑∑be delivered to the Court last December 31st?                  21∑∑∑∑∑∑∑MR. BONDS:∑I'll let you go one --
22∑∑∑∑∑A.∑I'm not saying that's what -- I have                     22∑∑you can ask that one question.∑But anything
23∑∑no idea whether we produced this or didn't                     23∑∑further into Dugaboy is not something that is for
24∑∑produce it.∑And if we didn't, I don't know why.                24∑∑the Court to determine at this point in this
25∑∑∑∑∑Q.∑Do you know that the UCC has asked                       25∑∑case.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                    Appx. 01618
                                                                                                                                        YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                 Page 35 of 200 PageID 31188
                                                        Page 126                                                             Page 127
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑∑∑MR. MORRIS:∑Okay.                                         ∑2∑∑∑∑∑∑∑I will tell you that Jim Seery
∑3∑∑∑∑∑∑∑So you can answer that question, sir.                     ∑3∑∑instructed them to provide those documents
∑4∑∑∑∑∑A.∑I think there have been several times                    ∑4∑∑because they're in the debtor's possession,
∑5∑∑over the last year that Dugaboy financials have                ∑5∑∑custody and control.
∑6∑∑been requested by a variety of entities.∑I don't               ∑6∑∑∑∑∑∑∑I will tell you that there's no
∑7∑∑know when or recently or if the UCC requested it               ∑7∑∑shared services agreement between Dugaboy or Get
∑8∑∑recently.                                                      ∑8∑∑Good and the debtor, and there is no basis for
∑9∑∑BY MR. MORRIS:                                                 ∑9∑∑those -- for Mr. Ellington and Mr. Leventon to
10∑∑∑∑∑Q.∑You know a number of different                           10∑∑have obstructed the debtor's obligation to
11∑∑parties have asked for the Dugaboy and Get Good                11∑∑provide those documents except in Mr. Dondero's
12∑∑financial statements; is that right?                           12∑∑hands.
13∑∑∑∑∑∑∑MR. BONDS:∑I'm going to object to                         13∑∑∑∑∑∑∑MR. BONDS:∑I'm going to instruct the
14∑∑any answer that you may give following up on                   14∑∑witness not to answer the question.
15∑∑Dugaboy.∑Dugaboy is not subject to the TRO and                 15∑∑∑∑∑∑∑MR. MORRIS:∑I think that might be a
16∑∑you're stuck with your adversary proceeding.                   16∑∑good idea.∑On what basis?
17∑∑∑∑∑∑∑MR. MORRIS:∑John, there is a text                         17∑∑∑∑∑∑∑MR. BONDS:∑I don't need to give a
18∑∑message that we're going to get to in a moment,                18∑∑basis.∑I think that you've gone far, far from
19∑∑so I'll end the suspense.∑Mr. Dondero                          19∑∑what we're here on today, which is --
20∑∑specifically says:∑Don't produce the Dugaboy                   20∑∑∑∑∑∑∑MR. MORRIS:∑I believe that it's --
21∑∑financial statements without a subpoena.∑Those                 21∑∑∑∑∑∑∑MR. BONDS:∑-- specifically --
22∑∑documents were in the debtor's possession. I                   22∑∑∑∑∑∑∑MR. MORRIS:∑I'm sorry to interrupt.
23∑∑will tell you that I personally made at least a                23∑∑Go ahead, John.
24∑∑half a dozen requests of Mr. Ellington and                     24∑∑∑∑∑∑∑MR. BONDS:∑Specifically, it's the
25∑∑Mr. Leventon for those documents.                              25∑∑TRO and the injunction.
                                                        Page 128                                                             Page 129
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑∑∑MR. MORRIS:∑Correct.∑And the TRO                          ∑2∑∑∑∑∑A.∑I believe so.
∑3∑∑specifically -- I know Mr. Dondero doesn't know                ∑3∑∑∑∑∑Q.∑Do you know what her title is?
∑4∑∑this because he hasn't read the document, but in               ∑4∑∑∑∑∑A.∑No.
∑5∑∑addition to the things that he mentioned, it also              ∑5∑∑∑∑∑Q.∑Do you directly or indirectly
∑6∑∑prevents him from interfering with the debtor's                ∑6∑∑control -- withdrawn.
∑7∑∑business.                                                      ∑7∑∑∑∑∑∑∑Do you directly or indirectly own
∑8∑∑∑∑∑∑∑The debtor is a litigant here.∑The                        ∑8∑∑Dugaboy?
∑9∑∑debtor has an obligation to provide these                      ∑9∑∑∑∑∑A.∑No.
10∑∑documents.∑And he interfered with that                         10∑∑∑∑∑Q.∑Who owns Dugaboy?
11∑∑obligation.                                                    11∑∑∑∑∑∑∑MR. BONDS:∑I'm going to instruct the
12∑∑∑∑∑∑∑Let me ask my questions and you can                       12∑∑witness not to answer that question.
13∑∑direct him not to answer every single time if you              13∑∑∑∑∑∑∑MR. MORRIS:∑Are you going to follow
14∑∑want, okay?                                                    14∑∑your counselor's advice?
15∑∑∑∑∑∑∑MR. BONDS:∑Okay.                                          15∑∑∑∑∑∑∑THE WITNESS:∑Yes.
16∑∑BY MR. MORRIS:                                                 16∑∑BY MR. MORRIS:
17∑∑∑∑∑Q.∑Do you know a woman named Melissa,                       17∑∑∑∑∑Q.∑Who controls Dugaboy?
18∑∑Mr. Dondero?                                                   18∑∑∑∑∑∑∑MR. BONDS:∑I'm going to instruct the
19∑∑∑∑∑A.∑Yes.                                                     19∑∑witness not to answer that question, for the
20∑∑∑∑∑Q.∑And who is that?                                         20∑∑second time.
21∑∑∑∑∑A.∑She's my personal accountant.                            21∑∑∑∑∑∑∑MR. MORRIS:∑Are you going to
22∑∑∑∑∑Q.∑Does she work at the Highland                            22∑∑follow -- yeah, we'll do this every time, John,
23∑∑offices?                                                       23∑∑just for the record.
24∑∑∑∑∑A.∑Yes.                                                     24∑∑∑∑∑∑∑MR. BONDS:∑That's fine.
25∑∑∑∑∑Q.∑Is she employed by the debtor?                           25∑∑∑∑∑∑∑MR. MORRIS:∑So I apologize. I

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                    Appx. 01619
                                                                                                                                        YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 36 of 200 PageID 31189
                                                        Page 130                                                           Page 131
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑appreciate, you know, you do your job, I'll do                 ∑2∑∑∑∑∑A.∑I -- I don't know.
∑3∑∑mine.                                                          ∑3∑∑BY MR. MORRIS:
∑4∑∑∑∑∑∑∑Mr. Dondero, are you going to follow                      ∑4∑∑∑∑∑Q.∑Okay.∑Are you familiar with an
∑5∑∑your counsel's advice?                                         ∑5∑∑entity called Get Good?
∑6∑∑∑∑∑∑∑THE WITNESS:∑Yes.                                         ∑6∑∑∑∑∑A.∑Yes.
∑7∑∑BY MR. MORRIS:                                                 ∑7∑∑∑∑∑Q.∑Do you directly or indirectly own Get
∑8∑∑∑∑∑Q.∑To the best of your knowledge,                           ∑8∑∑Good?
∑9∑∑Dugaboy does not have a shared services agreement              ∑9∑∑∑∑∑A.∑No.
10∑∑with the debtor, correct?                                      10∑∑∑∑∑Q.∑Do you control, directly or
11∑∑∑∑∑∑∑You can answer, sir.                                      11∑∑indirectly, Get Good?
12∑∑∑∑∑∑∑THE WITNESS:∑I'm not answering,                           12∑∑∑∑∑A.∑I don't believe so.
13∑∑right?∑I'm not answering any questions on this                 13∑∑∑∑∑Q.∑Who owns Get Good?
14∑∑subject.                                                       14∑∑∑∑∑∑∑MR. BONDS:∑I'm going to instruct the
15∑∑∑∑∑∑∑MR. MORRIS:∑Only if your lawyer                           15∑∑witness not to answer the question.
16∑∑instructs you to do that, and he hasn't done that              16∑∑∑∑∑∑∑MR. MORRIS:∑Are you going to follow
17∑∑for this question.                                             17∑∑your counselor's advice?
18∑∑∑∑∑∑∑MR. BONDS:∑I'm going to instruct the                      18∑∑∑∑∑∑∑THE WITNESS:∑Yes.
19∑∑witness not to answer the question.                            19∑∑BY MR. MORRIS:
20∑∑∑∑∑∑∑MR. MORRIS:∑You're not going to let                       20∑∑∑∑∑Q.∑Who controls Get Good?
21∑∑him answer whether Dugaboy has a shared services               21∑∑∑∑∑∑∑MR. BONDS:∑Instruct the witness not
22∑∑agreement with the debtor?                                     22∑∑to answer the question.
23∑∑∑∑∑∑∑MR. BONDS:∑I think that you're                            23∑∑∑∑∑∑∑MR. MORRIS:∑Are you going to follow
24∑∑entitled to that, so Jim, you can answer that                  24∑∑your counselor's advice, Mr. Dondero?
25∑∑question.                                                      25∑∑∑∑∑∑∑THE WITNESS:∑I'm going to follow his
                                                        Page 132                                                           Page 133
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑advice, yes.                                                   ∑2∑∑witness not to answer the question.
∑3∑∑BY MR. MORRIS:                                                 ∑3∑∑∑∑∑∑∑MR. MORRIS:∑Are you going to follow
∑4∑∑∑∑∑Q.∑To the best of your knowledge, Get                       ∑4∑∑your counselor's advice?
∑5∑∑Good does not have a shared services agreement                 ∑5∑∑∑∑∑∑∑THE WITNESS:∑Yes.
∑6∑∑with the debtor, does it?                                      ∑6∑∑BY MR. MORRIS:
∑7∑∑∑∑∑∑∑THE WITNESS:∑Can I answer that or                         ∑7∑∑∑∑∑Q.∑Did you ever communicate with anybody
∑8∑∑not answer that one?                                           ∑8∑∑at any time who was employed by the debtor
∑9∑∑∑∑∑∑∑MR. BONDS:∑Yes, you can.                                  ∑9∑∑regarding the production of the Dugaboy and Get
10∑∑∑∑∑A.∑I don't know.                                            10∑∑Good financial statements?
11∑∑BY MR. MORRIS:                                                 11∑∑∑∑∑∑∑MR. BONDS:∑I'm going to instruct the
12∑∑∑∑∑Q.∑Did you ever discuss the request by                      12∑∑witness not to answer the question.
13∑∑any party to produce the financial statements of               13∑∑∑∑∑∑∑MR. MORRIS:∑Are you going to follow
14∑∑Get Good and Dugaboy with Scott Ellington?                     14∑∑your counselor's advice?
15∑∑∑∑∑∑∑MR. BONDS:∑I'm going to tell you --                       15∑∑∑∑∑∑∑THE WITNESS:∑Yes.
16∑∑advise you not to answer the question.                         16∑∑BY MR. MORRIS:
17∑∑∑∑∑∑∑MR. MORRIS:∑Are you going to follow                       17∑∑∑∑∑Q.∑Melissa is Melissa Schroth, right?
18∑∑your counselor's advice?                                       18∑∑∑∑∑A.∑Yes.
19∑∑∑∑∑∑∑THE WITNESS:∑Yes.                                         19∑∑∑∑∑Q.∑She's an executive accountant
20∑∑BY MR. MORRIS:                                                 20∑∑employed by the debtor, right?
21∑∑∑∑∑Q.∑Did you ever communicate with                            21∑∑∑∑∑A.∑Yes.
22∑∑Mr. Leventon on the subject matter of whether or               22∑∑∑∑∑Q.∑And after December 10th, 2020
23∑∑not the financial statements for Get Good and                  23∑∑Ms. Schroth told you that a request had been made
24∑∑Dugaboy needed to be produced by the debtor?                   24∑∑for the production of the Dugaboy financial
25∑∑∑∑∑∑∑MR. BONDS:∑I'm going to advise the                        25∑∑statements, correct?

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01620
                                                                                                                                      YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 37 of 200 PageID 31190
                                                        Page 134                                                           Page 135
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑∑∑MR. BONDS:∑You can answer the                             ∑2∑∑details without a subpoena?
∑3∑∑question.                                                      ∑3∑∑∑∑∑A.∑No, but that would -- I mean, I stand
∑4∑∑∑∑∑A.∑I don't remember.                                        ∑4∑∑behind that response, but I don't remember why.
∑5∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can we put up                           ∑5∑∑∑∑∑Q.∑Do you remember who was asking for
∑6∑∑Exhibit 17, please.                                            ∑6∑∑the documents?
∑7∑∑∑∑∑∑∑(Dondero Deposition Exhibit 17                            ∑7∑∑∑∑∑A.∑Nope.
∑8∑∑marked.)                                                       ∑8∑∑∑∑∑Q.∑Do you remember any discussion with
∑9∑∑∑∑∑∑∑MR. MORRIS:∑Can you scroll down a                         ∑9∑∑any person at any time concerning the production
10∑∑little bit?∑I'm sorry.∑Scroll up so we can see                 10∑∑of the Dugaboy or Get Good financial statements?
11∑∑who this text was sent to.                                     11∑∑∑∑∑A.∑Nope.
12∑∑BY MR. MORRIS:                                                 12∑∑∑∑∑Q.∑Do you have any objection to the
13∑∑∑∑∑Q.∑Is that Melissa Schroth?                                 13∑∑debtor producing the Dugaboy and Get Good
14∑∑∑∑∑A.∑Yes.                                                     14∑∑financial statements?
15∑∑∑∑∑Q.∑And if we scroll back down, do you                       15∑∑∑∑∑A.∑I'm sorry, say that again?
16∑∑see that you tell Ms. Schroth on December 16th:                16∑∑∑∑∑Q.∑Would you consent to the debtor's
17∑∑No Dugaboy details without a subpoena?                         17∑∑production of the Get Good and Dugaboy financial
18∑∑∑∑∑A.∑Yes.                                                     18∑∑statements?
19∑∑∑∑∑Q.∑That's a text that you sent to her on                    19∑∑∑∑∑A.∑With a subpoena.∑I stand by that
20∑∑December 16th, correct?                                        20∑∑statement, yeah.
21∑∑∑∑∑A.∑I believe so.                                            21∑∑∑∑∑Q.∑Okay.∑Do you know of any reason why
22∑∑∑∑∑Q.∑What prompted you to send this text?                     22∑∑Mr. Ellington and Mr. Leventon would have failed
23∑∑∑∑∑A.∑I don't know.                                            23∑∑to respond to Mr. Seery's instruction to produce
24∑∑∑∑∑Q.∑You don't have any recollection as to                    24∑∑the Dugaboy and Get Good financial statements
25∑∑why you would tell Melissa, quote, no Dugaboy                  25∑∑that were requested by the -- (audio
                                                        Page 136                                                           Page 137
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑malfunction) --                                                ∑2∑∑∑∑∑A.∑I -- I don't -- I don't -- it might
∑3∑∑∑∑∑∑∑(Clarification requested by the                           ∑3∑∑have been for part of the shared defense, mutual
∑4∑∑stenographer.)                                                 ∑4∑∑defense, whatever, agreement, but that's --
∑5∑∑BY MR. MORRIS:                                                 ∑5∑∑that's the only reason why I would have asked for
∑6∑∑∑∑∑Q.∑-- UCC?                                                  ∑6∑∑it.
∑7∑∑∑∑∑A.∑I don't want to speculate.                               ∑7∑∑∑∑∑Q.∑Okay.∑What's your understanding as
∑8∑∑∑∑∑Q.∑Have you heard of the law firm                           ∑8∑∑to -- (audio malfunction) --
∑9∑∑Baker & McKenzie?                                              ∑9∑∑∑∑∑∑∑(Clarification requested by the
10∑∑∑∑∑A.∑Yes.                                                     10∑∑stenographer.)
11∑∑∑∑∑Q.∑Does that firm or any lawyer at that                     11∑∑BY MR. MORRIS:
12∑∑firm represent you in your individual capacity?                12∑∑∑∑∑Q.∑-- the parties to that mutual defense
13∑∑∑∑∑A.∑No.                                                      13∑∑agreement that you just referred to, or shared
14∑∑∑∑∑Q.∑Does that firm or any lawyer at that                     14∑∑defense?
15∑∑firm represent any entity in which you have a                  15∑∑∑∑∑A.∑I -- it's what I've testified
16∑∑direct or indirect ownership interest?                         16∑∑already, Douglas Draper is coordinating it.
17∑∑∑∑∑A.∑No.∑Not that I'm aware of, no.                           17∑∑I'm -- I'm not sure whether the employees are on
18∑∑∑∑∑Q.∑I'm sorry, one second.                                   18∑∑it or not, and I'm not sure if there's one
19∑∑∑∑∑∑∑Does that firm or any lawyer at that                      19∑∑employee group or two employee groups, and I'm
20∑∑firm represent any entity that you directly or                 20∑∑not sure if one or both of them are part of that
21∑∑indirectly control?                                            21∑∑agreement or not.
22∑∑∑∑∑A.∑Not that I'm aware of.                                   22∑∑∑∑∑∑∑But the -- in recent history, my only
23∑∑∑∑∑Q.∑Do you recall asking Isaac Leventon                      23∑∑awareness of Baker McKenzie is with regard to
24∑∑for the contact information for the -- for the                 24∑∑representing the employees.∑That's my only
25∑∑lawyers at Baker & McKenzie?                                   25∑∑awareness of that firm.

                                          TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01621
                                                                                                                                      YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                 Page 38 of 200 PageID 31191
                                                        Page 138                                                           Page 139
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑Q.∑Have you ever spoken with an attorney                    ∑2∑∑∑∑∑Q.∑Why did you want the Baker & McKenzie
∑3∑∑at Baker McKenzie?                                             ∑3∑∑contact information?
∑4∑∑∑∑∑A.∑No, I have not.                                          ∑4∑∑∑∑∑A.∑I was trying to help Draper
∑5∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can you put up                          ∑5∑∑coordinate the mutual shared defense agreement.
∑6∑∑Exhibit 18, please.                                            ∑6∑∑∑∑∑Q.∑And it was your intent and desire to
∑7∑∑∑∑∑∑∑(Dondero Deposition Exhibit 18                            ∑7∑∑have the Baker McKenzie firm participate in that
∑8∑∑marked.)                                                       ∑8∑∑agreement, right?
∑9∑∑BY MR. MORRIS:                                                 ∑9∑∑∑∑∑A.∑No.∑I'm not a lawyer.∑The
10∑∑∑∑∑Q.∑That's Mr. Leventon.∑Do I have that                      10∑∑appropriateness of who's in that group under what
11∑∑right?                                                         11∑∑circumstances representing who was a legal
12∑∑∑∑∑A.∑Yes.                                                     12∑∑decision made by Draper.
13∑∑∑∑∑Q.∑And you're communicating with him on                     13∑∑∑∑∑Q.∑So why didn't you just have Draper
14∑∑or around -- after December 10th, right?                       14∑∑deal with this?∑Why did you deal with it?
15∑∑∑∑∑A.∑Yes.                                                     15∑∑∑∑∑A.∑He was scurrying around, moving
16∑∑∑∑∑Q.∑Okay.∑And if you could scroll down a                     16∑∑quickly, trying to get contact information for
17∑∑little bit, right there, on December 22nd, you                 17∑∑potential various different parties.∑I was just
18∑∑asked Mr. Leventon to send you the Baker &                     18∑∑helping him get the contact information.
19∑∑McKenzie contact person, right?                                19∑∑∑∑∑Q.∑And you --
20∑∑∑∑∑A.∑Yes.                                                     20∑∑∑∑∑∑∑MR. BONDS:∑I'm going to instruct you
21∑∑∑∑∑Q.∑And if you scroll down a little bit.                     21∑∑not to say anything relating to this as far as
22∑∑Did he ever send that to you?                                  22∑∑what he and Draper discussed.
23∑∑∑∑∑A.∑I'm sorry?                                               23∑∑BY MR. MORRIS:
24∑∑∑∑∑Q.∑Did he ever send that to you?                            24∑∑∑∑∑Q.∑You were aware at the time that you
25∑∑∑∑∑A.∑I don't know.∑I don't remember.                          25∑∑asked for the Baker & McKenzie contact
                                                        Page 140                                                           Page 141
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑information that Baker & McKenzie was a law firm               ∑2∑∑but don't interrupt his answers.
∑3∑∑that -- that employees were considering retaining              ∑3∑∑BY MR. MORRIS:
∑4∑∑for their personal interests, right?                           ∑4∑∑∑∑∑Q.∑Baker McKenzie was ultimately
∑5∑∑∑∑∑A.∑I knew they were involved with the                       ∑5∑∑retained by some group of the debtor's employees,
∑6∑∑employees.∑Whether -- whether or when they were                ∑6∑∑correct?
∑7∑∑engaged and by which employee group and -- I                   ∑7∑∑∑∑∑A.∑I believe so.
∑8∑∑don't have details like that.∑I never did.                     ∑8∑∑∑∑∑Q.∑Do you know how Baker McKenzie got
∑9∑∑∑∑∑Q.∑But the one thing that you did know,                     ∑9∑∑their retainer, their retainer money?
10∑∑when you asked for the Baker & McKenzie contact                10∑∑∑∑∑A.∑No idea.
11∑∑information, is that Baker & McKenzie would be                 11∑∑∑∑∑Q.∑Do you know -- are you familiar with
12∑∑representing some group of Highland employees,                 12∑∑an entity called Gov Re?
13∑∑correct?                                                       13∑∑∑∑∑A.∑Yes.
14∑∑∑∑∑A.∑Or they might be.∑Or they were being                     14∑∑∑∑∑Q.∑What's Gov Re?
15∑∑interviewed at the time.∑I think they weren't                  15∑∑∑∑∑A.∑It's a Bermuda-based reinsurance
16∑∑formally engaged until later.∑I don't know these               16∑∑company.
17∑∑details and never did.                                         17∑∑∑∑∑Q.∑Do you have an ownership interest in
18∑∑∑∑∑∑∑MR. BONDS:∑I'm going to instruct the                      18∑∑Gov Re?
19∑∑witness --                                                     19∑∑∑∑∑A.∑I don't know.
20∑∑∑∑∑∑∑THE WITNESS:∑I'm sorry, what?                             20∑∑∑∑∑Q.∑Do any -- do any entities in which
21∑∑∑∑∑∑∑MR. BONDS:∑You need to stop.                              21∑∑you have an interest have an ownership interest
22∑∑∑∑∑∑∑THE WITNESS:∑Okay.                                        22∑∑in Gov Re?
23∑∑∑∑∑∑∑MR. MORRIS:∑Why is that?∑Please                           23∑∑∑∑∑A.∑I don't know.
24∑∑don't interrupt the witness.∑Assert the                        24∑∑∑∑∑Q.∑Do you know who controls Gov Re?
25∑∑privilege if you want, direct him not to answer,               25∑∑∑∑∑A.∑I don't know.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01622
                                                                                                                                      YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 39 of 200 PageID 31192
                                                       Page 142                                                           Page 143
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑Q.∑Do you make any decisions on behalf                     ∑2∑∑or 2:45.
∑3∑∑of Gov Re?                                                    ∑3∑∑∑∑∑∑∑THE VIDEOGRAPHER:∑1:32 p.m. Central
∑4∑∑∑∑∑A.∑Not recently.∑Not in the last year.                     ∑4∑∑Standard Time.∑We're off the record.
∑5∑∑In prior years, I think I've helped them with                 ∑5∑∑∑∑∑∑∑(Recess taken, 1:32 p.m. to
∑6∑∑investments and some strategy, but not recently.              ∑6∑∑1:50 p.m. CST)
∑7∑∑∑∑∑Q.∑Do you know whether Gov Re has made                     ∑7∑∑∑∑∑∑∑THE VIDEOGRAPHER:∑1:50 p.m. Central
∑8∑∑any payment to Baker & McKenzie in the last                   ∑8∑∑Standard Time.∑We're back on the record.
∑9∑∑30 days?                                                      ∑9∑∑BY MR. MORRIS:
10∑∑∑∑∑A.∑I have no idea.                                         10∑∑∑∑∑Q.∑I just have a few more minutes here.
11∑∑∑∑∑Q.∑Did you ever have a communication                       11∑∑∑∑∑∑∑Going back to Gov Re, Mr. Dondero,
12∑∑with anybody at any time in the last 30 days as               12∑∑are you on the board of that entity?
13∑∑to -- (audio malfunction) --                                  13∑∑∑∑∑A.∑I don't know.
14∑∑∑∑∑∑∑(Clarification requested by the                          14∑∑∑∑∑Q.∑Can you identify any person who sits
15∑∑stenographer.)                                                15∑∑on that board?
16∑∑BY MR. MORRIS:                                                16∑∑∑∑∑A.∑No.
17∑∑∑∑∑Q.∑-- as to whether Gov Re would pay                       17∑∑∑∑∑Q.∑Do you know how many people sit on
18∑∑money to Baker & McKenzie on behalf of some of                18∑∑that board?
19∑∑the debtor's employees?                                       19∑∑∑∑∑A.∑No.
20∑∑∑∑∑A.∑Nope.∑No, I have no idea.∑I've                          20∑∑∑∑∑Q.∑Do you have an understanding as to
21∑∑never heard the daisy chain you're connecting.                21∑∑who makes decisions as to whether or not Gov Re
22∑∑I've never heard it before.                                   22∑∑should make -- (audio malfunction) --
23∑∑∑∑∑∑∑MR. MORRIS:∑Let's take a break. I                        23∑∑∑∑∑∑∑(Clarification requested by the
24∑∑might be finished.∑The time now is 2:32, or 1:32              24∑∑stenographer.)
25∑∑Central.∑Let's just come back sharply at 1:45,                25∑∑∑∑∑∑∑MR. MORRIS:∑Withdrawn.
                                                       Page 144                                                           Page 145
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                           ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑BY MR. MORRIS:                                                ∑2∑∑∑∑∑Q.∑Since December 10th, 2020, have you
∑3∑∑∑∑∑Q.∑Mr. Dondero, do you know who makes                      ∑3∑∑had any communications with any employee of the
∑4∑∑decisions on behalf of Gov Re as to whether or                ∑4∑∑debtor concerning the pot plan?
∑5∑∑not to make payments on claims?                               ∑5∑∑∑∑∑A.∑It's been a struggle to put together
∑6∑∑∑∑∑A.∑No.                                                     ∑6∑∑a pot plan.∑There's been an intentional block of
∑7∑∑∑∑∑Q.∑Did you ever participate in any                         ∑7∑∑any information, even assets, at Highland, so any
∑8∑∑decisions concerning the payment of claims made               ∑8∑∑pot plan is a stab in the dark for me when I put
∑9∑∑under a Gov Re policy?                                        ∑9∑∑it forward, relative to current assets and likely
10∑∑∑∑∑A.∑Not in five years.∑I think I was                        10∑∑outcome.
11∑∑more involved five years ago, but I don't                     11∑∑∑∑∑∑∑But developing the pot plan has been
12∑∑remember.                                                     12∑∑something I think that's been applauded by the
13∑∑∑∑∑Q.∑So you don't know if you sit on the                     13∑∑judge; at different times it's been encouraged by
14∑∑board of directors, you don't know who makes                  14∑∑creditors, you know.∑But the only people -- Dave
15∑∑decisions to pay claims, and you can't identify               15∑∑Klos has helped with creating the model so that
16∑∑any members of the board; is that right?                      16∑∑the model makes sense and adds up and is
17∑∑∑∑∑A.∑Correct.                                                17∑∑distributable.∑Dave Klos has been the person
18∑∑∑∑∑Q.∑Okay.∑And you don't know if you have                    18∑∑that I've accessed throughout the year regarding
19∑∑an indirect or direct ownership interest in                   19∑∑the pot plan.
20∑∑Gov Re; is that right?                                        20∑∑∑∑∑Q.∑And is it fair to say that you've
21∑∑∑∑∑A.∑Correct.                                                21∑∑communicated with Mr. Klos about the pot plan
22∑∑∑∑∑Q.∑Okay.∑You've spent some time over                       22∑∑since December 10th, 2020?
23∑∑the last months trying to put together a                      23∑∑∑∑∑A.∑Probably.∑You know, to the extent
24∑∑so-called pot plan; is that right?                            24∑∑that the pot plan has come up, been considered or
25∑∑∑∑∑A.∑Yes.                                                    25∑∑distributed, yes.

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01623
                                                                                                                                     YVer1f
      Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                   Page 40 of 200 PageID 31193
                                                        Page 146                                                                     Page 147
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO
∑2∑∑∑∑∑Q.∑Okay.∑Can you identify any other                         ∑2∑∑I never did, no.
∑3∑∑employees of the debtor with whom you've                       ∑3∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑I have no further
∑4∑∑discussed the pot plan with since December 10th,               ∑4∑∑questions, just two points that I'd like to make.
∑5∑∑2020?                                                          ∑5∑∑∑∑∑∑∑John, will you agree on behalf of
∑6∑∑∑∑∑A.∑No.                                                      ∑6∑∑Mr. Dondero to have him appear at Friday's
∑7∑∑∑∑∑Q.∑Did you discuss it with                                  ∑7∑∑hearing when the preliminary injunction takes
∑8∑∑Mr. Waterhouse?                                                ∑8∑∑place or do I need to serve a subpoena?
∑9∑∑∑∑∑A.∑Mr. Waterhouse is Klos' direct                           ∑9∑∑∑∑∑∑∑MR. BONDS:∑No, we haven't made that
10∑∑supervisor.∑He probably had an awareness of it                 10∑∑decision yet.
11∑∑from those conversations.∑I don't recall. I                    11∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Will you accept a
12∑∑mean, I don't -- maybe -- I mean, there have                   12∑∑subpoena on behalf of Mr. Dondero?
13∑∑been, maybe, peripherally, not significant, I                  13∑∑∑∑∑∑∑MR. BONDS:∑Sure.
14∑∑don't think, since the 16th, but I don't recall.               14∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑We'll get that
15∑∑∑∑∑Q.∑Did you ever get any balance sheets                      15∑∑over to you tomorrow.
16∑∑or financial information about MultiStrat from                 16∑∑∑∑∑∑∑And then lastly, the deposition of
17∑∑Scott Ellington?                                               17∑∑Andrew Clubok has been adjourned to a date to be
18∑∑∑∑∑A.∑No.                                                      18∑∑determined.
19∑∑∑∑∑Q.∑Did you ever get any financial                           19∑∑∑∑∑∑∑MR. BONDS:∑Okay.
20∑∑information, including balance sheets, concerning              20∑∑∑∑∑∑∑MR. MORRIS:∑Thank you very much,
21∑∑MultiStrat, from Isaac Leventon?                               21∑∑all.
22∑∑∑∑∑A.∑No.∑They -- I wouldn't believe that                      22∑∑∑∑∑∑∑MR. BONDS:∑Thanks.
23∑∑those guys would have it.∑I wouldn't even think                23∑∑∑∑∑∑∑THE VIDEOGRAPHER:∑1:56 p.m. --
24∑∑to ask them for it.∑It wouldn't be -- I don't                  24∑∑1:57 p.m. Central Standard Time.∑We're off the
25∑∑think it's natural for them to have it.∑But no,                25∑∑record.∑This concludes the deposition.
                                                        Page 148                                                                     Page 149
∑1∑∑∑∑∑∑∑∑∑∑∑J. DONDERO                                            ∑1
∑2∑∑∑∑∑∑∑(Time noted: 1:57 p.m. CST)                               ∑2∑∑∑∑∑∑∑∑∑C E R T I F I C A T E
∑3                                                                 ∑3
∑4                                                                 ∑4∑∑∑∑∑∑∑I, MICHAEL E. MILLER, FAPR, RDR, CRR,
∑5                                                                 ∑5∑∑Notary Public in and for the State of Texas, do
∑6                                                                 ∑6∑∑hereby certify:
∑7                                                                 ∑7∑∑∑∑∑∑∑That JAMES D. DONDERO, the witness
∑8∑∑∑∑∑∑∑∑∑∑∑∑______________________                               ∑8∑∑whose deposition is hereinbefore set forth, was
∑9∑∑∑∑∑∑∑∑∑∑∑∑JAMES D. DONDERO                                     ∑9∑∑duly sworn by me and that such deposition is a
10                                                                 10∑∑true record of the testimony given by such
11∑∑Subscribed and sworn to before me this ________                11∑∑witness;
12∑∑day of ________________, 20____.                               12∑∑∑∑∑∑∑That pursuant to FRCP Rule 30,
13                                                                 13∑∑signature of the witness was not requested by the
14                                                                 14∑∑witness or other party before the conclusion of
15                                                                 15∑∑the deposition;
16                                                                 16∑∑∑∑∑∑∑I further certify that I am not
17                                                                 17∑∑related to any of the parties to this action by
18                                                                 18∑∑blood or marriage; and that I am in no way
19                                                                 19∑∑interested in the outcome of this matter.
20                                                                 20∑∑∑∑∑∑∑IN WITNESS WHEREOF, I have hereunto
21                                                                 21∑∑set my hand on January 5, 2021.
22                                                                 22
23                                                                 23∑∑∑_________________________________
24                                                                 24∑∑∑MICHAEL E. MILLER, FAPR, RDR, CRR
25                                                                 25∑∑∑NOTARY PUBLIC IN AND FOR THE STATE OF TEXAS



                                          TSG Reporting - Worldwide· · 877-702-9580
                                                                                                                           Appx. 01624
       Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                            Page 41 of 200 PageID 31194
                                                                    Page 150                                                                  Page 151
∑1                                                                             ∑1
∑2∑∑∑∑----------------- I N D E X -----------------                            ∑2∑∑∑∑∑∑∑∑∑---- E X H I B I T S ----
∑3                                                                             ∑3∑∑EXHIBIT∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑PAGE
∑4∑∑∑WITNESS:∑JAMES D. DONDERO                                                 ∑4∑∑Exhibit 1∑∑∑10/16/20 NexPoint Letter to∑∑∑∑∑31
∑5∑∑∑EXAMINATION:∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑PAGE                                         ∑5∑∑∑∑∑∑∑∑∑Seery
∑6∑∑BY MR. MORRIS∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑8                                           ∑6∑∑Exhibit 2∑∑∑11/24/20 NexPoint Letter to∑∑∑∑∑35
∑7                                                                             ∑7∑∑∑∑∑∑∑∑∑Seery
∑8                                                                             ∑8∑∑Exhibit 3∑∑∑E-mail(s)∑∑∑∑∑∑∑∑∑∑∑∑∑∑39
∑9∑∑∑∑---- LITIGATION SUPPORT INDEX ----∑∑∑∑PAGE                               ∑9∑∑Exhibit 4∑∑∑Dondero Text Messages∑∑∑∑∑∑∑∑62
10∑∑Instruction Not To Answer∑∑∑∑∑∑∑∑∑∑∑∑125                                   10∑∑Exhibit 5∑∑∑Request for Production of∑∑∑∑∑∑67
11∑∑Instruction Not To Answer∑∑∑∑∑∑∑∑∑∑∑∑125                                   11∑∑∑∑∑∑∑∑∑Documents
12∑∑Instruction Not To Answer∑∑∑∑∑∑∑∑∑∑∑∑129                                   12∑∑Exhibit 6∑∑∑Dondero Text Messages with∑∑∑∑∑80
13∑∑Instruction Not To Answer∑∑∑∑∑∑∑∑∑∑∑∑130                                   13∑∑∑∑∑∑∑∑∑Jason Rothstein
14∑∑Instruction Not To Answer∑∑∑∑∑∑∑∑∑∑∑∑131                                   14∑∑∑∑∑∑∑∑∑Dondero_000022
15∑∑Instruction Not To Answer∑∑∑∑∑∑∑∑∑∑∑∑131                                   15∑∑Exhibit 7∑∑∑Dondero Text Messages with Tara∑∑∑81
16∑∑Instruction Not To Answer∑∑∑∑∑∑∑∑∑∑∑∑133                                   16∑∑∑∑∑∑∑∑∑Loiben
17∑∑Instruction Not To Answer∑∑∑∑∑∑∑∑∑∑∑∑133                                   17∑∑∑∑∑∑∑∑∑Dondero_000013
18∑∑Instruction Not To Answer∑∑∑∑∑∑∑∑∑∑∑∑139                                   18∑∑Exhibit 8∑∑∑Skipped in Series
19∑∑Instruction Not To Answer∑∑∑∑∑∑∑∑∑∑∑∑140                                   19∑∑Exhibit 9∑∑∑Temporary Restraining Order∑∑∑∑∑84
20                                                                             20∑∑Exhibit 10∑∑∑12/23/20 Pachulski Letter to∑∑∑∑85
21                                                                             21∑∑∑∑∑∑∑∑∑Lynn
22                                                                             22∑∑Exhibit 11∑∑∑E-mail(s)∑∑∑∑∑∑∑∑∑∑∑∑∑∑90
23                                                                             23∑∑Exhibit 12∑∑∑12/24/20 Pachulski Letter to∑∑∑∑93
24                                                                             24∑∑∑∑∑∑∑∑∑Wright
25                                                                             25


                                                                    Page 152                                                                  Page 153
∑1                                                                             ∑1
∑2∑∑Exhibit 13∑∑∑12/24/20 Pachulski Letter to∑∑∑∑100                           ∑2∑∑∑ERRATA SHEET FOR THE TRANSCRIPT OF:
∑3∑∑∑∑∑∑∑∑∑Wright                                                              ∑3∑∑∑Case Name:∑∑∑∑IN RE HIGHLAND/HIGHLAND v. DONDERO
∑4∑∑Exhibit 14∑∑∑Skipped in Series                                             ∑4∑∑∑Dep. Date:∑∑∑∑January 5, 2021
∑5∑∑Exhibit 15∑∑∑E-mail(s)∑∑∑∑∑∑∑∑∑∑∑∑∑112                                     ∑5∑∑∑Deponent:∑∑∑∑∑JAMES D. DONDERO
∑6∑∑Exhibit 16∑∑∑E-mail(s)∑∑∑∑∑∑∑∑∑∑∑∑∑115                                     ∑6∑∑Pg.∑Ln.∑∑Now Reads∑∑∑Should Read∑∑∑Reason
∑7∑∑Exhibit 17∑∑∑Dondero Text Messages with∑∑∑∑∑134                            ∑7∑∑___∑___∑∑___________∑∑___________∑∑___________
∑8∑∑∑∑∑∑∑∑∑Melissa Schroth                                                     ∑8∑∑___∑___∑∑___________∑∑___________∑∑___________
∑9∑∑∑∑∑∑∑∑∑Dondero_000014                                                      ∑9∑∑___∑___∑∑___________∑∑___________∑∑___________
10∑∑Exhibit 18∑∑∑Dondero Text Messages with∑∑∑∑∑138                            10∑∑___∑___∑∑___________∑∑___________∑∑___________
11∑∑∑∑∑∑∑∑∑Isaac Leventon                                                      11∑∑___∑___∑∑___________∑∑___________∑∑___________
12∑∑∑∑∑∑∑∑∑Dondero_000043                                                      12∑∑___∑___∑∑___________∑∑___________∑∑___________
13                                                                             13∑∑___∑___∑∑___________∑∑___________∑∑___________
14                                                                             14∑∑___∑___∑∑___________∑∑___________∑∑___________
15                                                                             15∑∑___∑___∑∑___________∑∑___________∑∑___________
16                                                                             16∑∑___∑___∑∑___________∑∑___________∑∑___________
17                                                                             17
18                                                                             18
19                                                                             19∑∑∑∑∑∑∑∑∑∑∑∑∑__________________________
20                                                                             20∑∑∑∑∑∑∑∑∑∑∑∑∑Signature of Deponent
21                                                                             21∑∑∑SUBSCRIBED AND SWORN BEFORE ME
22                                                                             22∑∑∑THIS ______ DAY OF ______________, 20____.
23                                                                             23
24                                                                             24∑∑∑_________________________________
25                                                                             25∑∑∑(Notary Public) MY COMMISSION EXPIRES: _______



                                                      TSG Reporting - Worldwide· · 877-702-9580
                                                                                                                                    Appx. 01625
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                  Page 42 of 200 PageID 31195
                                                                                            Index: 1..appearances
                        1:50 143:6,7           5th 7:10               actions 63:22             Advisors' 19:24
            1
                        1:56 147:23                                   active 111:17             advisory 17:21
                                                           6                                     18:25
1 7:8 30:25 31:2,3      1:57 147:24                                   activities 63:15
 35:5 36:15,24 37:13                                                                            affect 12:8
                                               6 80:7,9               activity 46:5
 44:17                              2                                                           affirmatively 24:5
                                               6:25 85:25 87:3        acts 101:19 104:7
10 60:18 85:4,5 87:20                                                                            25:21,23
 108:23                 2 34:24,25 36:15,25                           acute 61:2
                                                                                                afield 125:5
                         37:14 44:17                       7          acutely 61:8
10:41 47:24 48:2                                                                                afternoon 43:16
                        20 34:22 108:14                               add 84:23
10th 12:17 70:15                               7 81:17,18                                       aggressively 105:25
 80:19,24 81:4 84:9     20-03190-sgj 7:23                             addition 128:5
 85:16,25 86:16,18                                                                              agree 6:24 7:3 17:3
 87:3,17 123:16 124:2
                        2020 9:5 35:10 60:8,               9          address 39:24 40:3,        55:3 107:9 110:23
                         18 69:10,18 70:15                             4 69:11,12,15,19,20,      147:5
 133:22 138:14 145:2,
                         85:16 94:16 133:22                            22,23,24
 22 146:4                                      9 84:3,5                                         agreeing 23:20
                         145:2,22 146:5
11 7:13 90:8,9                                 9:50 6:4               addresses 39:23
                        2021 6:4 7:10                                                           agreement 27:4
11:16 48:3,4                                   9:52 7:10              adds 145:16                116:5 117:3,15
                        22nd 88:2 89:23                                                          118:3,7,11 120:16
11th 81:5                94:16 138:17                                 adhered 26:6               122:3 127:7 130:9,22
                                                           A                                     132:5 137:4,13,21
12 93:22,23             23rd 100:12,15                                adjourned 147:17
                                                                                                 139:5,8
12:35 107:24            24 35:10               a.m. 6:4 7:10 47:24    admissible 6:20
                                                48:2,3,4                                        agreements 17:16
12:36 108:24 109:2      25 80:3                                       admit 24:7                 27:14 28:7,19 29:12
12:45 107:25 108:5      27th 60:24             ability 12:12 24:16,   advance 59:13 99:21        30:6 101:12
                                                18 26:11
12:49 109:3,4           2:32 142:24                                   advanced 99:15,23         ahead 24:3 117:12
                                               absolutely 91:8                                   127:23
12th 112:21             2:45 143:2                                    adversary 7:21 10:7
                                               accept 147:11           110:6 126:16             alert 36:7 59:16
13 100:5,6
                                    3          access 69:8 82:24      adverse 89:17             allegations 36:24
15 46:24 47:22                                                         109:11 110:23
 112:15,17                                     accessed 145:18                                  alleged 15:9,12
                        3 38:24 39:2 70:9      accommodate            advice 92:8 129:14
16 115:2,3                                                                                      aloud 89:3
                        30 6:22 73:25 80:2      47:16                  130:5 131:17,24
16th 31:18 99:24                                                       132:2,18 133:4,14        amalgamation
                         88:16 142:9,12
 111:16 115:9 116:17,                          account 54:3 56:2                                 97:19
                        300 76:11               75:18 78:11,18        advise 132:16,25
 22 117:4 119:2                                                                                 amounts 63:19
 120:11 134:16,20       31st 9:5 124:21        accountant 128:21      advised 36:23
 146:14                                         133:19                                          analysis 37:11,15
                        35-minute 108:14                              Advisers 63:4
17 134:6,7                                     accounts 56:5                                    Andrew 147:17
                                                                      advisor 24:14,20,22
18 138:6,7                                     ACIS 109:21             25:4 26:7 88:18,20       answering 130:12,
                                    4
                                                                                                 13
18th 90:4 91:15 92:14                          acknowledge 26:2,9     advisor's 26:5
                        4 62:12,14                                                              answers 141:2
19-34054-sgj11                                 acknowledged 41:3      advisors 14:14
 7:14                   40 104:18                                      17:18 18:23 19:5,7,8,    anticipation 72:6
                                               acknowledging           18,22 20:6,7,10,15,       74:11 78:21
1:30 108:8,10                                   23:20 25:21,23         21 22:12,21 23:12
                                    5                                                           anymore 74:15
1:32 142:24 143:3,5                            Act 63:5 104:18         24:10 29:22 35:21
                                                                       54:18 56:24 58:23        apologize 19:12
1:35 107:22             5 6:4 64:22 67:14,15   acting 114:9            94:9 98:5,10 100:21       65:11 125:15 129:25
1:45 107:25 142:25      5:26 62:20,24          action 46:5 63:6,23     102:25 104:20
                                                                                                appearances 7:17
                                                                       106:13 107:2 111:24



                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                                Appx. 01626
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 43 of 200 PageID 31196
                                                                                                Index: appears..CEO
appears 41:21 92:17      137:8 142:13 143:22    bankruptcy 7:15          21:7 22:24 24:11
                                                 10:7,19 26:5 59:5       25:7 27:16,25 28:8,                C
applauded 145:12        authority 14:3 28:25
                                                 95:8 99:16 106:2        21 29:14,24 30:8,18
                         34:15
appropriateness                                                          32:9,21 34:9 35:23       C-SUITE 33:25
                                                based 29:20 80:3
 139:10                 authorization 35:25                              36:16 37:2 38:17,22
                                                 88:16 102:12 110:22                              calendar 111:15
                                                                         42:7 43:7 44:18
approval 9:11           authorize 33:3 35:20                             45:25 49:17 50:7          112:3
                                                basis 79:3,8,16,21
                         95:16,18
approved 95:24                                   88:8,13,25 92:24        51:12 52:3,21 54:15      call 32:18 47:11
                        authorized 42:6,14       127:8,16,18             55:2,23 56:17 57:14       121:21,25 122:7
argue 25:19                                                              60:19 66:24 67:24
                         103:18 104:9,14                                                           123:24
                                                basket 39:23             68:10 71:11,20 73:7
argument 99:21,24
                        Avaya 89:24 90:15                                75:14 76:4,23 78:5,      called 22:7 70:3
                                                beginning 24:13
arguments 99:15          91:16 92:15                                     12 79:11,18 82:23         111:17 131:5 141:12
                                                 88:2 101:13 119:20
 100:2                                                                   86:10 88:10 91:18
                        AVYA 43:19                                                                calls 46:17 48:14
                                                begins 39:8              92:16 96:14 98:6
articulated 46:10                                                                                  120:20 123:3,15,18
                        aware 9:3,13,18                                  99:18 101:2 103:22
 50:11 63:11                                    behalf 9:15 28:5                                   124:5
                         12:7,10,17 13:14                                105:4,8 106:22
                                                 35:21 56:24,25 58:23
Asia 30:24               14:17,20,23 17:14                               108:6,18 110:2,8         canceled 43:18
                                                 61:12 96:22 98:10
                         21:13 26:15 27:19,22                            115:12,16 117:16,21
asks 29:16                                       100:21 106:13,18,25                              CANTY 35:3,6
                         35:16 36:2,12 48:9                              121:13,17,23 122:5,9
                                                 111:20 114:9,10
aspect 13:13 88:25       52:11 53:6 58:24,25                             123:3,15,19,25           capabilities 71:11
                                                 119:17 142:2,18
                         59:11 60:15,25 61:8,                            125:4,9,14,21 126:13
Assert 140:24                                    144:4 147:5,12                                   capability 23:24
                         11,14 62:2,4 64:7                               127:13,17,21,24
asserted 124:20          67:23 74:17,19         believed 95:21                                     24:19 25:16
                                                                         128:15 129:11,18,24
                         94:19,21 96:5,18,19                             130:18,23 131:14,21      capable 24:23
assertion 88:14                                 believes 33:22
                         98:13 99:13 101:9,11                            132:9,15,25 133:11
 115:21                  110:9,18 111:5         bell 90:2 91:15 92:13                             capacity 10:3,6,13,
                                                                         134:2 139:20 140:18,
asset 39:13              124:19 136:17,22                                                          18 30:3,4 136:12
                                                beneficial 20:5 27:5     21 147:9,13,19,22
                         139:24                                                                   Capital 7:12 8:18
assets 24:16 39:13                               28:14,15,18,23 29:11   bottom 39:6,8 62:20
 44:7 46:8 50:14        awareness 61:3           30:5,10 46:7 50:10                                18:22 21:16 22:8
                                                                         90:12,14 115:6
 51:25 56:5 63:9         113:16 137:23,25        56:3 63:21,24 97:3,9                              53:15
                                                                         116:14
 95:12 111:25 145:7,9    146:10                                                                   capture 50:18
                                                benefit 50:13 73:4      bought 71:25 73:4
assign 101:12                                    105:21                  74:7 76:21               care 15:15 79:5,6
                                    B
assistant 68:16                                 Bermuda-based           breach 27:4,13 33:22      careful 62:25
 83:19,20                                        141:15                  36:3,6,10 107:7
                        back 44:11 47:21                                                          carefully 123:11
assistants 68:10,11      48:5,22 54:9,11        bit 41:4 62:17 81:21    breaches 61:4
                         83:23 85:12,20 87:19    82:3 84:12 87:21                                 cares 47:18 79:4
association 6:8                                  90:20 94:17 98:15      break 46:19,23
                         90:3 100:9 101:13                                                        case 6:23 7:12,13,21
assume 49:13             109:5,14 116:14         99:4 100:18 118:14      107:23 108:15,17
                                                                                                   10:19 14:4 40:8
                         122:20 134:15           134:10 138:17,21        142:23
assure 125:7                                                                                       52:22 74:11,12
                         142:25 143:8,11        block 49:12 145:6       brought 111:17,19          125:25
Attached 94:12          background 95:4                                  114:14
                                                blocking 55:22                                    caused 22:21 24:10
attention 79:14         bad 99:8 101:19                                 bucket 40:2
 123:9                                          board 13:10 14:13                                 cease 106:19 107:2
                         104:7                   117:5 143:12,15,18     bunch 24:17 79:2
attorney 138:2                                                                                    ceased 69:15
                        Baker 136:9,25           144:14,16              business 46:8,9,10
attorney-client          137:23 138:3,18                                                          cede 52:17,18
                                                bodies 37:5              50:13 52:19 55:5,25
 115:18                  139:2,7,25 140:2,10,                            56:7,14 57:12 58:21      Central 7:10 47:24
                         11 141:4,8 142:8,18    bona 46:5 89:12          59:20 60:16 63:10         107:25 108:8,25
attorneys' 7:17
                        balance 146:15,20       Bonds 7:2,20 9:20,       91:3,9 116:2,24           109:5 142:25 143:3,7
audio 11:2 16:7 57:6                             23 10:2,10,16 11:15,    128:7                     147:24
 68:23 82:6 96:7        bank 69:17               22 13:2 14:5 15:6      businesses 76:13          CEO 14:21
 111:20 116:6 135:25                             16:23 17:10 18:6



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                  Appx. 01627
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                      Page 44 of 200 PageID 31197
                                                                                                  Index: cetera..day
cetera 24:20 99:10       29:13 30:7 38:10,14     compliant 68:9           24:8,15 25:12 26:3,4,    counteroffer 103:3,
                         40:24 50:6 54:5                                  16,18,24 102:7,25         5
chain 142:21                                     complicated 77:16
                         63:16 90:16 91:17
                                                                         control 10:12 18:20       couple 46:17 69:9
championed 95:19         92:15 93:7,12 100:25    computer 82:24
                                                                          20:7 97:24 127:5          74:15 90:3 95:5
                         104:12 105:15 107:4,
change 78:3,6,17                                 concerned 114:24         129:6 131:10 136:21       112:3 120:22
                         20
changed 78:20                                    concludes 147:25        controlled 114:11         court 6:15 7:15,19
                        closing 90:2 91:15
 79:10,24                                                                                           13:18 25:20 48:11
                         92:13                   conclusion 28:23        controls 97:7,13
                                                                                                    59:16,20,23 94:24
changing 77:25                                    29:8,17 30:21 34:17,    129:17 131:20
                        Clubok 147:17                                                               95:8,10 99:16,20
                                                  20                      141:24
Chapter 7:13                                                                                        106:2 124:21 125:24
                        collateralized 16:18
                                                 conduct 13:16           conversation 32:16
char- 97:11              17:4                                                                      Court's 14:3,9 48:15
                                                                          52:6 57:5,20 58:15
                                                 conference 8:19                                    124:9
charge 104:15           combined 98:22                                    59:9,17
                                                  123:3,14
                                                                                                   courtroom 6:21
charitable 97:12        commenced 110:6                                  conversations
                                                 conferred 121:10,18      32:13 73:19 111:6        COVID-19 6:10
check 44:12 121:24      comment 36:18
                                                 confusing 98:17          146:11
                                                                                                   Covitz 39:8,11,12
chief 33:22,23 34:2,    comments 50:24
                                                 conjunction 37:20       conveyed 58:12             40:22
 4,18 37:12,17 53:14
                        commercial 103:11,
 95:19 105:18                                    connecting 142:21       convinced 61:14           Covitz's 41:11,20,24
                         12
Christmas 90:24                                  connection 10:18,       coordinate 114:9          creating 145:15
                        commit 106:17,25
                                                  25 11:8 15:3 59:5       117:7 119:16 120:3
circumstances                                                                                      credit 74:3
                        common 116:6,9            64:18 67:25 94:6        139:5
 104:16 139:11
                                                                                                   creditors 145:14
                        communicate 47:5         consent 9:11 42:22      coordinating 137:16
circumvented 29:2        132:21 133:7                                                              CRO 14:21
                                                  43:5 75:13 76:22
                                                                         coordination
Civil 6:22                                        135:16
                        communicated 62:8                                 114:12,16,20             CST 6:4 48:3 109:3
claim 116:3              145:21                  consideration                                      143:6
                                                                         copy 12:22 41:20
                                                  102:13
claims 144:5,8,15       communicating                                     93:14,18                 current 145:9
                         138:13                  considerations
clarification 11:3                                                       correct 9:19 10:3         custody 127:5
                                                  103:24
 16:9 57:7 68:25 82:7   communication                                     13:3 14:18,24 18:5,
 96:8 111:21 116:7       142:11                  considered 30:10,        11 19:2,19 23:17
                                                                                                             D
 136:3 137:9 142:14                               13 145:24               27:24 28:20 42:15
                        communications                                    48:20 51:8,16 56:22
 143:23
                         70:10 145:3             consistent 35:24                                  D.C. 65:6,7,12
                                                                          57:3 66:23 67:6 77:5
class 46:5 63:6                                   50:4                    87:7,8,15,18 89:24
                        company 22:2                                                               DAF 44:5 97:6,7,10,
clear 46:2 56:3          141:16                  constrain 13:15          120:14 128:2 130:10       20,24 98:16,22
 115:22                                                                   133:25 134:20
                        competently 12:11        contact 28:16 113:10     140:13 141:6 144:17,     daisy 142:21
CLO 17:3,9 24:16                                  117:6 136:24 138:19     21
                        complaint 110:15                                                           Dallas 7:16
 25:12 27:13,24 28:7,                             139:3,16,18,25
 19 29:11 30:6 39:12,   complete 71:22            140:10                 correctly 113:11          dark 145:8
 13 44:7 51:24 94:23     82:25 84:24 124:17                               118:23
                                                 contained 96:6                                    date 7:9 26:19 82:3,4
 95:7,11 96:23 97:3,                                                     counsel 8:14 32:17
                        completed 70:19                                                             85:23 86:5 124:6,7
 13,18,24 98:11,20,21                            contended 27:3,13        37:21 47:6 65:2,7,12,
 99:14 101:12 102:7,    completeness                                                                147:17
                                                 contention 25:14         22,24 95:20 100:22
 24 103:21 106:14,21     70:25                                            120:3,18,20 121:10,      dated 31:17 35:9
                                                  27:20,22 89:13
 111:25                                                                   11,17,18 123:3,15         94:16
                        complex 46:12
                                                 context 31:14            124:16
CLO's 107:16                                                                                       Dave 145:14,17
                        compliance 26:3
                                                 continued 36:2          counsel's 130:5
CLOS 16:22 22:22         33:22,23 34:2,4,8,18,                                                     day 41:4 48:14,18
 23:16,21,25 24:9,23     21 36:4 37:4,12,18      contract 27:24 30:17    counselor's 129:14         54:11 59:14 60:13
 25:17 26:11,16 27:3,    53:14 56:4 61:13                                 131:17,24 132:18          100:12
 9,23 28:2,6,13,17,20
                                                 contracts 17:7,15
                         95:20 105:18                                     133:4,14


                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                   Appx. 01628
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 45 of 200 PageID 31198
                                                                                                   Index: days..due
days 52:25 69:9 80:2,    138:14,17 145:2,22      desire 60:9 63:8        discussed 31:8            64:1 65:1 66:1 67:1,
 3 90:3,23 99:16         146:4                    139:6                   111:3 139:22 146:4       10,15,19 68:1 69:1
 142:9,12                                                                                          70:1 71:1 72:1 73:1
                        decide 25:20 45:21       desires 52:16           discussing 112:7
                                                                                                   74:1 75:1 76:1 77:1
de 63:19                 60:23 91:23 102:19
                                                 desist 106:19 107:2     discussion 135:8          78:1 79:1 80:1,9
                         124:16
deal 139:14                                                                                        81:1,18 82:1,12 83:1
                                                 desk 49:13 52:8         dispose 72:8 73:5         84:1,5 85:1,5 86:1
                        decided 72:8,14,21
debtor 7:13 8:15 9:3                              80:20 81:3,10,14        75:2 85:15
                                                                                                   87:1 88:1,13 89:1
 12:18 15:15 16:7,17,   decision 28:25 73:5,      86:6,20 87:3
                                                                         disposed 72:5,16,18       90:1,9 91:1 92:1,8
 21 17:6,7 22:23         10,20,22,23 102:2,4,
                                                 destroy 72:14 76:25      74:21 75:6 81:8          93:1,23 94:1 95:1
 23:16,20,22,23,24       14 139:12 147:10
                                                                          86:15 87:10              96:1 97:1 98:1 99:1
 24:8 25:6,9,11,15,16                            destroyed 72:13
                        decisions 142:2                                                            100:1,6 101:1 102:1
 26:17 27:4,13,23                                                        disposing 75:9
                         143:21 144:4,8,15       details 70:17 95:14                               103:1 104:1 105:1
 28:20 29:12 30:7
                                                  106:4,5 134:17 135:2   dispute 88:8,13           106:1 107:1,24
 38:10 39:14,16         declaration 15:2,10,
                                                  140:8,17                                         108:1,15 109:1,8
 40:11,18 43:19 50:13    12,22                                           dissuaded 103:10          110:1 111:1 112:1,17
 53:16 61:13 63:5                                determine 125:24
                        declare 28:6                                     distancing 6:11           113:1,24 114:1
 66:4,7,10,13,20,23
                                                 determined 147:18                                 115:1,3,18,23 116:1,
 67:23 70:11 71:25      default 23:23 24:18                              distributable 145:17      10,11 117:1 118:1
 73:4 74:8 75:5,20,23    25:15 26:4 27:23        developing 145:11
                                                                         distributed 145:25        119:1 120:1 121:1
 76:21 77:5,7,11,17,     28:7
                                                 differently 88:23                                 122:1 123:1 124:1
 20,22,24 78:22 83:17                                                    District 7:15
                        defending 9:20                                                             125:1 126:1,19 127:1
 95:11 96:11 100:2,                              difficult 31:7 123:9
                                                                         divided 120:22            128:1,3,18 129:1
 22,24 101:11 102:23    defense 111:10
                                                 direct 18:3 19:17                                 130:1,4 131:1,24
 103:20 104:11 105:3,    114:15 117:3,14                                 Division 7:16
                                                  28:16 97:2 128:13                                132:1 133:1 134:1,7
 14 106:20 107:3,16,     118:3,6,10,11 120:3,
                                                  136:16 140:25          document 31:14,22         135:1 136:1 137:1
 19,20 110:6,11,19,24    8,16 122:2,3 137:3,4,
                                                  144:19 146:9            32:2,3 58:17 64:17       138:1,7 139:1 140:1
 115:25 122:3 127:8      12,14 139:5
                                                                          67:14,20,24 70:3,18      141:1 142:1 143:1,11
 128:8,9,25 130:10,22                            directed 33:16 38:4
                        defer 52:16                                       83:3,10,18 84:14         144:1,3 145:1 146:1
 132:6,24 133:8,20                                42:15 43:20 45:24
                                                                          87:23 100:19 107:15      147:1,6,12
 135:13 145:4 146:3     definable 46:9
                                                 direction 23:3 38:15     128:4                   Dondero's 115:24
debtor's 9:7 11:2,9,    delegate 68:11            40:23 90:15 104:25
                                                                         documents 31:10,          127:11
 13,20 13:20 14:14,21                             114:13,23
 15:4,13 42:22 43:5     delegated 68:9                                    11 67:25 68:7 69:5      dormant 69:25
 70:3 75:13 76:22        70:20                   directions 119:21        70:21,24 71:9,18
                                                  120:7                   83:7,14 124:19          Douglas 114:14
 77:21 93:6,12 102:3    delivered 70:25
                                                                          126:22,25 127:3,11       115:17 117:2 137:16
 109:12,17,20,24         124:13,21               directly 13:11 54:4
 126:22 127:4,10                                                          128:10 135:6            dozen 126:24
                                                  55:16,19 59:25 96:2
 128:6 135:16 141:5     demand 102:13
                                                  106:4 124:15 129:5,7   dollars 101:21           drafting 118:2,6
 142:19                 denied 94:24 99:17        131:7,10 136:20
                                                                         dondero 7:9 8:1,3,10     drafts 122:8
debtors 9:15            depend 52:23             directors 144:14         9:1 10:1 11:1,7 12:1
                                                                          13:1 14:1 15:1 16:1,    Draper 114:14 115:8,
decade 66:8             depo 9:9                 disagree 88:15,25
                                                                          15 17:1 18:1 19:1        13,17 116:17,22
December 9:5 12:17      deposition 6:13 7:9,     disagreement 102:6       20:1 21:1 22:1 23:1,9    117:2 118:12 137:16
 59:5 60:18 70:15        22 9:16 10:22,25                                 24:1 25:1 26:1 27:1      139:4,12,13,22
 71:24 80:19,24 81:4,                            disapproval 60:20        28:1 29:1 30:1 31:1,
                         11:8 31:3 34:25 39:2                                                     draw 28:22
 5 84:9 85:16,25         47:7,19 48:10 62:14     disbelieve 86:8          3,6 32:1 33:1 34:1,25
 86:16,18 87:3,17        67:15 77:19 80:9                                 35:1 36:1 37:1 38:1     drawer 80:20
 88:2 89:23 91:15        81:18 84:5 85:5 90:9
                                                 discernible 46:9         39:1,2 40:1 41:1 42:1
 92:14 94:16 99:24
                                                                                                  drew 34:18
                         92:6 93:23 100:6        discovery 82:10,15       43:1 44:1 45:1,3 46:1
 100:12 101:13           108:8 112:17 115:3       113:25 114:5            47:1,2 48:1,7 49:1      drove 36:4
 111:16 112:21 115:9     134:7 138:7 147:16,                              50:1 51:1,16 52:1
 116:17,22 119:2                                 discuss 32:5 34:12                               drugs 12:4
                         25                                               53:1 54:1 55:1 56:1
 120:11 123:16 124:2,                             105:12 107:18 118:9     57:1 58:1 59:1 60:1     due 6:10 99:19
 21 133:22 134:16,20    describe 39:25 76:5       132:12 146:7            61:1 62:1,14 63:1



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                  Appx. 01629
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                      Page 46 of 200 PageID 31199
                                                                                             Index: Dugaboy..Friday
Dugaboy 125:2,13,        82:23 121:17 123:4,    entity 10:11 18:20       expressed 52:9           financials 126:5
 19,23 126:5,11,15,20    15,19,25                20:8 22:7 39:15          60:20 63:8
                                                                                                  find 94:13
 127:7 129:8,10,17                               65:13 98:22 131:5
                        employed 39:15                                   extent 21:7 22:24
 130:9,21 132:14,24                              136:15,20 141:12                                 fine 47:2,13 80:6
                         66:3,7 68:19 70:11                               31:12 145:23
 133:9,24 134:17,25                              143:12                                            129:24
                         83:17 128:25 133:8,
 135:10,13,17,24                                                         external 37:21
                         20                     entry 16:6                                        finished 19:13
duly 8:4                                                                 extort 102:8              142:24
                        employee 39:15,16       equity 40:15 41:12,
Dustin 59:2,8,14,15      47:4,10 77:4,7,9        15,17,24                extra 61:6               firm 9:23 10:5,10,17
                         107:14,19 120:22                                                          17:19,21 18:23,25
                                                error 89:20              eyes 90:18
                         121:3,5,8,11,19                                                           19:4 67:24 71:2
           E
                         122:4 123:8 137:19     estate 74:14 101:25                                111:20 116:2 124:13
                         140:7 145:3                                                 F             136:8,11,12,14,15,
e-mail 39:5,8,23                                ethic 71:10
                                                                                                   19,20 137:25 139:7
 40:3,4,22 41:2,4,11,   employees 13:12
                                                events 16:5              face 89:20                140:2
 19,20,24 42:5,18,23     25:24 40:18 47:15
 43:6,23 45:6,12         68:10 76:14 79:23      exact 21:23 117:11       faced 61:18              firms 10:2
 48:25 50:4 51:9,17      89:22 92:25 93:5,10,
                         15,18 116:25 137:17,   EXAMINATION 8:7          facilitation 102:10      fit 103:2
 52:2 53:9,11 58:17
 60:21 61:10,15 69:8,    24 140:3,6,12 141:5    exchange 107:13          fact 38:12 92:21         follow 129:13,22
 11,12,14,16,19,23       142:19 146:3                                                              130:4 131:16,23,25
                                                execs 79:2               facts 56:11,14 66:18,     132:17 133:3,13
 85:18 90:14 114:5      employees' 120:18,
 115:8 118:25 119:7,                            execute 42:5,19,23        21
                         20                                                                       form 11:15,22 13:2
 25 120:10 124:8                                 61:17 93:2              factual 29:20             14:5 15:6 16:23
                        employer 66:10,13,
e-mails 40:2 45:8                               executed 43:20           failed 135:22             17:10 18:6 24:11
                         23
 52:4 64:14 89:9                                                                                   25:7 26:8 27:16,25
                        encourage 105:24        executing 43:10          fair 18:20 19:5,9 20:7    28:8,21 29:14,24
 107:13 117:6
                                                 45:23                    33:10 34:19 35:18        30:8,18 32:9,21 34:9
earlier 64:3,25 65:19   encouraged 95:19                                  40:21 67:5 86:14
                                                executive 76:8                                     35:23 36:16 37:2
 84:17 99:16 123:21      96:3 145:13                                      98:25 109:10 113:24
                                                 133:19                                            38:17,22 42:7 43:7
early 71:24             encouraging 104:14                                145:20                   44:18 45:25 49:17
                                                executives 34:2                                    50:7 52:3,21 54:15
Eastern 107:25          end 16:12 24:13          72:25 78:20 104:15      familiar 17:19 18:23
                                                                          22:7 31:21,23 131:4      55:2,23 56:17 57:14
                         54:11 69:10 70:15       105:17,18
economic 18:4                                                             141:11                   60:19 66:24 71:20
                         91:21 92:5 126:19
 19:18 97:3                                     exhibit 30:25 31:2,3                               73:7 75:14 76:4,23
                        ended 114:22             34:24,25 35:5 36:15,    fashion 26:9              78:5,12 79:11 91:18
effectuate 53:3,7                                                                                  92:16 96:15 98:6
                        engaged 117:8            24,25 37:13,14 38:24    February 91:2
 55:22 57:13 60:10                                                                                 99:18 101:2 103:22
                         140:7,16                39:2 44:17 48:22
Ellington 47:4 60:5                              62:12,14 64:22          Federal 6:22              106:22 110:2,8
 65:18,21 66:3,9,22     engaging 103:8           67:14,15 80:7,9         feel 61:9                formal 102:17
 67:7 74:7 78:3,9,17,                            81:17,18 84:3,5 85:4,
                        enlarge 90:19                                    fees 101:21,24           formally 48:16
 25 79:9,23 83:2,5                               5 87:20 90:8,9 93:22,
 111:4 112:8,11 113:8   enter 9:8                23 94:13 100:5,6,9                                140:16
                                                                         fide 46:5 89:12
 114:8,17 115:23,24                              112:15,17 115:2,3                                forming 120:7
                        entered 13:19 14:10                              figure 49:25 50:22
 116:10 117:9 118:2,                             134:6,7 138:6,7
                         15:19 111:2 113:14
 18 119:2,8,15                                                                                    forward 51:2 103:11
                         114:18                 exhibits 44:10,16        file 109:18
 120:10,15,23,25                                                                                   108:19 118:18 145:9
 122:22 123:2,12,14,    entirety 58:11          experience 88:16         filed 94:23 96:20
                                                                                                  forwarded 120:10
 19,24 126:24 127:9                                                       110:15
                        entities 20:17 94:22    expertise 121:8                                   forwards 92:22
 132:14 135:22                                                           filing 95:16,18
                         95:6 99:14,25 103:19
 146:17                                         explain 58:20                                      115:23
                         106:18 114:10
                                                                         financial 33:24
Ellington's 74:9         119:17 126:6 141:20    explanation 51:23                                 found 26:12
                                                                          125:2,13,20 126:12,
 122:15 123:6                                    57:12                    21 132:13,23 133:10,    frames 117:11
                        entitled 115:20
Ellis 9:23 10:2,10,17    130:24                 explicit 9:10             24 135:10,14,17,24
                                                                          146:16,19
                                                                                                  Friday 90:4 91:15
 67:24 68:10 71:12


                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                                  Appx. 01630
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                   Page 47 of 200 PageID 31200
                                                                                Index: Friday's..instructing
 92:14                  generally 18:21         handles 78:14          historic 72:10          including 47:4
                         31:23 32:10 33:6                                                       146:20
Friday's 147:6                                  handling 47:11         historically 40:6
                         40:15 44:19,23,24
                                                                        46:6 65:23 72:9        Income 20:21 21:2,5
front 91:7               67:19 82:20 92:9       hands 127:12
                         103:17                                        history 137:22          incredibly 63:16
full 31:14 69:7 87:25                           happen 49:20
                        gentlemen 6:7                                  hitting 49:12           indemnities 61:7
fully 117:8                                     happened 72:4
                        girls 83:23              87:17 99:9            hold 21:4 22:6,17       independent 13:10
functional 117:9
                                                                        50:19 88:4 91:19
                        give 24:9 30:21 35:6,   happening 50:2                                 independently 62:3
functioning 114:15       24 41:22 51:23 69:4,    90:17                 Holdco 94:23 95:7
                         6 75:23 82:18 92:7
                                                                                               indirect 18:3 19:17
fund 18:22 19:4,7,18,                                                   96:23 97:3,13,18,24
                         101:18 104:25
                                                happy 32:7 46:22                                97:2 136:16 144:19
 21,24 20:6,7,10,15,                                                    98:11,20,21 99:14
                                                 116:12
 21,23 21:2,5,12,17,     122:11 126:14                                  106:14                 indirectly 55:18
 20,21 22:3,4,11,15,     127:17                 Harbourvest 97:6,                               129:5,7 131:7,11
                                                                       holders 27:5 46:7
 18 46:12 103:20                                 20 98:17 109:24                                136:21
                        giving 40:22                                    50:10
 104:12 107:16
                        Gmail 69:22,24          hard 49:22 105:20                              individual 10:3,6,13,
                                                                       holding 22:2 104:6
fundamental 103:9                                                                               18 56:5 136:12
                        go-between 60:5         HCLOF 98:18
                                                                       hundred 54:21
funds 20:11,18,20        111:7
                                                                                               individually 120:25
                                                HCMFA 89:22 92:25
 21:10 22:21 23:13,15                                                  Hunter 39:8,12 41:23
                                                 93:5,11,15,19                                 individuals 46:13
 24:10 29:21 35:21      good 6:6 8:10 23:22                             52:8
 41:17 49:14 50:12       24:22 26:10 125:3,     HCMLP 69:11                                    inferred 26:13
 56:25 58:23 63:5        13,19 126:11 127:8,
 94:7 98:5,10 100:22     16 131:5,8,11,13,20    head 63:14 101:18                I             information 117:6
                         132:5,14,23 133:10                                                     136:24 139:3,16,18
 104:23 106:13 107:2                            hear 8:11 20:14 48:7
                         135:10,13,17,24                               idea 32:19,22,23         140:2,11 145:7
 111:24                                          105:9 108:2 109:7
                                                                        55:10,14 91:7 114:6     146:16,20
                        gotcha 31:9              125:14
future 101:24                                                           124:23 127:16          informed 37:4 38:11,
fuzzy 90:18             Gov 141:12,14,18,22,    heard 7:5 68:5 136:8    141:10 142:10,20        13 90:4
                         24 142:3,7,17           142:21,22
                                                                       ideally 46:20           initiate 103:19
                         143:11,21 144:4,9,20   hearing 11:13,20
           G                                                           identify 143:14          104:11 105:2,13
                        Grant 97:8               13:20,22,25 147:7
                                                                        144:15 146:2            106:20
garbage 72:19,22        group 120:19,22         held 13:19 39:24
                                                                       illegal 99:8 107:6      initiating 100:23
 74:2 76:21 80:16,25     121:2 123:8 137:19      40:23 41:17 53:18
 81:11,14 86:15          139:10 140:7,12                               impede 93:6,11          injunction 11:10,14,
                                                helped 142:5 145:15
                         141:5                                                                  21 60:3 68:2 84:25
Gatekeeper 39:24                                helpful 32:8           implicit 34:17,20        127:25 147:7
 40:5,14                groups 120:23,24
                                                helping 114:8 139:18   Implicitly 9:9          injunctive 110:16
gatekeeper@              121:3,5,9,12,19
                         137:19                 HFAM 44:5 54:20        implies 24:22 89:10     input 54:10
hcmlp.com 39:18
                        guess 65:25 72:12       High- 39:14            important 59:19         institutions 33:24
Gates 32:14,17 58:20
                         87:20 111:17                                   62:7
 94:4,5,14,15 95:7                              Highland 7:12 8:18                             instruct 93:5,10 98:4
 98:11 100:12,21        guided 108:16            9:16 10:7 13:11       impose 95:11             106:7,9 125:9,17
 106:9,14 111:19                                 18:22 20:21 21:2,5                             127:13 129:11,18
                        guiding 23:5                                   inaccurate 89:6
 112:5                                           44:6 47:3,10,14                                130:18 131:14,21
                        guy 50:21                53:15 65:22 68:21     inadvertently 49:25      133:11 139:20
gave 21:25 35:25
 42:4,12 58:5 69:8                               69:11,19 76:9,12      inappropriate 52:12      140:18
                        guys 46:16 82:23
 82:22                   108:23 146:23           79:23 102:11 116:25    61:24,25 63:16 99:9,   instructed 41:25
                                                 128:22 140:12 145:7    21 101:19 102:18
general 13:7 14:14                                                                              44:6 56:23 89:22
                                                Highland's 76:10        103:10 107:5            92:25 98:11 106:14
 18:13,17 19:24 46:14              H
 52:23 65:22 71:3                                                      inches 16:12,13          127:3
                                                highlight 49:23
 82:21 95:20                                                                                   instructing 9:4
                        half 24:5 126:24                               included 40:4 61:14



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                               Appx. 01631
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 48 of 200 PageID 31201
                                                                                        Index: instruction..made
 42:18,22 43:5          investment 20:11,       joint 114:15 116:18,    law 10:5 136:8 140:2      146:21
                         17,20 24:24 25:22       23 117:20 118:3,6,10
instruction 41:23                                                       lawsuit 110:14           liability 33:25 44:8
                         88:18,20 97:19          119:14 120:15 122:2
 42:4,13 135:23                                                                                   45:13,20,22 46:3,12,
                                                                        lawsuits 63:6
                        investments 29:22       Jones 8:14                                        14 61:3,19 105:19
instructions 44:9
                         142:6                                          lawyer 26:22 67:8
 49:7,10 68:23 69:4                             judge 91:7,23,25                                 liar 86:23
                                                                         92:4 115:13,25
 82:18,21 89:8,15       investors 50:9,10        145:13
                                                                         123:19,25 130:15        lift 26:23
                         52:9,16,20 61:5 63:7
instructs 130:16                                judgment 52:19           136:11,14,19 139:9
                         88:19 89:18 101:7                                                       lights 50:23
insurance 61:6           102:9 104:16,17        July 14:24              lawyers 9:4 25:20
                         105:21,23 107:8
                                                                                                 limited 70:14
                                                                         68:5 70:25 71:11
intend 11:12,19,20                              juncture 45:17 104:2
                                                                         114:9 116:23 119:16     limits 106:2
 61:16 108:9            involved 46:13 71:21
                                                justification 56:14      136:25
                         75:8 102:16 104:13                                                      liquidation 74:12
intended 45:15           106:4,5 117:10
                                                 58:16 60:17
                                                                        leadership 114:8,19
                         124:16 140:5 144:11                             118:22 119:4,9,23
                                                                                                 liquidity 90:23
intent 50:5,8 51:21
 139:6                                                     K             120:2,12 122:17,23      list 113:16 119:14
                        involvement 121:7
intentional 145:6                                                       learn 54:6 68:4          listed 35:22
                        Isaac 118:5 136:23      K&l 32:14,17 58:20
interest 10:12 18:4      146:21                  94:4,5,14,15 95:7      learned 32:2 38:8,20     listen 13:22 46:17
 19:18 52:9 88:19                                98:11 100:12,21         52:25 91:14 92:13        91:12 123:11
                        issue 107:15 119:24
 97:22,24 107:8                                  106:9,14 111:19        learning 33:15 38:3      litigant 128:8
 116:3,9 118:3 119:18   issued 49:11 93:4        112:5
 136:16 141:17,21                                                       leave 76:14 98:24        litigation 103:8
                        issues 91:6             keeping 76:10
 144:19                                                                  108:15                   111:3 114:20
interested 29:4                                 Kelly 83:20,24          led 16:6                 lived 34:22
                                   J
interests 46:7 50:9                             key 26:6                left 76:8 80:19 81:3     loan 16:18
 61:5 63:7 89:18        J.P. 112:12 113:9       kind 39:23              legal 6:8 28:22 29:7,    loaning 17:4
 105:23 109:11
                        James 7:9 8:3 14:13     Klos 145:15,17,21        16 30:21 37:18 92:8
 110:23 111:11                                                                                   located 8:16
                                                                         103:24 117:18
 114:20 116:24 140:4    January 6:4 7:10        Klos' 146:9              139:11                  logged 69:25
interfere 93:6,11        14:18 77:7 91:2
                                                knew 33:9 35:17         legally 104:4            logical 105:16
interfered 128:10       Jason 34:5 75:8          42:13 75:9,10 99:10
                         78:13 80:12 105:19      125:19 140:5           legwork 83:24            Loiben 68:13,14,15
interference 54:25
                        Jason's 86:22           knowing 56:5            length 55:24             long 46:23 53:18,20
interfering 128:6
                        Jefferies 54:4,8,11     knowledge 26:19,25      letter 9:4 31:17 32:6,   longer 77:4
intermediate 29:3                                27:12 28:16 36:21       14 33:4,7,9,13,16,17
                        jeopardy 63:6                                    34:7,13 35:8,13,15,     looked 44:11,16
internal 32:17 65:2,                             55:20 56:13 64:6
                                                                         20 36:4 37:25 38:3,5     85:18
 7,12                   Jerome 47:10 50:20,      76:22 93:9 98:9
                         21 51:4                 106:12 130:8 132:4      85:8 94:3,12,14,15,     lot 16:3 63:25 99:12
interrupt 24:2 91:20                                                     18,20 95:6 96:22
 127:22 140:24 141:2    Jim 24:24 49:14                                  98:5,12 99:5 100:11,    loud 44:4 62:24
                         67:10 80:5 115:18                 L             15 103:16,19 104:10
interruption 41:7                                                                                LP 7:13 17:18 18:23
                         117:22 127:2 130:24                             106:10,15,18
intervene 71:12                                 La 30:24                                         ludicrous 76:15
                        job 124:18 130:2                                letters 44:24,25
intervened 38:20                                label 73:10              58:22 95:22,25 96:6,    lunch 83:23
                        Joe 40:16,20 52:7
                         54:10,12 57:18                                  18 103:8                Lynn 112:21,25
interviewed 140:15                              ladies 6:7
                                                                        level 98:23               113:3 115:18 118:14
invest 22:22 24:10      John 8:13 9:20 23:2     largest 97:21,23
                         35:3 108:7 121:21                              Leventon 47:5 83:9,
invested 23:15           125:16 126:17          lastly 147:16                                                 M
                                                                         12 118:5 126:25
investigated 36:9        127:23 129:22 147:5    late 46:18 108:14        127:9 132:22 135:22
                                                                         136:23 138:10,18        made 29:22 36:13



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                 Appx. 01632
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                      Page 49 of 200 PageID 31202
                                                                                            Index: majority..nutty
 55:11 56:3 64:25       marked 31:4 35:2        Miller 6:15               91:11,13,23 92:7,11,   necessity 32:24
 73:5 88:14 95:7         39:3 62:15 67:16                                 18 93:21 94:2 96:10,
                                                million 101:21                                   needed 114:12,18
 101:11 102:2,4,14       80:10 81:19 84:6                                 21 98:8 99:22 100:4,
                                                                                                  132:24
 126:23 133:23           85:6 90:10 93:24       mind 124:6                8,10 101:8 104:8
 139:12 142:7 144:8      100:7 112:18 115:4                               105:6,10,11 106:24     Nexpoint 17:18,25
                                                mine 116:12 130:3
 147:9                   134:8 138:8                                      107:22 108:4,11,20      18:4,10,19 19:8 20:3,
                                                minimis 63:19             109:6 110:5,10          10,16 21:16 22:3,7,
majority 123:7          market 102:13
                                                                          111:23 112:15,19        10,18 31:18 32:5
make 11:19 46:18        markets 90:23           minimization 57:24        114:25 115:5,7,14,20    33:16 35:9 36:13,22
 55:15 56:15 57:2                               minutes 46:18,19,24       116:9,16 117:19,23,     38:4 65:14 77:13
                        Matt 40:13,20 45:17,                              24 121:15,16,21,25
 59:16 71:14,18 76:17                            47:22 108:4,14,23                                101:13
                         19
 84:23 91:25 102:20                              143:10                   122:7,11,13 125:6,
                                                                          11,15 126:2,9,17
                                                                                                 Nexpoint's 18:13,16
 103:2 115:20 142:2     matter 29:20 41:12
 143:22 144:5 147:4      59:6 64:18 94:6
                                                missed 20:12 43:2         127:15,20,22 128:2,    NHF 21:21 22:13
                         132:22                 misunderstood             16 129:13,16,21,25
makes 91:8 143:21                                                                                nonfinancial 29:3
                                                 51:21                    130:7,15,20 131:3,
 144:3,14 145:16        matters 36:14 37:13                               16,19,23 132:3,11,     nonfinancially 29:3
making 52:19            Mckenzie 136:9,25       model 145:15,16           17,20 133:3,6,13,16
                                                                          134:5,9,12 136:5       noninvestment
                         137:23 138:3,19        moment 85:2 126:18
malfunction 11:2                                                          137:11 138:5,9          53:25
                         139:2,7,25 140:2,10,
 16:8 57:6 68:24 82:6                           money 141:9 142:18        139:23 140:23 141:3
                         11 141:4,8 142:8,18                                                     nonportfolio 54:2
 96:7 111:20 116:6
                                                month 70:16 102:23        142:16,23 143:9,25
 136:2 137:8 142:13     means 89:11                                       144:2 147:3,11,14,20   nonsensical 59:21
 143:22                                          103:7
                        meant 49:13                                      motion 11:2,9,13        nontrader 54:2
malicious 63:17                                 months 65:25 66:2
                        Media 7:8                144:23                   15:4,13,23 67:25       normal 103:11
man 26:6                                                                  94:24 95:8,17 96:19
                        medication 12:5         morning 6:6 8:10,16       99:17 111:16,18,19     Norris 59:2,8
manage 16:21 17:8                                9:8,12 64:25 113:10      112:10
 20:11,17,21 23:13,25
                        meeting 116:18,23                                                        Northern 7:15
                         119:14                 Morris 6:25 7:3,5 8:9,   motions 96:19
 24:9,16 25:17 26:11                                                                             noted 7:18
                                                 13 11:5,6,16,18,24       111:15 112:3,9,13
managed 22:12,22        meetings 48:13
                                                 13:4 14:7 15:8 16:14,                           notice 75:23 80:4
 23:16 38:10            Melissa 128:17           16,24 17:2,11,13        mouth 16:13              108:7
                         133:17 134:13,25        18:7,9 21:11 23:2,11    move 29:6 30:11
management 7:13                                                                                  notification 36:12
 18:22 28:7,19 29:12                             24:12 25:2,8 27:18       56:9 74:13 80:2
                        member 14:13
 30:6 93:7,12 101:12,                            28:3,10 29:6,9,15,18     91:11 105:24           notwithstanding
 24 102:24              members 144:16           30:2,11,14,22,24                                 48:15
                                                 31:5 32:11 33:2         moving 56:4 104:5
Management's 8:18       memorandum
                                                 34:11,23 35:4,7 36:5,    105:22 139:15          November 35:10
                         37:11                                                                    60:8,24
                                                 19 37:7 38:18,24        multipage 37:15
manager 16:18
                        memory 12:8 113:22       39:4 41:8,10 42:10,                             NPA 89:22 92:25
 20:25 21:6,10,13,15,                                                    Multistrat 146:16,21
                                                 11 43:8 44:20 46:22,                             93:5,10,15,18
 25 22:4,16,19 29:21    mentioned 49:14          25 47:13,20,23 48:6,    mutual 117:3,14
 36:8 46:12 52:14        64:25 65:18 117:14                                                      number 75:17 76:9,
                                                 21,24 49:18 50:15,22     118:3,6,10 120:7,16
 54:2 100:24 102:7,8     128:5                                                                    11,14 77:25 78:4,6,
                                                 51:2,5,7,14,15 52:13,    122:3 137:3,12 139:5
 103:20 104:5,6,12,22                                                                             10,18 126:10
                        message 45:16 62:9       24 54:16,17 55:7
 105:14 106:21 107:4,
                         81:23 82:11 126:18      56:9,12,19 57:9,16                              numbers 20:4 79:10,
 16,20
                                                 60:22 62:12,16,18                 N              24
manager's 56:4          messages 70:4            64:21,23 67:3,13,17
                         74:20                   69:3 71:23 73:11                                numerous 78:20
manages 23:21                                                            nail 85:13
                        microphone 16:12         75:16 76:16 77:3                                nuts 107:9
 39:12                                                                   named 128:17
                                                 78:7,16 79:15,20
managing 24:23          mid 77:9                 80:7,11 81:16,20,22                             nutty 90:21 107:10
                                                                         natural 146:25
                        middle 119:20 120:6      82:9 84:3,7 85:3,7,
manifested 95:22                                                         necessarily 37:3
                                                 20,22,24 86:12,13
manner 87:10            Mike 6:15 115:17         88:12,21 90:7,11,13



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                 Appx. 01633
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 50 of 200 PageID 31203
                                                                                                 Index: oath..primary
                         operating 56:7 62:3      76:21 77:11,12         permanent 110:16            21:5,10,13,15,24
            O                                     101:24                                             22:4,16,19 29:21
                         opinion 59:22 61:25                             permission 9:7
                                                                                                     36:8 52:14 100:24
                                                 paragraph 87:25          75:21 77:22
oath 12:14               Opportunities 22:11                                                         104:22 105:14 107:4,
                                                  88:7,9,14,16 89:2
                                                                         person 70:10 83:21          20
object 33:12,14          opportunity 22:18
                                                 part 23:19 43:2 59:22    135:9 138:19 143:14
 109:23 115:12            102:24                                                                    portion 45:12
                                                  69:9 72:5 120:19,23     145:17
 126:13                  opposed 109:17           121:2 137:3,20                                    position 36:18 40:11
                                                                         personal 33:24
objected 96:14                                                                                       53:19 102:12 103:23
                         opposition 15:22        participate 9:15         45:20 46:3 55:20
 109:20                                                                                              116:12 125:7
                          16:4                    11:12 118:2,5 123:2,    61:3,18 67:8 69:23
objection 11:15,22                                18 139:7 144:7          75:18 78:10,18            possession 126:22
                         order 12:18,22,24                                105:19 109:11              127:4
 13:2 14:5 15:6 16:23     13:6,9,14,19 14:10     participated 123:14
 17:10 18:6 23:3                                                          110:23 111:11
                          15:4,19 26:24 31:14                                                       possibilities 97:17
 24:11 25:7 27:16,25                             participating 123:24     115:24 128:21 140:4
                          39:7 48:11,15 49:11
 28:8,21 29:14,24                                                                                   post 34:5,6,12
                          69:5 84:9,18,23        parties 6:18 24:14      personally 12:21
 30:8,18 32:9,21 34:9                                                                                105:19 124:7
                          124:9                   26:17 28:19 29:11       17:15 38:20 67:11
 35:23 36:16 37:2                                 30:6,16 104:10 106:7    71:15,17,21 126:23        post-restructured
 38:17,22 42:7 43:7      orders 49:12 61:17
                                                  107:14 126:11                                      41:16
 44:18 45:25 49:17                                                       petition 26:19
                         ordinary 111:18          137:12 139:17
 50:7 52:3,21 54:15                                                                                 pot 144:24 145:4,6,8,
                                                                         phone 8:25 32:18
 55:2,23 56:17 57:14     organizations 97:12     partner 14:14 18:14,                                11,19,21,24 146:4
                                                                          60:9,16 69:8 71:24
 60:19 66:24 71:20                                17 19:25
                         original 41:20                                   72:4,6,11 73:3,5,14,      potential 44:7 45:13,
 73:7 75:14 76:4,23                              party 17:7 24:8,15       21 74:7,9,10,13,21,        22 46:3,11,14 139:17
 78:5,12 79:11 91:18     outcome 145:10           29:4 120:15,17 122:4    24 75:3,4,6,9,10,17
 92:16 98:6 99:18                                                         76:9,11,14,19,20
                                                                                                    potentially 72:7
                         outstanding 89:19        132:13
 101:2 103:22 106:22                                                      77:11,12,18,21,25         power 33:19 105:7
 110:2,8 117:16 125:4    overrule 34:2           past 102:23              78:4,6,10,15,18,21
 135:12                                                                   79:10,24 80:15,20         practice 6:11
                         oversee 68:6            pause 7:4 95:10,11
obligation 16:19                                  111:25                  81:10,13 82:24            preferred 89:14
                         owned 38:9,14                                    85:13,15 86:5,15
 36:7 127:10 128:9,11
                          114:10                 pay 74:15 79:14          87:2,10 123:24            preliminary 11:9,13,
obligations 17:4                                  142:17 144:15                                      21 68:2 110:16 147:7
                         owner 30:10 97:3,9                              phone's 81:7
 104:18
                                                 payment 101:23                                     premises 9:5,8
                         owners 20:6 28:14,       142:8 144:8            phones 72:10,11,24
obstructed 127:10
                          15,18,23 29:11 30:5                             73:24 77:2 80:2           prepared 37:11
obtained 12:18            56:3 63:21,24          payments 144:5
                                                                         picking 60:8,15            prerequisites 103:9
 110:11
                         ownership 10:12         Pearson 40:13,14,17
                                                  41:3 43:15 45:18,19,   piece 119:5,6              present 101:23
occur 75:12               18:4 19:18 74:13
                          97:21,23 136:16         22                                                president 18:10,19
occurred 124:6                                                           place 48:10 147:8
                          141:17,21 144:19                                                           19:21 20:6 29:21
                                                 pending 6:23            plan 74:13 109:17
October 31:18 77:9                                                                                   104:19
                         owns 18:16 129:10       people 28:24 42:4        144:24 145:4,6,8,11,
 109:15
                          131:13                                          19,21,24 146:4            pressing 99:25
                                                  76:12 79:9 105:22
offer 101:12 102:3,5,                             107:11 143:17
                                                                         planned 108:9              prevent 12:11 49:25
 15,18,20                                         145:14
                                   P                                                                 50:5,8
office 69:9                                                              play 83:5,12
                                                 people's 117:5                                     prevented 60:8,15
officer 33:22,24 34:3,   p.m. 62:20 85:25 87:3                           playing 31:9                103:7
                          108:24 109:2,3,4       percent 54:21
 4,19 37:12,18 53:14                                                     point 20:12 36:18
                          143:3,5,6,7 147:23,    perfectly 46:25 80:6                               prevents 128:6
 61:13 95:20 105:18                                                       63:18 125:24
                          24                                                                        primarily 39:13
offices 9:11,16                                  performance 88:19       points 13:17 147:4
                         Pachulski 8:14                                                              68:13 123:6
 110:20 128:23
                          101:21                 period 70:14 76:10      policy 144:9               primary 32:16 97:21
operate 26:3 88:17                               peripherally 146:13
                         paid 71:25 73:4 74:8                            portfolio 16:17 20:25



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                    Appx. 01634
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 51 of 200 PageID 31204
                                                                                          Index: print..requested
print 71:4              providing 120:2          59:20                  recycled 72:20            6,7,12 122:24 134:4
                                                                                                  135:4,5,8 138:25
prior 60:17 94:23       provisions 26:6         reach 117:5             redefined 65:24
                                                                                                  144:12
 104:7 124:6 142:5
                        purpose 46:8,9,10       read 12:21 13:24        reduction 57:24 58:2
                                                                                                 remembered 63:14
privilege 116:11         50:13 55:5,25 56:7      14:9 31:13 44:3
                                                                        refer 17:24 19:4,7
 124:20 140:25           91:3,9                  49:22 62:23 70:17                               remembering 60:12
                                                 84:16 85:11 88:3,7,    reference 39:17
privileged 115:19       pursuant 26:16                                                           remind 61:9
                                                 10 89:2 99:6 113:11     44:10 45:11 65:2
 124:17                  40:22 48:10 116:4
                                                 118:23 128:4                                    remote 6:19
                                                                        referred 137:13
problem 23:18 43:3      push 64:2
                                                realizes 90:22                                   remotely 6:14,17
                                                                        referring 22:14 25:5
procedure 6:22          pushed 95:19                                                              31:7
                                                reason 10:16 14:8        44:13,16 45:2,5 65:5,
 75:11
                        pushing 91:4 105:20      63:10 66:18,21 67:4     15                      remove 103:20
proceed 7:6 41:9                                 86:8,25 87:5 90:25                               104:11 105:2,14
                        put 30:25 31:11 34:23    102:22 135:21 137:5
                                                                        refers 21:17,19 41:15
                                                                                                  106:20 107:16
proceeding 7:21          38:24 62:12 64:21
                                                reasonable 103:11,      reflect 108:13
 10:8 110:7 126:16       80:7 81:16 84:3 85:3                                                    removed 110:19
                         90:7 92:4 93:21         12                     reflected 58:17
process 73:9,23                                                                                  removing 100:24
                         100:4 103:12 112:15
 76:25 100:23 103:19                            reasons 52:5 63:3,      reflection 84:23          107:19
                         114:25 117:3 134:5
 104:11 105:2,13                                 11,12 91:6
                         138:5 144:23 145:5,8                           refresh 98:15 113:22     repeat 42:8,25 51:12
 106:20 124:15
                                                recall 13:18 15:25       119:14                   76:24 79:18 86:10
                        putting 63:5 103:10
produce 113:21                                   16:4 31:25 45:4                                  105:4 121:13
 124:8,24 126:20                                 58:18,19 65:3 79:13    refreshed 124:4
                                                 82:5,11 89:12 90:6
                                                                                                 replace 104:5 107:3
 132:13 135:23                    Q                                     regard 137:23
                                                 100:14,16,20 107:17,                            replacement 72:6
produced 70:22,23                                21 114:4,7 116:21      registered 24:19
 71:8,19 114:4 115:17   question 19:14                                   88:17,20                reported 54:9
                         20:13 23:8,18 24:6      122:25 123:5,22
 124:23 132:24
                         27:11 28:12 42:9        124:3,4,7 136:23       regulatorily 99:9        reporter 6:15 7:19
producing 83:6,13        46:20 51:13 65:9        146:11,14
 135:13                                                                 regulatory 32:24         Reporting 6:9
                         74:18 79:19 86:11      receive 41:19            33:23 34:7 36:3,6
production 70:4,19       88:11 89:5 91:10,12                                                     reports 54:7
                                                received 85:11           37:5 61:4 107:7
 83:3,10,18 121:22       92:12 94:25 98:2
                                                                                                 represent 10:11,13
 122:2 124:12 133:9,     105:5,9 114:2,24       recent 137:22           reimbursement
                                                                                                  26:9 94:8 116:2
 24 135:9,17             116:20 121:14                                   101:20
                                                recently 123:22                                   136:12,15,20
                         123:11 125:10,18,22
professional 24:24                               126:7,8 142:4,6        reinsurance 141:15
                         126:3 127:14 129:12,                                                    representation
 25:22 53:25             19 130:17,19,25                                reject 102:2,4,5,15       122:12
                                                recess 48:2 109:2
prohibition 101:9        131:15,22 132:16        143:5                  rejected 99:25           represented 67:10
                         133:2,12 134:3
                                                recipient 45:15                                   95:6
promise 47:8                                                            rejection 102:5,17
                        questions 28:13
prompted 134:22                                 recipients 41:23                                 representing 103:2
                         48:19 58:9 70:23                               relates 115:17
                                                 42:18,23 43:6                                    116:23 123:7 137:24
                         79:7 84:20 116:13
prosecution 111:10                                                      relating 139:21           139:11 140:12
                         128:12 130:13 147:4    recollection 53:19
protect 101:6                                    98:15 113:23 119:15    relative 101:22 145:9    represents 10:2,6,
                        quickly 104:6 139:16
                                                 120:9 123:23 134:24                              17 94:5
protocol 73:9                                                           releases 101:19
                        quote 45:12 49:12
                                                record 6:13 7:18                                 request 13:20 67:14
provide 24:16 93:14      53:22 134:25                                   relief 110:17
                                                 47:3,25 48:5 50:25                               70:3,9,14 91:24
 102:11 114:19
                                                 84:24 91:22,25         remedy 105:16             132:12 133:23
 118:22 119:9 120:12
                                  R              108:13,25 109:5
 122:17,23 127:3,11                                                     remember 13:17           requested 11:3 16:9
 128:9                                           129:23 143:4,8          23:6 60:3 73:17 75:7     57:7 68:25 82:7
                        rarely 60:2,3            147:25                  84:20 101:14 111:14      95:15 96:8 111:21
provided 57:12
                        rationale 50:17         recording 6:19           112:2,5,6,7,10,11,14     116:7 126:6,7 135:25
 93:17 102:23 116:4
                         56:15 57:12 58:4,21                             114:21 116:19 119:3,     136:3 137:9 142:14




                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                                 Appx. 01635
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 52 of 200 PageID 31205
                                                                                  Index: requesting..speculation
 143:23                 reversed 89:15          scroll 32:7 41:2,18      sending 33:3,6,12       similar 45:10
                                                 43:13,23 48:23 53:10     37:24 99:5 103:15
requesting 47:14        review 15:2 70:21,24                                                     simply 91:14 92:12
                                                 62:16 70:7 81:20
                                                                         senior 72:25 78:20       123:13
requests 64:17          reviewing 83:6,13        82:2 84:11 87:20
                                                                          79:2
 67:24 70:5,8 126:24                             92:19 94:17 100:13,                             single 128:13
                        Richey 6:7
                                                 18 112:24 115:5         sense 13:7 91:8
required 101:20                                  118:13,17 134:9,10,
                                                                                                 sir 8:17 33:20 35:11
                        Rick 6:7                                          145:16
                                                                                                  85:9 94:17 126:3
reservation 101:4                                15 138:16,21
                        rightfully 63:20                                 sentence 43:2            130:11
resignation 109:14                              scurrying 139:15          88:15,24 89:2,7,10,
                        rights 28:23 101:4                                                       sit 10:15 55:21 66:19
                                                                          20
resigned 40:11                                  search 68:6 69:5                                  143:17 144:13
                        rigorously 95:21                                 serve 112:12 147:8
respect 14:3 36:14       101:6                  searching 83:6,13                                sits 143:14
 37:13 47:6 99:19                                                        served 67:23
                        risk 28:24 57:23,24     sec 37:5 64:4 88:4                               situation 105:22
 114:19
                         58:2 63:6                                       serves 16:7,17
                                                secret 76:3,6                                    Sky 41:12,15,24
respond 135:23
                        role 52:14 65:23                                 services 77:12 116:4     42:19,23 43:9,10,19
                                                securities 38:9,14
responded 43:15,24       83:5,12 114:15                                   127:7 130:9,21 132:5    89:24
                                                 40:23 53:23 54:4
                         117:9,10
responding 49:3                                  58:3 63:18 90:5,15,     set 36:14,24 37:13      so-called 144:24
                        room 6:12,16 8:19,20     25 91:4,16               54:3
response 43:13,18                                                                                social 6:11
 44:3 49:2,8 68:8       Rothstein 75:8          seek 42:21 43:4          settle 89:10
                                                                                                 sold 38:14 46:8 50:11
 118:14 122:15,16        78:14 80:12 81:9
                                                seeking 15:16 38:8       settlement 65:24         56:6 63:9,17
 124:9 135:4             85:19 86:4,19 87:6
                                                                          109:21,24
                                                Seery 14:13,20 15:3,                             sought 26:23 103:2
responsibilities        Roughly 12:20            9,12 24:24 25:15        settling 89:19           110:11 111:25
 99:11
                        Rule 6:21                31:18 35:9 36:14,23
                                                 38:8 41:25 42:6,15,
                                                                         severity 6:10           sounded 21:25
responsibility 17:8
                        rules 6:22,23            17 45:23 52:10 53:2,
 52:15,18 80:24                                                          Sevilla 112:12 113:9,   Sowin 40:16,17 49:3,
                        ruling 92:2              6,22 54:23 55:5,21       19                      6 51:9,17,20 54:12
responsible 104:7                                56:7,15,25 57:5,6,11,                            57:18,22 58:5,8,12
                                                 23 58:5,9,16 59:9,17,   share 30:25
responsive 68:7,8                                                                                 59:9,17 90:4 92:21
                                     S           25 60:9,12,16 61:7,
 70:5,20 71:8,18,22                                                      shared 77:12 116:4
                                                 12,23 62:2,9,20                                 Sowin's 50:3,4 58:15
 82:25 83:6,13 124:17                                                     127:7 130:9,21 132:5
                        sale 111:25              64:13 80:5 90:5          137:3,13 139:5         speak 32:13 42:17
rest 48:18                                       91:16 92:14 101:19
                        sales 38:13 43:19                                                         55:16,18,19 74:6
                                                 127:2                   shares 92:15
restrain 13:15           93:2                                                                     83:2,9,16
                                                Seery's 25:22 38:15      sharply 142:25
restrained 84:19        sanctioning 26:14                                                        speaking 59:25
                                                 59:20,22 60:25 61:17    she'd 71:4               95:23
restraining 12:18,22    satisfy 71:7             80:3 90:15 135:23
 13:14,19 14:10 15:4                                                     She'll 91:25            specific 19:10 73:3
 84:8                   Saturday 112:21         sees 54:10
                                                                         sheets 146:15,20        specifically 30:15
restrains 13:6,9        Sauter 65:6,7,12        self-reporting 64:4                               33:5 35:15 85:10
                                                                         shortly 78:22            90:6 96:3 100:16
resume 107:23,25        schedule 48:13,16       self-reports 37:4
                                                                         showed 108:7             126:20 127:21,24
retail 94:7 104:17      scheduled 48:17         self-serving 91:5                                 128:3
                                                                         signatory 104:10
retain 76:13            Schroth 133:17,23       sell 38:8 40:23 41:24     106:8                  specifics 79:14
                         134:13,16               44:6 50:14 51:24
retained 141:5                                   90:5,15,25 91:16        signed 16:3 17:15       speculate 21:8
                        scope 84:25                                       84:9                    22:25 29:5 55:4
retainer 141:9                                   92:15
                        Scott 60:4 65:18 97:8                                                     68:22 98:21 120:4,5
                                                selling 58:3,10 91:4     significant 63:21,23     136:7
retaining 140:3          117:25 132:14
                                                 95:11                    146:13
return 108:3             146:17                                                                  speculating 55:9
                                                send 32:19 118:25        signing 15:25
returning 74:3          screen 30:25 31:12                                                       speculation 55:4
                                                 134:22 138:18,22,24
                         48:22


                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                 Appx. 01636
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                   Page 53 of 200 PageID 31206
                                                                                               Index: speed..told
speed 99:3               71:17 105:2 106:19    suggested 112:12        technology 78:14         Thomas 53:5 61:2
                         107:3                                                                   62:2,4,6
spent 123:6 144:22                             suggesting 64:3         telephone 8:23
                        stick 66:25 124:5                               48:14                   thought 15:18 22:14
spoken 57:11 60:4                              summary 101:15
                                                                                                 52:11 54:24 55:24
 138:2                  stipulate 6:18                                 telling 108:18
                                               supersede 56:2                                    59:21 62:2,7 78:24
stab 145:8              stop 38:21 43:9,10,     71:13                  temporary 12:18,22        79:2 96:4 121:8
                         14 53:11 63:20                                 13:9,14,19 14:10
stack 71:4,5                                   supervise 71:13                                  threw 73:12,14
                         89:17,23 140:21                                15:4 84:8
                                                                                                 76:19,20 77:18
staff 25:24 37:19                              supervisor 146:10
                        stopped 40:7 69:14                             ten 46:18,24 47:21
                                                                                                throw 72:21 73:5,20
stand 52:5 135:3,19                            support 15:12 33:6       108:4
                        stopping 42:14                                                           74:2 80:15,24 81:10,
                                                37:24 99:25 103:15
standard 7:11 47:25                                                    ten-minute 107:23         14
                        Strand 14:14
 73:9 75:11 108:25                             supported 99:4
                                                                       term 117:18              throwing 73:17
 109:5 143:4,8 147:24   Strategic 22:10,18
                                               supposed 124:20                                  thrown 86:15
                                                                       terminate 26:24
standing 23:22          strategist 111:8,9
                                               surface 76:15                                    thrust 99:7
 24:22 26:11                                                           terminated 25:25
                        strategy 111:3 142:6
                                               Surgent 53:5,13          26:18 78:21
standpoint 36:3                                                                                 thumb 71:4
                        strike 29:6 30:11       60:24 61:18
                                                                       termination 80:3
stands 17:3              56:9 91:11,20,25                                                       time 7:11 8:19 14:9
                                               suspense 126:19                                   19:14 31:8,12 32:3,4
                                                                       terms 45:10 64:3
Stang 8:14              string 39:5 118:25
                                               swear 6:16 7:19          101:16                   35:14,25 38:19 40:10
                         119:20,21,25 120:6
start 7:8 39:6                                                                                   42:3,12 45:5 47:25
                                               swearing 6:20           testified 8:5 59:4        53:20 57:21 59:24
                        struggle 145:5
started 108:13                                                          99:3 137:15
                                               switched 69:16                                    60:4,11,12 62:9
 110:14                 stuck 126:16                                                             63:18 70:14 73:24
                                                                       testify 11:20 16:20
                                               sworn 8:4                23:19,21,23,24 24:5,     74:11,13,20 77:5,6,
starts 119:21           stuff 78:14,15 91:8
                         99:9                  symbol 21:21             14 113:19                18 82:16 86:5 88:5
state 6:23 47:2                                                                                  90:3,20 94:20 100:20
 116:11,12              subject 24:17,18,19    system 54:9             testifying 12:11          103:16 107:12 108:3,
                         26:20 41:12 101:22                             26:10                    8,25 109:5 117:11
statement 46:15                                systems 47:11 50:21
                         103:25 104:3 105:25                                                     123:6,16,25 124:12
 79:8 87:6 122:16                                                      testimony 24:21
                         111:6 126:15 130:14                                                     128:13 129:20,22
 135:20                                                                 35:24 47:16 58:6
                         132:22                          T                                       133:8 135:9 139:24
                                                                        59:13 76:24 120:13
statements 88:9                                                         124:2                    140:15 142:12,24
                        submit 15:21
 125:2,13,20 126:12,                           takes 147:7                                       143:4,8 144:22
 21 132:13,23 133:10,   submitted 15:3                                 Texas 7:16                147:24
 25 135:10,14,18,24                            taking 48:10 106:19
                        subpoena 126:21         107:3                  text 62:9,19,23 70:4     times 23:6 123:22
States 7:14              134:17 135:2,19                                74:20 80:18 81:23        126:4 145:13
                         147:8,12              talk 16:5 47:3,9,10,     82:11 126:17 134:11,
stay 26:23 103:25                               15,19 59:12,14 60:9     19,22                   title 129:3
                        subsequently            62:5 83:25 117:21
stayed 77:8                                                            texts 107:14             titles 21:4 22:17
                         122:22
stays 26:20                                    talked 20:15,16
                        subsidiary 22:2                                Thanksgiving 38:7        today 9:21 10:22
                                                23:12 60:12 62:6
steno 7:18                                                              60:13 90:24              12:8,11 31:9 47:16
                        substance 15:11         98:16
                                                                                                 48:10,14 84:17
stenographer 11:4        32:6 44:25 45:10      talking 13:10,11 73:3   theme 99:8                127:19
 16:10 57:8 69:2 82:8    50:4 96:6
                                               Tara 68:13 81:13,24     thing 31:8 103:11        today's 7:9 9:16
 96:9,12,16 111:22
                        substances 44:24        82:5,14,15 83:17,20,    104:15 113:10 120:8      10:24 11:8
 116:8 136:4 137:10
                                                22                      140:9
 142:15 143:24          suffered 46:6                                                           told 25:24 34:16
                                               Tara's 71:10 80:20      things 16:3 24:17         37:8,20 57:4,23
stenographic 50:25      sufficient 52:6                                 26:21 61:4 64:2
                                                81:3,10 83:19 86:6,                              66:12,15,17 74:23
stepped 50:20           suggest 61:16           19 87:2                 99:12 106:3 128:5        86:19 100:22 120:11
                         102:19                                                                  133:23
steps 42:21 43:4                               technical 50:24         thinking 46:23



                                TSG Reporting - Worldwide· · 877-702-9580

                                                                                                Appx. 01637
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 54 of 200 PageID 31207
                                                                                           Index: tomorrow..Ziehl
tomorrow 103:5,13       typed 122:20            vehicles 16:19 17:9     work 39:6 71:10
 147:15                                                                  82:6,10,15,23 128:22
                        typical 46:5            versus 72:24
top 63:14 101:18                                                        work-around 53:2,7,
                                                video 6:19
 113:7 115:21,22                                                         23 54:22 61:2,12,25
                                     U
 122:14                                         video-recorded 7:8
                                                                        worked 69:7
topic 107:19 118:10     UCC 74:19,23 124:25     view 102:17
                                                                        working 53:22
 119:13                  125:12,19 126:7        viewed 32:23             119:16 120:19 121:2
touch 16:11              136:6                                           123:7
                                                vindictive 90:21
trade 53:23 54:4,7      ultimate 28:25           91:5                   works 40:16 54:14,
 89:11                  ultimately 141:4                                 18,20 61:20 83:20
                                                violating 63:4           92:9
trader 40:15            unawareness 52:8        virtually 21:10         world 36:13
trades 38:21 42:5,14    underlying 44:7
 50:5,8 53:3,7 54:9,     51:25                                          worse 90:19
                                                            W
 10,24 55:11,15,22
                        understand 10:21,                               wrapped 101:16
 56:16 57:2 58:17,22
 60:17 61:18,24 89:9,    24 11:7 12:14 19:15    Wait 7:20               write 60:23 63:2
 11,17,19,23 101:20      25:3 27:7 51:13 60:6
                         70:13 73:24 76:18
                                                waited 91:2             writes 113:8
trading 49:13 52:8       87:22 115:14 125:8     waived 116:11
 72:24
                                                                        writing 44:6 103:8
                        understanding           wanted 49:19 55:14,     writings 44:13,15
transactions 42:19,      13:5,8 29:8,10,20       21 56:15 57:2,13        45:4
 24 43:9,10 45:23        30:5,9 34:21 39:22      61:21,23 74:24 76:3
 52:19 57:13 60:10       41:14 58:21 78:19       90:5 91:16 92:14       written 37:10,17,18
 111:18                  79:12,13,17,22,25       101:23 119:15,22        44:9
transcend 99:12          84:18,24 88:17 92:4     125:12,19              wrong 99:20
                         97:18 102:12 137:7
transcript 13:24         143:20                 warning 62:25 63:19     wrote 51:17,25 53:5,
                                                 64:9                    22 64:8 112:21 113:3
transfer 102:7,9,24     understood 42:3
 104:7                   70:2 73:8              warnings 64:12
                                                Waterhouse 146:8,9                Y
transferred 75:18       unfounded 63:17
transition 50:12 56:2   unhighlight 49:21       week 69:17 95:5
                                                                        year 69:18 123:20,21
 63:8 72:7 74:12                                weeks 25:25 74:16        126:5 142:4 145:18
                        United 7:14
transitioned 78:10                               112:3
                        unpaid 77:8                                     years 34:22 41:17
trial 112:22 113:18                             withdraw 33:17 34:7      53:20 69:25 72:12
                        untenable 101:15,17      38:4 98:5,11 106:10,    73:25 88:16 142:5
TRO 15:13,16,23                                  14                      144:10,11
 16:6 83:25 93:4,15,    untrue 87:6
 18 110:11 111:2        unusual 52:12           withdrawn 15:10
 113:13 114:18 125:5                             16:24 28:4 34:13                 Z
 126:15 127:25 128:2    up-front 101:23          39:20,21 44:14 45:20
                                                 52:17 54:16 55:13      Ziehl 8:14
true 19:22 89:21        upgraded 73:24
                                                 66:20 70:23 71:16
trust 71:10,11          urgency 90:24            72:15 76:19 78:8
                                                 80:5 82:14 86:12
TSG 6:9                                          101:10 105:10 106:8
                                     V
turn 50:22                                       129:6 143:25

tweak 55:6              validity 6:19           woman 128:17

twisted 26:10           variety 126:6           word 25:4

                        vast 123:7              words 122:18



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                Appx. 01638
Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24   Page 55 of 200 PageID 31208




                            EXHIBIT 96




                                                                    Appx. 01639
  Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24   Page 56 of 200 PageID 31209
                                                                            Page 103
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021

∑2∑∑∑∑IN THE UNITED STATES BANKRUPTCY COURT

∑3∑∑∑∑∑FOR THE NORTHERN DISTRICT OF TEXAS

∑4∑∑∑∑∑∑∑∑∑∑DALLAS DIVISION

∑5∑∑In re:∑∑∑∑∑∑∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑6∑∑HIGHLAND CAPITAL∑∑∑∑∑∑∑)∑∑Case No.
∑∑∑MANAGEMENT, LP,∑∑∑∑∑∑∑∑) 19-34054 L.P.
∑7∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)∑Chapter 11
∑∑∑∑∑∑∑∑Debtor,∑∑∑∑∑∑∑)
∑8∑∑------------------------------)
∑∑∑HIGHLAND CAPITAL MANAGEMENT,∑)
∑9∑∑LP,∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
10∑∑∑∑∑∑∑Plaintiff,∑∑∑∑∑) Adversary No.
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑) 21-03003-sgi
11∑∑∑∑vs.∑∑∑∑∑∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
12∑∑JAMES D. DONDERO,∑∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
13∑∑∑∑∑∑∑Defendant.∑∑∑∑∑)

14

15∑∑∑∑∑∑∑∑REMOTE DEPOSITION OF

16∑∑∑∑∑∑∑∑∑∑∑JAMES DONDERO

17

18∑∑∑∑∑∑∑∑∑∑Pages 103 - 282

19∑∑∑∑∑∑∑∑∑∑Dallas, Texas

20∑∑∑∑∑∑Friday, 28th day of May, 2021

21

22

23∑∑Job No. 194690

24∑∑Reported by:

25∑∑Daniel J. Skur, Notary Public and CSR


                      TSG Reporting - Worldwide· · 877-702-9580

                                                                      Appx. 01640
                                                                                       YVer1f
      Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                       Page 57 of 200 PageID 31210
                                                               Page 104                                                          Page 105
∑1∑∑∑∑∑∑Dondero - 5-28-2021                                               ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
                                                                          ∑2∑∑A P P E A R A N C E S:
∑2
                                                                          ∑3∑∑∑∑Pachulski Stang Ziehl & Jones
∑3                                                                        ∑∑∑∑∑Attorney(s) for Debtor
∑4                                                                        ∑4∑∑∑∑780 Third Avenue
                                                                          ∑5∑∑∑∑New York, New York 10017
∑5                                                                        ∑6∑∑∑∑BY:∑∑John Morris, Esq.
∑6                                                                        ∑7∑∑∑∑∑∑∑Gregory Demo, Esq.
                                                                          ∑8
∑7
                                                                          ∑∑∑∑∑Stinson
∑8∑∑∑∑∑∑28th day of May, 2021                                             ∑9∑∑∑∑Attorney(s) for The Witness
                                                                          ∑∑∑∑∑3102 Oak Lawn Avenue
∑9∑∑∑∑∑∑9:33 a.m. - 1:59 p.m.
                                                                          10
10                                                                        ∑∑∑∑∑Dallas, Texas 75219
11                                                                        11
                                                                          ∑∑∑∑∑BY:∑∑Deborah Deitsch-Perez
12∑∑∑∑∑Remote Deposition of JAMES DONDERO,                                12
13∑∑located in Dallas, Texas, before Daniel J.                            ∑∑∑∑∑∑∑∑Michael Aigen, Esq.
                                                                          13
14∑∑Skur, Notary Public and Certified Shorthand                           ∑∑∑∑∑∑∑∑Paul Lackey, Esq.
15∑∑Reporter in and for the State of Texas                                14
                                                                          15
16∑∑located in Waxahachie, Texas.
                                                                          ∑∑∑∑∑Sidley Austin
17                                                                        16∑∑∑∑Attorney(s) for The Committee
                                                                          ∑∑∑∑∑2021 McKinney Avenue
18
                                                                          17
19                                                                        ∑∑∑∑∑Dallas, Texas 75201
20                                                                        18
                                                                          ∑∑∑∑∑BY:∑∑Paige Montgomery, Esq.
21                                                                        19
22                                                                        20
                                                                          21∑∑ALSO PRESENT:
23
                                                                          22∑∑∑∑∑∑∑Davor Rukavina, NexPoint
24                                                                        23∑∑∑∑∑∑∑La Asia Canty
                                                                          24
25
                                                                          25

                                                               Page 106                                                          Page 107
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                            ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2                                                                        ∑2∑∑∑∑∑∑∑∑P R O C E E D I N G S
∑3∑∑∑∑∑∑∑IT IS HEREBY STIPULATED AND AGREED                               ∑3∑∑∑∑∑∑∑REMOTE ORAL DEPOSITION OF
∑4∑∑by and between the attorneys for the respective                       ∑4∑∑∑∑∑∑∑∑∑∑JAMES DONDERO
∑5∑∑parties herein, that filing and sealing be and                        ∑5∑∑∑∑∑∑∑(REPORTER NOTE:∑This deposition is
∑6∑∑the same are hereby waived.                                           ∑6∑∑∑∑being conducted remotely in accordance with
∑7∑∑∑∑∑∑∑IT IS FURTHER STIPULATED AND AGREED                              ∑7∑∑∑∑the Current Emergency Order regarding the
∑8∑∑that all objections, except as to the form∑of                         ∑8∑∑∑∑COVID-19 State of Disaster.
∑9∑∑the question, shall be reserved to the                                ∑9∑∑∑∑∑∑∑Today's date is the 28th day of
10∑∑time of the trial.                                                    10∑∑∑∑May, 2021.∑The time is 9:33 a.m. Daylight
11∑∑∑∑∑∑∑IT IS FURTHER STIPULATED AND AGREED                              11∑∑∑∑Savings Time.∑The witness is located in
12∑∑that the within deposition may be sworn to and                        12∑∑∑∑Dallas, Texas.)
13∑∑signed before any officer authorized to                               13∑∑∑∑∑∑∑∑∑∑JAMES DONDERO,
14∑∑administer an oath, with the same force and                           14∑∑having been duly cautioned and sworn to tell
15∑∑effect as if signed and sworn to before the                           15∑∑the truth, the whole truth and nothing but the
16∑∑Court.                                                                16∑∑∑∑∑∑∑truth, testified as follows:
17∑∑∑∑∑∑∑∑∑∑∑∑- oOo -                                                     17∑∑∑∑∑∑∑∑∑∑∑(9:33 A.M.)
18                                                                        18∑∑∑∑∑∑∑∑∑∑∑EXAMINATION
19                                                                        19∑∑BY MR. MORRIS:
20                                                                        20∑∑∑∑Q.∑∑Good morning, Mr. Dondero.
21                                                                        21∑∑∑∑A.∑∑Morning.
22                                                                        22∑∑∑∑Q.∑∑It's John Morris, again, from
23                                                                        23∑∑Pachulski on behalf of the debtor.∑We're here
24                                                                        24∑∑for your deposition today.
25                                                                        25∑∑∑∑∑∑∑Do you understand that?

                                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                        Appx. 01641
                                                                                                                                            YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 58 of 200 PageID 31211
                                                      Page 108                                                          Page 109
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑A.∑∑Yes.                                                   ∑2∑∑BY MR. MORRIS:
∑3∑∑∑∑Q.∑∑Okay.∑We've done this a few times,                     ∑3∑∑∑∑Q.∑∑Is that your signature, sir?
∑4∑∑so I'm going to kind of cut to the chase; but I              ∑4∑∑∑∑A.∑∑I believe that's my assistant on my
∑5∑∑do want to remind you that we're going to be                 ∑5∑∑behalf.
∑6∑∑looking at a number of documents today.                      ∑6∑∑∑∑Q.∑∑Did you authorize --
∑7∑∑∑∑∑∑∑And because of the difficulty                           ∑7∑∑∑∑∑∑∑(Audio distortion.)
∑8∑∑sometimes of doing this on a Zoom or by video,               ∑8∑∑∑∑A.∑∑I'm sorry?
∑9∑∑if, at any time, you believe you need to see                 ∑9∑∑BY MR. MORRIS:
10∑∑other portions of the document, please let me                10∑∑∑∑Q.∑∑I don't want to step on your words.
11∑∑know that.∑Okay?                                             11∑∑∑∑∑∑∑Were you finished with your answer?
12∑∑∑∑A.∑∑Sure.                                                  12∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Yeah.∑Can
13∑∑∑∑Q.∑∑Okay.                                                  13∑∑∑∑you -- yeah, can you ask it again?
14∑∑∑∑∑∑∑MR. MORRIS:∑Can we put up the first                     14∑∑∑∑∑∑∑MR. MORRIS:∑Sure.
15∑∑∑∑exhibit, please?                                           15∑∑BY MR. MORRIS:
16∑∑∑∑∑∑∑(Exhibit 1 introduced.)                                 16∑∑∑∑Q.∑∑Is that your signature, sir?
17∑∑BY MR. MORRIS:                                               17∑∑∑∑A.∑∑Yes, for -- yes.
18∑∑∑∑Q.∑∑Okay.∑This is a document that's got                    18∑∑∑∑∑∑∑MR. MORRIS:∑Can we go back to the
19∑∑a title, "Promissory Note."∑It's dated                       19∑∑∑∑top of the document?
20∑∑February 2, 2018, and the amount of the note is              20∑∑BY MR. MORRIS:
21∑∑$3,825,000.                                                  21∑∑∑∑Q.∑∑And was this document signed on or
22∑∑∑∑∑∑∑Do you see that?                                        22∑∑around February 2, 2018?
23∑∑∑∑A.∑∑Yes.                                                   23∑∑∑∑A.∑∑Yes.
24∑∑∑∑∑∑∑MR. MORRIS:∑Can we just go to the                       24∑∑∑∑Q.∑∑Did you receive $3,825,000 from the
25∑∑∑∑signature line, please?                                    25∑∑debtor on or around February 2nd, 2018?
                                                      Page 110                                                          Page 111
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑A.∑∑I -- I believe so.∑I don't have                        ∑2∑∑∑∑Q.∑∑Is it fair to say that under this
∑3∑∑direct awareness, but I believe so.                          ∑3∑∑demand note, you promised to pay Highland
∑4∑∑∑∑Q.∑∑Okay.∑And did you sign this                            ∑4∑∑Capital Management, L.P., the sum of
∑5∑∑promissory note in exchange for that cash that               ∑5∑∑$3,825,000?
∑6∑∑you believe you received?                                    ∑6∑∑∑∑A.∑∑Yes.
∑7∑∑∑∑A.∑∑Yes.                                                   ∑7∑∑∑∑Q.∑∑Okay.∑And at the time that you
∑8∑∑∑∑Q.∑∑Okay.∑Are you familiar with the                        ∑8∑∑signed this document on February 2nd, 2018, did
∑9∑∑term "demand note"?                                          ∑9∑∑you intend to repay to Highland Capital
10∑∑∑∑A.∑∑Yes.                                                   10∑∑Management, L.P., $3,825,000 plus interest?
11∑∑∑∑Q.∑∑Can you describe for me your                           11∑∑∑∑A.∑∑Yes.
12∑∑understanding of what a demand note is?                      12∑∑∑∑Q.∑∑And at the time you signed this
13∑∑∑∑A.∑∑It's a note that's -- maturity is                      13∑∑document, did you intend to repay the principal
14∑∑defined by the term "demand" versus a -- a                   14∑∑amount plus interest upon demand by HCMLP?
15∑∑stipulated date.                                             15∑∑∑∑A.∑∑Whatever was appropriate to pay,
16∑∑∑∑Q.∑∑And if we look down to paragraph 2,                    16∑∑what hadn't been paid if it -- if it had --
17∑∑at the time that you signed this document on                 17∑∑yeah, if it had -- whatever the terms are, the
18∑∑February 2, 2018, did you understand, based on               18∑∑terms are.
19∑∑paragraph 2, that you were signing a demand                  19∑∑∑∑Q.∑∑Okay.∑Did you read the promissory
20∑∑note, as you've characterized it?                            20∑∑note before you signed it?
21∑∑∑∑A.∑∑Yes.                                                   21∑∑∑∑A.∑∑No.
22∑∑∑∑Q.∑∑Okay.                                                  22∑∑∑∑Q.∑∑Is there anything about the
23∑∑∑∑∑∑∑MR. MORRIS:∑Can we go back to the                       23∑∑promissory note today that you don't
24∑∑∑∑top of the document?                                       24∑∑understand?
25∑∑BY MR. MORRIS:                                               25∑∑∑∑A.∑∑I haven't looked at it closely.∑I'm

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01642
                                                                                                                                   YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 59 of 200 PageID 31212
                                                       Page 112                                                             Page 113
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑aware of it but -- you know, but I'm not aware.               ∑2∑∑BY MR. MORRIS:
∑3∑∑I haven't looked at it closely.                               ∑3∑∑∑∑Q.∑∑Okay.∑You're not aware of anything;
∑4∑∑∑∑Q.∑∑Well, but you do know that the                          ∑4∑∑is that fair?
∑5∑∑debtor has sued you to collect on this note,                  ∑5∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no
∑6∑∑right?                                                        ∑6∑∑∑∑foundation.
∑7∑∑∑∑A.∑∑Yes.                                                    ∑7∑∑∑∑A.∑∑No.∑I'm saying I can't give an
∑8∑∑∑∑Q.∑∑Okay.∑And can you identify anything                     ∑8∑∑opinion.
∑9∑∑in this note today that you don't understand?                 ∑9∑∑BY MR. MORRIS:
10∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                         10∑∑∑∑Q.∑∑All right.∑I'll try one more time a
11∑∑∑∑form.                                                       11∑∑slightly different way.
12∑∑∑∑A.∑∑Again, I don't want to make any                         12∑∑∑∑∑∑∑Can you identify any language in
13∑∑legal interpretation or analysis of the                       13∑∑this promissory note that you, as the maker of
14∑∑contract.                                                     14∑∑the note and as a layperson, as a matter of
15∑∑BY MR. MORRIS:                                                15∑∑fact, do not understand?
16∑∑∑∑Q.∑∑And I appreciate that.                                  16∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Objection, no
17∑∑∑∑∑∑∑And to be clear, I'm not asking you                      17∑∑∑∑foundation.
18∑∑for any legal opinion or any legal analysis.                  18∑∑∑∑A.∑∑I -- I don't have -- I haven't
19∑∑I'm asking for facts.                                         19∑∑reviewed it.∑I don't have a comment.
20∑∑∑∑∑∑∑As a factual matter, as a layperson,                     20∑∑BY MR. MORRIS:
21∑∑is there anything about this note today that                  21∑∑∑∑Q.∑∑At the time that you signed this,
22∑∑you do not understand?                                        22∑∑did you believe that this note reflected all of
23∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no                            23∑∑the terms and conditions with respect to the
24∑∑∑∑foundation.                                                 24∑∑subject matter of the note?
25∑∑∑∑A.∑∑And I can't say.                                        25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no
                                                       Page 114                                                             Page 115
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑foundation.                                                 ∑2∑∑∑∑A.∑∑Yes.
∑3∑∑∑∑A.∑∑Yeah, I believe largely at the time,                    ∑3∑∑∑∑Q.∑∑And at the time that you signed the
∑4∑∑yes.                                                          ∑4∑∑note, the Redeemer Committee had not yet
∑5∑∑BY MR. MORRIS:                                                ∑5∑∑obtained a judgment against Highland Capital
∑6∑∑∑∑Q.∑∑In fact, if we go to paragraph 8,                       ∑6∑∑Management or anybody else; is that -- any
∑7∑∑there's -- the last sentence is what's commonly               ∑7∑∑other Highland entity; is that right?
∑8∑∑referred to as an integration clause.                         ∑8∑∑∑∑A.∑∑I -- and I don't recall the -- the
∑9∑∑∑∑∑∑∑Do you see that last sentence of                         ∑9∑∑timing --
10∑∑paragraph 8?                                                  10∑∑∑∑Q.∑∑Okay.
11∑∑∑∑A.∑∑Yes.                                                    11∑∑∑∑A.∑∑-- of their arbitration award or...
12∑∑∑∑Q.∑∑And did you agree with the debtor                       12∑∑∑∑Q.∑∑Let me ask you to just go back in
13∑∑that the terms and provisions of the paragraph                13∑∑time, February of 2018.∑Do you recall having
14∑∑control and supersede every other provision of                14∑∑any concern in February 2018 that you might
15∑∑all other agreements between the payee and the                15∑∑lose control of Highland?
16∑∑maker in conflict herewith?                                   16∑∑∑∑A.∑∑No, I don't recall.
17∑∑∑∑A.∑∑I see it.∑I mean, I read it.∑But                        17∑∑∑∑Q.∑∑While you were the CEO, did
18∑∑what's -- what's the question?                                18∑∑Highland -- withdrawn.
19∑∑∑∑Q.∑∑Withdrawn.∑It's okay.∑It speaks                         19∑∑∑∑∑∑∑I'm going to refer to Highland
20∑∑for itself.                                                   20∑∑Capital Management, L.P., variously today as
21∑∑∑∑∑∑∑You were the CEO of Highland at the                      21∑∑either the debtor, Highland, or HCMLP; is that
22∑∑time that you signed the note, correct?                       22∑∑fair?
23∑∑∑∑A.∑∑Yes.                                                    23∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑John, I think
24∑∑∑∑Q.∑∑And you controlled Highland at that                     24∑∑∑∑it's a little confusing if you do that. I
25∑∑time; is that fair?                                           25∑∑∑∑mean, if you could refer to the

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                   Appx. 01643
                                                                                                                                       YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 60 of 200 PageID 31213
                                                      Page 116                                                           Page 117
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑post-bankruptcy entity as "the debtor" and,                ∑2∑∑∑∑Q.∑∑Was Frank Waterhouse responsible for
∑3∑∑∑∑when you're talking about prebankruptcy,                   ∑3∑∑preparing the Monthly Operating Reports?
∑4∑∑∑∑call it "Highland" or "HCM"?                               ∑4∑∑∑∑A.∑∑He was our CFO.∑So everything,
∑5∑∑∑∑∑∑∑MR. MORRIS:∑Okay.                                       ∑5∑∑ultimately, in accounting reported up through
∑6∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑I -- I think                         ∑6∑∑him, but I don't know his involvement in that
∑7∑∑∑∑that would probably be clearer.                            ∑7∑∑report.
∑8∑∑∑∑∑∑∑MR. MORRIS:∑That's fair.∑I'll try                       ∑8∑∑∑∑Q.∑∑Can you identify any person who was
∑9∑∑∑∑and do just that.∑Thank you very much.                     ∑9∑∑responsible for preparing the Monthly Operating
10∑∑BY MR. MORRIS:                                               10∑∑Reports for HCMLP, while you were the CEO?
11∑∑∑∑Q.∑∑While you were the CEO of HCMLP, did                   11∑∑∑∑A.∑∑No.
12∑∑HCMLP, prepare, in the ordinary course of                    12∑∑∑∑Q.∑∑Do you know what the Monthly
13∑∑business, a document called a "Monthly                       13∑∑Operating Reports were used for?
14∑∑Reporting Package"?                                          14∑∑∑∑∑∑∑Withdrawn.
15∑∑∑∑A.∑∑I don't know -- I don't know the                       15∑∑∑∑∑∑∑What was the purpose of preparing
16∑∑name -- I don't know that name in particular,                16∑∑Monthly Operating Reports, if you know?
17∑∑but we did do monthly financials, I believe.                 17∑∑∑∑A.∑∑I don't know.
18∑∑∑∑Q.∑∑Okay.∑And did you personally review                    18∑∑∑∑Q.∑∑Were they delivered to you each
19∑∑the monthly financials each month that they                  19∑∑month, even if you didn't read them?
20∑∑were prepared?                                               20∑∑∑∑A.∑∑I don't believe so.∑Not physically,
21∑∑∑∑A.∑∑No.                                                    21∑∑that I can remember.∑If there was an email, I
22∑∑∑∑Q.∑∑Do you know who was responsible for                    22∑∑don't remember.
23∑∑preparing the monthly financials?                            23∑∑∑∑Q.∑∑Did you ever discuss any of the
24∑∑∑∑A.∑∑It would have been in accounting. I                    24∑∑Monthly Operating Reports with Mr. Waterhouse?
25∑∑don't know who in accounting.                                25∑∑∑∑A.∑∑I can't -- I can't recall.
                                                      Page 118                                                           Page 119
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑I mean, do you                       ∑2∑∑Management?
∑3∑∑∑∑mean the report specifically or Highland's                 ∑3∑∑∑∑A.∑∑It says "Operating Results."∑I -- I
∑4∑∑∑∑financials generally?                                      ∑4∑∑have no recollection of seeing this cover sheet
∑5∑∑∑∑∑∑∑MR. MORRIS:∑The Monthly Operating                       ∑5∑∑before.
∑6∑∑∑∑Reports that we're talking about.                          ∑6∑∑∑∑Q.∑∑Okay.
∑7∑∑∑∑∑∑∑And I would appreciate it, Deborah,                     ∑7∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to the second
∑8∑∑∑∑if you have an objection, just say "Object                 ∑8∑∑∑∑page, please?
∑9∑∑∑∑to the form of the question"; and I'll do                  ∑9∑∑∑∑∑∑∑Stop right there.
10∑∑∑∑the best I can to -- to try to understand                  10∑∑BY MR. MORRIS:
11∑∑∑∑what you're saying, but I'd prefer no                      11∑∑∑∑Q.∑∑This is the second page of the
12∑∑∑∑speaking objections.                                       12∑∑Operating Results for February 2018, and it's
13∑∑BY MR. MORRIS:                                               13∑∑headed "Significant Items Impacting HCMLP's
14∑∑∑∑Q.∑∑Do you recall ever speaking with                       14∑∑Balance Sheet."
15∑∑anybody in accounting with respect to any                    15∑∑∑∑∑∑∑Do you see that?
16∑∑Monthly Operating Report that they prepared?                 16∑∑∑∑A.∑∑Yes.
17∑∑∑∑A.∑∑I don't recall.                                        17∑∑∑∑Q.∑∑Do you know whether the accounting
18∑∑∑∑Q.∑∑Okay.                                                  18∑∑department was charged with the responsibility
19∑∑∑∑∑∑∑MR. MORRIS:∑Can we put up Exhibit                       19∑∑of identifying on a monthly basis significant
20∑∑∑∑Number 2, please?                                          20∑∑items that would impact Highland's balance
21∑∑∑∑∑∑∑(Exhibit 2 introduced.)                                 21∑∑sheet?
22∑∑BY MR. MORRIS:                                               22∑∑∑∑A.∑∑I have no particular awareness.
23∑∑∑∑Q.∑∑Looking at the first page, sir, does                   23∑∑∑∑Q.∑∑Okay.∑Do you see at the bottom
24∑∑this appear to be what we've been describing as              24∑∑under the title "Other," it's $3.8 million and
25∑∑a Monthly Operating Report for Highland Capital              25∑∑it's referred to as "Partner Loan"?

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01644
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 61 of 200 PageID 31214
                                                      Page 120                                                            Page 121
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑A.∑∑Yes.                                                   ∑2∑∑∑∑Q.∑∑Okay.∑Later in the year, you signed
∑3∑∑∑∑Q.∑∑Do you have an understanding that                      ∑3∑∑two more promissory notes in favor of Highland;
∑4∑∑that 3.8 million-dollar partner loan refers to               ∑4∑∑is that right?
∑5∑∑what we just looked at as Exhibit 1, the                     ∑5∑∑∑∑A.∑∑I -- I believe so.∑Yeah.
∑6∑∑promissory note?                                             ∑6∑∑∑∑∑∑∑MR. MORRIS:∑Can you put up
∑7∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no                           ∑7∑∑∑∑Exhibit 3, please?
∑8∑∑∑∑foundation.                                                ∑8∑∑∑∑∑∑∑(Exhibit 3 introduced.)
∑9∑∑∑∑A.∑∑I have -- I have no particular                         ∑9∑∑BY MR. MORRIS:
10∑∑awareness other than the amounts are similar.                10∑∑∑∑Q.∑∑And can we go to the signature line?
11∑∑BY MR. MORRIS:                                               11∑∑∑∑∑∑∑(Scrolling.)
12∑∑∑∑Q.∑∑And -- and do you know whether                         12∑∑BY MR. MORRIS:
13∑∑Highland recorded the promissory note as an                  13∑∑∑∑Q.∑∑Is that your signature, sir?
14∑∑asset on its balance sheet as of February 2018?              14∑∑∑∑A.∑∑Yes.
15∑∑∑∑A.∑∑I -- I don't know.                                     15∑∑∑∑∑∑∑MR. MORRIS:∑Go to the top of the
16∑∑∑∑Q.∑∑So, you signed a promissory note for                   16∑∑∑∑page.
17∑∑$3.8 million in February 2018; and as the CEO,               17∑∑BY MR. MORRIS:
18∑∑you don't know if Highland carried that                      18∑∑∑∑Q.∑∑Did you sign a promissory note on or
19∑∑promissory note on its balance sheet.∑Do I                   19∑∑about August 1st, 2018, in the amount of
20∑∑have that right?                                             20∑∑$2.5 million in favor of Highland?
21∑∑∑∑A.∑∑I'm saying I don't have particular                     21∑∑∑∑A.∑∑Yes.
22∑∑knowledge.∑I -- I am a CPA and GAAP accounting               22∑∑∑∑Q.∑∑Did you receive from Highland
23∑∑would suggest that it was, but I don't have --               23∑∑Capital Management, L.P., $2.5 million on or
24∑∑I don't have particular knowledge on how it was              24∑∑about August 1st, 2018?
25∑∑accounted for.                                               25∑∑∑∑A.∑∑I believe so.
                                                      Page 122                                                            Page 123
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑And did you, in fact, sign this                        ∑2∑∑understanding as the person who signed the
∑3∑∑promissory note in exchange for that                         ∑3∑∑note.∑At the time you signed it, at that time,
∑4∑∑$2.5 million?                                                ∑4∑∑did you understand that there were any
∑5∑∑∑∑A.∑∑Yes.                                                   ∑5∑∑conditions placed on Highland's ability to make
∑6∑∑∑∑∑∑∑MR. MORRIS:∑Can we go down to                           ∑6∑∑a demand?
∑7∑∑∑∑paragraph 2, please?                                       ∑7∑∑∑∑A.∑∑I don't know.
∑8∑∑∑∑∑∑∑(Scrolling.)                                            ∑8∑∑∑∑Q.∑∑Okay.∑Did you understand that under
∑9∑∑BY MR. MORRIS:                                               ∑9∑∑these demand notes, that if you defaulted, all
10∑∑∑∑Q.∑∑Looking at paragraph 2, would you                      10∑∑amounts that were due and payable would
11∑∑characterize this as a demand note, using the                11∑∑accelerate?
12∑∑understanding that you described earlier today?              12∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
13∑∑∑∑A.∑∑Yes.                                                   13∑∑∑∑form.
14∑∑∑∑Q.∑∑And -- and this note, like the                         14∑∑∑∑A.∑∑I don't know.
15∑∑other, because they're demand notes, there's no              15∑∑BY MR. MORRIS:
16∑∑conditions for -- for the demand, is that                    16∑∑∑∑Q.∑∑Did you read this -- did you read
17∑∑right, at least as drafted.                                  17∑∑this promissory note before you signed it?
18∑∑∑∑∑∑∑Withdrawn.∑That wasn't a great                          18∑∑∑∑A.∑∑No.
19∑∑∑∑question.                                                  19∑∑∑∑Q.∑∑Do you know whose idea it was to
20∑∑∑∑∑∑∑Were these unconditional demand                         20∑∑give you the principal amount of these notes
21∑∑∑∑notes, these two documents that we've                      21∑∑and for you to execute the promissory notes in
22∑∑∑∑looked at?                                                 22∑∑exchange?
23∑∑∑∑A.∑∑I -- I don't want to make a legal                      23∑∑∑∑A.∑∑I -- again, I think it's proper
24∑∑interpretation.                                              24∑∑accounting consistent with what we've done
25∑∑∑∑Q.∑∑I'm just asking for your                               25∑∑with -- we've done historically -- or Highland

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01645
                                                                                                                                     YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 62 of 200 PageID 31215
                                                       Page 124                                                            Page 125
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑did historically and what Highland did                        ∑2∑∑notes on your behalf?
∑3∑∑historically for other employees.                             ∑3∑∑∑∑A.∑∑I -- that -- sometimes she signs
∑4∑∑∑∑Q.∑∑Okay.∑I'm not asking about that.                        ∑4∑∑stuff.∑I don't know on this.∑I'm -- I'm not
∑5∑∑I'm asking just about you and the two notes                   ∑5∑∑denying that it's a bona fide -- signed by me.
∑6∑∑that we've looked at so far:∑Who made the                     ∑6∑∑Or if it wasn't signed by me, it was --
∑7∑∑decision at the respective moments in time to                 ∑7∑∑somebody who was authorized signed it on my
∑8∑∑transfer to you the principal amount of the                   ∑8∑∑behalf.
∑9∑∑notes and for you to execute the notes?                       ∑9∑∑∑∑Q.∑∑Okay.∑I appreciate that.∑Thank
10∑∑∑∑A.∑∑I believe it would have come from                       10∑∑you.
11∑∑accounting.                                                   11∑∑∑∑∑∑∑Is there anything about --
12∑∑∑∑Q.∑∑Who decided -- who decided the                          12∑∑withdrawn.
13∑∑principal amount of the note?                                 13∑∑∑∑∑∑∑Was there anything about this
14∑∑∑∑A.∑∑I don't know.∑It would -- I don't                       14∑∑promissory note that you didn't understand at
15∑∑know.                                                         15∑∑the time that either you signed it or it was
16∑∑∑∑Q.∑∑Did you ask to borrow money?                            16∑∑signed on your behalf?
17∑∑∑∑∑∑∑Did you ask the folks in accounting                      17∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no
18∑∑for a loan from Highland in the principal                     18∑∑∑∑foundation.
19∑∑amount of the notes and request that they                     19∑∑∑∑A.∑∑Again, I didn't evaluate it
20∑∑document it accordingly?                                      20∑∑carefully, and I didn't actually even read it.
21∑∑∑∑A.∑∑No.                                                     21∑∑BY MR. MORRIS:
22∑∑∑∑Q.∑∑Who was your assistant at this time?                    22∑∑∑∑Q.∑∑Okay.∑As you sit here today, can
23∑∑∑∑A.∑∑My accounting assistant at this time                    23∑∑you identify anything in this document that you
24∑∑was Melissa Schroth.                                          24∑∑do not understand?
25∑∑∑∑Q.∑∑And was she authorized to sign these                    25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no
                                                       Page 126                                                            Page 127
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑foundation.                                                 ∑2∑∑∑∑∑∑∑(Exhibit 4 introduced.)
∑3∑∑∑∑A.∑∑I -- I don't want to make a legal                       ∑3∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to the
∑4∑∑interpretation on a legal document.                           ∑4∑∑∑∑signature line when you get there?
∑5∑∑BY MR. MORRIS:                                                ∑5∑∑BY MR. MORRIS:
∑6∑∑∑∑Q.∑∑I appreciate that, but I have no                        ∑6∑∑∑∑Q.∑∑Is that your signature, sir?
∑7∑∑ability to ask any follow-up questions.∑So let                ∑7∑∑∑∑A.∑∑Yes.
∑8∑∑me ask it just a different way:∑Is there                      ∑8∑∑∑∑Q.∑∑And did you sign this document or --
∑9∑∑anything about this document that you don't                   ∑9∑∑or -- let me ask two questions first.∑Did you
10∑∑understand today?                                             10∑∑personally sign this document?
11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no                            11∑∑∑∑A.∑∑And again, it was either me or
12∑∑∑∑foundation.                                                 12∑∑someone with my approval, but that doesn't look
13∑∑BY MR. MORRIS:                                                13∑∑like my typical signature, but it's close.
14∑∑∑∑Q.∑∑You can answer.                                         14∑∑∑∑Q.∑∑Okay.∑And whoever signed it had the
15∑∑∑∑A.∑∑I don't know.                                           15∑∑authority from you to sign on your behalf; is
16∑∑∑∑Q.∑∑Okay.∑Do you understand that if                         16∑∑that fair?
17∑∑there was something that -- that you did not                  17∑∑∑∑A.∑∑Yes.
18∑∑understand, you have an obligation to tell me                 18∑∑∑∑Q.∑∑Okay.
19∑∑that right now?                                               19∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to the top of
20∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no                            20∑∑∑∑the page, please?
21∑∑∑∑foundation.                                                 21∑∑BY MR. MORRIS:
22∑∑∑∑A.∑∑I -- I -- the answer is the same. I                     22∑∑∑∑Q.∑∑And did you or somebody acting on
23∑∑don't know.                                                   23∑∑your behalf sign this promissory note on
24∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to Exhibit                         24∑∑August 13, 2018, in the amount of $2.5 million?
25∑∑∑∑Number 4, please?                                           25∑∑∑∑A.∑∑Yes.

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01646
                                                                                                                                      YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 63 of 200 PageID 31216
                                                      Page 128                                                         Page 129
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to                                ∑2∑∑∑∑A.∑∑That it was structured -- no. I
∑3∑∑∑∑paragraph 2, please?                                       ∑3∑∑think what I've testified or tried to testify
∑4∑∑BY MR. MORRIS:                                               ∑4∑∑to is that they are demand notes or they're
∑5∑∑∑∑Q.∑∑Looking at paragraph 2 and the term                    ∑5∑∑written as demand notes.∑I didn't read them or
∑6∑∑contained therein, would you agree that this is              ∑6∑∑pay attention at the time to the structure of
∑7∑∑a demand note, using the definition that you                 ∑7∑∑the note.
∑8∑∑supplied earlier today?                                      ∑8∑∑∑∑Q.∑∑Okay.∑And as demand notes, you
∑9∑∑∑∑A.∑∑Yes.                                                   ∑9∑∑understood that any unpaid principal and
10∑∑∑∑Q.∑∑At the time that this note was                         10∑∑interest would be due upon demand, correct?
11∑∑signed on your behalf, did you intend to comply              11∑∑∑∑A.∑∑Again, I don't want to make -- I
12∑∑with the terms of this note?                                 12∑∑don't want to make -- I don't want to affirm
13∑∑∑∑A.∑∑Yes.                                                   13∑∑that statement.∑I would say I don't know
14∑∑∑∑Q.∑∑At the time that this note was                         14∑∑because I don't want to -- I don't know the
15∑∑signed on your behalf, did you intend to pay                 15∑∑rest of the context of the rest of the note and
16∑∑all unpaid principal and accrued, but unpaid,                16∑∑how it all interplays.
17∑∑interest upon demand of the payee?                           17∑∑∑∑Q.∑∑All right.∑Well, I'm happy to --
18∑∑∑∑A.∑∑Let me say I -- I expected to honor                    18∑∑to -- it's a very short document, so we can
19∑∑the agreement.∑I don't know if I can answer                  19∑∑look at it for as long as you want, but I
20∑∑that with regard to that one term.                           20∑∑really need to know what -- what you, as the
21∑∑∑∑Q.∑∑Well, I do just want to make sure                      21∑∑maker, understood when you signed the note.∑So
22∑∑that -- withdrawn.                                           22∑∑I'm going to ask a very simple question, and I
23∑∑∑∑∑∑∑You understood at the time you                          23∑∑encourage you to -- to ask to see whatever
24∑∑signed this document, or it was signed on your               24∑∑portions of the document you want, okay?
25∑∑behalf, that it was a demand note, correct?                  25∑∑∑∑∑∑∑When these three notes were signed
                                                      Page 130                                                         Page 131
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑by you or signed by someone you authorized to                ∑2∑∑BY MR. MORRIS:
∑3∑∑sign, what did you understand the payment terms              ∑3∑∑∑∑Q.∑∑Do you see under Significant Items
∑4∑∑to be?                                                       ∑4∑∑Impacting Highland's bank -- balance sheet for
∑5∑∑∑∑A.∑∑I -- I didn't.∑I didn't have an                        ∑5∑∑August 2018 at the bottom, there's a reference
∑6∑∑understanding at the time.                                   ∑6∑∑to $5 million in "partner loan."∑Do you see
∑7∑∑∑∑Q.∑∑So -- but -- but you would agree                       ∑7∑∑that?
∑8∑∑that your intention was to comply with the                   ∑8∑∑∑∑A.∑∑Yes.
∑9∑∑terms of the note; is that fair?                             ∑9∑∑∑∑Q.∑∑Do you have an understanding as to
10∑∑∑∑A.∑∑In aggregate, yes.                                     10∑∑whether or not that refers to the two
11∑∑∑∑Q.∑∑Okay.                                                  11∑∑2.5 million-dollar notes that we just looked at
12∑∑∑∑∑∑∑MR. MORRIS:∑Go to Exhibit 5,                            12∑∑that were signed in August 2018?
13∑∑∑∑please.                                                    13∑∑∑∑A.∑∑I don't know.
14∑∑∑∑∑∑∑(Exhibit 5 introduced.)                                 14∑∑∑∑Q.∑∑Do you have any recollection at
15∑∑BY MR. MORRIS:                                               15∑∑all or -- withdrawn.
16∑∑∑∑Q.∑∑Is it your practice to sign                            16∑∑∑∑∑∑∑Were you personally referred to as a
17∑∑documents or to have people sign documents on                17∑∑partner of Highland in August 2018?
18∑∑your behalf that you haven't read?                           18∑∑∑∑A.∑∑I believe so.
19∑∑∑∑A.∑∑Yes.                                                   19∑∑∑∑Q.∑∑Are you aware of any partner loans
20∑∑∑∑Q.∑∑This is a document that's entitled                     20∑∑that were made by Highland in August 2018 other
21∑∑"Operating Results" for August 2018.∑Do you                  21∑∑than the two loans that we just looked at?
22∑∑see that?                                                    22∑∑∑∑A.∑∑I don't know.
23∑∑∑∑A.∑∑Yes.                                                   23∑∑∑∑Q.∑∑You're not aware of any; is that
24∑∑∑∑∑∑∑MR. MORRIS:∑And if we could just go                     24∑∑fair?
25∑∑∑∑to the second page.                                        25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                              Appx. 01647
                                                                                                                                  YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 64 of 200 PageID 31217
                                                      Page 132                                                          Page 133
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑foundation.                                                ∑2∑∑a recollection.
∑3∑∑∑∑A.∑∑I don't know.                                          ∑3∑∑∑∑Q.∑∑All right.∑Do you understand that
∑4∑∑BY MR. MORRIS:                                               ∑4∑∑in December 2020, the debtor made a demand for
∑5∑∑∑∑Q.∑∑There came a time when the debtor                      ∑5∑∑payment of all unpaid principal and interest
∑6∑∑made demand on these three notes, right?                     ∑6∑∑under the three notes that we just looked at,
∑7∑∑∑∑A.∑∑I don't know.∑I believe -- I don't                     ∑7∑∑even if you don't remember this particular
∑8∑∑know specifically, but I believe so.                         ∑8∑∑letter?
∑9∑∑∑∑∑∑∑MR. MORRIS:∑Can we put up                               ∑9∑∑∑∑A.∑∑I'm sorry.∑What was -- yeah, I
10∑∑∑∑Exhibit 6, please?                                         10∑∑accept the letter, and I'll accept that it was
11∑∑∑∑∑∑∑(Exhibit 6 introduced.)                                 11∑∑delivered.
12∑∑BY MR. MORRIS:                                               12∑∑∑∑∑∑∑What -- what's your question,
13∑∑∑∑Q.∑∑Do you see this is a -- it's a                         13∑∑please?
14∑∑letter dated December 3rd, and it's addressed                14∑∑∑∑Q.∑∑I'm trying to just get -- get your
15∑∑to you.                                                      15∑∑understanding.
16∑∑∑∑∑∑∑And if we scroll down a little bit,                     16∑∑∑∑∑∑∑And I think you testified that you
17∑∑it's signed by Mr. Seery as the CEO and CRO of               17∑∑don't recall seeing this letter.∑Do I have
18∑∑Highland Capital Management.                                 18∑∑that right?
19∑∑∑∑∑∑∑Do you see that?                                        19∑∑∑∑A.∑∑That's correct.
20∑∑∑∑A.∑∑Yes.                                                   20∑∑∑∑Q.∑∑Okay.∑So, putting the letter to the
21∑∑∑∑Q.∑∑Do you recall on or around                             21∑∑side, did you become aware in December 2020
22∑∑December 3rd, 2020, the debtor made a demand                 22∑∑that the debtor had demanded that you pay all
23∑∑for all outstanding principal and interest due               23∑∑unpaid principal and interest due under the
24∑∑under the three notes that we just looked at?                24∑∑three promissory notes that we just looked at?
25∑∑∑∑A.∑∑I -- I see the letter.∑I don't have                    25∑∑∑∑A.∑∑Again, just generally.
                                                      Page 134                                                          Page 135
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑Did you make any payment to the                        ∑2∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑3∑∑debtor in response to that demand?                           ∑3∑∑∑∑form.
∑4∑∑∑∑A.∑∑No.                                                    ∑4∑∑∑∑A.∑∑I want -- I want to answer that
∑5∑∑∑∑Q.∑∑Did you or anybody acting on your                      ∑5∑∑question as -- as follows:∑I'm not saying on
∑6∑∑behalf respond to the debtor's demand in any                 ∑6∑∑my behalf, but I know there was a lot of
∑7∑∑way?                                                         ∑7∑∑conversations with lawyers and business people
∑8∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        ∑8∑∑around the notes and their shared services and
∑9∑∑∑∑form.                                                      ∑9∑∑the split and the overpayments to Highland and
10∑∑BY MR. MORRIS:                                               10∑∑-- trying to reach some amicable resolution of
11∑∑∑∑Q.∑∑Withdrawn.∑That's fair.                                11∑∑shared services -- in fact, the entire
12∑∑∑∑∑∑∑Let me ask a different question.                        12∑∑estate -- but I don't -- I don't -- I don't
13∑∑∑∑∑∑∑Did you or anybody acting on your                       13∑∑recall specifically or -- what lawyers or what
14∑∑behalf respond to the debtor's demand at any                 14∑∑business people were saying what to the debtor,
15∑∑time prior to the commencement of this                       15∑∑but I -- I know there were a lot of
16∑∑adversary proceeding?                                        16∑∑conversations that were going on.
17∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        17∑∑BY MR. MORRIS:
18∑∑∑∑form.                                                      18∑∑∑∑Q.∑∑Can you identify any aspect of any
19∑∑∑∑A.∑∑Can you repeat it one more time?                       19∑∑of the conversations you just described that
20∑∑BY MR. MORRIS:                                               20∑∑pertained to the debtor's demand for payment of
21∑∑∑∑Q.∑∑Sure.∑Did you or anybody acting on                     21∑∑all unpaid principal and interest on the three
22∑∑your behalf respond to the debtor's demand for               22∑∑notes?
23∑∑payment of all unpaid principal and interest at              23∑∑∑∑A.∑∑Not -- not specifically.
24∑∑any time prior to the commencement of this                   24∑∑∑∑Q.∑∑Okay.∑There came a time when an
25∑∑lawsuit?                                                     25∑∑answer to the debtor's complaint was filed on

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01648
                                                                                                                                   YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 65 of 200 PageID 31218
                                                      Page 136                                                         Page 137
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑your behalf.                                                 ∑2∑∑∑∑A.∑∑No.
∑3∑∑∑∑∑∑∑Do you remember that?                                   ∑3∑∑∑∑Q.∑∑Did you authorize Bonds Ellis to
∑4∑∑∑∑A.∑∑No, but I'm willing to be refreshed.                   ∑4∑∑file this document on your behalf?
∑5∑∑∑∑Q.∑∑Okay.                                                  ∑5∑∑∑∑A.∑∑Not specifically that I remember.
∑6∑∑∑∑∑∑∑MR. MORRIS:∑Can we please put up                        ∑6∑∑∑∑Q.∑∑Did you know on or around March 16,
∑7∑∑∑∑Exhibit 7?                                                 ∑7∑∑2021, that Bonds Ellis had filed "Defendant
∑8∑∑∑∑∑∑∑(Exhibit 7 introduced.)                                 ∑8∑∑James Dondero's Original Answer" in this
∑9∑∑∑∑∑∑∑MR. MORRIS:∑And if we could just                        ∑9∑∑adversary proceeding?
10∑∑∑∑scroll down to the title.                                  10∑∑∑∑A.∑∑Not specifically.∑There's a lot
11∑∑BY MR. MORRIS:                                               11∑∑going on.
12∑∑∑∑Q.∑∑Do you see that this document is                       12∑∑∑∑Q.∑∑As you sit here right now--and,
13∑∑called "Defendant James Dondero's Original                   13∑∑again, happy to page through the document--can
14∑∑Answer"?                                                     14∑∑you tell me whether you have ever read
15∑∑∑∑A.∑∑Yes.                                                   15∑∑Defendant James Dondero's Original Answer?
16∑∑∑∑Q.∑∑And if we scroll back to the top of                    16∑∑∑∑A.∑∑Not that I recall.
17∑∑the document, do you see that it was filed on                17∑∑∑∑Q.∑∑So, as of -- and that's true as of
18∑∑the docket on March 16, 2021?                                18∑∑today; is that fair?
19∑∑∑∑A.∑∑Yes.                                                   19∑∑∑∑A.∑∑Can we scroll through this, please?
20∑∑∑∑Q.∑∑Did you personally read this                           20∑∑∑∑Q.∑∑Yes.∑Just let us know if you want
21∑∑document before it was filed?                                21∑∑us to slow down or speed up.
22∑∑∑∑A.∑∑No.                                                    22∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Yeah, just go
23∑∑∑∑Q.∑∑Did you have an understanding as to                    23∑∑∑∑slow enough so he could sort of eyeball
24∑∑the contents of the document before it was                   24∑∑∑∑each page.
25∑∑filed?                                                       25∑∑∑∑∑∑∑MR. MORRIS:∑You bet.
                                                      Page 138                                                         Page 139
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑THE WITNESS:∑Yep, keep going.                           ∑2∑∑∑∑∑MS. DEITSCH-PEREZ:∑John, I think he
∑3∑∑∑∑∑∑∑(Scrolling.)                                            ∑3∑∑said he needs to scroll through it to see
∑4∑∑∑∑∑∑∑THE WITNESS:∑Hold on.∑Could you go                      ∑4∑∑if anything --
∑5∑∑∑∑back a little bit, please?∑It just goes --                 ∑5∑∑∑∑∑MR. MORRIS:∑I understand.
∑6∑∑∑∑stop right there.                                          ∑6∑∑∑∑∑MS. DEITSCH-PEREZ:∑-- triggers a
∑7∑∑∑∑A.∑∑I do remember paragraph 5.∑I think                     ∑7∑∑recollection.∑He just said he's looking at
∑8∑∑that was recently tried last week or so, but I               ∑8∑∑5, yeah, that looks familiar.∑If you want
∑9∑∑think that was always the -- always the way it               ∑9∑∑to keep going, we could find out if there
10∑∑was described to me by lawyers, was that these               10∑∑are any others that -- that look familiar
11∑∑notes shouldn't be in her Court.                             11∑∑to him.
12∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Okay.∑And I'll                       12∑∑∑∑∑THE WITNESS:∑Let's keep going.
13∑∑∑∑just -- I'll just caution the witness to                   13∑∑∑∑∑(Scrolling.)
14∑∑∑∑not disclose communications with counsel,                  14∑∑∑∑∑MS. DEITSCH-PEREZ:∑You'll agree
15∑∑∑∑but it's okay if something catches your eye                15∑∑that most answers are not particularly
16∑∑∑∑and you, at least, remember that part, say,                16∑∑memorable when they say things like --
17∑∑∑∑"Oh, yeah, I remember that one," but                       17∑∑∑∑∑(Simultaneous conversation.)
18∑∑∑∑without going into details as to any                       18∑∑∑∑∑MR. MORRIS:∑Please stop.∑Please
19∑∑∑∑communications with your lawyers.                          19∑∑stop.∑Please stop talking.∑Please stop
20∑∑∑∑∑∑∑MR. MORRIS:∑And -- and that's fine.                     20∑∑talking.∑It's inappropriate.
21∑∑∑∑That's fine.∑I'm certainly not looking for                 21∑∑∑∑∑MS. DEITSCH-PEREZ:∑I -- I know.
22∑∑∑∑that.                                                      22∑∑It's your deposition, and you could do all
23∑∑BY MR. MORRIS:                                               23∑∑this stuff, but --
24∑∑∑∑Q.∑∑The question is really simple:∑Have                    24∑∑∑∑∑(Simultaneous conversation.)
25∑∑you ever seen this document before and --                    25∑∑∑∑∑MR. MORRIS:∑Please stop talking.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                              Appx. 01649
                                                                                                                                  YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 66 of 200 PageID 31219
                                                      Page 140                                                            Page 141
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Please stop talking.                                       ∑2∑∑trial.∑And those are two main points in here,
∑3∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑I hear you.                          ∑3∑∑but it seems like there are a bunch of other
∑4∑∑∑∑∑∑∑THE WITNESS:∑Keep -- keep going.                        ∑4∑∑defenses listed.
∑5∑∑∑∑∑∑∑(Scrolling.)                                            ∑5∑∑∑∑Q.∑∑Okay.
∑6∑∑∑∑∑∑∑THE WITNESS:∑Okay.∑Keep going.                          ∑6∑∑∑∑A.∑∑And I have -- and I have an
∑7∑∑∑∑∑∑∑(Scrolling.)                                            ∑7∑∑awareness of it, but I'm not a lawyer.
∑8∑∑∑∑∑∑∑THE WITNESS:∑It looks to me like --                     ∑8∑∑∑∑Q.∑∑I appreciate that you're not a
∑9∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Keep -- let --                       ∑9∑∑lawyer; but looking at the document, does that
10∑∑∑∑let him go through the whole thing.                        10∑∑refresh your recollection that you read and
11∑∑∑∑∑∑∑THE WITNESS:∑Sure.∑Keep going.                          11∑∑reviewed this document before it was filed on
12∑∑∑∑∑∑∑(Scrolling.)                                            12∑∑your behalf?
13∑∑∑∑∑∑∑THE WITNESS:∑Okay.∑Is that it?                          13∑∑∑∑A.∑∑I have -- I have an awareness of it,
14∑∑∑∑∑∑∑MR. MORRIS:∑Yes.                                        14∑∑but I wouldn't -- I wouldn't have been deeply
15∑∑∑∑∑∑∑THE WITNESS:∑Okay.                                      15∑∑involved in its drafting or detailed approval.
16∑∑BY MR. MORRIS:                                               16∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to page 6 of
17∑∑∑∑Q.∑∑Do you recall ever seeing this                         17∑∑∑∑8, please?
18∑∑document before, sir?                                        18∑∑BY MR. MORRIS:
19∑∑∑∑A.∑∑The -- the substance of it, again,                     19∑∑∑∑Q.∑∑And directing your attention to
20∑∑some of it I -- I remember, and the -- there --              20∑∑paragraph 40, do you see it says, as the first
21∑∑it strikes me as a legal argument and defenses               21∑∑affirmative defense, quote, "Defendant asserts
22∑∑regarding the payment of the notes, and I do                 22∑∑that plaintiff's claims should be barred
23∑∑remember a lot of conversation regarding it                  23∑∑because it was previously agreed by plaintiff
24∑∑being -- it should be outside -- it should be                24∑∑that plaintiff would not collect on the notes."
25∑∑in a different court, and it should be a jury                25∑∑∑∑∑∑∑Do you see that?
                                                      Page 142                                                            Page 143
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑A.∑∑Yes.                                                   ∑2∑∑question again:∑When did the plaintiff agree
∑3∑∑∑∑Q.∑∑Okay.∑Have I read that accurately?                     ∑3∑∑that it would not collect on the notes?
∑4∑∑∑∑A.∑∑Yes.                                                   ∑4∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Are you talking
∑5∑∑∑∑Q.∑∑Did the plaintiff ever agree that                      ∑5∑∑∑∑about the subsequent agreements in the next
∑6∑∑plaintiff would not collect on the notes?                    ∑6∑∑∑∑pleading?
∑7∑∑∑∑A.∑∑Yes.                                                   ∑7∑∑∑∑∑∑∑MR. MORRIS:∑I'm asking for an
∑8∑∑∑∑Q.∑∑You subsequently amended this                          ∑8∑∑∑∑answer as to when the agreement referred to
∑9∑∑defense; isn't that right?                                   ∑9∑∑∑∑in paragraph 40 was entered into.
10∑∑∑∑A.∑∑I believe so.                                          10∑∑∑∑A.∑∑First quarter of -- first quarter of
11∑∑∑∑Q.∑∑And do you understand that you                         11∑∑2020.
12∑∑amended it to add a few words relating to                    12∑∑BY MR. MORRIS:
13∑∑conditions subsequent?                                       13∑∑∑∑Q.∑∑So it was after the petition date?
14∑∑∑∑A.∑∑I -- I -- other than for                               14∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Are you asking
15∑∑clarification and completeness, the -- it was                15∑∑∑∑about the 2018 notes?
16∑∑amended.∑I don't have specific knowledge of                  16∑∑∑∑∑∑∑MR. MORRIS:∑Yes, those are defined
17∑∑what was amended.                                            17∑∑∑∑to be "the notes."
18∑∑∑∑Q.∑∑Okay.∑When did the plaintiff agree                     18∑∑BY MR. MORRIS:
19∑∑that the plaintiff would not collect on the                  19∑∑∑∑Q.∑∑So -- so did -- this is your
20∑∑notes?                                                       20∑∑defense.
21∑∑∑∑A.∑∑Boy, that was early on in the case.                    21∑∑∑∑∑∑∑Is it your position, Mr. Dondero,
22∑∑Every proposal, every POT plan, every                        22∑∑that in the first quarter of 2020, the
23∑∑settlement discussion never included value for               23∑∑plaintiff agreed that it would not collect on
24∑∑notes.                                                       24∑∑the notes?
25∑∑∑∑Q.∑∑All right.∑I'm going to ask the                        25∑∑∑∑A.∑∑I -- I -- I don't -- I want to leave

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01650
                                                                                                                                     YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 67 of 200 PageID 31220
                                                      Page 144                                                             Page 145
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑my testimony as what I just said a minute ago.               ∑2∑∑∑∑Q.∑∑I'm asking you to identify the
∑3∑∑The notes were never part of any POT plan or                 ∑3∑∑person who acted on behalf of the debtor in
∑4∑∑suggested POT plan or suggested grand bargain                ∑4∑∑reaching the agreement with you that the
∑5∑∑or suggested as having any value starting in                 ∑5∑∑plaintiff would not collect on the notes.∑Who
∑6∑∑the first quarter of '20 -- or most of the                   ∑6∑∑did that?
∑7∑∑year, I believe, until the -- towards the end                ∑7∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑John, I think
∑8∑∑of the year.                                                 ∑8∑∑∑∑the problem is you're referring to the
∑9∑∑∑∑Q.∑∑All right.∑Was there ever an                           ∑9∑∑∑∑debtor, so he's looking at post-bankruptcy.
10∑∑agreement between you and the plaintiff that                 10∑∑∑∑You might ask it two questions, one --
11∑∑the plaintiff would not collect on the notes if              11∑∑∑∑∑∑∑MR. MORRIS:∑No.∑Please stop.
12∑∑there was no grand bargain or no POT plan?                   12∑∑∑∑Please stop.∑Please stop.
13∑∑∑∑A.∑∑Yeah, the -- I'm sorry.∑Repeat                         13∑∑∑∑∑∑∑(Simultaneous conversation.)
14∑∑again.                                                       14∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑You agreed to
15∑∑∑∑Q.∑∑Who entered the agreement on behalf                    15∑∑∑∑that condition.∑You agreed to distinguish
16∑∑of the debtor that the plaintiff would not                   16∑∑∑∑between the debtor --
17∑∑collect on the notes?                                        17∑∑∑∑∑∑∑(Simultaneous conversation.)
18∑∑∑∑A.∑∑(Indiscernible speech.)                                18∑∑∑∑∑∑∑MR. MORRIS:∑Deborah --
19∑∑∑∑∑∑∑Agreement on -- you know, the --                        19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ.∑-- bankruptcy --
20∑∑the -- you know the -- I think I'm looking at                20∑∑∑∑∑∑∑MR. MORRIS:∑Deborah --
21∑∑this question from a perspective of the                      21∑∑∑∑∑∑∑(Simultaneous conversation.)
22∑∑negotiation, you know, at that time and not                  22∑∑∑∑∑∑∑THE REPORTER:∑I can't -- I can't
23∑∑including the subsequent conditions that were                23∑∑∑∑write two people at the same time.
24∑∑overlaid on the notes, I guess.∑So I guess                   24∑∑∑∑∑∑∑MR. MORRIS:∑This is so improper.
25∑∑it's a combination of both.                                  25∑∑∑∑He has --
                                                      Page 146                                                             Page 147
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑It is not.∑You                       ∑2∑∑grand bargain and a POT plan told you or
∑3∑∑∑∑agreed --                                                  ∑3∑∑entered into the agreement that the plaintiff
∑4∑∑∑∑∑∑∑MR. MORRIS:∑Please let me finish.                       ∑4∑∑would not collect on the notes?
∑5∑∑∑∑Please let me finish.                                      ∑5∑∑∑∑A.∑∑I -- I -- during the bankruptcy,
∑6∑∑∑∑∑∑∑He has described the conversations                      ∑6∑∑we're talking about, right?
∑7∑∑∑∑as taking place in 2020.∑I should be                       ∑7∑∑∑∑Q.∑∑I'm just following up on your
∑8∑∑∑∑referring to the debtor.∑He is                             ∑8∑∑statement that the conversation -- that the
∑9∑∑∑∑describing --                                              ∑9∑∑agreement was entered into in the first quarter
10∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Right.                               10∑∑of 2020.
11∑∑∑∑∑∑∑MR. MORRIS:∑-- the context --                           11∑∑∑∑∑∑∑Do I have that right, or is that
12∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑But if you want                      12∑∑wrong?
13∑∑∑∑to know about something that happened                      13∑∑∑∑A.∑∑Well --
14∑∑∑∑before bankruptcy, ask about Highland.                     14∑∑∑∑Q.∑∑Let's start again.∑Let's start
15∑∑∑∑∑∑∑MR. MORRIS:∑But I'm not. I                              15∑∑again.
16∑∑∑∑don't -- please stop interrupting.                         16∑∑∑∑∑∑∑This affirmative defense refers to
17∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑It's your                            17∑∑an agreement.∑Do you see that?
18∑∑∑∑deposition.∑If you want a muddy record, be                 18∑∑∑∑A.∑∑Yes.
19∑∑∑∑my guest.                                                  19∑∑∑∑Q.∑∑This is your affirmative defense;
20∑∑∑∑∑∑∑MR. MORRIS:∑I would really                              20∑∑isn't that correct?
21∑∑∑∑appreciate it.∑I think I know what I'm                     21∑∑∑∑A.∑∑Yes.
22∑∑∑∑doing.                                                     22∑∑∑∑Q.∑∑And according to this affirmative
23∑∑BY MR. MORRIS:                                               23∑∑defense, the agreement was that the plaintiff
24∑∑∑∑Q.∑∑Mr. Dondero, who, on behalf of the                     24∑∑would not collect on the notes.∑Do I have that
25∑∑debtor, during these conversations about a                   25∑∑right?

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01651
                                                                                                                                      YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 68 of 200 PageID 31221
                                                      Page 148                                                            Page 149
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑A.∑∑Yes.                                                   ∑2∑∑never, ever, ever asked for or demanded the
∑3∑∑∑∑Q.∑∑Let's start with:∑When was that                        ∑3∑∑repayment of any unpaid principal or interest
∑4∑∑agreement entered into?                                      ∑4∑∑under these three notes?
∑5∑∑∑∑A.∑∑Okay.∑I'm going to have to parse,                      ∑5∑∑∑∑∑∑∑That's your sworn testimony?
∑6∑∑and I'm going to have to answer your question                ∑6∑∑∑∑A.∑∑No.
∑7∑∑as accurately as I can.                                      ∑7∑∑∑∑Q.∑∑So how did I get that wrong, then?
∑8∑∑∑∑∑∑∑The subsequent conditions for                           ∑8∑∑∑∑A.∑∑Well, a few minutes ago we went over
∑9∑∑forgiveness of the notes were established                    ∑9∑∑a letter from the debtor making a demand, but
10∑∑during a comp period in early 2019 for these                 10∑∑that was, I believe, this year or -- yeah, I
11∑∑notes that were drafted in '18.                              11∑∑believe that was this year or the end of '20.
12∑∑∑∑∑∑∑And the agreement was reached                           12∑∑∑∑∑∑∑What I'm saying is through '20, the
13∑∑with -- I believe it's a majority of, whatever,              13∑∑full year of '20 when we were trying to work on
14∑∑the Class A holders in the fourth amended                    14∑∑a POT plan or global settlement before Seery
15∑∑Highland Capital partnership -- partnership                  15∑∑betrayed the estate, we were -- we never --
16∑∑agreement.∑And that's what set up the                        16∑∑there was never value assigned to the notes.
17∑∑subsequent conditions and the ability for the                17∑∑∑∑Q.∑∑And you never offered to make any
18∑∑loans to be forgiven.                                        18∑∑payment of any kind, principal or interest, on
19∑∑∑∑∑∑∑When you get into bankruptcy,                           19∑∑any of the notes in connection with any
20∑∑whether it was Seery, the independent board, or              20∑∑proposal you ever made as part of the grand
21∑∑whoever, no one ever put any value nor was it                21∑∑bargain or POT plan; is that right?
22∑∑ever included in any -- were the notes included              22∑∑∑∑A.∑∑I think -- I believe on the -- not
23∑∑in any settlement discussions, period.                       23∑∑through 2020.∑I'll say that.
24∑∑∑∑Q.∑∑All right.∑So, it's your testimony                     24∑∑∑∑∑∑∑By the time 2021 came along, on the
25∑∑that the debtor in settlement negotiations                   25∑∑eve of trial when I sent over a capitulation
                                                      Page 150                                                            Page 151
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑offer -- I think it was even titled that -- I                ∑2∑∑there was a settlement?
∑3∑∑think I threw more money than everybody                      ∑3∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to form.
∑4∑∑deserved or was entitled to, to try and resolve              ∑4∑∑∑∑A.∑∑Yeah.∑Again, that was my
∑5∑∑it.∑And implicitly, there was -- because it                  ∑5∑∑understanding through 2020.
∑6∑∑was more than everybody was entitled to, I                   ∑6∑∑BY MR. MORRIS:
∑7∑∑think implicitly it included value for the                   ∑7∑∑∑∑Q.∑∑Do you have --
∑8∑∑notes.                                                       ∑8∑∑∑∑∑∑∑THE WITNESS:∑Let's -- let's --
∑9∑∑∑∑Q.∑∑And is it your testimony that at no                    ∑9∑∑∑∑before the next question, let's take a
10∑∑time prior to the delivery of the demand letter              10∑∑∑∑ten-minute break, ten-minute bathroom
11∑∑did the debtor ever make an offer to you or --               11∑∑∑∑break, please.
12∑∑of any kind that included any repayment of any               12∑∑∑∑∑∑∑MR. MORRIS:∑No problem.
13∑∑principal or interest due under the three                    13∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Okay.∑We've
14∑∑notes?                                                       14∑∑∑∑been going an hour, so we'll come back
15∑∑∑∑A.∑∑I'm willing to be refreshed, but not                   15∑∑∑∑at -- 10:30, come back at 10:40?
16∑∑that I recall.                                               16∑∑∑∑∑∑∑MR. MORRIS:∑That's fine.∑Thank
17∑∑∑∑Q.∑∑Okay.∑And is it your testimony that                    17∑∑∑∑you.
18∑∑anybody acting on behalf of the debtor ever                  18∑∑∑∑∑∑∑(Recess held.)
19∑∑agreed not to collect on the notes?                          19∑∑BY MR. MORRIS:
20∑∑∑∑A.∑∑I'm sorry.∑Repeat that one more                        20∑∑∑∑Q.∑∑Is the agreement that you're
21∑∑time, just --                                                21∑∑referring to and that's referred to in
22∑∑∑∑Q.∑∑Is it your testimony -- withdrawn.                     22∑∑paragraph 40, is that reflected in any document
23∑∑∑∑∑∑∑Did anybody acting on behalf of the                     23∑∑that you're aware of?
24∑∑debtor ever agree with you that it would not                 24∑∑∑∑A.∑∑Not that I'm aware of.
25∑∑collect on the notes, irrespective of whether                25∑∑∑∑Q.∑∑And I believe you mentioned -- and

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01652
                                                                                                                                     YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 69 of 200 PageID 31222
                                                      Page 152                                                           Page 153
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑we'll talk about this more later, but the part               ∑2∑∑∑∑∑∑∑MR. MORRIS:∑That's fine.∑So, let
∑3∑∑about the subsequent conditions or the                       ∑3∑∑∑∑me rephrase the question.
∑4∑∑conditions subsequent, that was the agreement                ∑4∑∑BY MR. MORRIS:
∑5∑∑that was entered into, did you say the -- in                 ∑5∑∑∑∑Q.∑∑I just want to make sure that I have
∑6∑∑part -- as part of a compensation committee                  ∑6∑∑this right, Mr. Dondero.∑It's your
∑7∑∑meeting?                                                     ∑7∑∑recollection that in January or February of
∑8∑∑∑∑A.∑∑As part of our compensation process                    ∑8∑∑2019, you reached an agreement with Highland
∑9∑∑in -- early in 2019.                                         ∑9∑∑that's reflected in paragraph 40 as
10∑∑∑∑Q.∑∑Okay.∑And when you say "early                          10∑∑subsequently amended to include the phrase
11∑∑2019," can you -- do you recall what month?                  11∑∑"conditions subsequent."∑Do I have that right?
12∑∑∑∑A.∑∑In January/February.                                   12∑∑∑∑A.∑∑I gave my testimony.∑I don't know
13∑∑∑∑Q.∑∑So, it's your testimony that in                        13∑∑if -- I don't want to opine on the legal
14∑∑January or February 2019, you and the debtor                 14∑∑document and whether the legal document
15∑∑reached the agreement that's referred to in                  15∑∑captures it there or somewhere else, but my --
16∑∑paragraph 40 as subsequently amended by your                 16∑∑my recollection regarding pre-bankruptcy and
17∑∑amended answer; is that right?                               17∑∑post-bankruptcy is as I -- as I stated already.
18∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        18∑∑∑∑Q.∑∑Let me -- let me try this a
19∑∑∑∑form.                                                      19∑∑different way.
20∑∑∑∑∑∑∑John, I thought you were going to                       20∑∑∑∑∑∑∑We looked at the three promissory
21∑∑∑∑agree to call Highland Highland --                         21∑∑notes.∑Were those promissory notes ever
22∑∑∑∑∑∑∑MR. MORRIS:∑That's fine.∑That's                         22∑∑amended, to the best of your knowledge?
23∑∑∑∑fine.                                                      23∑∑∑∑A.∑∑No, not that -- I mean, not -- not
24∑∑∑∑∑∑∑(Simultaneous conversation.)                            24∑∑in writing.
25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑-- thereafter.                       25∑∑∑∑Q.∑∑Okay.
                                                      Page 154                                                           Page 155
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑A.∑∑They were amended -- they were                         ∑2∑∑BY MR. MORRIS:
∑3∑∑amended -- they were amended verbally.                       ∑3∑∑∑∑Q.∑∑Do you have any agreement with the
∑4∑∑∑∑Q.∑∑Okay.∑And did that verbal agreement                    ∑4∑∑debtor -- agreement with the debtor with
∑5∑∑take place in January or February 2019?                      ∑5∑∑respect to any of the three notes?
∑6∑∑∑∑A.∑∑Yes.                                                   ∑6∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑7∑∑∑∑Q.∑∑Was there any verbal agreement                         ∑7∑∑∑∑form.
∑8∑∑related to the notes that occurred other than                ∑8∑∑∑∑A.∑∑I believe the debtor in bankruptcy
∑9∑∑the one you're referring to in January or                    ∑9∑∑inherits that subsequent condition agreements
10∑∑February 2019?                                               10∑∑from the first quarter of 2019; and I believe
11∑∑∑∑A.∑∑Well, I gave my testimony during                       11∑∑in 2020, the debtor operated and participated
12∑∑bankruptcy in 2020, the substance of all                     12∑∑and acted in a way all negotiations that
13∑∑negotiations never assigned value to the -- the              13∑∑suggested the notes had -- were unlikely to
14∑∑notes.                                                       14∑∑have any value to the estate.
15∑∑∑∑Q.∑∑But you never reached an agreement                     15∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑I move to
16∑∑with the debtor on -- on any settlement that                 16∑∑∑∑strike.
17∑∑would include either payment for or forgiveness              17∑∑BY MR. MORRIS:
18∑∑of the notes; is that fair?                                  18∑∑∑∑Q.∑∑And I'd ask you to please listen
19∑∑∑∑∑∑∑You never reached an agreement?                         19∑∑carefully to my question and only answer the
20∑∑∑∑A.∑∑Not in writing, but I believe we                       20∑∑question that's asked.
21∑∑were operating with an understanding that                    21∑∑∑∑∑∑∑Is there any agreement that pertains
22∑∑the -- weren't likely to have value to the                   22∑∑to the notes other than --
23∑∑estate.                                                      23∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Objection,
24∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑I move to                             24∑∑∑∑asked --
25∑∑∑∑strike, and I'll ask the question again.                   25∑∑BY MR. MORRIS:

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01653
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 70 of 200 PageID 31223
                                                      Page 156                                                           Page 157
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑-- with --                                             ∑2∑∑had notes with the debtor, beginning in the
∑3∑∑∑∑A.∑∑Yeah, I'm going to stick with my                       ∑3∑∑first quarter after the bankruptcy, that the
∑4∑∑same answer that I've given twice.                           ∑4∑∑notes were unlikely to have any value to the
∑5∑∑∑∑Q.∑∑I'm actually -- I'm actually asking                    ∑5∑∑estate or have any value in settlement.
∑6∑∑a different question; and if you would let me                ∑6∑∑∑∑Q.∑∑Okay.∑I don't want to know about
∑7∑∑finish, this would go a lot more smoothly.                   ∑7∑∑value.∑I want to know if there is an agreement
∑8∑∑∑∑∑∑∑Is there any agreement, written or                      ∑8∑∑not to collect.
∑9∑∑verbal, between you and the debtor concerning                ∑9∑∑∑∑∑∑∑So let me try and answer -- ask the
10∑∑the notes other than the verbal agreement that               10∑∑question differently.
11∑∑you contend was entered into in January and                  11∑∑∑∑∑∑∑Other than the agreement that you
12∑∑February 2019?                                               12∑∑assert was entered into in January or
13∑∑∑∑∑∑∑I don't want to know about                              13∑∑February 2019, did anybody acting on behalf of
14∑∑operations or offers or settlement discussions.              14∑∑Highland or the debtor enter into any other
15∑∑I want to know about agreements:∑Is there any                15∑∑agreement pursuant to which the debtor agreed
16∑∑agreement pertaining to the notes other than                 16∑∑not to collect on the notes?
17∑∑the verbal agreement entered into in January or              17∑∑∑∑A.∑∑I'm -- I'm going -- same answer:
18∑∑February 2019?                                               18∑∑Implicitly, yes.
19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        19∑∑∑∑Q.∑∑Okay.∑Is that -- is that implicit
20∑∑∑∑form.                                                      20∑∑agreement written down anywhere?
21∑∑∑∑A.∑∑Yes.                                                   21∑∑∑∑∑∑∑You know what?∑I'm going to move
22∑∑BY MR. MORRIS:                                               22∑∑on, Mr. Dondero, and I look forward to the jury
23∑∑∑∑Q.∑∑What other agreement exists?                           23∑∑trial.
24∑∑∑∑A.∑∑The agreement between, I guess, me                     24∑∑∑∑∑∑∑MR. MORRIS:∑Can we put up the next
25∑∑and to the extent other related parties that                 25∑∑∑∑exhibit, Number 8?
                                                      Page 158                                                           Page 159
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑(Exhibit 8 introduced.)                                 ∑2∑∑∑∑∑∑∑MR. MORRIS:∑That's the end.
∑3∑∑BY MR. MORRIS:                                               ∑3∑∑∑∑∑∑∑THE WITNESS:∑Okay.
∑4∑∑∑∑Q.∑∑Did you --                                             ∑4∑∑BY MR. MORRIS:
∑5∑∑∑∑∑∑∑MR. MORRIS:∑If we could scroll down                     ∑5∑∑∑∑Q.∑∑Have you ever seen this document
∑6∑∑∑∑a little bit.                                              ∑6∑∑before, sir?
∑7∑∑BY MR. MORRIS:                                               ∑7∑∑∑∑A.∑∑I'm aware of it -- I mean, yes, but
∑8∑∑∑∑Q.∑∑Are you aware that the debtor served                   ∑8∑∑I don't remember -- ask whatever questions you
∑9∑∑discovery in connection with this action?                    ∑9∑∑want about it, and we'll go from there.
10∑∑∑∑A.∑∑Not specifically.                                      10∑∑∑∑Q.∑∑Did you see this document before --
11∑∑∑∑Q.∑∑Do you see that these are your                         11∑∑before it was sent to my firm on April 28th,
12∑∑objections and responses to the debtor's                     12∑∑2021?
13∑∑requests for admission?                                      13∑∑∑∑A.∑∑I mean, I'm sure I did and -- or I'm
14∑∑∑∑A.∑∑Yes.                                                   14∑∑sure I did if I was supposed to approve it, but
15∑∑∑∑Q.∑∑Have you ever seen this document                       15∑∑I don't specifically remember.
16∑∑before?                                                      16∑∑∑∑Q.∑∑And did you, in fact, authorize your
17∑∑∑∑∑∑∑And we can scroll down, if you'd                        17∑∑attorneys to serve this particular document?
18∑∑like.                                                        18∑∑∑∑A.∑∑I -- I believe so.
19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Scroll through                       19∑∑∑∑∑∑∑MR. MORRIS:∑Can we just go to the
20∑∑∑∑it, please.                                                20∑∑∑∑very last request for admission, number 14?
21∑∑∑∑∑∑∑THE WITNESS:∑Yeah, let's scroll                         21∑∑∑∑∑∑∑(Scrolling.)
22∑∑∑∑through it.                                                22∑∑BY MR. MORRIS:
23∑∑∑∑∑∑∑(Scrolling.)                                            23∑∑∑∑Q.∑∑You'll see that Request For
24∑∑∑∑∑∑∑THE WITNESS:∑Can you keep going,                        24∑∑Admission Number 14 asks you to admit that as
25∑∑∑∑please?                                                    25∑∑of January 22nd, 2021, you hadn't paid the

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01654
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 71 of 200 PageID 31224
                                                      Page 160                                                            Page 161
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑debtor the outstanding amount.                               ∑2∑∑BY MR. MORRIS:
∑3∑∑∑∑∑∑∑Do you see that?                                        ∑3∑∑∑∑Q.∑∑You'll see that these are the
∑4∑∑∑∑A.∑∑Yes.                                                   ∑4∑∑"Objections and Answers" that were tendered on
∑5∑∑∑∑Q.∑∑And the definition of an                               ∑5∑∑your behalf in response to the debtor's first
∑6∑∑"outstanding amount" is the number that's just               ∑6∑∑set of interrogatories.
∑7∑∑above that.                                                  ∑7∑∑∑∑∑∑∑Do you see that?
∑8∑∑∑∑∑∑∑And in response, you admitted only                      ∑8∑∑∑∑A.∑∑Yes.
∑9∑∑that you hadn't paid the debtor the amount the               ∑9∑∑∑∑∑∑∑MR. MORRIS:∑And if we can go to the
10∑∑debtor asserts is due on the notes in the                    10∑∑∑∑last page.
11∑∑amount of approximately $9 million.∑Do you see               11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Could you also
12∑∑that?                                                        12∑∑∑∑scroll through it so he could --
13∑∑∑∑A.∑∑Yes.                                                   13∑∑∑∑∑∑∑MR. MORRIS:∑Well, I'm happy to do
14∑∑∑∑Q.∑∑Okay.∑I just want to ask a slightly                    14∑∑∑∑it.∑I'd like to do it my way, please.
15∑∑different question:∑Have you paid any amounts                15∑∑∑∑Thank you.
16∑∑to the debtor on account of the notes since                  16∑∑∑∑∑∑∑Can we go to the last page, please?
17∑∑December 1st, 2020?                                          17∑∑∑∑∑∑∑(Scrolling.)
18∑∑∑∑A.∑∑I -- I don't -- I don't know for                       18∑∑BY MR. MORRIS:
19∑∑sure, but I don't believe so.                                19∑∑∑∑Q.∑∑Is that your signature there, sir?
20∑∑∑∑Q.∑∑Okay.                                                  20∑∑∑∑A.∑∑Yes.
21∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to the next                       21∑∑∑∑Q.∑∑And did you sign this document in
22∑∑∑∑exhibit, please, Number 9?                                 22∑∑front of a notary public?
23∑∑∑∑∑∑∑(Exhibit 9 introduced.)                                 23∑∑∑∑A.∑∑Yes.
24∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑And if we can                         24∑∑∑∑Q.∑∑And did you certify that you had
25∑∑∑∑scroll down just a little bit.                             25∑∑read the document and the objections to the
                                                      Page 162                                                            Page 163
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑interrogatories?                                             ∑2∑∑refers back to the agreement that we were
∑3∑∑∑∑A.∑∑Yes.                                                   ∑3∑∑looking at in paragraph 40 of the answer -- and
∑4∑∑∑∑Q.∑∑And did you swear that the answers                     ∑4∑∑I can just read it again -- that says -- the
∑5∑∑were true and correct?                                       ∑5∑∑agreement says, quote, "Plaintiff would not
∑6∑∑∑∑A.∑∑Yes.                                                   ∑6∑∑collect on the Notes."
∑7∑∑∑∑Q.∑∑Okay.                                                  ∑7∑∑∑∑∑∑∑And I asked you three questions in
∑8∑∑∑∑∑∑∑MR. MORRIS:∑Now let's go back to                        ∑8∑∑the interrogatory.∑Did this interrogatory
∑9∑∑∑∑the top of the document.                                   ∑9∑∑accurately state, to the best of your
10∑∑BY MR. MORRIS:                                               10∑∑knowledge, that you, personally, entered into
11∑∑∑∑Q.∑∑Did you, in fact, read this document                   11∑∑the Purported Agreement on behalf of the
12∑∑before you signed the Verification in front of               12∑∑debtor?
13∑∑a notary?                                                    13∑∑∑∑A.∑∑Which -- which one are you -- which
14∑∑∑∑A.∑∑Yes.                                                   14∑∑agreement are you talking about?
15∑∑∑∑Q.∑∑Okay.                                                  15∑∑∑∑Q.∑∑Just the one that we were talking
16∑∑∑∑∑∑∑MR. MORRIS:∑Go to page 4 of 6,                          16∑∑about earlier -- and I'll just read it again
17∑∑∑∑please.                                                    17∑∑for you.∑We can call it back on the screen, if
18∑∑BY MR. MORRIS:                                               18∑∑it's helpful -- but the agreement that you
19∑∑∑∑Q.∑∑Just to help you out, do you see                       19∑∑referred to in your answer that, quote,
20∑∑there's a reference to "Purported Agreement" in              20∑∑"plaintiff would not collect on the notes."
21∑∑the first interrogatory, 1(a)?                               21∑∑That's the Purported Agreement.
22∑∑∑∑A.∑∑Uh-huh.                                                22∑∑∑∑∑∑∑And so, I just want you to confirm
23∑∑∑∑Q.∑∑That's a "yes," sir; is that right?                    23∑∑that in your answer to Interrogatory No. 1, you
24∑∑∑∑A.∑∑Yes.                                                   24∑∑stated that it was true and accurate that you
25∑∑∑∑Q.∑∑Okay.∑The Purported Agreement                          25∑∑entered into that agreement on behalf of the

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01655
                                                                                                                                     YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 72 of 200 PageID 31225
                                                      Page 164                                                         Page 165
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑debtor.                                                      ∑2∑∑want to comment on the legal.
∑3∑∑∑∑∑∑∑Do I have that right?                                   ∑3∑∑∑∑Q.∑∑I don't want to comment on legal
∑4∑∑∑∑A.∑∑I'm -- I'm going to say no because I                   ∑4∑∑stuff, either; but you signed this document,
∑5∑∑think you're using the wrong description of the              ∑5∑∑you verified this document, and you verified
∑6∑∑debtor versus Highland prebankruptcy.                        ∑6∑∑that it was true and accurate.∑Correct?
∑7∑∑∑∑Q.∑∑I appreciate that.∑I apologize.                        ∑7∑∑∑∑A.∑∑Yes.
∑8∑∑Let me rephrase the question.∑That's a fair                  ∑8∑∑∑∑Q.∑∑Okay.∑And in the first sentence to
∑9∑∑point.                                                       ∑9∑∑your answer in Interrogatory 1, you wrote, or
10∑∑∑∑∑∑∑Did you enter into the agreement                        10∑∑somebody wrote on your behalf, quote:∑"The
11∑∑referred to in your answer on behalf of                      11∑∑agreements were entered into on behalf of the
12∑∑Highland?                                                    12∑∑debtor by James Dondero, subsequent to the time
13∑∑∑∑A.∑∑The -- the agreement on behalf of                      13∑∑each note was executed."
14∑∑Highland prebankruptcy was agreed to by                      14∑∑∑∑∑∑∑Is that an accurate statement, or is
15∑∑majority of the Class A members, which I                     15∑∑it an inaccurate statement?
16∑∑believe at the time was Dugaboy.                             16∑∑∑∑A.∑∑Again, it was between me and the
17∑∑∑∑Q.∑∑All right.∑That doesn't say that in                    17∑∑Class A, the majority of the Class A members.
18∑∑your answer here, does it?                                   18∑∑It was a Class A -- the Class A members were
19∑∑∑∑A.∑∑Again, there was an original, I                        19∑∑representing Highland, never the debtor,
20∑∑think, answers; and then there were amended                  20∑∑because the debtor didn't exist yet.
21∑∑answers.∑I think the lawyers did the best they               21∑∑∑∑∑∑∑But then, again, I don't know if
22∑∑could to capture -- but, evidently, the parsing              22∑∑this paragraph refers to, again, how we
23∑∑between pre-bankruptcy agreements and                        23∑∑operated in bankruptcy, which was the
24∑∑post-bankruptcy agreements was done the best it              24∑∑assumption that the notes had -- were likely --
25∑∑could be by the lawyers but I -- I -- I don't                25∑∑were not likely to have any value for the
                                                      Page 166                                                         Page 167
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑estate.∑I don't -- I don't know which this is                ∑2∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑He already
∑3∑∑referring to.                                                ∑3∑∑∑∑answered your question, John.
∑4∑∑∑∑Q.∑∑You understand that the definition                     ∑4∑∑∑∑∑∑∑MR. MORRIS:∑That's fine.∑You can
∑5∑∑of the "debtor" includes Highland Capital                    ∑5∑∑∑∑have the objection, asked and answered.
∑6∑∑Management, L.P.?                                            ∑6∑∑∑∑∑∑∑I'm asking him to answer again.
∑7∑∑∑∑A.∑∑I think we started off the depo by                     ∑7∑∑BY MR. MORRIS:
∑8∑∑saying that there was a Highland prior to                    ∑8∑∑∑∑Q.∑∑Is that first sentence true and
∑9∑∑bankruptcy and then there was a Highland in                  ∑9∑∑correct as you verified it?
10∑∑bankruptcy and the debtor is Highland in                     10∑∑∑∑A.∑∑"Behalf" probably isn't, like I
11∑∑bankruptcy.                                                  11∑∑said, the right word.∑It should be "between"
12∑∑∑∑Q.∑∑Let me just ask you this question,                     12∑∑the debtor and James Dondero.∑So that's how I
13∑∑sir:∑Is that first sentence accurate, or is it               13∑∑would wordsmith that.
14∑∑wrong?                                                       14∑∑∑∑Q.∑∑Okay.∑So this -- this first
15∑∑∑∑∑∑∑I didn't write it, so -- and you                        15∑∑sentence is not true and correct, to the best
16∑∑swore to it.∑You're the one who said it was                  16∑∑of your knowledge; is that fair?
17∑∑true and accurate.∑So now I'm asking you:∑Is                 17∑∑∑∑A.∑∑I -- I don't want to say that other
18∑∑it actually true and accurate?                               18∑∑than I think it could be stated better.
19∑∑∑∑A.∑∑I'm going to stick with my testimony                   19∑∑∑∑Q.∑∑Okay.∑But as stated right now, it
20∑∑so far.∑I don't want to opine on that. I                     20∑∑says that the agreement was entered into on
21∑∑think it depends -- it's not -- maybe it's not               21∑∑behalf of the debtor by James Dondero.∑Have I
22∑∑perfectly written, but...                                    22∑∑read that correctly?
23∑∑∑∑Q.∑∑Sir, with all due respect, please                      23∑∑∑∑A.∑∑Yeah.∑I mean, that is what it says.
24∑∑answer my question:∑Is the first sentence true               24∑∑Again, I feel like I'm interpreting legal
25∑∑and correct, as you verified?                                25∑∑phraseology here, like "on behalf of the

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                              Appx. 01656
                                                                                                                                  YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 73 of 200 PageID 31226
                                                       Page 168                                                          Page 169
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑debtor."∑If it was an agreement between the                   ∑2∑∑∑∑Q.∑∑The second sentence of the answer,
∑3∑∑debtor and the Class A entered into --                        ∑3∑∑have you been able to identify any documents
∑4∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Mr. Morris knows                      ∑4∑∑that reflect or memorialize the agreements?
∑5∑∑∑∑very well there's another -- that there's                   ∑5∑∑∑∑A.∑∑I mean, I -- I -- I don't -- I don't
∑6∑∑∑∑an amendment to this.∑I don't know why                      ∑6∑∑know, but I don't think so.
∑7∑∑∑∑he's doing this.                                            ∑7∑∑∑∑Q.∑∑Thank you very much.
∑8∑∑∑∑∑∑∑Mr. Morris --                                            ∑8∑∑∑∑∑∑∑MR. MORRIS:∑Go to the next
∑9∑∑∑∑∑∑∑(Simultaneous conversation.)                             ∑9∑∑∑∑document, please.
10∑∑∑∑∑∑∑MR. MORRIS:∑Please stop.∑Please                          10∑∑∑∑∑∑∑(Exhibit 10 introduced.)
11∑∑∑∑stop.                                                       11∑∑BY MR. MORRIS:
12∑∑∑∑∑∑∑I'm allowed to go through his sworn                      12∑∑∑∑Q.∑∑Do you see that this is the "Amended
13∑∑∑∑statements.∑Give me a break.∑Please stop.                   13∑∑Answer" that was filed on your behalf?
14∑∑∑∑Don't coach --                                              14∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Let's please --
15∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑You've been                           15∑∑∑∑∑∑∑THE WITNESS:∑Yes.
16∑∑∑∑asking the same question over and over and                  16∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑-- scroll
17∑∑∑∑over.                                                       17∑∑∑∑through.
18∑∑∑∑∑∑∑MR. MORRIS:∑You know, I'm going to                       18∑∑∑∑∑∑∑THE WITNESS:∑Yeah, please scroll
19∑∑∑∑shut this down if you do it one more time.                  19∑∑∑∑through.
20∑∑∑∑I will, and I'm happy to make the motion to                 20∑∑∑∑∑∑∑(Scrolling.)
21∑∑∑∑the Judge.∑I'm begging you, please stop                     21∑∑BY MR. MORRIS:
22∑∑∑∑interfering.                                                22∑∑∑∑Q.∑∑All right.∑Have you seen this
23∑∑∑∑∑∑∑My apologies, Mr. Dondero.∑Never                         23∑∑document before, sir?
24∑∑∑∑directed at you personally.                                 24∑∑∑∑A.∑∑Yes, generally.
25∑∑BY MR. MORRIS:                                                25∑∑∑∑Q.∑∑Did you -- do you recall if you saw
                                                       Page 170                                                          Page 171
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑it prior to the time it was served and filed on               ∑2∑∑complete and more clarified as things were
∑3∑∑your behalf?                                                  ∑3∑∑learned and investigated.
∑4∑∑∑∑A.∑∑Probably.                                               ∑4∑∑BY MR. MORRIS:
∑5∑∑∑∑Q.∑∑Did you authorize it to be filed on                     ∑5∑∑∑∑Q.∑∑And were things "learned and
∑6∑∑your behalf?                                                  ∑6∑∑investigated" after the time that you submitted
∑7∑∑∑∑A.∑∑Yes.                                                    ∑7∑∑the -- withdrawn.
∑8∑∑∑∑∑∑∑MR. MORRIS:∑Can we please go to                          ∑8∑∑∑∑∑∑∑Were things "learned and
∑9∑∑∑∑page 6 of 8?                                                ∑9∑∑investigated" after the time the original
10∑∑∑∑∑∑∑(Scrolling.)                                             10∑∑answer was served and filed on your behalf?
11∑∑∑∑∑∑∑MR. MORRIS:∑And if we can scroll                         11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
12∑∑∑∑just down to the "Affirmative Defenses."                    12∑∑∑∑form.
13∑∑BY MR. MORRIS:                                                13∑∑∑∑∑∑∑And I would also just caution the
14∑∑∑∑Q.∑∑All right.∑Do you see                                   14∑∑∑∑witness before he speaks to think -- to
15∑∑paragraph 40 --                                               15∑∑∑∑make sure he doesn't disclose
16∑∑∑∑A.∑∑Yeah.                                                   16∑∑∑∑attorney-client communications.
17∑∑∑∑Q.∑∑-- as compared to the prior version                     17∑∑∑∑A.∑∑I'm sorry, could you please repeat
18∑∑of your answer, has added the words, quote,                   18∑∑the question?
19∑∑"upon fulfillment of conditions subsequent."                  19∑∑BY MR. MORRIS:
20∑∑Do you see that?                                              20∑∑∑∑Q.∑∑Sure.∑Did you, personally, learn or
21∑∑∑∑A.∑∑Yes.                                                    21∑∑discover anything related to this amended
22∑∑∑∑Q.∑∑Why were those words added?                             22∑∑paragraph 40 after the time that the original
23∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                         23∑∑answer was filed on your behalf?
24∑∑∑∑form.                                                       24∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Same objection.
25∑∑∑∑A.∑∑I think to make this document more                      25∑∑∑∑A.∑∑We went through the -- the --

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01657
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 74 of 200 PageID 31227
                                                      Page 172                                                          Page 173
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑When you say                         ∑2∑∑of an issue, and it's -- I'm very busy over
∑3∑∑∑∑"we," are you talking about you and                        ∑3∑∑here and then spent more time going through the
∑4∑∑∑∑lawyers?                                                   ∑4∑∑details, and this needed to be clarified or
∑5∑∑∑∑∑∑∑THE WITNESS:∑Yes.                                       ∑5∑∑stated differently.
∑6∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Don't disclose                       ∑6∑∑∑∑Q.∑∑Okay.∑With respect to the agreement
∑7∑∑∑∑your communications with lawyers.                          ∑7∑∑referred to in paragraph 40, whose idea was it
∑8∑∑BY MR. MORRIS:                                               ∑8∑∑to enter into that agreement?
∑9∑∑∑∑Q.∑∑All right.∑I don't want to know                        ∑9∑∑∑∑A.∑∑It was -- it was mine.
10∑∑anything about your communications with                      10∑∑∑∑Q.∑∑Okay.∑And who were -- who were the
11∑∑lawyers, but I'm going to ask you for facts.                 11∑∑majority of Class A holders that you referred
12∑∑∑∑∑∑∑What facts, if any, did you learn                       12∑∑to earlier?
13∑∑after the original answer was filed that relate              13∑∑∑∑A.∑∑That was the counterparty
14∑∑to the words, quote, "upon fulfillment of                    14∑∑decision-maker for Highland prior to
15∑∑conditions subsequent."                                      15∑∑bankruptcy, and like I said, I believe it was
16∑∑∑∑A.∑∑The "conditions subsequent" involved                   16∑∑Dugaboy.
17∑∑in the first quarter of 2019 were always an                  17∑∑∑∑Q.∑∑Can you think of any other member of
18∑∑event, but it wasn't captured properly or                    18∑∑Class A who entered into this agreement on
19∑∑needed to be clarified in the amendment.                     19∑∑behalf of the debtor in the early part of 2019
20∑∑∑∑Q.∑∑Well, you mentioned that "things                       20∑∑other than Dugaboy?
21∑∑were learned and investigated" after the answer              21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
22∑∑was filed, and I'm just trying to pin down what              22∑∑∑∑form.
23∑∑that was?                                                    23∑∑∑∑A.∑∑I do believe it was necessary.
24∑∑∑∑A.∑∑I -- I took it more seriously with                     24∑∑Dugaboy alone was the requisite majority. I
25∑∑the lawyers as it -- as the notes became more                25∑∑didn't -- I don't remember or remember even
                                                      Page 174                                                          Page 175
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑thinking about including anybody else.                       ∑2∑∑∑∑Q.∑∑Did you and Nancy discuss this
∑3∑∑BY MR. MORRIS:                                               ∑3∑∑agreement at all?
∑4∑∑∑∑Q.∑∑Okay.∑And to be clear, Mr. Dondero,                    ∑4∑∑∑∑A.∑∑This agreement?∑No.
∑5∑∑I'm not -- I don't have a view one way or the                ∑5∑∑∑∑Q.∑∑Can you describe --
∑6∑∑other as to whether you should or shouldn't --               ∑6∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑What do you mean
∑7∑∑who you should have contacted.                               ∑7∑∑∑∑by "this agreement"?
∑8∑∑∑∑∑∑∑I just want to know who -- if you                       ∑8∑∑∑∑∑∑∑(Simultaneous conversation.)
∑9∑∑can identify for me the Class A members who                  ∑9∑∑∑∑A.∑∑Not the one that's on the screen.
10∑∑acted to approve the agreement that's referred               10∑∑BY MR. MORRIS:
11∑∑to in paragraph 40.                                          11∑∑∑∑Q.∑∑Yes.∑That's the only one that I'm
12∑∑∑∑∑∑∑Is there anybody other than Dugaboy?                    12∑∑talking about, so --
13∑∑∑∑A.∑∑Not -- not -- not -- not                               13∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑So you mean --
14∑∑specifically regarding that comp cycle.                      14∑∑∑∑∑∑∑MR. MORRIS:∑Please, please, Deb --
15∑∑∑∑Q.∑∑Okay.∑And who acted on behalf of                       15∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑John, can you
16∑∑Dugaboy to enter into the agreement that's                   16∑∑∑∑please clarify:∑Are you asking if he
17∑∑referred to in paragraph 40?                                 17∑∑∑∑discussed the answer with Nancy or the --
18∑∑∑∑A.∑∑The trustee.                                           18∑∑∑∑∑∑∑MR. MORRIS:∑I didn't use the word
19∑∑∑∑Q.∑∑The trustee of Dugaboy?                                19∑∑∑∑"answer."∑I used the word "agreement," so
20∑∑∑∑A.∑∑Yes.                                                   20∑∑∑∑let me --
21∑∑∑∑Q.∑∑And who was the trustee of Dugaboy                     21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑I know, but he
22∑∑in the January/February 2019 time period that                22∑∑∑∑pointed to the screen.
23∑∑entered into this agreement on behalf of the                 23∑∑∑∑∑∑∑(Simultaneous conversation.)
24∑∑debtor?                                                      24∑∑∑∑∑∑∑MR. MORRIS:∑Are you done?
25∑∑∑∑A.∑∑My sister Nancy.                                       25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Yes.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01658
                                                                                                                                   YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 75 of 200 PageID 31228
                                                       Page 176                                                             Page 177
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑BY MR. MORRIS:                                                ∑2∑∑favorable monetization of certain large or
∑3∑∑∑∑Q.∑∑Mr. Dondero, can you describe for                       ∑3∑∑liquid assets on the Highland balance sheet;
∑4∑∑me -- withdrawn.                                              ∑4∑∑and the three that were focused on was MGM,
∑5∑∑∑∑∑∑∑Did you discuss with your sister                         ∑5∑∑Trussway, and Cornerstone.
∑6∑∑Nancy, the agreement that's referred to in                    ∑6∑∑∑∑Q.∑∑Did she say anything in response?
∑7∑∑paragraph 40?                                                 ∑7∑∑∑∑A.∑∑Just, "How much are we talking
∑8∑∑∑∑A.∑∑The agreement to subsequent                             ∑8∑∑about?"∑And I told her it was about 9 million
∑9∑∑conditions, yes, absolutely.∑But this                         ∑9∑∑in aggregate, and -- and I told her that it
10∑∑agreement that's on the screen, I've never --                 10∑∑was -- that the forgiveness or the compensation
11∑∑I've never -- I've never shown her this                       11∑∑was compliant regarding any credit covenants or
12∑∑document or talked to her about it.                           12∑∑Hunter Mountain covenants --
13∑∑∑∑Q.∑∑I'm not asking about the document.                      13∑∑∑∑Q.∑∑Do you recall any --
14∑∑I'm not asking about the document.∑I'm asking                 14∑∑∑∑A.∑∑-- that -- that if it were to be
15∑∑about the agreement that's referred to in                     15∑∑forgiven, that additional compensation would be
16∑∑paragraph 40.                                                 16∑∑compliant or permitted and really not material
17∑∑∑∑∑∑∑Do you understand that?                                  17∑∑relative to any outstanding credit agreements
18∑∑∑∑A.∑∑Yes.∑And, yes, we had several                           18∑∑that Highland had or agreements with Hunter
19∑∑conversations about it.                                       19∑∑Mountain.
20∑∑∑∑Q.∑∑Okay.∑Can you describe for me                           20∑∑∑∑Q.∑∑Is this something that you discussed
21∑∑everything you remember about your discussions                21∑∑with her, or is this just information that
22∑∑with Nancy concerning the agreement that's                    22∑∑you're giving me?
23∑∑referred to in paragraph 40?                                  23∑∑∑∑A.∑∑This is what I discussed -- that's
24∑∑∑∑A.∑∑That the loans that were in place                       24∑∑almost the entirety of the conversation.∑It
25∑∑would be forgiven upon a monetization -- the                  25∑∑happened over a couple different conversations,
                                                       Page 178                                                             Page 179
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑but...                                                        ∑2∑∑∑∑Q.∑∑Do you know if she sought any
∑3∑∑∑∑Q.∑∑Did anybody participate in any of                       ∑3∑∑independent advice before entering into the
∑4∑∑the conversations you're describing other than                ∑4∑∑agreement that you've described?
∑5∑∑you and your sister?                                          ∑5∑∑∑∑A.∑∑I don't know.
∑6∑∑∑∑A.∑∑I don't believe it was necessary, it                    ∑6∑∑∑∑Q.∑∑Do you recall whether you provided
∑7∑∑didn't include anybody else.                                  ∑7∑∑her with any documents of any kind in
∑8∑∑∑∑Q.∑∑Okay.∑Again, I'm not here to                            ∑8∑∑connection with the discussions that led to the
∑9∑∑question.∑I'm just looking for facts,                         ∑9∑∑agreement that's referred to in paragraph 40?
10∑∑Mr. Dondero.                                                  10∑∑∑∑A.∑∑I -- I have no -- I don't -- I don't
11∑∑∑∑∑∑∑So nobody participated in any of                         11∑∑believe -- no, I don't believe I gave her
12∑∑these conversations that you can recall other                 12∑∑copies of the relevant Hunter Mountain
13∑∑than you and Nancy; is that correct?                          13∑∑limitations, or whatever.∑I just spoke to her
14∑∑∑∑A.∑∑Correct, that I -- yes, there was                       14∑∑about it.
15∑∑never a third party involved in our                           15∑∑∑∑Q.∑∑Okay.∑I'm just asking -- I'm asking
16∑∑conversations.∑I don't know -- I don't think                  16∑∑a broader question:∑Do you recall giving her
17∑∑she discussed it with anybody else, but I don't               17∑∑any documents of any kind in connection with
18∑∑know.                                                         18∑∑the discussions that led to the agreement in
19∑∑∑∑Q.∑∑Did -- was the agreement subject to                     19∑∑paragraph 40?
20∑∑any negotiation?∑Did she make any                             20∑∑∑∑A.∑∑Not -- not that I recall.∑She --
21∑∑counterproposal of any kind?                                  21∑∑she may -- she may have some, but I don't
22∑∑∑∑A.∑∑No.∑No, I -- again, I believe both                      22∑∑remember.
23∑∑of our views at the time was that it was                      23∑∑∑∑Q.∑∑Do you know if there were any
24∑∑immaterial to Highland overall or any other                   24∑∑resolutions that were adopted by Highland to
25∑∑agreements.                                                   25∑∑reflect the agreement that's referred to in

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                   Appx. 01659
                                                                                                                                       YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 76 of 200 PageID 31229
                                                       Page 180                                                           Page 181
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑paragraph 40?                                                 ∑2∑∑into?
∑3∑∑∑∑A.∑∑Resolutions that -- no, not that I'm                    ∑3∑∑∑∑A.∑∑I don't know.
∑4∑∑aware of.                                                     ∑4∑∑∑∑Q.∑∑Is there any time period by which
∑5∑∑∑∑Q.∑∑Did you give -- did you give Nancy a                    ∑5∑∑the subsequent -- the conditions subsequent
∑6∑∑copy of the three promissory notes that were                  ∑6∑∑have to be fulfilled, or are they open-ended?
∑7∑∑the subject of the agreement referred to in                   ∑7∑∑∑∑A.∑∑I believe it was open-ended.
∑8∑∑paragraph 40?                                                 ∑8∑∑∑∑Q.∑∑Under the agreement that's referred
∑9∑∑∑∑A.∑∑No.                                                     ∑9∑∑to in paragraph 40, did the debtor surrender
10∑∑∑∑Q.∑∑Did she ask to see any documents                        10∑∑its right to make a demand under the promissory
11∑∑before entering into the agreement that's                     11∑∑notes?
12∑∑referred to in paragraph 40?                                  12∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑And, again, are
13∑∑∑∑A.∑∑I -- I don't remember.                                  13∑∑∑∑you talking about the debtor as in
14∑∑∑∑Q.∑∑Did you suggest that she speak with                     14∑∑∑∑post-bankruptcy or --
15∑∑anybody prior to the time that she entered into               15∑∑∑∑∑∑∑MR. MORRIS:∑I apologize.∑Thank
16∑∑the agreement that's referred to in                           16∑∑∑∑you.∑Thank you.∑Thank you.∑Thank you.
17∑∑paragraph 40?                                                 17∑∑∑∑∑∑∑Withdrawn.
18∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Asked and                             18∑∑BY MR. MORRIS:
19∑∑∑∑answered.                                                   19∑∑∑∑Q.∑∑Under the agreement that you reached
20∑∑∑∑A.∑∑Yeah.∑No.                                               20∑∑with Nancy that's referred to in paragraph 40,
21∑∑BY MR. MORRIS:                                                21∑∑was it your understanding that Highland
22∑∑∑∑Q.∑∑Do you know whether she actually                        22∑∑surrendered its right to make a demand for
23∑∑spoke with anybody concerning the subject                     23∑∑payment of unpaid principal and interest under
24∑∑matter of the agreement that's referred to in                 24∑∑the notes?
25∑∑paragraph 40 prior to the time it was entered                 25∑∑∑∑A.∑∑I think essentially, yes.
                                                       Page 182                                                           Page 183
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑Okay.∑What did Highland receive in                      ∑2∑∑arrangement?
∑3∑∑return for its agreement to surrender its right               ∑3∑∑∑∑A.∑∑The focus -- the focus parts for
∑4∑∑to make a demand for unpaid principal and                     ∑4∑∑sure.
∑5∑∑interest, if anything?                                        ∑5∑∑∑∑Q.∑∑And without -- without the agreement
∑6∑∑∑∑A.∑∑I think with all forgiveness of                         ∑6∑∑that's referred to in paragraph 40, you
∑7∑∑notes, what it gets is it gets focus in terms                 ∑7∑∑wouldn't have been focused on maximizing the
∑8∑∑of the monetization and it reduces additional                 ∑8∑∑enterprises; is that right?
∑9∑∑compensation that I could have/would have taken               ∑9∑∑∑∑A.∑∑No.
10∑∑otherwise, or could have/would have been                      10∑∑∑∑Q.∑∑So -- I'm sorry, maybe I missed it.
11∑∑entitled to otherwise.                                        11∑∑∑∑∑∑∑When you used the word "focus" --
12∑∑∑∑∑∑∑So, it's -- yeah, I mean, I think                        12∑∑let me -- when you use the word "focus," what
13∑∑it's, again, heightened focused for something                 13∑∑do you mean?
14∑∑that would be great for the debtor or great for               14∑∑∑∑∑∑∑What is the benefit to the debtor?
15∑∑Highland at the time and reduces -- that form                 15∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
16∑∑of forgiveness becomes compensation when and if               16∑∑∑∑form.
17∑∑it occurs, and then it -- it theoretically                    17∑∑∑∑∑∑∑He said "heightened focus."
18∑∑reduces other compensation.                                   18∑∑∑∑A.∑∑Yeah, heightened focused was my
19∑∑∑∑Q.∑∑So why not just forgive it at that                      19∑∑words, which --
20∑∑moment?                                                       20∑∑BY MR. MORRIS:
21∑∑∑∑∑∑∑Why tie it to "conditions                                21∑∑∑∑Q.∑∑Okay.
22∑∑subsequent"?                                                  22∑∑∑∑A.∑∑-- you know, means beyond normal
23∑∑∑∑A.∑∑I thought it was more appropriate.                      23∑∑focus.∑It means additional effort just like in
24∑∑∑∑Q.∑∑Did you and Nancy discuss at all                        24∑∑any company or what we do here with other
25∑∑what the benefit would be to Highland from this               25∑∑employees, for things you really want to get

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01660
                                                                                                                                     YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 77 of 200 PageID 31230
                                                       Page 184                                                           Page 185
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑done or focus on, you provide that extra                      ∑2∑∑answer when you were asking me what would be
∑3∑∑incentive.                                                    ∑3∑∑the benefit or consideration to Highland and
∑4∑∑∑∑Q.∑∑Okay.∑So -- so that's the benefit                       ∑4∑∑then ultimately to debtor.∑I was giving you
∑5∑∑to Highland, was that you were going to have a                ∑5∑∑compensation answer.
∑6∑∑heightened focus on maximizing value; is that                 ∑6∑∑BY MR. MORRIS:
∑7∑∑fair?                                                         ∑7∑∑∑∑Q.∑∑Okay.∑So I just -- but I do want to
∑8∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                         ∑8∑∑try to understand from your perspective the
∑9∑∑∑∑form.                                                       ∑9∑∑benefit to the debtor.
10∑∑∑∑A.∑∑And then also the part 2 of my                          10∑∑∑∑∑∑∑And, one, you told me about the
11∑∑answer, right, which, you know, that                          11∑∑heightened focus, and the second --
12∑∑forgiveness would be compensation which                       12∑∑∑∑A.∑∑Right.
13∑∑would -- in any given year, additional                        13∑∑∑∑Q.∑∑-- I think you said, and correct me
14∑∑compensation coming from forgiveness reduces                  14∑∑if I'm wrong, that it would relieve the debtor
15∑∑other compensation.                                           15∑∑of paying some compensation in the future.
16∑∑BY MR. MORRIS:                                                16∑∑∑∑∑∑∑Am I mistaken about that?
17∑∑∑∑Q.∑∑Was that part of the agreement that                     17∑∑∑∑A.∑∑Yeah, I mean -- I'm sorry.∑Repeat
18∑∑you reached with Nancy?∑Was that -- was that                  18∑∑that one more time, please.
19∑∑when these notes were forgiven, you would forgo               19∑∑∑∑Q.∑∑I believe you said that the second
20∑∑an amount equivalent to the outstanding                       20∑∑benefit to Highland from entering into the
21∑∑principal and unpaid interest?                                21∑∑agreement referred to in paragraph 40 is that
22∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                         22∑∑it would relieve them of a future obligation to
23∑∑∑∑form, misstates his prior testimony.                        23∑∑pay compensation in the same amount.
24∑∑∑∑A.∑∑Yeah.∑I remember discussing the                         24∑∑∑∑∑∑∑Do I have that right?
25∑∑focus part with her.∑The -- I was giving that                 25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
                                                       Page 186                                                           Page 187
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑form.                                                       ∑2∑∑exactness of the answer is that if --
∑3∑∑∑∑A.∑∑Maybe not exactly "the same amount,"                    ∑3∑∑there's -- depending on what the compensation
∑4∑∑but it would -- it would -- it would reduce                   ∑4∑∑target is and whether or not you wanted to grow
∑5∑∑comp -- yes, it would -- it would, like, in the               ∑5∑∑something up or you're looking for a net
∑6∑∑next cycle, reduce -- or when it was realized,                ∑6∑∑amount, but forgiveness of debt becomes a
∑7∑∑would likely reduce comp then.                                ∑7∑∑taxable event with no -- no additional ability
∑8∑∑BY MR. MORRIS:                                                ∑8∑∑to pay taxes.∑So it's usually not an exact
∑9∑∑∑∑Q.∑∑Okay.∑And by what amount would it                       ∑9∑∑offset to future compensation, the way we've
10∑∑likely reduce comp, then?                                     10∑∑done it here historically.
11∑∑∑∑A.∑∑I don't know.∑By significant --                         11∑∑∑∑Q.∑∑In the agreement that you reached
12∑∑by -- by a significant amount, by something                   12∑∑with Nancy that's referred to in paragraph 40,
13∑∑similar to the 9 million bucks.                               13∑∑were there any other -- withdrawn.
14∑∑∑∑Q.∑∑Okay.∑So, is there any -- I'm just                      14∑∑∑∑∑∑∑In the agreement that you reached
15∑∑trying to understand your perspective.                        15∑∑with Nancy that's referred to in paragraph 40,
16∑∑∑∑∑∑∑One of the benefits from entering                        16∑∑were there any circumstances under which you
17∑∑into the agreement referred to in paragraph 40                17∑∑would have been obligated to pay all unpaid
18∑∑is that upon the realization of the forgiveness               18∑∑principal and interest under the notes?
19∑∑of the debt, Highland or the debtor, whatever                 19∑∑∑∑A.∑∑If the illiquid assets weren't -- or
20∑∑the case may be, in the future would be                       20∑∑if -- if none of the illiquid assets were
21∑∑relieved from paying you an amount similar to                 21∑∑monetized.
22∑∑the principal amount of the notes?                            22∑∑∑∑Q.∑∑But you were -- you were, at the
23∑∑∑∑∑∑∑Do I have that right?                                    23∑∑time you entered into this oral agreement, in
24∑∑∑∑A.∑∑Yeah, or -- or -- yeah.∑I guess the                     24∑∑control of whether or not to monetize those
25∑∑reason why I keep going back and forth on the                 25∑∑illiquid assets, right?

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01661
                                                                                                                                     YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 78 of 200 PageID 31231
                                                      Page 188                                                            Page 189
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑A.∑∑And I expected they would be over                      ∑2∑∑despite objecting vehemently, we don't have
∑3∑∑time, yes.                                                   ∑3∑∑awareness of what the debtor is doing with
∑4∑∑∑∑Q.∑∑Okay.∑So, based on your control of                     ∑4∑∑Trussway or Cornerstone.∑So there's a
∑5∑∑the enterprise at the time that you entered                  ∑5∑∑potential that those could have triggered, but
∑6∑∑into the agreement, is there any -- did you                  ∑6∑∑I don't -- I don't have -- I don't have
∑7∑∑have any -- any scenario under which you                     ∑7∑∑awareness.
∑8∑∑believed you might actually have to pay back                 ∑8∑∑∑∑Q.∑∑Okay.∑Do you know -- and forgive
∑9∑∑the unpaid principal and interest due under the              ∑9∑∑the question, sir, honestly.∑But do you
10∑∑notes?                                                       10∑∑know --
11∑∑∑∑A.∑∑If they weren't monetized.                             11∑∑∑∑A.∑∑Sure.
12∑∑∑∑Q.∑∑Okay.∑Anything else?                                   12∑∑∑∑Q.∑∑-- whether your estate would be
13∑∑∑∑A.∑∑Assets weren't monetized, yeah.                        13∑∑liable to pay all of the undue principal --
14∑∑∑∑Q.∑∑Anything else?                                         14∑∑unpaid principal and interest if you passed
15∑∑∑∑A.∑∑That's -- that's my recollection.                      15∑∑before the conditions subsequent were
16∑∑∑∑Q.∑∑If -- if you -- have the "conditions                   16∑∑satisfied?
17∑∑subsequent" been met yet?                                    17∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
18∑∑∑∑A.∑∑I believe the announcement of the                      18∑∑∑∑form.
19∑∑MGM sale will meet the conditions precedent                  19∑∑∑∑A.∑∑I -- I don't know that answer.
20∑∑when it closes four or five months from now.                 20∑∑BY MR. MORRIS:
21∑∑∑∑Q.∑∑Okay.∑But none of them have been                       21∑∑∑∑Q.∑∑That wasn't something that you and
22∑∑met -- have the conditions subsequent been met               22∑∑your sister discussed in January or February of
23∑∑as of today?                                                 23∑∑2019; is that fair?
24∑∑∑∑A.∑∑Have the conditions subsequent been                    24∑∑∑∑A.∑∑I wasn't contemplating that event at
25∑∑met today.∑I don't have awareness of --                      25∑∑that point in time.
                                                      Page 190                                                            Page 191
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑That's why I say "forgive the                          ∑2∑∑monetized above cost, you know; but if they
∑3∑∑question," sir.                                              ∑3∑∑were all monetized below cost, that would make
∑4∑∑∑∑∑∑∑Did you ever ask anybody to write                       ∑4∑∑the note payable.
∑5∑∑the agreement in paragraph 40 down on paper so               ∑5∑∑∑∑Q.∑∑I appreciate that.
∑6∑∑that it was memorialized somewhere?                          ∑6∑∑∑∑∑∑∑MR. MORRIS:∑Let's go to the next
∑7∑∑∑∑A.∑∑No.                                                    ∑7∑∑∑∑document, document Number 11.
∑8∑∑∑∑Q.∑∑Did you and Nancy --                                   ∑8∑∑∑∑∑∑∑(Exhibit 11 introduced.)
∑9∑∑∑∑∑∑∑(Simultaneous conversation.)                            ∑9∑∑∑∑∑∑∑MR. MORRIS:∑If we could just scroll
10∑∑∑∑A.∑∑I'm sorry, go ahead.                                   10∑∑∑∑down, please.
11∑∑BY MR. MORRIS:                                               11∑∑∑∑∑∑∑(Scrolling.)
12∑∑∑∑Q.∑∑Do you and Nancy communicate by                        12∑∑BY MR. MORRIS:
13∑∑email from time to time?                                     13∑∑∑∑Q.∑∑All right.∑Now, these are your
14∑∑∑∑A.∑∑Almost entirely phone.∑I -- from                       14∑∑objections and responses to the debtor's second
15∑∑time to time, but it's almost entirely phone.                15∑∑request for admissions.∑Do you see that?
16∑∑∑∑Q.∑∑All right.∑Let's -- let's move on.                     16∑∑∑∑A.∑∑Yes.
17∑∑∑∑A.∑∑Can I clarify something from before?                   17∑∑∑∑∑∑∑MR. MORRIS:∑And let's scroll down
18∑∑∑∑Q.∑∑Of course.                                             18∑∑∑∑to page 4, please.
19∑∑∑∑A.∑∑If the assets were never monetized                     19∑∑∑∑∑∑∑(Scrolling.)
20∑∑or the -- the notes would stay in place and not              20∑∑BY MR. MORRIS:
21∑∑be forgiven.                                                 21∑∑∑∑Q.∑∑Okay.∑Do you recall whether you saw
22∑∑∑∑∑∑∑If the assets were all monetized                        22∑∑this document before it was served and filed on
23∑∑below cost or what was considered a less                     23∑∑your behalf?
24∑∑favorable scenario, then it would be -- to                   24∑∑∑∑A.∑∑Yes.∑Can we go all the way through,
25∑∑forgive it, something would have to be                       25∑∑just go all the way down?

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01662
                                                                                                                                     YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 79 of 200 PageID 31232
                                                      Page 192                                                           Page 193
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑Was this notarized, also?                               ∑2∑∑∑∑Q.∑∑And you've admitted that that
∑3∑∑∑∑Q.∑∑No, because these are responses to                     ∑3∑∑statement is true and accurate as written,
∑4∑∑requests to admit.∑You only --                               ∑4∑∑right?
∑5∑∑∑∑A.∑∑Okay.                                                  ∑5∑∑∑∑A.∑∑Yeah, I believe so.∑The -- yeah, I
∑6∑∑∑∑Q.∑∑You only notarize responses to                         ∑6∑∑believe so.∑Let me let you ask the questions.
∑7∑∑interrogatories, for whatever reason.∑So these               ∑7∑∑∑∑Q.∑∑Okay.∑Do you have any reason to
∑8∑∑were not.∑Yeah.                                              ∑8∑∑believe, as you sit here right now -- let me
∑9∑∑∑∑∑∑∑But I'm just asking you if you have                     ∑9∑∑ask you a different question.
10∑∑a memory of reviewing the requests for                       10∑∑∑∑∑∑∑Do you want to amend your response
11∑∑admission before they were served and filed on               11∑∑in any way right now?
12∑∑your behalf?                                                 12∑∑∑∑A.∑∑I -- I'm not aware of small amounts
13∑∑∑∑A.∑∑Yes.                                                   13∑∑in terms of, like, interest or principal; and
14∑∑∑∑Q.∑∑Okay.∑And did you authorize your                       14∑∑then sometimes the tax guys will say periodic
15∑∑lawyers to serve and file this document on your              15∑∑interest payments are important to -- for the
16∑∑behalf?                                                      16∑∑character of the notes, so sometimes periodic
17∑∑∑∑A.∑∑Yes.                                                   17∑∑interest payments are made.∑Sometimes I think
18∑∑∑∑Q.∑∑Okay.∑Looking at Request For                           18∑∑they peck on some of the notes.
19∑∑Admission Number 1, it asks you to admit that                19∑∑∑∑∑∑∑I don't -- I don't know or remember,
20∑∑in December 2019, you made a payment to the                  20∑∑but I hope that something like this is correct.
21∑∑debtor, a portion of which was applied to                    21∑∑Sometimes, if there was a need for cash into
22∑∑reduce principal and/or interest due under one               22∑∑Highland, the easiest way to -- for me or a
23∑∑or more of the notes.                                        23∑∑different entity to put cash into Highland was
24∑∑∑∑∑∑∑Have I read that correctly?                             24∑∑to reduce a principal amount of a note with the
25∑∑∑∑A.∑∑Yes.                                                   25∑∑thought that we could create new notes or
                                                      Page 194                                                           Page 195
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑increase another note later.                                 ∑2∑∑∑∑Q.∑∑Okay.∑And I appreciate -- I didn't
∑3∑∑∑∑∑∑∑So how many times or how often                          ∑3∑∑mean to suggest that you weren't compliant,
∑4∑∑interest payments were made or if there was                  ∑4∑∑sir.∑I'm just asking you if you can identify
∑5∑∑some small principal payment made at some                    ∑5∑∑any note that you made in favor of Highland
∑6∑∑point, I don't know the details; but I'm hoping              ∑6∑∑that was ever forgiven.
∑7∑∑that's accurate.                                             ∑7∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑And I'm just
∑8∑∑∑∑Q.∑∑Okay.∑We looked at three notes that                    ∑8∑∑∑∑going to object because, while he's not
∑9∑∑were signed by you in 2018, correct?                         ∑9∑∑∑∑30(b)(6) witness, this is a deposition
10∑∑∑∑A.∑∑Yes.                                                   10∑∑∑∑taken in a particular case and he may have
11∑∑∑∑Q.∑∑You signed other notes in favor of                     11∑∑∑∑not looked at the records going back to
12∑∑Highland prior to that time, correct?                        12∑∑∑∑2000, or whatever, that's -- since when
13∑∑∑∑A.∑∑I believe -- yeah.∑I mean, I                           13∑∑∑∑Highland was started.
14∑∑believe there were numerous notes beyond these.              14∑∑∑∑∑∑∑MR. MORRIS:∑I just can't tell you
15∑∑∑∑Q.∑∑Were -- were -- did you ever sign a                    15∑∑∑∑how inappropriate that is.
16∑∑note in favor of Highland that was forgiven?                 16∑∑BY MR. MORRIS:
17∑∑∑∑A.∑∑I don't -- I don't know.                               17∑∑∑∑Q.∑∑Go ahead, Mr. Dondero.
18∑∑∑∑Q.∑∑Do you have any recollection of ever                   18∑∑∑∑A.∑∑The same answer, I don't know.
19∑∑paying taxes in connection with a note that was              19∑∑∑∑Q.∑∑Okay.∑You did, in fact, pay in full
20∑∑subsequently forgiven by Highland?                           20∑∑all principal and interest due on notes that
21∑∑∑∑A.∑∑If there was -- if there was a                         21∑∑you made in favor of Highland other than the
22∑∑forgiveness and it was taxable, I would have                 22∑∑three notes at issue in this case, correct?
23∑∑paid the taxes.∑We were compliant in that                    23∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
24∑∑regard.∑I'm a hundred percent comfortable                    24∑∑∑∑form.
25∑∑we're compliant, but I don't know.                           25∑∑∑∑A.∑∑I -- I don't know.∑I would repeat

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01663
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 80 of 200 PageID 31233
                                                      Page 196                                                           Page 197
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑the answer I gave a few minutes ago when I kind              ∑2∑∑these three, correct?
∑3∑∑of rambled about cash management.                            ∑3∑∑∑∑A.∑∑Correct.
∑4∑∑BY MR. MORRIS:                                               ∑4∑∑∑∑Q.∑∑And you can't recall whether any --
∑5∑∑∑∑Q.∑∑Do you know how many notes you made                    ∑5∑∑any notes that you made in favor of Highland
∑6∑∑in favor of Highland beyond the three that are               ∑6∑∑were ever forgiven, correct?
∑7∑∑the subject of this litigation?                              ∑7∑∑∑∑A.∑∑I -- I don't know.
∑8∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        ∑8∑∑∑∑Q.∑∑Okay.∑So, did you ever object to
∑9∑∑∑∑form.                                                      ∑9∑∑the application of the payment referred to in
10∑∑∑∑A.∑∑I -- I do not, regarding myself                        10∑∑Request For Admission Number 1 to principal
11∑∑personally.                                                  11∑∑and/or interest due under one or more of the
12∑∑∑∑∑∑∑I am aware that the aggregate amount                    12∑∑notes?
13∑∑of affiliated notes is approximately 70 or                   13∑∑∑∑∑∑∑Did you ever object to the
14∑∑$80 million, including my notes; but that's it.              14∑∑application of the payment in that way?
15∑∑I mean, that's all I know.                                   15∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
16∑∑BY MR. MORRIS:                                               16∑∑∑∑form.
17∑∑∑∑Q.∑∑All right.∑I'm just asking you                         17∑∑∑∑A.∑∑I think the decision on how to
18∑∑about you, in your individual capacity.                      18∑∑handle cash needed at Highland was entirely
19∑∑∑∑A.∑∑I don't know.                                          19∑∑made and the application to note principal or
20∑∑∑∑Q.∑∑You don't know --                                      20∑∑interest was -- was entirely decided by the
21∑∑∑∑∑∑∑(Audio distortion.)                                     21∑∑accounting group.
22∑∑∑∑∑∑∑THE REPORTER:∑You broke up, sir.                        22∑∑BY MR. MORRIS:
23∑∑BY MR. MORRIS:                                               23∑∑∑∑Q.∑∑But did you know that decision was
24∑∑∑∑Q.∑∑You don't know the number of                           24∑∑made in or around December 2019?
25∑∑notes -- (audio distortion) -- Highland beyond               25∑∑∑∑A.∑∑Not really, no.∑Not specifically.
                                                      Page 198                                                           Page 199
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑Well, you've admitted to the fact.                     ∑2∑∑∑∑form.
∑3∑∑So, when did you learn that in December 2019 a               ∑3∑∑∑∑A.∑∑No, that's not true.
∑4∑∑payment made on your behalf, at least a portion              ∑4∑∑BY MR. MORRIS:
∑5∑∑of which was applied to reduce principal and/or              ∑5∑∑∑∑Q.∑∑Well, the conditions subsequent
∑6∑∑interest due under one or more of the notes?                 ∑6∑∑hadn't arisen yet; is that fair?
∑7∑∑When did you learn that?                                     ∑7∑∑∑∑A.∑∑The notes were in '18, correct?
∑8∑∑∑∑A.∑∑I don't know.∑It would have been as                    ∑8∑∑∑∑Q.∑∑Yes, sir.
∑9∑∑part of the process in preparing this document.              ∑9∑∑∑∑A.∑∑And then, yeah, the subsequent
10∑∑∑∑Q.∑∑So it's your testimony that somebody                   10∑∑condition was in the first quarter of '19.
11∑∑used your money in December 2019 to reduce                   11∑∑∑∑Q.∑∑Right.∑And then, in December of
12∑∑principal and/or interest due under one or more              12∑∑'19, a payment of principal and/or interest was
13∑∑of the notes without your knowledge?                         13∑∑made against one or more of the notes, right?
14∑∑∑∑A.∑∑Yeah, without my specific knowledge.                   14∑∑∑∑A.∑∑Yes.
15∑∑There was a reason to put money in at that                   15∑∑∑∑Q.∑∑And I'm just asking you, sir, if
16∑∑point in time, and then how they applied it was              16∑∑that's inconsistent with the agreement that you
17∑∑not my decision --                                           17∑∑reached with Nancy.
18∑∑∑∑Q.∑∑Making --                                              18∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
19∑∑∑∑A.∑∑-- not --                                              19∑∑∑∑form.
20∑∑∑∑Q.∑∑Making a payment -- you would agree                    20∑∑∑∑A.∑∑And I'm saying -- I'm saying no. I
21∑∑that making a payment of principle or interest               21∑∑mean, it's --
22∑∑under one or more of the notes conflicts with                22∑∑BY MR. MORRIS:
23∑∑the agreement that you reached with Nancy,                   23∑∑∑∑Q.∑∑Okay.∑Since learning of the
24∑∑right?                                                       24∑∑payment, have you tried to identify the person
25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        25∑∑who was responsible for applying your money in

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01664
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 81 of 200 PageID 31234
                                                      Page 200                                                           Page 201
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑the way that's described in Request For                      ∑2∑∑∑∑∑∑∑Do you see that?
∑3∑∑Admission Number 1?                                          ∑3∑∑∑∑A.∑∑Yes.
∑4∑∑∑∑A.∑∑No.                                                    ∑4∑∑∑∑Q.∑∑And you've denied that request for
∑5∑∑∑∑∑∑∑MR. MORRIS:∑Can we go down to                           ∑5∑∑admission.
∑6∑∑∑∑number 4, please?                                          ∑6∑∑∑∑∑∑∑Do you see that?
∑7∑∑BY MR. MORRIS:                                               ∑7∑∑∑∑A.∑∑Yes.
∑8∑∑∑∑Q.∑∑In your amended answer, I think you                    ∑8∑∑∑∑Q.∑∑So, who did you inform at the debtor
∑9∑∑asserted that the -- "each note is ambiguous."               ∑9∑∑of your belief that a provision of the notes
10∑∑Do I have that right?                                        10∑∑was ambiguous?
11∑∑∑∑∑∑∑We can go back, if you would like to                    11∑∑∑∑∑∑∑Who did you --
12∑∑look?                                                        12∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object.
13∑∑∑∑A.∑∑Is this admission number 4?∑Is that                    13∑∑BY MR. MORRIS:
14∑∑where you're pointing to?                                    14∑∑∑∑Q.∑∑Who did you communicate that to?
15∑∑∑∑Q.∑∑It is, and I'll just read it.∑It                       15∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
16∑∑refers to paragraph 45 of the amended answer,                16∑∑∑∑form, no foundation.
17∑∑and I'll read it.∑But I'm happy to go back and               17∑∑∑∑A.∑∑I -- I -- I don't -- "I don't know"
18∑∑put it on the screen, if you'd would like.                   18∑∑is my answer to pretty much any question you
19∑∑∑∑∑∑∑But it says simply:∑"Defendant                          19∑∑could ask there.
20∑∑further asserts that each note is ambiguous."                20∑∑BY MR. MORRIS:
21∑∑∑∑∑∑∑So request for number 4 asks you to                     21∑∑∑∑Q.∑∑This is -- you're denying the
22∑∑admit that before you served that amended                    22∑∑request for admission, and that's your right.
23∑∑answer, you had never informed the debtor of                 23∑∑∑∑∑∑∑Did you ever inform the debtor of
24∑∑your belief that any provision of the notes was              24∑∑your belief that a provision of the notes was
25∑∑ambiguous.                                                   25∑∑ambiguous?
                                                      Page 202                                                           Page 203
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no                           ∑2∑∑have specific knowledge.
∑3∑∑∑∑foundation.                                                ∑3∑∑BY MR. MORRIS:
∑4∑∑∑∑A.∑∑As -- ask the question again,                          ∑4∑∑∑∑Q.∑∑Do you have any knowledge, can you
∑5∑∑please.                                                      ∑5∑∑identify any person who informed the debtor of
∑6∑∑BY MR. MORRIS:                                               ∑6∑∑your belief?
∑7∑∑∑∑Q.∑∑Did you ever inform the debtor of                      ∑7∑∑∑∑A.∑∑I don't have specific knowledge. I
∑8∑∑your belief that any provision of the notes was              ∑8∑∑don't -- I don't -- I don't know.
∑9∑∑ambiguous?                                                   ∑9∑∑∑∑Q.∑∑Can you tell me when the debtor was
10∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no                           10∑∑informed of your belief that any provision of
11∑∑∑∑foundation.                                                11∑∑the notes was ambiguous?
12∑∑∑∑A.∑∑You know, I don't know what                            12∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no
13∑∑conversations were had between lawyers.∑I -- I               13∑∑∑∑foundation.
14∑∑don't know.                                                  14∑∑∑∑A.∑∑I don't know.
15∑∑BY MR. MORRIS:                                               15∑∑BY MR. MORRIS:
16∑∑∑∑Q.∑∑Okay.∑So I'm going to ask a                            16∑∑∑∑Q.∑∑Can you identify the person who was
17∑∑slightly different question because of your                  17∑∑acting on behalf of the debtor who was informed
18∑∑answer:∑Can you tell me whether you or anybody               18∑∑by you or anyone acting on your behalf of your
19∑∑acting on your behalf ever informed the debtor               19∑∑belief that any provision of the notes was
20∑∑of your belief that any provision of any of the              20∑∑ambiguous?
21∑∑notes was ambiguous?                                         21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no
22∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, no                           22∑∑∑∑foundation.
23∑∑∑∑foundation.                                                23∑∑∑∑A.∑∑I don't know.
24∑∑∑∑A.∑∑I'm going to have to say, yes, I                       24∑∑BY MR. MORRIS:
25∑∑believe that statement is true; but I don't                  25∑∑∑∑Q.∑∑Okay.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01665
                                                                                                                                    YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 82 of 200 PageID 31235
                                                       Page 204                                                            Page 205
∑1∑∑∑∑∑∑Dondero - 5-28-2021                                       ∑1∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑MR. MORRIS:∑Let's go to the next                           ∑2∑∑∑∑∑THE REPORTER:∑Are we still on the
∑3∑∑exhibit, please.                                              ∑3∑∑record, please?
∑4∑∑∑∑∑THE WITNESS:∑Is this a good time                           ∑4∑∑∑∑∑MR. MORRIS:∑Yes.
∑5∑∑for a lunch break?                                            ∑5∑∑∑∑∑COURT REPORTER:∑Okay.
∑6∑∑∑∑∑MR. MORRIS:∑Yeah.∑I'm happy to do                          ∑6∑∑∑∑∑MS. DEITSCH-PEREZ:∑We'll --
∑7∑∑it.∑I'm trying to move as quickly as I                        ∑7∑∑∑∑∑MR. MORRIS:∑If you have time
∑8∑∑can, Mr. Dondero.∑This is a little bit                        ∑8∑∑constraints -- if you have time
∑9∑∑longer than you and I usually sit for, and                    ∑9∑∑constraints, Mr. Dondero, I'm prepared to
10∑∑I apologize for that, but I'm happy to take                   10∑∑keep going.∑I'll take a shorter break. I
11∑∑as long a break as you -- as you need.                        11∑∑don't want -- you know, I apologize for the
12∑∑∑∑∑MS. DEITSCH-PEREZ:∑How long do you                         12∑∑burden, but these are relevant questions.
13∑∑think you have for the rest of the                            13∑∑∑∑∑THE WITNESS:∑Yeah, let's -- let's
14∑∑deposition?∑What's your guess?                                14∑∑do 35 minutes, and we will try and wrap it
15∑∑∑∑∑MR. MORRIS:∑I would say more than                          15∑∑up in -- like you're saying, like an hour
16∑∑an hour, less than two.                                       16∑∑or less than two.
17∑∑∑∑∑MS. DEITSCH-PEREZ:∑Do you want to                          17∑∑∑∑∑MR. MORRIS:∑Yeah.
18∑∑take a really short --                                        18∑∑∑∑∑THE WITNESS:∑Yeah.∑I do need to be
19∑∑∑∑∑THE WITNESS:∑Can we take a half                            19∑∑someplace in the early afternoon.
20∑∑hour, like 12:30 our time, 1:30 East Coast                    20∑∑∑∑∑MR. MORRIS:∑I assure you, I'll do
21∑∑time?                                                         21∑∑my best to keep to that time frame.
22∑∑∑∑∑MR. MORRIS:∑Of course.                                     22∑∑∑∑∑THE WITNESS:∑Okay.∑Thank you.
23∑∑∑∑∑THE WITNESS:∑Yeah.∑So, we'll take                          23∑∑∑∑∑THE REPORTER:∑And we're off the
24∑∑35 minutes, and then we'll get back to it.                    24∑∑record.
25∑∑You know --                                                   25∑∑∑∑∑(Lunch recess held.)
                                                       Page 206                                                            Page 207
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑MR. MORRIS:∑Can we put up the next                       ∑2∑∑Objections and Answers to Highland Capital
∑3∑∑∑∑exhibit, which I believe is Number 12?                      ∑3∑∑Management, L.P.'s Second Set of
∑4∑∑∑∑∑∑∑(Exhibit 12 introduced.)                                 ∑4∑∑Interrogatories?
∑5∑∑BY MR. MORRIS:                                                ∑5∑∑∑∑A.∑∑Yes.
∑6∑∑∑∑Q.∑∑Okay.∑So, Mr. Dondero, these are                        ∑6∑∑∑∑Q.∑∑And did you believe that the facts
∑7∑∑interrogatories, and so I direct you first to                 ∑7∑∑stated therein were both within your personal
∑8∑∑the last page of the document, the Verification               ∑8∑∑knowledge and were true and correct?
∑9∑∑page.                                                         ∑9∑∑∑∑A.∑∑Yes.
10∑∑∑∑∑∑∑And is that your signature, sir?                         10∑∑∑∑Q.∑∑Okay.
11∑∑∑∑A.∑∑Yes.                                                    11∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to the
12∑∑∑∑Q.∑∑Now, this wasn't notarized.∑Is                          12∑∑∑∑substance of the document on page 4 of 6?
13∑∑there a reason why you didn't get this                        13∑∑BY MR. MORRIS:
14∑∑notarized?                                                    14∑∑∑∑Q.∑∑Okay.∑So, in the answer to
15∑∑∑∑A.∑∑No.                                                     15∑∑Interrogatory No. 1, you identify the
16∑∑∑∑Q.∑∑Okay.                                                   16∑∑conditions subsequent that were the subject of
17∑∑∑∑∑∑∑MR. MORRIS:∑If we could just scroll                      17∑∑the agreement that we've been talking about
18∑∑∑∑back up.                                                    18∑∑that you and Nancy entered into.
19∑∑BY MR. MORRIS:                                                19∑∑∑∑∑∑∑Do I have that right?
20∑∑∑∑Q.∑∑But is the Verification true --                         20∑∑∑∑A.∑∑Yes.
21∑∑∑∑∑∑∑MR. MORRIS:∑If we just go back to                        21∑∑∑∑Q.∑∑And to the best of your knowledge,
22∑∑∑∑it.                                                         22∑∑does the answer that's set forth in response to
23∑∑BY MR. MORRIS:                                                23∑∑Interrogatory No. 1 fully and accurately set
24∑∑∑∑Q.∑∑At the time you signed this                             24∑∑forth the conditions subsequent that were the
25∑∑document, had you read the Defendant's                        25∑∑subject of the agreement?

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01666
                                                                                                                                      YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 83 of 200 PageID 31236
                                                      Page 208                                                         Page 209
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        ∑2∑∑captures it.
∑3∑∑∑∑form.                                                      ∑3∑∑BY MR. MORRIS:
∑4∑∑∑∑A.∑∑Repeat the question, please.                           ∑4∑∑∑∑Q.∑∑Okay.∑There's a reference there to,
∑5∑∑BY MR. MORRIS:                                               ∑5∑∑quote, "the disposition of the portfolio
∑6∑∑∑∑Q.∑∑Does this answer to Interrogatory                      ∑6∑∑company interests managed and/or owned directly
∑7∑∑No. 1 set forth, to the best of your knowledge               ∑7∑∑or indirectly by Highland and/or its affiliates
∑8∑∑and understanding, the conditions subsequent                 ∑8∑∑or managed funds."
∑9∑∑that were part of the agreement that you and                 ∑9∑∑∑∑∑∑∑Do you see that?
10∑∑Nancy entered into in January or February 2019?              10∑∑∑∑A.∑∑Yes.
11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        11∑∑∑∑Q.∑∑What does that refer to?
12∑∑∑∑form.                                                      12∑∑∑∑A.∑∑Just, you know, MGM is owned in a
13∑∑∑∑A.∑∑Yes, large -- yes, largely --                          13∑∑variety of places, Cornerstone is owned in a
14∑∑BY MR. MORRIS:                                               14∑∑variety of places, and then Trussway is owned
15∑∑∑∑Q.∑∑Okay.                                                  15∑∑in a subsidiary of Highland.
16∑∑∑∑A.∑∑-- or yes.                                             16∑∑∑∑∑∑∑So there -- I believe it's to
17∑∑∑∑Q.∑∑Is there any aspect of this that you                   17∑∑capture the fact of the different ownerships or
18∑∑believe right now is incorrect?                              18∑∑controls of those three different investments.
19∑∑∑∑A.∑∑No.                                                    19∑∑∑∑Q.∑∑Are those the only portfolio company
20∑∑∑∑Q.∑∑Is there any aspect of your                            20∑∑interests managed and/or directly or indirectly
21∑∑agreement with Nancy on the conditions                       21∑∑by Highland or its affiliates -- withdrawn.
22∑∑subsequent that's not described in this answer?              22∑∑That was bad.
23∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        23∑∑∑∑∑∑∑This answer doesn't refer
24∑∑∑∑form.                                                      24∑∑specifically to any particular assets, correct?
25∑∑∑∑A.∑∑My recollection is that that largely                   25∑∑∑∑A.∑∑It does not.
                                                      Page 210                                                         Page 211
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑Okay.                                                  ∑2∑∑the agreement that you had with Nancy pertained
∑3∑∑∑∑A.∑∑Well, yeah.∑I think what the intent                    ∑3∑∑only to MGM, Cornerstone, and Trussway.∑Do I
∑4∑∑was -- those three companies I just mentioned                ∑4∑∑have that right?
∑5∑∑were always considered portfolio companies.                  ∑5∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑0bject to the
∑6∑∑There have been a few others over the years,                 ∑6∑∑∑∑form.
∑7∑∑but those are -- those -- I think they're                    ∑7∑∑∑∑A.∑∑The monetization of those three were
∑8∑∑trying to capture them that way, but I only                  ∑8∑∑the -- were the conditions subsequent, yes.
∑9∑∑remember talking to her about those three.                   ∑9∑∑BY MR. MORRIS:
10∑∑∑∑Q.∑∑Are there any other portfolio                          10∑∑∑∑Q.∑∑Okay.∑And there's a reference there
11∑∑company interests that are managed and/or owned              11∑∑to being disposed of, quote, on a favorable
12∑∑directly or indirectly by Highland and/or its                12∑∑basis.
13∑∑affiliates or managed funds?∑Are there any                   13∑∑∑∑∑∑∑Do you see that?
14∑∑other assets?                                                14∑∑∑∑A.∑∑Yes.
15∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        15∑∑∑∑Q.∑∑What does that mean?
16∑∑∑∑form.                                                      16∑∑∑∑A.∑∑Above cost or book value.
17∑∑∑∑A.∑∑There were some lesser private                         17∑∑∑∑Q.∑∑How much above cost or book value
18∑∑equity investments or companies, yes.                        18∑∑would you have to dispose of MGM, Cornerstone,
19∑∑BY MR. MORRIS:                                               19∑∑and Trussway in order to trigger the conditions
20∑∑∑∑Q.∑∑Can you identify them?                                 20∑∑subsequent?
21∑∑∑∑A.∑∑CCS Medical.∑I think OmniMax was                       21∑∑∑∑A.∑∑There wasn't -- there was just
22∑∑one.∑Kerri International.∑Yeah, those --                     22∑∑monetization on a favorable basis.∑There
23∑∑those are ones that come to mind.                            23∑∑wasn't a specific amount on each individual
24∑∑∑∑Q.∑∑Okay.∑But notwithstanding the                          24∑∑one.∑It only took one to trigger it.
25∑∑answer here, to the best of your recollection,               25∑∑∑∑Q.∑∑Oh.∑So the sale of any of those

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                              Appx. 01667
                                                                                                                                  YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 84 of 200 PageID 31237
                                                      Page 212                                                            Page 213
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑three assets would trigger the conditions                    ∑2∑∑∑∑form.
∑3∑∑subsequent?                                                  ∑3∑∑∑∑A.∑∑If any of them were sold above cost,
∑4∑∑∑∑A.∑∑Correct.                                               ∑4∑∑it would -- monetization would trigger the --
∑5∑∑∑∑Q.∑∑Okay.∑And who decided whether the                      ∑5∑∑the three notes -- forgiveness of the three
∑6∑∑asset was sold on a favorable basis?                         ∑6∑∑notes, yes.
∑7∑∑∑∑∑∑∑Who made that decision, under your                      ∑7∑∑BY MR. MORRIS:
∑8∑∑agreement with Nancy?                                        ∑8∑∑∑∑Q.∑∑Okay.∑And I just want to see if I
∑9∑∑∑∑A.∑∑It was just defined relative to                        ∑9∑∑can understand:∑Did you and Nancy discuss in
10∑∑cost, so it was just -- it was just a                        10∑∑January or February 2019 how much above cost
11∑∑factual -- there's nothing to decide.∑It would               11∑∑the sale would have to be in order for the
12∑∑just be a factual answer.                                    12∑∑debtor to forgive your obligations under the
13∑∑∑∑Q.∑∑So, I just want to make sure I                         13∑∑three notes?
14∑∑understand.                                                  14∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
15∑∑∑∑∑∑∑Your agreement with Nancy was that                      15∑∑∑∑form.
16∑∑--                                                           16∑∑∑∑A.∑∑No.∑It just had to be above cost,
17∑∑∑∑A.∑∑Yes.                                                   17∑∑not a amount above cost.
18∑∑∑∑Q.∑∑-- that -- all right.∑Withdrawn.                       18∑∑BY MR. MORRIS:
19∑∑∑∑∑∑∑Your agreement with Nancy in January                    19∑∑∑∑Q.∑∑Okay.
20∑∑or February 2019, was that if any of MGM,                    20∑∑∑∑A.∑∑Because just monetizing it -- just
21∑∑Cornerstone, or Trussway was sold at cost, the               21∑∑monetizing it and getting liquidity for an
22∑∑debtor would forgive your obligations under the              22∑∑illiquid investment, even if it was at cost, is
23∑∑three notes.                                                 23∑∑good.∑So something above cost is great.∑And
24∑∑∑∑∑∑∑Do I have that right?                                   24∑∑those are all big assets, and the notes were
25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        25∑∑small.
                                                      Page 214                                                            Page 215
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑Okay.∑So, again, I just want to                        ∑2∑∑∑∑Q.∑∑Thank you very much.
∑3∑∑really understand your agreement with Nancy.                 ∑3∑∑∑∑∑∑∑Was Grant Scott the trustee of the
∑4∑∑∑∑∑∑∑Did you and her specifically agree                      ∑4∑∑Dugaboy trust in January or February 2019?
∑5∑∑in January or February 2019 that if you sold                 ∑5∑∑∑∑A.∑∑He was at one point.∑I don't know
∑6∑∑either MGM or Cornerstone or Trussway for at                 ∑6∑∑if he was -- I don't know when he was the
∑7∑∑least $1 more than cost, then your obligations               ∑7∑∑trustee, but he got replaced at a -- some point
∑8∑∑under the three notes would be forgiven?                     ∑8∑∑in time.
∑9∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        ∑9∑∑∑∑Q.∑∑Do you know if it was before or
10∑∑∑∑form.                                                      10∑∑after the petition date?
11∑∑∑∑A.∑∑Before I answer that, I just -- can                    11∑∑∑∑A.∑∑Before or after the petition date.
12∑∑you repeat so I can get all the subjects and                 12∑∑∑∑∑∑∑It was before the petition date.
13∑∑participants straight in my head from the                    13∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑I'd ask for the
14∑∑beginning of that question?                                  14∑∑∑∑production of any documents that show that
15∑∑BY MR. MORRIS:                                               15∑∑∑∑Nancy Dondero was the trustee of the
16∑∑∑∑Q.∑∑Sure.∑Did you and Nancy agree in                       16∑∑∑∑Dugaboy trust in January or February 2019.
17∑∑January or February 2019 that if Highland sold               17∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑I'll take your
18∑∑either MGM or Cornerstone or Trussway for an                 18∑∑∑∑request under advisement.
19∑∑amount that was equal to at least $1 more than               19∑∑BY MR. MORRIS:
20∑∑cost, that -- that Highland would forgive your               20∑∑∑∑Q.∑∑Now, the last portion of
21∑∑obligations under the three notes?                           21∑∑Interrogatory No. 1, the answer to it, refers
22∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        22∑∑to a, quote, "basis wholly outside Dondero's
23∑∑∑∑form.                                                      23∑∑control."
24∑∑∑∑A.∑∑I believe that is correct.                             24∑∑∑∑∑∑∑Do you see that?
25∑∑BY MR. MORRIS:                                               25∑∑∑∑A.∑∑Uh-huh.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01668
                                                                                                                                     YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 85 of 200 PageID 31238
                                                      Page 216                                                          Page 217
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑Was that part of the agreement that                    ∑2∑∑the agreement?
∑3∑∑you entered into with Nancy in January or                    ∑3∑∑∑∑A.∑∑It was -- it was mine.∑And, again,
∑4∑∑February 2019?                                               ∑4∑∑it was probably unnecessary complexity, but...
∑5∑∑∑∑A.∑∑Yeah.∑It was probably unnecessary                      ∑5∑∑∑∑Q.∑∑And why did you want that piece of
∑6∑∑complexity, but yes.                                         ∑6∑∑it into the agreement?
∑7∑∑∑∑Q.∑∑Was there anything that you                            ∑7∑∑∑∑A.∑∑MGM ended up being a success story,
∑8∑∑envisioned in January or February 2019 that                  ∑8∑∑but the value of MGM and the prospects of MGM
∑9∑∑would have caused you to lose control of                     ∑9∑∑have bounced around considerably over the last
10∑∑Highland?                                                    10∑∑decade.∑And we never owned more than 17 or
11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        11∑∑18 percent and there was a 32 percent holder,
12∑∑∑∑form.                                                      12∑∑and Carl Icahn was involved at different points
13∑∑∑∑A.∑∑No, and I wasn't -- that wasn't the                    13∑∑in time.∑There was definitely a chance that,
14∑∑thought process.                                             14∑∑over our objections, it could have been sold at
15∑∑BY MR. MORRIS:                                               15∑∑a lower price without our support.
16∑∑∑∑Q.∑∑So what was the thought process?                       16∑∑∑∑∑∑∑And as far as Cornerstone was
17∑∑Why was that phrase part of -- why --                        17∑∑concerned, there was a half or a majority that
18∑∑withdrawn.                                                   18∑∑was in the Restoration Fund that had a whole
19∑∑∑∑∑∑∑Did you include that -- that aspect                     19∑∑bunch of outside investors in it; and,
20∑∑of the conditions subsequent -- withdrawn.                   20∑∑theoretically, that could have been sold
21∑∑∑∑∑∑∑Who decided that one of the                             21∑∑without our -- or against our recommendations.
22∑∑conditions subsequent would be the disposition               22∑∑∑∑∑∑∑So it was really meant to capture
23∑∑of the assets that you've described, quote,                  23∑∑those two possibilities.
24∑∑"wholly outside of Dondero's control."                       24∑∑∑∑Q.∑∑Did you tell Frank Waterhouse at any
25∑∑∑∑∑∑∑Whose idea was it to put that into                      25∑∑time about your agreement with Nancy that's
                                                      Page 218                                                          Page 219
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑subject to the conditions subsequent referred                ∑2∑∑∑∑form.
∑3∑∑to here in Interrogatory No. 1?                              ∑3∑∑∑∑A.∑∑I -- listen, I don't -- I don't
∑4∑∑∑∑A.∑∑I don't know if Frank knew the                         ∑4∑∑remember talking to him about the specifics,
∑5∑∑specifics.∑I think Frank really was aware that               ∑5∑∑but, in general, I -- he -- he -- he was deeply
∑6∑∑the loans could and would likely be forgiven                 ∑6∑∑involved in the thought process and the
∑7∑∑and -- yes.∑That's all to that answer.                       ∑7∑∑conclusion that the notes were forgiven or
∑8∑∑∑∑Q.∑∑Did you tell him that?                                 ∑8∑∑going to be for- --
∑9∑∑∑∑A.∑∑Yes, and -- I mean, partly he knew                     ∑9∑∑∑∑∑∑∑MR. MORRIS:∑I'm going to move to
10∑∑it from the history of Highland, and the                     10∑∑∑∑strike.
11∑∑structure of the notes are structured in a way               11∑∑BY MR. MORRIS:
12∑∑that facilitates forgiveness.                                12∑∑∑∑Q.∑∑And I'm not asking you to get into
13∑∑∑∑∑∑∑MR. MORRIS:∑I move to strike.                           13∑∑his head to tell me what you think he knew.
14∑∑BY MR. MORRIS:                                               14∑∑I'm asking you about what you told him.
15∑∑∑∑Q.∑∑Did you ever tell Frank Waterhouse                     15∑∑∑∑∑∑∑Did you ever tell Mr. Waterhouse
16∑∑about the agreement that you reached with                    16∑∑that you reached an agreement with Nancy
17∑∑Nancy?                                                       17∑∑pursuant to which the debtor had agreed not to
18∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        18∑∑collect on the notes subject to the conditions
19∑∑∑∑form.                                                      19∑∑subsequent set forth in your answer to
20∑∑∑∑A.∑∑Not -- not the specifics.                              20∑∑Interrogatory No. 1?
21∑∑BY MR. MORRIS:                                               21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
22∑∑∑∑Q.∑∑Did you ever mention anything about                    22∑∑∑∑form.
23∑∑any aspect of your agreement to Nancy -- with                23∑∑∑∑A.∑∑I don't remember.∑I -- I don't
24∑∑Nancy to Frank Waterhouse?                                   24∑∑remember enough to say conclusively one way or
25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        25∑∑the other.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01669
                                                                                                                                   YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 86 of 200 PageID 31239
                                                      Page 220                                                          Page 221
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑BY MR. MORRIS:                                               ∑2∑∑∑∑form.
∑3∑∑∑∑Q.∑∑Do you have any recollection of                        ∑3∑∑∑∑A.∑∑At different times they were, and
∑4∑∑telling any employee at Highland at any time of              ∑4∑∑then KPMG was.∑I don't remember who it was in
∑5∑∑your agreement with Nancy?                                   ∑5∑∑'17.
∑6∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        ∑6∑∑BY MR. MORRIS:
∑7∑∑∑∑form.                                                      ∑7∑∑∑∑Q.∑∑Okay.∑And it's a fact, is it not,
∑8∑∑∑∑A.∑∑I -- I don't know.                                     ∑8∑∑that until at least year-end 2018, Highland had
∑9∑∑BY MR. MORRIS:                                               ∑9∑∑audited the financial statements prepared for
10∑∑∑∑Q.∑∑Okay.∑Did you tell anybody employed                    10∑∑itself, right?
11∑∑or representing the debtor at any time of your               11∑∑∑∑A.∑∑I don't know.∑I wasn't aware they
12∑∑agreement with Nancy?                                        12∑∑stopped.
13∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        13∑∑∑∑Q.∑∑Okay.∑Okay.
14∑∑∑∑form.                                                      14∑∑∑∑∑∑∑So, I'm putting up on the screen the
15∑∑∑∑A.∑∑Not that I -- not that I recall.                       15∑∑"Consolidated Financial Statements and
16∑∑Again, I didn't think there was a reason to,                 16∑∑Supplemental Information" for the period
17∑∑initially.                                                   17∑∑December 31st, 2017.
18∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to                                18∑∑∑∑∑∑∑Do you see that?
19∑∑∑∑Exhibit 13, please?                                        19∑∑∑∑A.∑∑Uh-huh.
20∑∑∑∑∑∑∑(Exhibit 13 introduced.)                                20∑∑∑∑∑∑∑MR. MORRIS:∑And if we can go first
21∑∑BY MR. MORRIS:                                               21∑∑∑∑to the page marked 33470, which is, I
22∑∑∑∑Q.∑∑All right.∑When you were the CEO,                      22∑∑∑∑think, the --
23∑∑did PricewaterhouseCoopers serve as Highland's               23∑∑∑∑∑∑∑And is this -- does this refresh
24∑∑auditors?                                                    24∑∑∑∑your recollection that PWC served as
25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        25∑∑∑∑Highland's independent auditors for the
                                                      Page 222                                                          Page 223
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑financial statements prepared for the year                 ∑2∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to the
∑3∑∑∑∑ending December 31st, 2017?                                ∑3∑∑∑∑page -- the next page, 3471?
∑4∑∑∑∑∑∑∑MR. MORRIS:∑If you could scroll                         ∑4∑∑BY MR. MORRIS:
∑5∑∑∑∑down to the bottom of the page so                          ∑5∑∑∑∑Q.∑∑This is the Consolidated Balance
∑6∑∑∑∑Mr. Dondero can see the date.                              ∑6∑∑Sheet for the period December 31, 2017, and
∑7∑∑∑∑A.∑∑Okay.                                                  ∑7∑∑it's been redacted except to show "Notes and
∑8∑∑BY MR. MORRIS:                                               ∑8∑∑other amounts due from affiliates."∑Do you see
∑9∑∑∑∑Q.∑∑Do you see that?                                       ∑9∑∑that?
10∑∑∑∑A.∑∑If you're asking me to agree that it                   10∑∑∑∑A.∑∑Uh-huh.
11∑∑was Pricewaterhouse, yes, I agree.                           11∑∑∑∑Q.∑∑When you were the CEO, did Highland
12∑∑∑∑Q.∑∑And do you see that they signed                        12∑∑carry the Notes and Other Amounts Due from
13∑∑their letter on May 18th, 2018?∑Do you see                   13∑∑Affiliates as assets on its balance sheet?
14∑∑that?                                                        14∑∑∑∑A.∑∑Yes.
15∑∑∑∑A.∑∑Yeah.                                                  15∑∑∑∑Q.∑∑Okay.∑And that's what's reflected
16∑∑∑∑Q.∑∑And do you see, towards the top of                     16∑∑on this page; is that correct?
17∑∑the page, there's a statement about                          17∑∑∑∑A.∑∑I mean, that's what the heading
18∑∑"Management's Responsibility for the                         18∑∑says, yes.
19∑∑Consolidated Financial Statements"?                          19∑∑∑∑Q.∑∑Okay.
20∑∑∑∑A.∑∑Yes.                                                   20∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to Bates
21∑∑∑∑Q.∑∑And that's a pretty standard clause                    21∑∑∑∑number 33499.
22∑∑that auditors include in audited financial                   22∑∑∑∑∑∑∑(Scrolling.)
23∑∑statements, in your experience; isn't that                   23∑∑BY MR. MORRIS:
24∑∑right?                                                       24∑∑∑∑Q.∑∑And you're aware, are you not, that
25∑∑∑∑A.∑∑Yes.                                                   25∑∑in the Notes to the financial statements, PWC

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01670
                                                                                                                                   YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 87 of 200 PageID 31240
                                                      Page 224                                                          Page 225
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑described all of the notes and other amounts                 ∑2∑∑least the end of 2020, to the best of your
∑3∑∑that were due to affiliates -- due from                      ∑3∑∑knowledge?
∑4∑∑affiliates?                                                  ∑4∑∑∑∑A.∑∑Yes.
∑5∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        ∑5∑∑∑∑Q.∑∑And when did Frank Waterhouse become
∑6∑∑∑∑form.                                                      ∑6∑∑the head of the accounting department?
∑7∑∑∑∑A.∑∑Yes.                                                   ∑7∑∑∑∑A.∑∑A few years earlier.
∑8∑∑BY MR. MORRIS:                                               ∑8∑∑∑∑Q.∑∑So, to the best of your
∑9∑∑∑∑Q.∑∑And were you aware that in the                         ∑9∑∑recollection, Frank Waterhouse has been the
10∑∑financial statements prepared for Highland for               10∑∑head of the accounting department on a
11∑∑the period ending December 31st, 2017, that PWC              11∑∑continuous basis from the period approximately
12∑∑included in its notes amounts due from Highland              12∑∑2015 until the end of 2020; is that right?
13∑∑Capital Management Fund Advisors, L.P.?                      13∑∑∑∑A.∑∑If not earlier, but yes.∑But I
14∑∑∑∑A.∑∑The 0.2 million in the first                           14∑∑don't know the dates.
15∑∑sentence, is that your question?                             15∑∑∑∑Q.∑∑Okay.
16∑∑∑∑Q.∑∑Yes.∑You know, the whole -- who at                     16∑∑∑∑∑∑∑MR. MORRIS:∑Can we scroll down to
17∑∑Highland was responsible for providing                       17∑∑∑∑the next to the last paragraph there, the
18∑∑information to PWC relating to Notes and Other               18∑∑∑∑one that refers to Mr. Dondero?∑There you
19∑∑Amounts Due from Affiliates?                                 19∑∑∑∑go.
20∑∑∑∑A.∑∑The accounting department.                             20∑∑BY MR. MORRIS:
21∑∑∑∑Q.∑∑And who was the head of the                            21∑∑∑∑Q.∑∑Do you see that, according to this
22∑∑accounting department as of the end of 2017?                 22∑∑financial report, you "did not issue any new
23∑∑∑∑A.∑∑Frank Waterhouse.                                      23∑∑promissory notes to the Partnership" during the
24∑∑∑∑Q.∑∑And did Frank Waterhouse remain the                    24∑∑year 2017?
25∑∑head of the accounting department until at                   25∑∑∑∑A.∑∑Yeah.
                                                      Page 226                                                          Page 227
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑And to the best of your                                ∑2∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑3∑∑recollection, was that accurate?                             ∑3∑∑∑∑form.
∑4∑∑∑∑A.∑∑Yes.                                                   ∑4∑∑∑∑A.∑∑I -- I don't know.∑I don't know.
∑5∑∑∑∑Q.∑∑Okay.∑And to the best of your                          ∑5∑∑BY MR. MORRIS:
∑6∑∑recollection, was it also accurate that as of                ∑6∑∑∑∑Q.∑∑Okay.∑We can scroll through the
∑7∑∑the end of 2017, the total interest and                      ∑7∑∑entire page, if you would like, but I just --
∑8∑∑principal due on an -- on outstanding                        ∑8∑∑I'll ask the question first, and then you tell
∑9∑∑promissory notes was approximately 14 and a                  ∑9∑∑me what you need to read.
10∑∑half million dollars and was payable in annual               10∑∑∑∑∑∑∑Do you recall whether
11∑∑installments throughout the term of the note?                11∑∑PricewaterhouseCoopers' audited financial
12∑∑∑∑A.∑∑Yes.                                                   12∑∑statements ever disclosed the forgiveness of
13∑∑∑∑Q.∑∑And prior to your execution of the                     13∑∑any loan ever made by Highland to you or any of
14∑∑demand notes, do you recall that you had made,               14∑∑its employees?
15∑∑in favor of Highland, certain term notes?                    15∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
16∑∑∑∑A.∑∑I don't -- I don't recall.                             16∑∑∑∑form.
17∑∑∑∑Q.∑∑Do you remember having to make                         17∑∑∑∑A.∑∑I don't -- I don't know.
18∑∑payments to Highland to satisfy the terms of                 18∑∑BY MR. MORRIS:
19∑∑any notes prior to 2018?                                     19∑∑∑∑Q.∑∑Do you have a recollection of any?
20∑∑∑∑A.∑∑I can't recall.∑I didn't refresh --                    20∑∑∑∑A.∑∑I don't have a recollection --
21∑∑I didn't refresh myself on anything else, on                 21∑∑recollection of any.∑As a CPA, I'm not sure
22∑∑any other notes for this deposition.                         22∑∑it's required until it's forgiven, but I'm not
23∑∑∑∑Q.∑∑Okay.∑But looking at this                              23∑∑the expert.∑I can't remember seeing it or not
24∑∑paragraph, is there anything about it that you               24∑∑seeing it.
25∑∑currently believe is inaccurate or incorrect?                25∑∑∑∑Q.∑∑Did the debtor make --

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01671
                                                                                                                                   YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 88 of 200 PageID 31241
                                                      Page 228                                                            Page 229
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑MR. MORRIS:∑You know what?∑Let's                        ∑2∑∑directly or indirectly owned or controlled by
∑3∑∑∑∑look -- let's look at each of these.∑We                    ∑3∑∑you?
∑4∑∑∑∑can start with the bottom of the page.                     ∑4∑∑∑∑A.∑∑Yes.
∑5∑∑BY MR. MORRIS:                                               ∑5∑∑∑∑Q.∑∑All right.∑And you're the subject
∑6∑∑∑∑Q.∑∑Can you identify any of the makers                     ∑6∑∑of the next paragraph, right?
∑7∑∑of the notes that are referred to in this                    ∑7∑∑∑∑∑∑∑The next paragraph relates to Mark
∑8∑∑section that are not directly or indirectly                  ∑8∑∑Okada.∑Are you aware of any loan that was ever
∑9∑∑owned or controlled by you, other than                       ∑9∑∑made by Highland to Mr. Okada that was
10∑∑Mr. Okada?                                                   10∑∑forgiven?
11∑∑∑∑∑∑∑So, if we start at the top, is                          11∑∑∑∑A.∑∑I don't know.
12∑∑Highland Capital Management Fund Advisors,                   12∑∑∑∑Q.∑∑Okay.
13∑∑L.P., an entity that is either directly or                   13∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to the next
14∑∑indirectly owned or controlled by you?                       14∑∑∑∑paragraph, please?
15∑∑∑∑A.∑∑Yes.                                                   15∑∑BY MR. MORRIS:
16∑∑∑∑Q.∑∑NexPoint Advisors, L.P., the next                      16∑∑∑∑Q.∑∑There's a reference to The Dugaboy
17∑∑paragraph, is that an entity that is directly                17∑∑Investment Trust.∑Do you see that?
18∑∑or indirectly owned or controlled by you?                    18∑∑∑∑A.∑∑Yes.
19∑∑∑∑A.∑∑Yes.                                                   19∑∑∑∑Q.∑∑Either your sister or Mr. Scott have
20∑∑∑∑Q.∑∑HCRE Partners, LLC, is that an                         20∑∑served as the sole trustee of Dugaboy since the
21∑∑entity that is directly or indirectly owned or               21∑∑time it was created; is that correct?
22∑∑controlled by you?                                           22∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
23∑∑∑∑A.∑∑Yes.                                                   23∑∑∑∑form.
24∑∑∑∑Q.∑∑Highland Capital Management                            24∑∑∑∑A.∑∑I -- I don't know.
25∑∑Services, Inc., is that an entity that is                    25∑∑BY MR. MORRIS:
                                                      Page 230                                                            Page 231
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑Do you recall anybody at any time                      ∑2∑∑∑∑Q.∑∑Okay.∑The next paragraph refers to
∑3∑∑serving as the trustee of The Dugaboy                        ∑3∑∑a Contribution Agreement.∑Do you see that?
∑4∑∑Investment Trust other than Nancy or Mr. Scott?              ∑4∑∑∑∑A.∑∑Yes.
∑5∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        ∑5∑∑∑∑Q.∑∑Are you familiar who the affiliated
∑6∑∑∑∑form.                                                      ∑6∑∑trust is that entered into the Contribution
∑7∑∑∑∑A.∑∑I -- I don't remember.                                 ∑7∑∑Agreement?
∑8∑∑BY MR. MORRIS:                                               ∑8∑∑∑∑A.∑∑No.∑I'm willing to be refreshed,
∑9∑∑∑∑Q.∑∑Are you the lifetime beneficiary of                    ∑9∑∑but I don't remember.
10∑∑The Dugaboy Investment Trust?                                10∑∑∑∑Q.∑∑Is it the Hunter Mountain Investment
11∑∑∑∑A.∑∑Yes.                                                   11∑∑Trust?
12∑∑∑∑Q.∑∑And have you been -- withdrawn.                        12∑∑∑∑A.∑∑It could be.
13∑∑∑∑∑∑∑Are you the sole lifetime                               13∑∑∑∑Q.∑∑Can you think of any other
14∑∑beneficiary of The Dugaboy Investment Trust?                 14∑∑affiliated trust other than Hunter Mountain who
15∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        15∑∑carried a note receivable in the amount of
16∑∑∑∑form.                                                      16∑∑$63 million due to the partnership?
17∑∑∑∑A.∑∑I believe so.                                          17∑∑∑∑A.∑∑No.
18∑∑BY MR. MORRIS:                                               18∑∑∑∑Q.∑∑Do you directly or indirectly own or
19∑∑∑∑Q.∑∑Okay.∑And has that been true since                     19∑∑control the Hunter Mountain Trust?
20∑∑the time The Dugaboy Investment Trust was                    20∑∑∑∑A.∑∑No.
21∑∑created?                                                     21∑∑∑∑Q.∑∑Let's go -- do you have any interest
22∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        22∑∑in the Hunter Mountain Trust?
23∑∑∑∑form.                                                      23∑∑∑∑A.∑∑No.
24∑∑∑∑A.∑∑I don't know for sure.                                 24∑∑∑∑Q.∑∑Directly or indirectly?
25∑∑BY MR. MORRIS:                                               25∑∑∑∑A.∑∑No.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01672
                                                                                                                                     YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 89 of 200 PageID 31242
                                                      Page 232                                                          Page 233
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to 33510,                         ∑2∑∑∑∑∑∑∑Do you remember that?
∑3∑∑∑∑please?                                                    ∑3∑∑∑∑∑∑∑I apologize.∑Withdrawn.
∑4∑∑∑∑∑∑∑(Scrolling.)                                            ∑4∑∑∑∑∑∑∑That was the 3.825 million-dollar
∑5∑∑BY MR. MORRIS:                                               ∑5∑∑∑∑note.
∑6∑∑∑∑Q.∑∑Just to refresh your recollection,                     ∑6∑∑∑∑∑∑∑Do you remember that?
∑7∑∑PricewaterhouseCoopers's letter is dated                     ∑7∑∑∑∑A.∑∑Okay.∑Yes.
∑8∑∑May 18th, 2018.                                              ∑8∑∑∑∑Q.∑∑Okay.∑So, if that note was 3. --
∑9∑∑∑∑∑∑∑And you see there, note 16 refers to                    ∑9∑∑let's just call it roughly $3.9 million, does
10∑∑"Subsequent Events."∑Do you see that?                        10∑∑that mean that there were $7.8 million of other
11∑∑∑∑A.∑∑Yep.                                                   11∑∑notes that you made in favor of Highland during
12∑∑∑∑Q.∑∑So, sometime between January 1st and                   12∑∑the first five months of 2018?
13∑∑May 18, 2018, which is the report date,                      13∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
14∑∑PricewaterhouseCoopers is disclosing that you                14∑∑∑∑form.
15∑∑issued promissory notes in the amount of                     15∑∑∑∑A.∑∑Yeah, I think you got the wrong --
16∑∑$11.7 million.∑Do you see that?                              16∑∑well, you're -- I'm not the accounting
17∑∑∑∑A.∑∑Yes.                                                   17∑∑department.∑I'm not the auditor.∑My comment
18∑∑∑∑Q.∑∑Do you believe that was true and                       18∑∑would be our financial statements have always
19∑∑accurate at the time?∑Is that your                           19∑∑been -- our audited financial statements have
20∑∑recollection?                                                20∑∑always been extremely accurate and
21∑∑∑∑A.∑∑Yes.                                                   21∑∑Pricewaterhouse and KPMG literally do a hundred
22∑∑∑∑Q.∑∑Now, of the three notes that we                        22∑∑percent sampling of all transactions.
23∑∑looked at, only one of them was issued before                23∑∑Everything is reflected accurately in the
24∑∑May 18, 2018.∑That was the 2 and a half                      24∑∑financials, and there's no missing note or
25∑∑million-dollar note.                                         25∑∑misstated note or unequal amount, or whatever.
                                                      Page 234                                                          Page 235
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑And I refuse to go in that direction just                    ∑2∑∑∑∑the document, it's page 9 of the document,
∑3∑∑because I don't know the details.                            ∑3∑∑∑∑Bates number 33408.∑All right.
∑4∑∑BY MR. MORRIS:                                               ∑4∑∑∑∑∑∑∑And scroll up to the prior page,
∑5∑∑∑∑Q.∑∑I appreciate that, sir, and I didn't                   ∑5∑∑∑∑please.∑Just looking for the signatures.
∑6∑∑mean to take you into that direction.∑I'm just               ∑6∑∑BY MR. MORRIS:
∑7∑∑asking you if you know what accounts for the                 ∑7∑∑∑∑Q.∑∑All right.∑Is that your signature
∑8∑∑difference between the $11.7 million stated and              ∑8∑∑there, sir?
∑9∑∑the 3.825 million-dollar note that we looked at              ∑9∑∑∑∑A.∑∑Yeah.
10∑∑as Exhibit Number 1 that was tendered by you on              10∑∑∑∑Q.∑∑And did you sign this management
11∑∑February 2nd, 2018.∑That's all.                              11∑∑representation letter on behalf of Highland in
12∑∑∑∑A.∑∑I -- I don't know.∑I have no -- I                      12∑∑your capacity as the Strand Advisors, Inc.,
13∑∑have no idea.                                                13∑∑general partner on or about May 18th, 2018?
14∑∑∑∑Q.∑∑Okay.∑In the course of the audit,                      14∑∑∑∑A.∑∑Yeah.
15∑∑you personally sign management representation                15∑∑∑∑Q.∑∑And Frank Waterhouse, is that -- do
16∑∑letters, right?                                              16∑∑you know that to be his signature below?
17∑∑∑∑A.∑∑Usually at the end.                                    17∑∑∑∑A.∑∑It resembles it, yes.
18∑∑∑∑Q.∑∑Yeah.                                                  18∑∑∑∑Q.∑∑Okay.∑Do you have an understanding
19∑∑∑∑∑∑∑MR. MORRIS:∑So can we call the next                     19∑∑of why you signed this document?
20∑∑∑∑exhibit up, please?                                        20∑∑∑∑A.∑∑Despite all their auditing and
21∑∑∑∑∑∑∑(Exhibit 14 introduced.)                                21∑∑double-checking of all source information,
22∑∑BY MR. MORRIS:                                               22∑∑they -- they want a validation from management,
23∑∑∑∑Q.∑∑And happy to take a look at it.∑I'm                    23∑∑also.
24∑∑going to point you to a couple of things.                    24∑∑∑∑Q.∑∑And is that standard and customary,
25∑∑∑∑∑∑∑MR. MORRIS:∑But if we could go to                       25∑∑to the best of your experience?

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01673
                                                                                                                                   YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 90 of 200 PageID 31243
                                                      Page 236                                                            Page 237
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑A.∑∑Yes.                                                   ∑2∑∑∑∑document.
∑3∑∑∑∑Q.∑∑Okay.                                                  ∑3∑∑∑∑∑∑∑(Exhibit 15 introduced.)
∑4∑∑∑∑∑∑∑MR. MORRIS:∑Can we go back to the                       ∑4∑∑BY MR. MORRIS:
∑5∑∑∑∑first page, please?                                        ∑5∑∑∑∑Q.∑∑These are the audited financials for
∑6∑∑∑∑∑∑∑(Scrolling.)                                            ∑6∑∑the period ending December 31st, 2018.
∑7∑∑BY MR. MORRIS:                                               ∑7∑∑∑∑∑∑∑MR. MORRIS:∑And if you could go to
∑8∑∑∑∑Q.∑∑Do you see in the second paragraph,                    ∑8∑∑∑∑the third page, the one ending in 33424.
∑9∑∑the last sentence, there's a reference to                    ∑9∑∑∑∑∑∑∑No, above.∑Yeah, right there.
10∑∑"materiality"?                                               10∑∑∑∑∑∑∑Do you see PricewaterhouseCoopers
11∑∑∑∑∑∑∑MR. MORRIS:∑If you can just scroll                      11∑∑∑∑signed the audit letter on June 3rd, 2019?
12∑∑∑∑down a bit.                                                12∑∑∑∑A.∑∑Yep.
13∑∑BY MR. MORRIS:                                               13∑∑∑∑∑∑∑MR. MORRIS:∑And if we can scroll up
14∑∑∑∑Q.∑∑And it says, quote, "Materiality                       14∑∑∑∑to the top of the page, it has the same
15∑∑used for purposes of these representations is                15∑∑∑∑statement concerning "Management's
16∑∑$2,000,000."                                                 16∑∑∑∑Responsibility for the Consolidated
17∑∑∑∑∑∑∑Am I reading that correctly?                            17∑∑∑∑Financial Statements" that we looked at
18∑∑∑∑A.∑∑Yes.                                                   18∑∑∑∑earlier in the 2017 audit, correct?
19∑∑∑∑Q.∑∑And did you understand that Highland                   19∑∑∑∑A.∑∑Yes.
20∑∑was to provide to PWC, so that it could prepare              20∑∑BY MR. MORRIS:
21∑∑the audited financial statements with                        21∑∑∑∑Q.∑∑Okay.∑And that's -- looking at it,
22∑∑information relating to issues and transactions              22∑∑that's customary language that auditors include
23∑∑that were material, using that definition?                   23∑∑in audited financial statements, correct?
24∑∑∑∑A.∑∑Yes.                                                   24∑∑∑∑A.∑∑Yep.
25∑∑∑∑∑∑∑MR. MORRIS:∑Let's go to the next                        25∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to the next
                                                      Page 238                                                            Page 239
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑page, please?                                              ∑2∑∑Nancy in January or February of 2019?
∑3∑∑BY MR. MORRIS:                                               ∑3∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑4∑∑∑∑Q.∑∑Again, you'll see that this is the                     ∑4∑∑∑∑form.
∑5∑∑Consolidated Balance Sheet for the period                    ∑5∑∑∑∑A.∑∑Not that I recall.
∑6∑∑ending December 31st, 2018.∑Do you see that?                 ∑6∑∑BY MR. MORRIS:
∑7∑∑∑∑A.∑∑Yes.                                                   ∑7∑∑∑∑Q.∑∑Do you know if anybody told PWC,
∑8∑∑∑∑Q.∑∑And is it accurate that Highland                       ∑8∑∑prior to the completion of the audited
∑9∑∑continued to carry on its balance sheet as an                ∑9∑∑financial statements for the period ending
10∑∑asset all "Notes and Other Amounts Due from                  10∑∑December 31st, 2018, of your agreement with
11∑∑Affiliates"?                                                 11∑∑Nancy?
12∑∑∑∑A.∑∑Yes.                                                   12∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
13∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        13∑∑∑∑form.
14∑∑∑∑form.                                                      14∑∑∑∑A.∑∑Not that I know of.
15∑∑BY MR. MORRIS:                                               15∑∑BY MR. MORRIS:
16∑∑∑∑Q.∑∑And you knew -- you knew at the time                   16∑∑∑∑Q.∑∑Did you ever instruct anybody to
17∑∑that the audited financials were finalized that              17∑∑inform PWC about the agreement you reached with
18∑∑Highland was carrying on its balance sheet                   18∑∑Nancy in --
19∑∑"Notes and Other Amounts Due from Affiliates,"               19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
20∑∑correct?                                                     20∑∑∑∑form.
21∑∑∑∑A.∑∑Yup.                                                   21∑∑BY MR. MORRIS:
22∑∑∑∑Q.∑∑Did you personally tell anybody at                     22∑∑∑∑Q.∑∑-- January --
23∑∑PWC in connection with the preparation of the                23∑∑∑∑∑∑∑MR. MORRIS:∑Please let me finish
24∑∑audited financial statements for 2018 that you               24∑∑∑∑the question.
25∑∑had entered into the agreement with your sister              25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑You took a

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01674
                                                                                                                                     YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 91 of 200 PageID 31244
                                                      Page 240                                                          Page 241
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑breath.∑Sorry.                                             ∑2∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑3∑∑∑∑∑∑∑MR. MORRIS:∑Are you finished?                           ∑3∑∑∑∑form.
∑4∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Yes.∑As I                            ∑4∑∑∑∑A.∑∑Repeat the question.
∑5∑∑∑∑explained, you took a breath, and I thought                ∑5∑∑∑∑∑∑∑Did I personally approve?∑Was that
∑6∑∑∑∑you were done.∑Sorry.                                      ∑6∑∑the question or --
∑7∑∑BY MR. MORRIS:                                               ∑7∑∑BY MR. MORRIS:
∑8∑∑∑∑Q.∑∑Did you ever instruct anybody to                       ∑8∑∑∑∑Q.∑∑Yes.∑Withdrawn.
∑9∑∑inform PWC of your agreement that you reached                ∑9∑∑∑∑∑∑∑I'll ask a different question.
10∑∑with Nancy in January or February 2019?                      10∑∑∑∑∑∑∑And I'm happy to give you the time
11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        11∑∑needed to look at the full disclosure, but are
12∑∑∑∑form.                                                      12∑∑you aware of any note or other amount due from
13∑∑∑∑A.∑∑No.                                                    13∑∑affiliate that you didn't approve and
14∑∑∑∑∑∑∑MR. MORRIS:∑Can you please go to                        14∑∑authorize?
15∑∑∑∑page 33451?                                                15∑∑∑∑A.∑∑I'm not aware.
16∑∑∑∑∑∑∑(Scrolling.)                                            16∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑If we could just
17∑∑BY MR. MORRIS:                                               17∑∑∑∑focus in on that bottom paragraph relating
18∑∑∑∑Q.∑∑And we've got the "Notes and Other                     18∑∑∑∑to Mr. Dondero.
19∑∑Amounts Due from Affiliates."∑We had gone                    19∑∑BY MR. MORRIS:
20∑∑through all of this before and I'm not going to              20∑∑∑∑Q.∑∑So there's a reference there to your
21∑∑do it again, but I do want to ask you, sir:                  21∑∑having "issued promissory notes to the
22∑∑Did you personally approve and authorize each                22∑∑Partnership in the aggregate amount of
23∑∑of the notes that are reflected in the PWC                   23∑∑$14.9 million" during 2018.
24∑∑disclosure concerning Notes and Other Amounts                24∑∑∑∑∑∑∑Do you see that?
25∑∑Due from Affiliates?                                         25∑∑∑∑A.∑∑Yes.
                                                      Page 242                                                          Page 243
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑That would include the three notes                     ∑2∑∑∑∑A.∑∑No.
∑3∑∑at issue in this lawsuit; is that right?                     ∑3∑∑∑∑Q.∑∑And it doesn't mention any amendment
∑4∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        ∑4∑∑to any of the notes, correct?
∑5∑∑∑∑form.                                                      ∑5∑∑∑∑A.∑∑No.
∑6∑∑∑∑A.∑∑(No response.)                                         ∑6∑∑∑∑Q.∑∑It doesn't describe any conditions
∑7∑∑BY MR. MORRIS:                                               ∑7∑∑that have been placed on the collectability of
∑8∑∑∑∑Q.∑∑Let me ask a different question.                       ∑8∑∑the notes from you, correct?
∑9∑∑∑∑∑∑∑The three -- the three notes at                         ∑9∑∑∑∑A.∑∑No.
10∑∑issue in this lawsuit were all issued in 2018,               10∑∑∑∑Q.∑∑It doesn't state that the notes
11∑∑correct?                                                     11∑∑might be forgiven upon some conditions
12∑∑∑∑A.∑∑Yes.                                                   12∑∑subsequent, correct?
13∑∑∑∑Q.∑∑Okay.∑Do you have a recollection as                    13∑∑∑∑A.∑∑No, it does not.
14∑∑to what notes account for the difference                     14∑∑∑∑∑∑∑MR. MORRIS:∑Can we turn to
15∑∑between the $8.8 million or so that's at issue               15∑∑∑∑page 33461, please?
16∑∑in this lawsuit and the $14.9 million                        16∑∑∑∑∑∑∑(Scrolling.)
17∑∑referenced in this disclosure?                               17∑∑BY MR. MORRIS:
18∑∑∑∑A.∑∑I don't, other than that -- I                          18∑∑∑∑Q.∑∑And these are "Subsequent Events,"
19∑∑believe the audit is accurate and, you know,                 19∑∑and I just want to look through them --
20∑∑there could have been principle or interest                  20∑∑withdrawn.
21∑∑paydowns.∑I don't know the reason for the                    21∑∑∑∑∑∑∑You understand that these financial
22∑∑difference.                                                  22∑∑statements are for the period ending
23∑∑∑∑Q.∑∑This disclosure, as it pertains to                     23∑∑December 31st, 2018, correct?
24∑∑you, doesn't mention any oral agreement, does                24∑∑∑∑A.∑∑Yes.
25∑∑it?                                                          25∑∑∑∑Q.∑∑And the agreement that you reached

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01675
                                                                                                                                   YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 92 of 200 PageID 31245
                                                      Page 244                                                           Page 245
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑with Nancy, to the best of your recollection,                ∑2∑∑∑∑Q.∑∑Is there any reference made to the
∑3∑∑occurred in January or February 2019, correct?               ∑3∑∑agreement that you reached with Nancy in
∑4∑∑∑∑∑∑∑(Simultaneous conversation.)                            ∑4∑∑January or February 2019?
∑5∑∑∑∑A.∑∑Yes --                                                 ∑5∑∑∑∑A.∑∑No.
∑6∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        ∑6∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑And I just want
∑7∑∑∑∑form.                                                      ∑7∑∑∑∑to object for the record that we asked the
∑8∑∑∑∑∑∑∑THE REPORTER:∑I didn't hear an                          ∑8∑∑∑∑debtor for all of the Highland financial --
∑9∑∑∑∑answer.                                                    ∑9∑∑∑∑audited financial statements.∑We got
10∑∑∑∑A.∑∑Repeat the question again, just in                     10∑∑∑∑highly redacted ones where the debtor has
11∑∑case.                                                        11∑∑∑∑clearly left unredacted only those things
12∑∑BY MR. MORRIS:                                               12∑∑∑∑it wanted to use while denying Mr. Dondero
13∑∑∑∑Q.∑∑Sure.∑The agreement that you -- the                    13∑∑∑∑the unredacted copies.∑So we do not have
14∑∑agreement that you reached with Nancy on behalf              14∑∑∑∑here, for him to look at, the unredacted
15∑∑of Highland was an agreement that was reached                15∑∑∑∑Highland audited financial statements.
16∑∑in January or February 2019, correct?                        16∑∑∑∑∑∑∑MR. MORRIS:∑But this is the only
17∑∑∑∑A.∑∑Was in -- the last was in January or                   17∑∑∑∑portion of the document -- well, I'm not
18∑∑February of '19, yes.∑Yes.                                   18∑∑∑∑going to argue.
19∑∑∑∑Q.∑∑Okay.∑So I just want to show you                       19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Yes.∑You showed
20∑∑the entirety of the "Subsequent Events" because              20∑∑∑∑us what you wanted to show him in an
21∑∑they cover the period from December 31st, 2018,              21∑∑∑∑unredacted (audio distortion) gave him
22∑∑until the report date of June 3, 2019.                       22∑∑∑∑fully redacted copies.∑I understand that.
23∑∑∑∑∑∑∑MR. MORRIS:∑If we could just look                       23∑∑∑∑∑∑∑MR. MORRIS:∑Yeah, and I'll be happy
24∑∑∑∑at that.                                                   24∑∑∑∑to submit a unredacted copy to the Judge
25∑∑BY MR. MORRIS:                                               25∑∑∑∑under seal so that she can see whether or
                                                      Page 246                                                           Page 247
∑1∑∑∑∑∑∑Dondero - 5-28-2021                                      ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑not there's any other aspect of the                          ∑2∑∑∑∑let's get through as much as we can, and
∑3∑∑financial statements that --                                 ∑3∑∑∑∑we'll see where we are.
∑4∑∑∑∑∑MS. DEITSCH-PEREZ:∑That's fine.                           ∑4∑∑BY MR. MORRIS:
∑5∑∑∑∑∑MR. MORRIS:∑-- pertain to the                             ∑5∑∑∑∑Q.∑∑The next document is the management
∑6∑∑notes.                                                       ∑6∑∑representation letter.
∑7∑∑∑∑∑Give me a break.∑Stop.                                    ∑7∑∑∑∑∑∑∑(Exhibit 16 introduced.)
∑8∑∑∑∑∑MS. DEITSCH-PEREZ:∑I know.                                ∑8∑∑BY MR. MORRIS:
∑9∑∑Litigation isn't a one-way -- one-way                        ∑9∑∑∑∑Q.∑∑And I would just ask you to look at,
10∑∑disco.                                                       10∑∑I guess, page 33419 and just confirm for me
11∑∑∑∑∑MR. MORRIS:∑Okay.∑All right.                              11∑∑that that's your signature.
12∑∑∑∑∑The next document, please.                                12∑∑∑∑A.∑∑Yes.
13∑∑∑∑∑THE WITNESS:∑How are we doing on                          13∑∑∑∑Q.∑∑Okay.∑And this contains the same
14∑∑time?                                                        14∑∑representations that you made to PWC that we
15∑∑∑∑∑MR. MORRIS:∑We're doing pretty                            15∑∑looked at in the earlier management rep letter,
16∑∑well.∑I think we're going to fit within --                   16∑∑right?
17∑∑we're not quite an hour back on, but I'm                     17∑∑∑∑A.∑∑Yes.
18∑∑confident that we'll fit within the one- to                  18∑∑∑∑Q.∑∑Okay.∑Let's look at the next
19∑∑two-hour -- we'll be done within an hour.                    19∑∑document, please.
20∑∑That's my point.                                             20∑∑∑∑∑∑∑(Exhibit 17 introduced.)
21∑∑∑∑∑THE WITNESS:∑Okay.∑I'm going to                           21∑∑BY MR. MORRIS:
22∑∑give a hard stop at 2:00.∑Okay?                              22∑∑∑∑Q.∑∑So PWC issues the audited financials
23∑∑∑∑∑MR. MORRIS:∑You can do whatever you                       23∑∑in June of 2019, and then Highland files for
24∑∑want.∑If we're not finished, we'll just                      24∑∑bankruptcy in October.
25∑∑have to figure out a time to come back.∑So                   25∑∑∑∑∑∑∑Do I have that right?

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01676
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 93 of 200 PageID 31246
                                                      Page 248                                                            Page 249
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑A.∑∑Yes.                                                   ∑2∑∑∑∑Q.∑∑And you understand that debtors in
∑3∑∑∑∑Q.∑∑And at the time Highland filed for                     ∑3∑∑bankruptcy have to make certain disclosures; is
∑4∑∑bankruptcy, you were the president and CEO of                ∑4∑∑that right?
∑5∑∑Highland, correct?                                           ∑5∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑6∑∑∑∑A.∑∑Yes.                                                   ∑6∑∑∑∑form.
∑7∑∑∑∑Q.∑∑And you personally authorized                          ∑7∑∑BY MR. MORRIS:
∑8∑∑Highland's bankruptcy filing, correct?                       ∑8∑∑∑∑Q.∑∑You can answer.
∑9∑∑∑∑A.∑∑On Pachulski's recommendation.                         ∑9∑∑∑∑A.∑∑Yes.
10∑∑∑∑Q.∑∑But you're the only person who                         10∑∑∑∑Q.∑∑And you understand that the purpose
11∑∑authorized the filing; is that correct?                      11∑∑of the disclosures is to give interested
12∑∑∑∑A.∑∑Yes.                                                   12∑∑parties an opportunity to review the financial
13∑∑∑∑Q.∑∑And did you understand -- you have                     13∑∑information relating to the debtors, right?
14∑∑familiarity with bankruptcy proceedings, right?              14∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
15∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        15∑∑∑∑form.
16∑∑∑∑form.                                                      16∑∑∑∑A.∑∑Generally.
17∑∑∑∑A.∑∑Not this kind of bankruptcy, but,                      17∑∑BY MR. MORRIS:
18∑∑yes, we have experience in bankruptcies.                     18∑∑∑∑Q.∑∑The debtor is supposed to be
19∑∑BY MR. MORRIS:                                               19∑∑transparent.∑Is that a statement you would
20∑∑∑∑Q.∑∑And you had experience in the Acis                     20∑∑agree with?
21∑∑bankruptcy, for example, correct?                            21∑∑∑∑A.∑∑I'd agree the debtor is supposed to
22∑∑∑∑A.∑∑Yes.                                                   22∑∑be.
23∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        23∑∑∑∑Q.∑∑So, are you aware that the debtor
24∑∑∑∑form.                                                      24∑∑filed certain schedules in connection with the
25∑∑BY MR. MORRIS:                                               25∑∑bankruptcy case?
                                                      Page 250                                                            Page 251
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑A.∑∑I'm sure they filed many schedules.                    ∑2∑∑∑∑Q.∑∑Withdrawn.
∑3∑∑∑∑Q.∑∑And did you -- did you review the                      ∑3∑∑∑∑∑∑∑To the best of your knowledge, did
∑4∑∑debtor's schedules before they were filed?                   ∑4∑∑DSI rely on Mr. Waterhouse and the accounting
∑5∑∑∑∑A.∑∑No.                                                    ∑5∑∑team at Highland in order to prepare the
∑6∑∑∑∑Q.∑∑All right.∑So, here is a summary of                    ∑6∑∑debtor's schedules and financial disclosures?
∑7∑∑the debtor's assets and liabilities that was                 ∑7∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑8∑∑filed in December -- on December 12th, 2019.                 ∑8∑∑∑∑form.
∑9∑∑∑∑∑∑∑Do you see the timeline at the top?                     ∑9∑∑∑∑A.∑∑I don't know.
10∑∑∑∑A.∑∑Yes.                                                   10∑∑BY MR. MORRIS:
11∑∑∑∑Q.∑∑And you were still in control of the                   11∑∑∑∑Q.∑∑Did you ever discuss with
12∑∑debtor at that time, correct?                                12∑∑Mr. Waterhouse the debtor's financial
13∑∑∑∑A.∑∑Yep.                                                   13∑∑disclosures during the bankruptcy case?
14∑∑∑∑Q.∑∑And was Mr. Waterhouse responsible                     14∑∑∑∑A.∑∑Nope.
15∑∑for preparing the debtor's Summary of Assets                 15∑∑∑∑Q.∑∑Did you ever look at the Summary of
16∑∑and Liabilities on behalf of Highland at that                16∑∑Assets and Liabilities that was filed with the
17∑∑time?                                                        17∑∑Court in December 2019?
18∑∑∑∑A.∑∑I -- I don't know whether DSI was in                   18∑∑∑∑A.∑∑Nope.
19∑∑control at that point.∑I don't know.                         19∑∑∑∑∑∑∑MR. MORRIS:∑Turn to the second
20∑∑∑∑Q.∑∑Did DSI rely on Mr. Waterhouse and                     20∑∑∑∑page, please.∑Let's just go down right --
21∑∑the accounting team for the information that                 21∑∑∑∑right there.
22∑∑was used to create the debtor's disclosures?                 22∑∑BY MR. MORRIS:
23∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        23∑∑∑∑Q.∑∑Do you see in part 11 -- part 11
24∑∑∑∑form.                                                      24∑∑pertains to all other assets and in Item
25∑∑BY MR. MORRIS:                                               25∑∑Number 71, there's a reference to "Notes

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01677
                                                                                                                                     YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 94 of 200 PageID 31247
                                                       Page 252                                                           Page 253
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑Receivable."                                                  ∑2∑∑want.
∑3∑∑∑∑A.∑∑Yep.                                                    ∑3∑∑∑∑A.∑∑It seems to tie.
∑4∑∑∑∑Q.∑∑And do you see that the Notes                           ∑4∑∑∑∑Q.∑∑Okay.∑And it was disclosed on the
∑5∑∑Receivable are for an aggregate amount of                     ∑5∑∑docket in the bankruptcy case that you
∑6∑∑approximately $150 million?                                   ∑6∑∑personally had made Notes Receivable
∑7∑∑∑∑A.∑∑Yep.                                                    ∑7∑∑outstanding in the approximate amount of
∑8∑∑∑∑Q.∑∑And it refers to Exhibit D.∑Do you                      ∑8∑∑$9.3 million.∑Do you see that?
∑9∑∑see that?                                                     ∑9∑∑∑∑A.∑∑Yes.
10∑∑∑∑A.∑∑Yes.                                                    10∑∑∑∑Q.∑∑Okay.
11∑∑∑∑Q.∑∑All right.                                              11∑∑∑∑∑∑∑MR. MORRIS:∑Can we just go to the
12∑∑∑∑∑∑∑MR. MORRIS:∑Can we turn -- go to                         12∑∑∑∑top?∑I want to just show the date.
13∑∑∑∑the next page?                                              13∑∑BY MR. MORRIS:
14∑∑BY MR. MORRIS:                                                14∑∑∑∑Q.∑∑It's December 13.∑That's the date
15∑∑∑∑Q.∑∑And exhibit -- this page is Exhibit                     15∑∑that this disclosure is made.∑Do you see that?
16∑∑D.                                                            16∑∑∑∑A.∑∑Yes.
17∑∑∑∑∑∑∑Do you see that?                                         17∑∑∑∑Q.∑∑And there's a footnote there, number
18∑∑∑∑A.∑∑Yes.                                                    18∑∑[1], that says "Doubtful or Uncollectible
19∑∑∑∑Q.∑∑And this shows an aggregate amount                      19∑∑accounts are evaluated at year end."∑Do you
20∑∑of -- the face amount of notes to be the same                 20∑∑see that?
21∑∑$150.3 million that we just saw, correct?                     21∑∑∑∑A.∑∑Yes.
22∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                         22∑∑∑∑Q.∑∑Now, nothing on this document shows
23∑∑∑∑form.                                                       23∑∑any of the notes as being doubtful or
24∑∑BY MR. MORRIS:                                                24∑∑uncollectible, correct?
25∑∑∑∑Q.∑∑We can go back and look, if you                         25∑∑∑∑A.∑∑Correct.
                                                       Page 254                                                           Page 255
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑Do you know if the debtor's                             ∑2∑∑∑∑for purposes of the deposition.
∑3∑∑schedules were ever amended after                             ∑3∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑I think that's
∑4∑∑December 13th, 2019, to reflect "Doubtful or                  ∑4∑∑∑∑confusing.∑I don't mind if you just mark
∑5∑∑Uncollectible" Notes Receivable?                              ∑5∑∑∑∑18 as "omitted."∑I would want a sheet with
∑6∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                         ∑6∑∑∑∑"18 omitted."∑That way, your numbering can
∑7∑∑∑∑form.                                                       ∑7∑∑∑∑stay the same.
∑8∑∑∑∑A.∑∑Yeah.∑I believe the Hunter Mountain                     ∑8∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑That's fine.
∑9∑∑56 was written off.                                           ∑9∑∑∑∑Thank you.∑So we'll mark 18 as "omitted",
10∑∑BY MR. MORRIS:                                                10∑∑∑∑and this will be 19.
11∑∑∑∑Q.∑∑Okay.∑Anything else?                                    11∑∑∑∑∑∑∑(Exhibit 19 introduced.)
12∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                         12∑∑BY MR. MORRIS:
13∑∑∑∑form.                                                       13∑∑∑∑Q.∑∑Are you aware of -- that the debtor
14∑∑∑∑A.∑∑I -- I don't know.                                      14∑∑filed disclosures called Statements of
15∑∑BY MR. MORRIS:                                                15∑∑Financial Affairs, often referred to as SoFAs?
16∑∑∑∑Q.∑∑Okay.∑Did you ever ask anyone to                        16∑∑∑∑A.∑∑I've heard of the form before, yes.
17∑∑amend the debtor's schedules to reflect any                   17∑∑∑∑Q.∑∑Did you ever review the debtor's
18∑∑Doubtful or Uncollectible receivable that's set               18∑∑SoFAs?
19∑∑forth on this page?                                           19∑∑∑∑A.∑∑No.
20∑∑∑∑A.∑∑I did not.                                              20∑∑∑∑Q.∑∑So, do you know who was responsible
21∑∑∑∑Q.∑∑Okay.                                                   21∑∑at Highland for preparing the debtor's SoFAs?
22∑∑∑∑∑∑∑MR. MORRIS:∑La Asia, I'm actually                        22∑∑∑∑A.∑∑No.
23∑∑∑∑going to just skip the next exhibit.∑And                    23∑∑∑∑Q.∑∑Would it have been -- would --
24∑∑∑∑if we could go to the one that you and I                    24∑∑whoever it was, would that person have either
25∑∑∑∑had marked as 19.∑We'll just mark it as 18                  25∑∑been or reported to Frank Waterhouse, as the

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01678
                                                                                                                                     YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 95 of 200 PageID 31248
                                                      Page 256                                                        Page 257
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑CFO?                                                         ∑2∑∑bankruptcy case?
∑3∑∑∑∑A.∑∑I'm sorry.∑Can you repeat that one                     ∑3∑∑∑∑A.∑∑No.
∑4∑∑more time?                                                   ∑4∑∑∑∑∑∑∑MR. MORRIS:∑Let's go to page 19 of
∑5∑∑∑∑Q.∑∑I appreciate the fact that you                         ∑5∑∑∑∑34, please.
∑6∑∑don't -- you can't identify the person who                   ∑6∑∑∑∑∑∑∑(Scrolling.)
∑7∑∑prepared the SoFAs; but within the                           ∑7∑∑∑∑∑∑∑MR. MORRIS:∑If we could, scroll
∑8∑∑organizational structure of Highland during the              ∑8∑∑∑∑down near the bottom.
∑9∑∑time that you were the CEO, would the person                 ∑9∑∑BY MR. MORRIS:
10∑∑have been either Frank Waterhouse or somebody                10∑∑∑∑Q.∑∑You'll see that there's two entries
11∑∑who reported to Frank Waterhouse?                            11∑∑for Highland Capital Management Fund Advisors.
12∑∑∑∑A.∑∑Or DSI.                                                12∑∑∑∑∑∑∑Do you see that?
13∑∑∑∑Q.∑∑Okay.                                                  13∑∑∑∑A.∑∑Yup.
14∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to page 2,                        14∑∑∑∑Q.∑∑And in May 2019, the debtor paid
15∑∑∑∑please.                                                    15∑∑Highland Capital Management Fund Advisors the
16∑∑∑∑∑∑∑(Scrolling.)                                            16∑∑aggregate amount of $7.4 million.∑Am I reading
17∑∑BY MR. MORRIS:                                               17∑∑that correctly?
18∑∑∑∑Q.∑∑Do you see at number 4 here, there's                   18∑∑∑∑A.∑∑Yes.
19∑∑a reference to payments made to insiders within              19∑∑∑∑Q.∑∑Okay.∑And those payments were -- in
20∑∑a year of the bankruptcy case?                               20∑∑exchange for those payments, Highland received
21∑∑∑∑A.∑∑Yup.                                                   21∑∑two promissory notes, correct?
22∑∑∑∑Q.∑∑Are you aware -- withdrawn.                            22∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑John, I'm going
23∑∑∑∑∑∑∑Were you aware in December 2019 that                    23∑∑∑∑to object.∑You're straying from the
24∑∑Highland was going to disclose all payments                  24∑∑∑∑subject of this adversary and going into
25∑∑made to insiders within a year of the                        25∑∑∑∑another, and I'm really not comfortable
                                                      Page 258                                                        Page 259
∑1∑∑∑∑∑∑Dondero - 5-28-2021                                      ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑with that since he's only prepared for                       ∑2∑∑∑∑that for a couple of questions to ask the
∑3∑∑his -- his -- for this proceeding and has                    ∑3∑∑∑∑former CEO about a 7.4 million-dollar
∑4∑∑not refreshed himself on anything else.                      ∑4∑∑∑∑payment made to an affiliate that he owns
∑5∑∑So, this is outside of what the scope of                     ∑5∑∑∑∑or controls, I'm going to ask you to give
∑6∑∑this deposition ought to be.                                 ∑6∑∑∑∑me a little latitude.
∑7∑∑∑∑∑MR. MORRIS:∑Okay.∑So you have two                         ∑7∑∑BY MR. MORRIS:
∑8∑∑choices, Deborah:∑You can either state                       ∑8∑∑∑∑Q.∑∑Mr. Dondero, were those two payments
∑9∑∑your objection, "beyond the scope," or you                   ∑9∑∑backed up by promissory notes in favor of the
10∑∑can direct the witness not to answer.                        10∑∑debtor, to the best of your knowledge?
11∑∑Which would you like to do?                                  11∑∑∑∑A.∑∑I don't know.
12∑∑∑∑∑MS. DEITSCH-PEREZ:∑I am going to                          12∑∑∑∑Q.∑∑Okay.
13∑∑state my objection that it's beyond the                      13∑∑∑∑∑∑∑MR. MORRIS:∑Let's go to the next
14∑∑scope, but I'm asking you because -- as a                    14∑∑∑∑page, please.
15∑∑matter of fairness, that you restrain                        15∑∑∑∑∑∑∑Can we go towards the middle of the
16∑∑yourself and limit your deposition to this                   16∑∑∑∑page.∑Right there.∑That's fine.
17∑∑adversary proceeding --                                      17∑∑BY MR. MORRIS:
18∑∑∑∑∑MR. MORRIS:∑Okay.∑I appreciate --                         18∑∑∑∑Q.∑∑Do you see your name, James Dondero,
19∑∑∑∑∑MS. DEITSCH-PEREZ:∑-- and not --                          19∑∑there?
20∑∑∑∑∑(Simultaneous conversation.)                              20∑∑∑∑A.∑∑Yes.
21∑∑∑∑∑MS. DEITSCH-PEREZ:∑And if the                             21∑∑∑∑Q.∑∑And you were paid $3.75 million
22∑∑witness isn't prepared to answer these                       22∑∑within a year of the bankruptcy, correct?
23∑∑questions, it's not fair that you proceed                    23∑∑∑∑A.∑∑Yes.
24∑∑on them.                                                     24∑∑∑∑Q.∑∑Who determined that you should --
25∑∑∑∑∑MR. MORRIS:∑Okay.∑So I'll just say                        25∑∑who made the decision for Highland to pay you

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                             Appx. 01679
                                                                                                                                 YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 96 of 200 PageID 31249
                                                      Page 260                                                          Page 261
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑that amount?                                                 ∑2∑∑∑∑∑∑∑MR. MORRIS:∑Let's go to the next
∑3∑∑∑∑A.∑∑Me?∑I don't know.                                      ∑3∑∑∑∑document, please.
∑4∑∑∑∑Q.∑∑Is there anybody else who had the                      ∑4∑∑∑∑∑∑∑(Exhibit 20 introduced.)
∑5∑∑authority to determine your compensation prior               ∑5∑∑BY MR. MORRIS:
∑6∑∑to the petition date, other than yourself?                   ∑6∑∑∑∑Q.∑∑Are you aware that, during the
∑7∑∑∑∑A.∑∑Especially -- besides myself --                        ∑7∑∑course of the bankruptcy proceeding, the
∑8∑∑okay.∑Let me answer that question first.                     ∑8∑∑debtor, in addition to the schedules and SoFAs,
∑9∑∑∑∑∑∑∑The Class A -- majority Class A                         ∑9∑∑also filed every month a document called the
10∑∑holders can, and then I can.                                 10∑∑"Monthly Operating Report"?
11∑∑∑∑Q.∑∑Anybody else?                                          11∑∑∑∑A.∑∑I'm not aware, specifically.
12∑∑∑∑A.∑∑Not that -- not that I know.                           12∑∑∑∑Q.∑∑Did you ever review any of the
13∑∑∑∑Q.∑∑In practice, did anybody other than                    13∑∑debtor's Monthly Operating Reports?
14∑∑you set your compensation?                                   14∑∑∑∑A.∑∑Not that I can recall.
15∑∑∑∑A.∑∑In practice, yes, sometimes majority                   15∑∑∑∑Q.∑∑Okay.
16∑∑Class A did.                                                 16∑∑∑∑∑∑∑MR. MORRIS:∑We can scroll down a
17∑∑∑∑Q.∑∑And at any time prior to the                           17∑∑∑∑bit.
18∑∑petition date, can you think of an instance                  18∑∑BY MR. MORRIS:
19∑∑where the majority of the Class A refused to                 19∑∑∑∑Q.∑∑You see there's -- there's two
20∑∑compensate you in the manner in which you                    20∑∑signatures here:∑One electronic, one
21∑∑wanted?                                                      21∑∑handwritten, both dated December 2nd.∑Do you
22∑∑∑∑A.∑∑There was -- no, because there was                     22∑∑see that Brad Sharp has signed as an authorized
23∑∑no reason to because there was plenty of head                23∑∑individual as the Chief Restructuring Officer?
24∑∑room in all the agreements and compared to                   24∑∑∑∑A.∑∑Yup.
25∑∑market levels.                                               25∑∑∑∑Q.∑∑Okay.∑And then below that, there's
                                                      Page 262                                                          Page 263
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑the electronic signature of Mr. Waterhouse.∑Do               ∑2∑∑∑∑∑∑∑(Scrolling.)
∑3∑∑you see?                                                     ∑3∑∑BY MR. MORRIS:
∑4∑∑∑∑A.∑∑Yes.                                                   ∑4∑∑∑∑Q.∑∑You haven't seen this document
∑5∑∑∑∑Q.∑∑Okay.∑Were -- to the best of your                      ∑5∑∑before; is that right?
∑6∑∑knowledge as the CEO at the time, were                       ∑6∑∑∑∑A.∑∑I do not believe so.
∑7∑∑Mr. Sharp and Mr. Waterhouse authorized to sign              ∑7∑∑∑∑Q.∑∑Okay.∑But you see that it was filed
∑8∑∑and file Monthly Operating Reports with the                  ∑8∑∑in late January 2020, but it was signed in
∑9∑∑Court?                                                       ∑9∑∑December, right?
10∑∑∑∑A.∑∑Again, it's not my sphere of                           10∑∑∑∑A.∑∑Yeah.
11∑∑knowledge.∑It looks like -- individually or                  11∑∑∑∑Q.∑∑Okay.∑And do you see that among the
12∑∑jointly, I -- I don't have a comment.                        12∑∑assets listed are amounts "Due from
13∑∑∑∑Q.∑∑I'm just asking you, as the CEO, did                   13∑∑affiliates"?
14∑∑you expect Mr. Waterhouse and Mr. Sharp to take              14∑∑∑∑A.∑∑Yep.
15∑∑care of all financial disclosures required                   15∑∑∑∑Q.∑∑And do you have any reason to
16∑∑under the bankruptcy code?                                   16∑∑believe that the amounts due from affiliates
17∑∑∑∑A.∑∑Yes.                                                   17∑∑are anything other than the same notes and
18∑∑∑∑Q.∑∑And did you expect them to do that                     18∑∑amounts due that we saw in the audited
19∑∑completely, transparently and accurately?                    19∑∑financial statements?
20∑∑∑∑A.∑∑Yes.                                                   20∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
21∑∑∑∑Q.∑∑Do you have any reason to believe                      21∑∑∑∑form.
22∑∑that they failed to do so?                                   22∑∑∑∑A.∑∑I don't know.
23∑∑∑∑A.∑∑Not that I'm aware.                                    23∑∑BY MR. MORRIS:
24∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to page 6 of                      24∑∑∑∑Q.∑∑Okay.
25∑∑∑∑11?                                                        25∑∑∑∑∑∑∑THE WITNESS:∑I do look at this and

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01680
                                                                                                                                   YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 97 of 200 PageID 31250
                                                       Page 264                                                            Page 265
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑get wistful.∑You guys should be ashamed of                  ∑2∑∑∑∑could just stop right there.
∑3∑∑∑∑yourselves, what you've done to this                        ∑3∑∑BY MR. MORRIS:
∑4∑∑∑∑company.                                                    ∑4∑∑∑∑Q.∑∑This is the Monthly Operating Report
∑5∑∑∑∑∑∑∑MR. MORRIS:∑I move to strike.                            ∑5∑∑for the period ending November 2019.∑Do you
∑6∑∑∑∑∑∑∑Can we take a look at footnote (1),                      ∑6∑∑see that?
∑7∑∑∑∑please?                                                     ∑7∑∑∑∑A.∑∑Yes.
∑8∑∑BY MR. MORRIS:                                                ∑8∑∑∑∑∑∑∑MR. MORRIS:∑Can we scroll down a
∑9∑∑∑∑Q.∑∑Do you see that it "Includes various                    ∑9∑∑∑∑bit?
10∑∑notes receivable at carrying value"?                          10∑∑BY MR. MORRIS:
11∑∑∑∑∑∑∑Do you have any understanding of                         11∑∑∑∑Q.∑∑And that's Mr. Sharp's and
12∑∑what that --                                                  12∑∑Mr. Waterhouse's signatures, correct?
13∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑You didn't state                      13∑∑∑∑A.∑∑Yes.
14∑∑∑∑the whole sentence, John.∑Please, if                        14∑∑∑∑Q.∑∑Do you see on this version,
15∑∑∑∑you're going to point him to things, read                   15∑∑Mr. Sharp is identified as the "Responsible
16∑∑∑∑him the whole sentence.                                     16∑∑Party," but Mr. Waterhouse is identified as the
17∑∑BY MR. MORRIS:                                                17∑∑"Preparer"?
18∑∑∑∑Q.∑∑Sir, do you have any understanding                      18∑∑∑∑A.∑∑Yes.
19∑∑as to what footnote (1) refers to or means?                   19∑∑∑∑Q.∑∑Do you recall ever telling Mr.
20∑∑∑∑A.∑∑It says what it says.                                   20∑∑Waterhouse, in his capacity as the preparer of
21∑∑∑∑Q.∑∑Okay.                                                   21∑∑Monthly Operating Reports, that there was
22∑∑∑∑∑∑∑MR. MORRIS:∑Let's look at the next                       22∑∑anything inaccurate in any Monthly Operating
23∑∑∑∑document, please.                                           23∑∑Report filed by the debtor?
24∑∑∑∑∑∑∑(Exhibit 21 introduced.)                                 24∑∑∑∑A.∑∑No.
25∑∑∑∑∑∑∑MR. MORRIS:∑All right.∑So if you                         25∑∑∑∑Q.∑∑Do you recall ever telling
                                                       Page 266                                                            Page 267
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑Mr. Sharp, as the responsible party, that there               ∑2∑∑estate?
∑3∑∑was anything inaccurate in any monthly --                     ∑3∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑4∑∑Monthly Operating Report filed by the debtor?                 ∑4∑∑∑∑form.
∑5∑∑∑∑A.∑∑No.                                                     ∑5∑∑∑∑A.∑∑Until they're forgiven, they're bona
∑6∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to the next                        ∑6∑∑fide notes.
∑7∑∑∑∑page, please?                                               ∑7∑∑BY MR. MORRIS:
∑8∑∑∑∑∑∑∑(Scrolling.)                                             ∑8∑∑∑∑Q.∑∑And you don't think the "conditions
∑9∑∑∑∑∑∑∑THE WITNESS:∑I'm going to give the                       ∑9∑∑subsequent" agreement that you entered into
10∑∑∑∑12-minute warning here.∑I can be back at                    10∑∑with Nancy calls into question whether the
11∑∑∑∑4:00, but I'm going to need a couple hours.                 11∑∑debtor would ever recover on their notes that
12∑∑∑∑∑∑∑MR. MORRIS:∑I'm trying to finish                         12∑∑you issued to them?
13∑∑∑∑up, okay?                                                   13∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
14∑∑∑∑∑∑∑THE WITNESS:∑Okay.                                       14∑∑∑∑form.
15∑∑∑∑∑∑∑MR. MORRIS:∑I'd rather not come                          15∑∑∑∑A.∑∑Again, I don't believe it's material
16∑∑∑∑back, to be honest with you.                                16∑∑or GAAP, is my understanding.
17∑∑∑∑∑∑∑Can we go to the next page, please?                      17∑∑BY MR. MORRIS:
18∑∑BY MR. MORRIS:                                                18∑∑∑∑Q.∑∑Well, almost a third of the debtor's
19∑∑∑∑Q.∑∑Again, the debtor reported that the                     19∑∑assets are notes "Due from affiliates," right?
20∑∑amounts due from affiliates were assets of the                20∑∑∑∑A.∑∑You have to back out Hunter
21∑∑debtor's estate, correct?                                     21∑∑Mountain, and you have to back out -- you have
22∑∑∑∑A.∑∑Yep.                                                    22∑∑to back out about 80 million to get to the 70
23∑∑∑∑Q.∑∑Do you -- do you have any issue with                    23∑∑million of affiliated notes; and then, from
24∑∑the fact that the debtor reported the notes,                  24∑∑there, you have to back out 60 of them to get
25∑∑including your own notes, as assets of the                    25∑∑to the 9 million.

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01681
                                                                                                                                      YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 98 of 200 PageID 31251
                                                      Page 268                                                           Page 269
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Mr. Morris,                          ∑2∑∑had no intention of doing.∑So, there's no
∑3∑∑∑∑please don't make faces at Mr. Dondero.                    ∑3∑∑ability for Hunter Mountain to pay Highland.
∑4∑∑BY MR. MORRIS:                                               ∑4∑∑∑∑Q.∑∑Does Highland -- does Hunter
∑5∑∑∑∑Q.∑∑Why -- why are we backing out Hunter                   ∑5∑∑Mountain today have the ability to pay back any
∑6∑∑Mountain?                                                    ∑6∑∑of the $60 million that it -- that was
∑7∑∑∑∑A.∑∑I think the Hunter Mountain -- there                   ∑7∑∑reflected in the notes?
∑8∑∑were notes going both ways, but I think the                  ∑8∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object.
∑9∑∑Hunter Mountain is out of the estate, I                      ∑9∑∑∑∑A.∑∑No, not that I know of but --
10∑∑believe.                                                     10∑∑BY MR. MORRIS:
11∑∑∑∑Q.∑∑But Hunter Mountain -- the debtor                      11∑∑∑∑Q.∑∑Okay.
12∑∑held notes that were made by Hunter Mountain in              12∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑And, Mr. Morris,
13∑∑the approximate amount of $60 million, right?                13∑∑∑∑once again, I think we're straying from
14∑∑∑∑A.∑∑But subsequent to these dates, I                       14∑∑∑∑this adversary.
15∑∑think -- I think they realized it was just a                 15∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to page 5 of
16∑∑cross-transaction.∑There were dues and                       16∑∑∑∑9, please?
17∑∑payables that were essentially equal from                    17∑∑∑∑∑∑∑(Scrolling.)
18∑∑Hunter Mountain, so I think Hunter Mountain                  18∑∑∑∑∑∑∑MR. MORRIS:∑Above that, I think.
19∑∑came out of that.                                            19∑∑∑∑Next page, 5 of 9.∑We must be looking at
20∑∑∑∑Q.∑∑Isn't it -- isn't it a fact that                       20∑∑∑∑the wrong exhibit.
21∑∑they wrote them off because they didn't believe              21∑∑∑∑∑∑∑Is the one that was marked 22?∑No,
22∑∑they were collectible?                                       22∑∑∑∑it's the next -- I believe it's the next
23∑∑∑∑A.∑∑Yeah, because the payment on those                     23∑∑∑∑document.
24∑∑notes depended upon Highland honoring its                    24∑∑∑∑∑∑∑Let's pull up the next document,
25∑∑agreements to Hunter Mountain, which Highland                25∑∑∑∑please.
                                                      Page 270                                                           Page 271
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑(Exhibit 22 introduced.)                                ∑2∑∑that in December 2019, after the petition date,
∑3∑∑∑∑∑∑∑MR. MORRIS:∑Yeah, that's it.                            ∑3∑∑while you were still in control of the debtor,
∑4∑∑∑∑∑∑∑Go to page 5, please.∑Thank you.                        ∑4∑∑that certain payments of principal and interest
∑5∑∑BY MR. MORRIS:                                               ∑5∑∑were made on notes that were made in favor of
∑6∑∑∑∑Q.∑∑Do you see that box there?∑It says                     ∑6∑∑the debtor, correct?
∑7∑∑"Non-Operating Receipts - Other."                            ∑7∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Asked -- asked
∑8∑∑∑∑A.∑∑Yes.                                                   ∑8∑∑∑∑and answered about an hour ago.
∑9∑∑∑∑Q.∑∑Okay.∑And do you understand that                       ∑9∑∑BY MR. MORRIS:
10∑∑that shows that, in December 2019, while you                 10∑∑∑∑Q.∑∑You can answer, sir.
11∑∑were still personally in control of the debtor,              11∑∑∑∑A.∑∑I believe -- I believe so.
12∑∑that certain payments of "principle or                       12∑∑∑∑Q.∑∑Thank you.∑Do you recall that in
13∑∑interest" were made with respect to notes made               13∑∑connection with its Plan and Disclosure
14∑∑in favor of the debtor?                                      14∑∑Statement, that the debtor prepared a
15∑∑∑∑A.∑∑Yes.                                                   15∑∑Liquidation Analysis?
16∑∑∑∑Q.∑∑Okay.∑And do you understand that                       16∑∑∑∑A.∑∑Yes.
17∑∑the one dated December 23rd in the approximate               17∑∑∑∑∑∑∑MR. MORRIS:∑Can we call the next
18∑∑amount of $783,000, that was a payment that was              18∑∑∑∑document up on the screen, please?
19∑∑made by you?                                                 19∑∑∑∑∑∑∑(Exhibit 23 introduced.)
20∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        20∑∑∑∑∑∑∑MR. MORRIS:∑And if we can go to the
21∑∑∑∑form.                                                      21∑∑∑∑next page.
22∑∑∑∑A.∑∑If you say so.∑I don't have a basis                    22∑∑BY MR. MORRIS:
23∑∑for denying it or confirming it.                             23∑∑∑∑Q.∑∑Your lawyers and lawyers acting on
24∑∑BY MR. MORRIS:                                               24∑∑behalf of entities you own and control or
25∑∑∑∑Q.∑∑Okay.∑But it's true, you do recall                     25∑∑otherwise have an interest spent considerable

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01682
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 99 of 200 PageID 31252
                                                      Page 272                                                          Page 273
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑time on the debtor's Liquidation Analysis and                ∑2∑∑∑∑A.∑∑Yes.
∑3∑∑confirmation.                                                ∑3∑∑∑∑Q.∑∑Did you or anybody acting on your
∑4∑∑∑∑∑∑∑Do you remember that?                                   ∑4∑∑behalf ever inform the Court that you believed
∑5∑∑∑∑A.∑∑I can't -- I can't agree or disagree                   ∑5∑∑that assumption was unreasonable?
∑6∑∑with that.                                                   ∑6∑∑∑∑A.∑∑I -- I don't know, but I know we've
∑7∑∑BY MR. MORRIS:                                               ∑7∑∑been fighting the notes consistently through
∑8∑∑∑∑Q.∑∑Okay.∑Did you personally review the                    ∑8∑∑various mechanisms.
∑9∑∑debtor's Liquidation Analysis?                               ∑9∑∑∑∑Q.∑∑Okay.∑Did you or anybody acting on
10∑∑∑∑A.∑∑Briefly.                                               10∑∑your behalf ever inform the Court of your
11∑∑∑∑Q.∑∑Okay.                                                  11∑∑agreement with Nancy?
12∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to the next                       12∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
13∑∑∑∑page, please?                                              13∑∑∑∑form.
14∑∑BY MR. MORRIS:                                               14∑∑∑∑A.∑∑Not -- not that I know of.
15∑∑∑∑Q.∑∑Do you see that this page contains a                   15∑∑BY MR. MORRIS:
16∑∑list of "Assumptions"?                                       16∑∑∑∑Q.∑∑Did you ever instruct anybody to
17∑∑∑∑A.∑∑Yes.                                                   17∑∑inform the Court that you had an agreement with
18∑∑∑∑∑∑∑MR. MORRIS:∑And can we scroll up a                      18∑∑Nancy that rendered Assumption C unreasonable?
19∑∑∑∑little further so we can see the date?                     19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
20∑∑BY MR. MORRIS:                                               20∑∑∑∑form.
21∑∑∑∑Q.∑∑You'll see that on November 24th,                      21∑∑∑∑A.∑∑I did not.
22∑∑2020, the debtor filed a Liquidation Analysis                22∑∑∑∑∑∑∑MR. MORRIS:∑Let's look at the last
23∑∑that contained, as among the Assumptions,                    23∑∑∑∑document, please.
24∑∑quote, "All demand notes are collected in the                24∑∑∑∑∑∑∑(Exhibit 24 introduced.)
25∑∑year 2021."∑Do you see that?                                 25∑∑BY MR. MORRIS:
                                                      Page 274                                                          Page 275
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑Q.∑∑Do you recall that there came a time                   ∑2∑∑ever inform the Court that this assumption was
∑3∑∑just prior to the confirmation hearing that the              ∑3∑∑unreasonable?
∑4∑∑debtor amended its Liquidation Analysis?                     ∑4∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑5∑∑∑∑A.∑∑No.∑Okay.∑Yes.                                         ∑5∑∑∑∑form.
∑6∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑And if we could                       ∑6∑∑∑∑A.∑∑Yes.∑Well, Lynn wrote a letter to
∑7∑∑∑∑go to the next page.                                       ∑7∑∑all the counsels, which I think ended up being
∑8∑∑BY MR. MORRIS:                                               ∑8∑∑put in the Court record, that the notes were
∑9∑∑∑∑Q.∑∑You'll see at the bottom right-hand                    ∑9∑∑all subject to defenses and could not be
10∑∑corner it's dated January 28th, 2021.                        10∑∑considered unencumbered, I think, if they're
11∑∑∑∑∑∑∑MR. MORRIS:∑We wanted page up but                       11∑∑sold, or whatever.∑He was -- he was -- he --
12∑∑∑∑just -- yeah, page up, the assumptions.                    12∑∑he realized the attitude towards the notes had
13∑∑∑∑Yeah, right there.                                         13∑∑shifted, and he penned something to everybody
14∑∑BY MR. MORRIS:                                               14∑∑and to make the notes so that they couldn't be
15∑∑∑∑Q.∑∑You see it's dated January 28, 2021?                   15∑∑sold without notifying people that there were
16∑∑∑∑A.∑∑Yes.                                                   16∑∑good defenses to them.
17∑∑∑∑Q.∑∑Okay.∑And let's look at Assumption                     17∑∑BY MR. MORRIS:
18∑∑C.∑It's been amended somewhat.                               18∑∑∑∑Q.∑∑Did you or anybody acting on your
19∑∑∑∑∑∑∑And it now says, quote:∑"All demand                     19∑∑behalf ever challenge this assumption in
20∑∑notes are collected in the year 2021; 3 term                 20∑∑connection with the debtor's confirmation
21∑∑notes defaulted and have been demanded based on              21∑∑hearing?
22∑∑default provisions; payment estimated in 2021."              22∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
23∑∑∑∑∑∑∑Do you see that?                                        23∑∑∑∑form, asked and answered.
24∑∑∑∑A.∑∑Yes.                                                   24∑∑∑∑A.∑∑Yeah.∑I think Lynn's letter
25∑∑∑∑Q.∑∑Did you or anybody on your behalf                      25∑∑objected to that vehemently.∑It was just

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01683
                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                            Page 100 of 200 PageID 31253
                                                     Page 276                                                       Page 277
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                  ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
                                                                ∑2∑∑∑∑∑∑∑∑C E R T I F I C A T E
∑2∑∑ignored.                                                    ∑∑∑STATE OF TEXAS∑∑∑)
                                                                ∑3∑∑∑∑∑∑∑∑∑∑∑)
∑3∑∑BY MR. MORRIS:                                              ∑∑∑COUNTY OF ELLIS∑∑)
∑4∑∑∑∑Q.∑∑Do you know anything else --                          ∑4
                                                                ∑∑∑∑∑∑∑∑I, Daniel J. Skur, a Notary Public
∑5∑∑anything else you're aware of?                              ∑5∑∑∑∑within and for the State of Texas, do
∑6∑∑∑∑A.∑∑I think that's powerful enough.                       ∑∑∑∑∑hereby certify:
                                                                ∑6∑∑∑∑∑∑∑That JAMES DONDERO, the witness whose
∑7∑∑∑∑Q.∑∑That's not my question, sir.∑My                       ∑∑∑∑∑deposition is hereinbefore set forth, was
                                                                ∑7∑∑∑∑duly sworn by me and that such deposition
∑8∑∑question is:∑Are you aware of any other facts               ∑∑∑∑∑is a true record of the testimony given by
∑9∑∑that you're relying upon to answer my question              ∑8∑∑∑∑such witness.
                                                                ∑∑∑∑∑∑That pursuant to Rule 30 of the Federal
10∑∑as to whether or not you or anybody acting on               ∑9∑∑∑∑Rules of Civil Procedure, signature of the
                                                                ∑∑∑∑∑witness was not reserved by the witness or
11∑∑your behalf informed the Court that Assumption              10∑∑∑∑other party before the conclusion of the
12∑∑C is unreasonable?                                          ∑∑∑∑∑deposition;
                                                                11∑∑∑∑∑∑∑I further certify that I am not
13∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                       ∑∑∑∑∑related to any of the parties to this
14∑∑∑∑form.                                                     12∑∑∑∑action by blood or marriage; and that I am
                                                                ∑∑∑∑∑in no way interested in the outcome of this
15∑∑∑∑A.∑∑Just the Lynn letter.∑I have no                       13∑∑∑∑matter.
                                                                ∑∑∑∑∑∑∑∑IN WITNESS WHEREOF, I have hereunto
16∑∑other specific awareness.                                   14∑∑∑∑set my hand this 28th day of May, 2021.
17∑∑∑∑∑∑∑MR. MORRIS:∑Thank you very much. I                     15
                                                                16
18∑∑∑∑have no further questions.∑Thank you so                   17
                                                                ∑∑∑∑_________________________________
19∑∑∑∑much, folks.∑Been a pleasure.                             18∑∑∑∑Daniel J. Skur
20∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Reserve until                       ∑∑∑∑∑Notary Public, State of Texas.
                                                                19∑∑∑∑My Commission Expires 7/7/2022
21∑∑∑∑trial.                                                    ∑∑∑∑∑TSG Reporting, Inc.
                                                                20∑∑∑∑228 East 45th Street, Suite 810
22∑∑∑∑∑∑∑(Time Noted:∑1:59 p.m.)                                ∑∑∑∑∑New York, New York
23                                                              21∑∑∑∑(877) 702-9580
                                                                22
24                                                              23
25                                                              24
                                                                25
                                                     Page 278                                                       Page 279
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                  ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑ERRATA SHEET FOR THE TRANSCRIPT OF:                         ∑2∑∑___ ___∑______________∑______________∑______
∑3∑∑Case Name:
∑∑∑∑∑∑∑IN THE UNITED STATES BANKRUPTCY COURT                    ∑3∑∑___ ___∑______________∑______________∑______
∑4∑∑∑∑∑∑∑FOR THE NORTHERN DISTRICT OF TEXAS                     ∑4∑∑___ ___∑______________∑______________∑______
∑∑∑∑∑∑∑∑∑∑∑∑∑DALLAS DIVISION                                    ∑5∑∑___ ___∑______________∑______________∑______
∑5∑∑In re:∑∑∑∑∑∑∑∑∑∑∑∑)
∑∑∑HIGHLAND CAPITAL∑∑∑∑∑∑∑)∑∑Case No.
                                                                ∑6∑∑___ ___∑______________∑______________∑______
∑6∑∑MANAGEMENT, LP,∑∑∑∑∑∑∑∑) 19-34054 L.P.                      ∑7
∑∑∑Debtor,∑∑∑∑∑∑∑∑∑∑∑∑) Chapter 11                              ∑8
∑7∑∑------------------------------)                             ∑9∑∑∑∑∑∑∑∑∑____________________
∑∑∑HIGHLAND CAPITAL MANAGEMENT,∑)
∑8∑∑LP,∑∑∑∑∑∑∑∑∑∑∑∑∑∑)                                          ∑∑∑∑∑∑∑∑∑∑JAMES DONDERO
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)                                             10
∑9∑∑∑∑∑∑∑Plaintiff,∑∑∑∑∑) Adversary No.                         11∑∑SUBSCRIBED AND SWORN BEFORE ME
∑∑∑vs.∑∑∑∑∑∑∑∑∑∑∑∑∑∑) 21-03003-sgi
10∑∑JAMES D. DONDERO,∑∑∑∑∑∑∑)
                                                                ∑∑∑THIS _____ DAY OF ____________, 2021.
∑∑∑Defendant.∑∑∑∑∑∑∑∑∑∑)                                        12
11∑∑Dep. Date:∑05/28/2021                                       13
∑∑∑Deponent:∑JAMES DONDERO                                      ∑∑∑_______________________________
12
∑∑∑Reason codes:                                                14∑∑(Notary Public)∑MY COMMISSION EXPIRES:_______
13∑∑1. To clarify the record.                                   15
∑∑∑2. To conform to the facts.                                  16
14∑∑3. To correct transcription errors.                         17
15∑∑∑∑∑∑∑∑∑∑∑CORRECTIONS:
16∑∑Pg. LN.∑Now Reads∑∑∑∑Should Read∑∑∑Reason                   18
17∑∑___ ___∑______________∑______________∑______                19
18∑∑___ ___∑______________∑______________∑______                20
19∑∑___ ___∑______________∑______________∑______
20∑∑___ ___∑______________∑______________∑______                21
21∑∑___ ___∑______________∑______________∑______                22
22∑∑___ ___∑______________∑______________∑______                23
23∑∑___ ___∑______________∑______________∑______                24
24∑∑___ ___∑______________∑______________∑______
25∑∑___ ___∑______________∑______________∑______                25

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                          Appx. 01684
                                                                                                                               YVer1f
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                 Page 101 of 200 PageID 31254
                                                        Page 280                                                                   Page 281
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021                                     ∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑∑∑∑∑∑∑-------I N D E X-------                                  ∑2∑∑--------------------EXHIBITS-------------------
                                                                   ∑3∑∑Defendant's∑∑∑∑∑∑∑∑∑∑∑∑∑∑PAGE/LINE
∑3∑∑WITNESS:∑∑∑∑∑EXAMINATION BY∑∑∑∑∑∑PAGE:                         ∑4∑∑Exhibit 9∑∑Defendant James Dondero's∑∑160/23
∑4∑∑JAMES DONDERO                                                  ∑∑∑∑∑∑∑∑∑Objections and Answers to
∑5∑∑∑∑∑∑∑∑Mr. Morris∑∑∑∑∑∑∑∑∑∑107                                  ∑5∑∑∑∑∑∑∑∑Highland Capital
∑6                                                                 ∑∑∑∑∑∑∑∑∑Management, L.P.'s First
                                                                   ∑6∑∑∑∑∑∑∑∑Set of Interrogatories
∑7∑∑--------------------EXHIBITS-------------------                ∑∑∑∑∑∑∑∑∑6 pages
∑8∑∑Defendant's∑∑∑∑∑∑∑∑∑∑∑∑∑∑PAGE/LINE                             ∑7
∑9∑∑Exhibit 1∑∑2/2/2020 Promissory Note∑∑108/16                    ∑∑∑Exhibit 10∑∑Defendant James Dondero's∑∑169/10
∑∑∑∑∑∑∑∑∑2 pages                                                   ∑8∑∑∑∑∑∑∑∑Amended Answer
10                                                                 ∑∑∑∑∑∑∑∑∑8 pages
                                                                   ∑9
∑∑∑Exhibit 2∑∑February 2020 Highland∑∑∑118/21                      ∑∑∑Exhibit 11∑∑Defendant James Dondero's∑∑191/8
11∑∑∑∑∑∑∑∑Capital Management, L.P.                                 10∑∑∑∑∑∑∑∑Objections and Responses
∑∑∑∑∑∑∑∑∑Operating Results                                         ∑∑∑∑∑∑∑∑∑to Highland Capital
12∑∑∑∑∑∑∑∑12 pages                                                 11∑∑∑∑∑∑∑∑Management, L.P.'s Second
13∑∑Exhibit 3∑∑8/1/2020 Promissory Note∑∑∑121/8                    ∑∑∑∑∑∑∑∑∑Request For Admissions
                                                                   12∑∑∑∑∑∑∑∑5 pages
∑∑∑∑∑∑∑∑∑2 pages                                                   13∑∑Exhibit 12∑∑Exhibit 20, Defendant∑∑∑∑206/4
14                                                                 ∑∑∑∑∑∑∑∑∑James Dondero's Objections
∑∑∑Exhibit 4∑∑8/13/2018 Promissory Note∑∑127/2                     14∑∑∑∑∑∑∑∑and Answers to Highland
15∑∑∑∑∑∑∑∑2 pages                                                  ∑∑∑∑∑∑∑∑∑Capital Management, L.P.'s
                                                                   15∑∑∑∑∑∑∑∑Second Set of Interrogatories
16∑∑Exhibit 5∑∑August 2018 Highland∑∑∑∑130/14                      ∑∑∑∑∑∑∑∑∑7 pages
∑∑∑∑∑∑∑∑∑Capital Management, L.P.                                  16
17∑∑∑∑∑∑∑∑Operating Results                                        ∑∑∑Exhibit 13∑∑Highland Capital∑∑∑∑∑∑220/20
∑∑∑∑∑∑∑∑∑9 pages                                                   17∑∑∑∑∑∑∑∑Management, L.P.'s
18                                                                 ∑∑∑∑∑∑∑∑∑Consolidated Financial
                                                                   18∑∑∑∑∑∑∑∑Statements and
∑∑∑Exhibit 6∑∑12/3/2020 Demand Letter∑∑∑132/11                     ∑∑∑∑∑∑∑∑∑Supplemental Information
19∑∑∑∑∑∑∑∑3 pages                                                  19∑∑∑∑∑∑∑∑12/31/2020
20∑∑Exhibit 7∑∑Defendant James Dondero's∑∑136/8                    ∑∑∑∑∑∑∑∑∑48 pages
∑∑∑∑∑∑∑∑∑Original Answer                                           20
21∑∑∑∑∑∑∑∑8 pages                                                  ∑∑∑Exhibit 14∑∑5/18/2020 Management∑∑∑∑234/21
                                                                   21∑∑∑∑∑∑∑∑Representation Letter
22∑∑Exhibit 8∑∑Defendant James Dondero's∑∑158/2                    ∑∑∑∑∑∑∑∑∑11 pages
∑∑∑∑∑∑∑∑∑Objections and Responses                                  22
23∑∑∑∑∑∑∑∑to Highland Capital                                      ∑∑∑Exhibit 15∑∑Highland Capital∑∑∑∑∑∑∑237/3
∑∑∑∑∑∑∑∑∑Management, L.P.'s First                                  23∑∑∑∑∑∑∑∑Management, L.P.'s Consolidated
                                                                   ∑∑∑∑∑∑∑∑∑Financial Statements and
24∑∑∑∑∑∑∑∑Request For Admissions                                   24∑∑∑∑∑∑∑∑Supplemental Information
∑∑∑∑∑∑∑∑∑6 pages                                                   ∑∑∑∑∑∑∑∑∑12/31/2018
25                                                                 25∑∑∑∑∑∑∑∑46 pages
                                                        Page 282
∑1∑∑∑∑∑∑∑∑∑Dondero - 5-28-2021
∑2∑∑--------------------EXHIBITS-------------------
∑3∑∑Defendant's∑∑∑∑∑∑∑∑∑∑∑∑∑∑PAGE/LINE
∑4∑∑Exhibit 16∑∑6/3/2019 Management∑∑∑∑∑247/7
∑∑∑∑∑∑∑∑∑Representation Letter
∑5∑∑∑∑∑∑∑∑11 pages
∑6∑∑Exhibit 17∑∑12/13/2019 Summary of∑∑∑∑247/20
∑∑∑∑∑∑∑∑∑Assets and Liabilities For
∑7∑∑∑∑∑∑∑∑Nonindividuals
∑∑∑∑∑∑∑∑∑3 pages
∑8
∑∑∑Exhibit 18∑∑(Skipped by Agreement)
∑9
∑∑∑Exhibit 19∑∑12/13/2019 Statement of∑∑∑255/11
10∑∑∑∑∑∑∑∑Financial Affairs For
∑∑∑∑∑∑∑∑∑Nonindividuals Filing
11∑∑∑∑∑∑∑∑Bankruptcy
∑∑∑∑∑∑∑∑∑42 pages
12
∑∑∑Exhibit 20∑∑10/31/2019 Monthly∑∑∑∑∑∑261/4
13∑∑∑∑∑∑∑∑Operating Report
∑∑∑∑∑∑∑∑∑11 pages
14
∑∑∑Exhibit 21∑∑10/31/2019 Monthly∑∑∑∑∑264/24
15∑∑∑∑∑∑∑∑Operating Report
∑∑∑∑∑∑∑∑∑11 pages
16
∑∑∑Exhibit 22∑∑December 2019 Monthly∑∑∑∑270/2
17∑∑∑∑∑∑∑∑Operating Report
∑∑∑∑∑∑∑∑∑9 pages
18
∑∑∑Exhibit 23∑∑Exhibit C, Liquidation∑∑∑271/19
19∑∑∑∑∑∑∑∑Analysis/Financial
∑∑∑∑∑∑∑∑∑Projections
20∑∑∑∑∑∑∑∑8 pages
21∑∑Exhibit 24∑∑1/28/2021 Highland Capital∑273/24
∑∑∑∑∑∑∑∑∑Management LP Disclaimer
22∑∑∑∑∑∑∑∑For Financial Projections
 ∑∑∑∑∑∑∑∑∑7 pages
 23
 24
 25


                                          TSG Reporting - Worldwide· · 877-702-9580
                                                                                                                         Appx. 01685
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 102 of 200 PageID 31255
                                                                                                      Index: $1..34
                         05/28/2021 278:11       15 237:3 281:22          127:24 130:21 131:5,   247/20 282:6
            $                                                             12,17,20 143:15
                         0bject 211:5            158/2 280:22                                    247/7 282:4
                                                                          194:9 221:8 222:13
$1 214:7,19                                      16 136:18 137:6          226:19 232:8,13,24     24th 272:21
                                   1              232:9 247:7 282:4       233:12 234:11
$11.7 232:16 234:8                                                                               255/11 282:9
                                                                          235:13 237:6 238:6,
                                                 160/23 281:4             24 239:10 241:23
$14.9 241:23 242:16      1 108:16 120:5 163:23                                                   261/4 282:12
                          165:9 192:19 197:10    169/10 281:7             242:10 243:23
$150 252:6                                                                244:21 280:16          264/24 282:14
                          200:3 207:15,23        17 217:10 221:5
$150.3 252:21             208:7 215:21 218:3                             2019 148:10 152:9,      270/2 282:16
                                                  247:20 282:6
                          219:20 234:10                                   11,14 153:8 154:5,10   271/19 282:18
$2,000,000 236:16         253:18 278:13 280:9    18 148:11 199:7          155:10 156:12,18
$2.5 121:20,23 122:4                              217:11 232:13,24        157:13 172:17          273/24 282:21
                         1(a) 162:21              254:25 255:5,6,9
 127:24                                                                   173:19 174:22          28 274:15
                         1/28/2021 282:21         282:8                   189:23 192:20
$3,825,000 108:21                                                                                28th 107:9 159:11
 109:24 111:5,10         10 169:10 281:7         18th 222:13 232:8        197:24 198:3,11
                                                                          208:10 212:20           274:10 277:14
                                                  235:13
$3.75 259:21             10/31/2019 282:12,                               213:10 214:5,17        2:00 246:22
                          14                     19 199:10,12 244:18      215:4,16 216:4,8
$3.8 119:24 120:17                                254:25 255:10,11                               2nd 109:25 111:8
                         107 280:5                                        237:11 239:2 240:10
$3.9 233:9                                        257:4 282:9             244:3,16,22 245:4       234:11 261:21
                         108/16 280:9            19-34054 278:6           247:23 250:8 251:17
$5 131:6
                                                                          254:4 256:23 257:14                3
                         10:30 151:15            191/8 281:9
$60 268:13 269:6                                                          265:5 270:10 271:2
                         10:40 151:15            1:30 204:20              282:16
$63 231:16                                                                                       3 121:7,8 233:8
                         11 191:7,8 251:23       1:59 276:22             2020 132:22 133:4,21     244:22 274:20
$7.4 257:16
                          262:25 278:6 281:9                              143:11,22 146:7         278:14 280:13,19
$7.8 233:10               282:5                  1st 121:19,24 160:17     147:10 149:23 151:5
                                                  232:12                                         3.8 120:4
                                                                          154:12 155:11
$783,000 270:18          118/21 280:10
                                                                          160:17 225:2,12        3.825 233:4 234:9
$8.8 242:15              12 206:3,4 280:12                 2              263:8 272:22 280:10
                                                                                                 30 277:8
                          281:13
$80 196:14                                                               2021 107:10 136:18
                         12-minute 266:10        2 108:20 109:22          137:7 149:24 159:12,
                                                                                                 30(b)(6) 195:9
$9 160:11                                         110:16,18,19 118:20,    25 272:25 274:10,15,   31 223:6
                         12/13/2019 282:6,9
$9.3 253:8                                        21 122:7,10 128:3,5     20,22 277:14 279:11
                         12/3/2020 280:18         184:10 232:24                                  31st 221:17 222:3
                                                                         206/4 281:13             224:11 237:6 238:6
                                                  256:14 280:10,15
            (            12/31/2020 281:19                                                        239:10 243:23
                                                                         21 264:24 282:14
                                                 2.5 131:11                                       244:21
                         121/8 280:13
(1) 264:6,19                                                             21-03003-sgi 278:9
                                                 2/2/2020 280:9                                  32 217:11
                         127/2 280:14
                                                                         22 269:21 270:2
                                                 20 144:6 149:11,12,                             33408 235:3
            -            12:30 204:20                                     282:16
                                                  13 261:4 281:13
                                                  282:12                 220/20 281:16           33419 247:10
                         12th 250:8
--------------------
                                                 2000 195:12             228 277:20              33424 237:8
                         13 127:24 220:19,20
EXHIBITS--------------
                          253:14 281:16                                                          33451 240:15
----- 280:7 281:2                                2015 225:12             22nd 159:25
 282:2                   130/14 280:16           2017 221:17 222:3                               33461 243:15
                                                                         23 271:19 282:18
-------I 280:2           132/11 280:18            223:6 224:11,22                                33470 221:21
                                                  225:24 226:7 237:18
                                                                         234/21 281:20
                         136/8 280:20                                                            33499 223:21
                                                 2018 108:20 109:22,     237/3 281:22
            0            13th 254:4               25 110:18 111:8        23rd 270:17             33510 232:2
                         14 159:20,24 226:9       115:13,14 119:12                               34 257:5
0.2 224:14                                                               24 273:24 282:21
                          234:21 281:20           120:14,17 121:19,24



                                TSG Reporting - Worldwide· · 877-702-9580

                                                                                                 Appx. 01686
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                   Page 103 of 200 PageID 31256
                                                                                           Index: 3471..agreement
3471 223:3               168:1 169:1 170:1                              197:21 224:20,22,25     advice 179:3
                         171:1 172:1 173:1                 7            225:6,10 233:16
35 204:24 205:14                                                                                advisement 215:18
                         174:1 175:1 176:1                              250:21 251:4
3rd 132:14,22 237:11     177:1 178:1 179:1     7 136:7,8 280:20                                 Advisors 224:13
                                                                       accounts 234:7
                         180:1 181:1 182:1                                                       228:12,16 235:12
                                               7.4 259:3                253:19
                         183:1 184:1 185:1                                                       257:11,15
            4
                         186:1 187:1 188:1     7/7/2022 277:19         accrued 128:16
                         189:1 190:1 191:1
                                                                                                Affairs 255:15
4 126:25 127:2 162:16    192:1 193:1 194:1     70 196:13 267:22        accurate 163:24           282:10
 191:18 200:6,13,21                                                     165:6,14 166:13,17,
                         195:1 196:1 197:1     71 251:25                                        affiliate 241:13 259:4
 207:12 256:18                                                          18 193:3 194:7
                         198:1 199:1 200:1
 280:14                                                                 226:3,6 232:19          affiliated 196:13
                         201:1 202:1 203:1
                                                           8            233:20 238:8 242:19      231:5,14 267:23
40 141:20 143:9          204:1 205:1 206:1
 151:22 152:16 153:9     207:1 208:1 209:1                             accurately 142:3         affiliates 209:7,21
 163:3 170:15 171:22     210:1 211:1 212:1     8 114:6,10 141:17        148:7 163:9 207:23       210:13 223:8,13
 173:7 174:11,17         213:1 214:1 215:1      157:25 158:2 170:9      233:23 262:19            224:3,4,19 238:11,19
 176:7,16,23 179:9,19    216:1 217:1 218:1      280:21,22 282:20                                 240:19,25 263:13,16
                         219:1 220:1 221:1                             Acis 248:20
 180:2,8,12,17,25                                                                                266:20 267:19
                         222:1 223:1 224:1     8/1/2020 280:13
 181:9,20 183:6                                                        acted 145:3 155:12
                         225:1 226:1 227:1                                                      affirm 129:12
 185:21 186:17                                 8/13/2018 280:14         174:10,15
 187:12,15 190:5         228:1 229:1 230:1                                                      affirmative 141:21
                         231:1 232:1 233:1     80 267:22               acting 127:22 134:5,
                                                                                                 147:16,19,22 170:12
45 200:16                234:1 235:1 236:1                              13,21 150:18,23
                                               810 277:20
                         237:1 238:1 239:1                              157:13 202:19           afternoon 205:19
45th 277:20                                    877 702-9580             203:17,18 271:23
                         240:1 241:1 242:1                                                      aggregate 130:10
46 281:25                243:1 244:1 245:1      277:21                  273:3,9 275:18
                                                                                                 177:9 196:12 241:22
                         246:1 247:1 248:1                              276:10
4:00 266:11                                                                                      252:5,19 257:16
                         249:1 250:1 251:1                 9           action 158:9 277:12
                         252:1 253:1 254:1                                                      agree 114:12 128:6
            5            255:1 256:1 257:1                             add 142:12                130:7 139:14 142:5,
                                               9 160:22,23 177:8                                 18 143:2 150:24
                         258:1 259:1 260:1                             added 170:18,22
                                                186:13 235:2 267:25                              152:21 198:20 214:4,
5 130:12,14 138:7        261:1 262:1 263:1
                                                269:16,19 281:4        addition 261:8            16 222:10,11 249:20,
 139:8 269:15,19         264:1 265:1 266:1
                         267:1 268:1 269:1     9:33 107:10,17                                    21 272:5
 270:4 280:16 281:12                                                   additional 177:15
                         270:1 271:1 272:1                              182:8 183:23 184:13     agreed 141:23
5-28-2021 107:1          273:1 274:1 275:1
                                                           A            187:7                    143:23 145:14,15
 108:1 109:1 110:1       276:1 277:1 278:1                                                       146:3 150:19 157:15
 111:1 112:1 113:1       279:1 280:1 281:1                             addressed 132:14
                                                                                                 164:14 219:17
 114:1 115:1 116:1       282:1                 a.m. 107:10,17
 117:1 118:1 119:1                                                     admission 158:13
                                                                                                agreement 128:19
                        5/18/2020 281:20       ability 123:5 126:7      159:20,24 192:11,19
 120:1 121:1 122:1                                                                               143:8 144:10,15,19
                                                148:17 187:7 269:3,5    197:10 200:3,13
 123:1 124:1 125:1      56 254:9                                                                 145:4 147:3,9,17,23
 126:1 127:1 128:1                                                      201:5,22
                                               absolutely 176:9                                  148:4,12,16 151:20
 129:1 130:1 131:1                                                     admissions 191:15         152:4,15 153:8
 132:1 133:1 134:1                  6          accelerate 123:11
                                                                        280:24 281:11            154:4,7,15,19 155:3,
 135:1 136:1 137:1                             accept 133:10                                     4,21 156:8,10,16,17,
 138:1 139:1 140:1      6 132:10,11 141:16                             admit 159:24 192:4,       23,24 157:7,11,15,20
 141:1 142:1 143:1       162:16 170:9 207:12
                                               accordance 107:6         19 200:22
                                                                                                 162:20,25 163:2,5,
 144:1 145:1 146:1       262:24 280:18         account 160:16          admitted 160:8            11,14,18,21,25
 147:1 148:1 149:1                              242:14                  193:2 198:2              164:10,13 167:20
 150:1 151:1 152:1      6/3/2019 282:4
                                                                                                 168:2 173:6,8,18
 153:1 154:1 155:1                             accounted 120:25        adopted 179:24            174:10,16,23 175:3,
                        60 267:24
 156:1 157:1 158:1                             accounting 116:24,      adversary 134:16          4,7,19 176:6,8,10,15,
 159:1 160:1 161:1                              25 117:5 118:15         137:9 257:24 258:17      22 178:19 179:4,9,
 162:1 163:1 164:1                              119:17 120:22           269:14 278:9             18,25 180:7,11,16,24
 165:1 166:1 167:1                              123:24 124:11,17,23                              181:8,19 182:3 183:5



                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                                Appx. 01687
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 104 of 200 PageID 31257
                                                                                     Index: agreements..belief
 184:17 185:21           193:12 223:8,12        Asia 254:22             auditing 235:20         balance 119:14,20
 186:17 187:11,14,23     224:2,12,19 238:10,                                                     120:14,19 131:4
                                                asks 159:24 192:19      auditor 233:17
 188:6 190:5 198:23      19 240:19,24 263:12,                                                    177:3 223:5,13
                                                 200:21
 199:16 207:17,25        16,18 266:20                                   auditors 220:24          238:5,9,18
 208:9,21 211:2                                 aspect 135:18            221:25 222:22
                        analysis 112:13,18                                                      bank 131:4
 212:8,15,19 214:3                               208:17,20 216:19        237:22
                         271:15 272:2,9,22
 216:2 217:2,6,25                                218:23 246:2                                   bankruptcies
                         274:4                                          August 121:19,24
 218:16,23 219:16                                                                                248:18
 220:5,12 231:3,7
                                                assert 157:12            127:24 130:21 131:5,
                        Analysis/financial
                                                                         12,17,20 280:16        bankruptcy 145:19
 238:25 239:10,17        282:19                 asserted 200:9
                                                                                                 146:14 147:5 148:19
 240:9 242:24 243:25                                                    authority 127:15
 244:13,14,15 245:3
                        and/or 192:22 197:11    asserts 141:21                                   154:12 155:8 157:3
                                                                         260:5
                         198:5,12 199:12         160:10 200:20                                   165:23 166:9,10,11
 267:9 273:11,17
                         209:6,7,20 210:11,12                           authorize 109:6          173:15 247:24 248:4,
 282:8                                          asset 120:14 212:6
                                                                         137:3 159:16 170:5      8,14,17,21 249:3,25
agreements 114:15       announcement
                                                asset all 238:10         192:14 240:22           251:13 253:5 256:20
                         188:18
 143:5 155:9 156:15                                                      241:14                  257:2 259:22 261:7
 164:23,24 165:11       annual 226:10           assets 177:3 187:19,                             262:16 278:3 282:11
 169:4 177:17,18                                 20,25 188:13 190:19,   authorized 124:25
 178:25 260:24          answers 139:15           22 209:24 210:14        125:7 130:2 248:7,11   bargain 144:4,12
                         161:4 162:4 164:20,     212:2 213:24 216:23     261:22 262:7            147:2 149:21
 268:25
                         21 207:2 281:4,14       223:13 250:7,15
ahead 190:10 195:17                                                     award 115:11            barred 141:22
                                                 251:16,24 263:12
                        apologies 168:23
allowed 168:12                                   266:20,25 267:19       aware 112:2 113:3       based 110:18 188:4
                        apologize 164:7          282:6                   131:19,23 133:21        274:21
ambiguous 200:9,         181:15 204:10                                   151:23,24 158:8
 20,25 201:10,25                                assigned 149:16                                 basis 119:19 211:12,
                         205:11 233:3                                    159:7 180:4 193:12
                                                 154:13                                          22 212:6 215:22
 202:9,21 203:11,20                                                      196:12 218:5 221:11
                        application 197:9,                                                       225:11 270:22
                                                assistant 109:4          223:24 224:9 229:8
amend 193:10             14,19
 254:17                                          124:22,23               241:12,15 249:23       Bates 223:20 235:3
                        applied 192:21                                   255:13 256:22,23
                                                assumption 165:24                               bathroom 151:10
amended 142:8,12,        198:5,16                                        261:6,11 262:23
 16,17 148:14 152:16,                            273:5,18 274:17
                                                                         276:5,8                begging 168:21
 17 153:10,22 154:2,3   applying 199:25          275:2,19 276:11
 164:20 169:12
                                                                        awareness 110:3         beginning 157:2
                        approval 127:12         assumptions              119:22 120:10 141:7,
 171:21 200:8,16,22                                                                              214:14
                         141:15                  272:16,23 274:12
                                                                         13 188:25 189:3,7
 254:3 274:4,18 281:8                                                                           behalf 107:23 109:5
                        approve 159:14          assure 205:20            276:16
amendment 168:6                                                                                  125:2,8,16 127:15,23
                         174:10 240:22 241:5,
 172:19 243:3                                   attention 129:6                                  128:11,15,25 130:18
                         13
                                                 141:19                          B               134:6,14,22 135:6
amicable 135:10         approximate 253:7                                                        136:2 137:4 141:12
                                                attitude 275:12                                  144:15 145:3 146:24
amount 108:20            268:13 270:17                                  back 109:18 110:23
                                                attorney-client          115:12 136:16 138:5     150:18,23 157:13
 111:14 121:19          approximately
                                                 171:16                  151:14,15 162:8         161:5 163:11,25
 123:20 124:8,13,19      160:11 196:13
                                                                         163:2,17 186:25         164:11,13 165:10,11
 127:24 160:2,6,9,11     225:11 226:9 252:6     attorneys 159:17
                                                                         188:8 195:11 200:11,    167:10,21,25 169:13
 184:20 185:23 186:3,
                        April 159:11            audio 109:7 196:21,      17 204:24 206:18,21     170:3,6 171:10,23
 9,12,21,22 187:6
                                                 25 245:21               236:4 246:17,25         173:19 174:15,23
 193:24 196:12          arbitration 115:11
                                                                         252:25 266:10,16        191:23 192:12,16
 211:23 213:17                                  audit 234:14 237:11,
                        argue 245:18                                     267:20,21,22,24         198:4 202:19 203:17,
 214:19 231:15                                   18 242:19
                                                                         269:5                   18 235:11 244:14
 232:15 233:25          argument 140:21
                                                audited 221:9 222:22                             250:16 271:24 273:4,
 241:12,22 252:5,19,                                                    backed 259:9
                        arisen 199:6             227:11 233:19                                   10 274:25 275:19
 20 253:7 257:16
                                                 236:21 237:5,23        backing 268:5            276:11
 260:2 268:13 270:18    arrangement 183:2
                                                 238:17,24 239:8                                belief 200:24 201:9,
amounts 120:10                                                          bad 209:22
                        ashamed 264:2            245:9,15 247:22                                 24 202:8,20 203:6,
 123:10 160:15                                   263:18


                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                Appx. 01688
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                   Page 105 of 200 PageID 31258
                                                                                    Index: believed..connection
 10,19                                         CCS 210:21              code 262:16            complaint 135:25
                                  C
believed 188:8 273:4                           CEO 114:21 115:17       codes 278:12           complete 171:2
                                                116:11 117:10
beneficiary 230:9,14   call 116:4 152:21                               collect 112:5 141:24   completely 262:19
                                                120:17 132:17
                        163:17 233:9 234:19                             142:6,19 143:3,23
benefit 182:25                                  220:22 223:11 248:4                           completeness
                        271:17                                          144:11,17 145:5
 183:14 184:4 185:3,                            256:9 259:3 262:6,13                           142:15
                                                                        147:4,24 150:19,25
 9,20                  called 116:13 136:13    certify 161:24 277:5,    157:8,16 163:6,20     completion 239:8
benefits 186:16         255:14 261:9            11                      219:18
                                                                                              complexity 216:6
bet 137:25             calls 267:10            CFO 117:4 256:2         collectability 243:7    217:4
betrayed 149:15        capacity 196:18         challenge 275:19        collected 272:24       compliant 177:11,16
                        235:12 265:20                                   274:20                 194:23,25 195:3
big 213:24                                     chance 217:13
                       Capital 111:4,9                                 collectible 268:22     comply 128:11 130:8
bit 132:16 138:5        115:5,20 118:25        Chapter 278:6
 158:6 160:25 204:8     121:23 132:18                                  combination 144:25     concern 115:14
                                               character 193:16
 236:12 261:17 265:9    148:15 166:5 207:2                             comfortable 194:24     concerned 217:17
                        224:13 228:12,24       characterize 122:11
blood 277:12                                                            257:25
                        257:11,15 278:5,7                                                     conclusion 219:7
                                               characterized
board 148:20            280:11,16,23 281:5,                            commencement            277:10
                                                110:20
                        10,14,16,22 282:21                              134:15,24
bona 125:5 267:5                                                                              conclusively 219:24
                                               charged 119:18
                       capitulation 149:25                             comment 113:19
Bonds 137:3,7                                                           165:2,3 233:17
                                                                                              condition 145:15
                                               chase 108:4
                       capture 164:22                                                          155:9 199:10
book 211:16,17                                                          262:12
                        209:17 210:8 217:22    Chief 261:23
                                                                       Commission 277:19      conditions 113:23
borrow 124:16
                       captured 172:18         choices 258:8            279:14
                                                                                               122:16 123:5 142:13
bottom 119:23 131:5                                                                            144:23 148:8,17
                       captures 153:15         circumstances           committee 115:4
 222:5 228:4 241:17                                                                            152:3,4 153:11
                        209:2                   187:16
 257:8 274:9                                                            152:6                  170:19 172:15,16
                       care 262:15             Civil 277:9                                     176:9 181:5 182:21
bounced 217:9                                                          commonly 114:7
                                                                                               188:16,19,22,24
                       carefully 125:20        claims 141:22           communicate             189:15 199:5 207:16,
box 270:6
                        155:19                                          190:12 201:14          24 208:8,21 211:8,19
                                               clarification 142:15
Boy 142:21                                                                                     212:2 216:20,22
                       Carl 217:12                                     communications
                                               clarified 171:2                                 218:2 219:18 243:6,
Brad 261:22                                                             138:14,19 171:16
                       carried 120:18           172:19 173:4                                   11 267:8
break 151:10,11         231:15                                          172:7,10
                                               clarify 175:16 190:17                          conducted 107:6
 168:13 204:5,11                                                       comp 148:10 174:14
                       carry 223:12 238:9       278:13
 205:10 246:7                                                           186:5,7,10            confident 246:18
                       carrying 238:18         Class 148:14 164:15
breath 240:2,5                                                         companies 210:4,5,     confirm 163:22
                        264:10                  165:17,18 168:3
Briefly 272:10                                  173:11,18 174:9         18                     247:10
                       case 142:21 186:20       260:9,16,19
broader 179:16          195:10,22 244:11                               company 183:24         confirmation 272:3
                        249:25 251:13 253:5    clause 114:8 222:21      209:6,19 210:11        274:3 275:20
broke 196:22                                                            264:4
                        256:20 257:2 278:3,5                                                  confirming 270:23
                                               clear 112:17 174:4
bucks 186:13                                                           compared 170:17
                       cash 110:5 193:21,23                                                   conflict 114:16
                                               clearer 116:7            260:24
bunch 141:3 217:19      196:3 197:18
                                               close 127:13                                   conflicts 198:22
burden 205:12          catches 138:15                                  compensate 260:20
                                               closely 111:25 112:3                           conform 278:13
business 116:13        caused 216:9                                    compensation
 135:7,14                                      closes 188:20            152:6,8 177:10,15     confusing 115:24
                       caution 138:13                                   182:9,16,18 184:12,    255:4
busy 173:2              171:13                 coach 168:14             14,15 185:5,15,23
                                                                        187:3,9 260:5,14
                                                                                              connection 149:19
                       cautioned 107:14        Coast 204:20                                    158:9 179:8,17



                                TSG Reporting - Worldwide· · 877-702-9580

                                                                                              Appx. 01689
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                  Page 106 of 200 PageID 31259
                                                                        Index: considerable..DEITSCH-PEREZ
 194:19 238:23           244:4 258:20           court 138:11 140:25     109:25 112:5 114:12     197:17,23 198:17
 249:24 271:13                                   205:5 251:17 262:9     115:21 116:2 132:5,     212:7 259:25
                        conversations
 275:20                                          273:4,10,17 275:2,8    22 133:4,22 134:3
                         135:7,16,19 146:6,25                                                  decision-maker
                                                 276:11 278:3           135:14 144:16 145:3,
considerable             176:19 177:25 178:4,                                                   173:14
                                                                        9,16 146:8,25 148:25
 271:25                  12,16 202:13           covenants 177:11,
                                                                        149:9 150:11,18,24     deeply 141:14 219:5
                                                 12
considerably 217:9      copies 179:12                                   152:14 154:16 155:4,
                                                                        8,11 156:9 157:2,14,
                                                                                               default 274:22
                         245:13,22              cover 119:4 244:21
consideration 185:3                                                     15 158:8 160:2,9,10,   defaulted 123:9
                        copy 180:6 245:24       COVID-19 107:8          16 163:12 164:2,6
considered 190:23                                                                               274:21
 210:5 275:10           corner 274:10           CPA 120:22 227:21       165:12,19,20 166:5,
                                                                        10 167:12,21 168:2,3   Defendant 136:13
consistent 123:24       Cornerstone 177:5       create 193:25 250:22    173:19 174:24 181:9,    137:7,15 141:21
                         189:4 209:13 211:3,                            13 182:14 183:14        200:19 278:10
consistently 273:7                              created 229:21
                         18 212:21 214:6,18                             185:4,9,14 186:19       280:20,22 281:4,7,9,
                                                 230:21
Consolidated             217:16                                         189:3 192:21 200:23     13
 221:15 222:19 223:5                            credit 177:11,17        201:8,23 202:7,19
                        correct 114:22                                                         Defendant's 206:25
 237:16 238:5 281:17,                                                   203:5,9,17 212:22
                         128:25 129:10          CRO 132:17                                      280:8 281:3 282:3
 23                                                                     213:12 219:17
                         133:19 147:20 162:5
                                                cross-transaction       220:11 227:25 245:8,   defense 141:21
constraints 205:8,9      165:6 166:25 167:9,
                                                 268:16                 10 249:18,21,23         142:9 143:20 147:16,
                         15 178:13,14 185:13
contacted 174:7                                                         250:12 255:13           19,23
                         193:20 194:9,12        Current 107:7
contained 128:6          195:22 197:2,3,6                               257:14 259:10 261:8    defenses 140:21
                         199:7 207:8 209:24     customary 235:24        265:23 266:4,19,24      141:4 170:12 275:9,
 272:23
                         212:4 214:24 223:16     237:22                 267:11 268:11           16
contemplating            229:21 237:18,23                               270:11,14 271:3,6,14
                                                cut 108:4                                      defined 110:14
 189:24                  238:20 242:11 243:4,                           272:22 274:4 278:6
                                                cycle 174:14 186:6                              143:16 212:9
contend 156:11           8,12,23 244:3,16                              debtor's 134:6,14,22
                         248:5,8,11,21 250:12                           135:20,25 158:12       definition 128:7
contents 136:24          252:21 253:24,25                                                       160:5 166:4 236:23
                                                            D           161:5 191:14 250:4,
context 129:15           257:21 259:22                                  7,15,22 251:6,12
                         265:12 266:21 271:6                                                   DEITSCH-PEREZ
 146:11                                         Dallas 107:12 278:4     254:2,17 255:17,21
                         278:14                                                                 109:12 112:10,23
continued 238:9                                                         261:13 266:21           113:5,16,25 115:23
                                                Daniel 277:4,18         267:18 272:2,9
                        CORRECTIONS                                                             116:6 118:2 120:7
continuous 225:11        278:15                 date 107:9 110:15       275:20                  123:12 125:17,25
contract 112:14                                  143:13 215:10,11,12                            126:11,20 131:25
                        correctly 167:22                               debtors 249:2,13
                                                 222:6 232:13 244:22                            134:8,17 135:2
Contribution 231:3,      192:24 236:17                                 decade 217:10
                                                 253:12,14 260:6,18                             137:22 138:12 139:2,
 6                       257:17
                                                 271:2 272:19 278:11                            6,14,21 140:3,9
                                                                       December 132:14,
control 114:14          cost 190:23 191:2,3                             22 133:4,21 160:17      143:4,14 145:7,14,19
                                                dated 108:19 132:14
 115:15 187:24 188:4     211:16,17 212:10,21                            192:20 197:24 198:3,    146:2,10,12,17
                                                 232:7 261:21 270:17
 215:23 216:9,24         213:3,10,16,17,22,23                           11 199:11 221:17        151:3,13 152:18,25
                                                 274:10,15
 231:19 250:11,19        214:7,20                                       222:3 223:6 224:11      155:6,23 156:19
 270:11 271:3,24                                dates 225:14 268:14     237:6 238:6 239:10      158:19 161:11 167:2
                        counsel 138:14
                                                                        243:23 244:21 250:8     168:4,15 169:14,16
controlled 114:24                               day 107:9 277:14
                        counsels 275:7           279:11                 251:17 253:14 254:4     170:23 171:11,24
 228:9,14,18,22 229:2                                                                           172:2,6 173:21
                        counterparty                                    256:23 261:21 263:9
controls 209:18                                 Daylight 107:10         270:10,17 271:2         175:6,13,15,21,25
                         173:13
 259:5                                                                  282:16                  180:18 181:12
                                                Deb 175:14
                        counterproposal                                                         183:15 184:8,22
conversation             178:21                 Deborah 118:7          decide 212:11            185:25 189:17 195:7,
 139:17,24 140:23                                145:18,20 258:8                                23 196:8 197:15
 145:13,17,21 147:8     COUNTY 277:3                                   decided 124:12
                                                                        197:20 212:5 216:21     198:25 199:18
 152:24 168:9 175:8,                            debt 186:19 187:6
                        couple 177:25                                                           201:12,15 202:2,10,
 23 177:24 190:9         234:24 259:2 266:11    debtor 107:23          decision 124:7           22 203:12,21 204:12,



                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                               Appx. 01690
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 107 of 200 PageID 31260
                                                                                         Index: delivered..early
 17 205:6 208:2,11,23   deposition 107:3,5,     disco 246:10            documents 108:6          252:1 253:1 254:1
 210:15 211:5 212:25     24 139:22 146:18                                122:21 130:17 169:3     255:1 256:1 257:1
                                                discover 171:21
 213:14 214:9,22         195:9 204:14 226:22                             179:7,17 180:10         258:1 259:1,8,18
 215:17 216:11           255:2 258:6,16         discovery 158:9          215:14                  260:1 261:1 262:1
 218:18,25 219:21        277:6,7,10                                                              263:1 264:1 265:1
                                                discuss 117:23          dollars 226:10
 220:6,13,25 224:5                                                                               266:1 267:1 268:1,3
                        describe 110:11          175:2 176:5 182:24
 227:2,15 229:22                                                        Dondero 107:1,4,13,      269:1 270:1 271:1
                         175:5 176:3,20 243:6    213:9 251:11
 230:5,15,22 233:13                                                      20 108:1 109:1 110:1    272:1 273:1 274:1
 238:13 239:3,12,19,    describing 118:24       discussed 175:17         111:1 112:1 113:1       275:1 276:1 277:1,6
 25 240:4,11 241:2       146:9 178:4             177:20,23 178:17        114:1 115:1 116:1       278:1,10,11 279:1,9
 242:4 244:6 245:6,19                            189:22                  117:1 118:1 119:1       280:1,4 281:1 282:1
 246:4,8 248:15,23
                        description 164:5
                                                                         120:1 121:1 122:1
                                                discussing 184:24                               Dondero's 136:13
 249:5,14 250:23        deserved 150:4                                   123:1 124:1 125:1
                                                                                                 137:8,15 215:22
 251:7 252:22 254:6,                            discussion 142:23        126:1 127:1 128:1
                        detailed 141:15                                                          216:24 280:20,22
 12 255:3 257:22                                                         129:1 130:1 131:1
                                                discussions 148:23                               281:4,7,9,13
 258:12,19,21 263:20    details 138:18 173:4                             132:1 133:1 134:1
 264:13 267:3,13                                 156:14 176:21 179:8,    135:1 136:1 137:1      double-checking
                         194:6 234:3
 268:2 269:8,12                                  18                      138:1 139:1 140:1       235:21
 270:20 271:7 273:12,   determine 260:5                                  141:1 142:1 143:1,21
                                                dispose 211:18                                  doubtful 253:18,23
 19 275:4,22 276:13,    determined 259:24                                144:1 145:1 146:1,24
                                                disposed 211:11                                  254:4,18
 20                                                                      147:1 148:1 149:1
                        difference 234:8                                 150:1 151:1 152:1      drafted 122:17
delivered 117:18                                disposition 209:5
                         242:14,22                                       153:1,6 154:1 155:1     148:11
 133:11                                          216:22
                        differently 157:10                               156:1 157:1,22 158:1
delivery 150:10                                 distinguish 145:15       159:1 160:1 161:1
                                                                                                drafting 141:15
                         173:5
                                                distortion 109:7         162:1 163:1 164:1      DSI 250:18,20 251:4
demand 110:9,12,        difficulty 108:7
                                                 196:21,25 245:21        165:1,12 166:1          256:12
 14,19 111:3,14
                        direct 110:3 206:7                               167:1,12,21 168:1,23
 122:11,15,16,20                                DISTRICT 278:4                                  due 123:10 129:10
                         258:10                                          169:1 170:1 171:1
 123:6,9 128:7,17,25                                                                             132:23 133:23
                                                DIVISION 278:4           172:1 173:1 174:1,4
 129:4,5,8,10 132:6,    directed 168:24                                                          150:13 160:10
                                                                         175:1 176:1,3 177:1
 22 133:4 134:3,6,14,                           docket 136:18 253:5                              166:23 188:9 192:22
                        directing 141:19                                 178:1,10 179:1 180:1
 22 135:20 149:9                                                                                 195:20 197:11 198:6,
                                                document 108:10,18       181:1 182:1 183:1
 150:10 181:10,22       direction 234:2,6                                                        12 223:8,12 224:3,
                                                 109:19,21 110:17,24     184:1 185:1 186:1
 182:4 226:14 272:24                                                                             12,19 226:8 231:16
                        directly 209:6,20        111:8,13 116:13         187:1 188:1 189:1
 274:19 280:18                                                                                   238:10,19 240:19,25
                         210:12 228:8,13,17,     124:20 125:23 126:4,    190:1 191:1 192:1
                                                                         193:1 194:1 195:1,17    241:12 263:12,16,18
demanded 133:22          21 229:2 231:18,24      9 127:8,10 128:24
                                                                         196:1 197:1 198:1       266:20 267:19
 149:2 274:21                                    129:18,24 130:20
                        disagree 272:5                                   199:1 200:1 201:1      dues 268:16
denied 201:4                                     136:12,17,21,24
                        Disaster 107:8           137:4 138:25 140:18     202:1 203:1 204:1,8
denying 125:5                                                            205:1,9 206:1,6        Dugaboy 164:16
                                                 141:9,11 151:22                                 173:16,20,24 174:12,
 201:21 245:12          Disclaimer 282:21        153:14 158:15 159:5,    207:1 208:1 209:1
                                                                         210:1 211:1 212:1       16,19,21 215:4,16
 270:23                 disclose 138:14          10,17 161:21,25
                                                                         213:1 214:1 215:1,15    229:16,20 230:3,10,
Dep 278:11               171:15 172:6 256:24     162:9,11 165:4,5                                14,20
                                                 169:9,23 170:25         216:1 217:1 218:1
department 119:18       disclosed 227:12         176:12,13,14 191:7,     219:1 220:1 221:1      duly 107:14 277:7
 224:20,22,25 225:6,     253:4                   22 192:15 198:9         222:1,6 223:1 224:1
 10 233:17                                       206:8,25 207:12         225:1,18 226:1 227:1
                        disclosing 232:14                                                                   E
                                                 235:2,19 237:2          228:1 229:1 230:1
depended 268:24         disclosure 240:24                                231:1 232:1 233:1
                                                 245:17 246:12 247:5,
depending 187:3          241:11 242:17,23        19 253:22 261:3,9       234:1 235:1 236:1      earlier 122:12 128:8
                         253:15 271:13           263:4 264:23 269:23,    237:1 238:1 239:1       163:16 173:12 225:7,
depends 166:21                                                           240:1 241:1,18 242:1    13 237:18 247:15
                        disclosures 249:3,       24 271:18 273:23
depo 166:7                                                               243:1 244:1 245:1,12
                         11 250:22 251:6,13     document--can                                   early 142:21 148:10
                                                                         246:1 247:1 248:1
Deponent 278:11          255:14 262:15           137:13                                          152:9,10 173:19
                                                                         249:1 250:1 251:1
                                                                                                 205:19


                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                Appx. 01691
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 108 of 200 PageID 31261
                                                                                     Index: easiest..forgiveness
easiest 193:22          entity 115:7 116:2       220:19,20 234:10,20,     127:16 130:9 131:24    finalized 238:17
                         193:23 228:13,17,21,    21 237:3 247:7,20        134:11 137:18
East 204:20 277:20                                                                               financial 221:9,15
                         25                      252:8,15 254:23          154:18 164:8 167:16
                                                                                                  222:2,19,22 223:25
effort 183:23                                    255:11 261:4 264:24      184:7 189:23 199:6
                        entries 257:10                                                            224:10 225:22
                                                 269:20 270:2 271:19      258:23
electronic 261:20                                                                                 227:11 233:18,19
                        envisioned 216:8         273:24 280:9,10,13,
 262:2                                                                   fairness 258:15          236:21 237:17,23
                                                 14,16,18,20,22
                        equal 214:19 268:17                                                       238:24 239:9 243:21
Ellis 137:3,7 277:3                              281:4,7,9,13,16,20,     familiar 110:8 139:8,
                                                                                                  245:8,9,15 246:3
                        equity 210:18            22 282:4,6,8,9,12,14,    10 231:5
email 117:21 190:13                                                                               249:12 251:6,12
                                                 16,18,21
                        equivalent 184:20                                familiarity 248:14       255:15 262:15
Emergency 107:7                                 exist 165:20                                      263:19 281:17,23
                        ERRATA 278:2                                     favor 121:3,20           282:10,22
employed 220:10                                 exists 156:23             194:11,16 195:5,21
                        errors 278:14                                     196:6 197:5 226:15     financials 116:17,
employee 220:4                                  expect 262:14,18
                        essentially 181:25                                233:11 259:9 270:14     19,23 118:4 233:24
employees 124:3                                 expected 128:18           271:5                   237:5 238:17 247:22
                         268:17
 183:25 227:14                                   188:2
                        established 148:9                                favorable 177:2         find 139:9
encourage 129:23                                experience 222:23         190:24 211:11,22
                        estate 135:12 149:15                                                     fine 138:20,21 151:16
end 144:7 149:11                                 235:25 248:18,20         212:6
                         154:23 155:14 157:5                                                      152:22,23 153:2
 159:2 224:22 225:2,                            expert 227:23            February 108:20          167:4 246:4 255:8
                         166:2 189:12 266:21
 12 226:7 234:17                                                          109:22,25 110:18        259:16
                         267:2 268:9
 253:19                                         Expires 277:19
                                                                          111:8 115:13,14
                        estimated 274:22         279:14                                          finish 146:4,5 156:7
ended 217:7 275:7                                                         119:12 120:14,17
                                                                                                  239:23 266:12
                        evaluate 125:19         explained 240:5           152:14 153:7 154:5,
ending 222:3 224:11                                                       10 156:12,18 157:13    finished 109:11
 237:6,8 238:6 239:9    evaluated 253:19        extent 156:25             189:22 208:10           240:3 246:24
 243:22 265:5                                                             212:20 213:10 214:5,
                        eve 149:25              extra 184:2                                      firm 159:11
enter 157:14 164:10                                                       17 215:4,16 216:4,8
                        event 172:18 187:7      extremely 233:20          234:11 239:2 240:10    fit 246:16,18
 173:8 174:16
                         189:24                                           244:3,16,18 245:4
                                                eye 138:15                                       focus 182:7 183:3,
entered 143:9                                                             280:10
                        Events 232:10                                                             11,12,17,23 184:2,6,
 144:15 147:3,9 148:4                           eyeball 137:23
                         243:18 244:20                                   Federal 277:8            25 185:11 241:17
 152:5 156:11,17
 157:12 163:10,25       evidently 164:22                                 feel 167:24             focused 177:4
                                                          F
 165:11 167:20 168:3                                                                              182:13 183:7,18
 173:18 174:23
                        exact 187:8                                      fide 125:5 267:6
 180:15,25 187:23       exactness 187:2         face 252:20                                      folks 124:17 276:19
                                                                         fighting 273:7
 188:5 207:18 208:10                            faces 268:3
                        EXAMINATION                                                              follow-up 126:7
 216:3 231:6 238:25                                                      figure 246:25
 267:9                   107:18 280:3           facilitates 218:12                               footnote 253:17
                                                                         file 137:4 192:15
                        exchange 110:5          fact 113:15 114:6                                 264:6,19
entering 179:3                                                            262:8
 180:11 185:20           122:3 123:22 257:20     122:2 135:11 159:16                             for- 219:8
                                                 162:11 195:19 198:2     filed 135:25 136:17,
 186:16                 execute 123:21
                                                 209:17 221:7 256:5       21,25 137:7 141:11     forgive 182:19 189:8
enterprise 188:5         124:9                                            169:13 170:2,5          190:2,25 212:22
                                                 266:24 268:20
                        executed 165:13                                   171:10,23 172:13,22     213:12 214:20
enterprises 183:8                               facts 112:19 172:11,      191:22 192:11 248:3
                        execution 226:13         12 178:9 207:6 276:8     249:24 250:2,4,8
                                                                                                 forgiven 148:18
entire 135:11 227:7                                                                               176:25 177:15
                                                 278:13                   251:16 255:14 261:9
entirety 177:24         exhibit 108:15,16                                                         184:19 190:21
                         118:19,21 120:5        factual 112:20            263:7 265:23 266:4
 244:20                                                                                           194:16,20 195:6
                         121:7,8 126:24 127:2    212:11,12                272:22
                                                                                                  197:6 214:8 218:6
entities 271:24          130:12,14 132:10,11                             files 247:23             219:7 227:22 229:10
                         136:7,8 157:25 158:2   failed 262:22
entitled 130:20                                                                                   243:11 267:5
                         160:22,23 169:10       fair 111:2 113:4         filing 248:8,11
 150:4,6 182:11                                                           282:10                 forgiveness 148:9
                         191:8 204:3 206:3,4     114:25 115:22 116:8



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                 Appx. 01692
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                  Page 109 of 200 PageID 31262
                                                                                        Index: forgo..includes
 154:17 177:10 182:6,   fully 207:23 245:22    handle 197:18           157:14 164:6,12,14    hundred 194:24
 16 184:12,14 186:18                                                   165:19 166:5,8,9,10    233:21
                        Fund 217:18 224:13     handwritten 261:21
 187:6 194:22 213:5                                                    173:14 177:3,18
                         228:12 257:11,15                                                    Hunter 177:12,18
 218:12 227:12                                 happened 146:13         178:24 179:24
                                                                                              179:12 231:10,14,19,
                        funds 209:8 210:13      177:25                 181:21 182:2,15,25
forgo 184:19                                                                                  22 254:8 267:20
                                                                       184:5 185:3,20
                        future 185:15,22       happy 129:17 137:13                            268:5,7,9,11,12,18,
form 112:11 118:9                                                      186:19 193:22,23
                         186:20 187:9           161:13 168:20                                 25 269:3,4
 123:13 134:9,18                                                       194:12,16,20 195:5,
                                                200:17 204:6,10
 135:3 151:3 152:19                                                    13,21 196:6,25
                                                234:23 241:10
 155:7 156:20 170:24              G                                    197:5,18 207:2                  I
                                                245:23
 171:12 173:22                                                         209:7,15,21 210:12
 182:15 183:16 184:9,   GAAP 120:22 267:16     hard 246:22             214:17,20 216:10      Icahn 217:12
 23 186:2 189:18                                                       218:10 220:4 221:8
 195:24 196:9 197:16    gave 153:12 154:11     have/would 182:9,       223:11 224:10,12,17   idea 123:19 173:7
                         179:11 196:2 245:21    10                     226:15,18 227:13       216:25 234:13
 199:2,19 201:16
 208:3,12,24 210:16     general 219:5 235:13   HCM 116:4               228:12,24 229:9       identified 265:15,16
 211:6 213:2,15                                                        233:11 235:11
 214:10,23 216:12       generally 118:4        HCMLP 111:14            236:19 238:8,18       identify 112:8 113:12
 218:19 219:2,22         133:25 169:24          115:21 116:11,12       244:15 245:8,15        117:8 125:23 135:18
 220:7,14 221:2 224:6    249:16                 117:10                 247:23 248:3,5         145:2 169:3 174:9
 227:3,16 229:23                               HCMLP's 119:13          250:16 251:5 255:21    195:4 199:24 203:5,
                        get all 214:12                                                        16 207:15 210:20
 230:6,16,23 233:14                                                    256:8,24 257:11,15,
 238:14 239:4,13,20     give 113:7 123:20      HCRE 228:20             20 259:25 268:24,25    228:6 256:6
 240:12 241:3 242:5      168:13 180:5 241:10   head 214:13 219:13      269:3,4 278:5,7       identifying 119:19
 244:7 248:16,24         246:7,22 249:11        224:21,25 225:6,10     280:10,16,23 281:5,
 249:6,15 250:24         259:5 266:9            260:23                 10,14,16,22 282:21    illiquid 187:19,20,25
 251:8 252:23 254:7,                                                                          213:22
                        giving 177:22 179:16   headed 119:13          Highland's 118:3
 13 255:16 263:21                                                                            immaterial 178:24
                         184:25 185:4                                  119:20 123:5 131:4
 267:4,14 270:21                               heading 223:17          220:23 221:25 248:8
 273:13,20 275:5,23     global 149:14                                                        impact 119:20
 276:14                                        hear 140:3 244:8       highly 245:10
                        good 107:20 204:4                                                    Impacting 119:13
forward 157:22           213:23 275:16         heard 255:16           historically 123:25     131:4
                                               hearing 274:3           124:2,3 187:10
foundation 112:24       grand 144:4,12 147:2                                                 implicit 157:19
 113:6,17 114:2 120:8    149:20                 275:21                history 218:10         implicitly 150:5,7
 125:18 126:2,12,21                            heightened 182:13
                        Grant 215:3                                   Hold 138:4              157:18
 132:2 201:16 202:3,                            183:17,18 184:6
 11,23 203:13,22        great 122:18 182:14     185:11                holder 217:11          important 193:15
                         213:23
fourth 148:14                                  held 151:18 205:25     holders 148:14         improper 145:24
                        group 197:21            268:12                 173:11 260:10
frame 205:21                                                                                 inaccurate 165:15
                        grow 187:4             helpful 163:18         honest 266:16           226:25 265:22 266:3
Frank 117:2 217:24
 218:4,5,15,24          guess 144:24 156:24    hereinbefore 277:6     honestly 189:9         inappropriate
 224:23,24 225:5,9       186:24 204:14                                                        139:20 195:15
 235:15 255:25           247:10                hereunto 277:13        honor 128:18
                                                                                             incentive 184:3
 256:10,11                                     herewith 114:16        honoring 268:24
                        guest 146:19
                                                                                             include 153:10
front 161:22 162:12                            Highland 111:3,9       hope 193:20
                        guys 193:14 264:2                                                     154:17 178:7 216:19
fulfilled 181:6                                 114:21,24 115:5,7,    hoping 194:6            222:22 237:22 242:2
                                                15,18,19,21 116:4
fulfillment 170:19                H             118:25 120:13,18      hour 151:14 204:16,    included 142:23
 172:14                                         121:3,20,22 123:25     20 205:15 246:17,19    148:22 150:7,12
                        half 204:19 217:17      124:2,18 131:17,20     271:8                  224:12
full 149:13 195:19
 241:11                  226:10 232:24          132:18 135:9 146:14   hours 266:11           includes 166:5 264:9
                                                148:15 152:21 153:8
                        hand 277:14


                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                             Appx. 01693
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                    Page 110 of 200 PageID 31263
                                                                                         Index: including..loans
including 144:23         18 150:13 181:23       involvement 117:6                                172:21
 174:2 196:14 266:25     182:5 184:21 187:18                                       K
                                                irrespective 150:25                             learning 199:23
                         188:9 189:14 192:22
inconsistent 199:16
                         193:13,15,17 194:4     issue 173:2 195:22      Kerri 210:22            leave 143:25
incorrect 208:18         195:20 197:11,20        225:22 242:3,10,15
                                                                        kind 108:4 149:18       led 179:8,18
 226:25                  198:6,12,21 199:12      266:23
                         226:7 231:21 242:20                             150:12 178:21 179:7,   left 245:11
increase 194:2           270:13 271:4,25
                                                issued 232:15,23         17 196:2 248:17
                                                 241:21 242:10                                  legal 112:13,18
independent 148:20      interested 249:11                               knew 218:4,9 219:13
                                                 267:12                                          122:23 126:3,4
 179:3 221:25                                                            238:16
                         277:12                                                                  140:21 153:13,14
                                                issues 236:22
indirectly 209:7,20     interests 209:6,20                              knowledge 120:22,        165:2,3 167:24
                                                 247:22
 210:12 228:8,14,18,                                                     24 142:16 153:22
                         210:11                                                                 lesser 210:17
 21 229:2 231:18,24                             Item 251:24              163:10 167:16
                        interfering 168:22                               198:13,14 203:2,4,7    letter 132:14,25
indiscernible                                   items 119:13,20
                                                                         207:8,21 208:7 225:3    133:8,10,17,20 149:9
 144:18                 International 210:22     131:3
                                                                         251:3 259:10 262:6,     150:10 222:13 232:7
individual 196:18       interplays 129:16                                11                      235:11 237:11 247:6,
 211:23 261:23                                            J                                      15 275:6,24 276:15
                        interpretation                                  KPMG 221:4 233:21        280:18 281:21 282:4
individually 262:11      112:13 122:24 126:4
                                                James 107:4,13                                  letters 234:16
inform 201:8,23         interpreting 167:24      136:13 137:8,15                   L
 202:7 239:17 240:9                              165:12 167:12,21                               levels 260:25
                        interrogatories
 273:4,10,17 275:2                               259:18 277:6 278:10,   L.P. 111:4,10 115:20
                         161:6 162:2 192:7                                                      liabilities 250:7,16
information 177:21       206:7 207:4 281:6,15    11 279:9 280:4,20,22    121:23 166:6 224:13     251:16 282:6
 221:16 224:18                                   281:4,7,9,13            228:13,16 278:6
                        interrogatory                                    280:11,16              liable 189:13
 235:21 236:22                                  January 152:14
                         162:21 163:8,23
 249:13 250:21                                   153:7 154:5,9          L.p.'s 207:3 280:23     lifetime 230:9,13
                         165:9 207:15,23
 281:18,24                                       156:11,17 157:12        281:5,11,14,17,23
                         208:6 215:21 218:3                                                     limit 258:16
informed 200:23          219:20                  159:25 189:22
                                                 208:10 212:19          La 254:22               limitations 179:13
 202:19 203:5,10,17
                        interrupting 146:16      213:10 214:5,17        language 113:12
 276:11                                                                                         liquid 177:3
                        introduced 108:16        215:4,16 216:3,8        237:22
inherits 155:9                                   232:12 239:2,22                                Liquidation 271:15
                         118:21 121:8 127:2
                                                 240:10 244:3,16,17     large 177:2 208:13       272:2,9,22 274:4
initially 220:17         130:14 132:11 136:8
                         158:2 160:23 169:10     245:4 263:8 274:10,    largely 114:3 208:13,    282:18
insiders 256:19,25                               15                      25
                         191:8 206:4 220:20                                                     liquidity 213:21
installments 226:11      234:21 237:3 247:7,    January/february        late 263:8              list 272:16
                         20 255:11 261:4         152:12 174:22
instance 260:18          264:24 270:2 271:19                            latitude 259:6          listed 141:4 263:12
                         273:24                 John 107:22 115:23
instruct 239:16                                                         lawsuit 134:25
                                                 139:2 145:7 152:20                             listen 155:18 219:3
 240:8 273:16           investigated 171:3,                              242:3,10,16
                                                 167:3 175:15 257:22
integration 114:8        6,9 172:21                                                             literally 233:21
                                                 264:14                 lawyer 141:7,9
intend 111:9,13         investment 213:22                                                       litigation 196:7
                                                jointly 262:12          lawyers 135:7,13
                         229:17 230:4,10,14,                                                     246:9
 128:11,15                                                               138:10,19 164:21,25
                         20 231:10              Judge 168:21 245:24
intent 210:3                                                             172:4,7,11,25 192:15   LLC 228:20
                        investments 209:18      judgment 115:5           202:13 271:23
intention 130:8                                                                                 LN 278:16
                         210:18                 June 237:11 244:22
 269:2                                                                  layperson 112:20        loan 119:25 120:4
                        investors 217:19         247:23                  113:14                  124:18 131:6 227:13
interest 111:10,14
 128:17 129:10          involved 141:15         jury 140:25 157:22      learn 171:20 172:12      229:8
 132:23 133:5,23         172:16 178:15                                   198:3,7                loans 131:19,21
 134:23 135:21 149:3,    217:12 219:6                                                            148:18 176:24 218:6
                                                                        learned 171:3,5,8



                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                                Appx. 01694
      Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                Page 111 of 200 PageID 31264
                                                                                          Index: located..motion
located 107:11         maker 113:13 114:16    Melissa 124:24          moment 182:20             18 167:4,7 168:4,8,
                        129:21                                                                  10,18,25 169:8,11,21
long 129:19 204:11,                           member 173:17           moments 124:7
                                                                                                170:8,11,13 171:4,19
 12                    makers 228:6
                                              members 164:15          monetization              172:8 174:3 175:10,
longer 204:9           making 149:9            165:17,18 174:9         176:25 177:2 182:8       14,18,24 176:2
                        198:18,20,21                                   211:7,22 213:4           180:21 181:15,18
looked 111:25 112:3                           memorable 139:16                                  183:20 184:16 185:6
 120:5 122:22 124:6    managed 209:6,8,20                             monetize 187:24
                                              memorialize 169:4                                 186:8 189:20 190:11
 131:11,21 132:24       210:11,13
                                                                      monetized 187:21          191:6,9,12,17,20
 133:6,24 153:20                              memorialized 190:6
                       management 111:4,                               188:11,13 190:19,22      195:14,16 196:4,16,
 194:8 195:11 232:23
                        10 115:6,20 119:2     memory 192:10            191:2,3                  23 197:22 199:4,22
 234:9 237:17 247:15
                        121:23 132:18 166:6                                                     200:5,7 201:13,20
                                              mention 218:22          monetizing 213:20,        202:6,15 203:3,15,24
lose 115:15 216:9       196:3 207:3 224:13
                                               242:24 243:3            21                       204:2,6,15,22 205:4,
                        228:12,24 234:15
lot 135:6,15 137:10                                                                             7,17,20 206:2,5,17,
                        235:10,22 247:5,15    mentioned 151:25        money 124:16 150:3
 140:23 156:7                                                                                   19,21,23 207:11,13
                        257:11,15 278:6,7      172:20 210:4            198:11,15 199:25
lower 217:15            280:11,16,23 281:5,                                                     208:5,14 209:3
                        11,14,17,20,23        met 188:17,22,25        month 116:19 117:19       210:19 211:9 213:7,
LP 278:6,8 282:21       282:4,21
                                                                       152:11 261:9             18 214:15,25 215:13,
                                              MGM 177:4 188:19
lunch 204:5 205:25                             209:12 211:3,18        monthly 116:13,17,        19 216:15 218:13,14,
                       Management's                                                             21 219:9,11 220:2,9,
                                               212:20 214:6,18         19,23 117:3,9,12,16,
Lynn 275:6 276:15       222:18 237:15
                                               217:7,8                 24 118:5,16,25           18,21 221:6,20
Lynn's 275:24          manner 260:20                                   119:19 261:10,13         222:4,8 223:2,4,20,
                                              middle 259:15            262:8 265:4,21,22        23 224:8 225:16,20
                       March 136:18 137:6                                                       227:5,18 228:2,5
                                              million 119:24           266:3,4 282:12,14,16
          M                                                                                     229:13,15,25 230:8,
                       mark 229:7 254:25       120:17 121:20,23
                                                                      months 188:20             18,25 232:2,5 234:4,
                        255:4,9                122:4 127:24 131:6
made 124:6 131:20                                                      233:12                   19,22,25 235:6
                                               160:11 177:8 186:13
 132:6,22 133:4        marked 221:21                                                            236:4,7,11,13,25
                                               196:14 224:14          morning 107:20,21
 149:20 192:20          254:25 269:21                                                           237:4,7,13,20,25
                                               226:10 231:16
 193:17 194:4,5                                                       Morris 107:19,22          238:3,15 239:6,15,
                       market 260:25           232:16 233:9,10
 195:5,21 196:5                                                        108:14,17,24 109:2,      21,23 240:3,7,14,17
                                               234:8 241:23 242:15,
 197:5,19,24 198:4     marriage 277:12                                 9,14,15,18,20            241:7,16,19 242:7
                                               16 252:6,21 253:8
 199:13 212:7 226:14                                                   110:23,25 112:15         243:14,17 244:12,23,
                       material 177:16         257:16 259:21
 227:13 229:9 233:11                                                   113:2,9,20 114:5         25 245:16,23 246:5,
                        236:23 267:15          267:22,23,25 268:13
 245:2 247:14 253:6,                                                   116:5,8,10 118:5,13,     11,15,23 247:4,8,21
                                               269:6
 15 256:19,25 259:4,   materiality 236:10,                             19,22 119:7,10           248:19,25 249:7,17
 25 268:12 270:13,19    14                    million-dollar 120:4     120:11 121:6,9,12,       250:25 251:10,19,22
 271:5                                         131:11 232:25 233:4     15,17 122:6,9 123:15     252:12,14,24 253:11,
                       matter 112:20                                   125:21 126:5,13,24
                                               234:9 259:3                                      13 254:10,15,22
main 141:2              113:14,24 180:24
                                                                       127:3,5,19,21 128:2,     255:8,12 256:14,17
                        258:15 277:13         mind 210:23 255:4
majority 148:13                                                        4 130:12,15,24 131:2     257:4,7,9 258:7,18,
 164:15 165:17         maturity 110:13        mine 173:9 217:3         132:4,9,12 134:10,20     25 259:7,13,17
 173:11,24 217:17                                                      135:17 136:6,9,11        261:2,5,16,18 262:24
                       maximizing 183:7       minute 144:2             137:25 138:20,23
 260:9,15,19            184:6                                                                   263:3,23 264:5,8,17,
                                              minutes 149:8 196:2      139:5,18,25 140:14,      22,25 265:3,8,10
make 112:12 122:23     means 183:22,23         204:24 205:14           16 141:16,18 143:7,      266:6,12,15,18
 123:5 126:3 128:21     264:19                                         12,16,18 145:11,18,      267:7,17 268:2,4
 129:11,12 134:2                              missed 183:10            20,24 146:4,11,15,       269:10,12,15,18
 149:17 150:11 153:5   meant 217:22                                    20,23 151:6,12,16,19
                                              missing 233:24                                    270:3,5,24 271:9,17,
 168:20 170:25         mechanisms 273:8                                152:22 153:2,4           20,22 272:7,12,14,
 171:15 178:20                                misstated 233:25         154:24 155:2,15,17,      18,20 273:15,22,25
 181:10,22 182:4       Medical 210:21                                  25 156:22 157:24
                                              misstates 184:23                                  274:6,8,11,14 275:17
 191:3 212:13 226:17                                                   158:3,5,7 159:2,4,19,
                       meet 188:19                                                              276:3,17 280:5
 227:25 249:3 268:3                           mistaken 185:16          22 160:21,24 161:2,
 275:14                meeting 152:7                                   9,13,18 162:8,10,16,    motion 168:20



                                TSG Reporting - Worldwide· · 877-702-9580

                                                                                               Appx. 01695
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 112 of 200 PageID 31265
                                                                                           Index: Mountain..pages
Mountain 177:12,19       110:5,9,12,13,20        257:21 259:9 263:17     254:6,12 257:23         282:13,15,17
 179:12 231:10,14,19,    111:3,20,23 112:5,9,    264:10 266:24,25        263:20 267:3,13
                                                                                                operations 156:14
 22 254:8 267:21         21 113:13,14,22,24      267:6,11,19,23          269:8 270:20 273:12,
 268:6,7,9,11,12,18,     114:22 115:4 120:6,     268:8,12,24 269:7       19 275:4,22 276:13     opine 153:13 166:20
 25 269:3,5              13,16,19 121:18         270:13 271:5 272:24
                                                                        objected 275:25         opinion 112:18
                         122:3,11,14 123:3,17    273:7 274:20,21
move 154:24 155:15                                                                               113:8
                         124:13 125:14           275:8,12,14            objecting 189:2
 157:21 190:16 204:7
                         127:23 128:7,10,12,                                                    opportunity 249:12
 218:13 219:9 264:5                             notifying 275:15        objection 113:16
                         14,25 129:7,15,21
                                                                         118:8 155:23 167:5     oral 107:3 187:23
muddy 146:18             130:9 165:13 191:4     notwithstanding
                                                                         171:24 258:9,13         242:24
                         193:24 194:2,16,19      210:24
                         195:5 197:19 200:9,                            objections 118:12       order 107:7 211:19
            N
                         20 226:11 231:15
                                                November 265:5
                                                                         158:12 161:4,25         213:11 251:5
                                                 272:21
                         232:9,25 233:5,8,24,                            191:14 207:2 217:14
Nancy 174:25 175:2,      25 234:9 241:12        now--and 137:12          280:22 281:4,10,13
                                                                                                ordinary 116:12
 17 176:6,22 178:13      280:9,13,14                                                            organizational
 180:5 181:20 182:24                            number 108:6            obligated 187:17
                        Noted 276:22                                                             256:8
 184:18 187:12,15                                118:20 126:25
                                                                        obligation 126:18
 190:8,12 198:23                                 157:25 159:20,24                               original 136:13
                        notes 121:3 122:15,                              185:22
 199:17 207:18                                   160:6,22 191:7                                  137:8,15 164:19
                         21 123:9,20,21
 208:10,21 211:2                                 192:19 196:24          obligations 212:22       171:9,22 172:13
                         124:5,9,19 125:2
 212:8,15,19 213:9                               197:10 200:3,6,13,21    213:12 214:7,21         280:20
                         129:4,5,8,25 131:11
 214:3,16 215:15                                 206:3 223:21 234:10
                         132:6,24 133:6,24                              obtained 115:5          outcome 277:12
 216:3 217:25 218:17,                            235:3 251:25 253:17
                         135:8,22 138:11
 23,24 219:16 220:5,                             256:18                 occurred 154:8          outstanding 132:23
                         140:22 141:24 142:6,
 12 230:4 239:2,11,18    20,24 143:3,15,17,24                            244:3                   160:2,6 177:17
                                                numbering 255:6
 240:10 244:2,14         144:3,11,17,24 145:5                                                    184:20 226:8 253:7
                                                numerous 194:14         occurs 182:17
 245:3 267:10 273:11,    147:4,24 148:9,11,22                                                   overlaid 144:24
 18                      149:4,16,19 150:8,                             October 247:24
                         14,19,25 153:21                  O                                     overpayments
needed 172:19 173:4                                                     offer 150:2,11
                         154:8,14,18 155:5,                                                      135:9
 197:18 241:11
                         13,22 156:10,16                                offered 149:17
                                                object 112:10,23                                owned 209:6,12,13,
negotiation 144:22       157:2,4,16 160:10,16    113:5,25 118:8 120:7   offers 156:14            14 210:11 217:10
 178:20                  163:6,20 165:24         123:12 125:17,25                                228:9,14,18,21 229:2
                         172:25 180:6 181:11,                           Officer 261:23
negotiations 148:25                              126:11,20 131:25
                         24 182:7 184:19                                                        ownerships 209:17
 154:13 155:12                                   134:8,17 135:2 151:3   offset 187:9
                         186:22 187:18           152:18 155:6 156:19                            owns 259:4
net 187:5                188:10 190:20                                  Okada 228:10 229:8,
                                                 170:23 171:11
                         192:23 193:16,18,25                             9
Nexpoint 228:16                                  173:21 183:15 184:8,
                         194:8,11,14 195:20,                                                              P
                                                 22 185:25 189:17       omitted 255:5,6,9
Non-operating            22 196:5,13,14,25       195:8,23 196:8
 270:7                   197:5,12 198:6,13,22                           Omnimax 210:21          p.m. 276:22
                                                 197:8,13,15 198:25
                         199:7,13 200:24         199:18 201:12,15
Nonindividuals                                                          one- 246:18             Pachulski 107:23
                         201:9,24 202:8,21       202:2,10,22 203:12,
 282:7,10
                         203:11,19 212:23        21 208:2,11,23
                                                                        one-way 246:9           Pachulski's 248:9
normal 183:22            213:5,6,13,24 214:8,    210:15 212:25          open-ended 181:6,7      Package 116:14
                         21 218:11 219:7,18      213:14 214:9,22
NORTHERN 278:4
                         223:7,12,25 224:2,      216:11 218:18,25       operated 155:11         PAGE/LINE 280:8
notarize 192:6           12,18 225:23 226:9,     219:21 220:6,13,25      165:23                  281:3 282:3
                         14,15,19,22 228:7       224:5 227:2,15
notarized 192:2                                                         operating 117:3,9,      pages 280:9,12,13,
                         232:15,22 233:11        229:22 230:5,15,22
 206:12,14                                                               13,16,24 118:5,16,25    15,17,19,21,24
                         238:10,19 240:18,23,    233:13 238:13 239:3,    119:3,12 130:21         281:6,8,12,15,19,21,
notary 161:22 162:13     24 241:21 242:2,9,14    12,19 240:11 241:2      154:21 261:10,13        25 282:5,7,11,13,15,
 277:4,18 279:14         243:4,8,10 246:6        242:4 244:6 245:7       262:8 265:4,21,22       17,20,22
                         251:25 252:4,20         248:15,23 249:5,14
note 107:5 108:19,20                                                     266:4 280:11,17
                         253:6,23 254:5          250:23 251:7 252:22


                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                                Appx. 01696
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                    Page 113 of 200 PageID 31266
                                                                                          Index: paid..promissory
paid 111:16 159:25       189:13 195:19           248:7 253:6 270:11     points 141:2 217:12     Pricewaterhouseco
 160:9,15 194:23         259:25 269:3,5          272:8                                          opers 220:23 232:14
                                                                        portfolio 209:5,19
 257:14 259:21                                                                                   237:10
                        payable 123:10          perspective 144:21       210:5,10
paper 190:5              191:4 226:10            185:8 186:15                                   Pricewaterhouseco
                                                                        portion 192:21 198:4
paragraph 110:16,       payables 268:17         pertain 246:5            215:20 245:17          opers' 227:11
 19 114:6,10,13                                                                                 Pricewaterhouseco
                        paydowns 242:21         pertained 135:20        portions 108:10
 122:7,10 128:3,5                                                                               opers's 232:7
                                                 211:2                   129:24
 138:7 141:20 143:9     payee 114:15 128:17
 151:22 152:16 153:9                            pertaining 156:16       position 143:21         principal 111:13
 163:3 165:22 170:15
                        paying 185:15                                                            123:20 124:8,13,18
                         186:21 194:19          pertains 155:21         possibilities 217:23     128:16 129:9 132:23
 171:22 173:7 174:11,
                                                 242:23 251:24                                   133:5,23 134:23
 17 176:7,16,23         payment 130:3                                   post-bankruptcy
 179:9,19 180:2,8,12,    133:5 134:2,23         petition 143:13          116:2 145:9 153:17      135:21 149:3,18
 17,25 181:9,20 183:6    135:20 140:22           215:10,11,12 260:6,     164:24 181:14           150:13 181:23 182:4
 185:21 186:17           149:18 154:17           18 271:2                                        184:21 186:22
 187:12,15 190:5                                                        POT 142:22 144:3,4,      187:18 188:9 189:13,
                         181:23 192:20 194:5
 200:16 225:17                                  Pg 278:16                12 147:2 149:14,21      14 192:22 193:13,24
                         197:9,14 198:4,20,21
 226:24 228:17 229:6,    199:12,24 259:4        phone 190:14,15         potential 189:5          194:5 195:20 197:10,
 7,14 231:2 236:8        268:23 270:18                                                           19 198:5,12 199:12
 241:17                  274:22
                                                phrase 153:10           powerful 276:6           226:8 271:4
                                                 216:17
parse 148:5             payments 193:15,17                              practice 130:16         principle 198:21
                                                phraseology 167:25       260:13,15               242:20 270:12
                         194:4 226:18 256:19,
parsing 164:22
                         24 257:19,20 259:8     physically 117:20       pre-bankruptcy          prior 134:15,24
part 138:16 144:3        270:12 271:4                                    153:16 164:23           150:10 166:8 170:2,
 149:20 152:2,6,8                               piece 217:5
                        peck 193:18                                     prebankruptcy            17 173:14 180:15,25
 173:19 184:10,17,25                            pin 172:22                                       184:23 194:12
 198:9 208:9 216:2,17                                                    116:3 164:6,14
                        penned 275:13                                                            226:13,19 235:4
 251:23                                         place 146:7 154:5
                        people 130:17 135:7,                            precedent 188:19         239:8 260:5,17 274:3
                                                 176:24 190:20
participants 214:13      14 145:23 275:15                               prefer 118:11           private 210:17
                                                places 209:13,14
participate 178:3       percent 194:24                                  preparation 238:23      problem 145:8
                         217:11 233:22          plaintiff 141:23,24
participated 155:11                                                                              151:12
                                                 142:5,6,18,19 143:2,   prepare 116:12
 178:11                 perfectly 166:22         23 144:10,11,16         236:20 251:5           Procedure 277:9
parties 156:25                                   145:5 147:3,23
                        period 148:10,23                                prepared 116:20         proceed 258:23
 249:12 277:11                                   163:5,20 278:9
                         174:22 181:4 221:16                             118:16 205:9 221:9
                         223:6 224:11 225:11    plaintiff's 141:22       222:2 224:10 256:7
                                                                                                proceeding 134:16
partly 218:9                                                                                     137:9 258:3,17 261:7
                         237:6 238:5 239:9                               258:2,22 271:14
partner 119:25 120:4     243:22 244:21 265:5    plan 142:22 144:3,4,
                                                 12 147:2 149:14,21     preparer 265:17,20      proceedings 248:14
 131:6,17,19 235:13
                        periodic 193:14,16       271:13                                         process 152:8 198:9
Partners 228:20                                                         preparing 116:23
                        permitted 177:16        pleading 143:6                                   216:14,16 219:6
                                                                         117:3,9,15 198:9
partnership 148:15                                                       250:15 255:21          production 215:14
 225:23 231:16
                        person 117:8 123:2      pleasure 276:19
                         145:3 199:24 203:5,                            president 248:4         Projections 282:19,
 241:22                                         plenty 260:23
                         16 248:10 255:24                                                        22
parts 183:3              256:6,9                                        pretty 201:18 222:21
                                                point 164:9 189:25
                                                                         246:15                 promised 111:3
party 178:15 265:16     personal 207:7           194:6 198:16 215:5,7
 266:2 277:10                                    234:24 246:20          previously 141:23       promissory 108:19
                        personally 116:18        250:19 264:15                                   110:5 111:19,23
passed 189:14            127:10 131:16                                  price 217:15
                                                pointed 175:22                                   113:13 120:6,13,16,
                         136:20 163:10                                  Pricewaterhouse          19 121:3,18 122:3
pay 111:3,15 128:15
                         168:24 171:20          pointing 200:14          222:11 233:21           123:17,21 125:14
 129:6 133:22 185:23
                         196:11 234:15                                                           127:23 133:24
 187:8,17 188:8
                         238:22 240:22 241:5


                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                                Appx. 01697
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                    Page 114 of 200 PageID 31267
                                                                                           Index: proper..repeat
 153:20,21 180:6        144:6 147:9 155:10      227:9 264:15 278:16    record 146:18 205:3,    refreshed 136:4
 181:10 225:23 226:9    157:3 172:17 199:10                             24 245:7 275:8 277:7    150:15 231:8 258:4
                                               reading 236:17
 232:15 241:21                                                          278:13
                       question 114:18          257:16                                         refuse 234:2
 257:21 259:9 280:9,
                        118:9 122:19 129:22                            recorded 120:13
 13,14                                         Reads 278:16                                    refused 260:19
                        133:12 134:12 135:5
                                                                       records 195:11
proper 123:23           138:24 143:2 144:21    realization 186:18                              regard 128:20
                        148:6 151:9 153:3                              recover 267:11           194:24
properly 172:18                                realized 186:6
                        154:25 155:19,20
                                                268:15 275:12          redacted 223:7          relate 172:13
proposal 142:22         156:6 157:10 160:15
                                                                        245:10,22
 149:20                 164:8 166:12,24        reason 186:25 192:7                             related 154:8 156:25
                        167:3 168:16 171:18     193:7 198:15 206:13    Redeemer 115:4           171:21 277:11
prospects 217:8         178:9 179:16 189:9      220:16 242:21
                        190:3 193:9 201:18                             reduce 186:4,6,7,10     relates 229:7
provide 184:2                                   260:23 262:21
                        202:4,17 208:4                                  192:22 193:24 198:5,
 236:20                                         263:15 278:12,16                               relating 142:12
                        214:14 224:15 227:8                             11
                                                                                                224:18 236:22
provided 179:6          239:24 241:4,6,9       recall 115:8,13,16
                                                                       reduces 182:8,15,18      241:17 249:13
                        242:8 244:10 260:8      117:25 118:14,17
providing 224:17                                                        184:14
                        267:10 276:7,8,9        132:21 133:17                                  relative 177:17 212:9
provision 114:14                                135:13 137:16          refer 115:19,25
                       questions 126:7          140:17 150:16
                                                                                               relevant 179:12
 200:24 201:9,24                                                        209:11,23
                        127:9 145:10 159:8                                                      205:12
 202:8,20 203:10,19                             152:11 169:25
                        163:7 193:6 205:12      177:13 178:12 179:6,
                                                                       reference 131:5
                                                                                               relieve 185:14,22
provisions 114:13       258:23 259:2 276:18                             162:20 209:4 211:10
                                                16,20 191:21 197:4
 274:22                                                                 229:16 236:9 241:20    relieved 186:21
                                                220:15 226:14,16,20
                       quickly 204:7                                    245:2 251:25 256:19
public 161:22 277:4,                            227:10 230:2 239:5                             rely 250:20 251:4
 18 279:14             quote 141:21 163:5,      261:14 265:19,25       referenced 242:17
                        19 165:10 170:18        270:25 271:12 274:2                            relying 276:9
pull 269:24             172:14 209:5 211:11                            referred 114:8
                                               Receipts 270:7           119:25 131:16 143:8
                                                                                               remain 224:24
Purported 162:20,25     215:22 216:23
                        236:14 272:24                                   151:21 152:15          remember 117:21,
 163:11,21                                     receivable 231:15
                        274:19                                          163:19 164:11 173:7,    22 133:7 136:3 137:5
                                                252:2,5 253:6 254:5,
purpose 117:15                                                          11 174:10,17 176:6,     138:7,16,17 140:20,
                                                18 264:10
 249:10                                                                 15,23 179:9,25          23 159:8,15 173:25
                                R              receive 109:24           180:7,12,16,24          176:21 179:22
purposes 236:15                                 121:22 182:2            181:8,20 183:6          180:13 184:24
 255:2
                       rambled 196:3                                    185:21 186:17           193:19 210:9 219:4,
                                               received 110:6
pursuant 157:15                                                         187:12,15 197:9         23,24 221:4 226:17
                       reach 135:10             257:20
 219:17 277:8                                                           218:2 228:7 255:15      227:23 230:7 231:9
                       reached 148:12          recently 138:8                                   233:2,6 272:4
put 108:14 118:19                                                      referring 145:8
                        152:15 153:8 154:15,   recess 151:18            146:8 151:21 154:9
 121:6 132:9 136:6                                                                             remind 108:5
                        19 181:19 184:18        205:25                  166:3
 148:21 157:24
                        187:11,14 198:23                                                       REMOTE 107:3
 193:23 198:15
                        199:17 218:16          recollection 119:4      refers 120:4 131:10
 200:18 206:2 216:25                                                                           remotely 107:6
                        219:16 239:17 240:9     131:14 133:2 139:7      147:16 163:2 165:22
 275:8
                        243:25 244:14,15        141:10 153:7,16         200:16 215:21          rendered 273:18
putting 133:20          245:3                   188:15 194:18           225:18 231:2 232:9
 221:14                                         208:25 210:25 220:3     252:8 264:19           rep 247:15
                       reaching 145:4           221:24 225:9 226:3,6
PWC 221:24 223:25                                                      reflect 169:4 179:25    repay 111:9,13
                       read 111:19 114:17       227:19,20,21 232:6,
 224:11,18 236:20                                                       254:4,17               repayment 149:3
                        117:19 123:16           20 242:13 244:2
 238:23 239:7,17                                                                                150:12
                        125:20 129:5 130:18                            reflected 113:22
 240:9,23 247:14,22                            recommendation
                        136:20 137:14                                   151:22 153:9 223:15    repeat 134:19 144:13
                                                248:9
                        141:10 142:3 161:25                             233:23 240:23 269:7     150:20 171:17
          Q             162:11 163:4,16        recommendations                                  185:17 195:25 208:4
                                                                       refresh 141:10
                        167:22 192:24           217:21                                          214:12 241:4 244:10
                                                                        221:23 226:20,21
quarter 143:10,22       200:15,17 206:25                                                        256:3
                                                                        232:6


                              TSG Reporting - Worldwide· · 877-702-9580

                                                                                               Appx. 01698
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                   Page 115 of 200 PageID 31268
                                                                                     Index: rephrase..smoothly
rephrase 153:3          respective 124:7       scenario 188:7          serving 230:3            120:16 121:2 123:2,
 164:8                                          190:24                                          3,17 125:5,6,7,15,16
                        respond 134:6,14,22                            set 148:16 161:6
                                                                                                127:14 128:11,15,24
replaced 215:7                                 schedules 249:24         207:3,22,23 208:7
                        response 134:3                                                          129:21,25 130:2
                                                250:2,4 251:6 254:3,    219:19 254:18
report 117:7 118:3,      160:8 161:5 177:6                                                      131:12 132:17
                                                17 261:8                260:14 277:6,14
 16,25 225:22 232:13     193:10 207:22 242:6                                                    162:12 165:4 194:9,
                                                                        281:6,15
 244:22 261:10 265:4,                          Schroth 124:24                                   11 206:24 222:12
                        responses 158:12                                                        235:19 237:11
 23 266:4 282:13,15,                                                   settlement 142:23
                         191:14 192:3,6        scope 258:5,9,14
 17                                                                     148:23,25 149:14        261:22 263:8
                         280:22 281:10
                                               Scott 215:3 229:19       151:2 154:16 156:14
reported 117:5                                                                                 significant 119:13,
                        responsibility          230:4                   157:5
 255:25 256:11                                                                                  19 131:3 186:11,12
                         119:18 222:18
 266:19,24                                     screen 163:17 175:9,    shared 135:8,11
                         237:16                                                                signing 110:19
                                                22 176:10 200:18
REPORTER 107:5                                                         Sharp 261:22 262:7,
                        responsible 116:22      221:14 271:18                                  signs 125:3
 145:22 196:22 205:2,                                                   14 265:15 266:2
                         117:2,9 199:25
 5,23 244:8                                    scroll 132:16 136:10,                           similar 120:10
                         224:17 250:14                                 Sharp's 265:11
                                                16 137:19 139:3                                 186:13,21
Reporting 116:14         255:20 265:15 266:2
                                                158:5,17,19,21         sheet 119:4,14,21
 277:19                                                                                        simple 129:22
                        rest 129:15 204:13      160:25 161:12           120:14,19 131:4
                                                                                                138:24
Reports 117:3,10,13,                            169:16,18 170:11        177:3 223:6,13
                        Restoration 217:18
 16,24 118:6 261:13                             191:9,17 206:17         238:5,9,18 255:5       simply 200:19
 262:8 265:21           restrain 258:15         222:4 225:16 227:6      278:2
                                                                                               simultaneous
                                                235:4 236:11 237:13
representation          Restructuring                                  shifted 275:13           139:17,24 145:13,17,
                                                257:7 261:16 265:8
 234:15 235:11 247:6     261:23                                                                 21 152:24 168:9
                                                272:18                 short 129:18 204:18
 281:21 282:4                                                                                   175:8,23 190:9 244:4
                        Results 119:3,12       Scrolling 121:11                                 258:20
                                                                       shorter 205:10
representations          130:21 280:11,17
                                                122:8 138:3 139:13
 236:15 247:14                                                         show 215:14 223:7       sir 109:3,16 118:23
                        return 182:3            140:5,7,12 158:23
                                                                        244:19 245:20           121:13 127:6 140:18
representing 165:19                             159:21 161:17
                        review 116:18                                   253:12                  159:6 161:19 162:23
 220:11                                         169:20 170:10
                         249:12 250:3 255:17                                                    166:13,23 169:23
                                                191:11,19 223:22       showed 245:19
request 124:19           261:12 272:8                                                           189:9 190:3 195:4
                                                232:4 236:6 240:16
 159:20,23 191:15                                                      shown 176:11             196:22 199:8,15
                        reviewed 113:19         243:16 256:16 257:6
 192:18 197:10 200:2,                                                                           206:10 234:5 235:8
                         141:11                 263:2 266:8 269:17     shows 252:19
 21 201:4,22 215:18                                                                             240:21 264:18
                                               seal 245:25              253:22 270:10           271:10 276:7
 280:24 281:11          reviewing 192:10
requests 158:13                                section 228:8           shut 168:19             sister 174:25 176:5
                        right-hand 274:9
 192:4,10                                                              side 133:21              178:5 189:22 229:19
                        room 260:24            Seery 132:17 148:20
                                                                                                238:25
required 227:22                                 149:14                 sign 110:4 121:18
 262:15                 roughly 233:9                                                          sit 125:22 137:12
                                               sentence 114:7,9         122:2 124:25 127:8,
                        Rule 277:8                                      10,15,23 130:3,16,17    193:8 204:9
requisite 173:24                                165:8 166:13,24
                                                167:8,15 169:2          161:21 194:15          skip 254:23
resembles 235:17        Rules 277:9                                     234:15 235:10 262:7
                                                224:15 236:9 264:14,
                                                                                               skipped 282:8
Reserve 276:20                                  16                     signature 108:25
                                  S                                                            Skur 277:4,18
                                               serve 159:17 192:15      109:3,16 121:10,13
reserved 277:9
                                                220:23                  127:4,6,13 161:19
                        sale 188:19 211:25                                                     slightly 113:11
resolution 135:10                                                       206:10 235:7,16
                                                                                                160:14 202:17
                         213:11                served 158:8 170:2       247:11 262:2 277:9
resolutions 179:24                              171:10 191:22                                  slow 137:21,23
 180:3                  sampling 233:22                                signatures 235:5
                                                192:11 200:22
                        satisfied 189:16        221:24 229:20           261:20 265:12          small 193:12 194:5
resolve 150:4                                                                                   213:25
                        satisfy 226:18         services 135:8,11       signed 109:21
respect 113:23                                                                                 smoothly 156:7
                                                228:25                  110:17 111:8,12,20
 118:15 155:5 166:23    Savings 107:11                                  113:21 114:22 115:3
 173:6 270:13


                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                               Appx. 01699
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                   Page 116 of 200 PageID 31269
                                                                                               Index: Sofas..today
Sofas 255:15,18,21     statement 129:13        subjects 214:12         swear 162:4               thing 140:10
 256:7 261:8            147:8 165:14,15
                                               submit 245:24           swore 166:16              things 139:16 171:2,
                        193:3 202:25 222:17
sold 212:6,21 213:3                                                                               5,8 172:20 183:25
                        237:15 249:19          submitted 171:6         sworn 107:14 149:5
 214:5,17 217:14,20                                                                               234:24 245:11
                        271:14 282:9                                    168:12 277:7 279:11
 275:11,15                                     SUBSCRIBED                                         264:15
                       statements 168:13        279:11
sole 229:20 230:13                                                                               thinking 174:2
                        221:9,15 222:2,19,23                                     T
                        223:25 224:10
                                               subsequent 142:13
someplace 205:19                                                                                 thought 152:20
                                                143:5 144:23 148:8,
                        227:12 233:18,19                               taking 146:7               182:23 193:25
sort 137:23             236:21 237:17,23
                                                17 152:3,4 153:11
                                                                                                  216:14,16 219:6
                                                155:9 165:12 170:19    talk 152:2
sought 179:2            238:24 239:9 243:22                                                       240:5
                                                172:15,16 176:8
                        245:9,15 246:3                                 talked 176:12
source 235:21           255:14 263:19
                                                181:5 182:22 188:17,                             threw 150:3
                                                22,24 189:15 199:5,9   talking 116:3 118:6
speak 180:14            281:18,23                                                                tie 182:21 253:3
                                                207:16,24 208:8,22      139:19,20,25 140:2
speaking 118:12,14     STATES 278:3             211:8,20 212:3          143:4 147:6 163:14,      time 107:10,11 108:9
                                                216:20,22 218:2         15 172:3 175:12           110:17 111:7,12
speaks 114:19          stay 190:20 255:7
                                                219:19 232:10           177:7 181:13 207:17       113:10,21 114:3,22,
 171:14                step 109:10              243:12,18 244:20        210:9 219:4               25 115:3,13 123:3
specific 142:16                                 267:9 268:14                                      124:7,22,23 125:15
                       stick 156:3 166:19                              target 187:4
 198:14 203:2,7                                                                                   128:10,14,23 129:6
                                               subsequently 142:8
 211:23 276:16         stipulated 110:15                               tax 193:14                 130:6 132:5 134:15,
                                                152:16 153:10
                                                                                                  19,24 135:24 144:22
specifically 118:3     stop 119:9 138:6         194:20                 taxable 187:7 194:22       145:23 149:24
 132:8 135:13,23        139:18,19,25 140:2
                                               subsidiary 209:15       taxes 187:8 194:19,        150:10,21 164:16
 137:5,10 158:10        145:11,12 146:16
                                                                        23                        165:12 168:19 170:2
 159:15 174:14          168:10,11,13,21        substance 140:19
                                                                                                  171:6,9,22 173:3
 197:25 209:24 214:4    246:7,22 265:2          154:12 207:12          team 250:21 251:5          174:22 178:23
 261:11                                                                                           180:15,25 181:4
                       stopped 221:12          success 217:7           telling 220:4 265:19,
specifics 218:5,20                                                      25                        182:15 185:18
                       story 217:7             sued 112:5                                         187:23 188:3,5
 219:4
                       straight 214:13         suggest 120:23          ten-minute 151:10          189:25 190:13,15
speech 144:18                                   180:14 195:3                                      194:12 198:16 204:4,
                       Strand 235:12                                   tendered 161:4
speed 137:21                                                                                      20,21 205:7,8,21
                                               suggested 144:4,5        234:10
                       straying 257:23                                                            206:24 215:8 217:13,
spent 173:3 271:25                              155:13                 term 110:9,14 128:5,       25 220:4,11 229:21
                        269:13
sphere 262:10                                  Suite 277:20             20 226:11,15 274:20       230:2,20 232:19
                       Street 277:20                                                              238:16 241:10
split 135:9                                    sum 111:4               terms 111:17,18
                       strike 154:25 155:16                                                       246:14,25 248:3
                                                                        113:23 114:13
spoke 179:13 180:23     218:13 219:10 264:5    summary 250:6,15                                   250:12,17 256:4,9
                                                                        128:12 130:3,9 182:7
                                                251:15 282:6                                      260:17 262:6 272:2
standard 222:21        strikes 140:21                                   193:13 226:18
                                                                                                  274:2 276:22
 235:24                                        supersede 114:14        testified 107:16
                       structure 129:6                                                           timeline 250:9
start 147:14 148:3      218:11 256:8           Supplemental             129:3 133:16
 228:4,11                                       221:16 281:18,24                                 times 108:3 194:3
                       structured 129:2                                testify 129:3
                                                                                                  221:3
started 166:7 195:13    218:11                 supplied 128:8          testimony 144:2
                                                                                                 timing 115:9
starting 144:5         stuff 125:4 139:23      support 217:15           148:24 149:5 150:9,
                        165:4                                           17,22 152:13 153:12      title 108:19 119:24
state 107:8 163:9                              supposed 159:14          154:11 166:19             136:10
 243:10 258:8,13       subject 113:24           249:18,21               184:23 198:10 277:7
 264:13 277:2,5,18      178:19 180:7,23                                                          titled 150:2
                                               surrender 181:9         Texas 107:12 277:2,
                        196:7 207:16,25                                                          today 107:24 108:6
stated 153:17 163:24                            182:3                   5,18 278:4
                        218:2 219:18 229:5                                                        111:23 112:9,21
 167:18,19 173:5        257:24 275:9           surrendered 181:22      theoretically 182:17       115:20 122:12
 207:7 234:8
                                                                        217:20                    125:22 126:10 128:8



                                TSG Reporting - Worldwide· · 877-702-9580

                                                                                                 Appx. 01700
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 117 of 200 PageID 31270
                                                                                               Index: Today's..Zoom
 137:18 188:23,25       two-hour 246:19          276:12                  216:24                   York 277:20
 269:5
                        typical 127:13          unredacted 245:11,      wistful 264:2             Yup 238:21 256:21
Today's 107:9                                    13,14,21,24                                       257:13 261:24
                                                                        withdrawn 114:19
told 147:2 177:8,9                  U                                    115:18 117:14
 185:10 219:14 239:7                                        V            122:18 125:12                     Z
                        Uh-huh 162:22                                    128:22 131:15
top 109:19 110:24
                         215:25 221:19          validation 235:22        134:11 150:22 171:7      Zoom 108:8
 121:15 127:19
                         223:10                                          176:4 181:17 187:13
 136:16 162:9 222:16                            variety 209:13,14        209:21 212:18
 228:11 237:14 250:9    ultimately 117:5
                                                variously 115:20         216:18,20 230:12
 253:12                  185:4                                           233:3 241:8 243:20
total 226:7                                     vehemently 189:2         251:2 256:22
                        uncollectible
                                                 275:25
transactions 233:22      253:18,24 254:5,18                             word 167:11 175:18,
 236:22                                         verbal 154:4,7 156:9,    19 183:11,12
                        unconditional
                                                 10,17
TRANSCRIPT 278:2         122:20                                         words 109:10 142:12
                                                verbally 154:3           170:18,22 172:14
transcription           understand 107:25
                         110:18 111:24 112:9,   Verification 162:12      183:19
 278:14
                         22 113:15 118:10        206:8,20               wordsmith 167:13
transfer 124:8           123:4,8 125:14,24
                         126:10,16,18 130:3
                                                verified 165:5 166:25   work 149:13
transparent 249:19                               167:9
                         133:3 139:5 142:11                             wrap 205:14
transparently            166:4 176:17 185:8     version 170:17
 262:19                  186:15 212:14 213:9     265:14                 write 145:23 166:15
                         214:3 236:19 243:21                             190:4
trial 141:2 149:25                              versus 110:14 164:6
 157:23 276:21           245:22 248:13 249:2,                           writing 153:24
                         10 270:9,16            video 108:8              154:20
trigger 211:19,24
 212:2 213:4
                        understanding           view 174:5              written 129:5 156:8
                         110:12 120:3 122:12                             157:20 166:22 193:3
triggered 189:5          123:2 130:6 131:9      views 178:23
                                                                         254:9
                         133:15 136:23 151:5
triggers 139:6                                                          wrong 147:12 149:7
                         154:21 181:21 208:8                W
true 137:17 162:5        235:18 264:11,18                                164:5 166:14 185:14
 163:24 165:6 166:17,    267:16                                          233:15 269:20
                                                wanted 187:4
 18,24 167:8,15 193:3
                        understood 128:23        245:12,20 260:21       wrote 165:9,10
 199:3 202:25 206:20
                         129:9,21                274:11                  268:21 275:6
 207:8 230:19 232:18
 270:25 277:7           undue 189:13            warning 266:10
                                                                                  X
Trussway 177:5          unencumbered            Waterhouse 117:2,
 189:4 209:14 211:3,     275:10                  24 217:24 218:15,24
 19 212:21 214:6,18                              219:15 224:23,24       X------- 280:2
                        unequal 233:25           225:5,9 235:15
trust 215:4,16 229:17
                        UNITED 278:3             250:14,20 251:4,12               Y
 230:4,10,14,20
                                                 255:25 256:10,11
 231:6,11,14,19,22      unnecessary 216:5        262:2,7,14 265:16,20
                         217:4                                          year 121:2 144:7,8
trustee 174:18,19,21                                                     149:10,11,13 184:13
                                                Waterhouse's
 215:3,7,15 229:20      unpaid 128:16 129:9                              222:2 225:24 253:19
                                                 265:12
 230:3                   133:5,23 134:23                                 256:20,25 259:22
                         135:21 149:3 181:23    ways 268:8               272:25 274:20
truth 107:15,16
                         182:4 184:21 187:17    week 138:8
TSG 277:19               188:9 189:14                                   year-end 221:8
                                                WHEREOF 277:13          years 210:6 225:7
turn 243:14 251:19      unreasonable
 252:12                  273:5,18 275:3         wholly 215:22


                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                  Appx. 01701
Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24   Page 118 of 200 PageID 31271




                            EXHIBIT 97




                                                                    Appx. 01702
 Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24   Page 119 of 200 PageID 31272
                                                                            Page 283
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021

∑2∑∑∑∑∑∑IN THE UNITED STATES BANKRUPTCY COURT
∑∑∑∑∑∑∑∑FOR THE NORTHERN DISTRICT OF TEXAS
∑3∑∑∑∑∑∑∑∑∑∑∑∑DALLAS DIVISION

∑4∑∑In Re:∑∑∑∑∑∑∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑5∑∑HIGHLAND CAPITAL∑∑∑∑∑∑∑)∑∑Case No.
∑∑∑MANAGEMENT, LP,∑∑∑∑∑∑∑∑) 19-34054 L.P.
∑6∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)∑Chapter 11
∑∑∑∑∑∑∑∑Debtor,∑∑∑∑∑∑∑)
∑7∑∑------------------------------)
∑∑∑HIGHLAND CAPITAL MANAGEMENT,∑)
∑8∑∑LP,∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑9∑∑∑∑∑∑∑Plaintiff,∑∑∑∑∑) Adversary No.
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑) 21-03003-sgi
10∑∑∑∑vs.∑∑∑∑∑∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
11∑∑JAMES D. DONDERO,∑∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
12∑∑∑∑∑∑∑Defendant.∑∑∑∑∑)

13

14
∑∑∑∑∑∑∑∑∑∑REMOTE DEPOSITION OF
15
∑∑∑∑∑∑∑∑∑∑∑∑JAMES DONDERO
16
∑∑∑∑∑∑∑∑∑∑∑∑∑Volume 3
17
∑∑∑∑∑∑∑∑∑∑∑Pages 283 - 385
18
∑∑∑∑∑∑∑∑∑∑∑∑Dallas, Texas
19
∑∑∑∑∑∑∑Tuesday, 1st day of June, 2021
20

21

22

23∑∑Reported by:

24∑∑Daniel J. Skur, Notary Public and CSR

25∑∑Job No. 194691


                     TSG Reporting - Worldwide· · 877-702-9580
                                                                     Appx. 01703
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                           Page 120 of 200 PageID 31273
                                                              Page 284                                                                  Page 285
∑1∑∑∑∑∑∑∑Dondero - 6-1-2021                                              ∑1∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2                                                                       ∑2∑∑R E M O T E∑A P P E A R A N C E S:
                                                                         ∑3∑∑Pachulski Stang Ziehl & Jones
∑3
                                                                         ∑∑∑Attorney(s) for Debtor
∑4
                                                                         ∑4∑∑780 Third Avenue
∑5
                                                                         ∑5∑∑New York, New York 10017
∑6                                                                       ∑6∑∑BY:∑∑John Morris, Esq.
∑7∑∑∑∑∑∑1st day of June, 2021                                            ∑7∑∑∑∑∑Gregory Demo, Esq.
∑8∑∑∑∑9:34 a.m. - 12:01 p.m.                                             ∑8

∑9                                                                       ∑9∑∑Sidley Austin
                                                                         ∑∑∑Attorney(s) for The Committee
10
                                                                         10∑∑2021 McKinney Avenue
11∑∑∑∑∑Remote Deposition of JAMES DONDERO,
                                                                         11∑∑Dallas, Texas 75201
12∑∑located in Dallas, Texas before Daniel J.                            12∑∑BY:∑∑Paige Montgomery, Esq.
13∑∑Skur, Notary Public and Certified Shorthand                          13∑∑∑∑∑Juliana Hoffman, Esq.
14∑∑Reporter in and for the State of Texas                               14∑∑∑∑∑Matthew Clemente, Esq.

15∑∑located in Waxahachie, Texas.                                        15∑∑∑∑∑Alyssa Russell, Esq.
                                                                         16
16
                                                                         17∑∑Kelly Hart & Pitre
17
                                                                         ∑∑∑Attorney(s) for Mark Patrick
18
                                                                         18∑∑400 Poydras Street
19                                                                       19∑∑New Orleans, Louisiana 70130
20                                                                       20∑∑BY:∑∑Amelia Hurt, Esq.
21                                                                       21
                                                                         22∑∑Bonds Ellis Eppich Schafer Jones
22
                                                                         ∑∑∑Attorney(s) for The Witness
23
                                                                         23∑∑420 Throckmorton Street
24
                                                                         24∑∑Fort Worth, Texas 76102
25                                                                       25∑∑BY:∑∑Clay Taylor, Esq.

                                                              Page 286                                                                  Page 287
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                            ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2                                                                       ∑2∑∑∑∑∑∑∑IT IS HEREBY STIPULATED AND AGREED
∑3∑∑R E M O T E∑∑A P P E A R A N C E S∑(continued)
                                                                         ∑3∑∑by and between the attorneys for the respective
∑4∑∑∑∑Sbaiti & Company
                                                                         ∑4∑∑parties herein, that filing and sealing be and
∑∑∑∑∑Attorney(s) for Charitable DAF, CLO HoldCo
                                                                         ∑5∑∑the same are hereby waived.
∑5∑∑∑∑and Sbaiti & Company
∑∑∑∑∑2200 Ross Avenue                                                    ∑6∑∑∑∑∑∑∑IT IS FURTHER STIPULATED AND AGREED

∑6                                                                       ∑7∑∑that all objections, except as to the form∑of
∑∑∑∑∑Dallas, Texas 75201                                                 ∑8∑∑the question, shall be reserved to the
∑7                                                                       ∑9∑∑time of the trial.
∑∑∑∑∑BY:∑∑Mazin Sbaiti, Esq.
                                                                         10∑∑∑∑∑∑∑IT IS FURTHER STIPULATED AND AGREED
∑8
                                                                         11∑∑that the within deposition may be sworn to and
∑9
10                                                                       12∑∑signed before any officer authorized to

11∑∑ALSO PRESENT:                                                        13∑∑administer an oath, with the same force and
12∑∑∑∑∑∑∑La Asia Canty, Paralegal                                        14∑∑effect as if signed and sworn to before the
13∑∑∑∑∑∑∑Debra Dandeneau, Baker & McKenzie                               15∑∑Court.
14∑∑∑∑∑∑∑J. Pomerantz
                                                                         16∑∑∑∑∑∑∑∑∑∑∑∑- oOo -
15∑∑∑∑∑∑∑Lauren Drawhorn, Wick Phillips
                                                                         17
16∑∑∑∑∑∑∑Mark Patrick
                                                                         18
17
18                                                                       19
19                                                                       20
20                                                                       21
21
                                                                         22
22
                                                                         23
23
                                                                         24
24
25                                                                       25



                                                TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                               Appx. 01704
                                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                 Page 121 of 200 PageID 31274
                                                     Page 288                                                                  Page 289
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑∑∑∑∑P R O C E E D I N G S                                 ∑2∑∑right now?
∑3∑∑∑∑∑∑∑REMOTE ORAL DEPOSITION OF                              ∑3∑∑∑∑A.∑∑4940 Chase Tower.
∑4∑∑∑∑∑∑∑∑∑∑JAMES DONDERO                                       ∑4∑∑∑∑∑∑∑(Interruption by reporter.)
∑5∑∑∑∑∑∑∑(REPORTER NOTE:∑This deposition is                     ∑5∑∑∑∑∑∑∑(Pause.)
∑6∑∑∑∑being conducted remotely in accordance with               ∑6∑∑BY MR. MORRIS:
∑7∑∑∑∑the Current Emergency Order regarding the                 ∑7∑∑∑∑Q.∑∑Good morning, Mr. Dondero.
∑8∑∑∑∑COVID-19 State of Disaster.                               ∑8∑∑∑∑∑∑∑(Audio distortion.)
∑9∑∑∑∑∑∑∑Today's date is the 1st day of                         ∑9∑∑∑∑∑∑∑(Interruption by reporter.)∑∑∑∑∑∑∑∑00:-01
10∑∑∑∑June, 2021.∑The time is 9:34 a.m. Daylight                10∑∑BY MR. MORRIS:∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑00:-01
11∑∑∑∑Savings Time.∑The witness is located in                   11∑∑∑∑Q.∑∑Good morning, Mr. Dondero.
12∑∑∑∑Dallas, Texas.)                                           12∑∑∑∑∑∑∑Can you hear me now?
13∑∑∑∑∑∑∑∑∑∑JAMES DONDERO,                                      13∑∑∑∑A.∑∑Yes.
14∑∑having been duly cautioned and sworn to tell                14∑∑∑∑Q.∑∑You understand we're here today for
15∑∑the truth, the whole truth and nothing but the              15∑∑your deposition in connection with next week's
16∑∑∑∑∑∑∑truth, testified as follows:                           16∑∑contempt proceeding; is that right?
17∑∑∑∑∑∑∑∑∑∑∑(9:33 A.M.)                                        17∑∑∑∑A.∑∑Yes.
18∑∑∑∑∑∑∑∑∑∑∑EXAMINATION                                        18∑∑∑∑Q.∑∑Okay.∑We have a few documents to
19∑∑BY MR. MORRIS:                                              19∑∑put up on the screen today; and as usual, if
20∑∑∑∑Q.∑∑Good morning, Mr. Dondero.∑Can you                    20∑∑there's anything that you need to see, will you
21∑∑hear me?                                                    21∑∑let me know that?
22∑∑∑∑A.∑∑Yes.                                                  22∑∑∑∑A.∑∑Yes.
23∑∑∑∑Q.∑∑Your microphone is a little soft as                   23∑∑∑∑Q.∑∑All right.∑I want to start with
24∑∑well.                                                       24∑∑some background.
25∑∑∑∑∑∑∑Can you tell me where you're located                   25∑∑∑∑∑∑∑MR. MORRIS:∑Can we please put up
                                                     Page 290                                                                  Page 291
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑the first exhibit, the organizational                     ∑2∑∑∑∑A.∑∑Only generally.
∑3∑∑∑∑chart?                                                    ∑3∑∑BY MR. MORRIS:
∑4∑∑∑∑∑∑∑MR. TAYLOR:∑John, before we start,                     ∑4∑∑∑∑Q.∑∑Can you tell me your general
∑5∑∑∑∑I just wanted to note that this is going to               ∑5∑∑understanding of why this structure was set up
∑6∑∑∑∑be limited to two hours.                                  ∑6∑∑the way it was?
∑7∑∑∑∑∑∑∑MR. MORRIS:∑I'm not sure where you                     ∑7∑∑∑∑A.∑∑To be compliant for tax purposes.
∑8∑∑∑∑get that from, but let's just proceed.                    ∑8∑∑∑∑Q.∑∑Was this structure set up at your
∑9∑∑∑∑∑∑∑MR. TAYLOR:∑You specifically asked                     ∑9∑∑request?
10∑∑∑∑for two hours of time, and I told you we'd                10∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, form.
11∑∑∑∑give two hours of time, and so we're                      11∑∑∑∑A.∑∑Set up at my request.∑No.
12∑∑∑∑limiting it to two hours.                                 12∑∑BY MR. MORRIS:
13∑∑∑∑∑∑∑MR. MORRIS:∑You do whatever you                        13∑∑∑∑Q.∑∑Who decided to set up this
14∑∑∑∑need to do, Clay.                                         14∑∑structure; do you know?
15∑∑∑∑∑∑∑(Exhibit 1 introduced.)                                15∑∑∑∑A.∑∑Mark Patrick.
16∑∑BY MR. MORRIS:                                              16∑∑∑∑Q.∑∑And do you know if anybody asked
17∑∑∑∑Q.∑∑Mr. Dondero, have you seen this                       17∑∑Mark Patrick to set up this structure?
18∑∑document before, sir?                                       18∑∑∑∑A.∑∑The -- he was tasked with setting up
19∑∑∑∑A.∑∑Yes.                                                  19∑∑a charitable entity for Highland at that time,
20∑∑∑∑Q.∑∑Do you know what it is?                               20∑∑for Highland and my -- for Highland and the
21∑∑∑∑A.∑∑It's the org chart of the DAF and                     21∑∑partners to -- to foster charitable giving and
22∑∑CLO HoldCo.                                                 22∑∑provide the appropriate tax deductions for
23∑∑∑∑Q.∑∑Do you know why this structure was                    23∑∑such.
24∑∑set up the way it was?                                      24∑∑∑∑Q.∑∑And who gave him that task, if you
25∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, form.                           25∑∑know?

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                      Appx. 01705
                                                                                                                                          YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 122 of 200 PageID 31275
                                                       Page 292                                                             Page 293
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                     ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑A.∑∑I believe I did.                                        ∑2∑∑∑∑Q.∑∑Okay.∑Looking at the next row,
∑3∑∑∑∑Q.∑∑Okay.∑So, you tasked Mr. Patrick                        ∑3∑∑there's four incorporated or there's four
∑4∑∑with setting up an organizational structure to                ∑4∑∑entities that are identified as supporting
∑5∑∑carry out the charitable giving on behalf of                  ∑5∑∑organizations.
∑6∑∑Highland Capital Management, L.P., and its                    ∑6∑∑∑∑∑∑∑Do you see that?
∑7∑∑partners?                                                     ∑7∑∑∑∑A.∑∑Yes.
∑8∑∑∑∑∑∑∑Do I have that right?                                    ∑8∑∑∑∑Q.∑∑Do you have an understanding of what
∑9∑∑∑∑A.∑∑Yes.                                                    ∑9∑∑a "supporting organization" is?
10∑∑∑∑Q.∑∑Okay.∑Looking at the top line, do                       10∑∑∑∑A.∑∑No, and I don't know the difference
11∑∑you see that there's four foundations that are                11∑∑between that first line and the second line,
12∑∑identified as third parties?                                  12∑∑and I don't know if my involvement with Dallas
13∑∑∑∑A.∑∑Yes.                                                    13∑∑Foundation was at the first line or the second
14∑∑∑∑Q.∑∑Are you familiar with those                             14∑∑line.
15∑∑foundations?                                                  15∑∑∑∑Q.∑∑Do you know when Mr. Patrick set up
16∑∑∑∑A.∑∑Yes.                                                    16∑∑this structure?
17∑∑∑∑Q.∑∑And do you serve as an officer or                       17∑∑∑∑A.∑∑Many years ago at the beginning of
18∑∑director of any of those foundations?                         18∑∑the -- I don't think it's changed over the
19∑∑∑∑A.∑∑I -- I believe I have or I could be                     19∑∑years.∑As far as I know, the general -- or
20∑∑with regard to Dallas Foundation, but I'm not                 20∑∑this -- this structure was put in place at the
21∑∑certain.                                                      21∑∑beginning, I believe, sometime in the late
22∑∑∑∑Q.∑∑Okay.∑Do you know if you have any                       22∑∑2000s.
23∑∑role with any of the other three foundations                  23∑∑∑∑Q.∑∑Do you know what the Donor Advised
24∑∑that are on there?                                            24∑∑Funds are, the DAF funds?
25∑∑∑∑A.∑∑I do not believe so.                                    25∑∑∑∑∑∑∑MR. SBAITI:∑I'm going to object to
                                                       Page 294                                                             Page 295
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                     ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑the form of the question.                                   ∑2∑∑LLC, is?
∑3∑∑∑∑∑∑∑John, if you could be clear as to                        ∑3∑∑∑∑A.∑∑The exact structural differences,
∑4∑∑∑∑which line -- are you talking about                         ∑4∑∑I -- I -- I -- I don't know.
∑5∑∑∑∑charitable DAF HoldCo, or are you talking                   ∑5∑∑∑∑Q.∑∑So when you use the phrase "DAF,"
∑6∑∑∑∑about charitable DAF Fund, L.P.?                            ∑6∑∑what are you referring to?
∑7∑∑∑∑∑∑∑MR. TAYLOR:∑If you could be as                           ∑7∑∑∑∑A.∑∑In general, when I use the
∑8∑∑∑∑specific as possible, and he'll try to                      ∑8∑∑expression, it's the -- the overall entity, the
∑9∑∑∑∑answer as specifically as possible.∑I'm                     ∑9∑∑overall pool of capital and/or the overall
10∑∑∑∑not sure which box you're talking about.                    10∑∑entity that makes the donations from the pool
11∑∑∑∑∑∑∑MR. MORRIS:∑All right, Clay.∑Thank                       11∑∑of capital.
12∑∑∑∑you.                                                        12∑∑∑∑Q.∑∑And which entity -- withdrawn.
13∑∑BY MR. MORRIS:                                                13∑∑∑∑∑∑∑Do you have an understanding as to
14∑∑∑∑Q.∑∑Mr. Dondero, are you familiar with                      14∑∑which entity holds the pool of capital?
15∑∑the phrase "DAF"?                                             15∑∑∑∑A.∑∑No.∑It's -- no, I don't know for
16∑∑∑∑A.∑∑Yes.                                                    16∑∑sure.
17∑∑∑∑Q.∑∑Have you used that phrase before?                       17∑∑∑∑Q.∑∑Do you know if it's CLO HoldCo,
18∑∑∑∑A.∑∑Yes.                                                    18∑∑Ltd.?
19∑∑∑∑Q.∑∑When you refer to -- when you use                       19∑∑∑∑∑∑∑MR. SBAITI:∑Objection, asked and
20∑∑the phrase "DAF," what are you referring to?                  20∑∑∑∑answered.
21∑∑∑∑A.∑∑It would depend.                                        21∑∑∑∑A.∑∑I don't know.
22∑∑∑∑Q.∑∑On what?                                                22∑∑BY MR. MORRIS:
23∑∑∑∑A.∑∑What the question is.                                   23∑∑∑∑Q.∑∑Do you know if Charitable DAF Fund,
24∑∑∑∑Q.∑∑What's -- do you have an                                24∑∑L.P., holds any assets?
25∑∑understanding of what the Charitable DAF GP,                  25∑∑∑∑∑∑∑MR. SBAITI:∑Objection, relevance,

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                   Appx. 01706
                                                                                                                                       YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 123 of 200 PageID 31276
                                                      Page 296                                                          Page 297
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑no foundation.                                             ∑2∑∑recommendation.
∑3∑∑∑∑A.∑∑I -- I don't know which entities                       ∑3∑∑∑∑Q.∑∑Who did you make the recommendation
∑4∑∑hold which of the assets.                                    ∑4∑∑to?
∑5∑∑BY MR. MORRIS:                                               ∑5∑∑∑∑A.∑∑It would have been Mark Patrick.
∑6∑∑∑∑Q.∑∑Did you -- did you approve of the                      ∑6∑∑∑∑Q.∑∑Did Mark Patrick have the authority
∑7∑∑organizational structure that Mr. Patrick                    ∑7∑∑to appoint Mr. Scott as the trustee of the DAF?
∑8∑∑created at your request?                                     ∑8∑∑∑∑∑∑∑MR. SBAITI:∑Objection, vague.
∑9∑∑∑∑A.∑∑Yes.                                                   ∑9∑∑∑∑Object to the extent it calls for a legal
10∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, vague.                           10∑∑∑∑conclusion.
11∑∑BY MR. MORRIS:                                               11∑∑∑∑A.∑∑Yeah, I don't know.
12∑∑∑∑Q.∑∑I'm sorry.∑Did -- did you answer,                      12∑∑BY MR. MORRIS:
13∑∑sir?                                                         13∑∑∑∑Q.∑∑Well, you've known Mr. Scott since
14∑∑∑∑A.∑∑Yes.                                                   14∑∑high school; isn't that right?
15∑∑∑∑Q.∑∑Okay.∑Who is Grant Scott?                              15∑∑∑∑A.∑∑Yes.
16∑∑∑∑A.∑∑I understand he was the trustee of                     16∑∑∑∑Q.∑∑You went to UVA together; isn't that
17∑∑the DAF for a number of years.                               17∑∑right?
18∑∑∑∑Q.∑∑When you say "he was the trustee of                    18∑∑∑∑A.∑∑Yes.
19∑∑the DAF," what are you referring to?                         19∑∑∑∑Q.∑∑You were housemates together in
20∑∑∑∑A.∑∑I always refer to him as "trustee,"                    20∑∑college; isn't that right?
21∑∑but I see it's labeled here as "managing                     21∑∑∑∑A.∑∑Yes.
22∑∑member."                                                     22∑∑∑∑Q.∑∑He was the best man at your wedding;
23∑∑∑∑Q.∑∑Do you know how he came to be                          23∑∑isn't that right?
24∑∑appointed the trustee of the DAF?                            24∑∑∑∑A.∑∑Yes.
25∑∑∑∑A.∑∑I believe it was on my                                 25∑∑∑∑Q.∑∑You picked Mr. Scott to serve as the
                                                      Page 298                                                          Page 299
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑trustee of the DAF; isn't that right?                        ∑2∑∑∑∑Q.∑∑Correct.
∑3∑∑∑∑∑∑∑MR. TAYLOR:∑Objection.∑That's not                       ∑3∑∑∑∑A.∑∑13, 14, 15 years ago.
∑4∑∑∑∑what he stated.                                            ∑4∑∑∑∑∑∑∑The -- it -- we thought -- I thought
∑5∑∑∑∑A.∑∑I -- on the original formation, I                      ∑5∑∑at the time he would be suitable.
∑6∑∑recommended Grant Scott.                                     ∑6∑∑∑∑Q.∑∑But why did you select Mr. Patrick
∑7∑∑BY MR. MORRIS:                                               ∑7∑∑as the person to whom to make your
∑8∑∑∑∑Q.∑∑And you recommended Mr. Scott to                       ∑8∑∑recommendation?
∑9∑∑Mr. Patrick?                                                 ∑9∑∑∑∑A.∑∑Because he was responsible for
10∑∑∑∑A.∑∑That's my recollection, I believe,                     10∑∑setting up the overall structure.
11∑∑but I don't remember specifically.                           11∑∑∑∑Q.∑∑Did he -- were you seeking his
12∑∑∑∑Q.∑∑Do you remember if Mr. Patrick held                    12∑∑approval when you made the recommendation to
13∑∑any role in any entity on the chart that stands              13∑∑him?
14∑∑before you?                                                  14∑∑∑∑A.∑∑I -- I don't know the roles he was
15∑∑∑∑∑∑∑Withdrawn.                                              15∑∑playing at the -- at that moment, so I -- I
16∑∑∑∑∑∑∑Do you know if Mr. Patrick held any                     16∑∑don't know.
17∑∑role with any entity prior to January 1st,                   17∑∑∑∑Q.∑∑At the time that you recommended
18∑∑2021?                                                        18∑∑Mr. Scott to serve as the trustee of the DAF,
19∑∑∑∑∑∑∑MR. SBAITI:∑Objection, vague.                           19∑∑did you have any understanding as to who had
20∑∑∑∑A.∑∑I don't know.                                          20∑∑the authority to actually appoint Mr. Scott?
21∑∑BY MR. MORRIS:                                               21∑∑∑∑A.∑∑I did not specifically.
22∑∑∑∑Q.∑∑Why did you make the recommendation                    22∑∑∑∑Q.∑∑Did you ever learn who had the power
23∑∑to Mr. Patrick?                                              23∑∑to appoint the trustee of the DAF?
24∑∑∑∑A.∑∑Initially?∑You're saying the                           24∑∑∑∑A.∑∑I did not.
25∑∑initial recommendation when it was set up?                   25∑∑∑∑Q.∑∑As you sit here today, do you have

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01707
                                                                                                                                   YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 124 of 200 PageID 31277
                                                       Page 300                                                          Page 301
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                     ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑any understanding as to who has the power to                  ∑2∑∑considered appointing -- withdrawn.
∑3∑∑appoint the trustee of the DAF?                               ∑3∑∑∑∑∑∑∑MR. MORRIS:∑Could we please put up
∑4∑∑∑∑∑∑∑MR. TAYLOR:∑I'll instruct the                            ∑4∑∑∑∑the next exhibit, Patrick File 6,
∑5∑∑∑∑witness not to answer to the extent it                      ∑5∑∑∑∑Document 1?
∑6∑∑∑∑would require him to reveal privileged                      ∑6∑∑∑∑∑∑∑(Exhibit 2 introduced.)
∑7∑∑∑∑communications with counsel.                                ∑7∑∑∑∑∑∑∑MR. SBAITI:∑John, is that document
∑8∑∑∑∑∑∑∑MR. MORRIS:∑I'm not asking him for                       ∑8∑∑∑∑you put up a labeled exhibit for the, like
∑9∑∑∑∑any communications, to be clear.                            ∑9∑∑∑∑Exhibit 1 or something, the one you have up
10∑∑∑∑∑∑∑MR. TAYLOR:∑Or anything he heard                         10∑∑∑∑right here.
11∑∑∑∑from counsel.                                               11∑∑∑∑∑∑∑MR. MORRIS:∑Yeah, that will be
12∑∑∑∑∑∑∑(Audio distortion.)                                      12∑∑∑∑marked as Exhibit 1, thank you.
13∑∑∑∑∑∑∑MR. MORRIS:∑Please don't -- Clay,                        13∑∑∑∑∑∑∑So, now we're going to put up
14∑∑∑∑you're a very good lawyer, please don't                     14∑∑∑∑Exhibit 2.
15∑∑∑∑coach the witness.∑He's a very                              15∑∑BY MR. MORRIS:
16∑∑∑∑sophisticated witness.                                      16∑∑∑∑Q.∑∑Do you see that that's the Amended
17∑∑BY MR. MORRIS:                                                17∑∑and Restated Limited Liability Company
18∑∑∑∑Q.∑∑Do you have any understanding, as                       18∑∑Agreement of the Charitable DAF GP, LLC?
19∑∑you sit here today, sir, as to who has the                    19∑∑∑∑A.∑∑Yes.
20∑∑authority to appoint the trustee of the DAF?                  20∑∑∑∑Q.∑∑And do you see that it's dated
21∑∑∑∑A.∑∑I know it's complicated.∑I know it                      21∑∑effective as of January 1st, 2012?
22∑∑has to do with shares.∑I know it's -- I know                  22∑∑∑∑A.∑∑Yes.
23∑∑it's multiple levels, but I don't have specific               23∑∑∑∑Q.∑∑So, that's approximately nine plus
24∑∑knowledge.                                                    24∑∑years ago.
25∑∑∑∑Q.∑∑Do you know if Mr. Patrick ever                         25∑∑∑∑∑∑∑Do I have that right?
                                                       Page 302                                                          Page 303
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                     ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑A.∑∑Yes.                                                    ∑2∑∑∑∑A.∑∑I would not say he has expertise. I
∑3∑∑∑∑Q.∑∑Okay.                                                   ∑3∑∑wouldn't say he's an expert in it, but I -- I'd
∑4∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to the last                        ∑4∑∑say he's more sophisticated than the average
∑5∑∑∑∑page, please?                                               ∑5∑∑layperson.
∑6∑∑BY MR. MORRIS:                                                ∑6∑∑∑∑Q.∑∑Well, at the time that you
∑7∑∑∑∑Q.∑∑Is that your signature on that page,                    ∑7∑∑recommended him to Mr. Patrick, did you do so
∑8∑∑sir?                                                          ∑8∑∑because you thought he had valuable experience
∑9∑∑∑∑A.∑∑Yes.                                                    ∑9∑∑and expertise in finance or investment?
10∑∑∑∑Q.∑∑And do you understand that, pursuant                    10∑∑∑∑∑∑∑MR. SBAITI:∑Objection, assumes
11∑∑to this agreement, Mr. Scott replaced you as                  11∑∑∑∑facts not in evidence before the witness.
12∑∑the managing member of the DAF GP, LLC?                       12∑∑BY MR. MORRIS:
13∑∑∑∑A.∑∑I -- I don't have a recollection of                     13∑∑∑∑Q.∑∑That wasn't one of the reasons you
14∑∑that.                                                         14∑∑recommended Mr. Scott, is it?
15∑∑∑∑Q.∑∑Do you remember that you served as                      15∑∑∑∑A.∑∑He wasn't going to be the investment
16∑∑the managing member of the DAF GP, LLC?                       16∑∑advisor.∑DAF had a separate investment
17∑∑∑∑A.∑∑I don't -- I don't recall that.                         17∑∑advisor.
18∑∑∑∑Q.∑∑Now, Mr. Scott is a lawyer, correct?                    18∑∑∑∑Q.∑∑And who was going to be the
19∑∑∑∑A.∑∑Yes.                                                    19∑∑investment advisor?
20∑∑∑∑Q.∑∑He's a patent lawyer.∑Do I have                         20∑∑∑∑A.∑∑Highland.
21∑∑that right?                                                   21∑∑∑∑Q.∑∑And you owned and controlled
22∑∑∑∑A.∑∑Yes.                                                    22∑∑Highland at the time, correct?
23∑∑∑∑Q.∑∑He has no experience or expertise in                    23∑∑∑∑∑∑∑MR. TAYLOR:∑Objection.
24∑∑finance, does he, to the best of your                         24∑∑BY MR. MORRIS:
25∑∑knowledge?                                                    25∑∑∑∑Q.∑∑Withdrawn.

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01708
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 125 of 200 PageID 31278
                                                      Page 304                                                         Page 305
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑∑∑∑You controlled Highland at the time,                    ∑2∑∑∑∑Q.∑∑And you trusted him; is that right?
∑3∑∑correct?                                                     ∑3∑∑∑∑A.∑∑I -- yes.
∑4∑∑∑∑A.∑∑Yes.                                                   ∑4∑∑∑∑Q.∑∑And you had a life-long relationship
∑5∑∑∑∑Q.∑∑Did Mr. Scott have any experience or                   ∑5∑∑with him; isn't that right?∑Isn't that one of
∑6∑∑expertise running charitable organizations, to               ∑6∑∑the reasons why you recommended him for this
∑7∑∑the best of your knowledge?                                  ∑7∑∑position?
∑8∑∑∑∑A.∑∑No.                                                    ∑8∑∑∑∑A.∑∑Yes.
∑9∑∑∑∑Q.∑∑Had he ever, to the best of your                       ∑9∑∑∑∑Q.∑∑Do you know whether Mr. Patrick --
10∑∑knowledge, made any decisions concerning                     10∑∑withdrawn.
11∑∑collateralized loan obligations?                             11∑∑∑∑∑∑∑Is Mr. -- do you believe that
12∑∑∑∑A.∑∑No.                                                    12∑∑Mr. Patrick is the person who appointed
13∑∑∑∑Q.∑∑Can you tell me why you recommended                    13∑∑Mr. Scott as your successor as managing member
14∑∑to Mr. Patrick that Mr. Scott serve as the                   14∑∑in 2012?
15∑∑trustee of DAF?                                              15∑∑∑∑∑∑∑MR. SBAITI:∑Objection, asked and
16∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, asked and                        16∑∑∑∑answered, calls for speculation; and object
17∑∑∑∑answered.                                                  17∑∑∑∑to the extent it calls for a legal
18∑∑∑∑A.∑∑I -- I thought he would be a good                      18∑∑∑∑conclusion.
19∑∑fit for the position.                                        19∑∑∑∑A.∑∑I could -- I could repeat the answer
20∑∑BY MR. MORRIS:                                               20∑∑again.
21∑∑∑∑Q.∑∑Why?                                                   21∑∑∑∑∑∑∑I don't know the formal process, but
22∑∑∑∑A.∑∑It required -- I don't -- in my                        22∑∑I do remember recommending to Mark Patrick that
23∑∑mind -- or I believed it would require a lawyer              23∑∑Grant would be a good candidate.∑Now, how --
24∑∑and someone with legal skills, and I thought he              24∑∑what mechanism and how the process works and
25∑∑would be good at the position.                               25∑∑who actually approved that, I -- I don't know.
                                                      Page 306                                                         Page 307
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑BY MR. MORRIS:                                               ∑2∑∑∑∑∑∑∑Can you identify any person or
∑3∑∑∑∑Q.∑∑Did you recommend anybody else, or                     ∑3∑∑entity who was involved in the appointment of
∑4∑∑was Mr. Scott the only person that you                       ∑4∑∑Mr. Scott as your successor as managing member
∑5∑∑recommended?                                                 ∑5∑∑of the DAF GP, LLC, other than yourself and
∑6∑∑∑∑A.∑∑I don't -- I don't remember. I                         ∑6∑∑Mr. Patrick?
∑7∑∑don't remember.∑I don't remember recommending                ∑7∑∑∑∑∑∑∑MR. SBAITI:∑Objection, assumes
∑8∑∑anybody else or if the process required it. I                ∑8∑∑∑∑facts.
∑9∑∑don't remember the process.                                  ∑9∑∑∑∑A.∑∑Yeah, I don't -- I don't have
10∑∑∑∑Q.∑∑Was anybody involved in the process                    10∑∑specific knowledge.
11∑∑other than you and Mr. Patrick?                              11∑∑BY MR. MORRIS:
12∑∑∑∑∑∑∑MR. TAYLOR:∑Objection to the extent                     12∑∑∑∑Q.∑∑Okay.∑Do you understand that in
13∑∑∑∑it calls for speculation.                                  13∑∑addition to becoming the managing member of the
14∑∑BY MR. MORRIS:                                               14∑∑Charitable DAF GP, LLC, that Mr. Scott also
15∑∑∑∑Q.∑∑Withdrawn.                                             15∑∑became the sole director of the Charitable DAF
16∑∑∑∑∑∑∑Do you know -- do you know if                           16∑∑HoldCo, Ltd., Charitable DAF Fund, L.P., and
17∑∑anybody was in the process -- involved in the                17∑∑CLO HoldCo, Ltd.?
18∑∑process other than you and Mr. Patrick?                      18∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, assumes
19∑∑∑∑A.∑∑Again, I don't know the process and                    19∑∑∑∑facts not before the witness.
20∑∑the mechanism, if there were offshore boards                 20∑∑∑∑A.∑∑No.
21∑∑involved or if the four underlying charities                 21∑∑BY MR. MORRIS:
22∑∑were involved.∑It was -- it was complicated,                 22∑∑∑∑Q.∑∑Do you know if he ever held the
23∑∑and I delegated the process to Mark Patrick.                 23∑∑directorship of any of those entities?
24∑∑∑∑Q.∑∑Okay.∑I'm not asking you to                            24∑∑∑∑∑∑∑MR. SBAITI:∑Objection, vague.
25∑∑speculate.∑I'm just asking for your knowledge.               25∑∑∑∑A.∑∑I -- I don't know what his exact

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                             Appx. 01709
                                                                                                                                  YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 126 of 200 PageID 31279
                                                      Page 308                                                            Page 309
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑role is now, but I -- I thought I was informed               ∑2∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, asked and
∑3∑∑that that's -- his role now has something to do              ∑3∑∑∑∑answered.
∑4∑∑with directorship.                                           ∑4∑∑∑∑∑∑∑MR. SBAITI:∑Objection, calls for a
∑5∑∑BY MR. MORRIS:                                               ∑5∑∑∑∑legal opinion.
∑6∑∑∑∑Q.∑∑Can we put the chart back up,                          ∑6∑∑∑∑A.∑∑I don't know.
∑7∑∑Exhibit 1, please?                                           ∑7∑∑BY MR. MORRIS:
∑8∑∑∑∑∑∑∑(Exhibit 1 on screen.)                                  ∑8∑∑∑∑Q.∑∑How about the Charitable DAF Fund,
∑9∑∑BY MR. MORRIS:                                               ∑9∑∑L.P.; can you identify anybody in the world who
10∑∑∑∑Q.∑∑Do you know whether Mr. Scott held                     10∑∑was authorized to act on behalf of that entity
11∑∑any position at all with Charitable DAF HoldCo,              11∑∑prior to March 1st, 2021?
12∑∑Ltd., at any time?                                           12∑∑∑∑∑∑∑MR. SBAITI:∑Objection, calls for a
13∑∑∑∑A.∑∑I don't know.                                          13∑∑∑∑legal opinion.
14∑∑∑∑Q.∑∑Can you identify any person who's                      14∑∑∑∑A.∑∑I mean, other than Grant Scott, the
15∑∑ever -- who you believe had the authority to                 15∑∑org chart seems to roll up back up to him.
16∑∑act on behalf of the Charitable DAF HoldCo,                  16∑∑BY MR. MORRIS:
17∑∑Ltd., prior to March 1st, 2021?                              17∑∑∑∑Q.∑∑Okay.∑So, you're willing to say
18∑∑∑∑∑∑∑MR. SBAITI:∑Objection, assumes                          18∑∑that Grant Scott acted on behalf of that
19∑∑∑∑facts not in evidence.                                     19∑∑entity?
20∑∑∑∑A.∑∑I don't know.                                          20∑∑∑∑∑∑∑Do I have that right?
21∑∑BY MR. MORRIS:                                               21∑∑∑∑∑∑∑MR. TAYLOR:∑That's not --
22∑∑∑∑Q.∑∑You can't name anybody in the world                    22∑∑∑∑mischaracterizes his statements.∑He's
23∑∑who was authorized on behalf of -- who was                   23∑∑∑∑giving you his general --
24∑∑authorized to act on behalf of the Charitable                24∑∑∑∑∑∑∑MR. MORRIS:∑Just object to the form
25∑∑DAF HoldCo, Ltd., prior to March 1st, 2021?                  25∑∑∑∑of the question.∑Please, no speaking
                                                      Page 310                                                            Page 311
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑objections.∑It's very simple.                              ∑2∑∑to act on behalf of CLO HoldCo, Ltd., prior to
∑3∑∑∑∑∑∑∑MR. TAYLOR:∑So, John, I'm going to                      ∑3∑∑March 1st, 2021; is that right?
∑4∑∑∑∑make my record.∑If you don't like it, then                 ∑4∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, calls for a
∑5∑∑∑∑bring it up with the Judge.                                ∑5∑∑∑∑legal conclusion.
∑6∑∑BY MR. MORRIS:                                               ∑6∑∑∑∑∑∑∑MR. MORRIS:∑I'm not asking for a
∑7∑∑∑∑Q.∑∑Mr. Dondero, do you understand that                    ∑7∑∑∑∑legal conclusion.∑I'm asking for
∑8∑∑Mr. Scott was authorized to act on behalf of                 ∑8∑∑∑∑Mr. Dondero's knowledge of the facts or his
∑9∑∑the Charitable DAF Fund, L.P., prior to                      ∑9∑∑∑∑understanding of the facts.
10∑∑March 1st, 2021?                                             10∑∑∑∑∑∑∑MR. TAYLOR:∑With all due respect,
11∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, calls for a                      11∑∑∑∑it calls for a legal conclusion.
12∑∑∑∑legal conclusion.                                          12∑∑∑∑∑∑∑MR. MORRIS:∑I cannot wait -- I
13∑∑∑∑A.∑∑I -- I don't know.                                     13∑∑∑∑cannot wait until next Tuesday.∑This is
14∑∑BY MR. MORRIS:                                               14∑∑∑∑going to be brilliant.
15∑∑∑∑Q.∑∑Okay.∑Do you know if anybody was                       15∑∑BY MR. MORRIS:
16∑∑authorized to act on behalf of CLO HoldCo,                   16∑∑∑∑Q.∑∑Mr. Dondero, let me try one last
17∑∑Ltd., prior to March 1st, 2021?                              17∑∑time.
18∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, calls for a                      18∑∑∑∑∑∑∑Can you identify any person who you
19∑∑∑∑legal conclusion.                                          19∑∑believed was authorized to act on behalf of CLO
20∑∑∑∑A.∑∑I -- I don't know the specifics on                     20∑∑HoldCo, Ltd., prior to March 1st, 2021?
21∑∑how this operated.                                           21∑∑∑∑A.∑∑I need to answer the question this
22∑∑BY MR. MORRIS:                                               22∑∑way:∑My knowledge begins and ends with Grant
23∑∑∑∑Q.∑∑But you can't identify any person,                     23∑∑as the trustee, or on this org chart, managing
24∑∑do I have that right, you don't know the                     24∑∑member; and his control, it looks like it flows
25∑∑identity of any person who was ever authorized               25∑∑down through all those entities.∑Now -- or --

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01710
                                                                                                                                     YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                             Page 127 of 200 PageID 31280
                                                      Page 312                                                        Page 313
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑or ownership, at least, or maybe control or                  ∑2∑∑achieve adequate returns on the portfolio to
∑3∑∑agreement.                                                   ∑3∑∑support the charitable giving of the DAF.
∑4∑∑∑∑∑∑∑Now, what other people or boards or                     ∑4∑∑∑∑Q.∑∑Did Mr. Scott lack the capability to
∑5∑∑trustees or -- or entity he had to go through,               ∑5∑∑provide portfolio management services to the
∑6∑∑whether US Cayman Guernsey, et cetera, to get                ∑6∑∑Charitable DAF Fund, L.P., to the best of your
∑7∑∑things done and where the assets were held, I                ∑7∑∑knowledge?
∑8∑∑do not have specific knowledge and I don't know              ∑8∑∑∑∑A.∑∑I would not say that.
∑9∑∑the names of the people or the entities that                 ∑9∑∑∑∑Q.∑∑So why -- why did -- withdrawn.
10∑∑were on those boards or -- supervisory or                    10∑∑∑∑∑∑∑Was the -- did you participate in
11∑∑holders of shares, or whatever.∑I wasn't                     11∑∑the negotiation -- withdrawn.
12∑∑specifically involved in the operation of this               12∑∑∑∑∑∑∑Can we please put up the next
13∑∑structure.                                                   13∑∑exhibit?∑We'll call it Exhibit 3.
14∑∑∑∑Q.∑∑Did the Charitable DAF Fund, L.P.,                     14∑∑∑∑∑∑∑(Exhibit 3 introduced.)
15∑∑and Highland Capital Management, L.P., enter                 15∑∑BY MR. MORRIS:
16∑∑into an Amended and Restated Investment                      16∑∑∑∑Q.∑∑Do you see this is an Amended and
17∑∑Advisory Agreement, to the best of your                      17∑∑Restated Investment Advisory Agreement between
18∑∑knowledge?                                                   18∑∑the Charitable DAF Fund, L.P.; the Charitable
19∑∑∑∑A.∑∑There was an Investment Advisory                       19∑∑DAF, GP, LLC; and Highland Capital Management,
20∑∑Agreement, as far as I knew.                                 20∑∑L.P.?
21∑∑∑∑Q.∑∑And what is your understanding of                      21∑∑∑∑A.∑∑Yes.
22∑∑the purpose of the Investment Advisory                       22∑∑∑∑Q.∑∑Is this the agreement you were just
23∑∑Agreement?                                                   23∑∑referring to?
24∑∑∑∑A.∑∑Excuse me.                                             24∑∑∑∑A.∑∑Unless there was another amended
25∑∑∑∑∑∑∑To provide portfolio management to                      25∑∑one.∑I believe there was always one -- best
                                                      Page 314                                                        Page 315
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑practice is to have an investment advisory                   ∑2∑∑Services Agreement.∑I don't know which DAF
∑3∑∑group.                                                       ∑3∑∑entities entered it.
∑4∑∑∑∑Q.∑∑And do you know who prepared this                      ∑4∑∑∑∑Q.∑∑Before we get to that, pursuant to
∑5∑∑document?                                                    ∑5∑∑the Investment and Advisory Agreement, did
∑6∑∑∑∑A.∑∑No.                                                    ∑6∑∑Highland Capital Management, L.P., manage the
∑7∑∑∑∑Q.∑∑Do you know if it was the subject of                   ∑7∑∑assets of the DAF and CLO HoldCo?
∑8∑∑any negotiation?                                             ∑8∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, vague.
∑9∑∑∑∑A.∑∑I don't know.                                          ∑9∑∑∑∑A.∑∑Can you repeat the question again?
10∑∑∑∑Q.∑∑Do you know if the Charitable DAF                      10∑∑BY MR. MORRIS:
11∑∑Fund, L.P., or the Charitable DAF GP, LLC, had               11∑∑∑∑Q.∑∑Sure.∑Is it your understanding that
12∑∑independent counsel in connection with the                   12∑∑pursuant to this agreement, HCMLP managed the
13∑∑negotiation and execution of this Amended and                13∑∑assets of the DAF and CLO HoldCo?
14∑∑Restated Investment Advisory Agreement?                      14∑∑∑∑A.∑∑This agreement discusses the DAF,
15∑∑∑∑A.∑∑I don't know.                                          15∑∑right?
16∑∑∑∑Q.∑∑Do you know if the Charitable DAF                      16∑∑∑∑∑∑∑This disagreement doesn't discuss
17∑∑Fund, L.P., or the Charitable DAF GP, LLC, ever              17∑∑CLO HoldCo, right?
18∑∑hired independent counsel prior to the                       18∑∑∑∑Q.∑∑Do you know whether HCMLP ever had
19∑∑commencement of Highland's bankruptcy in                     19∑∑any agreement of any kind with CLO HoldCo
20∑∑October 2019?                                                20∑∑pursuant to which it managed CLO HoldCo's
21∑∑∑∑A.∑∑I don't know.                                          21∑∑assets?
22∑∑∑∑Q.∑∑Did those entities also enter into a                   22∑∑∑∑A.∑∑I don't know for certain.
23∑∑Shared Services Agreement with Highland Capital              23∑∑∑∑Q.∑∑Do you have any understanding at all
24∑∑Management?                                                  24∑∑as to whether such an agreement existed?
25∑∑∑∑A.∑∑I believe there was a Shared                           25∑∑∑∑A.∑∑I -- I don't know for certain.∑I'm

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                            Appx. 01711
                                                                                                                                 YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 128 of 200 PageID 31281
                                                      Page 316                                                          Page 317
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑willing to be refreshed.                                     ∑2∑∑∑∑Q.∑∑Okay.∑While Mr. Scott served -- I
∑3∑∑∑∑Q.∑∑Do you know who provides --                            ∑3∑∑think you said as the trustee of the DAF, can
∑4∑∑withdrawn.                                                   ∑4∑∑you identify any investment decision that HCMLP
∑5∑∑∑∑∑∑∑Do you know whether anybody provides                    ∑5∑∑had recommended that Mr. Scott rejected?
∑6∑∑independent -- withdrawn.                                    ∑6∑∑∑∑A.∑∑No.
∑7∑∑∑∑∑∑∑Do you know whether anybody has an                      ∑7∑∑∑∑Q.∑∑Can you think of any investment that
∑8∑∑agreement with the Charitable DAF Fund, L.P.,                ∑8∑∑Mr. Scott made on behalf of the DAF that didn't
∑9∑∑or the Charitable DAF GP, LLC, today similar to              ∑9∑∑originate with HCMLP?
10∑∑the type that had been previously entered into               10∑∑∑∑A.∑∑He wasn't the investment advisor,
11∑∑with HCMLP?                                                  11∑∑but, no, I don't -- I don't recall.
12∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, vague.                           12∑∑∑∑Q.∑∑Let's just speed this up a bit.
13∑∑∑∑A.∑∑I believe Skygate has a similar --                     13∑∑∑∑∑∑∑Do you recall that in October 2019,
14∑∑similar agreements in place.                                 14∑∑the debtor filed for bankruptcy?
15∑∑BY MR. MORRIS:                                               15∑∑∑∑A.∑∑Yes.
16∑∑∑∑Q.∑∑Is it your understanding that                          16∑∑∑∑Q.∑∑And do you recall that after the
17∑∑Skygate effectively replaced HCMLP as the                    17∑∑debtor filed for bankruptcy, CLO HoldCo, Ltd.,
18∑∑investment advisor to the DAF?                               18∑∑retained John Kane to act as counsel on its
19∑∑∑∑A.∑∑Let me clarify that for a second.                      19∑∑behalf?
20∑∑∑∑∑∑∑I believe Skygate has the Shared                        20∑∑∑∑A.∑∑I -- I know he was retained. I
21∑∑Services Agreement.∑I don't know whether it's                21∑∑don't know which entities in particular.
22∑∑Skygate or NexPoint has the Investment Advisory              22∑∑∑∑Q.∑∑Do you have any understanding as to
23∑∑Agreement or if it was another entity. I                     23∑∑who Mr. Kane represented?
24∑∑don't -- I don't know.∑I -- I don't know the                 24∑∑∑∑A.∑∑My understanding was that he
25∑∑specifics.                                                   25∑∑represented the DAF.∑Now, whether it included
                                                      Page 318                                                          Page 319
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑all entities, CLO HoldCo, the offshore                       ∑2∑∑besides the HCMLP lawyers and the NexPoint
∑3∑∑entities, which entities, I -- I don't know.                 ∑3∑∑lawyers?
∑4∑∑∑∑Q.∑∑Do you know if -- do you know how                      ∑4∑∑∑∑A.∑∑I mean -- yes.∑I mean, sometimes we
∑5∑∑Mr. Kane came to be retained by the DAF?                     ∑5∑∑get recommendations from outside counsel
∑6∑∑∑∑∑∑∑MR. SBAITI:∑Objection to the extent                     ∑6∑∑regarding other outside counsel.∑The
∑7∑∑∑∑it calls for the DAF's confidential                        ∑7∑∑recommendation could have come from one of the
∑8∑∑∑∑privileged information (inaudible.)                        ∑8∑∑other bankruptcy attorneys involved in the
∑9∑∑∑∑A.∑∑I -- I don't remember.∑I know the                      ∑9∑∑case.∑I don't know.
10∑∑lawyers -- I let the legal department or                     10∑∑∑∑Q.∑∑Do you recall that in October 2020,
11∑∑lawyers find and identify good -- I let them go              11∑∑Mr. Scott caused CLO HoldCo to amend its proof
12∑∑through the process of identifying and vetting               12∑∑of claim?
13∑∑law firms.                                                   13∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, assumes
14∑∑BY MR. MORRIS:                                               14∑∑∑∑facts not before the witness.
15∑∑∑∑Q.∑∑And are the lawyers that you're                        15∑∑∑∑A.∑∑Yeah, I don't -- I don't know.
16∑∑referring to in-house counsel at HCMLP?                      16∑∑BY MR. MORRIS:
17∑∑∑∑A.∑∑I -- I don't know which lawyers were                   17∑∑∑∑Q.∑∑Let me take it out of the --
18∑∑involved.                                                    18∑∑∑∑∑∑∑(Simultaneous conversation.)
19∑∑∑∑Q.∑∑Well, you just said that you let the                   19∑∑BY MR. MORRIS:
20∑∑lawyers do the vetting.∑Which lawyers were you               20∑∑∑∑Q.∑∑Okay.∑Let me take it out of the
21∑∑referring to?                                                21∑∑time frame.
22∑∑∑∑A.∑∑It could have been the HCMLP                           22∑∑∑∑∑∑∑Do you recall that there came a
23∑∑lawyers, it could have been NexPoint lawyers.                23∑∑moment in time when Mr. Scott caused CLO HoldCo
24∑∑I don't know.                                                24∑∑to amend its proof of claim by reducing the
25∑∑∑∑Q.∑∑Could it have been any other lawyers                   25∑∑value of the claim to zero dollars?

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01712
                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 129 of 200 PageID 31282
                                                     Page 320                                                             Page 321
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑A.∑∑I -- I know there was ultimately a                    ∑2∑∑so?
∑3∑∑settlement agreement.∑I don't know how that                 ∑3∑∑∑∑∑∑∑MR. TAYLOR:∑Objection to the extent
∑4∑∑manifested itself.                                          ∑4∑∑∑∑it calls for him to invade the
∑5∑∑∑∑Q.∑∑Okay.∑So, just to be clear, you                       ∑5∑∑∑∑attorney-client privilege.
∑6∑∑don't have any memory of CLO HoldCo --                      ∑6∑∑∑∑A.∑∑I don't -- I don't have knowledge of
∑7∑∑withdrawn.                                                  ∑7∑∑what you just said.∑I -- my recollection is
∑8∑∑∑∑∑∑∑Do you have a memory of CLO HoldCo                     ∑8∑∑there was a legitimate overbilling that
∑9∑∑filing its original proof of claim in the                   ∑9∑∑Highland did to multiple parties who have
10∑∑amount of approximately $11 million?                        10∑∑pursued multiple -- those multiple claims
11∑∑∑∑A.∑∑I -- I don't recall the amount. I                     11∑∑against the estate, but I don't have -- I don't
12∑∑do remember that the DAF was overbilled by                  12∑∑have specific knowledge of why the 11 was
13∑∑Highland and there was a claim.∑Whether it was              13∑∑reduced to zero, but --
14∑∑a POC or an administrative claim or -- I don't              14∑∑BY MR. MORRIS:
15∑∑know how that manifested itself in the                      15∑∑∑∑Q.∑∑Did you ever discuss with Mr. Scott
16∑∑bankruptcy.∑It's -- yeah.                                   16∑∑his decision to reduce the claim to zero?
17∑∑∑∑Q.∑∑Okay.∑And regardless of the form of                   17∑∑∑∑A.∑∑Not -- not before he did it.
18∑∑the claim, do you remember that there came a                18∑∑∑∑Q.∑∑At any time, did you ever discuss
19∑∑point in time when Mr. Scott amended the claim              19∑∑with Mr. Scott his decision to reduce the claim
20∑∑to reduce the value to zero?                                20∑∑to zero?
21∑∑∑∑A.∑∑I -- I heard a hundred thousand                       21∑∑∑∑A.∑∑I believe afterwards.
22∑∑dollars, but it's essentially zero, I guess.                22∑∑∑∑Q.∑∑And what do you recall about your
23∑∑∑∑Q.∑∑And did you know that Mr. Scott was                   23∑∑discussions with Mr. Scott afterwards?
24∑∑going to amend the proof of claim in that                   24∑∑∑∑A.∑∑That he had given up bona fide
25∑∑manner prior to the time that he actually did               25∑∑claims against the debtor, and I didn't
                                                     Page 322                                                             Page 323
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑understand why.                                             ∑2∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, vague.
∑3∑∑∑∑Q.∑∑Did he explain to you why he thought                  ∑3∑∑∑∑A.∑∑No, but I'm willing -- I'm willing
∑4∑∑he was not giving up bona fide claims --                    ∑4∑∑to be refreshed or answer more questions, but
∑5∑∑withdrawn.                                                  ∑5∑∑those are the only things that come to mind.
∑6∑∑∑∑∑∑∑What did he say in response?                           ∑6∑∑BY MR. MORRIS:
∑7∑∑∑∑∑∑∑MR. SBAITI:∑Objection, calls                           ∑7∑∑∑∑Q.∑∑Okay.∑So, I think what you've told
∑8∑∑∑∑for legal --                                              ∑8∑∑me--and I just want to make sure that I have
∑9∑∑∑∑∑∑∑(Audio distortion.)                                    ∑9∑∑this right--that after the amendment was filed,
10∑∑BY MR. MORRIS:                                              10∑∑you had several conversations with Mr. Scott in
11∑∑∑∑Q.∑∑If anything?                                          11∑∑which you told him that you believed he had
12∑∑∑∑A.∑∑I don't remember him having an                        12∑∑given up bona fide claims against the debtor,
13∑∑explanation.                                                13∑∑but that you don't recall what, if anything, he
14∑∑∑∑Q.∑∑Was anybody else -- did anybody else                  14∑∑said in response.
15∑∑participate in this discussion?                             15∑∑∑∑∑∑∑Have I missed anything?
16∑∑∑∑A.∑∑No.                                                   16∑∑∑∑A.∑∑You used "several."∑It's -- I said
17∑∑∑∑Q.∑∑Did this discussion occur in a                        17∑∑"a couple."
18∑∑singular phone call, or was it in multiple --               18∑∑∑∑Q.∑∑Okay.
19∑∑during multiple conversations?                              19∑∑∑∑A.∑∑But otherwise, that's -- that's my
20∑∑∑∑A.∑∑A couple, one or two.                                 20∑∑testimony.
21∑∑∑∑Q.∑∑Do you remember anything about your                   21∑∑∑∑Q.∑∑Do you recall that sometime after
22∑∑discussions with Mr. Scott concerning his                   22∑∑that, CLO HoldCo had filed an objection to the
23∑∑decision to amend CLO HoldCo's proof of claim               23∑∑proposed HarbourVest Settlement?
24∑∑by reducing it to zero, other than what you've              24∑∑∑∑A.∑∑Yes.
25∑∑testified to so far?                                        25∑∑∑∑Q.∑∑And did you subsequently learn that

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01713
                                                                                                                                     YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 130 of 200 PageID 31283
                                                     Page 324                                                            Page 325
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑CLO HoldCo withdrew its objection to the                    ∑2∑∑∑∑A.∑∑The night before, Counsel had
∑3∑∑HarbourVest Settlement?                                     ∑3∑∑confirmed with other counsel.
∑4∑∑∑∑A.∑∑Yes.                                                  ∑4∑∑∑∑∑∑∑MR. TAYLOR:∑Instruct the witness
∑5∑∑∑∑Q.∑∑Do you recall if you learned that                     ∑5∑∑∑∑not to reveal any privileged information.
∑6∑∑before or after CLO HoldCo withdrew its                     ∑6∑∑∑∑∑∑∑THE WITNESS:∑Okay.
∑7∑∑objection -- withdrawn.                                     ∑7∑∑BY MR. MORRIS:
∑8∑∑∑∑∑∑∑That wasn't a good question.                           ∑8∑∑∑∑Q.∑∑Mr. Dondero, you and I have done
∑9∑∑∑∑∑∑∑Did you know, prior to the time that                   ∑9∑∑this many, many times.∑I hope that you
10∑∑CLO HoldCo announced that it was withdrawing                10∑∑understand that I'm never, ever asking or
11∑∑its objection, that it intended to do so; or                11∑∑hoping that you'll mistakenly divulge
12∑∑did you learn about that after -- you know, as              12∑∑attorney-client communications.
13∑∑the announcement was being made?                            13∑∑∑∑A.∑∑Yeah.∑Let me rephrase.
14∑∑∑∑∑∑∑MR. SBAITI:∑Objection, compound.                       14∑∑∑∑Q.∑∑Yeah.∑So, having said that, you
15∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, compound.                       15∑∑said that you believed it was inappropriate;
16∑∑BY MR. MORRIS:                                              16∑∑and the question is really simple:∑Why did you
17∑∑∑∑Q.∑∑You can answer.                                       17∑∑believe it was inappropriate?
18∑∑∑∑A.∑∑I learned about it at the hearing.                    18∑∑∑∑A.∑∑There was legal basis or legal
19∑∑BY MR. MORRIS:                                              19∑∑interpretation, I believed, in the governing
20∑∑∑∑Q.∑∑Were you surprised?                                   20∑∑partnership agreement justifying the objection;
21∑∑∑∑A.∑∑Yes.                                                  21∑∑and I also believed there were duties under the
22∑∑∑∑Q.∑∑And why were you surprised?                           22∑∑Advisors Act to -- for the DAF to continue with
23∑∑∑∑A.∑∑It was inappropriate.                                 23∑∑its -- or to argue its objections.
24∑∑∑∑Q.∑∑Why did you believe it was                            24∑∑∑∑Q.∑∑And after you learned that Mr. Scott
25∑∑inappropriate?                                              25∑∑instructed his attorneys to withdraw CLO
                                                     Page 326                                                            Page 327
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑HoldCo's objection to the HarbourVest                       ∑2∑∑∑∑Q.∑∑Do you know how long after the
∑3∑∑Settlement, did you have a conversation with                ∑3∑∑conclusion of the hearing the conversation took
∑4∑∑Mr. Scott about his decision?                               ∑4∑∑place?∑Was it the same day?∑Was it
∑5∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, assumes                         ∑5∑∑afterwards?
∑6∑∑∑∑facts not in evidence.                                    ∑6∑∑∑∑A.∑∑I believe it was the same day or
∑7∑∑∑∑A.∑∑Yeah, I don't agree with the first                    ∑7∑∑shortly thereafter.
∑8∑∑part of that question, so I need you to                     ∑8∑∑∑∑Q.∑∑And what do you recall -- please
∑9∑∑rephrase it, please.                                        ∑9∑∑tell me everything you recall about the
10∑∑BY MR. MORRIS:                                              10∑∑conversation, everything that you said and
11∑∑∑∑Q.∑∑After you -- after you learned that                   11∑∑everything that he said.
12∑∑CLO HoldCo withdrew the objection, did you                  12∑∑∑∑A.∑∑The only two points I remember was
13∑∑speak with Mr. Scott about that?                            13∑∑that it was inappropriate for the DAF to change
14∑∑∑∑A.∑∑Yes.                                                  14∑∑direction an hour before the hearing without
15∑∑∑∑Q.∑∑Okay.∑Did you have one conversation                   15∑∑informing anybody else when it was -- yeah,
16∑∑or more than one conversation with Mr. Scott                16∑∑when it was a reversal of the direction he had
17∑∑concerning CLO HoldCo's withdrawal of its                   17∑∑been going in for weeks and that it was also
18∑∑objection to the HarbourVest Settlement?                    18∑∑inappropriate to -- well, no, that's -- that
19∑∑∑∑A.∑∑I -- I only recall one.                               19∑∑was -- that was really -- that was really it, I
20∑∑∑∑Q.∑∑Did anybody participate in that                       20∑∑guess.
21∑∑conversation besides the two of you?                        21∑∑∑∑Q.∑∑Do you recall what, if anything,
22∑∑∑∑A.∑∑No.                                                   22∑∑Mr. Scott said in response?
23∑∑∑∑Q.∑∑Did that conversation take place on                   23∑∑∑∑∑∑∑MR. SBAITI:∑Objection calls --
24∑∑the telephone or in some other form?                        24∑∑∑∑(inaudible.)
25∑∑∑∑A.∑∑I -- I don't know.                                    25∑∑∑∑∑∑∑MR. MORRIS:∑What's the basis for

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01714
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 131 of 200 PageID 31284
                                                      Page 328                                                           Page 329
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑the objection?                                             ∑2∑∑HarbourVest Settlement?
∑3∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, calls for                        ∑3∑∑∑∑A.∑∑I don't believe he operated in the
∑4∑∑∑∑hearsay.                                                   ∑4∑∑best interest of the DAF or CLO HoldCo by
∑5∑∑∑∑∑∑∑MR. SBAITI:∑Calls for hearsay.                          ∑5∑∑withdrawing the claims or withdrawing the
∑6∑∑BY MR. MORRIS:                                               ∑6∑∑objectives -- objections.
∑7∑∑∑∑Q.∑∑You can answer.                                        ∑7∑∑∑∑Q.∑∑Did you -- did the subject of the
∑8∑∑∑∑A.∑∑That he had done it based on advice                    ∑8∑∑Advisors Act come up during this conversation?
∑9∑∑of counsel.                                                  ∑9∑∑∑∑A.∑∑I don't -- I don't remember if it
10∑∑∑∑Q.∑∑Did you have any reason to doubt                       10∑∑specifically came up.
11∑∑that?                                                        11∑∑∑∑Q.∑∑Do you recall if the subject of
12∑∑∑∑A.∑∑It -- it didn't -- it didn't make                      12∑∑"fiduciary duties" came up in this
13∑∑sense that counsel would change their opinion                13∑∑conversation?
14∑∑between the night before and the morning of the              14∑∑∑∑A.∑∑Not using those words, but reminding
15∑∑hearing, but I guess that -- that is a reason                15∑∑him he needed to do what was in the best
16∑∑to doubt it.                                                 16∑∑interest of the DAF was definitely part of the
17∑∑∑∑Q.∑∑Do you think -- do you think                           17∑∑conversation.
18∑∑Mr. Scott acted in good faith when he made the               18∑∑∑∑Q.∑∑Earlier you said -- and I -- if I
19∑∑decision to withdraw CLO HoldCo's objection to               19∑∑miss -- if I don't get this right, please feel
20∑∑the HarbourVest Settlement?                                  20∑∑free to correct me; but I believe you said that
21∑∑∑∑A.∑∑Can you ask that question -- ask                       21∑∑it was inappropriate for the DAF to change
22∑∑that question again, please?                                 22∑∑direction without informing anybody else.
23∑∑∑∑Q.∑∑Sure.∑Do you believe that Mr. Scott                    23∑∑∑∑∑∑∑Do I have that right?
24∑∑acted in good faith when he made the decision                24∑∑∑∑A.∑∑Yes.
25∑∑to withdraw the CLO HoldCo objection to the                  25∑∑∑∑Q.∑∑And who do you believe Mr. Scott
                                                      Page 330                                                           Page 331
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑needed to inform of his decision?                            ∑2∑∑above-average returns on a daily basis for the
∑3∑∑∑∑A.∑∑There was some coordination and                        ∑3∑∑fund, significant decisions that affect the
∑4∑∑cooperation among lawyers representing                       ∑4∑∑finances of the fund would be something I would
∑5∑∑different parties and I believe there was some               ∑5∑∑expect typically a trustee to discuss with a
∑6∑∑obligation -- some professional obligation as                ∑6∑∑primary donor.
∑7∑∑part of that to inform and keep people abreast               ∑7∑∑BY MR. MORRIS:
∑8∑∑of it.                                                       ∑8∑∑∑∑Q.∑∑And which primary donor are you
∑9∑∑∑∑Q.∑∑And would the lawyers at Bonds                         ∑9∑∑referring to?
10∑∑Ellis, your personal counsel, be among those                 10∑∑∑∑A.∑∑Highland, prior to bankruptcy, and
11∑∑lawyers that you believed he had the                         11∑∑myself or NexPoint post-bankruptcy.
12∑∑professional obligation to inform?                           12∑∑∑∑Q.∑∑Is Dugaboy -- The Dugaboy Investment
13∑∑∑∑∑∑∑MR. SBAITI:∑Objection --                                13∑∑Trust a donor to the DAF?
14∑∑∑∑A.∑∑I don't know.                                          14∑∑∑∑∑∑∑MR. SBAITI:∑Objection, relevance.
15∑∑∑∑∑∑∑MR. SBAITI:∑-- lacks foundation.                        15∑∑∑∑A.∑∑I -- I believe it's been a donor
16∑∑∑∑A.∑∑I don't know who was in the                            16∑∑over the years.∑It wasn't the initial donor, I
17∑∑coordination group.                                          17∑∑don't believe.
18∑∑BY MR. MORRIS:                                               18∑∑BY MR. MORRIS:
19∑∑∑∑Q.∑∑Do you believe that he had an                          19∑∑∑∑Q.∑∑How about the Get Good Trust?∑Is
20∑∑obligation to inform you in advance?                         20∑∑the Get Good Trust a donor to the DAF?
21∑∑∑∑∑∑∑MR. SBAITI:∑Objection, vague.                           21∑∑∑∑∑∑∑MR. SBAITI:∑Objection, relevance.
22∑∑∑∑A.∑∑I don't know if I would use the word                   22∑∑∑∑A.∑∑I don't know.
23∑∑"obligation," but, again, as the founder or the              23∑∑BY MR. MORRIS:
24∑∑primary donor and continued donor to the DAF                 24∑∑∑∑Q.∑∑Do you know if either the Get Good
25∑∑and as the investment advisor fighting for                   25∑∑Trust or the Dugaboy Trust has any beneficial

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01715
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 132 of 200 PageID 31285
                                                      Page 332                                                          Page 333
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑interest in any of the DAF entities?                         ∑2∑∑CLO HoldCo, Ltd.?
∑3∑∑∑∑A.∑∑It does not -- or they do not.                         ∑3∑∑∑∑A.∑∑I'm aware there was a settlement
∑4∑∑∑∑Q.∑∑Do you know if either of the Get                       ∑4∑∑that resolved most of his -- the -- most of the
∑5∑∑Good or Dugaboy trusts have an interest in the               ∑5∑∑issues with the debtor.
∑6∑∑CLO HoldCo, Ltd., entity?                                    ∑6∑∑∑∑Q.∑∑Okay.∑And do you recall how you
∑7∑∑∑∑A.∑∑They -- they do not.∑They do not.                      ∑7∑∑learned about that settlement?
∑8∑∑∑∑Q.∑∑Do you recall that a short while                       ∑8∑∑∑∑∑∑∑MR. TAYLOR:∑Objection to the extent
∑9∑∑later or -- or maybe even within the same                    ∑9∑∑∑∑it invades any attorney-client privilege.
10∑∑month, the debtor commenced a lawsuit against                10∑∑∑∑A.∑∑I learned about it after it was
11∑∑the entities that we've referred to previously               11∑∑done.
12∑∑as the Advisors, the Funds, and CLO HoldCo,                  12∑∑BY MR. MORRIS:
13∑∑Ltd.?                                                        13∑∑∑∑Q.∑∑Okay.∑And do you have an
14∑∑∑∑A.∑∑Which litigation is that?                              14∑∑understanding of the basic terms of the
15∑∑∑∑Q.∑∑That was the one where the debtor is                   15∑∑settlement?
16∑∑seeking injunctive relief; and there was a                   16∑∑∑∑A.∑∑I think that was the hundred
17∑∑hearing in late January on the debtor's motion               17∑∑thousand I spoke of earlier that the -- as the
18∑∑for preliminary injunction against the Funds,                18∑∑11 or $12 million of overbilling that every
19∑∑the Advisors, and CLO HoldCo?                                19∑∑other entity has pursued, you know, for -- the
20∑∑∑∑A.∑∑There's -- there's -- which                            20∑∑overbilling was traded for a hundred thousand
21∑∑specifically?                                                21∑∑dollars, and the -- I think Grant agreed to not
22∑∑∑∑Q.∑∑Do you remember that there came a                      22∑∑pursue some historic actions and not pursue
23∑∑point in time when -- when Mr. Scott, on behalf              23∑∑replacement of HCMLP as manager, regardless of
24∑∑of CLO HoldCo, reached a settlement with the                 24∑∑whether it was in the best interest of the DAF
25∑∑debtor that resolved the debtor's claim against              25∑∑or not.
                                                      Page 334                                                          Page 335
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑Q.∑∑And did you ever have a conversation                   ∑2∑∑articulated, that -- that the compromise or the
∑3∑∑with Mr. Scott about his decision to enter into              ∑3∑∑settlement wasn't in the best interest of the
∑4∑∑that settlement on behalf of CLO HoldCo, Ltd.?               ∑4∑∑DAF, it wasn't in the best interest of the
∑5∑∑∑∑A.∑∑Yes.                                                   ∑5∑∑investments in the DAF.
∑6∑∑∑∑Q.∑∑And did that -- did the                                ∑6∑∑∑∑Q.∑∑Do you recall how long the
∑7∑∑communications take place in one conversation,               ∑7∑∑conversation lasted?
∑8∑∑more than one conversation, or in some other                 ∑8∑∑∑∑A.∑∑No.∑It wasn't that long.
∑9∑∑form?                                                        ∑9∑∑∑∑Q.∑∑Do you recall that shortly after
10∑∑∑∑A.∑∑It was a couple times.                                 10∑∑Mr. Scott reached the settlement on behalf of
11∑∑∑∑Q.∑∑Do you recall if anybody --                            11∑∑CLO HoldCo, that he gave notice of his intent
12∑∑∑∑∑∑∑(Simultaneous conversation.)                            12∑∑to resign from his positions with the DAF
13∑∑BY MR. MORRIS:                                               13∑∑entities and CLO HoldCo, Ltd.?
14∑∑∑∑Q.∑∑I'm sorry, were you finished?                          14∑∑∑∑A.∑∑Yes.
15∑∑∑∑A.∑∑It might have been just once, but                      15∑∑∑∑Q.∑∑And do you recall that there was a
16∑∑either one or two times.                                     16∑∑telephone conversation between and among you
17∑∑∑∑Q.∑∑Okay.∑And did anybody participate                      17∑∑and Mr. Scott and certain lawyers at around the
18∑∑in that conversation other than the two of you?              18∑∑same time?
19∑∑∑∑A.∑∑No.                                                    19∑∑∑∑A.∑∑I don't -- I don't remember that
20∑∑∑∑Q.∑∑Can you recall everything that was                     20∑∑specifically with the lawyers.
21∑∑discussed during that conversation, everything               21∑∑∑∑∑∑∑MR. MORRIS:∑Can we please put up
22∑∑that you recall saying in sum or substance and               22∑∑∑∑the next exhibit, which I think we're
23∑∑everything that you can recall Mr. Scott                     23∑∑∑∑marking as Exhibit 4, which is Scott Bates
24∑∑saying?                                                      24∑∑∑∑No. 11?
25∑∑∑∑A.∑∑My message was what I just                             25∑∑∑∑∑∑∑(Exhibit 4 introduced.)

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01716
                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 133 of 200 PageID 31286
                                                      Page 336                                                             Page 337
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑BY MR. MORRIS:                                               ∑2∑∑withdraw without telling anybody, to reach
∑3∑∑∑∑Q.∑∑So, I'll represent to you,                             ∑3∑∑settlements without telling anybody that had a
∑4∑∑Mr. Dondero, that the hearing at which the CLO               ∑4∑∑material negative impact on the DAF was
∑5∑∑HoldCo, Ltd., settlement was presented took                  ∑5∑∑inappropriate.∑And I believe the purpose of
∑6∑∑place on January 26th.∑And so, this is the                   ∑6∑∑this call was his representation that John Kane
∑7∑∑following Sunday.                                            ∑7∑∑had, in fact, told everybody, so -- but when I
∑8∑∑∑∑∑∑∑And do you see there's a list of                        ∑8∑∑spoke with everybody else, everybody said he
∑9∑∑people who were going to participate in a                    ∑9∑∑hadn't talked to them, and so to figure out --
10∑∑conference call on Sunday, January 31st?                     10∑∑to try and figure out what the truth was, we
11∑∑∑∑A.∑∑Yes.                                                   11∑∑had a conference call with everybody.
12∑∑∑∑Q.∑∑And you and Mr. Scott are among                        12∑∑∑∑Q.∑∑Did you figure out what the truth
13∑∑those people?                                                13∑∑was during that conference call?
14∑∑∑∑A.∑∑Yes.                                                   14∑∑∑∑∑∑∑MR. TAYLOR:∑Objection.∑I'm going
15∑∑∑∑Q.∑∑Do you recall if this phone call                       15∑∑∑∑to have to instruct the client not to
16∑∑took place?                                                  16∑∑∑∑answer.∑This was a conversation with
17∑∑∑∑A.∑∑Yes.                                                   17∑∑∑∑attorneys that were acting in concert under
18∑∑∑∑Q.∑∑Do you recall the purpose of the                       18∑∑∑∑joint-defense agreement, or at least had a
19∑∑phone call?                                                  19∑∑∑∑common interest in litigation at that point
20∑∑∑∑A.∑∑Yes.∑It didn't have anything to do                     20∑∑∑∑in time.
21∑∑with his resignation, this phone call.                       21∑∑∑∑∑∑∑MR. MORRIS:∑I think it's a little
22∑∑∑∑Q.∑∑So, what was the purpose of this                       22∑∑∑∑late for that.
23∑∑call?                                                        23∑∑BY MR. MORRIS:
24∑∑∑∑A.∑∑Earlier, I stated that to make -- to                   24∑∑∑∑Q.∑∑And there's no lawyer for you on
25∑∑pivot the plans or what he was -- or to                      25∑∑this call, at least that's identified on this
                                                      Page 338                                                             Page 339
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑email string, correct?                                       ∑2∑∑advanced conversations with Kane.
∑3∑∑∑∑∑∑∑MR. TAYLOR:∑That's incorrect.                           ∑3∑∑BY MR. MORRIS:
∑4∑∑∑∑You'll see -- note that Judge Lynn's -- why                ∑4∑∑∑∑Q.∑∑Do you remember anything else about
∑5∑∑∑∑it was his email, I don't know, but Judge                  ∑5∑∑the phone call that's referred to on this
∑6∑∑∑∑Lynn's email address is on there.                          ∑6∑∑exhibit?
∑7∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑I think having                        ∑7∑∑∑∑∑∑∑MR. TAYLOR:∑I'm just going to renew
∑8∑∑∑∑told me the purpose of the call, I think he                ∑8∑∑∑∑my objection.
∑9∑∑∑∑ought to be able to disclose what the                      ∑9∑∑∑∑A.∑∑No.
10∑∑∑∑result of the call was.∑So I'm going to                    10∑∑BY MR. MORRIS:
11∑∑∑∑ask my question again.                                     11∑∑∑∑Q.∑∑And do you recall that Mr. Scott
12∑∑BY MR. MORRIS:                                               12∑∑gave notice of his intent to resign on the same
13∑∑∑∑Q.∑∑And that is, did you learn the truth                   13∑∑day?
14∑∑as to whether or not Mr. Kane had given advance              14∑∑∑∑A.∑∑I -- I didn't know it was exactly
15∑∑notice to any of the lawyers on this email                   15∑∑the same day, but I knew it was on or around
16∑∑string about any of the decisions you're                     16∑∑that time.
17∑∑referring to?                                                17∑∑∑∑Q.∑∑Okay.
18∑∑∑∑∑∑∑MR. TAYLOR:∑I'm going to renew my                       18∑∑∑∑∑∑∑MR. MORRIS:∑Can we pull up the next
19∑∑∑∑objection.∑You can answer the question,                    19∑∑∑∑exhibit, please, Exhibit Number 5, which is
20∑∑∑∑but I do want to state for the record we                   20∑∑∑∑Bates stamped Scott 18 and start at the
21∑∑∑∑believe it's inappropriate and if brought                  21∑∑∑∑bottom.
22∑∑∑∑up in later proceedings, we'll move to                     22∑∑∑∑∑∑∑(Exhibit 5 introduced.)
23∑∑∑∑strike.                                                    23∑∑BY MR. MORRIS:
24∑∑∑∑A.∑∑None of the lawyers on this email or                   24∑∑∑∑Q.∑∑Do you recall receiving this email
25∑∑that participated in the call acknowledged any               25∑∑from Mr. Scott on January 31st, in the

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01717
                                                                                                                                      YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 134 of 200 PageID 31287
                                                      Page 340                                                              Page 341
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑afternoon?                                                   ∑2∑∑decided to give notice of his intent to resign?
∑3∑∑∑∑A.∑∑Yes.                                                   ∑3∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, calls for
∑4∑∑∑∑Q.∑∑Do you know why Mr. Scott gave                         ∑4∑∑∑∑hearsay.
∑5∑∑notice of his resignation at that time?                      ∑5∑∑∑∑A.∑∑He told me he was suffering from
∑6∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, calls for                        ∑6∑∑health and anxiety issues regarding the
∑7∑∑∑∑speculation.                                               ∑7∑∑confrontation and the challenges of
∑8∑∑∑∑A.∑∑No.∑It -- you would have to                            ∑8∑∑administering the DAF, given the bankruptcy.
∑9∑∑answer -- I have my own speculation, but you                 ∑9∑∑BY MR. MORRIS:
10∑∑would have to ask him.                                       10∑∑∑∑Q.∑∑I'm sorry, did you use the word
11∑∑BY MR. MORRIS:                                               11∑∑"confrontation"?
12∑∑∑∑Q.∑∑Did you ever have a conversation                       12∑∑∑∑A.∑∑Yes.
13∑∑with Mr. Scott where he informed you of the                  13∑∑∑∑Q.∑∑Do you have an understanding as to
14∑∑reasons for his decision to give notice of his               14∑∑what confrontation he was referring to?
15∑∑resignation?                                                 15∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, calls for
16∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, calls for                        16∑∑∑∑speculation.
17∑∑∑∑hearsay.                                                   17∑∑∑∑A.∑∑I believe it was the interaction,
18∑∑∑∑A.∑∑I knew he was suffering from anxiety                   18∑∑challenges of dealing with your firm.
19∑∑and health issues regarding the challenges and               19∑∑BY MR. MORRIS:
20∑∑the confrontation.                                           20∑∑∑∑Q.∑∑Did you have any advanced notice
21∑∑∑∑∑∑∑MR. MORRIS:∑I move to strike.                           21∑∑that Mr. Scott would be sending this email to
22∑∑∑∑∑∑∑I just want you to listen carefully                     22∑∑you?
23∑∑∑∑to my question, sir.                                       23∑∑∑∑A.∑∑Not exactly.∑But a couple days
24∑∑BY MR. MORRIS:                                               24∑∑beforehand, he did propose it, that he was
25∑∑∑∑Q.∑∑Did Mr. Scott tell you why he had                      25∑∑considering resigning.
                                                      Page 342                                                              Page 343
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑Q.∑∑Did you ever ask him to reconsider?                    ∑2∑∑agreement today that relates to the
∑3∑∑∑∑A.∑∑No.                                                    ∑3∑∑indemnification and release provisions cited in
∑4∑∑∑∑Q.∑∑You'll see in the third paragraph,                     ∑4∑∑Mr. Scott's email?
∑5∑∑he states, quote:∑My resignation will not be                 ∑5∑∑∑∑∑∑∑MR. SBAITI:∑Objection, calls for a
∑6∑∑effective until I approve of the                             ∑6∑∑∑∑legal conclusion, lacks foundation, lacks
∑7∑∑indemnification provisions and obtain any and                ∑7∑∑∑∑relevance.
∑8∑∑all necessary releases.                                      ∑8∑∑∑∑A.∑∑There's no new agreement that I'm
∑9∑∑∑∑∑∑∑Do you see that?                                        ∑9∑∑aware of.∑There's an existing agreement from
10∑∑∑∑A.∑∑Yes.                                                   10∑∑when he was originally put in place.
11∑∑∑∑Q.∑∑Did he ever explain to you why his                     11∑∑BY MR. MORRIS:
12∑∑release wouldn't become -- his resignation                   12∑∑∑∑Q.∑∑Did you ask for Mr. Scott's
13∑∑wouldn't become effective until those things                 13∑∑resignation?
14∑∑happened?                                                    14∑∑∑∑A.∑∑No.
15∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, calls for                        15∑∑∑∑Q.∑∑Did Mr. Scott or anybody acting on
16∑∑∑∑hearsay.                                                   16∑∑his behalf ever explain to you or anybody
17∑∑∑∑A.∑∑No.                                                    17∑∑acting on your behalf why he wanted the
18∑∑BY MR. MORRIS:                                               18∑∑indemnification and release provisions?
19∑∑∑∑Q.∑∑Did he ever tell you who he wanted a                   19∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, hearsay.
20∑∑release from?                                                20∑∑∑∑A.∑∑No.
21∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, calls for                        21∑∑BY MR. MORRIS:
22∑∑∑∑hearsay.                                                   22∑∑∑∑Q.∑∑Did you ever say or suggest to
23∑∑∑∑A.∑∑No.                                                    23∑∑Mr. Scott that he had breached his fiduciary
24∑∑BY MR. MORRIS:                                               24∑∑duties to anybody at any time?
25∑∑∑∑Q.∑∑Do you know if there is any                            25∑∑∑∑A.∑∑I -- I don't -- I don't remember if

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                   Appx. 01718
                                                                                                                                       YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 135 of 200 PageID 31288
                                                      Page 344                                                            Page 345
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑I spoke to anybody else about it.                            ∑2∑∑were considering suing him?
∑3∑∑∑∑Q.∑∑I'm just asking if you ever -- if                      ∑3∑∑∑∑A.∑∑I remember telling him he needed to
∑4∑∑you or anybody on your behalf ever told that to              ∑4∑∑do what was in the best interest of the funds.
∑5∑∑Mr. Scott or anybody acting on Mr. Scott's                   ∑5∑∑That's -- that's as far as I remember.
∑6∑∑behalf, like Mr. Kane.                                       ∑6∑∑∑∑Q.∑∑Did you ever tell Mr. Scott that you
∑7∑∑∑∑∑∑∑MR. SBAITI:∑Objection, compound.                        ∑7∑∑believed that the fund had claims against him?
∑8∑∑∑∑A.∑∑I -- I believe I testified already                     ∑8∑∑∑∑A.∑∑I believe anytime you're a trustee
∑9∑∑that I told him he didn't do what was in the                 ∑9∑∑and you don't do what's in the best interest of
10∑∑best interest of the fund.                                   10∑∑the funds, you leave yourself open for that,
11∑∑BY MR. MORRIS:                                               11∑∑potentially.
12∑∑∑∑Q.∑∑And did you ever tell him, in sum or                   12∑∑∑∑Q.∑∑I appreciate that that's your
13∑∑substance, that you believed he had breached                 13∑∑perspective, but I'm asking you whether you
14∑∑his fiduciary duties to anybody in the world by              14∑∑ever told Mr. Scott that you believed that the
15∑∑not acting in the best interest of the fund?                 15∑∑fund could assert claims against him.
16∑∑∑∑∑∑∑MR. SBAITI:∑Objection, vague.                           16∑∑∑∑A.∑∑I don't recall that.
17∑∑∑∑A.∑∑I don't recall if I had those                          17∑∑∑∑Q.∑∑Do you recall if you ever told
18∑∑discussions with somebody else.∑I mean -- no,                18∑∑Mr. Scott that you believed the fund should
19∑∑that's -- I don't -- I don't recall if I've had              19∑∑assert claims against him?
20∑∑those conversations with anybody else.                       20∑∑∑∑A.∑∑No, I don't recall that.
21∑∑BY MR. MORRIS:                                               21∑∑∑∑Q.∑∑Okay.∑Did you ever tell Mr. Scott
22∑∑∑∑Q.∑∑Did you ever threaten to sue                           22∑∑that you believed anybody in the world had
23∑∑Mr. Scott?                                                   23∑∑potential causes of action against him for
24∑∑∑∑A.∑∑Did I -- no.                                           24∑∑actions or inactions taken on behalf of the DAF
25∑∑∑∑Q.∑∑Did you ever tell Mr. Scott that you                   25∑∑or CLO HoldCo?
                                                      Page 346                                                            Page 347
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑∑∑∑MR. SBAITI:∑Objection, vague.                           ∑2∑∑∑∑∑∑∑MR. MORRIS:∑Yes, Clay, we're going
∑3∑∑∑∑A.∑∑I don't recall that.                                   ∑3∑∑∑∑to -- ultimately, this will be marked as
∑4∑∑BY MR. MORRIS:                                               ∑4∑∑∑∑Exhibit 5.
∑5∑∑∑∑Q.∑∑What did you do after you received                     ∑5∑∑∑∑∑∑∑MR. TAYLOR:∑Thank you.
∑6∑∑this email?                                                  ∑6∑∑∑∑∑∑∑MR. MORRIS:∑Yeah.
∑7∑∑∑∑∑∑∑Withdrawn.                                              ∑7∑∑BY MR. MORRIS:
∑8∑∑∑∑∑∑∑Did you do anything in response to                      ∑8∑∑∑∑Q.∑∑So, the question, Mr. Dondero, is:
∑9∑∑receiving this email?                                        ∑9∑∑Do you recall doing anything after receiving
10∑∑∑∑∑∑∑MR. TAYLOR:∑For the record, we're                       10∑∑this email?
11∑∑∑∑talking about Exhibit 5?                                   11∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, vague.
12∑∑∑∑∑∑∑MR. MORRIS:∑Yes, I believe so.                          12∑∑∑∑A.∑∑I don't remember doing anything with
13∑∑∑∑∑∑∑Is that right, La Asia?                                 13∑∑it.∑I -- I didn't know what to do with it. I
14∑∑∑∑∑∑∑MR. TAYLOR:∑For that -- sorry, 4.                       14∑∑didn't know how the DAF structure worked when
15∑∑∑∑∑∑∑MS. CANTY:∑I'm sorry, John.∑Repeat                      15∑∑there was a resignation.
16∑∑∑∑that.                                                      16∑∑BY MR. MORRIS:
17∑∑∑∑∑∑∑MR. MORRIS:∑Is this document on the                     17∑∑∑∑Q.∑∑Did you ask Mr. Scott why he chose
18∑∑∑∑screen Exhibit 5?                                          18∑∑to send it to you?
19∑∑∑∑∑∑∑MS. CANTY:∑It's going to be                             19∑∑∑∑A.∑∑No.
20∑∑∑∑Exhibit 5, but what we had -- we had                       20∑∑∑∑Q.∑∑Did you forward it to anybody?
21∑∑∑∑premarked them.∑So, we skipped one in                      21∑∑∑∑A.∑∑I don't recall.
22∑∑∑∑sequence.∑So, when I upload it, it will be                 22∑∑∑∑Q.∑∑Did you notify anybody that you had
23∑∑∑∑5.                                                         23∑∑received this?
24∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Thank you.                            24∑∑∑∑A.∑∑I -- I don't remember.
25∑∑∑∑∑∑∑MS. CANTY:∑You're welcome.                              25∑∑∑∑∑∑∑MR. MORRIS:∑Can we scroll up to

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01719
                                                                                                                                     YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 136 of 200 PageID 31289
                                                      Page 348                                                          Page 349
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑Mr. Dondero's response?                                    ∑2∑∑you -- you didn't mean liquidation of the
∑3∑∑∑∑∑∑∑(Scrolling.)                                            ∑3∑∑assets.
∑4∑∑BY MR. MORRIS:                                               ∑4∑∑∑∑Q.∑∑Okay.∑That's what I'm getting to.
∑5∑∑∑∑Q.∑∑You can see --                                         ∑5∑∑∑∑∑∑∑MR. MORRIS:∑So can we scroll up to
∑6∑∑∑∑∑∑∑MR. MORRIS:∑That's perfect right                        ∑6∑∑∑∑Mr. Scott's response?
∑7∑∑∑∑there.                                                     ∑7∑∑∑∑∑∑∑(Scrolling.)
∑8∑∑BY MR. MORRIS:                                               ∑8∑∑BY MR. MORRIS:
∑9∑∑∑∑Q.∑∑You can see in the first sentence of                   ∑9∑∑∑∑Q.∑∑And Mr. Scott tried to clarify why
10∑∑Mr. Scott's email there's a reference to                     10∑∑he -- he used the word "divest."∑Do you see
11∑∑resigning and divesting.∑Do you see that?∑I'm                11∑∑that?
12∑∑summarizing.                                                 12∑∑∑∑A.∑∑Yes.
13∑∑∑∑A.∑∑Yes.                                                   13∑∑∑∑Q.∑∑Okay.
14∑∑∑∑Q.∑∑And you responded, and you requested                   14∑∑∑∑∑∑∑MR. MORRIS:∑And then if we can
15∑∑clarification that -- the next morning; is that              15∑∑∑∑scroll up to your response.
16∑∑fair?                                                        16∑∑∑∑∑∑∑(Scrolling.)
17∑∑∑∑∑∑∑That's the first question.                              17∑∑BY MR. MORRIS:
18∑∑∑∑A.∑∑Yes.                                                   18∑∑∑∑Q.∑∑Do you see your response says:∑What
19∑∑∑∑Q.∑∑And then you tried to explain to                       19∑∑does that mean?∑Quote, you need to tell me
20∑∑Mr. Scott what your view was of the phrase                   20∑∑ASAP that you have no intent to divest assets.
21∑∑"divestment" or "divest."                                    21∑∑∑∑∑∑∑Do you see that?
22∑∑∑∑∑∑∑Do I have that right?                                   22∑∑∑∑A.∑∑Yes.
23∑∑∑∑A.∑∑Yes.∑Divest has a different meaning                    23∑∑∑∑Q.∑∑Why did you write that?
24∑∑in investments than it does, I guess, in legal               24∑∑∑∑A.∑∑It was unpredictable -- some of his
25∑∑structuring; and I just wanted to make sure                  25∑∑behavior was unpredictable at this point. I
                                                      Page 350                                                          Page 351
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑just wanted to make sure he wasn't liquidating               ∑2∑∑∑∑Q.∑∑Is the last time you spoke to him at
∑3∑∑or intending to liquidate the portfolio.                     ∑3∑∑around the time that he gave notice of his
∑4∑∑∑∑Q.∑∑What interest did you have in making                   ∑4∑∑intent to resign?
∑5∑∑sure that Mr. Scott didn't liquidate the                     ∑5∑∑∑∑A.∑∑No.∑It was about a month after
∑6∑∑portfolio?                                                   ∑6∑∑that.
∑7∑∑∑∑A.∑∑It could materially damage the value                   ∑7∑∑∑∑Q.∑∑Mr. Patrick replaced Mr. Scott as
∑8∑∑of the DAF and its ability to continue its                   ∑8∑∑the managing member of the DAF GP and as the
∑9∑∑mission as a charitable entity.                              ∑9∑∑director of the affiliated DAF entities and CLO
10∑∑∑∑Q.∑∑Had Mr. Scott ever divested assets                     10∑∑HoldCo, correct?
11∑∑before?                                                      11∑∑∑∑∑∑∑MR. SBAITI:∑Objection --
12∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, vague.                           12∑∑∑∑∑∑∑(Audio distortion.)
13∑∑∑∑A.∑∑Well, by giving up the                                 13∑∑∑∑A.∑∑Ultimately, yes.
14∑∑11 million-dollar disclaim against the debtor,               14∑∑BY MR. MORRIS:
15∑∑he divested an 11 million-dollar asset.                      15∑∑∑∑Q.∑∑Do you know how Mr. Patrick came to
16∑∑BY MR. MORRIS:                                               16∑∑replace Mr. Scott?
17∑∑∑∑Q.∑∑Anything else?                                         17∑∑∑∑∑∑∑MR. TAYLOR:∑Objection to the extent
18∑∑∑∑A.∑∑Not that I can recall.                                 18∑∑∑∑it calls for a legal conclusion.
19∑∑∑∑Q.∑∑When was the last time you                             19∑∑∑∑A.∑∑I -- I found out about it after it
20∑∑communicated with Mr. Scott?                                 20∑∑happened, you know, only from things that Mark
21∑∑∑∑A.∑∑I sent him a Happy Birthday text a                     21∑∑Patrick told me.
22∑∑couple days ago.                                             22∑∑BY MR. MORRIS:
23∑∑∑∑Q.∑∑And when was the last time you spoke                   23∑∑∑∑Q.∑∑Did you know that it was going to
24∑∑with him?                                                    24∑∑happen before the event occurred, before the
25∑∑∑∑A.∑∑It's been a couple months.                             25∑∑actual replacement occurred?

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01720
                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 137 of 200 PageID 31290
                                                      Page 352                                                         Page 353
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, relevance.                       ∑2∑∑or transfer of shares of voting--again, I don't
∑3∑∑∑∑A.∑∑No.                                                    ∑3∑∑know how it works specifically--and Grant
∑4∑∑BY MR. MORRIS:                                               ∑4∑∑signed it, and Mark Patrick became the trustee.
∑5∑∑∑∑Q.∑∑Do you know who -- who gave                            ∑5∑∑BY MR. MORRIS:
∑6∑∑Mr. Patrick -- withdrawn.                                    ∑6∑∑∑∑Q.∑∑So, it's your testimony that, prior
∑7∑∑∑∑∑∑∑Do you know anything about the                          ∑7∑∑to the time they signed the documentation
∑8∑∑circumstances by which Mr. Patrick replaced                  ∑8∑∑pursuant to which Patrick replaced Scott, you
∑9∑∑Mr. Scott?                                                   ∑9∑∑had no knowledge that there were discussions
10∑∑∑∑A.∑∑I -- only from conversations with                      10∑∑underway pursuant to which that would occur?
11∑∑Mark Patrick after the fact.                                 11∑∑∑∑A.∑∑Correct.
12∑∑∑∑Q.∑∑What did Mr. Patrick tell you?                         12∑∑∑∑Q.∑∑You mentioned that Mr. Patrick told
13∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, hearsay.                         13∑∑you that they had trouble getting D&O
14∑∑∑∑A.∑∑He had struggled to -- he had                          14∑∑insurance.
15∑∑struggled to find other candidates or entities.              15∑∑∑∑∑∑∑Do I have that right?
16∑∑He had struggled with D&O insurance around some              16∑∑∑∑A.∑∑That was -- yeah, that was one of
17∑∑of the alternative candidates.                               17∑∑the factors with a couple of the candidates.
18∑∑∑∑∑∑∑And one day, when he was talking to                     18∑∑∑∑Q.∑∑And did he tell you who those
19∑∑Grant Scott, they came to some -- I don't know               19∑∑candidates were?
20∑∑who said what to who, but that -- why doesn't                20∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, hearsay.
21∑∑Mark Patrick do it and he has knowledge of the               21∑∑∑∑A.∑∑He did at the time.∑I can't
22∑∑structure, he enjoys the charitable giving                   22∑∑remember who they were.∑One was -- one was a
23∑∑part.                                                        23∑∑former Dean Foods executive, I believe; and the
24∑∑∑∑∑∑∑And unbeknownst to me, they agreed,                     24∑∑other was an offshore sole practitioner.
25∑∑and he sent over the appropriate documentation               25∑∑BY MR. MORRIS:
                                                      Page 354                                                         Page 355
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑Q.∑∑Did he tell you what the                               ∑2∑∑BY MR. MORRIS:
∑3∑∑difficulties were in obtaining D&O insurance?                ∑3∑∑∑∑Q.∑∑Okay.∑Was Mr. Patrick ever employed
∑4∑∑∑∑A.∑∑No.                                                    ∑4∑∑by HCMLP?
∑5∑∑∑∑Q.∑∑Did you ask?                                           ∑5∑∑∑∑A.∑∑Yes.
∑6∑∑∑∑A.∑∑No.                                                    ∑6∑∑∑∑Q.∑∑Do you know what period of time he
∑7∑∑∑∑Q.∑∑Do you know where Mr. Patrick got                      ∑7∑∑was employed by HCMLP?
∑8∑∑the authority to -- withdrawn.                               ∑8∑∑∑∑A.∑∑He's been there for quite a while.
∑9∑∑∑∑∑∑∑Do you know who determined to                           ∑9∑∑I mean, he was there for quite a while. I
10∑∑replace Mr. Scott with Mr. Patrick?                          10∑∑believe over a decade.
11∑∑∑∑∑∑∑MR. TAYLOR:∑Objection to the extent                     11∑∑∑∑Q.∑∑And what positions did he hold, if
12∑∑∑∑it calls for a legal conclusion.                           12∑∑you recall?
13∑∑∑∑A.∑∑As I testified, I believe it was the                   13∑∑∑∑A.∑∑He headed up our tax department. I
14∑∑two of them together.                                        14∑∑don't remember him having any position other
15∑∑BY MR. MORRIS:                                               15∑∑than that or before that.
16∑∑∑∑Q.∑∑And do you have any understanding as                   16∑∑∑∑Q.∑∑Is he a lawyer, to the best of your
17∑∑to what authority they had to designate                      17∑∑knowledge?
18∑∑Mr. Scott's successor?                                       18∑∑∑∑A.∑∑He's -- he's a tax lawyer, yeah.
19∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, calls for a                      19∑∑∑∑Q.∑∑And do you know if he's employed
20∑∑∑∑legal conclusion.                                          20∑∑today?
21∑∑∑∑A.∑∑I -- I believed, between the two of                    21∑∑∑∑A.∑∑I -- yes.
22∑∑them, they knew how the structure worked, and I              22∑∑∑∑Q.∑∑Do you know where he's employed?
23∑∑believed between the two of them, they had                   23∑∑∑∑A.∑∑Yes.
24∑∑authority -- believed they had authority, and                24∑∑∑∑Q.∑∑Where do you understand Mr. Patrick
25∑∑that's why they effectuated it.                              25∑∑is employed?

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                              Appx. 01721
                                                                                                                                  YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 138 of 200 PageID 31291
                                                      Page 356                                                             Page 357
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑A.∑∑At SkyBridge.                                          ∑2∑∑∑∑∑∑∑MR. SBAITI:∑Objection --
∑3∑∑∑∑Q.∑∑Do you know where SkyBridge's                          ∑3∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, vague.
∑4∑∑offices are located?                                         ∑4∑∑∑∑A.∑∑Yeah, not that I know of, but I'm
∑5∑∑∑∑A.∑∑Yes.                                                   ∑5∑∑not sure what you're asking.
∑6∑∑∑∑Q.∑∑Where are they located?                                ∑6∑∑BY MR. MORRIS:
∑7∑∑∑∑A.∑∑On McKinney Avenue.∑I believe it's                     ∑7∑∑∑∑Q.∑∑All right.∑Do you have any written
∑8∑∑2515.                                                        ∑8∑∑oral agreements of any kind with Mr. Patrick
∑9∑∑∑∑Q.∑∑Is that the same suite of offices                      ∑9∑∑pertaining to his role as an authorized
10∑∑where your office is located?                                10∑∑representative of any of the DAF entities or
11∑∑∑∑∑∑∑MR. SBAITI:∑Objection, vague.                           11∑∑CLO HoldCo, Ltd.?
12∑∑∑∑A.∑∑It's not the same floor.∑We -- we                      12∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, vague.
13∑∑left, as you know, the Highland offices                      13∑∑∑∑A.∑∑I do not, no.
14∑∑suddenly, and so until we establish permanent                14∑∑BY MR. MORRIS:
15∑∑office locations, they're located there, but I               15∑∑∑∑Q.∑∑Do you know if Mr. Patrick has any
16∑∑expect they will be relocating in the                        16∑∑agreement with any of the DAF entities or CLO
17∑∑not-too-distant future.                                      17∑∑HoldCo, Ltd., other than those set forth in the
18∑∑BY MR. MORRIS:                                               18∑∑limited partnership agreement and the Amended
19∑∑∑∑Q.∑∑Did you have any discussions with                      19∑∑and Restated Limited Liability Company
20∑∑Mr. Patrick concerning the positions he was                  20∑∑Agreement for the general partnership?
21∑∑inheriting from Mr. Scott before he agreed to                21∑∑∑∑A.∑∑I don't know of any.
22∑∑accept them?                                                 22∑∑∑∑Q.∑∑Okay.∑So, there was almost a
23∑∑∑∑A.∑∑No.                                                    23∑∑two-year period between the date that Mr. Scott
24∑∑∑∑Q.∑∑Do you have any written or oral                        24∑∑sent his notice to you of his intent to resign
25∑∑agreements with Mr. Patrick of any kind?                     25∑∑and Mr. Patrick's replacement of Mr. Scott at
                                                      Page 358                                                             Page 359
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑the end of March.∑Do I have that right?                      ∑2∑∑January 31st and the time that Mr. Patrick
∑3∑∑∑∑∑∑∑MR. TAYLOR:∑Objection.∑I think you                      ∑3∑∑formally replaced Mr. Scott as "the interim
∑4∑∑∑∑said two-year period.                                      ∑4∑∑period"?∑Is that okay?
∑5∑∑∑∑∑∑∑MR. MORRIS:∑If I did, let me                            ∑5∑∑∑∑A.∑∑Sure.
∑6∑∑∑∑restate it.                                                ∑6∑∑∑∑Q.∑∑Okay.∑Did you ever learn at any
∑7∑∑BY MR. MORRIS:                                               ∑7∑∑time during the interim period that Mr. Patrick
∑8∑∑∑∑Q.∑∑There was approximately a two-month                    ∑8∑∑was giving Mr. Scott instructions with respect
∑9∑∑period between the time that Mr. Scott sent his              ∑9∑∑to the duties and responsibilities concerning
10∑∑notice to you of his intention to resign and                 10∑∑the DAF and CLO HoldCo?
11∑∑Mr. Patrick's replacement at the end of                      11∑∑∑∑∑∑∑MR. SBAITI:∑Objection, assumes
12∑∑March 2021.∑Do I have that right?                            12∑∑∑∑facts not in evidence.
13∑∑∑∑A.∑∑Yes.                                                   13∑∑∑∑A.∑∑Not that I recall.
14∑∑∑∑Q.∑∑Okay.∑Are you aware that during                        14∑∑BY MR. MORRIS:
15∑∑that interim period, Mr. Patrick gave certain                15∑∑∑∑Q.∑∑Okay.∑Did you communicate with
16∑∑instructions to Mr. Scott?                                   16∑∑Mr. Scott at all during the interim period
17∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, calls for                        17∑∑other than the birthday text that you
18∑∑∑∑hearsay.                                                   18∑∑mentioned?
19∑∑∑∑∑∑∑MR. SBAITI:∑Lacks foundation.                           19∑∑∑∑∑∑∑MR. SBAITI:∑Objection, misstates
20∑∑∑∑A.∑∑I -- I don't know specifically.                        20∑∑∑∑testimony.
21∑∑BY MR. MORRIS:                                               21∑∑∑∑A.∑∑I don't -- I don't recall.∑I mean,
22∑∑∑∑Q.∑∑Do you know generally?∑Are you                         22∑∑I know I've had some conversations with him,
23∑∑aware of any instructions that Mr. --                        23∑∑yeah, about that -- I have a house in Aspen
24∑∑withdrawn.                                                   24∑∑but -- and we had some conversations about
25∑∑∑∑∑∑∑Can I call that period between                          25∑∑Aspen and skiing and stuff like that, but I

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01722
                                                                                                                                      YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 139 of 200 PageID 31292
                                                      Page 360                                                            Page 361
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑don't remember -- I don't remember                           ∑2∑∑∑∑Exhibit 6, Grant Scott, beginning at Bates
∑3∑∑specifically --                                              ∑3∑∑∑∑No. 85.
∑4∑∑BY MR. MORRIS:                                               ∑4∑∑∑∑∑∑∑(Exhibit 6 introduced.)
∑5∑∑∑∑Q.∑∑Did -- did --                                          ∑5∑∑∑∑∑∑∑MR. MORRIS:∑And if we could --
∑6∑∑∑∑A.∑∑-- anything else.                                      ∑6∑∑BY MR. MORRIS:
∑7∑∑∑∑Q.∑∑-- Mr. Patrick --                                      ∑7∑∑∑∑Q.∑∑Did you ever learn that there was a
∑8∑∑∑∑∑∑∑I apologize, Mr. Dondero.∑Were you                      ∑8∑∑point in time when the debtor was requesting
∑9∑∑finished?                                                    ∑9∑∑that CLO HoldCo, Ltd., enter into an adherence
10∑∑∑∑A.∑∑Yeah, I'm done.                                        10∑∑agreement?
11∑∑∑∑Q.∑∑Okay.∑Did Mr. Patrick inform you of                    11∑∑∑∑A.∑∑No.
12∑∑any issues that were being raised that needed                12∑∑∑∑∑∑∑MR. MORRIS:∑Can we scroll up a
13∑∑to be addressed with Mr. Scott during the                    13∑∑∑∑little bit, please?
14∑∑interim period?                                              14∑∑∑∑∑∑∑(Scrolling.)
15∑∑∑∑A.∑∑Not that I recall.                                     15∑∑∑∑∑∑∑MR. MORRIS:∑And just a little
16∑∑∑∑Q.∑∑Did you ever instruct Mr. Patrick on                   16∑∑∑∑further.
17∑∑what to tell Mr. Scott with respect to any                   17∑∑∑∑∑∑∑(Scrolling.)
18∑∑matter concerning any of the DAF entities or                 18∑∑BY MR. MORRIS:
19∑∑CLO HoldCo during the interim period?                        19∑∑∑∑Q.∑∑And do you see that Grant Scott
20∑∑∑∑A.∑∑Not that I recall.                                     20∑∑forwards it to Mark Patrick and says, "This
21∑∑∑∑Q.∑∑Are you familiar with the phrase                       21∑∑relates to the second issue from the debtor"?
22∑∑"adherence agreement"?                                       22∑∑∑∑A.∑∑Yes.
23∑∑∑∑A.∑∑No.                                                    23∑∑∑∑∑∑∑MR. MORRIS:∑And can you scroll up a
24∑∑∑∑∑∑∑MR. MORRIS:∑Can we please put up                        24∑∑∑∑little more?
25∑∑∑∑the next exhibit, which we'll mark as                      25∑∑∑∑∑∑∑(Scrolling.)
                                                      Page 362                                                            Page 363
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑BY MR. MORRIS:                                               ∑2∑∑instruct Mr. Scott to stand down?
∑3∑∑∑∑Q.∑∑And you see Mr. Patrick's                              ∑3∑∑∑∑A.∑∑No.
∑4∑∑instruction, "Do not sign the adherence                      ∑4∑∑∑∑Q.∑∑Do you have any understanding as to
∑5∑∑agreement from the debtor.∑The successor will                ∑5∑∑where Mr. Patrick obtained the authority to
∑6∑∑address this"?                                               ∑6∑∑instruct Mr. Scott to stand down?
∑7∑∑∑∑A.∑∑Yes.                                                   ∑7∑∑∑∑∑∑∑MR. SBAITI:∑Objection, vague,
∑8∑∑∑∑Q.∑∑Do you have any knowledge that                         ∑8∑∑∑∑assumes facts not in evidence.
∑9∑∑Mr. Patrick instructed Mr. Scott on March 2nd,               ∑9∑∑∑∑A.∑∑I -- I wouldn't view it as an
10∑∑2001, not to sign an adherence agreement from                10∑∑authority issue.∑I think they had a long-term
11∑∑the debtor?                                                  11∑∑relationship, friendship, working relationship
12∑∑∑∑A.∑∑I have no knowledge prior to this.                     12∑∑with regard to the DAF; and I think Mark was
13∑∑∑∑Q.∑∑Okay.                                                  13∑∑giving him advice.
14∑∑∑∑∑∑∑MR. MORRIS:∑Can you scroll to the                       14∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑It's 12:20 New
15∑∑∑∑top?                                                       15∑∑∑∑York time.∑I'd like to just take a short
16∑∑∑∑∑∑∑(Scrolling.)                                            16∑∑∑∑break until 12:30, and I shouldn't have too
17∑∑BY MR. MORRIS:                                               17∑∑∑∑much more left.
18∑∑∑∑Q.∑∑Do you see Mr. Patrick further                         18∑∑∑∑∑∑∑MR. TAYLOR:∑Okay.
19∑∑instructed Mr. Scott on March 2nd to, quote,                 19∑∑∑∑∑∑∑(Recess held 11:19a-11:31a.)
20∑∑"Stand down on any communication," close quote?              20∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Hopefully just
21∑∑∑∑A.∑∑Yes.                                                   21∑∑∑∑15 or 20 minutes more.∑A half hour at
22∑∑∑∑Q.∑∑Were you aware that Mr. Patrick had                    22∑∑∑∑most, I promise.
23∑∑instructed Mr. Scott to stand down?                          23∑∑BY MR. MORRIS:
24∑∑∑∑A.∑∑No.                                                    24∑∑∑∑Q.∑∑Are you ready to proceed,
25∑∑∑∑Q.∑∑Did you ever tell Mr. Patrick to                       25∑∑Mr. Dondero?

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01723
                                                                                                                                     YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 140 of 200 PageID 31293
                                                      Page 364                                                           Page 365
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑A.∑∑Yes.                                                   ∑2∑∑∑∑A.∑∑Not as I sit here today.
∑3∑∑∑∑Q.∑∑You've told me that you expressed to                   ∑3∑∑∑∑Q.∑∑Okay.∑We talked earlier about the
∑4∑∑Mr. Scott--and I'm, you know,                                ∑4∑∑suggestion -- and again, if I get this wrong,
∑5∑∑paraphrasing--that you expressed to Mr. Scott                ∑5∑∑just correct me.
∑6∑∑your concerns with respect to his -- certain of              ∑6∑∑∑∑∑∑∑But I think you testified that
∑7∑∑the decisions that he made during the course of              ∑7∑∑implicit in your conversations with Mr. Scott
∑8∑∑the bankruptcy.                                              ∑8∑∑was your belief that he wasn't acting in the
∑9∑∑∑∑∑∑∑Do I have that right?∑Is that fair?                     ∑9∑∑best interests of the DAF and CLO HoldCo, Ltd.,
10∑∑∑∑A.∑∑Yes.                                                   10∑∑and had breached his fiduciary duties; is that
11∑∑∑∑Q.∑∑Do you know whether anybody else                       11∑∑fair?
12∑∑besides yourself expressed any concerns to                   12∑∑∑∑A.∑∑I think I testified that I didn't
13∑∑Mr. Scott concerning any of the decisions that               13∑∑use the word "fiduciary duties" but -- I don't
14∑∑he made during the post-petition period?                     14∑∑recall using those words, but I do recall
15∑∑∑∑∑∑∑MR. SBAITI:∑Objection, vague.                           15∑∑stating that he was making decisions that
16∑∑∑∑A.∑∑I -- I don't recall.                                   16∑∑weren't in the best interest of the fund.
17∑∑BY MR. MORRIS:                                               17∑∑∑∑Q.∑∑Okay.∑And I appreciate the
18∑∑∑∑Q.∑∑Are you aware of anybody other than                    18∑∑clarification and -- I appreciate the
19∑∑yourself telling Mr. Scott, in sum or                        19∑∑clarification.
20∑∑substance, that any of the decisions he made                 20∑∑∑∑∑∑∑Do you have your own personal belief
21∑∑post-petition were inappropriate or not in the               21∑∑as to whom Mr. Scott owed fiduciary duties to?
22∑∑best interests of the DAF or CLO HoldCo, Ltd.?               22∑∑∑∑∑∑∑MR. SBAITI:∑Objection, vague.
23∑∑∑∑A.∑∑I don't know.                                          23∑∑∑∑∑∑∑MR. MORRIS:∑Withdrawn.
24∑∑∑∑Q.∑∑Okay.∑You're not aware of anybody;                     24∑∑∑∑∑∑∑I'm going to try and do this a
25∑∑is that fair?                                                25∑∑∑∑different way.
                                                      Page 366                                                           Page 367
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑∑∑∑Ms. Canty, can we please put back up                    ∑2∑∑expenses.
∑3∑∑∑∑on the screen Exhibit 1?                                   ∑3∑∑BY MR. MORRIS:
∑4∑∑∑∑∑∑∑(Exhibit 1 on the screen.)                              ∑4∑∑∑∑Q.∑∑I appreciate that.∑I'm just asking
∑5∑∑BY MR. MORRIS:                                               ∑5∑∑you to whom he owes the duty to do those
∑6∑∑∑∑Q.∑∑Can you see that, sir?                                 ∑6∑∑things, if you have an understanding.∑I'm
∑7∑∑∑∑A.∑∑Yes.                                                   ∑7∑∑just -- I'm not asking for a legal conclusion.
∑8∑∑∑∑Q.∑∑Is there any entity on this                            ∑8∑∑I'm asking you if you have an understanding as
∑9∑∑Exhibit 1 that you do not believe Mr. Scott                  ∑9∑∑to whom he owes those duties.
10∑∑owed a fiduciary duty to prior to the time of                10∑∑∑∑A.∑∑Not specifically.
11∑∑his resignation in late March 2021?                          11∑∑∑∑Q.∑∑Okay.∑Did you ever discuss at any
12∑∑∑∑∑∑∑MR. SBAITI:∑Object to the extent it                     12∑∑time with Mr. Patrick your views concerning
13∑∑∑∑calls for a legal conclusion.                              13∑∑Mr. Scott's decision to withdraw the objection
14∑∑∑∑A.∑∑Yeah.∑I -- I can't answer that                         14∑∑to the HarbourVest Settlement?
15∑∑question.                                                    15∑∑∑∑∑∑∑MR. SBAITI:∑Objection, vague, lacks
16∑∑BY MR. MORRIS:                                               16∑∑∑∑foundation.
17∑∑∑∑Q.∑∑Well, do you believe that Mr. Scott                    17∑∑∑∑A.∑∑I don't -- I don't specifically
18∑∑owed a fiduciary duty to the three entities                  18∑∑recall.∑It's -- I'm willing to be refreshed,
19∑∑that have in their name "Charitable DAF"?                    19∑∑but I -- I don't specifically recall, but
20∑∑∑∑∑∑∑MR. SBAITI:∑Same objection.                             20∑∑that's -- yeah, I don't specifically recall.
21∑∑∑∑A.∑∑Again, regardless of where the                         21∑∑It's not -- I don't want to speculate.
22∑∑assets are held, he has a responsibility, in my              22∑∑BY MR. MORRIS:
23∑∑mind, as the trustee or the managing member, to              23∑∑∑∑Q.∑∑I don't want you to speculate,
24∑∑optimize those assets and protect those assets               24∑∑either.
25∑∑and to efficiently, effectively administer                   25∑∑∑∑∑∑∑Do you have any recollection of --

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01724
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 141 of 200 PageID 31294
                                                      Page 368                                                             Page 369
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑at all of ever discussing with Mr. Patrick your              ∑2∑∑BY MR. MORRIS:
∑3∑∑views as to Mr. Scott's decision to withdraw                 ∑3∑∑∑∑Q.∑∑I'll just represent to you that this
∑4∑∑the objection to the HarbourVest Settlement?                 ∑4∑∑is the first page of the complaint.∑If you
∑5∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, asked and                        ∑5∑∑need to refer to it for any purpose, just let
∑6∑∑∑∑answered.                                                  ∑6∑∑me know.
∑7∑∑∑∑A.∑∑Yeah, I don't recall.                                  ∑7∑∑∑∑∑∑∑But I'm going to start with the
∑8∑∑BY MR. MORRIS:                                               ∑8∑∑question of, have you ever seen a copy of the
∑9∑∑∑∑Q.∑∑Did you -- do you have any                             ∑9∑∑complaint that was filed by the Charitable DAF
10∑∑recollection at all of ever discussing with                  10∑∑Fund, L.P., and CLO HoldCo, Ltd., against the
11∑∑Mr. Patrick your views concerning Mr. Scott's                11∑∑debtor and certain other entities?
12∑∑decision to enter into the settlement agreement              12∑∑∑∑A.∑∑Yes.
13∑∑on behalf of CLO HoldCo?                                     13∑∑∑∑Q.∑∑When did you see the complaint for
14∑∑∑∑A.∑∑I don't recall.                                        14∑∑the first time, that you recall?
15∑∑∑∑Q.∑∑I'm sorry.∑Are you -- yeah, are you                    15∑∑∑∑∑∑∑MR. TAYLOR:∑Objection, vague.
16∑∑aware that CLO HoldCo and the DAF, Ltd.,                     16∑∑∑∑A.∑∑Near final versions before it was
17∑∑commenced the lawsuit against the debtor and                 17∑∑filed.
18∑∑others in the United States District Court for               18∑∑BY MR. MORRIS:
19∑∑the Northern District of Texas?                              19∑∑∑∑Q.∑∑So you saw -- you saw versions of
20∑∑∑∑A.∑∑Yes.                                                   20∑∑the complaint before it was filed.∑Do I have
21∑∑∑∑Q.∑∑Okay.                                                  21∑∑that right?
22∑∑∑∑∑∑∑MR. MORRIS:∑Can we put that                             22∑∑∑∑A.∑∑Yes.
23∑∑∑∑complaint up on the screen and mark it as                  23∑∑∑∑Q.∑∑Okay.∑Did you participate in any
24∑∑∑∑Exhibit 7, I believe?                                      24∑∑discussions concerning the substance of the
25∑∑∑∑∑∑∑(Exhibit 7 introduced.)                                 25∑∑complaint before it was filed?
                                                      Page 370                                                             Page 371
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑∑∑∑MR. TAYLOR:∑I'm just going to                           ∑2∑∑∑∑∑MR. SBAITI:∑Well, I'm also -- DAF
∑3∑∑∑∑caution the witness:∑You can tell him if                   ∑3∑∑is asserting work-product privilege and
∑4∑∑∑∑you participated in any conversations; but                 ∑4∑∑joint-interest privilege regarding
∑5∑∑∑∑to the extent that you had conversations                   ∑5∑∑communication through DAF with us.
∑6∑∑∑∑with any attorneys who were acting as                      ∑6∑∑∑∑∑MR. MORRIS:∑I'm sorry.∑I'm sorry.
∑7∑∑∑∑lawyers, please do not go into the                         ∑7∑∑I'm having a little trouble hearing you. I
∑8∑∑∑∑substance of those conversations.                          ∑8∑∑think I heard attorney work product.∑What
∑9∑∑∑∑A.∑∑Yeah.∑I mean, yes, I had                               ∑9∑∑over privileges are being asserted here?
10∑∑conversations with attorneys.                                10∑∑∑∑∑MR. SBAITI:∑Joint interest.∑As
11∑∑BY MR. MORRIS:                                               11∑∑advisor to the DAF, he provided us some
12∑∑∑∑Q.∑∑Which attorneys did you speak with                     12∑∑information that we used and helped us
13∑∑about this complaint before it was filed?                    13∑∑identify information that we were using.
14∑∑∑∑A.∑∑Mazin.∑I can't remember -- I can't                     14∑∑So, helping his advisee's counsel perform
15∑∑remember -- I talked to a lot of attorneys. I                15∑∑their duties falls under the work-product
16∑∑can't remember -- I can't remember besides                   16∑∑privilege.∑We're claiming work-product
17∑∑Mazin.                                                       17∑∑privilege over the content of his
18∑∑∑∑Q.∑∑Okay.∑Now, Mazin doesn't represent                     18∑∑conversation.
19∑∑you personally, does he?                                     19∑∑∑∑∑MR. MORRIS:∑Okay.∑Did I hear
20∑∑∑∑A.∑∑No.                                                    20∑∑somebody say attorney-client privilege,
21∑∑∑∑Q.∑∑Can you please tell me everything                      21∑∑too?
22∑∑you discussed with Mazin concerning this                     22∑∑∑∑∑MR. TAYLOR:∑I had said that, but I
23∑∑complaint?                                                   23∑∑was just making sure that Mazin jumped in
24∑∑∑∑∑∑∑MR. TAYLOR:∑Objection,                                  24∑∑with his objections --
25∑∑∑∑attorney-client privilege.                                 25∑∑∑∑∑(Whereupon, the court reporter's

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01725
                                                                                                                                      YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 142 of 200 PageID 31295
                                                       Page 372                                                             Page 373
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                     ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑computer crashed, calls were made, and an                   ∑2∑∑∑∑∑∑∑MR. SBAITI:∑Instruct the witness
∑3∑∑∑∑iPad was engaged to finish the deposition.)                 ∑3∑∑∑∑not to answer on the basis of work-product
∑4∑∑∑∑∑∑∑MR. MORRIS:∑All right.                                   ∑4∑∑∑∑privilege and joint-interest privilege.
∑5∑∑∑∑Mr. Dondero, can you hear me?                               ∑5∑∑BY MR. MORRIS:
∑6∑∑∑∑∑∑∑THE WITNESS:∑Yes.                                        ∑6∑∑∑∑Q.∑∑Are you going to follow Counsel's
∑7∑∑∑∑∑∑∑MR. MORRIS:∑Mr. Court Reporter, can                      ∑7∑∑advice, Mr. Dondero?
∑8∑∑∑∑you hear me?                                                ∑8∑∑∑∑A.∑∑Yes.
∑9∑∑∑∑∑∑∑THE REPORTER:∑Yes, sir.                                  ∑9∑∑∑∑Q.∑∑Did you provide any conceptual or
10∑∑BY MR. MORRIS:                                                10∑∑strategic ideas about what claims to pursue to
11∑∑∑∑Q.∑∑Mr. Dondero, did you provide any                        11∑∑the Sbaiti firm prior to the time the complaint
12∑∑comments to the Sbaiti firm on any draft of the               12∑∑was filed?
13∑∑complaint before it was filed?                                13∑∑∑∑∑∑∑MR. SBAITI:∑Can you repeat the
14∑∑∑∑∑∑∑MR. SBAITI:∑You can answer that                          14∑∑∑∑question?
15∑∑∑∑question yes or no.∑I'll just instruct the                  15∑∑BY MR. MORRIS:
16∑∑∑∑witness not to answer with any content of                   16∑∑∑∑Q.∑∑Did you provide any thoughts or
17∑∑∑∑any kind on the basis -- and we're                          17∑∑ideas as to what claims should be pursued in
18∑∑∑∑instructing him not to answer on the basis                  18∑∑this complaint prior to the time it was filed?
19∑∑∑∑of work-product privilege and                               19∑∑∑∑∑∑∑MR. TAYLOR:∑I'm going to first
20∑∑∑∑joint-interest privilege.                                   20∑∑∑∑lodge an objection as to vague, and I
21∑∑∑∑A.∑∑Some.                                                   21∑∑∑∑believe Mazin has some other objection.
22∑∑BY MR. MORRIS:                                                22∑∑∑∑∑∑∑MR. SBAITI:∑Yeah.∑I would -- I
23∑∑∑∑Q.∑∑Can you disclose for me all of the                      23∑∑∑∑will say the same objection, and we will
24∑∑information and comments you provided that --                 24∑∑∑∑object to any content of the -- within the
25∑∑to the draft complaints?                                      25∑∑∑∑attorney-client work-product and
                                                       Page 374                                                             Page 375
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                     ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑joint-interest privilege.                                   ∑2∑∑∑∑objections.
∑3∑∑∑∑A.∑∑Not that I recall.                                      ∑3∑∑∑∑A.∑∑Maybe some.
∑4∑∑BY MR. MORRIS:                                                ∑4∑∑BY MR. MORRIS:
∑5∑∑∑∑Q.∑∑Did you provide any facts that are                      ∑5∑∑∑∑Q.∑∑Okay.∑Can you describe those for
∑6∑∑set forth in the complaint?                                   ∑6∑∑me, please?
∑7∑∑∑∑∑∑∑Withdrawn.                                               ∑7∑∑∑∑∑∑∑MR. SBAITI:∑I'll instruct you not
∑8∑∑∑∑∑∑∑Did you -- did you provide to the                        ∑8∑∑∑∑to answer that on the basis of
∑9∑∑Sbaiti firm any facts that are reflected in the               ∑9∑∑∑∑attorney-client work-product privilege and
10∑∑final version of the complaint?                               10∑∑∑∑joint-interest privilege.
11∑∑∑∑∑∑∑MR. SBAITI:∑Mr. Dondero, you can                         11∑∑BY MR. MORRIS:
12∑∑∑∑answer that question yes or no; otherwise,                  12∑∑∑∑Q.∑∑Are you going to follow Counsel's
13∑∑∑∑we instruct you not to answer on the basis                  13∑∑advice, Mr. Dondero?
14∑∑∑∑of -- the content on the basis of                           14∑∑∑∑A.∑∑Yes.
15∑∑∑∑attorney-client, work-product and                           15∑∑∑∑Q.∑∑Did you have any discussions with
16∑∑∑∑joint-interest privilege.                                   16∑∑the Sbaiti firm concerning whether or not to
17∑∑∑∑A.∑∑Not that I recall.                                      17∑∑name James Seery as a defendant in the original
18∑∑BY MR. MORRIS:                                                18∑∑complaint?
19∑∑∑∑Q.∑∑You don't recall providing any facts                    19∑∑∑∑∑∑∑MR. SBAITI:∑I'll instruct the
20∑∑at all?                                                       20∑∑∑∑witness not to answer on the basis of
21∑∑∑∑A.∑∑Not specifically.                                       21∑∑∑∑attorney-client, work-product and
22∑∑∑∑Q.∑∑Did you provide any general facts or                    22∑∑∑∑joint-interest privilege as doing so would
23∑∑ideas to the Sbaiti firm in connection with                   23∑∑∑∑reveal the contents of such communication.
24∑∑your review of the drafts of the complaint?                   24∑∑BY MR. MORRIS:
25∑∑∑∑∑∑∑MR. SBAITI:∑Same instruction, same                       25∑∑∑∑Q.∑∑Can you just answer yes or no?

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                   Appx. 01726
                                                                                                                                       YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 143 of 200 PageID 31296
                                                      Page 376                                                           Page 377
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑A.∑∑No.                                                    ∑2∑∑BY MR. MORRIS:
∑3∑∑∑∑Q.∑∑You didn't have -- that wasn't part                    ∑3∑∑∑∑Q.∑∑Are you going to follow Counsel's
∑4∑∑of any of the discussions you had prior to the               ∑4∑∑advice?
∑5∑∑time the complaint was filed?                                ∑5∑∑∑∑A.∑∑Yes.
∑6∑∑∑∑∑∑∑MR. SBAITI:∑Same instruction.∑Just                      ∑6∑∑∑∑Q.∑∑Did you know, prior to the time the
∑7∑∑∑∑don't answer.                                              ∑7∑∑complaint was filed, that the Sbaiti firm
∑8∑∑∑∑∑∑∑THE WITNESS:∑So please don't                            ∑8∑∑intended to file a motion for leave to amend
∑9∑∑∑∑answer, right, or don't answer --                          ∑9∑∑their complaint to add Mr. Seery as a
10∑∑∑∑∑∑∑MR. SBAITI:∑Don't answer.                               10∑∑defendant?
11∑∑∑∑∑∑∑THE WITNESS:∑Okay.                                      11∑∑∑∑∑∑∑MR. SBAITI:∑You can answer that
12∑∑BY MR. MORRIS:                                               12∑∑∑∑question yes or no, but, otherwise, it will
13∑∑∑∑Q.∑∑Are you going to follow Counsel's                      13∑∑∑∑reveal the content of any underlying
14∑∑advice?                                                      14∑∑∑∑communication on the basis of
15∑∑∑∑A.∑∑Yes.                                                   15∑∑∑∑attorney-client work product, or
16∑∑∑∑Q.∑∑Did you -- did you suggest that                        16∑∑∑∑joint-interest privilege.
17∑∑Mr. Seery should be named as a defendant in                  17∑∑∑∑A.∑∑No.
18∑∑this lawsuit to the Sbaiti firm prior to the                 18∑∑BY MR. MORRIS:
19∑∑time it was filed?                                           19∑∑∑∑Q.∑∑When did you learn that the Sbaiti
20∑∑∑∑∑∑∑MR. SBAITI:∑Instruct the witness                        20∑∑firm filed a motion for leave to amend their
21∑∑∑∑not to answer on the basis of                              21∑∑complaint to add Mr. Seery as a defendant?
22∑∑∑∑attorney-client work product and                           22∑∑∑∑A.∑∑I don't -- I don't recall.
23∑∑∑∑joint-interest privilege, as doing so would                23∑∑∑∑Q.∑∑Do you recall whether you had any
24∑∑∑∑reveal the contents of those                               24∑∑conversations with anybody in the world at any
25∑∑∑∑communications.                                            25∑∑time prior to the time that motion was filed
                                                      Page 378                                                           Page 379
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                    ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑regarding the possibility of filing a motion                 ∑2∑∑BY MR. MORRIS:
∑3∑∑for leave to amend the pleading to add                       ∑3∑∑∑∑Q.∑∑Are you going to follow Counsel's
∑4∑∑Mr. Seery as a defendant?                                    ∑4∑∑advise?
∑5∑∑∑∑∑∑∑MR. SBAITI:∑Objection, vague, lacks                     ∑5∑∑∑∑A.∑∑Yes.
∑6∑∑∑∑foundation; and instruct the witness not to                ∑6∑∑∑∑∑∑∑MR. MORRIS:∑I think I may be done.
∑7∑∑∑∑reveal the content of any communications on                ∑7∑∑∑∑∑∑∑Can we just take a three-minute
∑8∑∑∑∑the basis protected under the                              ∑8∑∑∑∑break and let me just check my notes?
∑9∑∑∑∑attorney-client, work-product,                             ∑9∑∑∑∑∑∑∑MR. SBAITI:∑Sure.
10∑∑∑∑common-interest privilege.                                 10∑∑∑∑∑∑∑(Recess held.)
11∑∑∑∑A.∑∑I don't recall.                                        11∑∑∑∑∑∑∑MR. MORRIS:∑All right.∑I have no
12∑∑BY MR. MORRIS:                                               12∑∑∑∑further questions.∑I would request the
13∑∑∑∑Q.∑∑Okay.∑Did you ever discuss with                        13∑∑∑∑production of a privilege log reflecting
14∑∑Mr. Patrick the topic of whether or not                      14∑∑∑∑the communications, if any, between
15∑∑Mr. Seery should be sued?                                    15∑∑∑∑Mr. Dondero and the Sbaiti firm; but,
16∑∑∑∑A.∑∑No.                                                    16∑∑∑∑otherwise, I have nothing further at this
17∑∑∑∑Q.∑∑Did you ever discuss with the Sbaiti                   17∑∑∑∑time.
18∑∑firm the topic of whether Mr. Seery should be                18∑∑∑∑∑∑∑MR. SBAITI:∑Okay.
19∑∑sued?                                                        19∑∑∑∑∑∑∑MR. MORRIS:∑Again, I appreciate
20∑∑∑∑∑∑∑MR. SBAITI:∑Instruct the witness                        20∑∑∑∑your time, Mr. Dondero.
21∑∑∑∑not to answer on the basis of attorney work                21∑∑∑∑∑∑∑MR. SBAITI:∑We'll reserve our
22∑∑∑∑product -- attorney-client, and                            22∑∑∑∑questions.
23∑∑∑∑common-interest privilege as answering                     23∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Thank you,
24∑∑∑∑would reveal the contents of such                          24∑∑∑∑everybody.
25∑∑∑∑communications, if they occurred.                          25∑∑∑∑∑∑∑MR. SBAITI:∑Thank you.∑Take care.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01727
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                            Page 144 of 200 PageID 31297
                                                     Page 380                                                         Page 381
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
                                                                ∑2∑∑∑∑∑∑∑∑C E R T I F I C A T E
∑2∑∑∑∑∑∑∑THE REPORTER:∑Mr. Sbaiti, do you                       ∑∑∑STATE OF TEXAS∑∑∑)
∑3∑∑∑∑guys need a copy of this deposition?                      ∑3∑∑∑∑∑∑∑∑∑∑∑)
                                                                ∑∑∑COUNTY OF ELLIS∑∑)
∑4∑∑∑∑∑∑∑MR. SBAITI:∑Yeah, we would just                        ∑4
∑5∑∑∑∑need a PTX of the deposition transcript and               ∑∑∑∑∑∑∑∑I, Daniel J. Skur, a Notary Public
                                                                ∑5∑∑∑∑within and for the State of Texas, do
∑6∑∑∑∑soft copies of the exhibits.∑Are you going                ∑∑∑∑∑hereby certify:
∑7∑∑∑∑to send something to the witness to read                  ∑6∑∑∑∑∑∑∑That JAMES DONDERO, the witness whose
                                                                ∑∑∑∑∑deposition is hereinbefore set forth, was
∑8∑∑∑∑and sign?∑I think you could send it to him                ∑7∑∑∑∑duly sworn by me and that such deposition
∑9∑∑∑∑either directly or to Mr. Taylor on his                   ∑∑∑∑∑is a true record of the testimony given by
                                                                ∑8∑∑∑∑such witness.
10∑∑∑∑behalf.                                                   ∑∑∑∑∑∑That pursuant to Rule 30 of the Federal
11∑∑∑∑∑∑∑(Time Noted:∑12:01 p.m.)                               ∑9∑∑∑∑Rules of Civil Procedure, signature of the
                                                                ∑∑∑∑∑witness was reserved by the witness or
12                                                              10∑∑∑∑other party before the conclusion of the
13                                                              ∑∑∑∑∑deposition;
                                                                11∑∑∑∑∑∑∑I further certify that I am not
14                                                              ∑∑∑∑∑related to any of the parties to this
∑∑∑∑∑∑∑∑∑∑∑∑∑∑JAMES DONDERO                                     12∑∑∑∑action by blood or marriage; and that I am
                                                                ∑∑∑∑∑in no way interested in the outcome of this
15                                                              13∑∑∑∑matter.
16∑∑Subscribed and sworn to before me                           ∑∑∑∑∑∑∑∑IN WITNESS WHEREOF, I have hereunto
                                                                14∑∑∑∑set my hand this 1st day of June, 2021.
∑∑∑this _____ day of _______________, 2021.                     15
17                                                              16
                                                                17
18                                                              ∑∑∑∑∑∑______________________________
19                                                              18∑∑∑∑∑∑∑Daniel J. Skur
                                                                ∑∑∑∑∑∑∑∑Notary Public, State of Texas.
20                                                              19∑∑∑∑My Commission Expires 7/7/2022
                                                                ∑∑∑∑∑TSG Reporting, Inc.
21                                                              20∑∑∑∑228 East 45th Street, Suite 810
22                                                              ∑∑∑∑∑New York, New York
                                                                21∑∑∑∑(877) 702-9580
23                                                              22
24                                                              23
                                                                24
25                                                              25
                                                     Page 382                                                         Page 383
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                   ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑ERRATA SHEET FOR THE TRANSCRIPT OF:                         ∑2∑∑___ ___∑______________∑______________∑______
∑3∑∑Case Name:
                                                                ∑3∑∑___ ___∑______________∑______________∑______
∑∑∑∑∑∑∑IN THE UNITED STATES BANKRUPTCY COURT
∑4∑∑∑∑∑∑∑FOR THE NORTHERN DISTRICT OF TEXAS                     ∑4∑∑___ ___∑______________∑______________∑______
∑∑∑∑∑∑∑∑∑∑∑∑∑DALLAS DIVISION                                    ∑5∑∑___ ___∑______________∑______________∑______
∑5∑∑In re:∑∑∑∑∑∑∑∑∑∑∑∑)
                                                                ∑6∑∑___ ___∑______________∑______________∑______
∑∑∑HIGHLAND CAPITAL∑∑∑∑∑∑∑)∑∑Case No.
∑6∑∑MANAGEMENT, LP,∑∑∑∑∑∑∑∑) 19-34054 L.P.                      ∑7∑∑___ ___∑______________∑______________∑______
∑∑∑Debtor,∑∑∑∑∑∑∑∑∑∑∑∑) Chapter 11                              ∑8∑∑___ ___∑______________∑______________∑______
∑7∑∑------------------------------)                             ∑9∑∑___ ___∑______________∑______________∑______
∑∑∑HIGHLAND CAPITAL MANAGEMENT,∑)
                                                                10∑∑___ ___∑______________∑______________∑______
∑8∑∑LP,∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)                                             11∑∑___ ___∑______________∑______________∑______
∑9∑∑∑∑∑∑∑Plaintiff,∑∑∑∑∑) Adversary No.                         12∑∑___ ___∑______________∑______________∑______
∑∑∑vs.∑∑∑∑∑∑∑∑∑∑∑∑∑∑) 21-03003-sgi
                                                                13∑∑___ ___∑______________∑______________∑______
10∑∑JAMES D. DONDERO,∑∑∑∑∑∑∑)
∑∑∑Defendant.∑∑∑∑∑∑∑∑∑∑)                                        14∑∑___ ___∑______________∑______________∑______
11∑∑Dep. Date:∑06/01/2021                                       15∑∑___ ___∑______________∑______________∑______
∑∑∑Deponent:∑JAMES DONDERO                                      16∑∑___ ___∑______________∑______________∑______
12
                                                                17
∑∑∑Reason codes:
13∑∑1. To clarify the record.                                   18∑∑∑∑∑∑∑∑∑____________________
∑∑∑2. To conform to the facts.                                  ∑∑∑∑∑∑∑∑∑∑JAMES DONDERO
14∑∑3. To correct transcription errors.                         19
15∑∑∑∑∑∑∑∑∑∑∑CORRECTIONS:
16∑∑Pg. LN.∑Now Reads∑∑∑∑Should Read∑∑∑Reason                   20
17∑∑___ ___∑______________∑______________∑______                21∑∑SUBSCRIBED AND SWORN BEFORE ME
18∑∑___ ___∑______________∑______________∑______                ∑∑∑THIS _____ DAY OF ____________, 2021.
19∑∑___ ___∑______________∑______________∑______
                                                                22
20∑∑___ ___∑______________∑______________∑______
21∑∑___ ___∑______________∑______________∑______                23
22∑∑___ ___∑______________∑______________∑______                ∑∑∑_______________________________
23∑∑___ ___∑______________∑______________∑______                24∑∑(Notary Public)∑MY COMMISSION EXPIRES:_______
24∑∑___ ___∑______________∑______________∑______
                                                                25
25∑∑___ ___∑______________∑______________∑______


                                       TSG Reporting - Worldwide· · 877-702-9580
                                                                                                            Appx. 01728
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                  Page 145 of 200 PageID 31298
                                                       Page 384                                                                   Page 385
∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021                                     ∑1∑∑∑∑∑∑∑∑∑Dondero - 6-1-2021
∑2∑∑∑∑∑∑∑∑-------I N D E X-------                                 ∑2∑∑--------------------EXHIBITS-------------------
∑3∑∑WITNESS:∑∑∑∑∑EXAMINATION BY∑∑∑∑∑∑PAGE:                        ∑3∑∑Deposition Exhibits∑∑∑∑∑∑∑∑∑∑∑PAGE/LINE
∑4∑∑JAMES DONDERO
                                                                  ∑4∑∑Exhibit 6∑∑March 2021 Email String∑∑∑361/4
∑5∑∑∑∑∑∑∑∑Mr. Morris∑∑∑∑∑∑∑∑∑∑288
∑6                                                                ∑∑∑∑∑∑∑∑∑Regarding Highland
∑7∑∑∑∑∑∑∑∑∑∑∑∑*****                                               ∑5∑∑∑∑∑∑∑∑Adherence Agreement
∑8∑∑--------------------EXHIBITS-------------------               ∑∑∑∑∑∑∑∑∑(Highland CLO Funding) in
∑9∑∑Deposition Exhibits∑∑∑∑∑∑∑∑∑∑∑PAGE/LINE                       ∑6∑∑∑∑∑∑∑∑Connection With Transfer
10∑∑Exhibit 1∑∑DAF/CLO Holder Structure∑∑290/15                   ∑∑∑∑∑∑∑∑∑of HarbourVest Shares
∑∑∑∑∑∑∑∑∑Chart                                                    ∑7∑∑∑∑∑∑∑∑Bates No. GScott000085
11∑∑∑∑∑∑∑∑Bates No. GScott000007
                                                                  ∑∑∑∑∑∑∑∑∑through 000088
12∑∑Exhibit 2∑∑Amended and Restated∑∑∑∑∑301/6
∑∑∑∑∑∑∑∑∑Limited Liability Company                                ∑8
13∑∑∑∑∑∑∑∑Agreement of Charitable                                 ∑∑∑Exhibit 7∑∑Original Complaint in Re:∑∑368/25
∑∑∑∑∑∑∑∑∑DAF GP, LLC                                              ∑9∑∑∑∑∑∑∑∑Charitable DAF Fund, L.P.
14∑∑∑∑∑∑∑∑Bates No. PATRICK_000031                                ∑∑∑∑∑∑∑∑∑and CLO HoldCo, Ltd., V
∑∑∑∑∑∑∑∑∑through 000035                                           10∑∑∑∑∑∑∑∑Highland Capital
15
                                                                  ∑∑∑∑∑∑∑∑∑Management, L.P. and
∑∑∑Exhibit 3∑∑Amended and Restated∑∑∑∑313/14
                                                                  11∑∑∑∑∑∑∑∑Others
16∑∑∑∑∑∑∑∑Investment Advisory
∑∑∑∑∑∑∑∑∑Agreement                                                ∑∑∑∑∑∑∑∑∑Bates No. GScott000389
17∑∑∑∑∑∑∑∑Bates No. GScott000325                                  12∑∑∑∑∑∑∑∑through 000414
∑∑∑∑∑∑∑∑∑through 000340                                           13
18                                                                14
∑∑∑Exhibit 4∑∑Phone Conference∑∑∑∑∑∑335/25                        15
19∑∑∑∑∑∑∑∑Invitation For 1/31/2021
                                                                  16
∑∑∑∑∑∑∑∑∑Bates No. GScott000011
20                                                                17
∑∑∑Exhibit 5∑∑January/February 2021∑∑∑∑339/22                     18
21∑∑∑∑∑∑∑∑Email String Regarding                                  19
∑∑∑∑∑∑∑∑∑Notice of Intent to Resign                               20
22∑∑∑∑∑∑∑∑and Divest From CLO                                     21
∑∑∑∑∑∑∑∑∑HoldCo, Ltd., and Related                                22
23∑∑∑∑∑∑∑∑Entities
                                                                  23
∑∑∑∑∑∑∑∑∑Bates No. GScott000018
24∑∑∑∑∑∑∑∑through 000019                                          24
25                                                                25




                                         TSG Reporting - Worldwide· · 877-702-9580
                                                                                                                        Appx. 01729
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                Page 146 of 200 PageID 31299
                                                                                            Index: $11..Asia
                      228 381:20              356:1 357:1 358:1      365:8 370:6            23 313:17,22 314:14,
            $                                 359:1 360:1 361:1                             23 315:2,5,12,14,19,
                      2515 356:8                                    action 345:23 381:12
                                              362:1 363:1 364:1                             24 316:8,21,23 320:3
$11 320:10            26th 336:6              365:1 366:1 367:1     actions 333:22          325:20 337:18 343:2,
                                              368:1 369:1 370:1      345:24                 8,9 357:16,18,20
$12 333:18            2nd 362:9,19
                                              371:1 372:1 373:1                             360:22 361:10 362:5,
                                              374:1 375:1 376:1
                                                                    actual 351:25           10 368:12
            0                    3            377:1 378:1 379:1     add 377:9,21 378:3     agreements 316:14
                                              380:1 381:1
                                                                    addition 307:13         356:25 357:8
00:-01 289:9,10       3 313:13,14
                                                                    address 338:6 362:6    alternative 352:17
                      30 381:8                          7
                                                                    addressed 360:13       amend 319:11,24
            1         31st 336:10 339:25     7 368:24,25                                    320:24 322:23 377:8,
                       359:2                                        adequate 313:2          20 378:3
1 290:15 301:5,9,12                          7/7/2022 381:19        adherence 360:22       amended 301:16
 308:7,8 366:3,4,9
                                 4                                   361:9 362:4,10         312:16 313:16,24
11 321:12 333:18                                        8                                   314:13 320:19
                                                                    administer 366:25
 335:24 350:14,15     4 335:23,25 346:14                                                    357:18
                                             810 381:20             administering 341:8
11:19a-11:31a         45th 381:20                                                          amendment 323:9
 363:19                                      85 361:3               administrative
                      4940 289:3                                     320:14                amount 320:10,11
12:01 380:11                                 877 702-9580
                                              381:21                advance 330:20         and/or 295:9
12:20 363:14                     5                                   338:14                announced 324:10
12:30 363:16
                                                        9           advanced 339:2         announcement
                      5 339:19,22 346:11,                            341:20
13 299:3                                                                                    324:13
                       18,20,23 347:4
14 299:3                                     9:33 288:17            advice 328:8 363:13    answering 378:23
                                                                     373:7 375:13 376:14
15 299:3 363:21                  6           9:34 288:10                                   anxiety 340:18 341:6
                                                                     377:4
18 339:20                                                           advise 379:4           anytime 345:8
                      6 301:4 361:2,4                   A
1st 288:9 298:17                                                    Advised 293:23         apologize 360:8
 301:21 308:17,25     6-1-2021 288:1 289:1
 309:11 310:10,17      290:1 291:1 292:1     a.m. 288:10,17         advisee's 371:14       appoint 297:7
 311:3,20 381:14       293:1 294:1 295:1                                                    299:20,23 300:3,20
                                             ability 350:8          advisor 303:16,17,19
                       296:1 297:1 298:1
                       299:1 300:1 301:1     above-average           316:18 317:10         appointed 296:24
            2          302:1 303:1 304:1      331:2                  330:25 371:11          305:12
                       305:1 306:1 307:1                            Advisors 325:22        appointing 301:2
                                             abreast 330:7
2 301:6,14             308:1 309:1 310:1                             329:8 332:12,19
                       311:1 312:1 313:1     accept 356:22                                 appointment 307:3
20 363:21                                                           advisory 312:17,19,
                       314:1 315:1 316:1                                                   approval 299:12
                                             accordance 288:6        22 313:17 314:2,14
2000s 293:22           317:1 318:1 319:1
                       320:1 321:1 322:1     achieve 313:2           315:5 316:22          approve 296:6 342:6
2001 362:10            323:1 324:1 325:1
                                             acknowledged           affect 331:3           approved 305:25
2012 301:21 305:14     326:1 327:1 328:1
                                              338:25                affiliated 351:9       approximately
                       329:1 330:1 331:1
2019 314:20 317:13     332:1 333:1 334:1                                                    301:23 320:10 358:8
                                             act 308:16,24 309:10   afternoon 340:2
2020 319:10            335:1 336:1 337:1      310:8,16 311:2,19                            argue 325:23
                       338:1 339:1 340:1      317:18 325:22 329:8   agree 326:7
2021 288:10 298:18     341:1 342:1 343:1                                                   articulated 335:2
 308:17,25 309:11                            acted 309:18 328:18,   agreed 333:21
                       344:1 345:1 346:1                             352:24 356:21         ASAP 349:20
 310:10,17 311:3,20    347:1 348:1 349:1      24
 358:12 366:11         350:1 351:1 352:1                            agreement 301:18       Asia 346:13
                                             acting 337:17
 380:16 381:14         353:1 354:1 355:1                             302:11 312:3,17,20,
                                              343:15,17 344:5,15


                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                           Appx. 01730
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                     Page 147 of 200 PageID 31300
                                                                                         Index: Aspen..compromise
Aspen 359:23,25          320:16 331:10 341:8    bring 310:5              292:5 294:5,6,25        357:11,16 359:10
                         364:8                                           295:23 301:18 304:6     360:19 361:9 364:22
assert 345:15,19                                brought 338:21
                                                                         307:14,15,16 308:11,    365:9 368:13,16
                        based 328:8
asserted 371:9                                                           16,24 309:8 310:9       369:10
                        basic 333:14                        C            312:14 313:3,6,18
asserting 371:3                                                                                 close 362:20
                                                                         314:10,11,16,17
                        basis 325:18 327:25                              316:8,9 350:9 352:22
asset 350:15                                    call 313:13 322:18                              coach 300:15
                         331:2 372:17,18
                                                 336:10,15,19,21,23      366:19 369:9
assets 295:24 296:4      373:3 374:13,14                                                        collateralized
 312:7 315:7,13,21       375:8,20 376:21         337:6,11,13,25         charities 306:21         304:11
 349:3,20 350:10         377:14 378:8,21         338:8,10,25 339:5
                                                 358:25                 chart 290:3,21          college 297:20
 366:22,24
                        Bates 335:23 339:20                              298:13 308:6 309:15
                                                calls 297:9 305:16,17    311:23
                                                                                                commenced 332:10
assumes 303:10           361:2
                                                 306:13 309:4,12                                 368:17
 307:7,18 308:18
                        beginning 293:17,21      310:11,18 311:4,11     Chase 289:3
 319:13 326:5 359:11                                                                            commencement
                         361:2                   318:7 321:4 322:7
 363:8                                                                  check 379:8              314:19
                        begins 311:22            327:23 328:3,5
attorney 371:8                                   340:6,16 341:3,15      chose 347:17            comments 372:12,
 378:21                 behalf 292:5 308:16,     342:15,21 343:5                                 24
                                                                        circumstances
                         23,24 309:10,18         351:18 354:12,19
attorney-client                                                          352:8                  Commission 381:19
                         310:8,16 311:2,19       358:17 366:13 372:2
 321:5 325:12 333:9
                         317:8,19 332:23                                cited 343:3             common 337:19
 370:25 371:20                                  candidate 305:23
                         334:4 335:10 343:16,
 373:25 374:15 375:9,                                                   Civil 381:9             common-interest
                         17 344:4,6 345:24      candidates 352:15,
 21 376:22 377:15                                                                                378:10,23
                         368:13 380:10           17 353:17,19           claim 319:12,24,25
 378:9,22
                                                                         320:9,13,14,18,19,24   communicate
                        behavior 349:25         Canty 346:15,19,25
attorneys 319:8                                                          321:16,19 322:23        359:15
 325:25 337:17 370:6,   belief 365:8,20          366:2                   332:25
 10,12,15
                                                                                                communicated
                        believed 304:23         capability 313:4        claiming 371:16          350:20
audio 289:8 300:12       311:19 323:11          capital 292:6 295:9,    claims 321:10,25        communication
 322:9 351:12            325:15,19,21 330:11     11,14 312:15 313:19     322:4 323:12 329:5      362:20 371:5 375:23
                         344:13 345:7,14,18,     314:23 315:6
authority 297:6                                                          345:7,15,19 373:10,     377:14
                         22 354:21,23,24
 299:20 300:20                                  care 379:25              17
 308:15 354:8,17,24     beneficial 331:25                                                       communications
                                                carefully 340:22        clarification 348:15     300:7,9 325:12 334:7
 363:5,10
                        birthday 350:21                                  365:18,19               376:25 378:7,25
authorized 308:23,       359:17                 carry 292:5                                      379:14
                                                                        clarify 316:19 349:9
 24 309:10 310:8,16,                            case 319:9
                        bit 317:12 361:13                                                       Company 301:17
 25 311:19 357:9                                                        Clay 290:14 294:11
                                                caused 319:11,23                                 357:19
                        blood 381:12                                     300:13 347:2
Avenue 356:7
                                                caution 370:3                                   complaint 368:23
                        boards 306:20                                   clear 294:3 300:9
average 303:4                                                                                    369:4,9,13,20,25
                         312:4,10               cautioned 288:14         320:5
                                                                                                 370:13,23 372:13
aware 333:3 343:9
                        bona 321:24 322:4       Cayman 312:6            client 337:15            373:11,18 374:6,10,
 358:14,23 362:22
                         323:12                                                                  24 375:18 376:5
 364:18,24 368:16                               certify 381:5,11        CLO 290:22 295:17
                                                                                                 377:7,9,21
                        Bonds 330:9                                      307:17 310:16 311:2,
                                                cetera 312:6             19 315:7,13,17,19,20   complaints 372:25
          B             bottom 339:21
                                                challenges 340:19        317:17 318:2 319:11,
                                                                                                compliant 291:7
                        box 294:10               341:7,18                23 320:6,8 322:23
back 308:6 309:15                                                        323:22 324:2,6,10      complicated 300:21
 366:2                  breached 343:23         change 327:13            325:25 326:12,17        306:22
                         344:13 365:10           328:13 329:21
background 289:24                                                        328:19,25 329:4
                                                                         332:6,12,19,24 333:2
                                                                                                compound 324:14,
                        break 363:16 379:8      changed 293:18
bankruptcy 314:19                                                                                15 344:7
                                                                         334:4 335:11,13
 317:14,17 319:8        brilliant 311:14        charitable 291:19,21     336:4 345:25 351:9     compromise 335:2


                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                Appx. 01731
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                   Page 148 of 200 PageID 31301
                                                                                   Index: computer..Dondero's
computer 372:2          coordination 330:3,      332:2 333:24 335:4,   delegated 306:23        divest 348:21,23
                         17                      5,12 337:4 341:8                               349:10,20
conceptual 373:9                                                       department 318:10
                                                 345:24 347:14 350:8
                        copies 380:6                                    355:13                 divested 350:10,15
concerns 364:6,12                                351:8,9 357:10,16
                        copy 369:8 380:3         359:10 360:18         depend 294:21           divesting 348:11
concert 337:17
                                                 363:12 364:22 365:9
                        correct 299:2 302:18     366:19 368:16 369:9
                                                                       deposition 288:3,5      divestment 348:21
conclusion 297:10
                         303:22 304:3 329:20                            289:15 372:3 380:3,5
 305:18 310:12,19                                371:2,5,11                                    divulge 325:11
                         338:2 351:10 353:11                            381:6,7,10
 311:5,7,11 327:3
                         365:5                  DAF's 318:7                                    document 290:18
 343:6 351:18 354:12,                                                  describe 375:5
                                                                                                301:5,7 314:5 346:17
 20 366:13 367:7        counsel 300:7,11        daily 331:2
                                                                       designate 354:17
 381:10                  314:12,18 317:18                                                      documentation
                                                Dallas 288:12 292:20
                         318:16 319:5,6                                determined 354:9         352:25 353:7
conducted 288:6                                  293:12
                         325:2,3 328:9,13
                         330:10 371:14          damage 350:7           difference 293:10       documents 289:18
conference 336:10
 337:11,13                                                             differences 295:3       dollars 319:25
                        Counsel's 373:6         Daniel 381:4,18
                                                                                                320:22 333:21
confidential 318:7       375:12 376:13 377:3                           difficulties 354:3
                                                date 288:9 357:23
                         379:3                                                                 donations 295:10
confirmed 325:3                                                        direction 327:14,16
                                                dated 301:20
                        COUNTY 381:3                                    329:22                 Dondero 288:1,4,13,
confrontation
                                                day 288:9 327:4,6                               20 289:1,7,11 290:1,
 340:20 341:7,11,14     couple 322:20                                  directly 380:9
                                                 339:13,15 352:18                               17 291:1 292:1 293:1
                         323:17 334:10
connection 289:15                                380:16 381:14         director 292:18          294:1,14 295:1 296:1
                         341:23 350:22,25
 314:12 374:23                                                          307:15 351:9            297:1 298:1 299:1
                         353:17                 Daylight 288:10
                                                                                                300:1 301:1 302:1
considered 301:2        court 368:18 371:25                            directorship 307:23
                                                days 341:23 350:22                              303:1 304:1 305:1
                         372:7                                          308:4
contempt 289:16                                                                                 306:1 307:1 308:1
                                                dealing 341:18
                                                                       disagreement             309:1 310:1,7 311:1,
content 371:17          COVID-19 288:8
                                                Dean 353:23             315:16                  16 312:1 313:1 314:1
 372:16 373:24
                        crashed 372:2                                                           315:1 316:1 317:1
 374:14 377:13 378:7                            debtor 317:14,17       Disaster 288:8           318:1 319:1 320:1
                        created 296:8            321:25 323:12
contents 375:23                                                        disclaim 350:14          321:1 322:1 323:1
                                                 332:10,15,25 333:5
 376:24 378:24          Current 288:7                                                           324:1 325:1,8 326:1
                                                 350:14 361:8,21       disclose 338:9           327:1 328:1 329:1
continue 325:22                                  362:5,11 368:17        372:23                  330:1 331:1 332:1
 350:8                             D             369:11
                                                                       discuss 315:16           333:1 334:1 335:1
continued 330:24                                debtor's 332:17,25      321:15,18 331:5         336:1,4 337:1 338:1
                        D&o 352:16 353:13                               367:11 378:13,17        339:1 340:1 341:1
control 311:24 312:2     354:3                  decade 355:10                                   342:1 343:1 344:1
                                                decided 291:13         discussed 334:21         345:1 346:1 347:1,8
controlled 303:21       DAF 290:21 293:24                               370:22                  348:1 349:1 350:1
 304:2                   294:5,6,15,20,25        341:2
                         295:5,23 296:17,19,                           discusses 315:14         351:1 352:1 353:1
conversation                                    decision 317:4                                  354:1 355:1 356:1
 319:18 326:3,15,16,     24 297:7 298:2          321:16,19 322:23      discussing 368:2,10      357:1 358:1 359:1
 21,23 327:3,10          299:18,23 300:3,20      326:4 328:19,24
                         301:18 302:12,16                              discussion 322:15,       360:1,8 361:1 362:1
 329:8,13,17 334:2,7,                            330:2 334:3 340:14                             363:1,25 364:1 365:1
                         303:16 304:15 307:5,    367:13 368:3,12        17
 8,12,18,21 335:7,16                                                                            366:1 367:1 368:1
 337:16 340:12           14,15,16 308:11,16,
                                                decisions 304:10       discussions 321:23       369:1 370:1 371:1
 371:18                  25 309:8 310:9
                                                 331:3 338:16 364:7,    322:22 344:18 353:9     372:1,5,11 373:1,7
                         312:14 313:3,6,18,19
                                                 13,20 365:15           356:19 369:24           374:1,11 375:1,13
conversations            314:10,11,16,17
                                                                        375:15 376:4            376:1 377:1 378:1
 322:19 323:10 339:2     315:2,7,13,14 316:8,   deductions 291:22                               379:1,15,20 380:1,14
 344:20 352:10           9,18 317:3,8,25                               distortion 289:8
 359:22,24 365:7         318:5 320:12 325:22    defendant 375:17        300:12 322:9 351:12     381:1,6
 370:4,5,8,10 377:24     327:13 329:4,16,21      376:17 377:10,21                              Dondero's 311:8
                                                 378:4                 District 368:18,19
                         330:24 331:13,20                                                       348:2
cooperation 330:4


                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                               Appx. 01732
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                      Page 149 of 200 PageID 31302
                                                                                                Index: donor..happen
donor 293:23 330:24     entities 293:4 296:3     343:16 348:19           finances 331:4            funds 293:24 332:12,
 331:6,8,13,15,16,20     307:23 311:25 312:9                                                        18 345:4,10
                                                explanation 322:13       find 318:11 352:15
                         314:22 315:3 317:21
doubt 328:10,16                                                                                    future 356:17
                         318:2,3 332:2,11       expressed 364:3,5,       finish 372:3
draft 372:12,25          335:13 351:9 352:15     12
                                                                         finished 334:14
                         357:10,16 360:18                                                                    G
drafts 374:24            366:18 369:11
                                                expression 295:8          360:9
due 311:10              entity 291:19 295:8,    extent 297:9 300:5       firm 341:18 372:12        gave 291:24 335:11
                                                 305:17 306:12 318:6      373:11 374:9,23           339:12 340:4 351:3
Dugaboy 331:12,25        10,12,14 298:13,17
                                                 321:3 333:8 351:17       375:16 376:18 377:7,      352:5 358:15
 332:5                   307:3 309:10,19
                                                 354:11 366:12 370:5      20 378:18 379:15
                         312:5 316:23 332:6                                                        general 291:4 293:19
duly 288:14 381:7        333:19 350:9 366:8                              firms 318:13               295:7 309:23 357:20
duties 325:21 329:12    essentially 320:22
                                                          F                                         374:22
                                                                         fit 304:19
 343:24 344:14 359:9
 365:10,13,21 367:9     establish 356:14                                 floor 356:12              generally 291:2
                                                fact 337:7 352:11
 371:15                                                                                             358:22
                        estate 321:11           factors 353:17           flows 311:24
duty 366:10,18 367:5                                                                               give 290:11 340:14
                        event 351:24            facts 303:11 307:8,      follow 373:6 375:12        341:2
                                                 19 308:19 311:8,9        376:13 377:3 379:3
                        evidence 303:11                                                            giving 291:21 292:5
            E                                    319:14 326:6 359:12
                         308:19 326:6 359:12                             Foods 353:23               309:23 313:3 322:4
                         363:8                   363:8 374:5,9,19,22
                                                                         form 290:25 291:10         350:13 352:22 359:8
earlier 329:18 333:17                                                                               363:13
                        exact 295:3 307:25      fair 348:16 364:9,25      294:2 309:24 320:17
 336:24 365:3
                                                 365:11                   326:24 334:9
                        EXAMINATION                                                                good 288:20 289:7,
East 381:20                                                                                         11 300:14 304:18,25
                         288:18                 faith 328:18,24          formal 305:21
effective 301:21                                                                                    305:23 318:11 324:8
                        Excuse 312:24           falls 371:15             formally 359:3             328:18,24 331:19,20,
 342:6,13
                        execution 314:13        familiar 292:14                                     24 332:5
effectively 316:17                                                       formation 298:5
                                                 294:14 360:21
 366:25                 executive 353:23                                                           governing 325:19
                                                                         forward 347:20
                                                Federal 381:8                                      GP 294:25 301:18
effectuated 354:25      exhibit 290:2,15                                 forwards 361:20
                         301:4,6,8,9,12,14      feel 329:19                                         302:12,16 307:5,14
efficiently 366:25                                                       foster 291:21              313:19 314:11,17
                         308:7,8 313:13,14      fide 321:24 322:4
Ellis 330:10 381:3       335:22,23,25 339:6,                                                        316:9 351:8
                                                 323:12                  found 351:19
email 338:2,5,6,15,24    19,22 346:11,18,20                                                        Grant 296:15 298:6
                         347:4 360:25 361:2,4   fiduciary 329:12         foundation 292:20
 339:24 341:21 343:4                                                                                305:23 309:14,18
                         366:3,4,9 368:24,25     343:23 344:14            293:13 296:2 330:15
 346:6,9 347:10                                                                                     311:22 333:21
                                                 365:10,13,21 366:10,     343:6 358:19 367:16
 348:10                 exhibits 380:6                                                              352:19 353:3 361:2,
                                                 18                       378:6
                                                                                                    19
Emergency 288:7         existed 315:24                                   foundations 292:11,
                                                fighting 330:25                                    group 314:3 330:17
employed 355:3,7,       existing 343:9                                    15,18,23
                                                figure 337:9,10,12                                 Guernsey 312:6
 19,22,25                                                                founder 330:23
                        expect 331:5 356:16     file 301:4 377:8
end 358:2,11                                                                                       guess 320:22 327:20
                        expenses 367:2                                   frame 319:21
                                                filed 317:14,17 323:9,                              328:15 348:24
ends 311:22                                                              free 329:20
                        experience 302:23        22 369:9,17,20,25                                 guys 380:3
engaged 372:3            303:8 304:5             370:13 372:13           friendship 363:11
                                                 373:12,18 376:5,19
enjoys 352:22           expert 303:3                                     fund 294:6 295:23                   H
                                                 377:7,20,25
enter 312:15 314:22     expertise 302:23                                  307:16 309:8 310:9
                                                filing 320:9 378:2        312:14 313:6,18
 334:3 361:9 368:12      303:2,9 304:6                                                             half 363:21
                                                final 369:16 374:10       314:11,17 316:8
entered 315:3           Expires 381:19                                    331:3,4 344:10,15        hand 381:14
 316:10                                         finance 302:24 303:9      345:7,15,18 365:16
                        explain 322:3 342:11                                                       happen 351:24
                                                                          369:10



                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                                   Appx. 01733
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                    Page 150 of 200 PageID 31303
                                                                                            Index: happened..lacks
happened 342:14          295:17 307:16,17        327:13,18 329:21        341:2 349:20 351:4       10 339:25 359:2
 351:20                  308:11,16,25 310:16     337:5 338:21 364:21     357:24
                                                                                                 John 290:4 294:3
                         311:2,20 315:7,13,
Happy 350:21                                    inaudible 318:8         intention 358:10          301:7 310:3 317:18
                         17,19 317:17 318:2
                                                 327:24                                           337:6 346:15
Harbourvest 323:23       319:11,23 320:6,8                              interaction 341:17
 324:3 326:2,18          323:22 324:2,6,10      included 317:25                                  Joint 371:10
                         326:12 328:25 329:4
                                                                        interest 329:4,16
 328:20 329:2 367:14
                         332:6,12,19,24 333:2
                                                incorporated 293:3       332:2,5 333:24          joint-defense
 368:4
                                                                         335:3,4 337:19           337:18
                         334:4 335:11,13        incorrect 338:3
HCMLP 315:12,18          336:5 345:25 351:10
                                                                         344:10,15 345:4,9
                                                                                                 joint-interest 371:4
 316:11,17 317:4,9                              indemnification          350:4 365:16 371:10
                         357:11,17 359:10                                                         372:20 373:4 374:2,
 318:16,22 319:2                                 342:7 343:3,18
                         360:19 361:9 364:22                            interested 381:12         16 375:10,22 376:23
 333:23 355:4,7
                         365:9 368:13,16        independent                                       377:16
                         369:10                                         interests 364:22
he'll 294:8                                      314:12,18 316:6
                                                                         365:9                   Judge 310:5 338:4,5
headed 355:13           Holdco's 315:20         inform 330:2,7,12,20
                         322:23 326:2,17                                interim 358:15           jumped 371:23
                                                 360:11
health 340:19 341:6      328:19                                          359:3,7,16 360:14,19
                                                                                                 June 288:10 381:14
                                                information 318:8
hear 288:21 289:12      holders 312:11                                  interpretation
                                                 325:5 371:12,13                                 justifying 325:20
 371:19 372:5,8                                                          325:19
                        holds 295:14,24          372:24
heard 300:10 320:21                                                     interruption 289:4,9
                        hope 325:9              informed 308:2                                             K
 371:8
                                                 340:13                 introduced 290:15
hearing 324:18          hoping 325:11                                    301:6 313:14 335:25     Kane 317:18,23
                                                informing 327:15
 327:3,14 328:15                                                         339:22 361:4 368:25      318:5 337:6 338:14
                        hour 327:14 363:21       329:22
 332:17 336:4 371:7                                                                               339:2 344:6
                        hours 290:6,10,11,12                            invade 321:4
                                                inheriting 356:21
hearsay 328:4,5                                                                                  kind 315:19 356:25
                        house 359:23                                    invades 333:9
 340:17 341:4 342:16,                           initial 298:25 331:16                             357:8 372:17
 22 343:19 352:13                                                       investment 303:9,
                        housemates 297:19       Initially 298:24                                 knew 312:20 339:15
 353:20 358:18                                                           15,16,19 312:16,19,
                        hundred 320:21          injunction 332:18        22 313:17 314:2,14       340:18 354:22
held 298:12,16
                         333:16,20                                       315:5 316:18,22         knowledge 300:24
 307:22 308:10 312:7                            injunctive 332:16        317:4,7,10 330:25        302:25 304:7,10
 363:19 366:22
                                                instruct 300:4 325:4     331:12                   306:25 307:10 311:8,
 379:10                           I
                                                 337:15 360:16 363:2,                             22 312:8,18 313:7
                                                                        investments 335:5
helped 371:12                                    6 372:15 373:2                                   321:6,12 352:21
                        ideas 373:10,17                                  348:24
                                                 374:13 375:7,19                                  353:9 355:17 362:8,
helping 371:14           374:23                  376:20 378:6,20        involved 306:10,17,       12
hereinbefore 381:6      identified 292:12                                21,22 307:3 312:12
                                                instructed 325:25        318:18 319:8
hereunto 381:13          293:4 337:25            362:9,19,23                                               L
                        identify 307:2 308:14                           involvement 293:12
high 297:14                                     instructing 372:18
                         309:9 310:23 311:18                            ipad 372:3               L.P. 292:6 294:6
Highland 291:19,20       317:4 318:11 371:13    instruction 362:4                                 295:24 307:16 309:9
 292:6 303:20,22                                 374:25 376:6           issue 361:21 363:10       310:9 312:14,15
 304:2 312:15 313:19    identifying 318:12
                                                instructions 358:16,    issues 333:5 340:19       313:6,18,20 314:11,
 314:23 315:6 320:13    identity 310:25                                                           17 315:6 316:8
                                                 23 359:8                341:6 360:12
 321:9 331:10 356:13                                                                              369:10
                        impact 337:4            insurance 352:16
Highland's 314:19                                                                                La 346:13
                        implicit 365:7           353:14 354:3                     J
hired 314:18                                                                                     labeled 296:21 301:8
                        in-house 318:16         intended 324:11
historic 333:22                                  377:8                  James 288:4,13
                        inactions 345:24                                 375:17 380:14 381:6     lack 313:4
hold 296:4 355:11                               intending 350:3                                  lacks 330:15 343:6
                        inappropriate                                   January 298:17
Holdco 290:22 294:5      324:23,25 325:15,17    intent 335:11 339:12     301:21 332:17 336:6,     358:19 367:15 378:5




                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                                 Appx. 01734
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                   Page 151 of 200 PageID 31304
                                                                                      Index: lasted..objection
lasted 335:7            litigation 332:14        311:3,20 358:2,12     mistakenly 325:11        move 338:22 340:21
                         337:19                  362:9,19 366:11
late 293:21 332:17                                                     moment 299:15            multiple 300:23
 337:22 366:11          LLC 295:2 301:18        mark 291:15,17          319:23                   321:9,10 322:18,19
                         302:12,16 307:5,14      297:5,6 305:22
law 318:13                                                             month 332:10 351:5
                         313:19 314:11,17        306:23 351:20
                                                                                                            N
lawsuit 332:10           316:9                   352:11,21 353:4       months 350:25
 368:17 376:18                                   360:25 361:20
                        loan 304:11                                    morning 288:20           named 376:17
                                                 363:12 368:23
lawyer 300:14                                                           289:7,11 328:14
                        located 288:11,25                                                       names 312:9
 302:18,20 304:23                               marked 301:12 347:3     348:15
                         356:4,6,10,15
 337:24 355:16,18                                                                               needed 329:15 330:2
                                                marking 335:23         MORRIS 288:19
                        locations 356:15                                                         345:3 360:12
lawyers 318:10,11,                                                      289:6,10,25 290:7,
                                                marriage 381:12
 15,17,20,23,25         lodge 373:20                                    13,16 291:3,12          negative 337:4
 319:2,3 330:4,9,11                             material 337:4          294:11,13 295:22
                        log 379:13                                                              negotiation 313:11
 335:17,20 338:15,24                                                    296:5,11 297:12
                                                materially 350:7                                 314:8,13
 370:7                  long 327:2 335:6,8                              298:7,21 300:8,13,17
                                                matter 360:18 381:13    301:3,11,15 302:4,6     Nexpoint 316:22
layperson 303:5         long-term 363:10                                303:12,24 304:20         318:23 319:2 331:11
                                                Mazin 370:14,17,18,     306:2,14 307:11,21
learn 299:22 323:25     lot 370:15
                                                 22 371:23 373:21                               night 325:2 328:14
 324:12 338:13 359:6                                                    308:5,9,21 309:7,16,
 361:7 377:19
                        Lynn's 338:4,6                                  24 310:6,14,22
                                                Mckinney 356:7                                  Northern 368:19
                                                                        311:6,12,15 313:15
learned 324:5,18                                me--and 323:8           315:10 316:15           not-too-distant
                                  M
 325:24 326:11 333:7,                                                                            356:17
                                                meaning 348:23          318:14 319:16,19
 10
                        made 299:12 304:10                              321:14 322:10 323:6     Notary 381:4,18
leave 345:10 377:8,                             mechanism 305:24        324:16,19 325:7
                         317:8 324:13 328:18,    306:20
 20 378:3                                                               326:10 327:25 328:6     note 288:5 290:5
                         24 364:7,14,20 372:2
                                                member 296:22           330:18 331:7,18,23       338:4
left 356:13 363:17      make 297:3 298:22                               333:12 334:13
                                                 302:12,16 305:13                               Noted 380:11
legal 297:9 304:24       299:7 310:4 323:8       307:4,13 311:24        335:21 336:2 337:21,
 305:17 309:5,13         328:12 336:24           351:8 366:23           23 338:7,12 339:3,      notes 379:8
 310:12,19 311:5,7,11    348:25 350:2                                   10,18,23 340:11,21,
                                                memory 320:6,8                                  notice 335:11 338:15
 318:10 322:8 325:18                                                    24 341:9,19 342:18,
                        makes 295:10                                                             339:12 340:5,14
 343:6 348:24 351:18                            mentioned 353:12        24 343:11,21 344:11,
                                                                                                 341:2,20 351:3
 354:12,20 366:13       making 350:4 365:15      359:18                 21 346:4,12,17,24
                                                                                                 357:24 358:10
 367:7                   371:23                                         347:2,6,7,16,25
                                                message 334:25          348:4,6,8 349:5,8,14,   notify 347:22
legitimate 321:8        man 297:22
                                                microphone 288:23       17 350:16 351:14,22
                                                                                                number 296:17
levels 300:23           manage 315:6                                    352:4 353:5,25
                                                million 320:10                                   339:19
                                                                        354:15 355:2 356:18
Liability 301:17        managed 315:12,20        333:18                 357:6,14 358:5,7,21
 357:19                 management 292:6                                359:14 360:4,24                     O
                                                million-dollar
life-long 305:4          312:15,25 313:5,19      350:14,15              361:5,6,12,15,18,23
                         314:24 315:6                                   362:2,14,17 363:14,     object 293:25 297:9
limited 290:6 301:17                            mind 304:23 323:5       20,23 364:17 365:23
                        manager 333:23                                                           305:16 309:24
 357:18,19                                       366:23                 366:5,16 367:3,22        366:12 373:24
limiting 290:12         managing 296:21         minutes 363:21          368:8,22 369:2,18
                         302:12,16 305:13                               370:11 371:6,19         objection 290:25
liquidate 350:3,5        307:4,13 311:23        mischaracterizes        372:4,7,10,22 373:5,     291:10 295:19,25
                         351:8 366:23            309:22                 15 374:4,18 375:4,       296:10 297:8 298:3,
liquidating 350:2
                                                                        11,24 376:12 377:2,      19 303:10,23 304:16
liquidation 349:2       manifested 320:4,15     missed 323:15                                    305:15 306:12 307:7,
                                                                        18 378:12 379:2,6,
                        manner 320:25           mission 350:9           11,19,23                 18,24 308:18 309:2,
list 336:8                                                                                       4,12 310:11,18 311:4
listen 340:22           March 308:17,25         misstates 359:19       motion 332:17             315:8 316:12 318:6
                         309:11 310:10,17                               377:8,20,25 378:2        319:13 321:3 322:7


                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                                Appx. 01735
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                    Page 152 of 200 PageID 31305
                                                                                    Index: objections..purposes
 323:2,22 324:2,7,11,   oral 288:3 356:24      party 381:10            plans 336:25             375:9,10,22 376:23
 14,15 325:20 326:2,     357:8                                                                  377:16 378:10,23
                                               patent 302:20           playing 299:15
 5,12,18 327:23                                                                                 379:13
                        Order 288:7
 328:2,3,19,25                                 Patrick 291:15,17       pleading 378:3
                                                                                               privileged 300:6
 330:13,21 331:14,21    org 290:21 309:15       292:3 293:15 296:7
                                                                       POC 320:14               318:8 325:5
 333:8 337:14 338:19     311:23                 297:5,6 298:9,12,16,
 339:8 340:6,16                                 23 299:6 300:25        point 320:19 332:23     privileges 371:9
 341:3,15 342:15,21
                        organization 293:9
                                                301:4 303:7 304:14      337:19 349:25 361:8
 343:5,19 344:7,16
                                                                                               Procedure 381:9
                        organizational          305:9,12,22 306:11,
 346:2 347:11 350:12                            18,23 307:6 351:7,
                                                                       points 327:12
                         290:2 292:4 296:7                                                     proceed 290:8
 351:11,17 352:2,13                             15,21 352:6,8,11,12,   pool 295:9,10,14         363:24
 353:20 354:11,19       organizations 293:5     21 353:4,8,12 354:7,
 356:11 357:2,3,12       304:6                                         portfolio 312:25        proceeding 289:16
                                                10 355:3,24 356:20,
 358:3,17 359:11,19                             25 357:8,15 358:15      313:2,5 350:3,6
                        original 298:5 320:9                                                   proceedings 338:22
 363:7 364:15 365:22     375:17                 359:2,7 360:7,11,16    position 304:19,25
 366:20 367:13,15                               361:20 362:9,18,22,                            process 305:21,24
                                                                        305:7 308:11 355:14
 368:4,5 369:15         originally 343:10       25 363:5 367:12                                 306:8,9,10,17,18,19,
 370:24 373:20,21,23                            368:2,11 378:14        positions 335:12         23 318:12
                        originate 317:9
 378:5                                                                  355:11 356:20
                                               Patrick's 357:25                                product 371:8
                        outcome 381:12
objections 310:2                                358:11 362:3           possibility 378:2        376:22 377:15
 325:23 329:6 371:24    overbilled 320:12                                                       378:22
                                               Pause 289:5             post-bankruptcy
 375:2                  overbilling 321:8                               331:11                 production 379:13
objectives 329:6         333:18,20             people 312:4,9 330:7
                                                336:9,13               post-petition           professional 330:6,
obligation 330:6,12,    owed 365:21 366:10,                             364:14,21               12
 20,23                   18                    perfect 348:6
                                                                       potential 345:23        promise 363:22
obligations 304:11      owes 367:5,9           perform 371:14
                                                                       potentially 345:11      proof 319:11,24
obtain 342:7            owned 303:21           period 355:6 357:23                              320:9,24 322:23
                                                358:4,9,15,25 359:4,   power 299:22 300:2
obtained 363:5          ownership 312:2         7,16 360:14,19                                 propose 341:24
                                                                       practice 314:2
                                                364:14                                         proposed 323:23
obtaining 354:3                                                        practitioner 353:24
                                   P           permanent 356:14
occur 322:17 353:10                                                                            protect 366:24
                                                                       preliminary 332:18
                        p.m. 380:11            person 299:7 305:12                             protected 378:8
occurred 351:24,25                                                     premarked 346:21
                                                306:4 307:2 308:14
 378:25                                                                                        provide 291:22
                        paragraph 342:4         310:23,25 311:18       prepared 314:4
October 314:20                                                                                  312:25 313:5 372:11
                        paraphrasing--that     personal 330:10         presented 336:5          373:9,16 374:5,8,22
 317:13 319:10
                         364:5                  365:20
office 356:10,15                                                       previously 316:10       provided 371:11
                        part 326:8 329:16      personally 370:19        332:11                  372:24
officer 292:17           330:7 352:23 376:3
                                               perspective 345:13      primary 330:24          providing 374:19
offices 356:4,9,13      participate 313:10                              331:6,8
                         322:15 326:20         pertaining 357:9                                provisions 342:7
offshore 306:20          334:17 336:9 369:23                           prior 298:17 308:17,     343:3,18
                                               phone 322:18
 318:2 353:24                                                           25 309:11 310:9,17
                        participated 338:25     336:15,19,21 339:5                             PTX 380:5
open 345:10                                                             311:2,20 314:18
                         370:4                 phrase 294:15,17,20      320:25 324:9 331:10    Public 381:4,18
operated 310:21         parties 292:12 321:9    295:5 348:20 360:21     353:6 362:12 366:10
 329:3                                                                                         pull 339:18
                         330:5 381:11          picked 297:25            373:11,18 376:4,18
operation 312:12                                                        377:6,25               purpose 312:22
                        partners 291:21        pivot 336:25                                     336:18,22 337:5
opinion 309:5,13         292:7                                         privilege 321:5
                                               place 293:20 316:14                              338:8 369:5
 328:13                                                                 333:9 370:25 371:3,
                        partnership 325:20      326:23 327:4 334:7      4,16,17,20 372:19,20   purposes 291:7
optimize 366:24          357:18,20              336:6,16 343:10         373:4 374:2,16



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                               Appx. 01736
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                  Page 153 of 200 PageID 31306
                                                                                         Index: pursuant..Sbaiti
pursuant 302:10          345:16,17,20 346:3    reflected 374:9        reporter 288:5           responsible 299:9
 315:4,12,20 353:8,10    347:9,21 350:18                               289:4,9 372:7,9
                                               reflecting 379:13                               restate 358:6
 381:8                   355:12 359:13,21                              380:2
                         360:15,20 364:16      refreshed 316:2                                 Restated 301:17
pursue 333:22                                                         reporter's 371:25
                         365:14 367:18,19,20    323:4 367:18                                    312:16 313:17
 373:10
                         368:7,14 369:14                              Reporting 381:19          314:14 357:19
                         374:3,17,19 377:22,
                                               regard 292:20
pursued 321:10
                                                363:12                represent 336:3          result 338:10
 333:19 373:17           23 378:11
                                                                       369:3 370:18
                        received 346:5         rejected 317:5                                  retained 317:18,20
put 289:19,25 293:20
                                                                      representation            318:5
 301:3,8,13 308:6        347:23                related 381:11
                                                                       337:6
 313:12 335:21                                                                                 returns 313:2 331:2
                        receiving 339:24       relates 343:2 361:21
 343:10 360:24 366:2                                                  representative
                         346:9 347:9                                                           reveal 300:6 325:5
 368:22                                        relationship 305:4      357:10
                                                                                                375:23 376:24
                        recess 363:19           363:11
                         379:10
                                                                      represented 317:23,       377:13 378:7,24
          Q                                    release 342:12,20       25
                        recollection 298:10                                                    reversal 327:16
                                                343:3,18
                         302:13 321:7 367:25
                                                                      representing 330:4
question 294:2,23                                                                              review 374:24
                         368:10                releases 342:8
 309:25 311:21 315:9                                                  request 291:9,11
                                                                                               right--that 323:9
 324:8 325:16 326:8                            relevance 295:25        296:8 379:12
                        recommend 306:3
 328:21,22 338:11,19                            331:14,21 343:7                                role 292:23 298:13,
                        recommendation                                requested 348:14
 340:23 347:8 348:17                            352:2                                           17 308:2,3 357:9
 366:15 369:8 372:15     297:2,3 298:22,25                            requesting 361:8
                         299:8,12 319:7        relief 332:16                                   roles 299:14
 373:14 374:12
                                                                      require 300:6 304:23
 377:12                 recommendations        relocating 356:16                               roll 309:15
                         319:5                                        required 304:22
questions 323:4                                remember 298:11,                                row 293:2
                                                                       306:8
 379:12,22              recommended             12 302:15 305:22
                                                                                               Rule 381:8
                         298:6,8 299:17         306:6,7,9 318:9       reserve 379:21
quote 342:5 349:19                              320:12,18 322:12,21
                         303:7,14 304:13                                                       Rules 381:9
 362:19,20                                                            reserved 381:9
                         305:6 306:5 317:5      327:12 329:9 332:22
                                                335:19 339:4 343:25
                                                                                               running 304:6
                                                                      resign 335:12 339:12
          R             recommending            345:3,5 347:12,24      341:2 351:4 357:24
                         305:22 306:7           353:22 355:14 360:2    358:10                            S
raised 360:12                                   370:14,15,16
                        reconsider 342:2                              resignation 336:21
                                               reminding 329:14        340:5,15 342:5,12       Savings 288:11
reach 337:2             record 310:4 338:20
                         346:10 381:7                                  343:13 347:15           Sbaiti 293:25 295:19,
reached 332:24                                 REMOTE 288:3
                                                                       366:11                   25 297:8 298:19
 335:10                 reduce 320:20          remotely 288:6
                                                                      resigning 341:25          301:7 303:10 305:15
                         321:16,19                                                              307:7,24 308:18
read 380:7                                     renew 338:18 339:7      348:11
                        reduced 321:13                                                          309:4,12 318:6 322:7
ready 363:24                                   repeat 305:19 315:9    resolved 332:25           324:14 327:23 328:5
reason 328:10,15        reducing 319:24         346:15 373:13          333:4                    330:13,15,21 331:14,
                         322:24                                                                 21 343:5 344:7,16
reasons 303:13                                 rephrase 325:13        respect 311:10 359:8
                        refer 294:19 296:20     326:9                  360:17 364:6             346:2 351:11 356:11
 305:6 340:14                                                                                   357:2 358:19 359:11,
                         369:5
recall 302:17 317:11,                          replace 351:16         responded 348:14          19 363:7 364:15
 13,16 319:10,22
                        reference 348:10        354:10                                          365:22 366:12,20
                                                                      response 322:6
 320:11 321:22          referred 332:11        replaced 302:11         323:14 327:22 346:8      367:15 371:2,10
 323:13,21 324:5         339:5                  316:17 351:7 352:8     348:2 349:6,15,18        372:12,14 373:2,11,
 326:19 327:8,9,21                              353:8 359:3                                     13,22 374:9,11,23,25
 329:11 332:8 333:6     referring 294:20                              responsibilities          375:7,16,19 376:6,
 334:11,20,22,23         295:6 296:19 313:23   replacement 333:23      359:9                    10,18,20 377:7,11,19
 335:6,9,15 336:15,18    318:16,21 331:9        351:25 357:25                                   378:5,17,20 379:9,
                         338:17 341:14                                responsibility
 339:11,24 344:17,19                            358:11                                          15,18,21,25 380:2,4
                                                                       366:22



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                               Appx. 01737
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                    Page 154 of 200 PageID 31307
                                                                                         Index: school..testified
school 297:14           sentence 348:9          skills 304:24           statements 309:22       summarizing
                                                                                                 348:12
Scott 296:15 297:7,     separate 303:16         skipped 346:21          states 342:5 368:18
 13,25 298:6,8                                                                                  Sunday 336:7,10
                        sequence 346:22         Skur 381:4,18           stating 365:15
 299:18,20 302:11,18
                                                                                                supervisory 312:10
 303:14 304:5,14        serve 292:17 297:25     Skybridge 356:2         strategic 373:10
 305:13 306:4 307:4,     299:18 304:14                                                          support 313:3
 14 308:10 309:14,18
                                                Skybridge's 356:3       Street 381:20
 310:8 313:4 317:2,5,
                        served 302:15 317:2                                                     supporting 293:4,9
                                                Skygate 316:13,17,      strike 338:23 340:21
 8 319:11,23 320:19,    services 313:5           20,22                                          surprised 324:20,22
 23 321:15,19,23                                                        string 338:2,16
                         314:23 315:2 316:21
 322:22 323:10                                  soft 288:23 380:6                               sworn 288:14 380:16
                                                                        structural 295:3
 325:24 326:4,13,16     set 290:24 291:5,8,                                                      381:7
                                                sole 307:15 353:24
 327:22 328:18,23        11,13,17 293:15                                structure 290:23
 329:25 332:23 334:3,    298:25 357:17 374:6    sophisticated            291:5,8,14,17 292:4
                                                                                                          T
 23 335:10,17,23         381:6,14                300:16 303:4            293:16,20 296:7
 336:12 339:11,20,25                                                     299:10 312:13
                        setting 291:18 292:4    speak 326:13 370:12                             talked 337:9 365:3
 340:4,13,25 341:21                                                      347:14 352:22
                         299:10                                                                  370:15
 343:15,23 344:5,23,                            speaking 309:25          354:22
 25 345:6,14,18,21      settlement 320:3                                                        talking 294:4,5,10
                                                specific 294:8          structuring 348:25
 347:17 348:20 349:9     323:23 324:3 326:3,                                                     346:11 352:18
                                                 300:23 307:10 312:8
 350:5,10,20 351:7,16    18 328:20 329:2                                struggled 352:14,15,
                                                 321:12                                         task 291:24
 352:9,19 353:8          332:24 333:3,7,15                               16
 354:10 356:21           334:4 335:3,10 336:5   specifically 290:9                              tasked 291:18 292:3
                         367:14 368:4,12
                                                                        stuff 359:25
 357:23,25 358:9,16                              294:9 298:11 299:21
                                                 312:12 329:10          subject 314:7 329:7,    tax 291:7,22 355:13,
 359:3,8,16 360:13,17   settlements 337:3
                                                 332:21 335:20           11                      18
 361:2,19 362:9,19,23
 363:2,6 364:5,13,19    Shared 314:23,25         358:20 360:3 367:10,                           Taylor 290:4,9,25
                         316:20
                                                                        Subscribed 380:16
 365:7,21 366:9,17                               17,19,20 374:21                                 291:10 294:7 296:10
                        shares 300:22                                   subsequently             298:3 300:4,10
Scott's 343:4,12                                specifically--and
                                                                         323:25                  303:23 304:16
 344:5 348:10 349:6      312:11 353:2            353:3
                                                                        substance 334:22         306:12 307:18 309:2,
 354:18 367:13 368:3,   short 332:8 363:15      specifics 310:20
                                                                         344:13 364:20           21 310:3,11,18
 11                                              316:25
                        shortly 327:7 335:9                              369:24 370:8            311:4,10 315:8
Scott--and 364:4                                speculate 306:25                                 316:12 319:13 321:3
                        sign 362:4,10 380:8                             successor 305:13         323:2 324:15 325:4
screen 289:19 308:8                              367:21,23
                                                                         307:4 354:18 362:5      326:5 328:3 333:8
 346:18 366:3,4         signature 302:7
                                                speculation 305:16                               337:14 338:3,18
 368:23                  381:9                                          suddenly 356:14
                                                 306:13 340:7,9                                  339:7 340:6,16
scroll 347:25 349:5,    signed 353:4,7           341:16                 sue 344:22               341:3,15 342:15,21
 15 361:12,23 362:14    significant 331:3       speed 317:12                                     343:19 346:10,14
                                                                        sued 378:15,19
                                                                                                 347:5,11 350:12
Scrolling 348:3         similar 316:9,13,14     spoke 333:17 337:8      suffering 340:18         351:17 352:2,13
 349:7,16 361:14,17,                             344:2 350:23 351:2      341:5                   353:20 354:11,19
 25 362:16              simple 310:2 325:16
                                                                                                 357:3,12 358:3,17
                                                stamped 339:20          suggest 343:22
seeking 299:11          simultaneous                                                             363:18 368:5 369:15
                                                                         376:16
 332:16                  319:18 334:12          stand 362:20,23                                  370:2,24 371:22
                                                 363:2,6                suggestion 365:4         373:19 380:9
Seery 375:17 376:17     singular 322:18
 377:9,21 378:4,15,18                           stands 298:13           suing 345:2             telephone 326:24
                        sir 290:18 296:13
                                                                                                 335:16
select 299:6             300:19 302:8 340:23    start 289:23 290:4      suitable 299:5
                         366:6 372:9             339:20 369:7                                   telling 337:2,3 345:3
send 347:18 380:7,8                                                     suite 356:9 381:20
                                                                                                 364:19
                        sit 299:25 300:19       state 288:8 338:20
sending 341:21           365:2                   381:2,5,18
                                                                        sum 334:22 344:12
                                                                                                terms 333:14
                                                                         364:19
sense 328:13            skiing 359:25           stated 298:4 336:24                             testified 288:16



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                Appx. 01738
      Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                  Page 155 of 200 PageID 31308
                                                                                          Index: testimony..York
 322:25 344:8 354:13    transcript 380:5        underway 353:10          305:10 306:15 313:9,
 365:6,12                                                                11 316:4,6 320:7
                        transfer 353:2          United 368:18
                                                                         322:5 324:7 346:7
testimony 323:20
                        trouble 353:13 371:7    unpredictable            352:6 354:8 358:24
 353:6 359:20 381:7
                                                 349:24,25               365:23 374:7
                        true 381:7
Texas 288:12 368:19
                                                upload 346:22           withdrew 324:2,6
 381:2,5,18             Trust 331:13,19,20,                              326:12
                         25                     usual 289:19
text 350:21 359:17
                                                                        word 330:22 341:10
                        trusted 305:2           UVA 297:16               349:10 365:13
things 312:7 323:5
 342:13 351:20 367:6    trustee 296:16,18,                              words 329:14 365:14
                         20,24 297:7 298:2               V
thought 299:4 303:8
                         299:18,23 300:3,20                             work 371:8 376:22
 304:18,24 308:2
                         304:15 311:23 317:3    vague 296:10 297:8       377:15 378:21
 322:3
                         331:5 345:8 353:4       298:19 307:24 315:8    work-product
thoughts 373:16          366:23                  316:12 323:2 330:21     371:3,15,16 372:19
thousand 320:21         trustees 312:5           344:16 346:2 347:11     373:3,25 374:15
 333:17,20                                       350:12 356:11 357:3,    375:9,21 378:9
                        trusts 332:5             12 363:7 364:15
threaten 344:22                                  365:22 367:15          worked 347:14
                        truth 288:15,16                                  354:22
three-minute 379:7       337:10,12 338:13        369:15 373:20 378:5
                                                valuable 303:8          working 363:11
time 288:10,11          TSG 381:19
 290:10,11 291:19                               version 374:10          works 305:24 353:3
                        Tuesday 311:13
 299:5,17 303:6,22
                                                versions 369:16,19      world 308:22 309:9
 304:2 308:12 311:17    two-month 358:8
                                                                         344:14 345:22
 319:21,23 320:19,25                            vetting 318:12,20
                        two-year 357:23                                  377:24
 321:18 324:9 332:23
                         358:4                  view 348:20 363:9
 335:18 337:20                                                          write 349:23
 339:16 340:5 343:24    type 316:10             views 367:12 368:3,     written 356:24 357:7
 350:19,23 351:2,3                               11
 353:7,21 355:6 358:9   typically 331:5                                 wrong 365:4
 359:2,7 361:8 363:15                           voting--again 353:2
 366:10 367:12                     U                                              Y
 369:14 373:11,18                                        W
 376:5,19 377:6,25      ultimately 320:2
 379:17,20 380:11                                                       years 293:17,19
                         347:3 351:13           wait 311:12,13           296:17 299:3 301:24
times 325:9 334:10,     unbeknownst                                      331:16
 16
                                                wanted 290:5 342:19
                         352:24                  343:17 348:25 350:2    York 363:15 381:20
today 289:14,19         underlying 306:21
 299:25 300:19 316:9
                                                wedding 297:22
                         377:13
 343:2 355:20 365:2                             week's 289:15
                        understand 289:14
Today's 288:9            296:16 302:10          weeks 327:17
told 290:10 323:7,11     307:12 310:7 322:2     WHEREOF 381:13
 337:7 338:8 341:5       325:10 355:24
 344:4,9 345:14,17                              withdraw 325:25
                        understanding            328:19,25 337:2
 351:21 353:12 364:3     291:5 293:8 294:25      367:13 368:3
top 292:10 362:15        295:13 299:19 300:2,
                         18 311:9 312:21        withdrawal 326:17
topic 378:14,18          315:11,23 316:16       withdrawing 324:10
Tower 289:3              317:22,24 333:14        329:5
                         341:13 354:16 363:4
traded 333:20            367:6,8                withdrawn 295:12
                                                 298:15 301:2 303:25


                                 TSG Reporting - Worldwide· · 877-702-9580

                                                                                                Appx. 01739
Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24   Page 156 of 200 PageID 31309




                            EXHIBIT 98




                                                                    Appx. 01740
  Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24        Page 157 of 200 PageID 31310
                                                                                  Page 283
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21

∑2∑∑∑∑IN THE UNITED STATES BANKRUPTCY COURT
∑∑∑∑∑∑FOR THE NORTHERN DISTRICT OF TEXAS
∑3∑∑∑∑∑∑∑∑∑DALLAS DIVISION
∑∑∑-----------------------------
∑4∑∑IN RE:

∑5∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑Chapter 11
∑∑∑HIGHLAND CAPITAL
∑6∑∑MANAGEMENT, L.P.,∑∑∑∑∑∑CASE NO.
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑19-34054-SGI11
∑7
∑∑∑∑∑∑∑∑Debtor.
∑8∑∑------------------------------
∑∑∑HIGHLAND CAPITAL MANAGEMENT, L.P.,
∑9
∑∑∑∑∑∑∑∑Plaintiff,
10∑∑vs.∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑Adversary
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑Proceeding No.
11∑∑JAMES D. DONDERO,∑∑∑∑∑∑∑∑21-03003-sgi

12∑∑∑∑∑∑∑Defendant.
∑∑∑-------------------------------
13

14∑∑∑∑∑∑REMOTE VIDEOTAPED DEPOSITION OF

15∑∑∑∑∑∑∑∑JAMES DONDERO - VOLUME 2

16∑∑∑∑∑∑∑∑∑October 29, 2021

17

18

19

20

21

22

23

24∑∑Reported by:∑Susan S. Klinger, RMR-CRR, CSR

25∑∑Job No. 201874


                            TSG Reporting - Worldwide· · 877-702-9580
                                                                           Appx. 01741
     Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                     Page 158 of 200 PageID 31311
                                                            Page 284                                                                 Page 285
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                          ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2                                                                     ∑2∑∑A P P E A R A N C E S:
∑3                                                                     ∑3∑∑(All appearances via Zoom.)
∑4∑∑∑∑∑∑∑∑∑∑∑October 29, 2021                                          ∑4∑∑Attorneys for the Reorganized Highland Capital
∑5∑∑∑∑∑∑∑∑∑∑∑10:21 a.m.                                                ∑5∑∑Management:
∑6                                                                     ∑6∑∑∑∑John Morris, Esq.
∑7                                                                     ∑7∑∑∑∑Hayley Winograd, Esq.
∑8                                                                     ∑8∑∑∑∑Gregory Demo, Esq.
∑9∑∑∑∑Remote Deposition of JAMES DONDERO, held                         ∑9∑∑∑∑PACHULSKI STANG ZIEHL & JONES
10∑∑before Susan S. Klinger, a Registered Merit                        10∑∑∑∑780 Third Avenue
11∑∑Reporter and Certified Realtime Reporter of the                    11∑∑∑∑New York, New York 10017
12∑∑State of Texas.                                                    12
13                                                                     13∑∑Attorneys for NexPoint Advisors, LP and
14                                                                     14∑∑Highland Capital Management Fund Advisors,
15                                                                     15∑∑L.P.:
16                                                                     16∑∑∑∑Davor Rukavina, Esq.
17                                                                     17∑∑∑∑Thomas Berghman, Esq.
18                                                                     18∑∑∑∑MUNSCH HARDT KOPF & HARR
19                                                                     19∑∑∑∑500 North Akard Street
20                                                                     20∑∑∑∑Dallas, Texas 75201
21                                                                     21
22                                                                     22
23                                                                     23
24                                                                     24
25                                                                     25


                                                            Page 286                                                                 Page 287
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                          ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑Attorneys for Jim Dondero, Nancy Dondero, HCRA,                    ∑2∑∑∑∑∑∑∑∑∑∑∑I N D E X
∑3∑∑and HCMS:                                                          ∑3∑∑WITNESS∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑PAGE
∑4∑∑∑∑Deborah Deitsch-Perez, Esq.                                      ∑4∑∑JAMES DONDERO
∑5∑∑∑∑Michael Aigen, Esq.                                              ∑5∑∑EXAMINATION BY MR. MORRIS∑∑∑∑∑∑∑∑∑∑289
∑6∑∑∑∑STINSON                                                          ∑6∑∑∑∑∑∑∑∑∑E X H I B I T S
∑7∑∑∑∑3102 Oak Lawn Avenue                                             ∑7∑∑No.∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑Page
∑8∑∑∑∑Dallas, Texas 75219                                              ∑8∑∑Exhibit 1∑Original Complaint∑∑∑∑∑∑∑∑466
∑9                                                                     ∑9∑∑Exhibit 2∑NexPoint Complaint∑∑∑∑∑∑∑∑408
10∑∑Attorneys for Dugaboy Investment Trust:                            10∑∑Exhibit 3∑HCMS Complaint∑∑∑∑∑∑∑∑∑∑433
11∑∑∑∑Douglas Draper, Esq.                                             11∑∑Exhibit 4∑Letter, 12/3/20∑∑∑∑∑∑∑∑∑464
12∑∑∑∑Michael Landis, Esq.                                             12∑∑Exhibit 6∑Term note∑∑∑∑∑∑∑∑∑∑∑∑446
13∑∑∑∑HELLER, DRAPER & HORN                                            13∑∑Exhibit 15 NexPoint Advisors Answer∑∑∑∑∑380
14∑∑∑∑650 Poydras Street                                               14∑∑Exhibit 16 HCMS's Answer∑∑∑∑∑∑∑∑∑∑362
15∑∑∑∑New Orleans, Louisiana 70130                                     15∑∑Exhibit 17 HCRE's Answer∑∑∑∑∑∑∑∑∑∑377
16∑∑Attorneys for Marc Kirschner as the trustee for                    16∑∑Exhibit 31 Answer to Complaint∑∑∑∑∑∑∑354
17∑∑the litigation SunTrust:                                           17∑∑Exhibit 35 Incumbency Certificate∑∑∑∑∑∑309
18∑∑∑∑Deborah Newman, Esq.                                             18∑∑Exhibit 37 Incumbency Certificate∑∑∑∑∑∑323
19∑∑∑∑QUINN EMANUEL URQUHART & SULLIVAN                                19∑∑Exhibit 47 NexPoint 30(b)(6) notice∑∑∑∑∑345
20∑∑∑∑51 Madison Avenue                                                20∑∑Exhibit 48 HCMS 30(b)(6) notice∑∑∑∑∑∑∑353
21∑∑∑∑New York, New York 10010                                         21∑∑Exhibit 49 HCRE 30(b)(6) notice∑∑∑∑∑∑∑354
22∑∑Also Present:                                                      22
23∑∑∑∑Dan Elms                                                         23
24∑∑∑∑Aaron Lawrence                                                   24
25∑∑∑∑Patricia Jeffries, Pachulski Stang                               25



                                              TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                            Appx. 01742
                                                                                                                                                YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 159 of 200 PageID 31312
                                                      Page 288                                                            Page 289
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑∑∑∑∑P R O C E E D I N G S                                  ∑2∑∑∑∑looks green to me, I will ask that we stop
∑3∑∑∑∑∑∑∑VIDEOGRAPHER:∑This marks the                            ∑3∑∑∑∑and reconvene when he is not feeling
∑4∑∑∑∑beginning of Video 1 in Volume 2 of the                    ∑4∑∑∑∑nauseous.
∑5∑∑∑∑deposition of James Dondero in the matter                  ∑5∑∑∑∑∑∑∑MR. MORRIS:∑All right.∑I would
∑6∑∑∑∑In Re: Highland Capital Management, L.P.                   ∑6∑∑∑∑like to just begin here.∑We have counsel
∑7∑∑∑∑Today's date is October 29, 2021.∑The time                 ∑7∑∑∑∑on the line for all of the defendants, we
∑8∑∑∑∑on the video monitor is 10:21 a.m.                         ∑8∑∑∑∑have counsel for the plaintiff, and we have
∑9∑∑∑∑∑∑∑Will the court reporter please swear                    ∑9∑∑∑∑counsel for the Highland Litigation Trust,
10∑∑∑∑in the witness.                                            10∑∑∑∑and I think that that is everybody who
11∑∑∑∑∑∑∑∑∑∑JAMES DONDERO,                                       11∑∑∑∑is -- is supposed to be here, so I would
12∑∑having been first duly sworn, testified as                   12∑∑∑∑like to just begin.
13∑∑follows:                                                     13∑∑∑∑∑∑∑∑∑∑∑EXAMINATION
14∑∑∑∑∑∑∑MR. MORRIS:∑Deborah, would you like                     14∑∑BY MR. MORRIS:
15∑∑∑∑to make a statement?                                       15∑∑∑∑Q.∑∑Mr. Dondero, can you hear me okay?
16∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑I didn't know if                     16∑∑∑∑A.∑∑Yes.
17∑∑∑∑you wanted appearances first.∑Sure.∑This                   17∑∑∑∑Q.∑∑Okay.∑And are you feeling well
18∑∑∑∑is Deborah Deitsch-Perez from Stinson.∑I'm                 18∑∑enough to begin today's deposition?
19∑∑∑∑counsel for Mr. Dondero, Nancy Dondero,                    19∑∑∑∑A.∑∑Yes.
20∑∑∑∑HCRE and HCMS in this deposition.                          20∑∑∑∑Q.∑∑Okay.∑I understand that you are not
21∑∑∑∑∑∑∑I want to apologize for everybody                       21∑∑feeling well.∑And I want you to know that I do
22∑∑∑∑that we're starting late.∑Mr. Dondero was                  22∑∑not want to proceed with this deposition unless
23∑∑∑∑under the weather.∑It is -- he has taken                   23∑∑you believe that you are physically and
24∑∑∑∑something, so he should not have to leave                  24∑∑mentally able to participate to the best of
25∑∑∑∑the deposition, but if at any point he                     25∑∑your ability.∑Okay?∑Do you understand that?
                                                      Page 290                                                            Page 291
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑A.∑∑Yes.                                                   ∑2∑∑∑∑Q.∑∑And we are going to refer to that
∑3∑∑∑∑Q.∑∑So if at any time you don't feel                       ∑3∑∑entity and that entity only today as Highland;
∑4∑∑like you can continue, I would rather adjourn                ∑4∑∑is that okay?
∑5∑∑to one day next week to complete the deposition              ∑5∑∑∑∑A.∑∑Yes.
∑6∑∑rather than forcing you to do something that                 ∑6∑∑∑∑Q.∑∑When did you found -- when did you
∑7∑∑you don't believe you're capable of doing.                   ∑7∑∑create Highland?
∑8∑∑Okay?                                                        ∑8∑∑∑∑A.∑∑'94.
∑9∑∑∑∑A.∑∑Yes.∑Yes.∑I did throw up twice                         ∑9∑∑∑∑Q.∑∑And did you serve as Highland's
10∑∑last night.                                                  10∑∑president from 1994 until on or around January
11∑∑∑∑Q.∑∑Okay.                                                  11∑∑9th, 2020?
12∑∑∑∑A.∑∑I imagine we could go for -- let's                     12∑∑∑∑A.∑∑Yes.
13∑∑shoot for four hours today, you know, maybe --               13∑∑∑∑Q.∑∑Did -- can you describe in your own
14∑∑maybe five, I don't know, but if we don't                    14∑∑words what the business of Highland was while
15∑∑finish --                                                    15∑∑you were president?
16∑∑∑∑Q.∑∑I don't want to --                                     16∑∑∑∑A.∑∑We were largely below investment
17∑∑∑∑A.∑∑-- we will do the rest next week.                      17∑∑grade, credit strap, and we diversified over
18∑∑∑∑Q.∑∑Okay.∑I don't want to put an                           18∑∑the years to become more of an alternative
19∑∑arbitrary time on it.∑You tell me if you are                 19∑∑asset manager in a variety of formats.
20∑∑unable to continue.∑Okay?∑Is that fair?                      20∑∑∑∑Q.∑∑And --
21∑∑∑∑A.∑∑Yes.∑That is my estimate at this                       21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑I'm sorry, John,
22∑∑point.                                                       22∑∑∑∑one sec.∑This was set up by someone a lot
23∑∑∑∑Q.∑∑Okay.∑You founded Highland Capital                     23∑∑∑∑shorter than Mr. Dondero.∑Let me just take
24∑∑Management, L.P.; correct?                                   24∑∑∑∑one minute to adjust it.
25∑∑∑∑A.∑∑Yes.                                                   25∑∑∑∑∑∑∑MR. MORRIS:∑May I proceed, Deborah?

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01743
                                                                                                                                     YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 160 of 200 PageID 31313
                                                      Page 292                                                          Page 293
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑(Nods head.)                         ∑2∑∑manager; is that fair?
∑3∑∑∑∑Q.∑∑Okay.∑Mr. Dondero, at its peak,                        ∑3∑∑∑∑A.∑∑Yes.
∑4∑∑what is the -- the largest value of assets that              ∑4∑∑∑∑Q.∑∑And you manage money on behalf of
∑5∑∑Highland had under management while you were                 ∑5∑∑thousands of people; isn't that right?
∑6∑∑president?                                                   ∑6∑∑∑∑A.∑∑Yes.
∑7∑∑∑∑A.∑∑35 billion.                                            ∑7∑∑∑∑Q.∑∑And as a general matter, you know
∑8∑∑∑∑Q.∑∑And do you recall what year that                       ∑8∑∑how to read and understand balance sheets,
∑9∑∑was?                                                         ∑9∑∑don't you?
10∑∑∑∑A.∑∑Not exactly.                                           10∑∑∑∑A.∑∑Yes.
11∑∑∑∑Q.∑∑Was it before the 2008 financial                       11∑∑∑∑Q.∑∑You have signed promissory --
12∑∑crisis?                                                      12∑∑promissory notes before, haven't you?
13∑∑∑∑A.∑∑Yes.                                                   13∑∑∑∑A.∑∑Yes.
14∑∑∑∑Q.∑∑Okay.∑So you were the president of                     14∑∑∑∑Q.∑∑Is it fair to say you have signed
15∑∑Highland for about 25 years; is that right?                  15∑∑hundreds of promissory notes during the 25-year
16∑∑∑∑A.∑∑Yes, 25, 26, whatever.                                 16∑∑period that you were the president of Highland?
17∑∑∑∑Q.∑∑And do you consider yourself to be                     17∑∑∑∑A.∑∑No.
18∑∑expert in the area of money management?                      18∑∑∑∑Q.∑∑Is it fair to say that you signed
19∑∑∑∑A.∑∑Yeah, on the things that we focus                      19∑∑dozens of promissory notes during the time that
20∑∑on.                                                          20∑∑you were president of Highland?
21∑∑∑∑Q.∑∑You are a sophisticated investor;                      21∑∑∑∑A.∑∑Yeah, dozens is probably fair.
22∑∑right?                                                       22∑∑∑∑Q.∑∑Okay.∑And is it fair to say that
23∑∑∑∑A.∑∑Yes.∑I would believe I'm                               23∑∑the aggregate principal amount of the
24∑∑categorized as such.                                         24∑∑promissory notes that you signed while you were
25∑∑∑∑Q.∑∑And you are a sophisticated money                      25∑∑president of Highland likely exceeded
                                                      Page 294                                                          Page 295
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑$200 million?                                                ∑2∑∑∑∑∑∑∑MR. MORRIS:∑Sure.
∑3∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Objection to the                     ∑3∑∑∑∑Q.∑∑Mr. Dondero, you borrowed money from
∑4∑∑∑∑form.                                                      ∑4∑∑Highland Capital Management Services; correct?
∑5∑∑∑∑A.∑∑I don't have a basis for knowing                       ∑5∑∑∑∑A.∑∑I'm sorry, it sounds like at first
∑6∑∑that.                                                        ∑6∑∑you were asking me, did Highland Capital
∑7∑∑∑∑Q.∑∑You do know that it is more than                       ∑7∑∑Services borrow money from Highland.∑Now
∑8∑∑$100 million, don't you?                                     ∑8∑∑you're asking me if I borrowed money from
∑9∑∑∑∑A.∑∑No.                                                    ∑9∑∑Services?
10∑∑∑∑Q.∑∑Do you owe today Highland Capital                      10∑∑∑∑Q.∑∑Yeah, let me -- let me rephrase the
11∑∑Management Services more than $75 million?                   11∑∑question, sir, because if it is not clear, that
12∑∑∑∑A.∑∑I don't know what the amount is. I                     12∑∑is my fault, and I apologize.
13∑∑don't believe it is that much.                               13∑∑∑∑∑∑∑Did you -- have you borrowed money
14∑∑∑∑Q.∑∑Are the obligations to Highland                        14∑∑from Highland Capital Management Services?
15∑∑Capital --                                                   15∑∑∑∑A.∑∑I believe so.
16∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Hold on.∑Hold                        16∑∑∑∑Q.∑∑Okay.∑Do you know the aggregate
17∑∑∑∑on.∑My connection just disappeared.                        17∑∑principal amount that is outstanding today,
18∑∑∑∑∑∑∑MR. MORRIS:∑Okay.                                       18∑∑ballpark?
19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Okay, I'm back.                      19∑∑∑∑A.∑∑No.
20∑∑∑∑Q.∑∑Okay.∑Did the -- did the                               20∑∑∑∑Q.∑∑Are the obligations that you have to
21∑∑obligations that you have to Highland Capital                21∑∑Highland Capital Management Services reflected
22∑∑Management Services, are they reflected in                   22∑∑in promissory notes where you're the maker and
23∑∑promissory notes?                                            23∑∑Highland Capital Management Services is the
24∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Could you repeat                     24∑∑payee?
25∑∑∑∑that question?                                             25∑∑∑∑A.∑∑Please repeat that question.

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01744
                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 161 of 200 PageID 31314
                                                      Page 296                                                          Page 297
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑Q.∑∑Are you the maker on promissory                        ∑2∑∑∑∑Q.∑∑Okay.∑When you were in control of
∑3∑∑notes in favor of Highland Capital Management                ∑3∑∑Highland, you personally decided who was hired
∑4∑∑Services, Inc.?                                              ∑4∑∑at that company; is that fair?
∑5∑∑∑∑A.∑∑I don't know.∑I believe -- I                           ∑5∑∑∑∑A.∑∑Sometimes, in senior positions.
∑6∑∑believe so, or I believe I have in the past,                 ∑6∑∑∑∑Q.∑∑Okay.∑Did your duties as president
∑7∑∑but I don't know.                                            ∑7∑∑of Highland include being familiar with the
∑8∑∑∑∑Q.∑∑Do you have any -- any estimate as                     ∑8∑∑debts and obligations that were owed to
∑9∑∑to how much money you owe Highland Capital                   ∑9∑∑Highland?
10∑∑Management Services, Inc. today?                             10∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Asked and                            11∑∑∑∑form.
12∑∑∑∑answered.                                                  12∑∑∑∑A.∑∑I mean, generally.
13∑∑∑∑A.∑∑No.                                                    13∑∑∑∑Q.∑∑Okay.∑Did you ever do anything to
14∑∑∑∑Q.∑∑Can you say if it is more or less                      14∑∑familiarize yourself with the debts and
15∑∑than $50 million?                                            15∑∑obligations that were owed to Highland?
16∑∑∑∑A.∑∑I don't know.                                          16∑∑∑∑A.∑∑Are you referring to the affiliated
17∑∑∑∑Q.∑∑Can you say if it is more or less                      17∑∑notes or --
18∑∑than $25 million?                                            18∑∑∑∑Q.∑∑Sure.
19∑∑∑∑A.∑∑I don't know.                                          19∑∑∑∑A.∑∑-- or what -- what are --
20∑∑∑∑Q.∑∑As a general matter, is it fair to                     20∑∑∑∑Q.∑∑I was -- I was asking -- I
21∑∑say that you know how to read and understand                 21∑∑apologize.∑I don't mean to step on your words.
22∑∑promissory notes?                                            22∑∑∑∑A.∑∑No, you just -- because I don't
23∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        23∑∑think Highland had a lot of other obligations
24∑∑∑∑form.                                                      24∑∑due from other parties, and the affiliated
25∑∑∑∑A.∑∑In general, yes.                                       25∑∑notes in aggregate were always de minimis to
                                                      Page 298                                                          Page 299
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑Highland than now, at any time.                              ∑2∑∑was charged with the responsibility of knowing
∑3∑∑∑∑Q.∑∑It is your -- it is your position                      ∑3∑∑the number and amount of affiliate loans that
∑4∑∑that the affiliate notes to Highland were de                 ∑4∑∑Highland carried on its balance sheet?
∑5∑∑minimis in amount?                                           ∑5∑∑∑∑A.∑∑Sure.
∑6∑∑∑∑A.∑∑Yes.                                                   ∑6∑∑∑∑Q.∑∑Can you identify the people who were
∑7∑∑∑∑Q.∑∑And how do you define de minimus for                   ∑7∑∑responsible for that?
∑8∑∑that purpose?                                                ∑8∑∑∑∑A.∑∑The people in accounting responsible
∑9∑∑∑∑A.∑∑I believe the balance sheet of                         ∑9∑∑for tracking assets and liabilities in
10∑∑Highland today for the last three years, four                10∑∑preparing all the audited financial statements
11∑∑years, five years has been between 5 and                     11∑∑every year and the quarterly unaudited
12∑∑$600 million.∑I believe the notes have never                 12∑∑financial statements that were prepared and the
13∑∑been more than 8 or 10 or 12 percent of that                 13∑∑monthly operating reports.
14∑∑number.                                                      14∑∑∑∑Q.∑∑Can you -- can you name any names of
15∑∑∑∑Q.∑∑And you believe that 8 or 10 or                        15∑∑the people who had the responsibilities that
16∑∑12 percent of Highland's asset base you                      16∑∑you just described?
17∑∑would -- you would define as de minimis?                     17∑∑∑∑A.∑∑I think it changed regularly, but it
18∑∑∑∑A.∑∑Yes.                                                   18∑∑would have been people in Frank's group in
19∑∑∑∑Q.∑∑Okay.∑As -- as president of                            19∑∑accounting.
20∑∑Highland, did you ever do anything to                        20∑∑∑∑Q.∑∑Did Frank have any responsibility
21∑∑familiarize yourself with the number and amount              21∑∑for knowing and understanding the affiliate
22∑∑of affiliate loans that Highland carried on its              22∑∑loans that Highland carried on its balance
23∑∑books and records?                                           23∑∑sheet?
24∑∑∑∑A.∑∑Not that I can recall.                                 24∑∑∑∑A.∑∑Sure.∑I -- as CFO he had to sign
25∑∑∑∑Q.∑∑Was there anybody at Highland who                      25∑∑off on the audited financials and rep letters

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01745
                                                                                                                                   YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                             Page 162 of 200 PageID 31315
                                                      Page 300                                                         Page 301
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑and -- yes.                                                  ∑2∑∑responsibility for knowing and understanding
∑3∑∑∑∑Q.∑∑And can you -- can you identify the                    ∑3∑∑the affiliate loans that Highland carried on
∑4∑∑name of any person in the accounting group in,               ∑4∑∑its balance sheets?
∑5∑∑let's say, the three years prior to the                      ∑5∑∑∑∑A.∑∑No.
∑6∑∑bankruptcy who had responsibility for knowing                ∑6∑∑∑∑Q.∑∑And to the best of your knowledge as
∑7∑∑and understanding the scope of affiliate loans               ∑7∑∑you sit here today, you never personally did
∑8∑∑that Highland carried on its balance sheet?                  ∑8∑∑anything to know and understand the extent and
∑9∑∑∑∑A.∑∑No, I would just be speculating but                    ∑9∑∑scope of the affiliate loans that Highland
10∑∑it would be -- the senior people in Frank's                  10∑∑carried on its balance sheet; is that right?
11∑∑group would be responsible for the financial                 11∑∑∑∑A.∑∑Correct.
12∑∑statements.                                                  12∑∑∑∑Q.∑∑Okay.∑You appointed Mr. Waterhouse
13∑∑∑∑Q.∑∑Are you able to name the people, the                   13∑∑as Highland's CFO; is that right?
14∑∑senior people in Frank's group in the couple of              14∑∑∑∑A.∑∑I think it was appointed and
15∑∑years prior to the bankruptcy?                               15∑∑recommended by Patrick Boyce, but I agreed with
16∑∑∑∑A.∑∑Yes, but I don't know -- like                          16∑∑the selection.
17∑∑David Klos was a senior person, Cliff Stoops                 17∑∑∑∑Q.∑∑And you --
18∑∑was a senior person.∑There were a couple                     18∑∑∑∑A.∑∑That -- (speaking simultaneously.)
19∑∑up-and-comers below them, but who did the                    19∑∑∑∑Q.∑∑I apologize, are you done?
20∑∑financials -- how Frank assigned the work in                 20∑∑∑∑A.∑∑I'm just saying that was a long time
21∑∑his group, I have no idea.                                   21∑∑ago, but I don't remember the details exactly.
22∑∑∑∑Q.∑∑Did you ever ask?                                      22∑∑∑∑Q.∑∑But you had the authority and you
23∑∑∑∑A.∑∑No.                                                    23∑∑used that authority to appoint Frank as CFO;
24∑∑∑∑Q.∑∑Do you have any knowledge as you sit                   24∑∑correct?
25∑∑here today who within Frank's group had                      25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑There's a lag in
                                                      Page 302                                                         Page 303
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑the video.∑I don't know if it matters, but                 ∑2∑∑duties as chief financial officer?
∑3∑∑∑∑for a while Jim was frozen.∑And I know                     ∑3∑∑∑∑A.∑∑Yes.
∑4∑∑∑∑because -- since there was voice and no --                 ∑4∑∑∑∑Q.∑∑Can you recall anything that
∑5∑∑∑∑his mouth wasn't moving.∑So let's just --                  ∑5∑∑Mr. Waterhouse did in his capacity as
∑6∑∑∑∑if the videographer sees there is a                        ∑6∑∑Highland's CFO that did not comport with your
∑7∑∑∑∑problem, please let us know.                               ∑7∑∑expectations?
∑8∑∑∑∑Q.∑∑I --                                                   ∑8∑∑∑∑A.∑∑I think we will talk about some of
∑9∑∑∑∑A.∑∑Yes.∑I'm sorry, could you just                         ∑9∑∑those today.
10∑∑repeat the question regarding Frank, please?                 10∑∑∑∑Q.∑∑Okay.∑Do you have any reason to
11∑∑∑∑Q.∑∑Sure.                                                  11∑∑believe that Mr. Waterhouse ever breached his
12∑∑∑∑∑∑∑As the president of Highland, did                       12∑∑duties to Highland during the time that you
13∑∑you have the authority and did you exercise                  13∑∑served as president?
14∑∑that authority to appoint him as Highland's                  14∑∑∑∑∑∑∑COURT REPORTER:∑We can't hear you
15∑∑CFO?                                                         15∑∑∑∑speaking.
16∑∑∑∑A.∑∑Yes.                                                   16∑∑∑∑Q.∑∑We haven't heard any portion of your
17∑∑∑∑Q.∑∑Okay.∑Do you recall when you                           17∑∑answer, Mr. Dondero.
18∑∑appointed Mr. Waterhouse CFO of Highland?                    18∑∑∑∑∑∑∑MR. MORRIS:∑I don't know if people
19∑∑∑∑A.∑∑No.                                                    19∑∑∑∑can -- can hear, but I cannot hear
20∑∑∑∑Q.∑∑Was it more than five years prior to                   20∑∑∑∑Mr. Dondero.
21∑∑the bankruptcy?                                              21∑∑∑∑∑∑∑COURT REPORTER:∑I can't either.
22∑∑∑∑A.∑∑Yes.                                                   22∑∑∑∑∑∑∑MR. MORRIS:∑Yeah, Deborah, can you
23∑∑∑∑Q.∑∑As the president -- during the time                    23∑∑∑∑speak, please.
24∑∑that you served as president of Highland, did                24∑∑∑∑∑∑∑COURT REPORTER:∑They're on the same
25∑∑you believe that Mr. Waterhouse fulfilled his                25∑∑∑∑speaker.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                              Appx. 01746
                                                                                                                                  YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 163 of 200 PageID 31316
                                                      Page 304                                                           Page 305
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑∑∑∑VIDEOGRAPHER:∑Do we want to go off                      ∑2∑∑that you were president, do you have any reason
∑3∑∑∑∑the record?                                                ∑3∑∑to believe that Mr. Waterhouse breached his
∑4∑∑∑∑∑∑∑MR. MORRIS:∑Yes, please.                                ∑4∑∑duties to Highland?
∑5∑∑∑∑∑∑∑VIDEOGRAPHER:∑Off the record,                           ∑5∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Asked and
∑6∑∑∑∑10:41.                                                     ∑6∑∑∑∑answered.∑This is the third time.
∑7∑∑∑(Recess taken 10:41 a.m. to 10:47 a.m.)                     ∑7∑∑∑∑A.∑∑No.
∑8∑∑∑∑∑∑∑VIDEOGRAPHER:∑Back on the record,                       ∑8∑∑∑∑∑∑∑MR. MORRIS:∑It is actually not.
∑9∑∑∑∑10:47.                                                     ∑9∑∑∑∑Q.∑∑But thank you, Mr. Dondero. I
10∑∑∑∑Q.∑∑Okay.∑Let me just ask the question                     10∑∑appreciate that.
11∑∑again so the record is clean, Mr. Dondero.                   11∑∑∑∑∑∑∑After you ceased to be president of
12∑∑∑∑∑∑∑Do you have any reason to believe as                    12∑∑Highland, do you have any reason to believe
13∑∑you sit here right now that Mr. Waterhouse ever              13∑∑that Mr. Waterhouse breached his duties to
14∑∑breached his duties to Highland during the time              14∑∑Highland?
15∑∑that you served as president?                                15∑∑∑∑A.∑∑Breached his duties to -- I don't --
16∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Asked and                            16∑∑I don't know if it is -- I don't want to -- I
17∑∑∑∑answered.                                                  17∑∑don't want to make a judgment overall.∑When we
18∑∑∑∑A.∑∑Yeah, I think I did ask and answer                     18∑∑talk about the notes we can make conclusions
19∑∑that.∑Again, not intentionally, not                          19∑∑then.
20∑∑maliciously.∑I am -- I guess things we're                    20∑∑∑∑Q.∑∑All right.∑But you're not able to
21∑∑going to talk about today are for periods of                 21∑∑tell me in response to my question whether you
22∑∑time after I was president, so...                            22∑∑believe today that Mr. Waterhouse breached his
23∑∑∑∑Q.∑∑Right.∑That is going to be the next                    23∑∑duties to Highland after the time that you
24∑∑question that I ask.∑But to be clear -- I just               24∑∑served as president?
25∑∑want to have a clear record -- during the time               25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
                                                      Page 306                                                           Page 307
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑form of the question.                                      ∑2∑∑major- -- withdrawn.
∑3∑∑∑∑A.∑∑I don't want to comment off the top                    ∑3∑∑∑∑∑∑∑Do you directly or indirectly own a
∑4∑∑of my head, but I've highlighted that we will                ∑4∑∑majority of the ownership interests in HCMFA?
∑5∑∑discuss it around the note issue.                            ∑5∑∑∑∑A.∑∑I believe so.
∑6∑∑∑∑Q.∑∑Okay.∑You are familiar with an                         ∑6∑∑∑∑Q.∑∑Okay.∑And do you control HCMFA?
∑7∑∑entity called Highland Capital Management Fund               ∑7∑∑∑∑A.∑∑Yes.
∑8∑∑Advisors, L.P.; is that correct?                             ∑8∑∑∑∑Q.∑∑And do you know when HCMFA was
∑9∑∑∑∑A.∑∑Yes.                                                   ∑9∑∑created?
10∑∑∑∑Q.∑∑And we're going to refer to that                       10∑∑∑∑A.∑∑No, I do not.
11∑∑entity as HCMFA.∑Is that okay?                               11∑∑∑∑Q.∑∑Do you know if it was before or
12∑∑∑∑A.∑∑Yes.                                                   12∑∑after 2010?
13∑∑∑∑Q.∑∑Do you know who owns HCMFA?                            13∑∑∑∑A.∑∑I don't know.
14∑∑∑∑A.∑∑I believe it is myself and                             14∑∑∑∑Q.∑∑Have you controlled HCMFA since the
15∑∑Mark Okada.                                                  15∑∑time it was created?
16∑∑∑∑Q.∑∑Okay.∑And do you have an                               16∑∑∑∑A.∑∑I believe so, but I don't know for
17∑∑understanding as to -- as to the percentage of               17∑∑sure.
18∑∑each of your interests, ownership interests in               18∑∑∑∑Q.∑∑Can you think of any period of time
19∑∑HCMFA?                                                       19∑∑when you didn't control HCMFA?
20∑∑∑∑A.∑∑No, and I don't know the entities.                     20∑∑∑∑A.∑∑I don't know.∑I don't remember the
21∑∑I don't know if I own it directly or through                 21∑∑ownership structure prior and I don't remember
22∑∑Dugaboy.∑And I do believe Okada tends to use                 22∑∑when it started, so I don't know.
23∑∑his trusts, but I don't know the percentages                 23∑∑∑∑Q.∑∑Okay.∑I'm asking about control and
24∑∑either.                                                      24∑∑not ownership.
25∑∑∑∑Q.∑∑Do you own a -- do you own a                           25∑∑∑∑∑∑∑Can you think of any period of time

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01747
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 164 of 200 PageID 31317
                                                      Page 308                                                           Page 309
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑when you did not control HCMFA?                              ∑2∑∑have at HCMFA today?
∑3∑∑∑∑A.∑∑I don't know.                                          ∑3∑∑∑∑A.∑∑I know I'm the portfolio manager on
∑4∑∑∑∑Q.∑∑Okay.∑Can you tell me what the                         ∑4∑∑a bunch of the funds, one of usually two or
∑5∑∑nature of HCMFA's business is?                               ∑5∑∑three portfolio managers, and I believe I'm the
∑6∑∑∑∑A.∑∑It largely housed our mutual funds.                    ∑6∑∑president, but I don't know beyond that.
∑7∑∑∑∑Q.∑∑What does it mean to house mutual                      ∑7∑∑∑∑Q.∑∑Okay.∑Did Frank Waterhouse serve as
∑8∑∑funds?                                                       ∑8∑∑treasurer of HCMFA at any point in time?
∑9∑∑∑∑A.∑∑It managed -- it managed the mutual                    ∑9∑∑∑∑A.∑∑I don't know.∑I don't know. I
10∑∑funds from a portfolio asset side and captured               10∑∑just -- I don't know.∑I don't remember.
11∑∑the management fees as the advisor or sub                    11∑∑∑∑∑∑∑MR. MORRIS:∑Can I ask my -- my
12∑∑advisor -- I can't remember the structure. I                 12∑∑∑∑colleague to please put up a document that
13∑∑can't remember if it was the advisor and                     13∑∑∑∑was premarked as Exhibit 35 to see if I can
14∑∑Highland was the sub advisor or vice versa, but              14∑∑∑∑refresh your recollection.
15∑∑in general, a good portion, or most of the                   15∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Is that in the
16∑∑portfolio team that managed the mutual funds                 16∑∑∑∑book that you sent over?
17∑∑was employed at HCMFA.                                       17∑∑∑∑∑∑∑MR. MORRIS:∑No.∑She will post it
18∑∑∑∑Q.∑∑Do you have a title with HCMFA                         18∑∑∑∑and she will put it in the chat room.
19∑∑today?                                                       19∑∑∑∑Q.∑∑Are you able to see that,
20∑∑∑∑A.∑∑I don't know.                                          20∑∑Mr. Dondero?
21∑∑∑∑Q.∑∑Do you know who the president of                       21∑∑∑∑A.∑∑Yes.
22∑∑HCMFA is?                                                    22∑∑∑∑Q.∑∑Can you see that this is an
23∑∑∑∑A.∑∑I would believe -- I would -- I                        23∑∑incumbency certificate?
24∑∑would think I am, but I don't know.                          24∑∑∑∑A.∑∑Yes.
25∑∑∑∑Q.∑∑Do you know of any title that you                      25∑∑∑∑Q.∑∑Do you know what an incumbency
                                                      Page 310                                                           Page 311
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑certificate is?                                              ∑2∑∑∑∑Q.∑∑Did you, in your capacity as the
∑3∑∑∑∑A.∑∑I'm reading it here for a second. I                    ∑3∑∑person who was in control of HCMFA, appoint
∑4∑∑guess it is an officer statement or signature                ∑4∑∑Mr. Waterhouse as the treasurer of that entity?
∑5∑∑authority, or some combination thereof.                      ∑5∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑6∑∑∑∑Q.∑∑Is that your signature at the bottom                   ∑6∑∑∑∑form.
∑7∑∑of this document?                                            ∑7∑∑∑∑A.∑∑It appears to me that that's what
∑8∑∑∑∑A.∑∑Yes.                                                   ∑8∑∑this incumbency certificate does, but...
∑9∑∑∑∑Q.∑∑And do you see that this is an                         ∑9∑∑∑∑Q.∑∑Is it fair to say that you knew for
10∑∑incumbency certificate for HCMFA that you                    10∑∑at least a few years prior to the petition date
11∑∑signed effective as of April 11th, 2019?                     11∑∑that Mr. Waterhouse was simultaneously serving
12∑∑∑∑A.∑∑Yes.                                                   12∑∑as Highland's CFO and HCMFA's treasurer?
13∑∑∑∑Q.∑∑Do you see that Frank Waterhouse is                    13∑∑∑∑A.∑∑No.∑I mean, like I said, I don't
14∑∑identified as the treasurer of HCMFA as of that              14∑∑remember, and a lot of the officers had
15∑∑date?                                                        15∑∑multiple roles and multiple entities.∑I mean,
16∑∑∑∑A.∑∑Yes.                                                   16∑∑it is not surprising, but I didn't have any
17∑∑∑∑Q.∑∑Does that refresh your recollection                    17∑∑recollection.
18∑∑that Mr. Waterhouse served as the treasurer of               18∑∑∑∑Q.∑∑Are you aware that Mr. Waterhouse
19∑∑HCMFA?                                                       19∑∑served in any capacity in the Highland universe
20∑∑∑∑A.∑∑It seems to be an authoritative                        20∑∑of companies other than as CFO of Highland
21∑∑document, but I didn't have a recollection.                  21∑∑Capital Management, L.P.?
22∑∑∑∑Q.∑∑Do you know of anybody else who has                    22∑∑∑∑A.∑∑I would -- I would assume he would
23∑∑ever served as the treasurer of HCMFA other                  23∑∑have a position like this in multiple other
24∑∑than Mr. Waterhouse?                                         24∑∑entities, but I don't know which ones or what
25∑∑∑∑A.∑∑I don't recall.                                        25∑∑titles he would have off the top of my head.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01748
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 165 of 200 PageID 31318
                                                      Page 312                                                           Page 313
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑Q.∑∑Is it fair to say, though, that he                     ∑2∑∑is that right?
∑3∑∑wouldn't have obtained any of those titles                   ∑3∑∑∑∑A.∑∑That is correct.
∑4∑∑without your knowledge and approval?                         ∑4∑∑∑∑Q.∑∑And you can't identify any title
∑5∑∑∑∑A.∑∑It is -- it is fair to say he was --                   ∑5∑∑that Mr. Waterhouse held during the time that
∑6∑∑he had -- the lawyers or whoever worked on                   ∑6∑∑you served as Highland's president other than
∑7∑∑general corporate structuring, Frank was a                   ∑7∑∑CFO of Highland.∑Do I have that right?
∑8∑∑senior officer in good standing, so they would               ∑8∑∑∑∑A.∑∑No, I don't think that is fair.
∑9∑∑have used him as appropriate in different                    ∑9∑∑∑∑Q.∑∑Okay.
10∑∑things.                                                      10∑∑∑∑A.∑∑I mean -- I mean, he was CFO, but he
11∑∑∑∑∑∑∑So to that extent, I guess I approve                    11∑∑was other things before he was CFO.∑And as we
12∑∑it, but I sign hundreds of things like this.                 12∑∑were just saying, he's -- he's treasurer on
13∑∑Would -- you know, would I have been                         13∑∑this incumbency certificate, but I think he
14∑∑specifically aware or remember -- remember it                14∑∑might have been on other incumbency
15∑∑is a very low likelihood.                                    15∑∑certificates, so I think your -- your summary
16∑∑∑∑Q.∑∑Is there any position that                             16∑∑was too narrow.
17∑∑Mr. Waterhouse has ever held that you learned                17∑∑∑∑Q.∑∑Okay.∑Can you identify any position
18∑∑about and you objected to on the grounds that                18∑∑that Mr. Waterhouse held at the same time that
19∑∑you hadn't approved it?                                      19∑∑he is CFO of Highland other than treasurer of
20∑∑∑∑A.∑∑No, not that I recall.                                 20∑∑HCMFA as reflected on this document?
21∑∑∑∑Q.∑∑Okay.∑Do you know if Mr. Waterhouse                    21∑∑∑∑A.∑∑I can't recall, but I imagine there
22∑∑held any positions with any of the retail                    22∑∑to be others.
23∑∑funds?                                                       23∑∑∑∑Q.∑∑And to the extent there are others,
24∑∑∑∑A.∑∑I don't know.                                          24∑∑is it fair to say that you knew at the time
25∑∑∑∑Q.∑∑He may have, you just don't recall;                    25∑∑that Mr. Waterhouse was serving in more than
                                                      Page 314                                                           Page 315
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑one role?                                                    ∑2∑∑changes.∑With the formation of Skyview, I
∑3∑∑∑∑A.∑∑Yes.                                                   ∑3∑∑don't know if there was changes.∑I'm not
∑4∑∑∑∑Q.∑∑Okay.∑And in his capacity as CFO of                    ∑4∑∑aware.
∑5∑∑Highland, did he report directly to you?                     ∑5∑∑∑∑Q.∑∑Have you considered firing
∑6∑∑∑∑A.∑∑Yes.                                                   ∑6∑∑Mr. Waterhouse from any of the positions that
∑7∑∑∑∑Q.∑∑In his capacity as treasurer of                        ∑7∑∑he holds with any of the companies that were
∑8∑∑HCMFA, did he report directly to you?                        ∑8∑∑formerly affiliated with Highland?
∑9∑∑∑∑A.∑∑Yeah, it appears that, yes, that is                    ∑9∑∑∑∑A.∑∑No.
10∑∑how it was structured.                                       10∑∑∑∑Q.∑∑As the president of HCMFA --
11∑∑∑∑Q.∑∑Can you think of any position that                     11∑∑withdrawn.
12∑∑Mr. Waterhouse ever held in the Highland family              12∑∑∑∑∑∑∑As the person who was in control of
13∑∑of companies where he didn't report directly to              13∑∑HCMFA, did you have any responsibility for
14∑∑you?                                                         14∑∑being familiar with HCMFA's debts and
15∑∑∑∑A.∑∑I can't -- I can't think of any.                       15∑∑obligations?
16∑∑∑∑Q.∑∑Is Mr. Waterhouse the treasurer of                     16∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
17∑∑HCMFA today?                                                 17∑∑∑∑form.
18∑∑∑∑A.∑∑I don't know.∑I'm not aware of any                     18∑∑∑∑A.∑∑I don't know.
19∑∑changes, nor did I orchestrate any changes, but              19∑∑∑∑Q.∑∑Did you ever do anything in your
20∑∑I don't know for sure.                                       20∑∑capacity as the person in control of HCMFA to
21∑∑∑∑Q.∑∑Can you identify any position that                     21∑∑familiarize yourself with HCMFA's debts and
22∑∑Mr. Waterhouse holds with any former affiliated              22∑∑obligations?
23∑∑company of Highland today?                                   23∑∑∑∑A.∑∑Not during -- I mean, not prior to
24∑∑∑∑A.∑∑Again, I'm not aware of any changes,                   24∑∑bankruptcy.
25∑∑nor did I orchestrate or precipitate any                     25∑∑∑∑Q.∑∑So before the bankruptcy, you didn't

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01749
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 166 of 200 PageID 31319
                                                      Page 316                                                           Page 317
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑take any steps to familiarize yourself with                  ∑2∑∑∑∑Q.∑∑How do you define "significance"?
∑3∑∑HCMFA's debts and obligations.∑Do I have that                ∑3∑∑∑∑A.∑∑Like waiving fees on a mutual fund,
∑4∑∑right?                                                       ∑4∑∑purchasing another mutual fund, yeah, things
∑5∑∑∑∑A.∑∑Correct, not specifically.                             ∑5∑∑like that.
∑6∑∑∑∑Q.∑∑Okay.∑Who was responsible for                          ∑6∑∑∑∑Q.∑∑Was there any document or policy
∑7∑∑knowing and understanding the scope and extent               ∑7∑∑that you are aware of that specifically
∑8∑∑of HCMFA's debts and obligations?                            ∑8∑∑identifies the scope of Mr. Waterhouse's
∑9∑∑∑∑A.∑∑That would have fallen on Frank and                    ∑9∑∑authority as the treasurer of HCMFA?
10∑∑his group.                                                   10∑∑∑∑A.∑∑No.
11∑∑∑∑Q.∑∑Okay.∑Do you have an understanding                     11∑∑∑∑Q.∑∑Is there anything that you are aware
12∑∑as to who was authorized to incur obligations                12∑∑of that specifically limits Mr. Waterhouse's
13∑∑on behalf of HCMFA?                                          13∑∑authority other than what might be in your
14∑∑∑∑A.∑∑I mean, beyond -- beyond due course,                   14∑∑head?
15∑∑I struggle to see why it would be anybody other              15∑∑∑∑A.∑∑No, I would -- I would say what is
16∑∑than me, but I don't know.                                   16∑∑in my head is -- would be typical industry
17∑∑∑∑Q.∑∑Do you know if Mr. Waterhouse was                      17∑∑practice.∑You wouldn't -- you wouldn't have
18∑∑authorized as the treasurer of HCMFA to incur                18∑∑executive vice presidents or ownership defined
19∑∑obligations on its behalf?                                   19∑∑if you were going to delegate everything to an
20∑∑∑∑A.∑∑He wasn't the senior operating or                      20∑∑employee three levels down, you know.
21∑∑executive positions there.∑So the answer is                  21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Okay.∑John,
22∑∑no, beyond, you know -- beyond the normal                    22∑∑∑∑I've had a request from Davor to take a
23∑∑course of operating expenses or whatever, but                23∑∑∑∑quick restroom break, so --
24∑∑it would -- he would never be the person on                  24∑∑∑∑∑∑∑MR. MORRIS:∑You know, I really --
25∑∑anything of significance.                                    25∑∑∑∑Davor, I'm happy to accommodate, but at
                                                      Page 318                                                           Page 319
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑some point we have got to be able to get                   ∑2∑∑∑∑A.∑∑I don't know.
∑3∑∑∑∑more than 10 minutes of testimony in a row.                ∑3∑∑∑∑Q.∑∑I appreciate that you don't know,
∑4∑∑∑∑So let's take a short break.                               ∑4∑∑but do you have any reason as you sit here
∑5∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Thank you.                           ∑5∑∑today to believe that he failed to fulfill that
∑6∑∑∑∑∑∑∑VIDEOGRAPHER:∑Going off the record.                     ∑6∑∑particular responsibility?
∑7∑∑∑∑The time is 11:08.                                         ∑7∑∑∑∑A.∑∑I don't know.
∑8∑∑∑∑(Recess taken 11:08 a.m. to 11:16 a.m.)                    ∑8∑∑∑∑Q.∑∑Okay.∑Are you an authorized
∑9∑∑∑∑∑∑∑VIDEOGRAPHER:∑Back on the record,                       ∑9∑∑signatory on HCMFA's bank accounts?
10∑∑∑∑11:16.                                                     10∑∑∑∑A.∑∑I don't know.
11∑∑∑∑Q.∑∑Mr. Dondero, did you communicate                       11∑∑∑∑Q.∑∑Do you know who the authorized
12∑∑with anybody on the break about the substance                12∑∑signatories are on HCMFA's bank accounts?
13∑∑of your testimony?                                           13∑∑∑∑A.∑∑No.
14∑∑∑∑A.∑∑No.                                                    14∑∑∑∑Q.∑∑Do you know whether anybody now
15∑∑∑∑Q.∑∑As treasurer of HCMFA, did                             15∑∑employed or previously employed by Highland was
16∑∑Mr. Waterhouse's responsibilities include being              16∑∑an authorized signatory with respect to any of
17∑∑familiar with HCMFA's debts and obligations?                 17∑∑HCMFA's bank accounts?
18∑∑∑∑A.∑∑Yes.                                                   18∑∑∑∑A.∑∑I don't know.
19∑∑∑∑Q.∑∑Do you have any reason to believe as                   19∑∑∑∑Q.∑∑Do you know whether Mr. Waterhouse
20∑∑you sit here today that Mr. Waterhouse failed                20∑∑was an authorized signatory on any of HCMFA's
21∑∑to fulfill his responsibilities as treasurer of              21∑∑bank accounts?
22∑∑HCMFA and familiarize himself with their debts               22∑∑∑∑A.∑∑I don't know how he had -- had it
23∑∑and responsibilities?                                        23∑∑set up.∑There would have been, I imagine,
24∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        24∑∑checks and balances.∑We run, as far as I know,
25∑∑∑∑form.                                                      25∑∑a compliant accounting group, you know, with

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01750
                                                                                                                                    YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 167 of 200 PageID 31320
                                                      Page 320                                                              Page 321
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑the right audit controls, et cetera.∑So I                    ∑2∑∑you want to look at that.
∑3∑∑would imagine there would have been somebody                 ∑3∑∑∑∑A.∑∑No, but I think that is -- that is
∑4∑∑preparing it and multiple signatures or                      ∑4∑∑the answer, but that is my only awareness.
∑5∑∑multiple sign-offs on wires, but I have no                   ∑5∑∑∑∑Q.∑∑Okay.∑Do you have -- do you have --
∑6∑∑awareness of this.∑I mean, I would believe                   ∑6∑∑do you know whether she was ever appointed to
∑7∑∑that it was done compliantly and correctly, but              ∑7∑∑any position within the Highland corporate
∑8∑∑I don't have any specific awareness.                         ∑8∑∑family other than as an attorney with Highland
∑9∑∑∑∑Q.∑∑Okay.∑Do you know Lauren Thedford?                     ∑9∑∑and as the secretary of HCMFA?
10∑∑∑∑A.∑∑Yes.                                                   10∑∑∑∑A.∑∑I don't know.
11∑∑∑∑Q.∑∑And was Ms. Thedford an employee of                    11∑∑∑∑Q.∑∑Other than Ms. Waterhouse --
12∑∑Highland at one time?                                        12∑∑withdrawn.
13∑∑∑∑A.∑∑Yes.                                                   13∑∑∑∑∑∑∑Other than Mr. Waterhouse and
14∑∑∑∑Q.∑∑Do you recall what position she held                   14∑∑Ms. Thedford, can you identify any current or
15∑∑at any particular point in time?                             15∑∑former employee of Highland that ever served as
16∑∑∑∑A.∑∑I believe she held several different                   16∑∑an officer of HCMFA?
17∑∑positions over the years, but I remember most                17∑∑∑∑A.∑∑I don't know.
18∑∑as a corporate attorney working on document --               18∑∑∑∑Q.∑∑Okay.∑Can you identify any current
19∑∑documents when we -- we do new funds or amend                19∑∑or former employee of Highland who was
20∑∑old funds.                                                   20∑∑simultaneously also an employee of HCMFA?
21∑∑∑∑Q.∑∑Okay.∑Do you recall whether she                        21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
22∑∑served as an officer of HCMFA?                               22∑∑∑∑form.
23∑∑∑∑A.∑∑Wasn't her name on the incumbency                      23∑∑∑∑A.∑∑You mean somebody who was a dual
24∑∑certificate we had up earlier?                               24∑∑employee?
25∑∑∑∑Q.∑∑It was.∑We can put it back up if                       25∑∑∑∑Q.∑∑Yeah, who was actually -- yeah, to
                                                      Page 322                                                              Page 323
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑be clear, who was actually employed by both,                 ∑2∑∑don't remember when.
∑3∑∑who received, you know, income from both.                    ∑3∑∑∑∑Q.∑∑Can you tell me generally the nature
∑4∑∑∑∑A.∑∑I don't know regarding income, but                     ∑4∑∑of NexPoint's business?
∑5∑∑some of that historic portfolio managers like                ∑5∑∑∑∑A.∑∑It is generally real estate related.
∑6∑∑Michael Gregory or Jonathan Lamensdorf, they                 ∑6∑∑∑∑Q.∑∑Have you controlled NexPoint
∑7∑∑did work for HCMFA primarily, but they also did              ∑7∑∑throughout its corporate existence, to the best
∑8∑∑other things for Highland.∑I don't know how                  ∑8∑∑of your knowledge?
∑9∑∑their compensation or their bonuses were split.              ∑9∑∑∑∑A.∑∑Yes.
10∑∑I just -- I wouldn't have awareness of that.                 10∑∑∑∑Q.∑∑Do you have a title with NexPoint
11∑∑∑∑Q.∑∑Let's move on to NexPoint.∑You're                      11∑∑today?
12∑∑familiar with an entity called NexPoint                      12∑∑∑∑A.∑∑I believe I'm president, but I don't
13∑∑Advisors, L.P.; correct?                                     13∑∑know for sure.
14∑∑∑∑A.∑∑Yes.                                                   14∑∑∑∑Q.∑∑Did you appoint Mr. Waterhouse to
15∑∑∑∑Q.∑∑We will refer to that as NexPoint,                     15∑∑serve as treasurer of NexPoint?
16∑∑okay?                                                        16∑∑∑∑A.∑∑I don't know.
17∑∑∑∑A.∑∑Sure.                                                  17∑∑∑∑∑∑∑MR. MORRIS:∑Please put up Exhibit
18∑∑∑∑Q.∑∑Do you know who owns NexPoint?                         18∑∑∑∑37.
19∑∑∑∑A.∑∑Directly or indirectly, I believe I                    19∑∑∑∑Q.∑∑This is another incumbency
20∑∑do.                                                          20∑∑certificate, sir?
21∑∑∑∑Q.∑∑Okay.∑And do you control NexPoint?                     21∑∑∑∑A.∑∑Yes.
22∑∑∑∑A.∑∑Yes.                                                   22∑∑∑∑Q.∑∑And do you see, is that your
23∑∑∑∑Q.∑∑And do you know when NexPoint was                      23∑∑signature at the bottom?
24∑∑created?                                                     24∑∑∑∑A.∑∑Looks like it, yes.
25∑∑∑∑A.∑∑More than five years ago, but I                        25∑∑∑∑Q.∑∑And does that refresh your

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                   Appx. 01751
                                                                                                                                       YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 168 of 200 PageID 31321
                                                      Page 324                                                          Page 325
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑recollection that you personally identified                  ∑2∑∑president of Highland, that Mr. Waterhouse
∑3∑∑Mr. Waterhouse as the treasurer of NexPoint                  ∑3∑∑served in capacities with respect to affiliated
∑4∑∑Advisors, L.P. effective as of April 11th,                   ∑4∑∑companies?
∑5∑∑2019?                                                        ∑5∑∑∑∑A.∑∑I was aware that multiple senior
∑6∑∑∑∑A.∑∑No, I mean, not -- no.                                 ∑6∑∑executives had multiple titles at multiple
∑7∑∑∑∑Q.∑∑Do you have any reason to doubt that                   ∑7∑∑different entities, but I didn't have specific
∑8∑∑Mr. Waterhouse served as the treasurer of                    ∑8∑∑awareness whatsoever on entities that Frank was
∑9∑∑NexPoint Advisors prior to the petition date?                ∑9∑∑or was not involved in.
10∑∑∑∑A.∑∑No, I don't have a reason to                           10∑∑∑∑Q.∑∑Okay.∑But to the extent that he
11∑∑disagree with it.∑I just didn't have an                      11∑∑held a title with one of the affiliated
12∑∑awareness.∑And when you asked me earlier, the                12∑∑companies, those affiliated companies would
13∑∑thing that was running through my mind is that               13∑∑have been managed or controlled by you;
14∑∑it could have been, you know, Brian Mitts who                14∑∑correct?
15∑∑has a strong accounting background at NexPoint.              15∑∑∑∑A.∑∑Generally.
16∑∑I just wasn't -- I didn't know, based on                     16∑∑∑∑Q.∑∑You can't think of any title that he
17∑∑recollection, who was treasurer.                             17∑∑held with an affiliated company that wasn't
18∑∑∑∑Q.∑∑Okay.∑Were you aware that -- but                       18∑∑managed by you, can you?
19∑∑you were aware, were you not, that                           19∑∑∑∑A.∑∑No, not off the top of my head.
20∑∑Mr. Waterhouse wore multiple hats?                           20∑∑∑∑Q.∑∑And you knew and intended prior to
21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Objection to                         21∑∑the petition date to have Mr. Waterhouse serve
22∑∑∑∑form.                                                      22∑∑in multiple roles; is that fair?
23∑∑∑∑Q.∑∑Withdrawn.                                             23∑∑∑∑A.∑∑Yes.
24∑∑∑∑∑∑∑You were aware, were you not, sir,                      24∑∑∑∑Q.∑∑Have you ever considered firing
25∑∑that during the time that you served as                      25∑∑Mr. Waterhouse from his position as treasurer
                                                      Page 326                                                          Page 327
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑of NexPoint Advisors?                                        ∑2∑∑∑∑Q.∑∑Do you know whether NexPoint's
∑3∑∑∑∑A.∑∑No.                                                    ∑3∑∑balance sheet reflected obligations that it
∑4∑∑∑∑Q.∑∑Okay.∑As the president of NexPoint                     ∑4∑∑carried as liabilities that were due and owing
∑5∑∑Advisors, do you believe that you had a                      ∑5∑∑to Highland?
∑6∑∑responsibility to familiarize yourself with                  ∑6∑∑∑∑A.∑∑I was aware generally of the notes,
∑7∑∑NexPoint's debts and obligations?                            ∑7∑∑but I didn't study the NexPoint balance sheet.
∑8∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        ∑8∑∑∑∑Q.∑∑Do you believe that Mr. Waterhouse
∑9∑∑∑∑form.                                                      ∑9∑∑had any responsibility as NexPoint's treasurer
10∑∑∑∑A.∑∑Just generally.                                        10∑∑to familiarize himself with NexPoint's debts
11∑∑∑∑Q.∑∑Okay.∑Did you do anything to                           11∑∑and obligations?
12∑∑generally inform yourself of NexPoint's debts                12∑∑∑∑A.∑∑Yeah.∑I mean, the role is different
13∑∑and obligations?                                             13∑∑and the burden is different, and Frank and his
14∑∑∑∑A.∑∑Not -- not specifically that I can                     14∑∑team orchestrated all the audits and compliance
15∑∑recall.                                                      15∑∑statements and regulatory stuff for all of the
16∑∑∑∑Q.∑∑Can you recall doing anything to                       16∑∑funds managed by NexPoint.
17∑∑familiarize yourself with NexPoint's debts and               17∑∑∑∑Q.∑∑Well, you personally were
18∑∑obligations at any time?                                     18∑∑responsible for Highland's audited financial
19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        19∑∑statements, weren't you?
20∑∑∑∑form.                                                      20∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Objection, form.
21∑∑∑∑A.∑∑Not that I recall.                                     21∑∑∑∑A.∑∑No.∑I mean, "responsible" is not
22∑∑∑∑Q.∑∑Did you ever look at NexPoint's                        22∑∑the right word.∑I mean, we -- I have to -- as
23∑∑balance sheet?                                               23∑∑the senior most executive, I have to -- to
24∑∑∑∑A.∑∑Not -- not that I -- not that I                        24∑∑sign -- sign statements regarding completeness
25∑∑recall.                                                      25∑∑and no known frauds and those kinds of things,

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01752
                                                                                                                                   YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 169 of 200 PageID 31322
                                                       Page 328                                                           Page 329
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                     ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑but I am in no way involved in the preparation.               ∑2∑∑accounts?
∑3∑∑∑∑Q.∑∑We will talk about that in a bit.                       ∑3∑∑∑∑A.∑∑I don't know.
∑4∑∑∑∑∑∑∑Do you have any reason to believe                        ∑4∑∑∑∑Q.∑∑Do you know whether there is any
∑5∑∑today that Mr. Waterhouse failed to fulfill his               ∑5∑∑current or former employee of Highland who did
∑6∑∑responsibilities as treasurer of NexPoint to                  ∑6∑∑not hold an officer position at NexPoint who
∑7∑∑familiarize himself with NexPoint's debts and                 ∑7∑∑would have been an authorized signatory on
∑8∑∑obligations?                                                  ∑8∑∑NexPoint's bank accounts?
∑9∑∑∑∑A.∑∑I don't know.                                           ∑9∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
10∑∑∑∑Q.∑∑You can't identify any particular                       10∑∑∑∑form.
11∑∑reason that you might have for concluding that                11∑∑∑∑A.∑∑I don't know.
12∑∑Mr. Waterhouse failed to fulfill his duties as                12∑∑∑∑Q.∑∑Can you identify any current or
13∑∑treasurer of NexPoint to familiarize himself                  13∑∑former employee of Highland who served as an
14∑∑with NexPoint's duties and respons -- duties                  14∑∑officer of NexPoint at any time other than
15∑∑and obligations; correct?                                     15∑∑Ms. Thedford and Mr. Waterhouse?
16∑∑∑∑A.∑∑Yes, I don't know.                                      16∑∑∑∑A.∑∑I don't know.
17∑∑∑∑Q.∑∑Okay.∑Do you know who the                               17∑∑∑∑Q.∑∑Okay.∑Let's go to HCMS.∑Are you
18∑∑authorized signatories are on NexPoint's bank                 18∑∑familiar with an entity called Highland Capital
19∑∑accounts?                                                     19∑∑Management Services, Inc.?
20∑∑∑∑A.∑∑No.                                                     20∑∑∑∑A.∑∑Generally, yes.
21∑∑∑∑Q.∑∑Do you know if you're an authorized                     21∑∑∑∑Q.∑∑And can we refer to that as HCMS?
22∑∑signatory on NexPoint's bank accounts?                        22∑∑∑∑A.∑∑Yes.
23∑∑∑∑A.∑∑I don't know.                                           23∑∑∑∑Q.∑∑Do you have a direct or indirect
24∑∑∑∑Q.∑∑Do you know if Mr. Waterhouse is an                     24∑∑ownership interest in HCMS?
25∑∑authorized signatory on NexPoint's bank                       25∑∑∑∑A.∑∑I believe so.
                                                       Page 330                                                           Page 331
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                     ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑Q.∑∑And do you own a majority of the                        ∑2∑∑something the investors are willing to take a
∑3∑∑interest directly or indirectly in HCMS?                      ∑3∑∑chance on and then give you separate account
∑4∑∑∑∑A.∑∑I believe so.                                           ∑4∑∑money along those lines.
∑5∑∑∑∑Q.∑∑Do you control HCMS?                                    ∑5∑∑∑∑Q.∑∑Do you have a title with HCMS today?
∑6∑∑∑∑A.∑∑I believe so.                                           ∑6∑∑∑∑A.∑∑I don't know.
∑7∑∑∑∑Q.∑∑Have you -- has there ever been a                       ∑7∑∑∑∑Q.∑∑But you do control the entity; is
∑8∑∑period of time in HCMS's corporate existence                  ∑8∑∑that fair?
∑9∑∑where you did not control that entity?                        ∑9∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
10∑∑∑∑A.∑∑Not that I'm aware of.                                  10∑∑∑∑form, asked and answered.
11∑∑∑∑Q.∑∑Do you recall when HCMS was created?                    11∑∑∑∑A.∑∑I believe so.
12∑∑∑∑A.∑∑More than five years ago, but I                         12∑∑∑∑Q.∑∑Okay.∑Do you know whether
13∑∑don't remember when.                                          13∑∑Mr. Waterhouse has ever served as an officer of
14∑∑∑∑Q.∑∑Do you have an understanding of the                     14∑∑HCMS?
15∑∑nature of HCMS's business?                                    15∑∑∑∑A.∑∑I have no idea.
16∑∑∑∑A.∑∑It manages some assets, and it was                      16∑∑∑∑Q.∑∑Can you identify any person in the
17∑∑trying to create track records that then could                17∑∑world who has ever served as an officer of
18∑∑be marketed.                                                  18∑∑HCMS?
19∑∑∑∑Q.∑∑What does it mean to create a track                     19∑∑∑∑A.∑∑I don't know what the incumbency
20∑∑record that could be marketed?                                20∑∑certificate would look like for services, but
21∑∑∑∑A.∑∑You execute investments and                             21∑∑I'm willing to be refreshed.
22∑∑investment strategy that you can refine and                   22∑∑∑∑Q.∑∑Do you know if anybody ever served
23∑∑articulate and show good results to potential                 23∑∑as the chief -- withdrawn.
24∑∑third-party investors as -- as evidence that                  24∑∑∑∑∑∑∑Did HCMF ever have anybody serve in
25∑∑you can do it.∑And then that track record is                  25∑∑the capacity of chief financial officer?

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01753
                                                                                                                                     YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 170 of 200 PageID 31323
                                                     Page 332                                                           Page 333
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                   ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑A.∑∑The subject of that question was                      ∑2∑∑HCMS's debts and obligations?
∑3∑∑HCMF.∑Is that what you meant to say, or did                 ∑3∑∑∑∑A.∑∑I guess my answer, which would apply
∑4∑∑you mean Services?                                          ∑4∑∑to all of these entities, is awareness to know
∑5∑∑∑∑Q.∑∑No, I apologize.∑Thank you for the                    ∑5∑∑that the amounts were de minimis relative to
∑6∑∑clarification.∑I did mean HCMS, so let me try               ∑6∑∑the value of the entity, and the debt service
∑7∑∑again.                                                      ∑7∑∑costs or issues were very de minimis relative
∑8∑∑∑∑∑∑∑Has anybody ever served in the                         ∑8∑∑to the entities, but beyond that, I didn't
∑9∑∑capacity of chief financial officer of HCMS?                ∑9∑∑study them.
10∑∑∑∑A.∑∑HCMF.                                                 10∑∑∑∑Q.∑∑Well, did -- did HCMFA have
11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑S.                                  11∑∑obligations to HCMLP that you would
12∑∑∑∑A.∑∑Not --                                                12∑∑characterize as di minimis from HCMFA's
13∑∑∑∑Q.∑∑S.                                                    13∑∑perspective?
14∑∑∑∑A.∑∑Not of Services -- not that --                        14∑∑∑∑A.∑∑Yeah, or just -- it never had
15∑∑again, I don't know.∑I'm willing to be                      15∑∑obligations that were more than de minimis.
16∑∑refreshed, but I -- I have no awareness.                    16∑∑∑∑Q.∑∑As -- as the person in control of
17∑∑∑∑Q.∑∑Okay.∑As president -- as the person                   17∑∑HCMFA, did you ever have any concern that HCMFA
18∑∑in control of HCMS, do you believe you had any              18∑∑would not be able to satisfy its obligations to
19∑∑responsibility to familiarize yourself with                 19∑∑HCMLP if -- if a demand was made?
20∑∑that entity's debts and obligations?                        20∑∑∑∑A.∑∑No.
21∑∑∑∑A.∑∑Again, just generally, to the extent                  21∑∑∑∑Q.∑∑Okay.∑Was anybody charged with the
22∑∑that they were material or an issue or                      22∑∑responsibility of familiarizing themselves with
23∑∑whatever, but no more than generally.                       23∑∑HCMS's debts and obligations?
24∑∑∑∑Q.∑∑Can you describe anything you ever                    24∑∑∑∑A.∑∑Again, to differentiate or separate
25∑∑did to generally familiarize yourself with                  25∑∑myself from the treasury function or from what
                                                     Page 334                                                           Page 335
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                   ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑Frank and his group were doing.                             ∑2∑∑complete answer regarding a myriad of ways
∑3∑∑∑∑∑∑∑From my perspective, I had to be                       ∑3∑∑you've asked me kind of the same structural
∑4∑∑aware about it -- aware of any obligations or               ∑4∑∑questions.
∑5∑∑notes or debt service costs, et cetera, but to              ∑5∑∑∑∑Q.∑∑I am, and just to be clear, I'm
∑6∑∑the extent that I was aware and knew that it                ∑6∑∑asking kind of the same structural questions
∑7∑∑was de minimis, I didn't spend any time                     ∑7∑∑with respect to each of the entities at issue.
∑8∑∑focusing on it, studying it, calculating it                 ∑8∑∑I think you picked up on that.∑I hope you
∑9∑∑exactly, or anything like that.                             ∑9∑∑don't think I'm being repetitive.
10∑∑∑∑∑∑∑Having said that, we are highly                        10∑∑∑∑∑∑∑You mentioned Frank and his group in
11∑∑compliant.∑We do -- we did audits every year                11∑∑the context of HCMS.∑Did I hear that
12∑∑with reputable accounting firms that were                   12∑∑correctly?
13∑∑complete and in depth.∑And any obligations                  13∑∑∑∑A.∑∑Yes.
14∑∑and/or assets, de minimis or not, in my view,               14∑∑∑∑Q.∑∑Okay.∑HCMS did not have a shared
15∑∑would nonetheless have to be reflected or                   15∑∑services agreement with Highland; correct?
16∑∑captured accurately and prepared for the                    16∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑You mean a
17∑∑auditors in supplying, you know, detail or                  17∑∑∑∑written shared services agreement, John?
18∑∑source documents or whatever, whatever they do              18∑∑∑∑Q.∑∑Do you understand the question, sir?
19∑∑in accounting as part of the audit function.                19∑∑∑∑A.∑∑Yeah.∑My answer would be the
20∑∑∑∑∑∑∑And all that would have done -- been                   20∑∑advisors like NexPoint and HFAM that had to
21∑∑done exactly and expertly, as far as I know,                21∑∑have by law and regulatory statute have to have
22∑∑and it would have been done by Frank and his                22∑∑formal sub advisors and shared services
23∑∑group.                                                      23∑∑agreements had formal shared services
24∑∑∑∑Q.∑∑Okay.                                                 24∑∑agreement.
25∑∑∑∑A.∑∑That is -- I'm trying to give a                       25∑∑∑∑∑∑∑Entities that didn't need to have

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01754
                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 171 of 200 PageID 31324
                                                      Page 336                                                         Page 337
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑formal written shared services agreements were               ∑2∑∑∑∑A.∑∑Yeah, yes, and early into '21, I
∑3∑∑often serviced similarly or -- or exactly the                ∑3∑∑believe also.
∑4∑∑same as those entities, but without a written                ∑4∑∑∑∑Q.∑∑Okay.∑As -- as part of the oral
∑5∑∑agreement, but with a verbal shared services                 ∑5∑∑agreement that you referenced, was there -- was
∑6∑∑agreement providing, again, all the same                     ∑6∑∑there ever an agreement that HCMS would pay any
∑7∑∑similar services.                                            ∑7∑∑money to Highland in exchange for the services
∑8∑∑∑∑∑∑∑And the entities that didn't have a                     ∑8∑∑that Highland provided to it?
∑9∑∑written shared services agreement weren't                    ∑9∑∑∑∑A.∑∑I do not believe there was a
10∑∑getting shared services or support from any                  10∑∑financial remuneration aspect of it.
11∑∑other entities other than Highland doing the                 11∑∑∑∑Q.∑∑Okay.∑And do you recall during your
12∑∑same thing for them that it did for the mutual               12∑∑time as president of Highland whether Highland
13∑∑funds.                                                       13∑∑ever received payment from HCMS for services
14∑∑∑∑Q.∑∑Okay.∑Can you tell me who entered                      14∑∑rendered?
15∑∑into an oral shared services agreement between               15∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑And are we just
16∑∑Highland and HCMS?                                           16∑∑∑∑talking about money?
17∑∑∑∑A.∑∑Boy, I can imagine way back in the                     17∑∑∑∑∑∑∑MR. MORRIS:∑Correct.
18∑∑day it would have been myself and Frank, but he              18∑∑∑∑A.∑∑Yeah, I don't -- I don't recall
19∑∑and his group understood and knew that they                  19∑∑moneys being -- well, you know what, let me --
20∑∑were doing it for all the new entities that                  20∑∑let me clarify that a little bit.
21∑∑came along, and I can't imagine it was even                  21∑∑∑∑∑∑∑If there were any direct costs that
22∑∑talked about much over the years.                            22∑∑Highland would have incurred like getting the
23∑∑∑∑Q.∑∑Did -- did HCMFA and NexPoint pay                      23∑∑audits done, you know, like if Price Waterhouse
24∑∑money to Highland under the shared services                  24∑∑said, okay, give us the details on, you know,
25∑∑agreement until let's just say late 2020?                    25∑∑all the different entities that roll up into
                                                      Page 338                                                         Page 339
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑the Highland entity.                                         ∑2∑∑the DAF wasn't paying a fee, along the way, to
∑3∑∑∑∑∑∑∑And then -- and they prepared                           ∑3∑∑Highland for shared services, Highland got the
∑4∑∑statements or did work for services, Frank and               ∑4∑∑benefit of the track record that was being
∑5∑∑his group would have passed through those costs              ∑5∑∑built at the DAF to then market to third
∑6∑∑and expected services and/or Dugaboy or any of               ∑6∑∑parties, which then created a revenue stream
∑7∑∑the other entities to pay for direct                         ∑7∑∑for Highland down the road.
∑8∑∑out-of-pocket costs.∑But it wouldn't have paid               ∑8∑∑∑∑∑∑∑And I would say that was the same
∑9∑∑a supplemental fee or profit or anything to                  ∑9∑∑intent on Services.
10∑∑Highland.                                                    10∑∑∑∑Q.∑∑Is there anything -- anything else
11∑∑∑∑Q.∑∑Okay.∑To the best of your                              11∑∑of value that you believe HCMS provided to
12∑∑recollection, during the time that you were                  12∑∑Highland in exchange for the services that
13∑∑president of Highland, did Highland ever                     13∑∑Highland rendered?
14∑∑receive anything of value from HCMS on account               14∑∑∑∑A.∑∑That would be primarily it.∑I would
15∑∑of services other than the reimbursement of                  15∑∑say there is probably times where Services
16∑∑out-of-pocket expenses?                                      16∑∑provided liquidity for Highland or helped on
17∑∑∑∑A.∑∑Yeah, I'm going to go back to my                       17∑∑investments that Highland was involved in, but
18∑∑comment in terms of building track record.∑And               18∑∑I would have to refresh myself on exactly what.
19∑∑I would use -- yeah, we had done it several                  19∑∑∑∑Q.∑∑Is it fair to say that HCMF -- HCMS
20∑∑times in the past and it had worked                          20∑∑never provided a revenue stream to Highland
21∑∑effectively.∑And that is -- you know, yeah, I                21∑∑similar to the revenue stream that was provided
22∑∑mean, the -- the track record in CLO paper was               22∑∑by HCMFA and NexPoint under the shared services
23∑∑what was used to track -- (inaudible) -- as an               23∑∑agreements?
24∑∑investor.                                                    24∑∑∑∑A.∑∑That is correct.
25∑∑∑∑∑∑∑And so, you know, to the extent that                    25∑∑∑∑Q.∑∑Okay.∑Did anybody at HCMF --

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                             Appx. 01755
                                                                                                                                  YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 172 of 200 PageID 31325
                                                       Page 340                                                          Page 341
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                     ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑withdrawn.                                                    ∑2∑∑former Highland employee who served as an
∑3∑∑∑∑∑∑∑Did anybody at HCMS ever have the                        ∑3∑∑officer of HCMS at any time?
∑4∑∑responsibility for familiarizing themselves                   ∑4∑∑∑∑A.∑∑No, I would need to be refreshed.
∑5∑∑with HCMS' debts and obligations?                             ∑5∑∑∑∑Q.∑∑Okay.∑Can you identify --
∑6∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                         ∑6∑∑withdrawn.∑Let's go to the last one, HCRE.
∑7∑∑∑∑form.                                                       ∑7∑∑∑∑∑∑∑Are you familiar with an entity
∑8∑∑∑∑A.∑∑Frank and his team, as part of                          ∑8∑∑called HCRE Partners, LLC?
∑9∑∑preparing the audited financials for all the                  ∑9∑∑∑∑A.∑∑Yes.
10∑∑entities, would have definitively been aware of               10∑∑∑∑Q.∑∑And is that entity now known as
11∑∑all of them.∑Who else on the services                         11∑∑NexPoint Real Estate Partners, LLC?
12∑∑incumbency certificate or -- would be aware or                12∑∑∑∑A.∑∑You know what, I do believe it had a
13∑∑have knowledge, I don't know.                                 13∑∑name change.∑I don't know if that is the name
14∑∑∑∑Q.∑∑Okay.∑And when you refer to "Frank                      14∑∑change, but that would make sense.
15∑∑and his team," are any of them acting as an                   15∑∑∑∑Q.∑∑Okay.∑Can we just refer to that
16∑∑officer or employee of HCMS in what you are                   16∑∑entity as HCRE?
17∑∑thinking about?                                               17∑∑∑∑A.∑∑That is fine.
18∑∑∑∑A.∑∑I -- I don't know.∑I don't know.                        18∑∑∑∑Q.∑∑Okay.∑Do you have any direct or
19∑∑Did -- we haven't -- have we looked at the                    19∑∑indirect ownership interest in HCRE?
20∑∑incumbency certificate for services?                          20∑∑∑∑A.∑∑Yes.
21∑∑∑∑Q.∑∑No.                                                     21∑∑∑∑Q.∑∑And is it a majority interest to the
22∑∑∑∑A.∑∑I don't know.∑I don't know off the                      22∑∑best of your knowledge?
23∑∑top of my head.                                               23∑∑∑∑A.∑∑Yes.
24∑∑∑∑Q.∑∑Okay.∑Let's just finish this up.                        24∑∑∑∑Q.∑∑Do you control HCRE?
25∑∑∑∑∑∑∑Can you identify any current or                          25∑∑∑∑A.∑∑Yes.
                                                       Page 342                                                          Page 343
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                     ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑Q.∑∑Have you controlled HCRE throughout                     ∑2∑∑has ever been given the responsibility --
∑3∑∑its corporate existence?                                      ∑3∑∑withdrawn.
∑4∑∑∑∑A.∑∑Yes.                                                    ∑4∑∑∑∑∑∑∑Do you know whether anybody has ever
∑5∑∑∑∑Q.∑∑Can you tell me what the nature of                      ∑5∑∑had the responsibility for familiarizing
∑6∑∑HCRE's business is?                                           ∑6∑∑themselves with the debts and obligations of
∑7∑∑∑∑A.∑∑It makes real estate investments.                       ∑7∑∑HCRE?
∑8∑∑∑∑Q.∑∑Do you have a title with that                           ∑8∑∑∑∑A.∑∑It would be the same answer as given
∑9∑∑entity?                                                       ∑9∑∑on the other entities.∑It would be the
10∑∑∑∑A.∑∑I don't know, but I'm willing to be                     10∑∑treasurer, which is probably Frank.∑And if not
11∑∑refreshed.∑And I assume its incumbency                        11∑∑the treasurer it would be Frank in his role and
12∑∑certificate looks similar to the ones that you                12∑∑his team of putting together the complete and
13∑∑have put up.                                                  13∑∑accurate financials of HCRE.
14∑∑∑∑Q.∑∑Can you identify for me today                           14∑∑∑∑Q.∑∑Other than putting together the
15∑∑anybody who has ever served as an officer of                  15∑∑complete and accurate financials of HCRE, did
16∑∑HCRE at any time?                                             16∑∑Frank and his team have any other
17∑∑∑∑A.∑∑I would rather be refreshed. I                          17∑∑responsibility with respect to understanding
18∑∑would imagine myself and Matt McGraner are two                18∑∑the debts and obligations of HCRE?
19∑∑of those people, but I don't know for sure.                   19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Objection, form.
20∑∑∑∑Q.∑∑Okay.∑Without the incumbency                            20∑∑∑∑A.∑∑Again, just the general overlay
21∑∑certificates or other documentation, you are                  21∑∑being that they were de minimis and -- de
22∑∑not able to give me any names other than Mr. --               22∑∑minimus, and the service obligations were de
23∑∑other than you and Mr. McGraner; is that fair?                23∑∑minimus relative to the value or operating
24∑∑∑∑A.∑∑That's correct.                                         24∑∑income of the enterprise.
25∑∑∑∑Q.∑∑Okay.∑Do you know whether anybody                       25∑∑∑∑∑∑∑In other words, had they been more

                                         TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01756
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 173 of 200 PageID 31326
                                                      Page 344                                                            Page 345
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑material or material, they would have had more               ∑2∑∑30(b)(6) notices if we can.
∑3∑∑focus.∑But they didn't deserve more focus.                   ∑3∑∑∑∑∑∑∑MR. MORRIS:∑Can we put up a
∑4∑∑∑∑Q.∑∑And so is it fair to say that you                      ∑4∑∑∑∑document that has been marked as
∑5∑∑didn't do anything to familiarize yourself with              ∑5∑∑∑∑Exhibit 47.
∑6∑∑HCRE's debts and obligations?                                ∑6∑∑∑∑∑∑∑(Exhibit 47 marked.)
∑7∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        ∑7∑∑∑∑Q.∑∑Do you understand, Mr. Dondero, that
∑8∑∑∑∑form.                                                      ∑8∑∑you are here today in your individual capacity
∑9∑∑∑∑A.∑∑Not on a regular detailed basis, you                   ∑9∑∑and in your capacity as what is called a
10∑∑know, just a general awareness.                              10∑∑30(b)(6) witness for certain entities?
11∑∑∑∑Q.∑∑Did you ever take any steps to                         11∑∑∑∑A.∑∑Yes, a little bit to my chagrin.
12∑∑review the affiliate loans and obligations that              12∑∑And I don't think you will see me again as a
13∑∑were due between and among Highland and its                  13∑∑30(b)(6) witness, but yes.
14∑∑affiliated companies?                                        14∑∑∑∑Q.∑∑All right.∑Well, it wasn't my
15∑∑∑∑A.∑∑Again, just generally.                                 15∑∑choice, so let's just go through it quickly.
16∑∑∑∑Q.∑∑What did you do?                                       16∑∑∑∑∑∑∑Have you seen this document before,
17∑∑∑∑A.∑∑Like I said, I had a general                           17∑∑sir?
18∑∑awareness of them.                                           18∑∑∑∑A.∑∑Yes.
19∑∑∑∑Q.∑∑And did you receive from time to                       19∑∑∑∑Q.∑∑And do you understand that you are
20∑∑time lists or information that specifically                  20∑∑here today in your capacity as NexPoint's
21∑∑described the amounts that were due and owing                21∑∑corporate representative?
22∑∑from the affiliates to Highland?                             22∑∑∑∑A.∑∑Yes.
23∑∑∑∑A.∑∑Yeah, from time to time the amounts,                   23∑∑∑∑Q.∑∑And do you understand that your
24∑∑yes.                                                         24∑∑answers today in your capacity as NexPoint's
25∑∑∑∑Q.∑∑Let's just quickly go to the                           25∑∑corporate representative will be binding on
                                                      Page 346                                                            Page 347
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑NexPoint?                                                    ∑2∑∑NexPoint's answer?
∑3∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑As qualified by                      ∑3∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Again, subject
∑4∑∑∑∑the objections that we made.                               ∑4∑∑∑∑to our objection, but...
∑5∑∑∑∑∑∑∑MR. MORRIS:∑Sure.                                       ∑5∑∑∑∑A.∑∑Yeah, to the best I can.
∑6∑∑∑∑A.∑∑I will do the best I can.                              ∑6∑∑∑∑Q.∑∑Okay.∑The next topic concerns
∑7∑∑∑∑Q.∑∑Thank you so much.                                     ∑7∑∑affirmative defenses.
∑8∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to the next                       ∑8∑∑∑∑∑∑∑Do you see that?
∑9∑∑∑∑page, please.∑The last page.∑The topics.                   ∑9∑∑∑∑A.∑∑Yes.
10∑∑∑∑Q.∑∑Okay.∑Have you seen these topics                       10∑∑∑∑Q.∑∑Do you have an understanding of what
11∑∑before, sir?                                                 11∑∑an affirmative defense is?
12∑∑∑∑A.∑∑Yes.                                                   12∑∑∑∑A.∑∑Yes.
13∑∑∑∑Q.∑∑Okay.∑Do you see that we asked for                     13∑∑∑∑Q.∑∑What is your understanding of an
14∑∑somebody to testify as to NexPoint's answer?                 14∑∑affirmative defense?
15∑∑∑∑A.∑∑Yes.                                                   15∑∑∑∑A.∑∑I think it is those -- phrase that
16∑∑∑∑Q.∑∑Okay.∑Are you aware that                               16∑∑you see in most of our answers, the
17∑∑NexPoint -- are you aware that NexPoint filed                17∑∑justification, estoppel, waiver, and then --
18∑∑an answer to Highland's amended complaint?                   18∑∑and then there is some specific answers beyond
19∑∑∑∑A.∑∑Yes.                                                   19∑∑that, I guess.
20∑∑∑∑Q.∑∑And did you review NexPoint's answer                   20∑∑∑∑Q.∑∑Okay.∑Are you prepared --
21∑∑at any time before today's deposition?                       21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑John, I take it
22∑∑∑∑A.∑∑It was in the binder, I believe,                       22∑∑∑∑you will show him.∑He doesn't have to have
23∑∑that you guys sent over.                                     23∑∑∑∑them memorized.
24∑∑∑∑Q.∑∑I think that's right.∑Are you                          24∑∑∑∑∑∑∑MR. MORRIS:∑No, of course not.
25∑∑prepared to answer questions today about                     25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑So if you are

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01757
                                                                                                                                     YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 174 of 200 PageID 31327
                                                     Page 348                                                            Page 349
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                   ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑going to ask him, you will put it in front                ∑2∑∑are you -- do you have knowledge of the -- of
∑3∑∑∑∑of him?                                                   ∑3∑∑NexPoint's use of the proceeds of the note?
∑4∑∑∑∑∑∑∑MR. MORRIS:∑Of course.                                 ∑4∑∑∑∑A.∑∑Not specifically.
∑5∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Thank you.                          ∑5∑∑∑∑Q.∑∑All right.∑Maybe I will refresh
∑6∑∑∑∑Q.∑∑Are you prepared to testify today to                  ∑6∑∑your recollection later.
∑7∑∑the circumstances, communications, documents,               ∑7∑∑∑∑∑∑∑And then the last topic is discovery
∑8∑∑and facts concerning NexPoint's affirmative                 ∑8∑∑requests.
∑9∑∑defenses?                                                   ∑9∑∑∑∑∑∑∑Do you see that?
10∑∑∑∑A.∑∑Yeah, to the best that I can.                         10∑∑∑∑A.∑∑Yes.
11∑∑∑∑Q.∑∑Okay.∑Do you see Topic 3 concerns                     11∑∑∑∑Q.∑∑Are you prepared to testify today on
12∑∑the demand notes?                                           12∑∑NexPoint's behalf concerning Highland's
13∑∑∑∑A.∑∑Yes.                                                  13∑∑discovery requests?
14∑∑∑∑Q.∑∑Okay.∑Are you prepared to testify                     14∑∑∑∑A.∑∑To the best of my knowledge.
15∑∑about the demand notes, including with respect              15∑∑∑∑Q.∑∑Okay.∑Did you do anything to
16∑∑to the specific issues identified in that                   16∑∑prepare for today's deposition?
17∑∑topic?                                                      17∑∑∑∑A.∑∑I met with Deborah.
18∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Again, subject                      18∑∑∑∑Q.∑∑When did you do that?
19∑∑∑∑to the objections, particularly I think                   19∑∑∑∑A.∑∑A couple of days ago for a couple of
20∑∑∑∑with respect to use of the proceeds.                      20∑∑hours, and a few days before that for a couple
21∑∑∑∑Q.∑∑We will get to that.                                  21∑∑of hours.
22∑∑∑∑∑∑∑Are you prepared to testify?                           22∑∑∑∑Q.∑∑How many times --
23∑∑∑∑A.∑∑I hope so.                                            23∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Are you also
24∑∑∑∑Q.∑∑And -- and I know that there is an                    24∑∑∑∑asking about calls?
25∑∑objection there, but just a simple yes or no,               25∑∑∑∑∑∑∑MR. MORRIS:∑I appreciate that.
                                                     Page 350                                                            Page 351
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                   ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑A.∑∑Yeah.∑There were a couple of phone                    ∑2∑∑of these meetings or phone calls who didn't
∑3∑∑calls too.                                                  ∑3∑∑represent you in your individual capacity?
∑4∑∑∑∑Q.∑∑How many times did you communicate                    ∑4∑∑∑∑A.∑∑No.∑It was just -- it was just
∑5∑∑with Deborah in preparation for today's                     ∑5∑∑Deborah and I.
∑6∑∑deposition?                                                 ∑6∑∑∑∑Q.∑∑Okay.∑Have you had a chance to
∑7∑∑∑∑A.∑∑A half dozen, maybe, you know.                        ∑7∑∑review the transcript of Mr. Waterhouse's
∑8∑∑∑∑Q.∑∑How many times --                                     ∑8∑∑deposition?
∑9∑∑∑∑A.∑∑You know, in-person and phone calls,                  ∑9∑∑∑∑A.∑∑No.∑I haven't seen it yet.
10∑∑but...                                                      10∑∑∑∑Q.∑∑You haven't seen any portion of that
11∑∑∑∑Q.∑∑How many times did you meet with her                  11∑∑deposition?
12∑∑in-person?                                                  12∑∑∑∑A.∑∑No.
13∑∑∑∑A.∑∑Two, maybe three.                                     13∑∑∑∑Q.∑∑Are you aware of anything that
14∑∑∑∑Q.∑∑And can you just tell me an estimate                  14∑∑Mr. Waterhouse testified to in his deposition?
15∑∑of the total time spent preparing for this                  15∑∑∑∑A.∑∑No.
16∑∑deposition, inclusive of both the meetings and              16∑∑∑∑Q.∑∑You have no knowledge of anything
17∑∑the phone calls?                                            17∑∑that Mr. Waterhouse said last week in his
18∑∑∑∑A.∑∑I don't know.∑Does it matter? I                       18∑∑deposition; do I have that right?
19∑∑mean, I don't know.∑I don't know, four hours,               19∑∑∑∑A.∑∑That's correct.
20∑∑four hours.                                                 20∑∑∑∑Q.∑∑Okay.∑Do you have any knowledge as
21∑∑∑∑Q.∑∑Okay.∑Did anybody participate in                      21∑∑to anything your sister said in her deposition?
22∑∑these meetings or phone calls other than your               22∑∑∑∑A.∑∑No, other than she is glad it is
23∑∑lawyers?                                                    23∑∑over.
24∑∑∑∑A.∑∑No.                                                   24∑∑∑∑Q.∑∑I hope -- I hope -- I hope she
25∑∑∑∑Q.∑∑Did any lawyers participate in any                    25∑∑thinks at least I was respectful.

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01758
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 175 of 200 PageID 31328
                                                      Page 352                                                           Page 353
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑∑∑∑Did -- did you ever see her                             ∑2∑∑deposition other than the stack that I provided
∑3∑∑transcript -- the transcript from her                        ∑3∑∑and the deposition notices?
∑4∑∑deposition?                                                  ∑4∑∑∑∑A.∑∑I mean just -- no, just a listing of
∑5∑∑∑∑A.∑∑No.                                                    ∑5∑∑the notes, but that is it.
∑6∑∑∑∑Q.∑∑How about Mr. Seery, did you see the                   ∑6∑∑∑∑Q.∑∑Did you see any emails at all in
∑7∑∑transcript from Mr. Seery's deposition?                      ∑7∑∑connection with your preparation for today's
∑8∑∑∑∑A.∑∑I didn't even know that Seery was                      ∑8∑∑deposition?
∑9∑∑deposed, so the answer is no.                                ∑9∑∑∑∑A.∑∑No, not a single email.
10∑∑∑∑Q.∑∑Okay.∑Are you aware that Dave Klos                     10∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Let's put up
11∑∑was deposed?                                                 11∑∑∑∑Exhibit 48, please.
12∑∑∑∑A.∑∑You know what, I think I had                           12∑∑∑∑∑∑∑(Exhibit 48 marked.)
13∑∑awareness of that, but I haven't seen that                   13∑∑∑∑Q.∑∑And I think you will see that this
14∑∑deposition.                                                  14∑∑is the 30(b)(6) notice for HCMS.∑If we can go
15∑∑∑∑Q.∑∑Do you know anything about anything                    15∑∑to the next page.∑And it is really the same --
16∑∑that he testified to the other day?                          16∑∑I will represent to you that the topics for
17∑∑∑∑A.∑∑Nope.                                                  17∑∑HCMS are the same as the topics for NexPoint.
18∑∑∑∑Q.∑∑How about Kristin -- Kristin                           18∑∑∑∑∑∑∑Have you seen HCMS's 30(b)(6) notice
19∑∑Hendrix, are you aware that she was deposed?                 19∑∑that is up on the screen right now?
20∑∑∑∑A.∑∑I think I heard that she was also.                     20∑∑∑∑A.∑∑Yes.
21∑∑∑∑Q.∑∑Do you know anything about anything                    21∑∑∑∑Q.∑∑And if we took the time -- if I took
22∑∑that she testified to?                                       22∑∑the time to ask you the same questions about
23∑∑∑∑A.∑∑No.                                                    23∑∑your ability to answer on behalf of HCMS --
24∑∑∑∑Q.∑∑Did you look at any documents to                       24∑∑HCMS with respect to the topics identified
25∑∑refresh your recollection in advance of this                 25∑∑there and subject to your counsel's objections,
                                                      Page 354                                                           Page 355
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑would you be able to do so?                                  ∑2∑∑amended complaint.
∑3∑∑∑∑A.∑∑Yes.                                                   ∑3∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Is that in the
∑4∑∑∑∑∑∑∑MR. MORRIS:∑Let's put up Exhibit                        ∑4∑∑∑∑notebook?
∑5∑∑∑∑49, please.                                                ∑5∑∑∑∑∑∑∑MR. MORRIS:∑No, no.∑This is one
∑6∑∑∑∑∑∑∑(Exhibit 49 marked.)                                    ∑6∑∑∑∑that we had -- we had --
∑7∑∑∑∑Q.∑∑And this is the 30(b)(6) notice for                    ∑7∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑All right.∑Hang
∑8∑∑HCRE.∑You're here today to testify on behalf                 ∑8∑∑∑∑on.
∑9∑∑of HCRE as its corporate representative.∑Do                  ∑9∑∑∑∑∑∑∑MR. MORRIS:∑That's okay.∑That is
10∑∑you understand that?                                         10∑∑∑∑why we're putting it up on the screen, and
11∑∑∑∑A.∑∑Yes.                                                   11∑∑∑∑we will put it in the chat room.∑It is
12∑∑∑∑Q.∑∑And did you review the list of                         12∑∑∑∑already in there, actually.
13∑∑topics that we included in our 30(b)(6) notice               13∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Yeah, I think we
14∑∑for HCRE?                                                    14∑∑∑∑have it here.∑Hold on.∑I think Nancy
15∑∑∑∑A.∑∑Yes.                                                   15∑∑∑∑walked off with the duplicate of this, so
16∑∑∑∑Q.∑∑And subject to your counsel's                          16∑∑∑∑if you need it, I will hand it to you.
17∑∑objections, are you prepared to testify to the               17∑∑∑∑Q.∑∑Mr. Dondero, while we wait to see if
18∑∑topics that are listed on the page that is up                18∑∑your counsel has a hard copy, do you recall
19∑∑on the screen?                                               19∑∑reviewing your answer to the plaintiff's
20∑∑∑∑A.∑∑Yes.                                                   20∑∑amended complaint before it was filed?
21∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can we please                         21∑∑∑∑A.∑∑I don't know if I was involved at
22∑∑∑∑put up Exhibit 31.                                         22∑∑that juncture.
23∑∑∑∑∑∑∑(Exhibit 31 marked.)                                    23∑∑∑∑Q.∑∑All right.∑So just to refresh your
24∑∑∑∑Q.∑∑Mr. Dondero, we're putting up on the                   24∑∑recollection, this is a document that was filed
25∑∑screen now your answer to the -- to Highland's               25∑∑with the Court at the beginning of September.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01759
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 176 of 200 PageID 31329
                                                      Page 356                                                           Page 357
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑If you recall, Highland filed an original                    ∑2∑∑∑∑Q.∑∑So -- so let me ask the question
∑3∑∑complaint, and after you amended your answer                 ∑3∑∑again then:∑Do you recall, with that
∑4∑∑late in August pursuant to an agreement,                     ∑4∑∑background, having reviewed and approved the
∑5∑∑Highland filed amended complaints against                    ∑5∑∑filing of this document at the beginning of
∑6∑∑certain of the obligors in the notes                         ∑6∑∑September 2021?
∑7∑∑litigation.                                                  ∑7∑∑∑∑A.∑∑Generally.
∑8∑∑∑∑∑∑∑Does that refresh your recollection                     ∑8∑∑∑∑Q.∑∑Okay.∑As you sit here today, are
∑9∑∑that this document was prepared in early                     ∑9∑∑you aware of anything in this document that is
10∑∑September?                                                   10∑∑inaccurate?
11∑∑∑∑A.∑∑Okay.                                                  11∑∑∑∑A.∑∑Not that I'm aware of.
12∑∑∑∑Q.∑∑Okay.                                                  12∑∑∑∑Q.∑∑Okay.∑Are you aware of anything in
13∑∑∑∑A.∑∑I don't have specific memory.                          13∑∑the document that you believe should be
14∑∑∑∑Q.∑∑Okay.∑So as always, Mr. Dondero, we                    14∑∑modified or amended to make it more complete or
15∑∑have done this many times before, if there is                15∑∑more accurate?
16∑∑anything in the document that you think that                 16∑∑∑∑A.∑∑Not as of this moment.
17∑∑you need to see because it is a little bit of a              17∑∑∑∑Q.∑∑Okay.∑Can we please go to Paragraph
18∑∑lengthy document, will you let me know that?                 18∑∑83.∑Okay.∑Right there.
19∑∑∑∑A.∑∑Sure.                                                  19∑∑∑∑∑∑∑So do you see that on -- on page 13
20∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Yeah.∑And we                         20∑∑of the exhibit, we have in Paragraphs 82
21∑∑∑∑have a copy if you need to stop and take a                 21∑∑through 91 what are called your affirmative
22∑∑∑∑look.∑We did get a hard copy.∑We have a                    22∑∑defenses?
23∑∑∑∑hard copy here.                                            23∑∑∑∑A.∑∑Yes.
24∑∑∑∑Q.∑∑Okay.                                                  24∑∑∑∑Q.∑∑All right.∑I'm going to skip the
25∑∑∑∑A.∑∑All right.                                             25∑∑one in 82 for the moment, but focusing on 83.
                                                      Page 358                                                           Page 359
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑Can you just read that to yourself and tell me               ∑2∑∑share with me that concern that particular
∑3∑∑when you have done that?                                     ∑3∑∑affirmative defense?
∑4∑∑∑∑A.∑∑Yes.                                                   ∑4∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑And, again, just
∑5∑∑∑∑Q.∑∑Are you aware of any facts that                        ∑5∑∑∑∑in this particular answer.
∑6∑∑concern this particular affirmative defense?                 ∑6∑∑∑∑∑∑∑MR. MORRIS:∑That is all I'm asking
∑7∑∑∑∑A.∑∑Which notes are these again?                           ∑7∑∑∑∑about.
∑8∑∑∑∑Q.∑∑These would be your personal notes.                    ∑8∑∑∑∑Q.∑∑We're going to go through the answer
∑9∑∑∑∑A.∑∑The -- personal notes.∑I'm trying                      ∑9∑∑for each one of them.∑So just one at a time.
10∑∑to remember.∑No, I -- well, if you read the                  10∑∑We're only talking about your -- your notes.
11∑∑question one more time.                                      11∑∑∑∑A.∑∑No, not the moment.
12∑∑∑∑Q.∑∑Sure.∑Just so -- so to make sure                       12∑∑∑∑Q.∑∑Let's go to Paragraph 84.
13∑∑that you understand, because I'm not here to                 13∑∑∑∑∑∑∑Do you see Paragraph 84 states,
14∑∑trick you, this is your answer to Highland's                 14∑∑among other things, that plaintiff's claims are
15∑∑complaint against you where Highland is trying               15∑∑barred, in whole or in part, due to estoppel?
16∑∑to recover on the notes that you signed.                     16∑∑∑∑A.∑∑Yes.
17∑∑∑∑∑∑∑Do you understand that?                                 17∑∑∑∑Q.∑∑Can you share with me any facts that
18∑∑∑∑A.∑∑Right.                                                 18∑∑you are aware of that concern that particular
19∑∑∑∑Q.∑∑Okay.∑So in Paragraph 83 you have                      19∑∑affirmative defense?
20∑∑asserted an affirmative defense that the                     20∑∑∑∑A.∑∑No.
21∑∑plaintiff's claims are barred in whole or in                 21∑∑∑∑Q.∑∑Okay.∑I'm going to skip over 85
22∑∑part due to waiver.                                          22∑∑because I've gotten that answer elsewhere.∑If
23∑∑∑∑∑∑∑Do you see that?                                        23∑∑we can go to 86, do you see that Paragraph 86
24∑∑∑∑A.∑∑Yes.                                                   24∑∑asserts as an affirmative defense, among other
25∑∑∑∑Q.∑∑Do you have any facts that you can                     25∑∑things, that, quote:∑Plaintiff's claims may be

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01760
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 177 of 200 PageID 31330
                                                      Page 360                                                          Page 361
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑barred, in whole or in part, due to failure of               ∑2∑∑∑∑A.∑∑Let me read that one more time.
∑3∑∑consideration, closed quote?                                 ∑3∑∑∑∑Q.∑∑Take your time.
∑4∑∑∑∑A.∑∑Right, I see that.                                     ∑4∑∑∑∑A.∑∑I think that one is -- I'm trying --
∑5∑∑∑∑Q.∑∑Do you -- do you -- do you                             ∑5∑∑I'm trying to remember if that one -- if the
∑6∑∑acknowledge that Highland transferred to you an              ∑6∑∑partner defense is on alternative comp that
∑7∑∑amount of money equal to the principal amount                ∑7∑∑could have been taken or forgiveness that was
∑8∑∑on each of the notes that are at issue?                      ∑8∑∑in lieu of other comp -- I'm trying to remember
∑9∑∑∑∑A.∑∑I believe -- yes.                                      ∑9∑∑if that falls under this category.∑I think it
10∑∑∑∑Q.∑∑Okay.∑I appreciate that.                               10∑∑does.
11∑∑∑∑∑∑∑Do you have any facts that would                        11∑∑∑∑Q.∑∑Okay.∑Is there anything else that
12∑∑support the affirmative defense that is set                  12∑∑you can -- any other facts that you can think
13∑∑forth in Paragraph 86?                                       13∑∑of that concern the affirmative defense in
14∑∑∑∑A.∑∑No.                                                    14∑∑Paragraph 88?
15∑∑∑∑Q.∑∑Okay.∑And then, finally,                               15∑∑∑∑A.∑∑I mean, the -- yes.∑Okay.∑To the
16∑∑Paragraph 88 asserts, among other things, that               16∑∑extent that the -- in lieu of additional comp
17∑∑the fraudulent transfer claim should be barred,              17∑∑falls under there, so does the incentives to --
18∑∑in whole or in part, because the alleged                     18∑∑the incentive to me to help monetize illiquid
19∑∑fraudulent transfer -- and I'm summarizing                   19∑∑investments better faster.
20∑∑here -- was taken in good faith and for                      20∑∑∑∑Q.∑∑And does that relate to the three
21∑∑reasonably equivalent value.                                 21∑∑portfolio companies that are the subject of the
22∑∑∑∑∑∑∑Do you see that?                                        22∑∑oral agreement between you and your sister or
23∑∑∑∑A.∑∑Yes.                                                   23∑∑to something else?
24∑∑∑∑Q.∑∑Okay.∑Do you have any facts that                       24∑∑∑∑A.∑∑It is --
25∑∑concern that particular affirmative defense?                 25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Objection, form.
                                                      Page 362                                                          Page 363
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑A.∑∑-- regarding that, yeah.                               ∑2∑∑∑∑Q.∑∑Okay.∑So these questions I'm asking
∑3∑∑∑∑Q.∑∑It is the same thing.∑Do I have                        ∑3∑∑in your capacity as HCMS' 30(b)(6) witness.
∑4∑∑that right?                                                  ∑4∑∑Okay?
∑5∑∑∑∑A.∑∑Yes.                                                   ∑5∑∑∑∑A.∑∑Okay.
∑6∑∑∑∑Q.∑∑Okay.∑Thank you very much.                             ∑6∑∑∑∑Q.∑∑And you recall that one of the
∑7∑∑∑∑∑∑∑Is there anything else you can share                    ∑7∑∑topics under the deposition notice was HCMS'
∑8∑∑with me about the facts that concern the                     ∑8∑∑answer; right?
∑9∑∑affirmative defense in Paragraph 88?                         ∑9∑∑∑∑∑∑∑Are you prepared to answer questions
10∑∑∑∑A.∑∑I think that is -- that is -- that                     10∑∑about this document?
11∑∑is it.                                                       11∑∑∑∑A.∑∑Yep, to the best I can.
12∑∑∑∑Q.∑∑Okay.∑Can we change now to                             12∑∑∑∑Q.∑∑Okay.∑Have you seen it before?
13∑∑Exhibit 16, which you should have in your pile,              13∑∑∑∑A.∑∑Yes.
14∑∑which is the answer that was filed by the HCMS               14∑∑∑∑Q.∑∑And do you know whether HCMS
15∑∑to Highland's amended complaint.                             15∑∑authorized this Stinson firm to file this
16∑∑∑∑∑∑∑(Exhibit 16 marked.)                                    16∑∑document on its behalf at the beginning of
17∑∑∑∑A.∑∑Which number is this?                                  17∑∑2021?
18∑∑∑∑Q.∑∑It is number 16.                                       18∑∑∑∑A.∑∑Yes.
19∑∑∑∑A.∑∑16 in the binder?                                      19∑∑∑∑Q.∑∑Did you personally have any role in
20∑∑∑∑Q.∑∑It should be, yeah.                                    20∑∑reviewing and preparing this document?
21∑∑∑∑A.∑∑Yes.∑Okay.∑I got it.                                   21∑∑∑∑A.∑∑I mean, just generally that the
22∑∑∑∑Q.∑∑Okay.∑And is the first page titled                     22∑∑transition of former Judge Lynn passing and
23∑∑Defendant, Highland Capital Management                       23∑∑Bonds Ellis not being able to handle
24∑∑Services, Inc.'s Answer to Amended Complaint?                24∑∑complexity -- maybe I shouldn't say it like
25∑∑∑∑A.∑∑Yes.                                                   25∑∑that -- or handle this aspect of the case

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01761
                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 178 of 200 PageID 31331
                                                      Page 364                                                         Page 365
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑and/or -- I think it was -- yeah, just                       ∑2∑∑∑∑Q.∑∑Let's go to Paragraph 40 -- 94,
∑3∑∑whatever.∑He moved to Stinson from -- I think                ∑3∑∑please.
∑4∑∑maybe it started at Bonds Ellis and then maybe               ∑4∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑We may be
∑5∑∑it went to Wick Phillips and then it went to                 ∑5∑∑∑∑imperfect creatures as lawyers.
∑6∑∑Stinson, but, you know, there was a migration                ∑6∑∑∑∑A.∑∑Yes.
∑7∑∑of these notes in general.                                   ∑7∑∑∑∑Q.∑∑Okay.
∑8∑∑∑∑Q.∑∑Was there a particular person who                      ∑8∑∑∑∑A.∑∑Yes.
∑9∑∑was charged with the responsibility of                       ∑9∑∑∑∑Q.∑∑Okay.∑I was just going to say, do
10∑∑approving and authorizing the filing of this                 10∑∑you see from Paragraphs 94 through 102 HCMS has
11∑∑document on behalf of HCMS?                                  11∑∑set forth its affirmative defenses?
12∑∑∑∑A.∑∑Like I said, I think generally that                    12∑∑∑∑A.∑∑Yes.
13∑∑was myself.                                                  13∑∑∑∑Q.∑∑Okay.∑Let's -- let's start with the
14∑∑∑∑Q.∑∑Okay.∑Are you aware of anything in                     14∑∑first one.
15∑∑this document today that is inaccurate in any                15∑∑∑∑∑∑∑Do you see in Paragraph 94 HCMS
16∑∑way?                                                         16∑∑asserts that, quote:∑Plaintiff's claims are
17∑∑∑∑A.∑∑Not specifically.                                      17∑∑barred, in whole or in part, by the doctrine of
18∑∑∑∑Q.∑∑Are you aware of anything generally                    18∑∑justification and/or repudiation?
19∑∑in this document that is inaccurate in any way?              19∑∑∑∑A.∑∑Yes.
20∑∑∑∑A.∑∑Not at the moment.                                     20∑∑∑∑Q.∑∑Are you aware of any facts that
21∑∑∑∑Q.∑∑Are you aware of anything in this                      21∑∑concern that particular defense?
22∑∑document that you believe should be modified or              22∑∑∑∑A.∑∑I believe this -- they were material
23∑∑amended to make it more complete or more                     23∑∑prepayments of the loan.∑I believe that is --
24∑∑accurate?                                                    24∑∑those are the -- they were material and
25∑∑∑∑A.∑∑Not yet.                                               25∑∑numerous prepayments of the loan, which I think
                                                      Page 366                                                         Page 367
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑was -- that is incorporated into that defense.               ∑2∑∑ever did before this week to put Highland on
∑3∑∑∑∑Q.∑∑Okay.∑We will talk about the -- the                    ∑3∑∑notice that it contended that it didn't have to
∑4∑∑details of that in a moment, but are there any               ∑4∑∑pay its obligations under the notes because of
∑5∑∑other kind of broad statements that you can                  ∑5∑∑a prepayment defense?
∑6∑∑give me that identify facts related to this                  ∑6∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑7∑∑particular affirmative defense?                              ∑7∑∑∑∑form.
∑8∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        ∑8∑∑∑∑A.∑∑We have no records.∑I'm not sure we
∑9∑∑∑∑form.                                                      ∑9∑∑would have ever been in a position to -- to do
10∑∑∑∑A.∑∑That is all I have at the moment.                      10∑∑that.∑The -- you know, we were relying on
11∑∑∑∑Q.∑∑Okay.∑Do you know whether any                          11∑∑shared services from Highland, and Highland had
12∑∑document that HCMS ever filed with the                       12∑∑all the records regarding the amounts and
13∑∑bankruptcy court ever asserted, as in a                      13∑∑prepayments, et cetera.
14∑∑defense, that they didn't have to pay because                14∑∑∑∑Q.∑∑When did you learn that HCMS had
15∑∑they had prepaid any obligations that were due               15∑∑made a prepayment to Highland?
16∑∑and owing?                                                   16∑∑∑∑A.∑∑I don't know, but I -- I imagine --
17∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        17∑∑I imagine it was -- if you are asking why it
18∑∑∑∑form.                                                      18∑∑wasn't mentioned earlier but then mentioned
19∑∑∑∑A.∑∑I don't have awareness.                                19∑∑later, it is because somewhere in that time
20∑∑∑∑Q.∑∑And this document doesn't -- doesn't                   20∑∑period we became aware.
21∑∑use the word "prepayment" anywhere, does it?                 21∑∑∑∑Q.∑∑So you didn't -- you didn't have
22∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        22∑∑knowledge of the prepayment until the debtor
23∑∑∑∑form.                                                      23∑∑produced documents.∑Do I have that right?
24∑∑∑∑A.∑∑I don't know.                                          24∑∑∑∑∑∑∑Withdrawn.
25∑∑∑∑Q.∑∑Do you know of anything that HCMS                      25∑∑∑∑∑∑∑How did you learn that HCMS made a

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                              Appx. 01762
                                                                                                                                  YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 179 of 200 PageID 31332
                                                      Page 368                                                           Page 369
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑prepayment?                                                  ∑2∑∑material prepayments, but I don't know exactly
∑3∑∑∑∑A.∑∑I don't know.∑I just know that we                      ∑3∑∑when they were made.
∑4∑∑became aware of that being a material fact                   ∑4∑∑∑∑Q.∑∑Do you know what year they were
∑5∑∑somewhere along the line.                                    ∑5∑∑made?
∑6∑∑∑∑Q.∑∑Do you remember when you learned                       ∑6∑∑∑∑A.∑∑No, but -- no, but -- no, I don't.
∑7∑∑that material fact?                                          ∑7∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑If you want,
∑8∑∑∑∑A.∑∑No.                                                    ∑8∑∑∑∑John, if you would like for him to give you
∑9∑∑∑∑Q.∑∑Do you have any facts that you can                     ∑9∑∑∑∑dates, he could probably dig up the
10∑∑share with me concerning the prepayment?                     10∑∑∑∑spreadsheet and give you dates, but you
11∑∑∑∑A.∑∑Eventually there was a spreadsheet                     11∑∑∑∑have it also.
12∑∑that summarized it, but I don't -- I don't                   12∑∑∑∑∑∑∑MR. MORRIS:∑Thank you.∑Okay. I
13∑∑know -- I don't know when that occurred.                     13∑∑∑∑think we're doing just fine here.
14∑∑∑∑Q.∑∑Does -- does this defense of                           14∑∑∑∑Q.∑∑Do you know if there were any
15∑∑prepayment apply to demand notes or a term                   15∑∑prepayments made by HCMS in 2018?
16∑∑note?                                                        16∑∑∑∑A.∑∑I don't know the specifics off the
17∑∑∑∑A.∑∑I would -- I would -- I would say,                     17∑∑top of my head.
18∑∑you know, primarily a term note, but -- yeah, I              18∑∑∑∑Q.∑∑Do you know if HCMS made any
19∑∑think primarily the term note because I think                19∑∑prepayments in 2019?
20∑∑that was the one that was declared to be in                  20∑∑∑∑A.∑∑I don't know the specifics off the
21∑∑default of share, you know, whatever, so I                   21∑∑top of my head.
22∑∑think it was regarding the term note.                        22∑∑∑∑Q.∑∑Are you aware that under the term
23∑∑∑∑Q.∑∑Do you recall -- do you have any                       23∑∑note, HCMS was required to pay annual
24∑∑knowledge as to when the prepayment was made?                24∑∑installment payments at the end of each year?
25∑∑∑∑A.∑∑I believe there were numerous and                      25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
                                                      Page 370                                                           Page 371
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑form.                                                      ∑2∑∑to the extent that there was a screw-up, on the
∑3∑∑∑∑A.∑∑I wouldn't say it like that.                           ∑3∑∑term loans.
∑4∑∑∑∑Q.∑∑We will look -- we will look at the                    ∑4∑∑∑∑Q.∑∑What screw-up are you referring to?
∑5∑∑documents in a few minutes.                                  ∑5∑∑∑∑A.∑∑Well, we didn't have accountants or
∑6∑∑∑∑∑∑∑Are you aware of any facts that                         ∑6∑∑employees at Services, you know, and Services
∑7∑∑support the justification or repudiation                     ∑7∑∑was relying on Highland and shared services to
∑8∑∑defense in Paragraph 94 other than what you                  ∑8∑∑stay in compliance or to -- on the various
∑9∑∑have testified to so far?                                    ∑9∑∑loans.
10∑∑∑∑A.∑∑I think it is largely the prepayment                   10∑∑∑∑Q.∑∑Did you ever personally instruct
11∑∑aspect of it that is captured there.                         11∑∑anybody in December of 2020 to make a payment
12∑∑∑∑Q.∑∑Okay.∑And -- and -- all right. I                       12∑∑on behalf of HCMS under the term note?
13∑∑will leave it at that.                                       13∑∑∑∑A.∑∑To make -- I'm sorry, is this --
14∑∑∑∑∑∑∑Let's go to Paragraph 95.∑Do you                        14∑∑what was the timeframe again?
15∑∑see the affirmative defense in 95 is that,                   15∑∑∑∑Q.∑∑December 2020 -- let's just say
16∑∑quote, plaintiff's claims are barred in whole                16∑∑anytime in 2020.∑Did you, in your capacity as
17∑∑or in part by the doctrine of estoppel.                      17∑∑the person in control of HCMS, ever direct or
18∑∑∑∑∑∑∑Do you see that?                                        18∑∑authorize any person in the world to make a
19∑∑∑∑A.∑∑Yes.                                                   19∑∑payment from HCMS to Highland in satisfaction
20∑∑∑∑Q.∑∑Do you have any facts as the                           20∑∑of the obligation that was due under the term
21∑∑30(b)(6) witness of HCMS that concern that                   21∑∑note at the end of the year?
22∑∑particular affirmative defense?                              22∑∑∑∑A.∑∑Not that -- not that I recall.
23∑∑∑∑A.∑∑You know, I think for both 95 and                      23∑∑∑∑Q.∑∑Okay.∑Do you know whether anybody
24∑∑96, the way I understand it is that was                      24∑∑acting on behalf of HCMS ever instructed or
25∑∑reliance on Highland's and Highland's screw-up,              25∑∑authorized Highland to make a payment on

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01763
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 180 of 200 PageID 31333
                                                      Page 372                                                          Page 373
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑account of HCMS's term note to Highland?                     ∑2∑∑∑∑Q.∑∑Okay.∑And you were aware that the
∑3∑∑∑∑A.∑∑Well, again, and maybe I didn't say                    ∑3∑∑payment was due at the end of the year; isn't
∑4∑∑it clearly enough.∑I think there was a                       ∑4∑∑that right?
∑5∑∑reliance in the due course aspect, especially                ∑5∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑6∑∑on small amounts, and it would have been done                ∑6∑∑∑∑form.
∑7∑∑by Highland personnel on behalf of Services.                 ∑7∑∑∑∑A.∑∑Not -- not specifically.∑There
∑8∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Move to strike.                       ∑8∑∑is -- to be bona fide notes, there is -- I know
∑9∑∑∑∑Q.∑∑And I'm going to ask you,                              ∑9∑∑there is -- there is tax structuring and things
10∑∑Mr. Dondero, to be patient with me and to                    10∑∑that the auditors want to see in terms of -- of
11∑∑listen carefully to my question.                             11∑∑regular payment that everything just doesn't
12∑∑∑∑∑∑∑Are you aware of anybody acting on                      12∑∑accrue indefinitely, but what those roles are
13∑∑behalf of HCMS, whoever instructed Highland to               13∑∑and when and if it needs to be paid and whether
14∑∑make a payment in satisfaction of any payment                14∑∑it was by the end of the year or not.
15∑∑that was due at the year-end of 2020 under the               15∑∑∑∑∑∑∑I'm generally not specifically
16∑∑term note?                                                   16∑∑knowledgeable of or involved in, and nor do I
17∑∑∑∑A.∑∑Not specifically, but I'm saying I                     17∑∑have an awareness that was it or could it have
18∑∑don't think it needed to be made specifically.               18∑∑been satisfied by other payments throughout the
19∑∑∑∑Q.∑∑Okay.∑So you are not aware of any                      19∑∑year.∑I'm not -- I'm not the person for that
20∑∑instruction that was ever given to Highland by               20∑∑knowledge.
21∑∑HCMS to make the payment; is that fair?∑You                  21∑∑∑∑Q.∑∑Now, do you recall in December of
22∑∑relied on the course of dealing?                             22∑∑2020 there was some tension between you and
23∑∑∑∑A.∑∑Right.∑I relied on ordinary course.                    23∑∑Mr. Seery?
24∑∑I don't believe there was a specific -- I'm not              24∑∑∑∑A.∑∑Tension between me and Mr. Seery. I
25∑∑aware of a specific request.                                 25∑∑would say there was tension between Mr. Seery
                                                      Page 374                                                          Page 375
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑and everybody.∑He was trying to steal the                    ∑2∑∑∑∑A.∑∑Yes, roughly.
∑3∑∑estate, you know, so yes.                                    ∑3∑∑∑∑Q.∑∑And do you recall that at the end of
∑4∑∑∑∑∑∑∑MR. MORRIS:∑I move to strike.                           ∑4∑∑November, Highland had given notice of
∑5∑∑∑∑Q.∑∑You were asked to resign from                          ∑5∑∑termination of the shared services agreements
∑6∑∑Highland in late September of 2020; correct?                 ∑6∑∑with the advisors?
∑7∑∑∑∑A.∑∑Yes.                                                   ∑7∑∑∑∑A.∑∑I believe they did that multiple
∑8∑∑∑∑Q.∑∑And you did resign as of October                       ∑8∑∑times or extended it multiple times.∑I can't
∑9∑∑9th, 2020; correct?                                          ∑9∑∑remember if that was -- if it was done then or
10∑∑∑∑A.∑∑Yes.                                                   10∑∑not.
11∑∑∑∑Q.∑∑And do you recall that in early                        11∑∑∑∑Q.∑∑Okay.∑And it is your testimony that
12∑∑December, Highland sought a temporary                        12∑∑notwithstanding those facts and circumstances,
13∑∑restraining order against you?                               13∑∑you relied on Highland to make the payment that
14∑∑∑∑A.∑∑Yes.                                                   14∑∑HCMS owed at the end of the year?
15∑∑∑∑Q.∑∑And do you recall that Highland                        15∑∑∑∑A.∑∑Yes, absolutely.∑We were still
16∑∑obtained a temporary restraining order against               16∑∑deluded in terms of thinking that Seery was
17∑∑you in early December?                                       17∑∑working to resolve the estate, not to steal the
18∑∑∑∑A.∑∑Yes.                                                   18∑∑estate.
19∑∑∑∑Q.∑∑Okay.∑Do you recall that the                           19∑∑∑∑∑∑∑MR. MORRIS:∑I move to strike.
20∑∑advisors that you controlled filed a motion                  20∑∑∑∑Q.∑∑Do you have any other facts and
21∑∑against the debtor in mid December 2020?                     21∑∑circumstances that relate to the affirmative
22∑∑∑∑A.∑∑Yes.                                                   22∑∑defenses in Paragraphs 95 and 96?
23∑∑∑∑Q.∑∑Okay.∑And do you recall that that                      23∑∑∑∑A.∑∑I mean, not at the moment, not that
24∑∑motion was curved by the Court in the middle of              24∑∑I want to volunteer.∑When you ask more
25∑∑December?                                                    25∑∑questions about the specifics, I guess we will

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01764
                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 181 of 200 PageID 31334
                                                      Page 376                                                          Page 377
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑get to some of it.                                           ∑2∑∑the counterparties.∑So the annual obligations
∑3∑∑∑∑Q.∑∑Well, I'm asking you questions now.                    ∑3∑∑are even more de minimis or a million bucks or
∑4∑∑You are the 30(b)(6) witness.∑This is one of                 ∑4∑∑less than a million bucks.
∑5∑∑the topics that you were supposed to be                      ∑5∑∑∑∑∑∑∑There was never an intent, nor would
∑6∑∑prepared to answer questions about, and I would              ∑6∑∑there be a logical intent to -- from my
∑7∑∑just like to know everything that you have in                ∑7∑∑perspective or any of the entities that had
∑8∑∑your head as to facts that relate to these two               ∑8∑∑notice to Highland to be in default.∑And it is
∑9∑∑affirmative defenses.                                        ∑9∑∑not logical that they would do that for any
10∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        10∑∑purpose.
11∑∑∑∑form.                                                      11∑∑∑∑∑∑∑And the facts around the curing
12∑∑∑∑Q.∑∑Because if I don't ask the right                       12∑∑quickly of the notes and getting the curing
13∑∑question later, you know, we can't do that;                  13∑∑amounts from Highland and making the payments
14∑∑right?                                                       14∑∑and Highland accepting them as they're defining
15∑∑∑∑∑∑∑So do you have any other facts that                     15∑∑what it took to cure it, I think, are all, you
16∑∑you are aware of that relate to these two                    16∑∑know, the key facts that make any, you know,
17∑∑particular affirmative defenses?                             17∑∑acceleration argument, you know, ridiculous.
18∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑John, the fact                       18∑∑∑∑Q.∑∑Okay.∑Anything else?
19∑∑∑∑that it's a 30(b)(6) deposition doesn't                    19∑∑∑∑A.∑∑That's it at this point.
20∑∑∑∑absolve you of the necessity to ask                        20∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Let's go to
21∑∑∑∑questions.                                                 21∑∑∑∑Exhibit 17, please.
22∑∑∑∑∑∑∑MR. MORRIS:∑I asked the question.                       22∑∑∑∑∑∑∑(Exhibit 17 marked.)
23∑∑∑∑Q.∑∑Can I please have an answer?                           23∑∑∑∑Q.∑∑This is HCRE's answer.∑Do you see
24∑∑∑∑A.∑∑Again, the notes in general are de                     24∑∑that, sir?
25∑∑minimis relative to asset values of Highland or              25∑∑∑∑A.∑∑Yes.
                                                      Page 378                                                          Page 379
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑Q.∑∑And I'm going to ask these questions                   ∑2∑∑the time --
∑3∑∑in your capacity as the 30(b)(6) representative              ∑3∑∑∑∑Q.∑∑Okay.
∑4∑∑of HCRE.∑Do you understand that?                             ∑4∑∑∑∑A.∑∑-- we put this together.
∑5∑∑∑∑A.∑∑Yes.                                                   ∑5∑∑∑∑Q.∑∑Is there any other aspect of this
∑6∑∑∑∑Q.∑∑Have you seen this document before?                    ∑6∑∑document that you believe is inaccurate today?
∑7∑∑∑∑A.∑∑Yes.                                                   ∑7∑∑∑∑A.∑∑Not as far as I know.
∑8∑∑∑∑Q.∑∑Are you aware of anything in this                      ∑8∑∑∑∑Q.∑∑Is there anything in this document
∑9∑∑document that is inaccurate today?                           ∑9∑∑that you believe should be modified or amended
10∑∑∑∑A.∑∑I mean, I think 96 we put in there                     10∑∑to make it more accurate or more complete?
11∑∑similar to the other affirmative defenses in                 11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
12∑∑case there was a prepayment.∑But, again, we                  12∑∑∑∑form.
13∑∑have been so blocked from getting information                13∑∑∑∑A.∑∑Not yet.
14∑∑and detail we didn't know it at the time                     14∑∑∑∑Q.∑∑Okay.∑Looking at Paragraph 96, I
15∑∑regarding, you know, prepayments.                            15∑∑believe you just testified that,
16∑∑∑∑∑∑∑So I don't think the prepayment                         16∑∑notwithstanding the assertion of the defense
17∑∑defense works for 96.∑So that would be my                    17∑∑therein, you are not aware of any facts
18∑∑clarification of an inaccuracy.                              18∑∑concerning the prepayment defense that you
19∑∑∑∑Q.∑∑Why do you believe that the                            19∑∑described earlier for HCMS.
20∑∑prepayment defense doesn't work in Paragraph 96              20∑∑∑∑∑∑∑Do I have that right?
21∑∑for HCRE?                                                    21∑∑∑∑A.∑∑Yes.
22∑∑∑∑A.∑∑Because I don't think there were any                   22∑∑∑∑Q.∑∑Okay.∑Do you have any facts at all
23∑∑prepayments.                                                 23∑∑that relate to the affirmative defense in
24∑∑∑∑Q.∑∑All right.∑I appreciate that.                          24∑∑Paragraph 96?
25∑∑∑∑A.∑∑We didn't -- we didn't know it at                      25∑∑∑∑A.∑∑I don't believe so at this moment.

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01765
                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 182 of 200 PageID 31335
                                                      Page 380                                                           Page 381
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑Q.∑∑Okay.∑How about Paragraphs 97 and                      ∑2∑∑∑∑the screen on if you want so that we can
∑3∑∑98?∑Do you have any facts that relate to those               ∑3∑∑∑∑get back fast.
∑4∑∑affirmative defenses?                                        ∑4∑∑∑∑∑∑∑MR. MORRIS:∑My pleasure, Deborah.
∑5∑∑∑∑A.∑∑It would be the same answer as on                      ∑5∑∑∑∑No problem.
∑6∑∑the last one.                                                ∑6∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Thank you.
∑7∑∑∑∑Q.∑∑Okay.∑I appreciate that.∑And so --                     ∑7∑∑∑∑∑∑∑VIDEOGRAPHER:∑Off the record,
∑8∑∑but we don't have to go over it again.∑I will                ∑8∑∑∑∑12:40.
∑9∑∑just leave it at that.                                       ∑9∑∑∑∑(Recess taken 12:40 p.m. to 12:51 p.m.)
10∑∑∑∑∑∑∑Let's go to Exhibit 15, please.                         10∑∑∑∑Q.∑∑Before we go on to this document,
11∑∑∑∑∑∑∑(Exhibit 15 marked.)                                    11∑∑sir, did HCRE have a shared services agreement
12∑∑∑∑∑∑∑MR. MORRIS:∑This is the next --                         12∑∑with Highland?
13∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Hey, John.                           13∑∑∑∑∑∑∑VIDEOGRAPHER:∑We're back on the
14∑∑∑∑John, can we take a -- like a very quick                   14∑∑∑∑record.
15∑∑∑∑restroom break?                                            15∑∑∑∑∑∑∑MR. MORRIS:∑Oh, do I need to read
16∑∑∑∑∑∑∑MR. MORRIS:∑You know, if we could                       16∑∑∑∑the question again?
17∑∑∑∑just get through this document, which                      17∑∑∑∑∑∑∑COURT REPORTER:∑No, I've got it.
18∑∑∑∑shouldn't take long, then perhaps we can                   18∑∑∑∑A.∑∑I -- I don't believe it is a formal
19∑∑∑∑take a short half-hour lunch break.                        19∑∑written one.∑I think it is just a verbal one.
20∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Well, we can                         20∑∑∑∑Q.∑∑And who is the verbal agreement
21∑∑∑∑take a short half-hour lunch break after we                21∑∑between?
22∑∑∑∑get through this, but I just need to run to                22∑∑∑∑A.∑∑It was between Highland and HCRE.
23∑∑∑∑the restroom.                                              23∑∑Now it is between NexPoint and HCRE.
24∑∑∑∑∑∑∑MR. MORRIS:∑Okay.                                       24∑∑∑∑Q.∑∑And who entered into the agreement
25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑So you can leave                     25∑∑between Highland and HCRE?
                                                      Page 382                                                           Page 383
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑A.∑∑I would give the same answer I gave                    ∑2∑∑∑∑Q.∑∑Did the legal department also
∑3∑∑before where it was just -- it was just                      ∑3∑∑provide services to HCRE?
∑4∑∑understood that we supported all the related                 ∑4∑∑∑∑A.∑∑It would depend on the specific
∑5∑∑entities or entrepreneurial efforts and it was,              ∑5∑∑entity.∑In the case of HCRE I think they used
∑6∑∑you know, modest amounts of work.                            ∑6∑∑the -- the two lawyers that worked at NexPoint.
∑7∑∑∑∑∑∑∑There wasn't specific financial                         ∑7∑∑∑∑∑∑∑I don't think they used the legal
∑8∑∑remuneration, but -- and NexPoint is a good                  ∑8∑∑staff per se.∑I think they -- the shared
∑9∑∑example, too.∑There was a significant track                  ∑9∑∑services that they relied on were accounting
10∑∑record gulf that was able to be used to raise                10∑∑and tax primarily.
11∑∑other money.                                                 11∑∑∑∑Q.∑∑Did Mark Patrick do work for HCRE
12∑∑∑∑Q.∑∑I'm just asking you who entered into                   12∑∑while he was employed by Highland?
13∑∑the agreement between Highland and -- and HCRE               13∑∑∑∑A.∑∑Boy, I don't know.∑I imagine
14∑∑for the provision of services by Highland?                   14∑∑probably tax-related stuff.
15∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Asked and                            15∑∑∑∑Q.∑∑Did HCRE ever pay Highland anything
16∑∑∑∑answered.                                                  16∑∑for the services that it received?
17∑∑∑∑A.∑∑Yeah, again, same answer as before.                    17∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Are you talking
18∑∑I don't think anybody specifically, formally                 18∑∑∑∑about cash or --
19∑∑did it.                                                      19∑∑∑∑∑∑∑MR. MORRIS:∑Please, please, please.
20∑∑∑∑Q.∑∑Okay.∑Is it -- are the terms of the                    20∑∑∑∑-- I'm trying to be really patient,
21∑∑agreement written down anywhere?                             21∑∑∑∑Deborah, but please no speaking objections.
22∑∑∑∑A.∑∑No, like I said, it is just                            22∑∑∑∑Mr. Dondero is a very sophisticated man.
23∑∑understood the accounting department and tax                 23∑∑∑∑∑∑∑We have done this many times
24∑∑department would handle the accounting and tax               24∑∑∑∑together.∑He will ask me if he doesn't
25∑∑for all entities.                                            25∑∑∑∑understand the question.∑And if you would

                                     TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01766
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 183 of 200 PageID 31336
                                                      Page 384                                                          Page 385
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑like to object, by all means.∑I don't have                 ∑2∑∑definitely -- you know, when I use the DAF
∑3∑∑∑∑a problem with that.∑I don't.                              ∑3∑∑example, you know, we would have never got the
∑4∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑But I asked --                       ∑4∑∑Harvard vest as an investor if it wasn't for
∑5∑∑∑∑(speaking simultaneously.)                                 ∑5∑∑the track record that the DAF had in CLO
∑6∑∑∑∑Q.∑∑Mr. Dondero -- Mr. Dondero --                          ∑6∑∑equity.
∑7∑∑Mr. Dondero, did HCRE ever pay anything to                   ∑7∑∑∑∑∑∑∑I think there is business that
∑8∑∑Highland for services rendered?                              ∑8∑∑NexPoint got in the real estate space
∑9∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Asked and                            ∑9∑∑benefiting from the HCRE performance.∑So I do
10∑∑∑∑answered.                                                  10∑∑believe there was specific definable benefit
11∑∑∑∑A.∑∑Yeah, that is what I was going to                      11∑∑gained for the modest amount of cost of
12∑∑say.∑Same answer.∑You know, not -- not a                     12∑∑services provided.
13∑∑formal cash remuneration, but, you know, a --                13∑∑∑∑Q.∑∑And you --
14∑∑which wouldn't have been much anyway.∑But --                 14∑∑∑∑A.∑∑There wasn't specific remuneration.
15∑∑but more in terms of track record and presence               15∑∑∑∑Q.∑∑And you controlled all of these
16∑∑in the market that then Highland or NexPoint                 16∑∑entities; right?
17∑∑could use to further its business.                           17∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
18∑∑∑∑Q.∑∑Are you saying that -- that all of                     18∑∑∑∑form.
19∑∑the entities were working kind of as a unified               19∑∑∑∑A.∑∑Well, the DAF is independent and
20∑∑unit and got synergistic benefits from the work              20∑∑separate, but the -- the HCRE-type entity, yes.
21∑∑that it did?                                                 21∑∑∑∑Q.∑∑And did you decide that HCRE and
22∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        22∑∑HCMS and the DAF wouldn't be required to pay
23∑∑∑∑form.                                                      23∑∑for services rendered to Highland?
24∑∑∑∑A.∑∑I don't want to over generalize and                    24∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
25∑∑say yes to that, but -- but there were                       25∑∑∑∑form.
                                                      Page 386                                                          Page 387
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑A.∑∑My recollection on the services and                    ∑2∑∑∑∑get an answer to this question.
∑3∑∑the HCRE is that the dollar value of the                     ∑3∑∑∑∑A.∑∑Can you repeat the question?
∑4∑∑services provided was -- was small and nominal.              ∑4∑∑∑∑Q.∑∑Sure.
∑5∑∑∑∑∑∑∑With regard to the DAF, it was more                     ∑5∑∑∑∑∑∑∑Did you make the decision on behalf
∑6∑∑complicated.∑There is rules -- there is                      ∑6∑∑of Highland to provide services to the DAF
∑7∑∑charging rules in terms of fees and then there               ∑7∑∑without receiving a stream of income in return?
∑8∑∑is also -- I wasn't the one that decided that.               ∑8∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Same objection.
∑9∑∑And there are other issues there other than                  ∑9∑∑∑∑A.∑∑Yeah, I think I answered it with my
10∑∑just the value for services argument.                        10∑∑rambling a few minutes ago, but the short
11∑∑∑∑∑∑∑And so I don't -- the short answer                      11∑∑answer is no.
12∑∑is, I don't know and I'm not involved in that,               12∑∑∑∑Q.∑∑Who made that decision?∑Who made
13∑∑and I don't understand why sometimes there is                13∑∑that decision?
14∑∑one and sometimes there isn't one.∑Even to                   14∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Was that Mike's
15∑∑this day I don't know the answer to that.                    15∑∑∑∑dog or yours?
16∑∑∑∑Q.∑∑Did -- did -- did you decide on                        16∑∑∑∑∑∑∑MR. MORRIS:∑That was my dog. I
17∑∑behalf of Highland that Highland would provide               17∑∑∑∑apologize.
18∑∑services to DAF without receiving a stream of                18∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Okay.
19∑∑income in return?                                            19∑∑∑∑Q.∑∑Who made that decision, sir?
20∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑John, I think                        20∑∑∑∑A.∑∑I wasn't sure --
21∑∑∑∑we're really far outside of either any of                  21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Again -- again,
22∑∑∑∑the 30(b)(6)s or the permissible topics for                22∑∑∑∑John, this is well beyond the scope of the
23∑∑∑∑Mr. Dondero's personal deposition.                         23∑∑∑∑30(b)(6)s or even anything permissible for
24∑∑∑∑∑∑∑So could you move on?                                   24∑∑∑∑Mr. Dondero's personal.∑And, in fact, you
25∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑I will after I                        25∑∑∑∑said last time that is it, that was my last

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01767
                                                                                                                                   YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 184 of 200 PageID 31337
                                                      Page 388                                                          Page 389
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑question.∑So...                                            ∑2∑∑document on the screen is NexPoint's answer to
∑3∑∑∑∑∑∑∑MR. MORRIS:∑That is -- that is                          ∑3∑∑Highland's amended complaint?
∑4∑∑∑∑because I thought that he would say as the                 ∑4∑∑∑∑A.∑∑Yes.
∑5∑∑∑∑control person at the enterprise that he                   ∑5∑∑∑∑Q.∑∑Did you review this document before?
∑6∑∑∑∑made the decision, but he said that he                     ∑6∑∑∑∑A.∑∑Just generally.
∑7∑∑∑∑didn't.                                                    ∑7∑∑∑∑Q.∑∑And did you authorize the filing of
∑8∑∑∑∑∑∑∑So I'm just asking one follow-up                        ∑8∑∑this document on behalf of NexPoint?
∑9∑∑∑∑question.∑I just want to know -- Deborah,                  ∑9∑∑∑∑A.∑∑Yes, yes.
10∑∑∑∑please.                                                    10∑∑∑∑Q.∑∑Are you aware of anything in this
11∑∑∑∑Q.∑∑I just want to know who made the                       11∑∑document today that you believe to be
12∑∑decision on behalf of Highland to render                     12∑∑inaccurate?
13∑∑services to the DAF without receiving a stream               13∑∑∑∑A.∑∑I think the -- on the affirmative
14∑∑of income in return.                                         14∑∑defenses on the -- do you remember on the prior
15∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        15∑∑one we had the -- I think it was called
16∑∑∑∑form of the question for all of the reasons                16∑∑justification as the first one, but there
17∑∑∑∑I stated before.                                           17∑∑wasn't a prepay in that one?
18∑∑∑∑A.∑∑And I don't know the answer.                           18∑∑∑∑Q.∑∑Correct.
19∑∑∑∑Q.∑∑Okay.∑So looking back at the                           19∑∑∑∑A.∑∑I think this one there were prepays,
20∑∑document on the screen, we're going to ask --                20∑∑but the justification defense is missing from
21∑∑I'm going to ask these questions in your                     21∑∑the front here.∑And I think that is -- I think
22∑∑capacity as NexPoint's 30(b)(6) representative,              22∑∑if that were to continue -- I think that is
23∑∑okay?                                                        23∑∑partly due to different law firms and what was
24∑∑∑∑A.∑∑Sure.                                                  24∑∑known at the time, et cetera, but I would say
25∑∑∑∑Q.∑∑And do you understand that the                         25∑∑that is -- that is the -- that is the one thing
                                                      Page 390                                                          Page 391
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑that jumps out at me between the two.                        ∑2∑∑∑∑something.
∑3∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can we go to                          ∑3∑∑∑∑∑∑∑MR. MORRIS:∑It is completely
∑4∑∑∑∑Paragraph 80, and let's see if we can see                  ∑4∑∑∑∑improper.∑He doesn't need to be a lawyer.
∑5∑∑∑∑what Mr. Dondero is talking about.                         ∑5∑∑∑∑He's a 30(b)(6) witness, and I'm asking
∑6∑∑∑∑Q.∑∑Okay.∑So I'm just going to focus on                    ∑6∑∑∑∑such a simple question, what facts do you
∑7∑∑the first three paragraphs, 80, 81, and 82, and              ∑7∑∑∑∑have that support the affirmative defense.
∑8∑∑ask you whether -- whether you are aware of any              ∑8∑∑∑∑A.∑∑Okay.∑Is it okay if I repeat some
∑9∑∑facts that concern the affirmative defenses set              ∑9∑∑of them from the prior one?
10∑∑forth in those paragraphs.∑And I think they're               10∑∑∑∑Q.∑∑Sure.∑Whatever you are comfortable
11∑∑related, and that is why I'm asking you to do                11∑∑with.
12∑∑it all together, but we can do it one at a                   12∑∑∑∑A.∑∑The -- to the extent that -- to the
13∑∑time, whatever you are comfortable with.                     13∑∑extent that the notes were prepaid -- prepaid
14∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        14∑∑significantly, it is a real question on whether
15∑∑∑∑form.∑I mean, other than the facts in                      15∑∑or not there could have been a breach at the
16∑∑∑∑those paragraphs?                                          16∑∑end of the year, even if there wasn't a payment
17∑∑∑∑∑∑∑MR. MORRIS:∑You are doing it again,                     17∑∑at the end of the year.
18∑∑∑∑Deborah.                                                   18∑∑∑∑∑∑∑There is no logical reason, nor
19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑It --                                19∑∑would I have ever authorized or suggested no
20∑∑∑∑∑∑∑MR. MORRIS:∑Please, please.                             20∑∑payment to put us on -- in default due to a de
21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑John, when you                       21∑∑minimis amount of money, like a few hundred
22∑∑∑∑ask questions -- I understand Mr. Dondero                  22∑∑thousand dollars, even if I was highly annoyed
23∑∑∑∑is sophisticated, but he's also not a                      23∑∑with Seery, even if we knew that Seery and
24∑∑∑∑lawyer, and when you ask questions that are                24∑∑Highland had overcharged NexPoint by whatever
25∑∑∑∑misleading, I'm going to interject                         25∑∑it was, 14, 16 million bucks, I would not have

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01768
                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 185 of 200 PageID 31338
                                                      Page 392                                                          Page 393
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑let a small amount cause a -- cause a breach.                ∑2∑∑cetera, but the calculation that they came up
∑3∑∑∑∑∑∑∑You know, the -- how would I -- how                     ∑3∑∑to get it in compliance in good standing was a
∑4∑∑would I add to that now.∑The overpayment on                  ∑4∑∑million 4.∑And just like we relied on them to
∑5∑∑the $14 million, holding back additional shared              ∑5∑∑pay it and keep us out of default, we relied on
∑6∑∑services amount, made an inordinate amount of                ∑6∑∑them to set the amount to cure.
∑7∑∑sense.                                                       ∑7∑∑∑∑∑∑∑But I guess I would make the
∑8∑∑∑∑∑∑∑There was supposed to be at that                        ∑8∑∑argument that it shouldn't have been, but
∑9∑∑time -- there was another netting from Seery in              ∑9∑∑again, I didn't want to mince -- I didn't want
10∑∑terms of wanting to be fair and reasonable, you              10∑∑to on small dollars make an argument that could
11∑∑know, with employees and with the transition of              11∑∑get us in bigger trouble -- bigger trouble.∑So
12∑∑the estate, et cetera, and everything was going              12∑∑it was easier to -- to pay the million bucks
13∑∑to get trued up.                                             13∑∑than it was to argue that it wasn't due.
14∑∑∑∑∑∑∑So I do believe there was an                            14∑∑∑∑Q.∑∑Did you at any time in your capacity
15∑∑expectation of a netting, et cetera, but                     15∑∑as the person in control of NexPoint instruct
16∑∑overall, Highland should have paid it.∑It                    16∑∑anybody at Highland to make the payment that
17∑∑shouldn't have let it breach the cause, but at               17∑∑was due at the end of 2020?
18∑∑least when I found out about it and they knew I              18∑∑∑∑A.∑∑Not specifically to pay it or not
19∑∑was annoyed.∑And I told them I didn't want it                19∑∑specifically not to pay it.∑It was something,
20∑∑to be in default, they gave me the numbers and               20∑∑again, small and de minimis that I expected to
21∑∑the amounts to cure it in their mind, and they               21∑∑be done in due course.
22∑∑accepted it.                                                 22∑∑∑∑∑∑∑MR. MORRIS:∑I move to strike.
23∑∑∑∑∑∑∑Now, I think they should have gone                      23∑∑∑∑Q.∑∑It's a very simple question.
24∑∑back and incorporated prepays and said that no               24∑∑∑∑∑∑∑Did you personally take any steps to
25∑∑amounts were due because of the prepays, et                  25∑∑ensure that NexPoint made the payment that was
                                                      Page 394                                                          Page 395
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑due at the end of 2020?                                      ∑2∑∑gave.
∑3∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Asked and                            ∑3∑∑∑∑Q.∑∑Okay.∑I'm going to say the word
∑4∑∑∑∑answered.                                                  ∑4∑∑"Yankees," and every time I say the word
∑5∑∑∑∑A.∑∑Yes, I would like to repeat my same                    ∑5∑∑"Yankees" today, everybody should know that
∑6∑∑answer.                                                      ∑6∑∑that is the question that I'm going to bring to
∑7∑∑∑∑Q.∑∑Did you tell anybody to make the                       ∑7∑∑the Court on a motion to compel, okay?
∑8∑∑payment on behalf of NexPoint at the end of                  ∑8∑∑∑∑∑∑∑It's a very simple question.∑It's a
∑9∑∑2020?                                                        ∑9∑∑very simple question.∑I will ask one more
10∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Asked and                            10∑∑time, and if you don't want to answer, that is
11∑∑∑∑answered.                                                  11∑∑fine.
12∑∑∑∑A.∑∑I would like to give the same answer                   12∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑What --
13∑∑that you -- you -- you struck.                               13∑∑∑∑Q.∑∑Mr. Dondero -- Mr. Dondero, in
14∑∑∑∑Q.∑∑Can you just say yes or no, sir, did                   14∑∑December of 2020, did you give anybody any
15∑∑you tell anybody to make the payment at the end              15∑∑instructions at Highland to make sure that
16∑∑of 2020 on behalf of NexPoint?                               16∑∑NexPoint made the payment that was due at the
17∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Asked and                            17∑∑end of the year?
18∑∑∑∑answered.                                                  18∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Asked and
19∑∑∑∑A.∑∑I don't want to give anything beyond                   19∑∑∑∑answered.
20∑∑the answer that I gave.                                      20∑∑∑∑A.∑∑I think that means I'm supposed to
21∑∑∑∑Q.∑∑Okay.                                                  21∑∑stick with the answer that I gave.
22∑∑∑∑A.∑∑I get myself in trouble because I                      22∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑You're on mute,
23∑∑paraphrase.∑I don't want to answer yes -- I                  23∑∑∑∑John.∑John, you're on mute.∑John, you're
24∑∑don't think yes or no would be an appropriate                24∑∑∑∑on mute.∑John, we can't hear you.
25∑∑answer.∑I want to stay with the answer that I                25∑∑∑∑∑∑∑THE WITNESS:∑I do like it better

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01769
                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 186 of 200 PageID 31339
                                                      Page 396                                                          Page 397
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑when he yells at me on mute.                               ∑2∑∑instructed Highland to make the payment that
∑3∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑John, we can't                       ∑3∑∑was due on the NexPoint term note in December
∑4∑∑∑∑hear you.                                                  ∑4∑∑of 2020?
∑5∑∑∑∑∑∑∑COURT REPORTER:∑We can't hear you,                      ∑5∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑John, that is
∑6∑∑∑∑John.                                                      ∑6∑∑∑∑the fifth or sixth time.
∑7∑∑∑∑∑∑∑MR. MORRIS:∑You can't hear me?                          ∑7∑∑∑∑∑∑∑MR. MORRIS:∑It is a completely
∑8∑∑∑∑∑∑∑COURT REPORTER:∑Now we can.                             ∑8∑∑∑∑different question.∑Please.
∑9∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Now we can hear                      ∑9∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Could you read
10∑∑∑∑you, but we couldn't hear you.∑It looks                    10∑∑∑∑it back, if I was mistaken.∑So read it
11∑∑∑∑like you were yelling, but we couldn't hear                11∑∑∑∑back.
12∑∑∑∑you.                                                       12∑∑∑∑∑∑∑∑∑∑∑∑∑(Record read.)
13∑∑∑∑A.∑∑I do like it better when you yell at                   13∑∑∑∑A.∑∑NexPoint did not have the accounting
14∑∑me on mute.                                                  14∑∑staff or the systems or the records or the
15∑∑∑∑Q.∑∑I try not to yell at you, and I hope                   15∑∑knowledge to have any person in the world at
16∑∑that you haven't perceived this -- we do have a              16∑∑NexPoint to give that instruction.
17∑∑videotape this time.∑So to the extent that                   17∑∑∑∑∑∑∑So the long answer -- the short
18∑∑anybody perceives your comment as suggesting                 18∑∑answer is no, but the long answer is we had
19∑∑that I have yelled at you, I would invite them               19∑∑been kept away from our books and records. I
20∑∑to look at the video.                                        20∑∑think we largely still don't have them, and
21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Well, we said we                     21∑∑there would -- I am not aware of anybody who --
22∑∑∑∑couldn't hear you, but your animation                      22∑∑anybody in the world at NexPoint who made that
23∑∑∑∑looked like that.                                          23∑∑request.
24∑∑∑∑Q.∑∑Sir, can you identify any person in                    24∑∑∑∑Q.∑∑Frank Waterhouse was the treasurer
25∑∑the world acting on behalf of NexPoint who                   25∑∑of NexPoint in December of 2020; is that
                                                      Page 398                                                          Page 399
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑correct?                                                     ∑2∑∑∑∑A.∑∑Yes.
∑3∑∑∑∑A.∑∑I think he was very much viewing his                   ∑3∑∑∑∑Q.∑∑Okay.∑Did you speak with anybody
∑4∑∑responsibilities as Highland related and as an               ∑4∑∑during the break about the substance of this
∑5∑∑employee of Highland.∑But yes, based on that                 ∑5∑∑deposition?
∑6∑∑incumbency certificate, but that is your --                  ∑6∑∑∑∑A.∑∑No.
∑7∑∑your question to ask Frank if he was taking                  ∑7∑∑∑∑Q.∑∑You entered into certain oral
∑8∑∑that seriously, but NexPoint was relying on                  ∑8∑∑agreements with your sister concerning some of
∑9∑∑Highland.                                                    ∑9∑∑the notes at issue in these lawsuits.
10∑∑∑∑Q.∑∑Do you have any other facts that you                   10∑∑∑∑∑∑∑Do I have that right?
11∑∑are aware of that relate to the affirmative                  11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
12∑∑defenses set forth in Paragraphs 81 through 82?              12∑∑∑∑form.
13∑∑∑∑A.∑∑I think I -- I think I've said them                    13∑∑∑∑A.∑∑Can you rephrase or repeat, please?
14∑∑all.                                                         14∑∑∑∑Q.∑∑Sure.
15∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑It is 2:13                            15∑∑∑∑∑∑∑You entered into certain oral
16∑∑∑∑Eastern time.∑Let's just take a short                      16∑∑agreements with your sister concerning certain
17∑∑∑∑half-hour lunch break, and let's return at                 17∑∑of the notes at issue in these lawsuits.
18∑∑∑∑2:45, or 1:45 Central.                                     18∑∑∑∑∑∑∑Do I have that right?
19∑∑∑∑∑∑∑VIDEOGRAPHER:∑Off the record, 1:13.                     19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object --
20∑∑∑∑(Recess taken 1:13 p.m. to 1:48 p.m.)                      20∑∑∑∑A.∑∑Yes.
21∑∑∑∑∑∑∑VIDEOGRAPHER:∑Back on the record,                       21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
22∑∑∑∑1:48.                                                      22∑∑∑∑form.∑And I'm going to object -- object
23∑∑∑∑Q.∑∑Mr. Dondero, are you comfortable?                      23∑∑∑∑every time because it just -- just so it is
24∑∑∑∑A.∑∑Yes.                                                   24∑∑∑∑on the record because you are saying "your
25∑∑∑∑Q.∑∑And are you able to proceed?                           25∑∑∑∑sister" without giving her -- her capacity.

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01770
                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 187 of 200 PageID 31340
                                                      Page 400                                                           Page 401
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑A.∑∑Okay.                                                  ∑2∑∑∑∑A.∑∑Yes.
∑3∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑But I don't want                     ∑3∑∑∑∑Q.∑∑Okay.∑Let's discuss the purpose of
∑4∑∑∑∑to disrupt the deposition, so I'm just                     ∑4∑∑those oral agreements.
∑5∑∑∑∑telling you why I'm doing it and he can                    ∑5∑∑∑∑∑∑∑MR. MORRIS:∑Can we put back up on
∑6∑∑∑∑continue to answer thereafter.∑That is why                 ∑6∑∑∑∑the screen Mr. Dondero's answer.
∑7∑∑∑∑I'm doing it.                                              ∑7∑∑∑∑Q.∑∑And while we're doing that,
∑8∑∑∑∑Q.∑∑Okay.∑Can we -- can we agree,                          ∑8∑∑Mr. Dondero, can you confirm that your sister
∑9∑∑Mr. Dondero, when I refer to your sister in the              ∑9∑∑is the only trustee of the Dugaboy Investment
10∑∑context of oral agreements that she was                      10∑∑Trust?
11∑∑entering into those agreements with you as a                 11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
12∑∑representative of Dugaboy -- as Dugaboy                      12∑∑∑∑form.
13∑∑trustee, as representative for a majority of                 13∑∑∑∑A.∑∑For what period of time are we
14∑∑the class A interest holders of Highland?                    14∑∑talking about?
15∑∑∑∑A.∑∑Yeah.∑How about just to make it                        15∑∑∑∑Q.∑∑During the period of time at which
16∑∑simple let's just call it the Dugaboy trustee,               16∑∑you entered into the oral agreements with the
17∑∑and everybody will know that it is my sister                 17∑∑Dugaboy trustee.
18∑∑and everybody will know that it is the majority              18∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
19∑∑of the class A unit holders.                                 19∑∑∑∑form.
20∑∑∑∑Q.∑∑Okay.∑Okay.∑I appreciate that and                      20∑∑∑∑A.∑∑Yeah, I believe she has been the
21∑∑I will do just that.                                         21∑∑trustee since 2015 and remains so today. I
22∑∑∑∑∑∑∑You entered into certain oral                           22∑∑don't have an awareness of -- I don't have an
23∑∑agreements with the Dugaboy trustee concerning               23∑∑awareness of another functional trustee.
24∑∑certain of the notes at issue in these                       24∑∑∑∑∑∑∑So some of these -- sometimes
25∑∑lawsuits; is that right?                                     25∑∑complex trusts have other layers that are
                                                      Page 402                                                           Page 403
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑called trustees but they're not trustees per                 ∑2∑∑∑∑Q.∑∑Okay.
∑3∑∑se.∑But I think I'm over thinking it.∑But I'm                ∑3∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to
∑4∑∑not aware of anybody I've interacted with,                   ∑4∑∑∑∑Paragraph 82, please.
∑5∑∑other than her, as trustee with regard to the                ∑5∑∑∑∑Q.∑∑Is it your understanding that
∑6∑∑notes.                                                       ∑6∑∑Paragraph 82 describes, among other things, in
∑7∑∑∑∑Q.∑∑Okay.∑So up on the screen we                           ∑7∑∑general terms your oral agreements with --
∑8∑∑have -- no, that is the wrong document.                      ∑8∑∑between you and the Dugaboy trustee?
∑9∑∑∑∑∑∑∑MR. MORRIS:∑We need Exhibit 31,                         ∑9∑∑∑∑A.∑∑Yes.
10∑∑∑∑please.                                                    10∑∑∑∑Q.∑∑Is it your position that the oral
11∑∑∑∑∑∑∑Yeah, there you go.∑That one.                           11∑∑agreements that you entered into with your
12∑∑∑∑Perfect.∑Okay.                                             12∑∑sister -- withdrawn.
13∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑31 is not -- oh,                     13∑∑∑∑∑∑∑Is it your contention that the oral
14∑∑∑∑is that the '03 answer?                                    14∑∑agreements you entered into with the Dugaboy
15∑∑∑∑∑∑∑MR. MORRIS:∑Correct, that is                            15∑∑trustee applied to each of the notes that were
16∑∑∑∑Mr. Dondero's answer.                                      16∑∑executed by NexPoint and that are the subject
17∑∑∑∑Q.∑∑Do you see that, sir, on the screen?                   17∑∑of Highland's lawsuit against NexPoint?
18∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Hang on.∑I'm                         18∑∑∑∑A.∑∑Yes.
19∑∑∑∑going to get it again.                                     19∑∑∑∑Q.∑∑Is it your contention that the oral
20∑∑∑∑∑∑∑Okay.∑If you want a hard copy, I                        20∑∑agreements that were entered into with the
21∑∑∑∑have one here but he's got it up.                          21∑∑Dugaboy trustee apply to the notes executed by
22∑∑∑∑Q.∑∑Do you see on the screen,                              22∑∑HCMS that are the subject of Highland's lawsuit
23∑∑Mr. Dondero, marked as Exhibit 31 is your                    23∑∑against HCMS?
24∑∑answer to Highland's amended complaint?                      24∑∑∑∑A.∑∑Yes.
25∑∑∑∑A.∑∑Yes.                                                   25∑∑∑∑Q.∑∑Is it your contention that the oral

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01771
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 188 of 200 PageID 31341
                                                     Page 404                                                            Page 405
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                   ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑agreements between you and the Dugaboy trustee              ∑2∑∑withdrawn.
∑3∑∑apply to the notes that were executed by HCRE               ∑3∑∑∑∑∑∑∑Is that the purpose of the agreement
∑4∑∑that are the subject of the lawsuit that                    ∑4∑∑that you entered into with the Dugaboy trustee
∑5∑∑Highland has commenced against HCRE?                        ∑5∑∑concerning the notes at issue in the lawsuits
∑6∑∑∑∑A.∑∑Yes.                                                  ∑6∑∑that were commenced against you personally?
∑7∑∑∑∑Q.∑∑Okay.∑Do I understand correctly                       ∑7∑∑∑∑∑∑∑Withdrawn.∑That was a bad question.
∑8∑∑that your oral agreements with your sister do               ∑8∑∑∑∑∑∑∑Does that purpose apply only to the
∑9∑∑not apply to the notes that were executed on                ∑9∑∑notes that you executed or does it apply to the
10∑∑behalf of HCMFA that are the subject of the                 10∑∑corporate notes as well?
11∑∑lawsuit that Highland commenced against HCMFA?              11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
12∑∑∑∑A.∑∑Correct.                                              12∑∑∑∑form.
13∑∑∑∑Q.∑∑Okay.∑I appreciate that.                              13∑∑∑∑∑∑∑Other than HCMFA?
14∑∑∑∑∑∑∑Do you see in this paragraph towards                   14∑∑∑∑∑∑∑MR. MORRIS:∑Correct.∑I think we've
15∑∑the middle it says, quote:∑The purpose of this              15∑∑∑∑established the scope of the agreements.
16∑∑agreement was to provide compensation to                    16∑∑∑∑A.∑∑To give a complete answer, from my
17∑∑defendant, James Dondero, who was otherwise                 17∑∑perspective it is about 50 million of notes
18∑∑underpaid, compared to reasonable compensation              18∑∑between -- current balance between NexPoint,
19∑∑levels in the industry through the use of                   19∑∑Services, myself, and HCRE.
20∑∑forgivable loans, a practice that was standard              20∑∑∑∑Q.∑∑And HCMS; right?
21∑∑at HCMLP in the industry.                                   21∑∑∑∑A.∑∑Yes, Services, Highland Capital
22∑∑∑∑∑∑∑Have I read that correctly?                            22∑∑Management, yes.
23∑∑∑∑A.∑∑Yes.                                                  23∑∑∑∑Q.∑∑Okay.∑So I just want to know, that
24∑∑∑∑Q.∑∑Is that the purpose of the agreement                  24∑∑sentence there concerning the purpose was
25∑∑that you entered into with your sister --                   25∑∑omitted from the answers of NexPoint, HCMS,
                                                     Page 406                                                            Page 407
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                   ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑HCRE.                                                       ∑2∑∑say that you don't know why that statement of
∑3∑∑∑∑∑∑∑And I'm happy to walk you through to                   ∑3∑∑purpose was omitted from the corporate
∑4∑∑show you.∑And I just want to know in your                   ∑4∑∑entities' answers?
∑5∑∑capacity as a 30(b)(6) witness for those                    ∑5∑∑∑∑A.∑∑Yeah, I don't know why it is omitted
∑6∑∑entities, if you know why that statement of                 ∑6∑∑or why the complaints aren't consistent with
∑7∑∑purpose was omitted.                                        ∑7∑∑that regard.
∑8∑∑∑∑A.∑∑Well, we talked about it earlier. I                   ∑8∑∑∑∑Q.∑∑Okay.∑But it is your -- it is your
∑9∑∑think there is some cleanup.∑There has been                 ∑9∑∑position as the purpose -- as one of the people
10∑∑multiple lawyers involved.∑We didn't know                   10∑∑who entered into this oral agreement that the
11∑∑which loans were prepaid, which loans weren't.              11∑∑purpose for the -- for the condition subsequent
12∑∑But, you know, I don't know why it was omitted              12∑∑agreement is the same as for the corporate
13∑∑but it applies to all of them.                              13∑∑entities as it is for you, as stated in this
14∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑I think that is                     14∑∑paragraph; is that right?
15∑∑∑∑the first time that I've noticed that.∑So,                15∑∑∑∑A.∑∑Yes.
16∑∑∑∑John, I'm going to take a mea culpa. I                    16∑∑∑∑Q.∑∑Okay.∑We talked a little bit about
17∑∑∑∑think that is a cut-and-paste error.                      17∑∑the NexPoint term note.
18∑∑∑∑∑∑∑MR. MORRIS:∑All right.∑Well, I                         18∑∑∑∑∑∑∑Do you remember that?
19∑∑∑∑will -- I will just point out that the                    19∑∑∑∑A.∑∑Yes.
20∑∑∑∑affirmative defense concerning the oral                   20∑∑∑∑Q.∑∑And do you recall that in its
21∑∑∑∑agreements is the exact same in all four                  21∑∑original form the NexPoint term note was for a
22∑∑∑∑answers, except for the omission of the                   22∑∑principal amount of approximately $30 million?
23∑∑∑∑statement of purpose for the three                        23∑∑∑∑A.∑∑Yes.
24∑∑∑∑corporate entities.                                       24∑∑∑∑Q.∑∑And do you recall that the NexPoint
25∑∑∑∑Q.∑∑And so, Mr. Dondero, is it fair to                    25∑∑term note was a rollup of the outstanding

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01772
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 189 of 200 PageID 31342
                                                      Page 408                                                            Page 409
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑principal and interest then due on certain                   ∑2∑∑∑∑Q.∑∑Do you know if you read the note
∑3∑∑promissory notes that had previously been given              ∑3∑∑before you signed it?
∑4∑∑by NexPoint to Highland?                                     ∑4∑∑∑∑A.∑∑Not likely.
∑5∑∑∑∑A.∑∑Yes.                                                   ∑5∑∑∑∑Q.∑∑Do you recall whether there was
∑6∑∑∑∑Q.∑∑Okay.                                                  ∑6∑∑anything about the note that you didn't
∑7∑∑∑∑∑∑∑MR. MORRIS:∑Can we put up, please,                      ∑7∑∑understand before you signed it on behalf of
∑8∑∑∑∑Exhibit Number 2, which I believe is the                   ∑8∑∑NexPoint?
∑9∑∑∑∑complaint against NexPoint.                                ∑9∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
10∑∑∑∑∑∑∑(Exhibit 2 marked.)                                     10∑∑∑∑form.
11∑∑∑∑∑∑∑MR. MORRIS:∑And if we can go to                         11∑∑∑∑A.∑∑Yeah, I'm not -- I doubt I read it,
12∑∑∑∑Exhibit Number 1 of Deposition Exhibit                     12∑∑so I don't remember objecting to anything.
13∑∑∑∑Number 2.                                                  13∑∑∑∑Q.∑∑Okay.∑Looking at Paragraph 2.1, am
14∑∑∑∑Q.∑∑Okay.∑And do you see -- I'm sorry,                     14∑∑I characterizing that section fairly when I say
15∑∑sir, do you see that Exhibit Number 1 to the                 15∑∑that the borrower was required to make an
16∑∑complaint is a promissory note dated May 31st,               16∑∑annual installment payment at the end of each
17∑∑2017 in the approximate amount of                            17∑∑calendar year?
18∑∑$30.75 million?                                              18∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
19∑∑∑∑A.∑∑Yes.                                                   19∑∑∑∑form.
20∑∑∑∑Q.∑∑Okay.∑And is that your signature on                    20∑∑∑∑A.∑∑I see that paragraph, yes.
21∑∑page 2?                                                      21∑∑∑∑Q.∑∑Okay.∑And did you understand when
22∑∑∑∑A.∑∑Looks like it.                                         22∑∑you signed it that an annual installment
23∑∑∑∑Q.∑∑Okay.∑And did you sign this note on                    23∑∑payment would be due at the end of each year by
24∑∑behalf of NexPoint on or around May 31st, 2017?              24∑∑NexPoint?
25∑∑∑∑A.∑∑I assume so.                                           25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
                                                      Page 410                                                            Page 411
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑form.                                                      ∑2∑∑correctly.∑I think it had something to do with
∑3∑∑∑∑A.∑∑I never read it that closely.                          ∑3∑∑either the audit or the financials or if we had
∑4∑∑∑∑Q.∑∑So as the control person of                            ∑4∑∑a credit facility at the time.∑I think that is
∑5∑∑NexPoint, is it fair to say then that you don't              ∑5∑∑probably why, but I don't remember exactly.
∑6∑∑recall having an understanding when you signed               ∑6∑∑∑∑Q.∑∑Do you have any other recollection
∑7∑∑this note that NexPoint would be required to                 ∑7∑∑as to why all three notes were executed at the
∑8∑∑make annual payments at the end of each year?                ∑8∑∑end of May 2017?
∑9∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        ∑9∑∑∑∑A.∑∑Again, I believe they're -- the --
10∑∑∑∑form.                                                      10∑∑aggregating or solidifying them into one
11∑∑∑∑A.∑∑I didn't have knowledge of the                         11∑∑defined note I think was required by the
12∑∑specifics, and again, I would describe those                 12∑∑auditors or the -- the accounting department as
13∑∑specifics as de minimis.                                     13∑∑best practices.∑I don't think -- it wasn't a
14∑∑∑∑Q.∑∑Okay.∑Do you see -- do you have any                    14∑∑regulatory reason and it wasn't a compliance
15∑∑idea who drafted this note?                                  15∑∑reason.∑I believe it was just an accounting or
16∑∑∑∑A.∑∑It would have come from accounting.                    16∑∑an audit reason.
17∑∑I think they have boilerplate -- I don't know                17∑∑∑∑Q.∑∑Did you ever make sure on behalf of
18∑∑if they work with legal at all.∑I have no                    18∑∑NexPoint that the terms of the promissory note
19∑∑idea, but it would have come through                         19∑∑were fair and reasonable?
20∑∑accounting.                                                  20∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
21∑∑∑∑Q.∑∑Do you recall that all three of the                    21∑∑∑∑form.
22∑∑term notes at issue were signed on the same                  22∑∑∑∑A.∑∑Yeah, I don't remember ever
23∑∑day, May 31st, 2017?                                         23∑∑negotiating or reading it that closely.∑And
24∑∑∑∑A.∑∑That doesn't surprise me.∑I think                      24∑∑again, I think the view from all concerned is
25∑∑there was an accounting reason, if I remember                25∑∑that it was relatively de minimis from the

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01773
                                                                                                                                     YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 190 of 200 PageID 31343
                                                      Page 412                                                            Page 413
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑balance sheet at Highland then or now and/or de              ∑2∑∑before?
∑3∑∑minimis relevant to NexPoint's value.                        ∑3∑∑∑∑A.∑∑No.
∑4∑∑∑∑Q.∑∑It is a $30 million note.∑Do I have                    ∑4∑∑∑∑Q.∑∑Do you think a prudent executive
∑5∑∑that right?                                                  ∑5∑∑signing a $30 million note should take the time
∑6∑∑∑∑A.∑∑Yes.                                                   ∑6∑∑to read the terms and conditions of the note?
∑7∑∑∑∑Q.∑∑Okay.∑And it was material enough to                    ∑7∑∑∑∑A.∑∑Not necessarily.
∑8∑∑be included in Highland's financial statements;              ∑8∑∑∑∑Q.∑∑Under what circumstances do you
∑9∑∑is that correct?                                             ∑9∑∑think that an executive shouldn't take the time
10∑∑∑∑A.∑∑Anything material or not as part of                    10∑∑to read the terms and conditions of a
11∑∑doing proper audited financials needs to be                  11∑∑$30 million promissory note?
12∑∑properly included.                                           12∑∑∑∑A.∑∑When it is between affiliates,
13∑∑∑∑Q.∑∑Okay.∑And you know, because you                        13∑∑between friendly affiliates with no even
14∑∑signed the management representation letter,                 14∑∑inkling that bankruptcy or the parties could be
15∑∑that this note was specifically disclosed to                 15∑∑at odds create a note, when it is a soft note
16∑∑PwC and included in both Highland's and                      16∑∑with limited collateral and limited other
17∑∑NexPoint's audited financial statements;                     17∑∑protections.∑And then the servicing or value
18∑∑correct?                                                     18∑∑of the note is de minimis relative to the
19∑∑∑∑A.∑∑I would -- I would have been shocked                   19∑∑balance sheets of each entity I think is a good
20∑∑if it wasn't, if it is an asset and a liability              20∑∑reason or logical reason for the executives on
21∑∑respectively of the companies.                               21∑∑both sides not to spend much time focusing on
22∑∑∑∑Q.∑∑Okay.∑Do you see the section on                        22∑∑it.
23∑∑acceleration upon default, Paragraph 4?                      23∑∑∑∑Q.∑∑All right.∑So you thought it was
24∑∑∑∑A.∑∑Yes.                                                   24∑∑reasonable not to read this particular note for
25∑∑∑∑Q.∑∑Have you ever seen that section                        25∑∑the reasons you just gave.
                                                      Page 414                                                            Page 415
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑∑∑∑Do I have that right?                                   ∑2∑∑anything regarding the company from any of the
∑3∑∑∑∑A.∑∑Right.                                                 ∑3∑∑other subsidiaries, and Frank was administering
∑4∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can we go to the                      ∑4∑∑the notes on behalf of both the related parties
∑5∑∑∑∑next page, please.                                         ∑5∑∑and Highland.
∑6∑∑∑∑Q.∑∑Do you see Paragraph 5?∑There is a                     ∑6∑∑∑∑∑∑∑So at the time -- at the time I
∑7∑∑paragraph entitled Waiver.                                   ∑7∑∑would have -- I would have never known that at
∑8∑∑∑∑A.∑∑Yes.                                                   ∑8∑∑the end of 2020.∑And it is crazy to think I
∑9∑∑∑∑Q.∑∑And I will read it out loud:∑Maker                     ∑9∑∑would have remembered a clause in a soft note
10∑∑hereby waives grace, demand, presentment for                 10∑∑from three years earlier.
11∑∑payment, notice of non-payment, protest, notice              11∑∑∑∑Q.∑∑Okay.∑Is it fair to say that -- do
12∑∑of protest, notice of intent to accelerate,                  12∑∑you understand today that that provision is
13∑∑notice of acceleration, and all other notices                13∑∑included in every note that you signed?
14∑∑of any kind hereunder.                                       14∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
15∑∑∑∑∑∑∑Have I read that correctly?                             15∑∑∑∑form.
16∑∑∑∑A.∑∑Yes.                                                   16∑∑∑∑A.∑∑You're saying it, so I believe you.
17∑∑∑∑Q.∑∑Do you know that that paragraph is                     17∑∑I'm not asking you to go show me all the other
18∑∑included in every single note that you signed                18∑∑notes, but --
19∑∑that is part of the litigation that we're here               19∑∑∑∑Q.∑∑Thank you.
20∑∑to talk about today?                                         20∑∑∑∑A.∑∑-- I'm assuming it is in all the
21∑∑∑∑A.∑∑You have to -- you have to define                      21∑∑other notes.∑I will take your word for it.
22∑∑when.∑You know, like today I know that it                    22∑∑∑∑Q.∑∑And is it fair to say that at the
23∑∑is -- it is in those notes.                                  23∑∑time you signed these notes you didn't take the
24∑∑∑∑∑∑∑At the end of '20, Seery and DSI                        24∑∑time to read that particular provision?
25∑∑were withholding all notes, all information,                 25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01774
                                                                                                                                     YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 191 of 200 PageID 31344
                                                      Page 416                                                            Page 417
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑form.                                                      ∑2∑∑the negotiation -- to negotiations?
∑3∑∑∑∑A.∑∑That is correct.∑A lot of it is                        ∑3∑∑∑∑A.∑∑No, one that is over time subject to
∑4∑∑boilerplate.∑And, again, treasury or                         ∑4∑∑negotiation or modification.
∑5∑∑accounting would have put in what was necessary              ∑5∑∑∑∑Q.∑∑Okay.
∑6∑∑for regulatory, tax, audit purposes.∑Maybe the               ∑6∑∑∑∑A.∑∑Because there is -- there is
∑7∑∑auditors put that in.∑I have no idea.                        ∑7∑∑limited -- there is limited, team collateral,
∑8∑∑∑∑∑∑∑But the content and the bullet                          ∑8∑∑guarantee, bad boy features in -- in a soft
∑9∑∑points here, the nine paragraphs on a soft note              ∑9∑∑note.
10∑∑would have been put in by other people and                   10∑∑∑∑Q.∑∑Okay.∑Perhaps my question wasn't
11∑∑administered by other people other than me.                  11∑∑clear.
12∑∑∑∑Q.∑∑What is a soft note?                                   12∑∑∑∑∑∑∑Did the notes that you signed -- did
13∑∑∑∑A.∑∑You know, like a secured -- I mean,                    13∑∑you negotiate them with anybody, the terms of
14∑∑a note that isn't a hard note, like a note that              14∑∑each note?
15∑∑isn't secured, deed in lieu, UCC filed,                      15∑∑∑∑A.∑∑No.
16∑∑guaranteed, you know, performance and bad boy                16∑∑∑∑Q.∑∑Okay.∑Did you personally decide on
17∑∑clauses and all of that other stuff.                         17∑∑the terms of each note?
18∑∑∑∑∑∑∑A soft note is an unsecured loan                        18∑∑∑∑A.∑∑No.∑Again, they were two highly
19∑∑that has basic terms to it, but it is likely                 19∑∑solvent, highly well-capitalized subsidiaries,
20∑∑subject to renegotiation over time.                          20∑∑and the amount of the notes was de minimis and
21∑∑∑∑Q.∑∑Were any of the notes that you                         21∑∑friendly, and they were soft notes administered
22∑∑signed subject to negotiation?                               22∑∑by a centralized treasury shared services
23∑∑∑∑A.∑∑Well, I'm saying by definition that                    23∑∑department.
24∑∑is what a soft note is.                                      24
25∑∑∑∑Q.∑∑One that -- that is not subject to                     25∑∑∑∑∑∑∑They were the ones deciding what it
                                                      Page 418                                                            Page 419
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑took to be compliant from an accounting                      ∑2∑∑∑∑A.∑∑Yes.
∑3∑∑regulatory-wise standpoint, but wasn't -- they               ∑3∑∑∑∑Q.∑∑And is it your understanding that
∑4∑∑were trying to come up with a balance note,                  ∑4∑∑this note substituted and superseded the
∑5∑∑which I think this is, such that it wouldn't                 ∑5∑∑promissory notes that are listed on Exhibit A
∑6∑∑have to be negotiated or haggled by any of the               ∑6∑∑on the page there?
∑7∑∑parties.                                                     ∑7∑∑∑∑A.∑∑Yeah.∑I mean, effectively pay those
∑8∑∑∑∑∑∑∑And there is no evidence of any of                      ∑8∑∑off and reestablish an aggregate note.
∑9∑∑the notes ever being haggled or ever being                   ∑9∑∑∑∑Q.∑∑Right.∑And Exhibit A actually set
10∑∑negotiated.                                                  10∑∑forth the outstanding principal and interest
11∑∑∑∑Q.∑∑Okay.∑I appreciate that.                               11∑∑that NexPoint owed Highland under the prior
12∑∑∑∑∑∑∑At the time you signed each of the                      12∑∑notes as defined there as of May 31st, 2017;
13∑∑notes on behalf of the obligors, did the                     13∑∑right?
14∑∑obligors have an intention at the time you put               14∑∑∑∑A.∑∑Yeah, that is what it looks like.
15∑∑your signature on the page of repaying the                   15∑∑∑∑Q.∑∑Okay.∑And -- and so the initial
16∑∑notes in accordance with their terms?                        16∑∑principal amount of the prior notes was what is
17∑∑∑∑A.∑∑Yes.∑They're all -- soft note                          17∑∑stated there, approximately $27.675 million?
18∑∑doesn't mean it's not a bona fide note.∑They                 18∑∑∑∑A.∑∑Right.
19∑∑were all intended to be bona fide notes, and                 19∑∑∑∑Q.∑∑Okay.∑You wouldn't have signed this
20∑∑they all are bona fide notes that were intended              20∑∑note on behalf of NexPoint if you didn't
21∑∑to be paid and for the -- virtually most part,               21∑∑believe at the time you signed it that NexPoint
22∑∑were always paid or prepaid and, you know, paid              22∑∑owed Highland that amount of money; correct?
23∑∑in accordance.                                               23∑∑∑∑A.∑∑Yeah, it is a bona fide note,
24∑∑∑∑Q.∑∑Do you see to the right there is a                     24∑∑consistent with my testimony.
25∑∑list of prior notes?                                         25∑∑∑∑Q.∑∑Okay.∑Do you know why NexPoint

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01775
                                                                                                                                     YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 192 of 200 PageID 31345
                                                      Page 420                                                           Page 421
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑borrowed the money from Highland at the times                ∑2∑∑Dugaboy trustee?
∑3∑∑and in the amounts listed on Exhibit A?                      ∑3∑∑∑∑A.∑∑Me, myself.
∑4∑∑∑∑A.∑∑No.                                                    ∑4∑∑∑∑Q.∑∑Okay.∑What was the purpose of
∑5∑∑∑∑Q.∑∑Did you authorize NexPoint to borrow                   ∑5∑∑including this note in your agreement with the
∑6∑∑the money that is reflected in the prior note                ∑6∑∑Dugaboy trustee?
∑7∑∑set forth on Exhibit A?                                      ∑7∑∑∑∑∑∑∑Was it to provide you with a
∑8∑∑∑∑A.∑∑I don't know.∑Probably some of                         ∑8∑∑compensation?
∑9∑∑them, yes.                                                   ∑9∑∑∑∑A.∑∑Yeah.∑I mean, in fact, I think it
10∑∑∑∑Q.∑∑Okay.∑And you have no recollection                     10∑∑was articulated in that big paragraph
11∑∑at all as to why NexPoint borrowed over                      11∑∑reasonably well that my cash compensation, I
12∑∑$27 million from Highland in the 12-month                    12∑∑believe through any lens, people would look at
13∑∑period from August 2014 to July 2015?                        13∑∑it as de minimis from the standpoint of
14∑∑∑∑A.∑∑Not without being refreshed.                           14∑∑Highland as asset manager.
15∑∑∑∑Q.∑∑Okay.∑Do you have any knowledge as                     15∑∑∑∑∑∑∑I don't think it was more than a
16∑∑to what NexPoint did with the proceeds from                  16∑∑couple million bucks in a year and it went
17∑∑these loans?                                                 17∑∑down, I think, in the '15 through '20 period.
18∑∑∑∑A.∑∑Not without being refreshed.                           18∑∑∑∑∑∑∑So I think it is common in private
19∑∑∑∑Q.∑∑Okay.∑And you contend that this                        19∑∑companies to loan money that is bona fide debt
20∑∑note is subject to -- subject to one of your                 20∑∑and then forgive it at different times to
21∑∑oral agreements with the Dugaboy trustee;                    21∑∑manage compensation and incentives to managers
22∑∑correct?                                                     22∑∑of private companies.
23∑∑∑∑A.∑∑Yes.                                                   23∑∑∑∑∑∑∑This is a -- we're in -- we each
24∑∑∑∑Q.∑∑Who decided to include this                            24∑∑have experts talking about it, but I think this
25∑∑particular note in your agreement with the                   25∑∑is, you know, typical.
                                                      Page 422                                                           Page 423
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑Q.∑∑Can you identify any moment in the                     ∑2∑∑the only one at the compensation level with the
∑3∑∑25 or 26 year history that you were president                ∑3∑∑interrelated entities who could possibly get
∑4∑∑of Highland where Highland forgave an                        ∑4∑∑intercompany loans forgiven as part of the
∑5∑∑intercompany loan for the purpose of providing               ∑5∑∑comp, but it --
∑6∑∑compensation to you or any other employee                    ∑6∑∑∑∑Q.∑∑Okay.∑So let me ask a cleaner --
∑7∑∑except for the agreements that are described in              ∑7∑∑let me ask a cleaner question.∑I appreciate
∑8∑∑Paragraph 82 of your answer?                                 ∑8∑∑that clarification.
∑9∑∑∑∑A.∑∑Boy, I know we have masked it. I                       ∑9∑∑∑∑∑∑∑Other than the agreements described
10∑∑don't know if we -- it sounds like we may not                10∑∑in Paragraph 82, can you think of any other
11∑∑have sent it to you, but we have done it for a               11∑∑intercompany loan that was ever forgiven while
12∑∑dozen employees over the years in -- in fairly               12∑∑you were president of Highland for the purpose
13∑∑significant amount --                                        13∑∑of giving you compensation?
14∑∑∑∑Q.∑∑I'm going to interrupt you, sir,                       14∑∑∑∑A.∑∑I don't -- I don't know.
15∑∑because it's not responsive to my question. I                15∑∑∑∑Q.∑∑This is an important issue; right?
16∑∑apologize for that.∑I'm just focusing on                     16∑∑The notion of a prior practice.∑It is your
17∑∑intercompany loans.                                          17∑∑contention that there was a prior practice at
18∑∑∑∑∑∑∑Can you identify any loan in the 25                     18∑∑Highland -- hold on one second.∑I apologize.
19∑∑or 26 years that you were president, an                      19∑∑∑∑∑∑∑Sorry about that.∑Somebody almost
20∑∑intercompany loan where -- where Highland was                20∑∑dropped an air conditioner out the window.
21∑∑the payee that was forgiven for purposes of                  21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑That would not
22∑∑giving you or any employee compensation, other               22∑∑∑∑be good.
23∑∑than -- other than the agreements that you                   23∑∑∑∑∑∑∑MR. MORRIS:∑No.
24∑∑struck with the Dugaboy trustee?                             24∑∑∑∑Q.∑∑All right.∑Apologies.
25∑∑∑∑A.∑∑It is an odd question because I'm                      25∑∑∑∑∑∑∑MR. MORRIS:∑May I have the last

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01776
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 193 of 200 PageID 31346
                                                      Page 424                                                          Page 425
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑question read back?                                        ∑2∑∑executives at the bank and board members at the
∑3∑∑∑∑∑∑∑(Record read.)                                          ∑3∑∑bank in the seven-figure kind of numbers that
∑4∑∑∑∑Q.∑∑I'm going to start all over here.                      ∑4∑∑were then subsequently forgiven.
∑5∑∑∑∑∑∑∑Mr. Dondero, do you contend that                        ∑5∑∑∑∑∑∑∑It is -- I know we amassed more than
∑6∑∑there was a practice at Highland of forgiving                ∑6∑∑a dozen examples that were significant and
∑7∑∑loans; is that correct?                                      ∑7∑∑material.
∑8∑∑∑∑A.∑∑Yes.                                                   ∑8∑∑∑∑∑∑∑MR. MORRIS:∑Deborah, I apologize.
∑9∑∑∑∑Q.∑∑And do you recall that we talked                       ∑9∑∑∑∑It is certainly possible I missed it, but I
10∑∑about that issue back in May?                                10∑∑∑∑don't recall seeing any list or any
11∑∑∑∑A.∑∑Yes.                                                   11∑∑∑∑documents of any kind that Mr. Dondero has
12∑∑∑∑Q.∑∑Okay.∑And since -- since that time                     12∑∑∑∑described.
13∑∑have you made any effort to gather any                       13∑∑∑∑∑∑∑Have they been produced?
14∑∑information that would demonstrate that there                14∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑I think so. I
15∑∑was a prior practice at Highland of forgiving                15∑∑∑∑will double-check, but I believe that
16∑∑loans?                                                       16∑∑∑∑they're listed --
17∑∑∑∑A.∑∑Yes.                                                   17∑∑∑∑∑∑∑MR. MORRIS:∑I know there is a list
18∑∑∑∑Q.∑∑And what efforts have you made?                        18∑∑∑∑of -- I apologize.∑I know there is a list
19∑∑∑∑A.∑∑Like I said, we amassed a list, and                    19∑∑∑∑of names in one of the discovery responses.
20∑∑not insignificant list and not insignificant                 20∑∑∑∑But other than the list of names in the
21∑∑amounts, proportionate to the people's                       21∑∑∑∑discovery response, I don't recall
22∑∑compensation where it was a practice.                        22∑∑∑∑receiving any documents at all.
23∑∑∑∑∑∑∑You know, for some people for                           23∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑No.∑And I think
24∑∑relocation, for some people for bonuses, for                 24∑∑∑∑we asked you for the documents because we
25∑∑house purposes, for senior executives, senior                25∑∑∑∑don't have access to the documents on
                                                      Page 426                                                          Page 427
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑Highland's server.∑The only thing I can                    ∑2∑∑∑∑Q.∑∑And would that include any
∑3∑∑∑∑think of that we might owe you is there                    ∑3∑∑agreements to forgive loans that were deemed to
∑4∑∑∑∑might be a few additional names to list in                 ∑4∑∑be material amounts?
∑5∑∑∑∑the interrogatory, and I will check whether                ∑5∑∑∑∑A.∑∑No, because it is contingent in long
∑6∑∑∑∑that has been done.                                        ∑6∑∑term and speculative.
∑7∑∑∑∑∑∑∑MR. MORRIS:∑Okay.                                       ∑7∑∑∑∑Q.∑∑But at some point if it is forgiven
∑8∑∑∑∑Q.∑∑Mr. Dondero, you sign management                       ∑8∑∑would that be -- would that be an event that
∑9∑∑representation letters in connection with                    ∑9∑∑would be disclosed to the auditor?
10∑∑Highland's audit each year; is that right?                   10∑∑∑∑A.∑∑Sure.
11∑∑∑∑A.∑∑Yes.                                                   11∑∑∑∑Q.∑∑Okay.∑So is it fair to say that all
12∑∑∑∑Q.∑∑Do you understand that you have an                     12∑∑loans that were deemed to be material to the
13∑∑obligation when you sign the management                      13∑∑extent they were forgiven were disclosed to the
14∑∑representation to disclose to the auditor all                14∑∑auditors?
15∑∑agreements with affiliated entities and people               15∑∑∑∑A.∑∑Yes.
16∑∑that are deemed to be material?                              16∑∑∑∑Q.∑∑Okay.
17∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        17∑∑∑∑A.∑∑But, yeah, the only caveat I would
18∑∑∑∑form.                                                      18∑∑put on it is we have such limited information
19∑∑∑∑A.∑∑Generally, yes.                                        19∑∑regarding Cornerstone and Trust Life, which is
20∑∑∑∑Q.∑∑Okay.∑And is it your understanding                     20∑∑part of my agreement with the Dugaboy trustee
21∑∑that at least since 2008 Highland has disclosed              21∑∑or with the majority of class A holders.
22∑∑to its auditors all agreements with affiliates               22∑∑∑∑∑∑∑They could have been sold in
23∑∑that are material, as defined in the management              23∑∑secrecy, without disclosure to us, such that
24∑∑representation letter?                                       24∑∑the notes are all forgiven at this point, but
25∑∑∑∑A.∑∑Yes.                                                   25∑∑we -- we -- we may never know.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                               Appx. 01777
                                                                                                                                   YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 194 of 200 PageID 31347
                                                      Page 428                                                            Page 429
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑Q.∑∑So you can't rely on anything that                     ∑2∑∑∑∑Q.∑∑So then -- so then it -- so is it
∑3∑∑you don't know; is that fair?                                ∑3∑∑fair to say, sir, that when you are describing
∑4∑∑∑∑A.∑∑Yeah.                                                  ∑4∑∑this practice of forgiveness of loans, you are
∑5∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Objection to                         ∑5∑∑doing so without having reviewed any of the
∑6∑∑∑∑form.                                                      ∑6∑∑audited financial statements that Highland
∑7∑∑∑∑A.∑∑Yeah, we can't rely on things we                       ∑7∑∑provided to your attorneys going back to 2008?
∑8∑∑don't know and we can't rely on the debtor to                ∑8∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑9∑∑be honorable.                                                ∑9∑∑∑∑form.
10∑∑∑∑Q.∑∑Well, the debtor has produced to                       10∑∑∑∑A.∑∑What I'm saying, I guess, is that we
11∑∑you, sir, every single audited financial                     11∑∑haven't treated the loans as forgiven yet
12∑∑statement without redaction since 2008.∑Are                  12∑∑because if the condition precedent has been
13∑∑you aware of that?                                           13∑∑satisfied, we're not aware of it yet.
14∑∑∑∑A.∑∑That is actually news to me because                    14∑∑∑∑∑∑∑Now, if there is something in those
15∑∑we were asking for them a couple of months ago.              15∑∑financial statements that will show that the
16∑∑That must be -- that must be a new production.               16∑∑condition precedent is satisfied, then we have
17∑∑∑∑Q.∑∑No.∑Actually, it was produced to                       17∑∑a decision to make about the -- or figure out
18∑∑you way back in July.∑You are not aware of                   18∑∑what the mechanism is for forgiving the loans.
19∑∑that?                                                        19∑∑∑∑Q.∑∑Are you saying that there are loans
20∑∑∑∑A.∑∑No, I'm looking --                                     20∑∑out there subject to forgiveness where the
21∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Hang on.                             21∑∑maker is somebody other than you or an entity
22∑∑∑∑A.∑∑I'm looking at Deborah.∑She'll --                      22∑∑that you control?
23∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑I will get the                       23∑∑∑∑A.∑∑No, I'm just -- I'm talking about
24∑∑∑∑date.                                                      24∑∑the 50 million of loans that we've been talking
25∑∑∑∑A.∑∑Yeah.∑I would love to see them.                        25∑∑about.
                                                      Page 430                                                            Page 431
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑Q.∑∑Okay.∑So -- so I just want to go                       ∑2∑∑∑∑form.
∑3∑∑back and focus on your assertion that there was              ∑3∑∑∑∑A.∑∑Well, what I'm saying, just to be
∑4∑∑this practice of loan forgiveness.∑I think you               ∑4∑∑clear, is I haven't looked at the presentation
∑5∑∑have agreed with me that any loan that was                   ∑5∑∑of forgiven loans in the historic financials
∑6∑∑forgiven in a material amount would be                       ∑6∑∑because I was unaware that we had gotten
∑7∑∑contained within the Highland audited financial              ∑7∑∑historic financials, but I am testifying that
∑8∑∑statements; right?                                           ∑8∑∑we had amassed at least a dozen, 15 material
∑9∑∑∑∑A.∑∑I believe they -- material or not,                     ∑9∑∑examples of material loan forgiveness amounts
10∑∑they were all included in the Highland                       10∑∑to different executives.
11∑∑financials.∑Now, they might not have been                    11∑∑∑∑Q.∑∑All right.∑Do you have any
12∑∑specifically footnoted, you know.                            12∑∑documentation to support your assertion of the
13∑∑∑∑∑∑∑Like in other words, if we gave                         13∑∑practice of forgiving loans at Highland?
14∑∑somebody half a million bucks to relocate and                14∑∑∑∑A.∑∑Again, we have very, very little
15∑∑then forgave the loan, it might just be mixed                15∑∑access to anything, and we didn't take anything
16∑∑with all other compensation in the line item.                16∑∑with us that we weren't supposed to take, so we
17∑∑It might not have been listed separately                     17∑∑don't have any of that documentation.
18∑∑because it would have been small relative to                 18∑∑∑∑∑∑∑At NexBank, one of the sister
19∑∑the overall financial statement.                             19∑∑companies that we still have full control over
20∑∑∑∑Q.∑∑But you're just speculating right                      20∑∑our records, we could show seven-figure-plus
21∑∑now because, in fact, you haven't read the                   21∑∑loans to senior management and the entire board
22∑∑audited financial statements for the purpose of              22∑∑of directors and forgiveness thereof as an
23∑∑seeing whether or not there were loan -- loans               23∑∑example, but that -- that is the only
24∑∑that were forgiven and disclosed; right?                     24∑∑documentation that we would be able to present
25∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        25∑∑without having access to the records that you

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01778
                                                                                                                                     YVer1f
    Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 195 of 200 PageID 31348
                                                      Page 432                                                           Page 433
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑guys are keeping from us.                                    ∑2∑∑under, et cetera, et cetera.
∑3∑∑∑∑∑∑∑MR. MORRIS:∑I move to strike the                        ∑3∑∑∑∑Q.∑∑It's certainly disclosed in the
∑4∑∑∑∑last comment, and I take offense to it,                    ∑4∑∑financials when it was forgiven.∑Will you --
∑5∑∑∑∑sir.∑We're not withholding anything, okay.                 ∑5∑∑will you concede that point?
∑6∑∑∑∑Q.∑∑Would the NexBank audited financial                    ∑6∑∑∑∑A.∑∑Yes, sure.
∑7∑∑statements include a disclosure of the loans                 ∑7∑∑∑∑Q.∑∑Okay.∑Let's move on.
∑8∑∑that you are describing?                                     ∑8∑∑∑∑∑∑∑Let's go to HCMS.∑Are you familiar
∑9∑∑∑∑A.∑∑Yes.                                                   ∑9∑∑with the notes at issue in the lawsuit that was
10∑∑∑∑Q.∑∑Okay.∑So is it fair to say that if                     10∑∑commenced by Highland against HCMS?
11∑∑Highland forgave loans, it would be disclosed                11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑S or --
12∑∑in its audited financial statements?                         12∑∑∑∑A.∑∑S as in Services.∑Yes.
13∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object, asked                        13∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can we please
14∑∑∑∑and answered.                                              14∑∑∑∑put up Exhibit 3.
15∑∑∑∑A.∑∑Well, just to be clear, these loans                    15∑∑∑∑∑∑∑(Exhibit 3 marked.)
16∑∑like the one up on the sheet, those were                     16∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Is that in the
17∑∑included in Highland's financials, those loans,              17∑∑∑∑binder that you sent?
18∑∑just like the NexBank loans, when they were                  18∑∑∑∑∑∑∑MR. MORRIS:∑Yes, as Exhibit 3.
19∑∑made to senior executives were included.∑But                 19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Okay.
20∑∑there wasn't a -- at NexBank there wasn't any                20∑∑∑∑∑∑∑MR. MORRIS:∑And if we could go to
21∑∑kind of disclosure that said, these might be                 21∑∑∑∑the Exhibits 1 through 4, okay.
22∑∑forgiven, or these are the terms that they                   22∑∑∑∑Q.∑∑Sir, we've put up on the screen
23∑∑would be forgiven under, just like there was no              23∑∑Exhibit 1 to Exhibit 3, which is the complaint
24∑∑disclosure in the Highland financials that                   24∑∑against HCMS.∑Do you see Exhibit 1 up on your
25∑∑these are the terms that it might be forgiven                25∑∑screen?
                                                      Page 434                                                           Page 435
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑A.∑∑Yeah.∑This is the $150,000                             ∑2∑∑∑∑Q.∑∑Did HCMS receive a loan from
∑3∑∑promissory note; is that what that is?                       ∑3∑∑Highland in the amount of $150,000 on March
∑4∑∑∑∑Q.∑∑Yes, sir.                                              ∑4∑∑28th, 2018?
∑5∑∑∑∑A.∑∑Okay.∑As long as I can see it on                       ∑5∑∑∑∑A.∑∑I assume so.
∑6∑∑the screen, I don't need to find it in hard                  ∑6∑∑∑∑Q.∑∑Okay.∑You wouldn't have either
∑7∑∑copy, do I?                                                  ∑7∑∑signed or allowed your signature to be affixed
∑8∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Yeah.                                ∑8∑∑to this document if you didn't understand that
∑9∑∑∑∑∑∑∑MR. MORRIS:∑Can you scroll to the                       ∑9∑∑HCMS had received from Highland $150,000;
10∑∑∑∑second page, PJ.                                           10∑∑correct?
11∑∑∑∑Q.∑∑Is that your signature, sir?                           11∑∑∑∑A.∑∑This is one of the many things I
12∑∑∑∑A.∑∑Close.                                                 12∑∑would have signed on a given day.
13∑∑∑∑Q.∑∑Are you aware that your signature is                   13∑∑∑∑Q.∑∑Okay.∑And -- and are you aware that
14∑∑affixed to a $150,000 promissory note that was               14∑∑this note was given to Highland's auditors?
15∑∑made by HCMS to Highland Capital Management?                 15∑∑∑∑A.∑∑It could.∑I'm not aware
16∑∑∑∑A.∑∑Like I said --                                         16∑∑specifically, but it should be.
17∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Objection, form.                     17∑∑∑∑Q.∑∑Okay.∑Do you have any recollection
18∑∑∑∑A.∑∑Like I said, it's close.∑I don't                       18∑∑as to why HCMS obtained this loan from
19∑∑know if that is mine, but it's close.                        19∑∑Highland?
20∑∑∑∑Q.∑∑Do you have any reason to believe                      20∑∑∑∑A.∑∑Unless it says it on these two
21∑∑that either you or somebody you authorized                   21∑∑pages, I have no idea.
22∑∑didn't sign this particular promissory note?                 22∑∑∑∑Q.∑∑Okay.∑Do you have any recollection
23∑∑∑∑A.∑∑Not specifically.                                      23∑∑as to what HCMS did with the proceeds of this
24∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Can we go to the                      24∑∑loan?
25∑∑∑∑first page, please.                                        25∑∑∑∑A.∑∑No.

                                        TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01779
                                                                                                                                    YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                              Page 196 of 200 PageID 31349
                                                      Page 436                                                         Page 437
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑Q.∑∑Okay.∑Let's just flip through the                      ∑2∑∑∑∑A.∑∑Yes.
∑3∑∑Exhibits 2, 3, and 4, if we could.                           ∑3∑∑∑∑Q.∑∑Do you recall that HCMS borrowed
∑4∑∑∑∑∑∑∑Looking at Exhibit 2, is that your                      ∑4∑∑$400,000 from Highland in or around May 2019?
∑5∑∑signature on Exhibit 2, sir?                                 ∑5∑∑∑∑A.∑∑Not specifically.
∑6∑∑∑∑A.∑∑Again, it is close.                                    ∑6∑∑∑∑Q.∑∑Do you have any reason to believe
∑7∑∑∑∑Q.∑∑Okay.∑And do you have any reason to                    ∑7∑∑that it didn't?
∑8∑∑believe that that is either not your signature               ∑8∑∑∑∑A.∑∑I have no knowledge -- I have no
∑9∑∑or that you did not authorize somebody to sign               ∑9∑∑knowledge of what it was used for and whether
10∑∑this on behalf of HCMS in June of 2018?                      10∑∑it did or didn't.
11∑∑∑∑A.∑∑No.                                                    11∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Let's go to the
12∑∑∑∑Q.∑∑Okay.                                                  12∑∑∑∑next exhibit, please.
13∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to Exhibit 3,                     13∑∑∑∑Q.∑∑Do you see Frank Waterhouse signed
14∑∑∑∑please, and if we can go to the signature                  14∑∑here on behalf of the maker, HCMS Services?
15∑∑∑∑line.                                                      15∑∑∑∑A.∑∑Yes.
16∑∑∑∑Q.∑∑Do you see that that is Frank                          16∑∑∑∑Q.∑∑Okay.∑Are you aware that HCMS
17∑∑Waterhouse?                                                  17∑∑borrowed $150,000 from Highland in June 2019?
18∑∑∑∑A.∑∑Yes.                                                   18∑∑∑∑A.∑∑No.
19∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑And can we go to                      19∑∑∑∑Q.∑∑Okay.∑Do you have --
20∑∑∑∑the page before that, the first page.                      20∑∑∑∑A.∑∑I'm not aware and --
21∑∑∑∑Q.∑∑Frank Waterhouse was the treasurer                     21∑∑∑∑Q.∑∑Do you have --
22∑∑of HCMS in May 2019; correct?                                22∑∑∑∑A.∑∑I didn't -- I'm sorry, go ahead. I
23∑∑∑∑A.∑∑That is what it said right on that                     23∑∑was just saying, looking at Frank's signature,
24∑∑thing we saw earlier; right?                                 24∑∑you know, we're switching from me signing to
25∑∑∑∑Q.∑∑Incumbency certificate.                                25∑∑Frank signing.∑And I guess we're saying Frank
                                                      Page 438                                                         Page 439
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑is an authorized signatory, although if you                  ∑2∑∑it.∑He may have done it electronically or
∑3∑∑look at Frank's, it looks like an automated                  ∑3∑∑somebody may have done it electronically for
∑4∑∑signature versus, you know, an actual                        ∑4∑∑him.∑Those are just different answers than me
∑5∑∑signature, but I assume you went over this with              ∑5∑∑signing it; right?
∑6∑∑him, but I don't have specific knowledge of                  ∑6∑∑∑∑Q.∑∑Okay.∑And -- and that is fair.
∑7∑∑these at all.                                                ∑7∑∑∑∑∑∑∑Are you aware that on December 3rd,
∑8∑∑∑∑Q.∑∑And do you know that Mr. Waterhouse                    ∑8∑∑2020, Highland made a demand upon HCMS for
∑9∑∑from time to time used an electronic signature?              ∑9∑∑payment under these four notes that we have
10∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        10∑∑just looked at?
11∑∑∑∑form.                                                      11∑∑∑∑A.∑∑I knew there was a demand on the
12∑∑∑∑A.∑∑I believe he did.                                      12∑∑NexPoint one.∑Can you refresh me on this one?
13∑∑∑∑Q.∑∑And you saw -- you have seen his                       13∑∑∑∑Q.∑∑Sure.
14∑∑electronic signature on other documents; is                  14∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to the next
15∑∑that right?                                                  15∑∑∑∑exhibit in Exhibit 3.∑Exhibit 5.
16∑∑∑∑A.∑∑Yes.                                                   16∑∑∑∑Q.∑∑You will see that there is a letter
17∑∑∑∑Q.∑∑So it doesn't surprise you to see                      17∑∑dated December 3rd, 2020, from Mr. Seery to
18∑∑his electronic signature on a note; correct?                 18∑∑HCMS?
19∑∑∑∑A.∑∑Yeah.∑Yeah, okay.∑Yeah, I don't                        19∑∑∑∑A.∑∑Yep.
20∑∑know.∑But whether or not he did it or somebody               20∑∑∑∑Q.∑∑And do you see that it was sent to
21∑∑else did it or -- we're just getting a little                21∑∑the attention of Mr. Waterhouse?
22∑∑far afoot from me signing it; right?∑That is                 22∑∑∑∑∑∑∑Do you see that, sir?
23∑∑all.                                                         23∑∑∑∑A.∑∑Yes, yep.
24∑∑∑∑Q.∑∑Right.                                                 24∑∑∑∑Q.∑∑And, again, Mr. Waterhouse at that
25∑∑∑∑A.∑∑To -- Frank -- Frank may have signed                   25∑∑time was the treasurer of HCMS to the best of

                                       TSG Reporting - Worldwide· · 877-702-9580

                                                                                                              Appx. 01780
                                                                                                                                  YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 197 of 200 PageID 31350
                                                      Page 440                                                            Page 441
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑your recollection; correct?                                  ∑2∑∑∑∑A.∑∑I don't know.
∑3∑∑∑∑A.∑∑He primarily was the CFO of                            ∑3∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑4∑∑Highland.∑But, yes, I mean, I do see that.                   ∑4∑∑∑∑form.
∑5∑∑∑∑Q.∑∑Okay.∑And did you learn on or                          ∑5∑∑∑∑Q.∑∑Do you know whether HCMS ever
∑6∑∑around December 3rd that Highland had made                   ∑6∑∑responded to this demand letter prior to the
∑7∑∑demand upon HCMS for payment of all outstanding              ∑7∑∑commencement of litigation?
∑8∑∑principal and interest due under the four                    ∑8∑∑∑∑A.∑∑I don't know.
∑9∑∑demand notes that are listed on the page there?              ∑9∑∑∑∑Q.∑∑Prior to the commencement of
10∑∑∑∑A.∑∑Yes, yep.                                              10∑∑litigation, did you discuss with anyone whether
11∑∑∑∑Q.∑∑So you knew that at the time; right?                   11∑∑HCMS should respond to Highland's demand
12∑∑∑∑A.∑∑Well, more importantly I knew they                     12∑∑letter?
13∑∑were all subject to the same forgiveness                     13∑∑∑∑A.∑∑Did I discuss with anyone?∑No, I
14∑∑provisions as the other note.                                14∑∑don't remember -- I don't remember talking
15∑∑∑∑Q.∑∑Okay.∑So I move to strike.                             15∑∑about this with Frank at all where --
16∑∑∑∑∑∑∑You knew in December 3rd, 2020, that                    16∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑And I'm just
17∑∑Highland made demand; correct?                               17∑∑∑∑going to stop you to make sure you don't
18∑∑∑∑A.∑∑Yes.                                                   18∑∑∑∑blurt out any privileged communications, if
19∑∑∑∑Q.∑∑Okay.∑And do you see that Highland                     19∑∑∑∑there are any.
20∑∑gave HCMS an eight-day grace period or until                 20∑∑∑∑∑∑∑We object to the disclosure.∑But
21∑∑December 11th, 2020, to make payment?                        21∑∑∑∑with that caveat, go ahead.
22∑∑∑∑A.∑∑Yes.                                                   22∑∑∑∑A.∑∑I'm sorry, repeat the question
23∑∑∑∑Q.∑∑Under the demand note do you have                      23∑∑again.∑Let me try and keep it simple here.
24∑∑any understanding that Highland was required to              24∑∑∑∑Q.∑∑Sure.∑It may be my fault.
25∑∑give any grace period at all?                                25∑∑∑∑∑∑∑Mr. Dondero, you testified that you
                                                      Page 442                                                            Page 443
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑were aware that Highland made a demand for                   ∑2∑∑behalf of HCMS ever informed Highland of HCMS'
∑3∑∑payment on these four notes; correct?                        ∑3∑∑defenses to the -- to the demand letter prior
∑4∑∑∑∑A.∑∑Yes.                                                   ∑4∑∑to the commencement of litigation?
∑5∑∑∑∑Q.∑∑Okay.∑Did you have any                                 ∑5∑∑∑∑A.∑∑Yeah, Frank would be the person to
∑6∑∑non-privileged communications at any time after              ∑6∑∑ask there.∑I don't know.
∑7∑∑Highland sent this letter about whether and how              ∑7∑∑∑∑Q.∑∑I'm just asking you.∑Prior to the
∑8∑∑HCMS should respond?                                         ∑8∑∑commencement of litigation, did you ever
∑9∑∑∑∑A.∑∑You know, let me just -- let me                        ∑9∑∑instruct anyone to inform Highland that the
10∑∑adjust the prior answer for a second.                        10∑∑HCMS notes were subject to oral agreements with
11∑∑∑∑∑∑∑I'm aware that this letter was sent.                    11∑∑the Dugaboy trustee?
12∑∑I'm not sure I knew contemporaneously or when I              12∑∑∑∑A.∑∑I believe former Judge Lynn sent a
13∑∑knew the letter was sent.∑I can't -- I have no               13∑∑letter in that regard.∑But other than that, I
14∑∑recollection of receiving it at the time.                    14∑∑don't remember talking to anybody -- I don't
15∑∑∑∑∑∑∑And to answer your question, I can't                    15∑∑remember talking to the debtor about it per se.
16∑∑recollect talking to Frank or anybody else                   16∑∑∑∑Q.∑∑It is your recollection that
17∑∑about it at the time.∑I'm not sure I knew                    17∑∑Judge Lynn sent a letter to Highland before the
18∑∑about it at the time.∑But I have -- I don't                  18∑∑commencement of litigation, putting Highland on
19∑∑have any recollection of discussing it with                  19∑∑notice that the HCMS notes were the subject of
20∑∑anybody at or around the time.                               20∑∑oral agreements between you and the Dugaboy
21∑∑∑∑Q.∑∑Did you ever instruct anybody at any                   21∑∑trust.
22∑∑time to respond to this letter, whenever it is               22∑∑∑∑∑∑∑Do I have that right?
23∑∑you learned about it?                                        23∑∑∑∑A.∑∑Yeah, that they were part of
24∑∑∑∑A.∑∑No.                                                    24∑∑forgiveness or compensation or something.∑He
25∑∑∑∑Q.∑∑Do you know if anyone acting on                        25∑∑sent a letter in that regard.

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                 Appx. 01781
                                                                                                                                     YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                            Page 198 of 200 PageID 31351
                                                    Page 444                                                         Page 445
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                  ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑Q.∑∑And was this part of a settlement                    ∑2∑∑∑∑∑∑∑MR. RUKAVINA:∑This is Davor.
∑3∑∑discussion or was this in response to this                 ∑3∑∑∑∑Couple things, John -- and I apologize for
∑4∑∑demand letter?                                             ∑4∑∑∑∑interjecting.∑I have not made an
∑5∑∑∑∑A.∑∑I don't know.                                        ∑5∑∑∑∑appearance yet today.∑Deborah has been
∑6∑∑∑∑Q.∑∑Have you produced that letter in                     ∑6∑∑∑∑objecting for everyone.
∑7∑∑discovery?                                                 ∑7∑∑∑∑∑∑∑Thomas Berghman will take over
∑8∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑I'm aware that                     ∑8∑∑∑∑around 3:00 o'clock.∑Is that okay with
∑9∑∑∑∑you have the letter.∑I don't know if it                  ∑9∑∑∑∑you, John?
10∑∑∑∑was attached to something, but I know you                10∑∑∑∑∑∑∑He is probably just going to sit
11∑∑∑∑have it.                                                 11∑∑∑∑here and not object.
12∑∑∑∑∑∑∑MR. MORRIS:∑Because you produced it                   12∑∑∑∑∑∑∑MR. MORRIS:∑I will miss you and I
13∑∑∑∑in discovery or because Mr. Dondero is                   13∑∑∑∑hope you have safe travels.
14∑∑∑∑testifying that his recollection was that                14∑∑∑∑∑∑∑MR. RUKAVINA:∑Okay.∑Thank you very
15∑∑∑∑Mr. Dondero sent this letter to the debtor?              15∑∑∑∑much.
16∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑The -- the                         16∑∑∑∑∑∑∑And, second, I think that the letter
17∑∑∑∑letter has either been produced or was                   17∑∑∑∑that is being referred to is the email
18∑∑∑∑attached to something or was used in a                   18∑∑∑∑letter, so I have produced it to you.
19∑∑∑∑deposition, but I am aware that you have                 19∑∑∑∑∑∑∑With that, thank you everyone.
20∑∑∑∑it.∑If you need it to be Bates stamped, we               20∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Take care.
21∑∑∑∑could do that.                                           21∑∑∑∑Q.∑∑Did anyone -- did you ever instruct
22∑∑∑∑∑∑∑MR. MORRIS:∑I definitely need it to                   22∑∑anyone in December 2020 to make the payments
23∑∑∑∑be Bates stamped, I do, because I'm not                  23∑∑that Highland demanded under the HCMS notes?
24∑∑∑∑aware of this particular letter.∑But I                   24∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑The demand notes
25∑∑∑∑appreciate that.                                         25∑∑∑∑that are listed here on the Exhibit 5?
                                                    Page 446                                                         Page 447
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                  ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑∑∑∑MR. MORRIS:∑Yes.                                      ∑2∑∑favor of Highland on May 31st, 2017?
∑3∑∑∑∑A.∑∑Yes, not that I recall.                              ∑3∑∑∑∑A.∑∑Yes.
∑4∑∑∑∑Q.∑∑Did you ever instruct anyone in                      ∑4∑∑∑∑Q.∑∑And is it fair to say you didn't
∑5∑∑December 2020 not to make the payments that                ∑5∑∑read this note before you signed it?
∑6∑∑Highland demanded that are listed in this                  ∑6∑∑∑∑A.∑∑Correct.∑No reason to, really.
∑7∑∑exhibit?                                                   ∑7∑∑∑∑Q.∑∑Okay.∑So it is fair to say that
∑8∑∑∑∑A.∑∑No.                                                  ∑8∑∑there is not a provision of this note that you
∑9∑∑∑∑Q.∑∑Do you know why HCMS did not make                    ∑9∑∑didn't understand before you signed it;
10∑∑the payments that Highland demanded under the              10∑∑correct?
11∑∑notes?                                                     11∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
12∑∑∑∑A.∑∑Again, beyond compensation                           12∑∑∑∑form.
13∑∑forgiveness argument, no.                                  13∑∑∑∑A.∑∑That I didn't review it, so
14∑∑∑∑∑∑∑MR. MORRIS:∑Okay.∑Let's go to the                     14∑∑therefore I didn't have a opinion one way or
15∑∑∑∑next exhibit, 6.                                         15∑∑the other.
16∑∑∑∑∑∑∑(Exhibit 6 marked.)                                   16∑∑∑∑Q.∑∑Okay.∑This note substituted and
17∑∑∑∑Q.∑∑And this is another one of the term                  17∑∑superseded for the promissory notes that are
18∑∑notes; right?                                              18∑∑set forth on Exhibit A to this document;
19∑∑∑∑A.∑∑Yes.                                                 19∑∑correct?
20∑∑∑∑∑∑∑MR. MORRIS:∑And can we just go to                     20∑∑∑∑A.∑∑Yes.
21∑∑∑∑the signature line, please.                              21∑∑∑∑Q.∑∑So just like NexPoint and HCMS, HCRE
22∑∑∑∑Q.∑∑Is that your signature, sir?                         22∑∑also consolidated their outstanding demand
23∑∑∑∑A.∑∑That looks more like it.                             23∑∑notes into one term notes at the end of
24∑∑∑∑Q.∑∑And do you -- are you willing to                     24∑∑May 2017; right?
25∑∑agree that you signed this promissory note in              25∑∑∑∑A.∑∑Yep.

                                     TSG Reporting - Worldwide· · 877-702-9580

                                                                                                            Appx. 01782
                                                                                                                                YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                                Page 199 of 200 PageID 31352
                                                      Page 448                                                             Page 449
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑Q.∑∑Okay.∑Let's go to HCRE, if we can                      ∑2∑∑∑∑Otherwise, she is pulling it up.
∑3∑∑take this down and put up Exhibit 4.                         ∑3∑∑∑∑Q.∑∑So this is the last of the three
∑4∑∑∑∑∑∑∑Actually, before we go to that, do                      ∑4∑∑term notes.∑Do you see that?
∑5∑∑you have any recollection as to why HCRE                     ∑5∑∑∑∑A.∑∑Yes.
∑6∑∑borrowed money from Highland in the amounts                  ∑6∑∑∑∑Q.∑∑Also signed on May 31st, 2017;
∑7∑∑equal to the prior notes as set forth to the                 ∑7∑∑correct?
∑8∑∑exhibit to the term note?                                    ∑8∑∑∑∑A.∑∑Yes.
∑9∑∑∑∑A.∑∑Nope.                                                  ∑9∑∑∑∑Q.∑∑And if we could look at the
10∑∑∑∑Q.∑∑Do you have any recollection at all                    10∑∑signature line, is that your signature, sir?
11∑∑as to what HCRE did with the proceeds of the                 11∑∑∑∑A.∑∑Yes.
12∑∑loans that it obtained from Highland?                        12∑∑∑∑Q.∑∑And did you sign this note on behalf
13∑∑∑∑A.∑∑No.                                                    13∑∑of HCRE on or about May 31st, 2017?
14∑∑∑∑Q.∑∑This is Exhibit 4, so this is the                      14∑∑∑∑A.∑∑Yes.
15∑∑complaint -- this is actually the complaint                  15∑∑∑∑Q.∑∑Did you read this note before you
16∑∑against HCRE.                                                16∑∑signed it?
17∑∑∑∑∑∑∑MR. MORRIS:∑Can we go to Exhibit 6,                     17∑∑∑∑A.∑∑No.
18∑∑∑∑please.                                                    18∑∑∑∑Q.∑∑And since you didn't read it, is it
19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Exhibit 6 of                         19∑∑fair to say that there wasn't a provision of
20∑∑∑∑Exhibit 4?                                                 20∑∑this agreement that you didn't understand at
21∑∑∑∑∑∑∑MR. MORRIS:∑No, I apologize.∑That                       21∑∑the time that you signed it?
22∑∑∑∑was my mistake.∑Yes, Exhibit 6 to Exhibit                  22∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
23∑∑∑∑4.                                                         23∑∑∑∑form.
24∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Okay.∑If you                         24∑∑∑∑A.∑∑There is -- there wasn't a
25∑∑∑∑want the hard copy, it is in a booklet.                    25∑∑provisions I did or didn't understand because I
                                                      Page 450                                                             Page 451
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑didn't review it.                                            ∑2∑∑that were signed by NexPoint, HCRE, and HCMS on
∑3∑∑∑∑Q.∑∑Okay.∑This note substituted and                        ∑3∑∑May 31st, 2017 collectively as the term notes?
∑4∑∑superseded for the promissory notes that are                 ∑4∑∑∑∑A.∑∑Yes.
∑5∑∑listed on Exhibit A on the right side of the                 ∑5∑∑∑∑Q.∑∑Okay.∑You had the authority to sign
∑6∑∑page; correct?                                               ∑6∑∑each of the term notes on behalf of each of the
∑7∑∑∑∑A.∑∑Yes.                                                   ∑7∑∑respective makers; correct?
∑8∑∑∑∑Q.∑∑And Exhibit A set forth the                            ∑8∑∑∑∑A.∑∑Yes.
∑9∑∑outstanding principal and interest that HCRE                 ∑9∑∑∑∑Q.∑∑Each of the term notes was for a
10∑∑owed to Highland under the prior notes as of                 10∑∑30-year term; correct?
11∑∑May 31st, 2017; correct?                                     11∑∑∑∑A.∑∑I believe so.
12∑∑∑∑A.∑∑Uh-huh.                                                12∑∑∑∑Q.∑∑Okay.∑Who decided to give each note
13∑∑∑∑Q.∑∑That is a yes, sir; correct?                           13∑∑a 30-year term, if you know?
14∑∑∑∑A.∑∑Yes.                                                   14∑∑∑∑A.∑∑The auditors, the accountants, not
15∑∑∑∑Q.∑∑Okay.∑Do you know why HCRE borrowed                    15∑∑me.
16∑∑the money from Highland at the times and -- and              16∑∑∑∑Q.∑∑But you knew that each of the notes
17∑∑in the amounts set forth on Exhibit A to the                 17∑∑was for a 30-year term; is that fair?
18∑∑promissory note?                                             18∑∑∑∑A.∑∑Yes, I guess, yes.
19∑∑∑∑A.∑∑No.                                                    19∑∑∑∑Q.∑∑Notes were unsecured; right?
20∑∑∑∑Q.∑∑Do you have any recollection as to                     20∑∑∑∑A.∑∑Yes.
21∑∑what HCRE did with the proceeds of the loans                 21∑∑∑∑Q.∑∑And the notes were not the product
22∑∑that they had obtained from Highland between                 22∑∑of any negotiations; correct?
23∑∑January 2014 and April 2015?                                 23∑∑∑∑A.∑∑Correct.
24∑∑∑∑A.∑∑No.                                                    24∑∑∑∑Q.∑∑Is it fair to say that none of the
25∑∑∑∑Q.∑∑Can we call the three term notes                       25∑∑makers of the term notes ever sought financing

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                  Appx. 01783
                                                                                                                                      YVer1f
   Case 3:21-cv-00881-X Document 177-3 Filed 01/09/24                               Page 200 of 200 PageID 31353
                                                      Page 452                                                           Page 453
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑from a third party as an alternative to the                  ∑2∑∑other financings that NexPoint and HCRE did.
∑3∑∑Highland notes?                                              ∑3∑∑So I would say that is -- that is the reason.
∑4∑∑∑∑A.∑∑That's correct.                                        ∑4∑∑∑∑Q.∑∑Are you saying that Highland today
∑5∑∑∑∑Q.∑∑Okay.∑You don't have any reason to                     ∑5∑∑really has equity interests in NexPoint, HCRE,
∑6∑∑believe that an unrelated third party would                  ∑6∑∑and HCMS?
∑7∑∑have loaned money to NexPoint, HCRE, and HCMS                ∑7∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
∑8∑∑on the terms set forth in each of the term                   ∑8∑∑∑∑form.
∑9∑∑notes, do you?                                               ∑9∑∑∑∑A.∑∑Yeah, no, I didn't say that.∑I'm
10∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the                        10∑∑saying it has subordinated debt interest, but
11∑∑∑∑form.                                                      11∑∑they are soft notes, so they're viewed as
12∑∑∑∑A.∑∑I -- it is not fair to draw that                       12∑∑deeply subordinated equity-ish, so to speak, as
13∑∑conclusion.∑You know, particularly NexPoint                  13∑∑far as the senior secured debtholders are
14∑∑has borrowed a lot of money at much lower rates              14∑∑concerned.
15∑∑at or around 2017 and later, and to this day.                15∑∑∑∑Q.∑∑Well, that would be true of any
16∑∑∑∑Q.∑∑So then why --                                         16∑∑senior secured debt relative to unsecured debt;
17∑∑∑∑A.∑∑The same thing with HCRE.                              17∑∑isn't that right?
18∑∑∑∑Q.∑∑So then why would HCRE and NexPoint                    18∑∑∑∑A.∑∑Yes, but again, these are
19∑∑enter into these loans rather than obtaining                 19∑∑particularly soft notes, you know.
20∑∑loans at lower interest rates if they were                   20∑∑∑∑Q.∑∑Okay.∑At the time you signed these
21∑∑available?                                                   21∑∑notes, were you aware that each of the term
22∑∑∑∑A.∑∑These are soft loans, again, so                        22∑∑notes required payment of an annual installment
23∑∑they're -- especially affiliate soft loans to                23∑∑on December 31st of each year?
24∑∑other creditors are viewed almost as equity or               24∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
25∑∑subordinated to senior secured mortgages or                  25∑∑∑∑form.
                                                      Page 454                                                           Page 455
∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21                                    ∑1∑∑∑∑∑∑∑∑∑DONDERO - 10/29/21
∑2∑∑∑∑A.∑∑I knew there was more required                         ∑2∑∑∑∑Q.∑∑So we were just looking at the third
∑3∑∑periodic payments than historically, and that                ∑3∑∑in the series of term notes, and if we can go
∑4∑∑was part of -- partly driven by the -- the                   ∑4∑∑to the -- I apologize, the first page of this
∑5∑∑auditors, I believe.                                         ∑5∑∑one, just to refresh your recollection after
∑6∑∑∑∑∑∑∑THE WITNESS:∑You know what, can                         ∑6∑∑the break that this is the term note that was
∑7∑∑∑∑we -- can we take a break for like five or                 ∑7∑∑executed by you on behalf of HCRE Partners on
∑8∑∑∑∑10 minutes, and then, you know, at most --                 ∑8∑∑May 31st, 2017.
∑9∑∑∑∑at most I've got another hour in me today,                 ∑9∑∑∑∑∑∑∑Do you see that?
10∑∑∑∑and then so we could just work on when it                  10∑∑∑∑A.∑∑Yes.
11∑∑∑∑fits on everybody else's calendar if we                    11∑∑∑∑Q.∑∑Okay.∑And I looked at Paragraph 5
12∑∑∑∑can't wrap up in an hour; okay?                            12∑∑before, but I just want to make sure, you're
13∑∑∑∑∑∑∑MR. MORRIS:∑No problem,                                 13∑∑telling me that you didn't read this before you
14∑∑∑∑Mr. Dondero.∑So the time now is what --                    14∑∑signed it, do I have that right, Paragraph 5?
15∑∑∑∑what time do we have?                                      15∑∑∑∑A.∑∑Yes.
16∑∑∑∑∑∑∑VIDEOGRAPHER:∑Off the record, 2:56.                     16∑∑∑∑Q.∑∑And so you are unaware -- when did
17∑∑∑∑(Recess taken 2:56 p.m. to 3:19 p.m.)                      17∑∑you first -- when did you first become aware of
18∑∑∑∑∑∑∑VIDEOGRAPHER:∑Back on the record,                       18∑∑the provision that is set forth in Paragraph 5?
19∑∑∑∑3:19.                                                      19∑∑∑∑∑∑∑MS. DEITSCH-PEREZ:∑Object to the
20∑∑∑∑Q.∑∑Are you ready to proceed, sir?                         20∑∑∑∑form.
21∑∑∑∑A.∑∑Yes.                                                   21∑∑∑∑A.∑∑I don't know.
22∑∑∑∑Q.∑∑Okay.∑Did you speak with anybody                       22∑∑∑∑Q.∑∑Okay.∑Was it before or after the
23∑∑during the break about the substance of this                 23∑∑commencement of the litigation?
24∑∑deposition?                                                  24∑∑∑∑A.∑∑I don't know.
25∑∑∑∑A.∑∑No.                                                    25∑∑∑∑Q.∑∑Okay.∑NexPoint didn't make the

                                      TSG Reporting - Worldwide· · 877-702-9580

                                                                                                                Appx. 01784
                                                                                                                                    YVer1f
